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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
 SYDNEY DILLARD,                        )
                                        )
                                        )
           Plaintiff,                   ) Case No.: 1:20-cv-7760
                                        )
v.                                      ) Honorable John Robert Blakey
                                        ) Magistrate Judge Heather K. McShain
DEPAUL UNIVERSITY,                      )
                                        )
           Defendant.                   )

  Sydney Dillard’s Statement of Material Facts Pursuant to Local Rule 56.1 of the United
                 States District Court for the Northern District of Illinois

Sydney Dillard (“Ms. Dillard”) submits the following statement of material facts as to which she

states that (i) there is no genuine issue, and (ii) entitle her to a judgment as a matter of law:

                                 About Dr. Dillard and Dr. Ghanem.

       1. Dr. Dillard is an African American woman. (Ex. A - Dr. Dillard Dec. ¶1, copy attached

           as Ex. A.). Dr. Dillard is the only tenure-track, tenured African-American faculty

           member in the College of Communication (CMN) at DePaul University (Ex. C - Dr.

           Murphy Dep. 106:1-15).

       2. CMN is comprised of 4 programs, with four program chairs that are non-African

           American including Media and Cinema Studies (white male), Journalism (white male),

           Communication Studies (white male), and Public Relations and Advertising

           (international female). All program chairs are non-African American. (Ex. A - Dillard

           Dec. ¶2). In the College of Communication, only people from protected classes have

           been denied tenure and promotion and they both identified as African American women

           Id. CMN has a history of denying tenure and promotion for African American women.

           (Ex. C - Dr. Murphy Dep. pp. 56-57); (Ex. D - Dr. Ghanem Dep. p. 21-22; 95 (



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              denied). Given its historical treatment of people from protected classes, the

       College of Communication received an external petition calling for the end of systemic

       discriminatory behavior within the college toward Dr. Dillard and other faculty of color

       (Ex. A - Dr. Dillard Dec. ¶ 22; Tab 6 – Dillard_DePaul07885); (Exhibt C - Dr. Murphy

       163:14-19); (Ex. D - Dr. Ghanem Dep. 119:7-13). Dr. Dillard’s area of research are in

       Public Relations/Advertising and Health Communication. Dillard's background and

       focus of studies, including her undergraduate degree in Advertising, Integrated

       Marketing Communication, Master’s degree in Mass Communication and Media Arts,

       and Doctorate in Communication, were part of her narrative in the deposition (Ex. B -

       Dillard Dep. 392:22-24).

   3. Dr. Ghanem Ghanem (“Dr. Ghanem”) was the Dean of the College from August 2014

       to October 2018 when she was appointed to acting provost. (Ex. D - Dr. Ghanem Dep.)

   4. Alexandra Murphy (“Dr. Murphy”) was a Professor in the College, was appointed to

       acting dean in October 2018. Dr. Murphy identifies as Caucasian and female (Ex. C -

       Dr. Murphy Dep. 107:1-10).

   5. Maria DeMoya (Dr. DeMoya) was an Associate Professor in the College of

       Communication in the Public Relations and Advertising program. She was appointed

       diversity advocate for the college from 2016 – 2020 (Ex. E - Dr. DeMoya Dep. p. 9:13-

       14).

   6. Dan Azzaro is a Professional Lecturer in the College of Communication in the Public

       Relations and Advertising program (Ex. F - Dr. Azzaro Dep.p. 6:1).

                     The tenure and promotion process at DePaul.




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   7. During a candidate’s probationary period, tenure-track faculty can be assessed on

       progress toward promotion and tenure by evaluating performance in the context of

       promotion and tenure standards and provided guidance and establish priorities for

       satisfying established criteria, with informal reviews occurring yearly and formal

       reviews occurring at least every two years. Each formal or informal evaluation shall

       result in a written recommendation to the dean for reappointment or termination (Ex. A

       - Dillard Dec. ¶ 25)(DSOF – Tab B-2, Ex. 140: Faculty Handbook 2010).

   8. During a candidate’s probationary period and for formal reviews, tenure-track faculty

       in the College of Communication utilize the College of Communication Tenure and

       Promotion Guidelines so that there is a level of graduation of the different terms (Ex.

       A - Dillard Dec. ¶ 23; Tab 1 - Dillard_DePaul3752); (Ex. C - Dr. Murphy Dep 54:5-8).

       The college uses the language of the guidelines to assess and to be consistent (Ex. C -

       Dr. Murphy Dep 54:5-8). Progress categories used to assess progress toward tenure

       include unsatisfactory, fair, very good, and excellent (Ex. C – Dr. Murphy Dep 54:8-9);

       (Ex. A – Dillard Dec. ¶ 31, Tab 1 - Dillard_DePaul3756). June 25, 2015 College of

       Communication Tenure and Promotion Guidelines states “formal evaluations by the

       personnel committee shall be made annually if early evaluations make reappointment

       questionable” (Ex. A - Dillard Dec. ¶¶23, 31, Tab 1 - Dillard_DePaul3774).

       Additionally, the guidelines dictate that tenured faculty members are to vote separately

       on contract renewal and progress toward tenure in the areas of teaching, research, and

       service for formal review cases (Ex. A - Dillard Dec. ¶¶23, 31, Tab 1 -

       Dillard_DePaul3753-4). During Dr. Dillard’s first formal review, tenured faculty

       members did not vote separately on contract renewal and progress toward tenure and




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       only voted in favor (14-0) of her contract renewal (Ex. A - Dillard Dec. ¶¶23, 31, Tab 5

       - Dillard_DePaul07690). In the first formal review, a faculty member can be considered

       to be making adequate progress toward tenure as long as all categories are ranked fair

       or above” (Ex. A - Dillard Dec. ¶¶23, 31, Tab 1 - Dillard_DePaul3753). During Dr.

       Dillard’s first formal review, she was categorized as making “fair” progress towards

       tenure ¶¶23, 31,

   9. For the purposes of teaching evaluation quantitative scores, faculty under formal review

       are rated by students on a 1-5 scale with 1 being the lowest and 5 being the highest

       possible score (Ex. A - Dillard Dec. ¶24).

   10. College of Communication Tenure and Promotion Guidelines also dictates “faculty

       members must have the opportunity to develop strengths and skills as they progress

       toward tenure. Therefore, adequate progress toward tenure during the first formal review

       is not necessarily the same as what adequate progress toward tenure means in subsequent

       formal reviews leading up to and including the tenure review. By the time of the pre-

       -tenure formal review, the faculty member should have at least one area ranked as

       excellent with the clear promise of moving at least one of the remaining areas to

       excellent within the time prior to tenure. No ranking should be below very good during

       this review. (Ex. A - Dillard Dec. ¶¶23, 31, Tabs 1-2).

   11. Dr. Dillard informed various administrators at DePaul—on several occasions—that

       there were inconsistencies and subjective criteria in evaluating faculty, particularly

       affecting protected classes. (Ex. A – Dillard Dec. ¶26).

   12. While it is typical for tenure-track faculty to receive two formal (in their 2nd and 4th year)

       pre-tenure reviews before receiving a tenure review (Ex. C - Dr. Murphy Dep. 43:19-




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       21;), Dr. Dillard was subjected to twice as many probationary reviews than typical,

       receiving a total of four, each occurring separately in 2013, 2015, 2017, and 2018 (Ex.

       A – Dillard Dec. ¶¶23, 27, 31, Tab 5 - Dillard_DePaul07690; Tab 15,

       Dillard_DePaul05344; Tab 16, Dillard_DePaul05202; Tab 9, Dillard_DePaul06223).

       Dr. Dillard was also subjected to two formal reviews, a probational review and tenure

       review, in the same year in 2018 (Ex. B – Dr. Dillard Dep 120:14; Tab 9,

       Dillard_DePaul0622). The formal review process has been found to be time-consuming

       and filled with technical errors (Ex. C - Dr. Murphy Dep.132:3-6); (Ex. E Dr. DeMoya

       31:12). By 2018, DePaul was subjected Dr. Dillard to a total of five formal reviews and

       seven informal reviews (DSOF, Tab B-2, Exhibit 104).

   13. Annual probationary reviews are conducted at least every two years (DSOF – Tab B-2,

       Ex. 140: Faculty Handbook 2010). From 2010 to 2015, formal reviews could take place

       more frequently than every two years “if early evaluations make reappointment

       questionable.” Id. According to the 2010 faculty handbook, the purpose of tenure track

       probationary reviews also are: 1. To assess progress toward promotion and tenure by

       evaluating performance in the context of promotion and tenure standards and to provide

       guidance and establish priorities for satisfying established criteria and 2. Id.    To

       determine whether reappointment for the next academic year is appropriate and desired

       DSOF – Tab B-2, Ex. 140: Faculty Handbook 2010).

   14. Drs. Dillard and          describe the formal review processes as time-consuming and

       inconsistent, with frequent changes in procedures and expectations, highlighting the

       need for a broader approach to systemic change. (Ex. A – Dillard Dec. ¶ 28; Tab 10 -

       Dillard_DePaul06428, 6438); (Ex. E - Dr. DeMoya Dep. 62:23-24; 63:1-5). Dr. Murphy




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       agreed the formal review process is time-consuming (Ex. C - Dr. Murphy Dep. 132:3-

       6).

   15. Additionally, Dr. Dillard observed differential treatment in teaching assignments based

       on modality (online versus face-to-face), with her facing more stringent requirements

       compared to others (Tab B-2; Ex. 18). When asked about this differential treatment

       towards her, Dillard was told by leadership that they “cannot speak to the instances in

       which any other untenured faculty members under review may or may not have been

       recommended the same requirements...” (Ex. A – Dillard Dec. ¶ 28; Tab 11 -

       Dillard_DePaul07737). Both online and face-to-face teaching are required of faculty

       (Ex. B – Dr. Dillard Dep. 277:1-24).

   16. Dr. Dillard discussed her concerns about differential treatment in the formal review

       process with Dr. Ghanem after being informed she would have to complete an additional

       formal review (Ex. A – Dr. Dillard Dec. ¶31) (DSOF Tab B-2 – Ex. 85 - Calvente-

       DePaul 0038835). Dr. Dillard discussed her experience with the teaching review process

       to Ghanem and expressed that she is held to different standards compared to other

       faculty. Id. Despite receiving perfect scores and award nominations, Dr. Dillard felt that

       her teaching skills were still being questioned. Id.

   17. During Dr. Dillard’s first formal review in 2013, Dr. Dillard did not receive any

       indication of “questionable reappointment” having received an overwhelming majority

       vote (7-0) in favor of contract renewal from the personnel review committee, unanimous

       support (14-0) in favor of reappointment from voting College of Communication

       faculty, and a Dean review letter supporting her reappointment (Ex. A – Dr. Dillard Dec.

       ¶31, Tab 5 - Dillard_DePaul07690). Personnel required an additional formal review to




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       be held in Winter 2015, expressing a need for improvement “to make satisfactory

       progress towards tenure” while involving no expression of questionable reappointment.

       Dr. Dillard’s 2013 formal review also included a vote for contract renewal

       (reappointment), but did not include a vote for progress towards tenure as required by

       the College of Communication Tenure and Promotion Guidelines ((Ex. A – Dr. Dillard

       Dec. ¶31, Tab 5 -Dillard_DePaul07690).

   18. Non-African American employees were subjected to less stringent evaluations than

       Plaintiff, allowing them numerically fewer reviews that were less onerous and stressful,

       and provided a supportive workplace for advance. For example:

       a. Prior to Dr. Dillard’s first formal review during a 2013 formal review of

                (Public Relations and Advertising tenure-track faculty member), she received

           at least 12 quantitative scores below 3.99 with four falling below 2.99 during her

           fourth year review (Ex. A – Dillard Dec. ¶ 29); (DSOF Tab B-2 – Ex. 85). Though

           being held to a higher standard during a pre-tenure/fourth review (Tab 1 –

           Dillard_DePaul3753), College of Communication voting faculty members added

           an addendum stating, “in the area of teaching, for all Personnel Committee

           documents, language regarding the College mean should not be included” (Ex. A -

           Dr. Dillard Dec. ¶ 31, Tab 11,            Reviews - Dillard_DePaul05517). In her

           formal review, there was no reference or comparison of               s scores to the

           college mean. Id. In Dr. Dillard’s review, the college mean was mentioned in four

           separate instances (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 5 - Dillard 2013 Review -

           Dillard_DePaul07692).




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       b. In 2013 first formal review, Dr. Dillard’s teaching was labeled as “well below the

           College mean (e.g. quantitative responses in the 2s and low 3s when the College

           looks for ratings in the 4 range),” “still below the College mean, “either on par or

           above the College mean,” and “still often rated below the College mean” Id.

       c. During a 2013 formal review of Dr.                (Public Relations and Advertising

           tenure-track faculty member), the personnel committee and tenured faculty from

           the College of Communication concluded Dr.           was making “good/very good

           progress towards tenure in teaching” (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 11,

               2013 Review - Dillard_DePaul05509). College of Communication Tenure and

           Promotion guidelines dictate that by the pre-tenure formal review (fourth year),“No

           ranking should be below very good during this review” (Tab 1 –

           Dillard_DePaul3753). Dr.        was ranked below the standard at good/very good

           in her teaching, but was not subjected to an additional formal review. (Ex. A - Dr.

           Dillard Dec. ¶ 31, Tab 11).

       d. In 2013 formal reviews of her second quarter teaching, Dr. Dillard’s quantitative

           measures were documented without including any of her quantitative scores and

           stated as “still below the College mean” (Ex. A - Dillard Dec. ¶ 30; Tab 5 -

           Dillard_DePaul07692) when 14 of 20 items were above 4.0 on the 5.0 scale. Dr.

           Dillard’s scores on her teaching effectiveness for the second quarter teaching never

           fell below 3.0 in either PRAD 244 and PRAD 335, with Dr. Dillard receiving 4.0-

           4.99 on 34 of 40 teaching effectiveness items and 3.0-3.99 on 6 of 40 items (Dillard

           Dec. ¶ 30; Tab 4 - Dillard_DePaul06361).




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       e. When referencing teaching evaluation quantitative scores in Dr. Dillard’s first

           formal review, her scores of 2 and 3 were framed as “consistently scoring well

           below the College mean (e.g., quantitative responses in the 2s and low 3s when the

           College looks for ratings in the 4 range.” (Dillard Dec. ¶ 30; Tab 5 -

           Dillard_DePaul07692), while Yeuseung             (non-African American), tenure-

           track faculty member’s 2013 formal review listed her scores of 2 and 3 as “Overall

           quality of course, 2.29 and 2.21; overall teaching effectiveness, 2.46 and 2.07;

           increased my knowledge or skills, 2.25 and 2.64; used class time effectively, 3.29

           and 2.43; instructor was clear on how assignments were to be evaluated, 3.17 and

           2.43; the course followed a clear organizational structure, 3.83 and 3.07.” No

           reference to the college mean or her consistently falling below 4 on quantitative

           measures was made (Ex. A. ¶31, Tab 12 Dillard_DePaul05535).

       f. Additionally, in 2013 formal reviews of her second quarter teaching, another non-

           African American tenure-track faculty member’s (Dr.         ) quantitative measures

           were documented in detail as “...teaching effectiveness and student engagement

           issues persisted: overall quality of course, 2.86 and 3.00; overall teaching

           effectiveness, 2.71 and 3.13; increased my knowledge or skills, 3.00 and 3.33. We

           do, however, see some mixed results with other questions: used class time

           effectively, 3.71 and 4.47; instructor was clear on how assignments were to be

           evaluated, 3.29 and 4.13; the course followed a clear organizational structure, 3.71

           and 4.34” (Ex. A. ¶31, Tab 12 Dillard_DePaul05536). No reference was made

           about her scores falling below the college mean or below ratings in the “4 range”




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           of what the college “looks for” (Ex. A. ¶31, Tab 12 Dillard_DePaul05536) as

           opposed to Dr. Dillard. Id.

        g. In 2013 formal reviews when referencing improvements in teaching, both Dr.

           Dillard and another non-African American tenure-track faculty member were noted

           to have made “noticeable progress during her second quarter” (Ex. A - Dr. Dillard

           Dec. ¶ 31, Tab 5 - Dillard_DePaul07692; Tab 12 Dillard_DePaul05535-6).

           Similarly, both Dr. Dillard and another non-African American tenure-track faculty

           member (Dr.        ) were believed to “possess(es) many of the tools needed to

           succeed as a teacher: content knowledge, research expertise” (Ex. A - Dr. Dillard

           Dec. ¶ 31, Tab 5 - Dillard_DePaul07694; Tab 12 Dillard_DePaul05535-6). Other

           tools needed to succeed as a teacher highlighted in Dr. Dillard’s report were

           “openness to feedback, willingness to learn and change, and a desire to help

           students succeed” (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 5 - Dillard_DePaul07694),

           Dr.      was noted only for her “passion to shepherd students toward success” (Ex.

           A, ¶31, Tab 12 Dillard_DePaul05535-6).

        h. In 2013 formal review, Dr. Dillard’s teaching was defined as “not tenurable” in its

           present form, needing improvement to “make satisfactory progress toward tenure

           in this area,” and making “fair progress toward tenure in the area of teaching.” The

           review concluded “instead of waiting for the standard two-year review period, the

           Personnel Committee will meet with Sydney in Winter 2015 to review her progress

           in the area of teaching” (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 5,

           Dillard_DePaul07694). Comparatively, Dr.           ’s 2013 formal review noted,

           “The committee would like to see Yeuseung continue with all the aforementioned




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           development efforts and look forward to seeing substantial progress in the areas of

           teaching effectiveness and student engagement at the time of her next review” (Ex.

           A, ¶31, Tab 12 Dillard_DePaul05538 and making “satisfactory/good progress

           toward tenure”. While Dr. Dillard was subsequently asked to improve and required

           an additional formal review, Dr.        was asked to improve and not required to

           return for an additional formal review outside of the typical tenure review schedule

           (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 5 - Dillard_DePaul07694; Tab 12

           Dillard_DePaul05538.

        i. The College of Communication Tenure and Promotion guidelines states “faculty

           member can be considered to be making adequate progress toward tenure as long

           as all categories are ranked fair or above” (Tab 1 - Dillard_DePaul3753) and while

           Dr. Dillard’s teaching including qualitative, quantitative, and peer feedback

           minimally mirrored if not surpassed Dr.          ’s, Dr. Dillard was required to

           complete an additional formal review (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 5 -

           Dillard_DePaul07694).

        j. During another second formal year review, a white-male tenure-track faculty

           member (Dr. Rutigliano)(Caucasian male) received scores below Probationary

           Review,” Dr. Dillard was held to a standard of needing scores 4.0 or higher when

           her reviews noted “the college looks for ratings in the 4 range Probationary

           Review,” Dr. Dillard was held to a standard of needing scores 4.0 or higher when

           her reviews noted “the college looks for ratings in the 4 range on 5 of 20 teaching

           effectiveness measures. He was also rated below 4.0 in 13 of 20 and below 3.5 in

           the remaining 7 measures (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 14,




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           Dillard_DePaul05529). The formal review highlighted several areas of

           improvement and urged him to “give serious attention to the negative feedback he

           has received and encourages him to continue working on the areas of course

           organization/structure, clarity and explicitness in assignment descriptions, laying

           out clear learning objectives, and being consistent in course framing and planning”

           (Ex. A - Dr. Dillard Dec. ¶ 31, Tab 14, Dillard_DePaul05529). He was rated as

           “making satisfactory to good progress toward tenure in teaching” (Ex. A - Dr.

           Dillard Dec. ¶ 31, Tab 14, Dillard_DePaul05530). He was also asked to improve

           and not required to return for an additional formal review outside of the typical

           schedule. Id.

    19. Non-African American employees were subjected to less stringent evaluations than

       Plaintiff, allowing them to obtain tenure and additional career advancement

       opportunities sooner than Plaintiff.

        a) Non-African American employees similarly situated to Plaintiff were given one-

           on-one assistance and coaching regarding their performance on the path to

           obtaining tenure, and Plaintiff was not. (Ex. B – Dr. Dillard Dep. 267:9-13). Jay

           Baglia (white, male) noting differences in support received (Ex. B – Dr. Dillard

           Dep. 26:13-24). Two former Caucasian men—

                           they were subject to additional reviews, but given opportunities to

           meet with them regularly one on one and help guide them and steer them to become

           better and more prepared for tenure promotion. (Ex. B – Dr. Dillard Dep. 266:3-25,

           267:1-3).




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    20. Effective July 1, 2015, the faculty handbook provided added clarity on the difference

       between the application of faculty voting for “progress toward tenure” and

       “reappointment,” providing that the two are not synonymous. (Faculty handbook 2015).

    21. Dr. Dillard’s 2015 formal review included a voting category for retention

       (reappointment) and progress toward tenure (Ex. B – Dr. Dillard Dep. pp. 315-315, Ex.

       32-33).

    22. Dr. Dillard described inconsistencies in the application of evaluation criteria for faculty

       non-African Americans in the College of Communication. (Ex. A – Dillard Dec. ¶26).

       Dillard observed that             , who had lower evaluation scores in some classes

       compared to Dillard, was not required to undergo an additional review for teaching

       effectiveness (Ex. B 273-275, 284:14, 286:17 292- 294, 362:15, 461:16). In contrast,

       Dillard's perfect scores and positive student feedback were often overlooked and not

       highlighted in personnel letters, suggesting less stringent evaluations for          (Ex. B

       – Dr. Dillard Dep. 273:1-24). She noted that commendations were given selectively,

       such as praising some faculty for perfect scores. During a fourth year formal review,

       Dr.       s personnel letter highlights scores as “quite a few scoring at 5.0 on the 5-point

       scale (two 5s in Fall 2013, eight 5s in Spring 2014, and two 5s in Spring 2015),” while

       overlooking African Americans with much higher achievements such as Dillard’s fourth

       year review which included no praise for perfect scores. For both’s fourth year review

       of teaching effectiveness, Dr. Dillard’s received at total of 65 perfect scores of 5.0 while

       Dr.       only received 12 perfect scores of 5.0 (Dillard_DePaul0583; Dillard Discovery

       Production 000440).       Despite having received 65 perfect scores in her teaching

       evaluations scores, Dr. Dillard was recommended for retention, but to undergo an




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       additional formal review following her fourth year review (Dillard_DePaul05689). Dr.

            was not recommended for or subjected to an additional review.

    23. Non-African American employees were offered career advancement opportunities that

       were not made available to Dr. Dillard, including search chair positions, allowing them

       to advance their careers and obtain promotions sooner than Plaintiff.

        a. Previously, Dr.             , a white male, was appointed to lead and chair a search

            committee seeking to hire two tenure-track faculty members, prior to his tenure and

            promotion (Ex. B – Dr. Dillard Dep. 54:10-11).

        b. Dr. Dillard’s request to lead and chair a search committee seeking to hire two

            faculty prior to her tenure and promotion was denied. Despite the program chair

            noting having “precedent” for one search committee for two positions with only

            one chair that “went well” in previous instances, Dr. Dillard’s was not appointed

            and was forced to co-chair with a non-qualified, non-African American male

            colleague,                     , that had not completed his one-year probationary

            period or completed a formal review prior to being appointed into this leadership

            position (Dillard Dec. ¶18).

                           Discrimination against Dr. Dillard at DePaul

    24. Dillard attempted to bring attention to questionable interactions at DePaul, which she

       later believed to be race-based and ability-based (Ex. B – Dr. Dillard Dep. 86:1-87:10;

       DSOF Tab B-2 – Ex. 48-49). Individuals who created a hostile work environment for

       Dr. Dillard based on race, include

             (Ex. B – Dr. Dillard Dep. 309:15-24). Dillard also believed that employees in the

       EEO office, specifically Isabel Diaz and Barbara          , were part of the individuals




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       who discriminated against her or created a hostile work environment based on race (Ex.

       B – Dr. Dillard Dep. 329:20-22). Dillard confirms filing a charge of discrimination with

       the EEOC in August 2019, where she detailed being belittled, ostracized, and

       intimidated through microaggressions (Ex. B – Dr. Dillard Dep. 53:1-23, 74:1-75:13,

       371:7-8). Dillard mentions her fear of retaliation if she made a public complaint about

       discrimination, and confirmed filing a complaint with the Equal Employment

       Opportunity Commission (Ex. B – Dr. Dillard Dep. 70:1-71:10).

    25. In June 2018 Dr. Dillard emailed an anonymous formal complaint to DePaul’s OIDE

       from depaulemployee@tutanota.com detailing some of her and                         ’s account

       of discrimination (DSOF Tab B-2 – Ex. 67). The anonymous email informed OIDE that

       it was a “formal complaint of discrimination” Id. The complaint received one follow up

       email from                  , to which Dr. Dillard replied to with answers to questions

       posed (DSOF Tab B-2 – Ex. 75). No investigation was done after receiving Dr. Dillard’s

       reply to                 ’s emailed questions from the anonymous email.

    26. Dillard felt she was singled out and scrutinized differently for her use of the

       SharePoint system, a part of the ongoing hostile work environment based on race (Ex.

       B – Dr. Dillard Dep. 307:4-9). Dr. Dillard expressed her concerns with Dr. DeMoya,

       who confirmed another faculty member was aware that                       attempted to

       “derail” another one of Dillard’s formal reviews (Dillard Discovery Production

       002869).

    27. DePaul's EEO office ignored Dr. Dillard’s complaints of discrimination, forcing her to

       continue working in a racially hostile environment (Ex. B – Dr. Dillard Dep. 329:10-

       19).




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    28. Dr. Dillard was paid lower wages than other non-African-American assistant professors

       with less experience. (Dr. Ex. B – Dr. Dillard Dep. 241: 7). Dr. Dillard believes that race

       was a consideration in the people who voted no. (Ex. B – Dr. Dillard Dep. p. 165). Dr.

       Dillard believes that she is being treated differently than other non-African-American

       professors. (Ex. B – Dr. Dillard Dep. p. 225, 227: 6-11).

                            Culture of Discrimination at DePaul

    29. When Dr. Dillard began working at DePaul, she was one of five U.S. born minority

       women tenured/tenure track in the College of Communication, at all times relevant, Dr.

       Dillard is now the last one still employed. (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-

       2 – Ex. 85 - Calvente-DePaul 0038826).

    30. DPUBLIC (DePaul University Black Leadership Coalition) is a university employee

       resource group of faculty and staff who identify as Black or of African descent which

       Dr. Dillard was an executive board member of DPUBLIC between and participated in

       the collection Black employee experiences at DePaul through the Black townhall

       meeting (Ex. B – Dr. Dillard Dep. Ex. 156 p. Dillard_DePaul08157). Dr. Dillard

       participated in DPUBLCs 2021 Black Townhall meeting that shed light on the shared

       experiences of DePaul University black faculty and staff through the culminating memo

       titled “Message to DePaul University from Faculty, Staff, and Students of African

       Descent” (Ex. B – Dr. Dillard Dep. Ex. 156 p. Dillard_DePaul08157). Dr. Murphy was

       not formally working with them on racial inequities (Ex. C - Dr. Murphy Dep. 150:1-

       24, 151:1-24).




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    31. The Depaulia is the student print newspaper at DePaul University, and Dr. Murphy was

       aware of an article written about the lawsuit involving the College of Communication

       (Ex. C - Dr. Murphy Dep. 151:1-24).

    32. Diversity workshops are part of the DEI (Diversity, Equity, and Inclusion) action plan

       at the college level, with different types being offered, including mandatory ones for

       search committees and micro-trainings at faculty meetings (Ex. C - Dr. Murphy Dep.

       125:1-24, 126:1-24).

    33. Dr. Dillard documented her plight to her colleagues about diversity, equity, inclusion,

       and discrimination within DePaul by writing emails, engaging in voluntary regular

       diversity advocacy service, leading DPUBLC meetings with DePaul leadership (e.g.

       President, Provost, Associate Provost for DEI, and Office of Institutional Equity and

       Diversity), attending grievance meetings with DePaul EEO office, and drafting and

       reviewing complaint emails to no avail (Ex. B – Dr. Dillard Dep. Ex. 151 -

       Dillard_DePaul08182; Ex. 154, Ex. 156 p. Dillard_DePaul08157).

    34. No one in College of Communication leadership took training to handle complaints

       about discrimination and diversity problem, including the dean Dr. Murphy (Dr.

       Demoya 133:2-21; Dr. Murphy 34: 22-24; Dr. Murphy 35: 4-7).

    35. DePaul was on notice that its culture was anything but diverse, equitable, or inclusive.

       DePaul’s response, if any, was lackluster (Ex. B – Dr. Dillard Dep. Ex. 156 p.

       Dillard_DePaul08157; Ex. D - Dr. Ghanem Dep. 119:7-13).

     An October 10, 2018 conversation between Dr. Dillard,                           , and Dr.
     Ghanem.

    36. Dr. Dillard was not alone in voicing her concerns and frustrations as several other

       minority professors and students also expressed similar concerns to no avail. Maria



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       DeMoya also reported Dr. Dillard’s claims of discrimination to Dr. Ghanem and Dr.

       Murphy. (Ex. E - Dr. DeMoya Dep. p. 77)(“Yes. In Sydney’s case, if I recall correctly,

       I just reported that I had a conversation with Dr. Ghanem and with Lexa”). Dillard

       collaborated with                    to write responses to certain questions about

       discrimination, indicating a shared experience of unfair treatment (Ex. B - Dillard Dep.

       68:7-24).

    37. Specifically, on or about October 28, 2018, Provost, Dr. Ghanem Ghanem had a two

       hour long meeting with Drs. Dillard and Calvente related to their ongoing concerns and

       reports of discrimination. Dr. Ghanem never reported the specific incidents of

       discrimination and instead generalized the incident to DePaul’s EEO office. This Email

       downplayed the discrimination claims and provided little to no detail of each identified

       allegation (Ex B – Dr. Dillard Dep. 270:21–271:6; Ex. D - Dr. Ghanem Dep. 152:4–8;

       DSOF Tab B-2 – Ex. 85 - Calvente-DePaul 0038832).

    38. Nothing was done to address Dr. Dillard’s discrimination claims. (Dillard Dep. p.

       133)(“…there comes a point when if somebody tells you that you have a problem, you

       should at least double check that you don’t. And the response that I had received talking

       to colleagues, officially and unofficially were things like well, no, don’t worry, trust

       your colleagues, or you know, this is a process, or we have your best interest ... So I was

       frustrated about the fact that nobody was willing to stop and take a second look of our

       processes...That’s why for me the ignorance was willful because there was no intent to

       review how we did things”). This lack of change led to another professor in the college

       of communication filing a lawsuit against DePaul University alleging such

       discriminatory practices. Calvente v. DePaul., Hill v. DePaul,




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    39. Dr. Dillard discusses perceived patterns of discrimination in the college, mentioning

       conversations with         about experiences as women of color and US origin. She

       expresses concerns about inconsistency in their experiences compared to others in the

       program or college. (Ex. A – Dr. Dillard Dec. ¶31; (DSOF Tab B-2 – Ex. 85 -

       CONFIDENTIAL Calvente-DePaul 0038824-29). “No one ever openly discussed my

       race as a marker or, you know, deciding factor. But, you know, when it comes to race

       and marginalization and discrimination, that's one of my areas of expertise. And we all

       probably could agree that racism doesn't only function in overt spaces, you know, overt

       spaces. In short, a lot of times, people aren't aware that they are being discriminated

       against until it's too late. People aren't really forthright.” (Ex. B – Dr. Dillard Dep. 328:

       8-20).

    40. Sydney compares her health-related experience and the lack of support she received to

       another faculty member's experience, highlighting a perceived disparity in support.

       Support (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-2 – Ex. 85 - Calvente-DePaul

       0038829-0038830)

    41. Both Drs. Dillard and Calvente express their belief that there is a pattern of bullying

       within the college, particularly towards faculty of color. (Ex. A – Dr. Dillard Dec. ¶31;

       DSOF Tab B-2 – Ex. 85 - Calvente-DePaul 0038841-44). They share experiences of

       differential treatment in faculty evaluations and departmental processes, including

       changes in procedures for cross-listing classes and unusual recommendations regarding

       service commitments. (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-2 – Ex. 85 - Calvente-

       DePaul 0038840-41).




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    42. Sydney and        discuss apprehensions regarding the tenure and promotion (T&P)

       process at their college. They express fear that tenured faculty members may not support

       them, citing past instances where a black woman faculty member was denied tenure.

       (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-2 – Ex. 85 - Calvente-DePaul 0038840)

    43. Dr. Dillard pointed out to Dr. Ghanem that no US-born minority has been promoted and

       tenured through the college, a statement Dr. Ghanem initially disputes but then accepts

       after clarification. (Dillard Discovery Production 002487). Dr. Ghanem claimed that

       Teresa [last name], a US-born minority had achieved tenure. Dr. Dillard clarified that

       Teresa joined the college already tenured and implied that there is a difference in the

       process. (Dillard Discovery Production 002487). Dr. Dillard observes that Noni, a

       tenure-track faculty member, was not included in the list of faculty farewells, which Dr.

       Ghanem acknowledges as her oversight in creating the slides. (Dillard Discovery

       Production 002487).


    44. Dr. Ghanem confirmed that Drs. Calvente and Dillard approached her with concerns

       about ongoing marginalization, harassment, and discrimination. (Ex. D - Dr. Ghanem

       Dep. 10:9-11; 24:22-25:3). Ghanem also mentioned microaggressions felt during the

       meeting, which led her to contact Barbara          . These microaggressions were based

       on racial discrimination. (Ex. D - Dr. Ghanem Dep. 132:18-133:3). This was mentioned

       in an email thread where Liz Ortiz, the Vice-President of the Office of Institutional

       Diversity and Equity, and Craig Mousin, the University ombudsperson, were also

       discussed. (24:9-15). The meeting involved discussions where an email indicated a

       belief in a pattern of harassment, bullying, and marginalization of faculty. Ghanem was

       uncertain about the process to be followed in such cases and did not recall the exact time



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       when she communicated with Drs. Calvente and Dillard following the meeting. (Ex. D

       - Dr. Ghanem Dep. pp. 24:22-25:3).


    45. In the same meeting, issues of diversity, equity, and inclusion were raised, specifically

       focusing on the development of pathways for diversity inclusion and retention of

       minority tenured/tenure-track faculty. Ghanem was asked for recommendations

       regarding these issues. p. 132:s 18-21 (132:18-21).


    46. Dr. Ghanem expresses her intention to pay closer attention during her reviews and

       acknowledges the need for systematic changes to address cultural issues within the

       college. She seeks suggestions for genuine change and is open to training and committee

       formation but emphasizes the importance of changing perceptions and culture. Issues

       (Ex. A – Dr. Dillard Dec. ¶31; Tab 12 – CONFIDENTIAL Calvente-DePaul 0038845).

       Dr. Ghanem asks for Drs/ Dillard and Calvente help in addressing these issues. Dr.

       Ghanem emphasizes the need for more than policy development and seeks a genuine

       dialogue to make changes in the college. (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-2

       – Ex. 85 - Calvente-DePaul 0038846).

    47. Dr. Ghanem agrees that harassment and bullying claims should be pursued and discusses

       inconsistencies in processes that she can talk to people about. However, she clarifies

       that she cannot report back the details of these discussions. (Dillard Discovery

       Production 002487-002488).

    48. OIDE is the organization tasked with investigating internal complaints of discrimination

       at DePaul. (Dillard Dec. ¶31). After                  told Dr. Ghanem that she wrote the

       letter on Dr.            ’s behalf, Dr. Ghanem called Ms.             at OIDE and left a




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       voice mail stating that Dr. Dillard and               believed themselves to be victims

       of discrimination. (Ex. B – Dr. Dillard Dep. 272:15–273:4.) Then Dr. Ghanem ended

       the meeting. (Id. at 273:5–273:7.). Ghanem believed that both issues they discussed

       were addressed by Barbara            . (Ex. D - Dr. Ghanem Dep. 134:17-18).

    49. Policy on Investigations: Dr. Ghanem states she cannot conduct an investigation without

       involving HR, in accordance with university policy. (Dillard Discovery Production

       002486). Dr. Ghanem's participation in tenure meetings is limited to clarifying processes

       and observing for patterns or problematic statements. (Dillard Discovery Production

       002486). She is willing to address issues if she finds objectionable terminology being

       used during meetings, but emphasizes her inability to lead an investigation without HR

       involvement. (Dillard Discovery Production 002486). Dr. Ghanem can have informal

       conversations with individuals, but these discussions will be confidential and not

       reported back. (Dillard Discovery Production 002486). Dr. Ghanem underlines the

       importance of maintaining confidentiality due to the sensitive nature of personnel issues.

       (Dillard Discovery Production 002486).


    50. Dr.           was a white tenure track professor in the College who was recommended

       for non–renewal in calendar year 2017, and whose contract Dr. Ghanem decided not to

       renew before Dr. applied for tenure. (Ex. D - Dr. Ghanem Dep. 143:22–144:2, 163:1–

       3).


    51. After the October 10, 2018 meeting,                 and Dr. Ghanem never again had a

       meaningful conversation. (Ex. A - Dr. Dillard Dec. 51). Dr. Ghanem Emailed

        ara

                 about the claims by Drs. Calvente and Dillard. (DSOF Tab B-2 – Ex. 84).

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       Ghanem was asked if she had scheduled another meeting to discuss these concerns

       further or if she was the appropriate person to look into these issues. She indicated that

       she did not believe she had a second meeting because she shifted roles. (Ex. D - Dr.

       Ghanem Dep. p. 24:4-11).


                                      PRAD CHAIR

    52. The program chair position for PRAD (Public Relations and Advertising) at DePaul

       University is a significant time commitment. (Ex. C - Dr. Murphy Dep. 103:6-10). The

       PRAD chair position is a three-year term. Id.

    53. In 2018,            (Asian Female), the previous program chair was at the end of her

       three-year term and chose not to apply for another term (Ex. C - Dr. Murphy Dep.

       103:16-24, 104:1-10; 119:1-24; DSOF Tab B-2, Ex. 108).

    54. For chair, a call for nominations are made. Nominated candidates are announced. Each

       candidate provides a presentation about background, qualifications, and strategic

       direction if selected.   Each candidate answers questions from all voting faculty

       members. Candidates leave the room while faculty discuss candidate qualifications.

       Faculty vote on candidate/s. Faculty present votes to Dean. Dean decides to accept or

       deny faculty vote recommendations.         If no candidate is selected, an additional

       election/vote is to be held following the same procedure. (Ex. A - Dillard Dec. ¶ 7).

    55. The PRAD Program Chair position that Dr. Dillard self-nominated for served as a

       stepping-stone for her to qualify for more advanced positions such as Associate Dean,

       Associate Provost, Dean, or Provost. For example, Dr. DeMoya accepted the Program

       Chair position after originally denying it when she realized she was not considered

       qualified for more advanced positions at other universities without it. (Ex. E - Dr.



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       DeMoya Dep. p. 129). (“thought that if I stay at DePaul, it’s going to make my

       progression towards full professor eventually better to have this on my record. So

       honestly, I felt that even though I still don’t like the position, it’s still a position I would

       rather not have, it was the best choice at the time to both serve the program and to serve

       my career progression”).

    56. In 2018, Dr. Dillard was self-nominated and nominated by colleague Don Ingle for the

       PRAD chair position (Ex. B - Dillard Dep. 329:17-21). Before the committee voted, Dr.

       Dillard spoke about her experience in a leadership development program at the

       university during her presentation for the program chair position (Ex. C - Dr. Murphy

       Dep. 107:11-24).

    57. The PRAD chair voting process was not explicitly detailed in the faculty handbook, but

       a separate document updated on March 8, 2016 and governed by the faculty handbook

       outlined the Program Chair duties, selection, and review process specifically for the

       College of Communication (Ex. C - Dr. Murphy Dep. 42:2-24, 43:1-5;

       Dillard_DePaul4059; Ex. D - Dr. Ghanem Dep. 73:3-6).

    58. Dr. Murphy deviated from the “uniform standards and procedures” outlined in the

       Program Chair duties, selection, and review process document during its PRAD

       program chair election process. Id. Instead of voting on Dr.

       Dillard’s qualifications, Dr. Murphy allowed he conversation among the voting

       members to focus on various personal matters about Dillard that did not include Dr.

       Dillard’s qualifications or program chair duties, including discussions of Dr. Dillard’s

       medical history (Ex. E - Dr. DeMoya Dep. p. 136) and perceived campus presence since

       Dr. Dillard had not been on campus due to her disability leave (Ex. 5 Murphy Dep pp.




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       90-96)(“Q: Was there a job description or job duties list for that specific position? A:

       “Probably...I don’t want to over-emphasize presence on campus as like the reason

       people voted against her because I really don’t know”); (Ex. C - Dr. Murphy Dep. 40:1-

       15).

    59. After sending Dr. Dillard out of the room to deliberate and vote based on her

       qualifications for the position, Dr. Murphy and the PRAD voting faculty members

       claimed that they had to revamp the position, but not before it voted Dr. Dillard’s

       nomination down (Ex. E - Dr. DeMoya Dep. 41:15-1). Other than a strong preference

       for preference for candidates at the rank of associate or full professor, no other

       qualifications are noted in the Program Chair Duties, Selection, and Review Process

       document (Ghanem Dep. Ex. 12 - Dillard_DePaul4059). A majority of PRAD faculty

    voted against Dr. Dillard without articulating any qualifying reason for failing to

    promote her. Instead, the committee decided to “revamp” the role and kept the position

    vacant. Later, Dr. Murphy    chose to accept the faculty nomination to appoint

    as interim chair. (DSOF - Tab B-2, Ex. 110). Dr. Murphy deviated from established

    protocol, which would have been to hold another election. Dr. Dillard was also

    ostracized when she was excluded from conversations to “revamp the program chair

    position,” the even though she was part of the program faculty. Dr. Murphy admits she

    did not hold any other major meetings about revamping the program chair position (Ex.

       C - Dr. Murphy Dep.105:11-12) and did not specifically ask Dr. Dillard to be a part of

       the process to revamp (Ex. C - Dr. Murphy Dep. 105:14-20).

    60. The duties of the program chair were primarily on-campus activities pre-Covid, as the

       culture at the time did not support remote participation (Ex. C - Dr. Murphy Dep.44:1-




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       15; 47:16-24, 48:1-5). Qualities such as being present, timely, responsive, and

       collaborative were mentioned as important for the program chair position, alongside

       considerations for the time commitment and responsibilities like hiring adjuncts (Ex. C

       - Dr. Murphy Dep. 36:1-24).

    61. While other College of Communication programs, including PRAD, routinely voted for

       single candidate elections that included non-disabled and non-African Americans, Dr.

       Dillard was the first ever to be voted down in the College of Communication

    (Ex. C - Dr. Murphy Dep. 105:15-19; Ex. C - Dr. Murphy Dep. 5:22-23).. Dr. Murphy

    admitted since joining DePaul in 1998, she has never witnessed any other program chair

    candidates being voted down. Id.

    62. Dr. Murphy usurped “the appointed            to remain as program chair for one more

       year. (DSOF Tab B-2, Ex. 108 ). Dr. Murphy did not conduct a vote for the previous

       program chair to remain in position; it was a continuation without a formal voting

       process (Ex. C - Dr. Murphy Dep. 104:1-14).

    63. Dr. Dillard was qualified for the program chair position. (Ex. C - Dr. Murphy Dep. p.

       96; Ex. E - Dr. DeMoya Dep. 129:20-24). For instance, Dr. Dillard completed a yearlong

       leadership training, Leading People at Depaul, which was a qualification no other

       professor in the College of Communication had accomplished (Ex. B - Dr. Dillard Dep

       220:12-15, Ex. 108). Dr. Murphy believed that Sydney Dillard met the minimum

       qualifications for the program chair position, which included being a tenure-track

       faculty member with tenure in the program area (Ex. C - Dr. Murphy Dep. 46:1-15). In

       fact, Dr. Dillard was more qualified than the non-disabled and non-African American




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       predecessor who was first appointed as interim program chair (Ex. A - Dr. Dillard Dec.

       ¶14).

    64. Dr. Dillard contributed to the PRAD program through external grants to support her

       research and initiatives like the Summer BRAND Camp, which involved collaborations

       with various corporations and providing university exposure to students (Ex. C - Dr.

       Murphy Dep. 109:1-24). Sydney Dillard and another faculty member secured funding

       through an innovation fund (Ex. C - Dr. Murphy Dep.108:1-24).

    65. In accordance with the Program Chair duties, selection, and review process document,

       PRAD voting members were informed in the Winter 2019 quarter of the upcoming

       PRAD program chair elections within normal timeline standards and were provided

       with a description of PRAD program chair duties. All voting members were also

       informed that nominated candidates would provide a presentation and answer questions

       at the program meeting (Ex. A – Dillard Dec. ¶ 17; Tab 1A Dillard Dec.

       Dillard_DePaul05374).

    66. During the PRAD program election discussion, PRAD voting faculty discussed not

       knowing Dr. Dillard (Ex. F - Dr. Azarro Dep.16:14-16), feeling rushed (Ex. C - Dr.

       Murphy Dep. 85:11-14); (Ex. B. - Dillard Dep. 214:5), and not voting in Dr. Dillard

       (Ex. F - Dr. Azzaro Dep.23:10-11). Voting PRAD faculty member Dan Azzaro

       (Caucasian male) buttresses the differential treatment of Dr. Dillard and arbitrariness of

       the decision to vote down Dr. Dillard compared to her non-African American, non-

       disabled predecessor by noting how the faculty did not really “know”                either

       Dr. Azzaro asked “why wouldn’t we vote for Sydney as well?” (Ex. F - Dr. Azarro Dep.

       15:2-3); (Ex. E - Dr. DeMoya Dep. pp. 132-9)(“Sydney had difference experiences than




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       me in that sense, but I felt like I kept hitting a wall when I tried to talk about issues of

       diversity and inclusion.”).

    67. Although Dr. Murphy had the authority to reject the faculty's vote on the program chair

       , she chose not to, considering the majority's view and not wanting to set the candidate

       up for failure (Ex. C - Dr. Murphy Dep.41:11-22; 46:16-24, 47:1-15; 97)(“halting the

       vote would have been unfair to Sydney Dillard” and “[she] didn’t want to set somebody

       up for failure if you put them into a position where they don’t have the confidence of

       the faculty.”)

    68. Dr. Dillard was never brought back into the meeting room to discuss the purported

       changes to the program chair position or to vote. (Ex. C - Dr. Murphy Dep.100; 105:1-

       15).

    69. Because the Program Chair position is a prerequisite for advancing to positions with

       better pay and more prestige, the arbitrary denial significantly harmed Dr. Dillard’s

       career advancements. (Ex. A – Dr. Dillard Dec. ¶ 3)

    70. The PRAD Program Chair position was open again, and Dr. Dillard was asked to apply

       for it. Given that no one has provided her with the reasons for why she was voted down

       despite exceeding the qualifications required and it is a tough and thankless job

       according to Dr. Azzaro. (Ex. F - Dr. Azzaro Dep. p. 15, 23, 27-28. Additionally, Dr.

       Murphy approached Dr. Dillard recently and asked her if she would like to be nominated

       for the Interim Associate Provost of DEI position. (Ex. A - Dr. Dillard Dec. ¶ 15.) The

       deadline was overlooked by Dr. Murphy, and she then told Dr. Dillard that it was too

       late for her to apply. Id.




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    71.               was non-qualified to serve as co-chair because he had not met his graduation

          deadline and was therefore at the rank of instructor, not tenure-track when he was

          appointed to co-chair a search committee with Dr. Dillard (Ex. A - Dillard Dec. ¶ 18;

          Ex. E – Dr. DeMoya Dep. pp. 126-127).

    72. Dr. Murphy observed that there was a sense of urgency felt by faculty members

          regarding the selection process for the program chair, leading to discussions about

          rethinking the process (Ex. C - Dr. Murphy Dep. 35:1-15). The timeline for the PRAD

          chair vote was consistent with the timelines used in previous PRAD chair elections and

          in the elections for all other program chairs (Ex. A - Dr. Dillard Dec. ¶ 16;

          Ghanem Dep. Ex. 12, Dillard_DePaul4059).

    73. Dr. Murphy was made aware of potential bias by Dr. Dillard and procedural problems

          regarding the search process, specifically about Dr.       ’s misperception on whether

          the committee should see a report about the top candidates before it goes to the full

          faculty (Ex. C - Dr. Murphy Dep.115:1-24, 116:1-24). The procedural problems were

          discussed in a meeting with Sydney, Nur, Dr. Murphy, and                   (Ex. C - Dr.

          Murphy Dep. 116:1-24). Dr. Dillard raised concerns about Dr.         ’s insubordination

          and defamation of Dr. Dillard’s character in the context of the email exchanges and

          search committee incidents (Ex. C - Dr. Murphy Dep. 118:1-24, 119:1-24). When Dr.

          Dillard utilized one of her approved disability accommodations to remove herself due

          to dizziness and overstimulation during the meeting (Dillard_DePaul09250), her actions

          were labelled as storming out. (Ex. A – Dillard Dec. ¶ 19). Dr. Dillard emailed Dr.

          Murphy, detailing her discomfort with the hostile interaction, misrepresentation of her

          character, and unauthorized disclosure of her medical information to other committee




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       members (Ex. A - Dillard Dec. ¶¶ 19, 31, Tab 3 - Dillard_DePaul05910). Dr.

       accused Dr. Dillard of denying her request to view the final search committee report

       (Dillard Dec. ¶ 19), though Dr. Dillard agreed to unnecessarily share the

       report and solicit feedback via a password protected shared document,      only

       available   to   committee   members    including          (Id.   at

       Dillard_DePaul3334). Dr. Murphy confirmed Dr. Dillard’s approach was in line with

       search committee policies and asserted that there was no need for a formal report from

       the search committee, as Dr. Dillard attempted to explain to Dr.         before being

       accused of storming out (Ex. A - Dillard Dec. ¶¶ 19, 31, Tab 3 - Dillard_DePaul05912).

       Dr. Murphy recalled Sydney expressing discomfort during the follow up meeting about

       how the conversation unfolded (Ex. C - Dr. Murphy Dep.122:1-24).

    74. After the vote, Dr. Murphy discussed the voting results with Sydney Dillard and had a

       follow-up phone call a week later (Ex. C - Dr. Murphy Dep. 49:16-24; Ex. 17 of Murphy

       Dep.). Dr. Murphy and Sydney Dillard discussed Sydney’s development as a leader and

       explored various leadership opportunities both within and outside the college (Ex. C -

       Dr. Murphy Dep. 107:11-24).

    75. Dr. Murphy denied that Dr. Dillard had complained to her about discrimination. (Ex. C

       - Dr. Murphy Dep. p. 73)(Q: Have any faculty members come to you with any sort of

       racial discrimination concerns? A: “To me directly, no”). Dr. Murphy later stated that

       she was aware of Dr. Dillard’s complaints of discrimination and potential bias and

       procedural problems during the advertising search committee meeting, particularly

       about whether the committee would see a report on the top candidates before it was sent

       to the full faculty (Id. at 115:1-24). Later, Dr. Murphy acknowledged that Dr. Dillard




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       met to discuss her “concerns.” (Id. at 153-154)(“Q: Do you see where she says that I

       have experienced instances of microaggression, social isolation and treatment

       unbecoming of the College...Is it still your testimony that Ms. Dillard never complained

       to you about feelings of being discriminated against?” A: “We did have the

       conversation, so I guess discrimination biases...so this came forward. I don’t recall any

       conversation where she explicitly said that she felt discriminated against”); (DSOF Tab

       B-2; Ex. 35, 108, 110, 112 (the potential of an investigation)).

    76. After requesting additional meetings for clarification on hiring processes and

       procedures, Dr. Dillard was described as aggressive and bully-like in emails between

       non-black College of Communication leadership team members including Dr.

              – Program Chair, Dr.       – Media Engagement Lab Director, and Dr. Bronstein

       – Associate Dean, Dean Murphy, and Provost Ghanhem (Dillard Dec. ¶ 20; Tab 4 -

       Dillard_DePaul3332-35, Dillard_DePaul08355, Dillard_DePaul08277).

    77. In May of 2019, Sydney Dillard emailed Dr. Murphy detailing instances of

       microaggressions, social isolation, and treatment unbecoming of the College of

       Communication, including concerns about limited career advancement and feeling

       program (Ex. C - Dr. Murphy Dep. 153-155; Ex. 15 Dr. Murphy Dep.). Dr. Dillard met

       with Dr. Murphy and discussed in-depth details of her complaint. However, Dr. Murphy

       never escalated Dr. Dillard's concerns to OIDE or the EEO office and opted only to

       discuss Dr. Dillard’s complaint directly with Dillard (Ex. C - Dr. Murphy Dep.156:1-

       24).

    78. Dr. Murphy acknowledged that Sydney Dillard raised questions about teaching

       evaluations and standards in an email thread (Ex. C - Dr. Murphy Dep. 149:1-24). An




                                                                                             31
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       email chain discussed teaching evaluations, including questions Sydney Dillard had

       about the calculation of means and standard deviations, and a teaching evaluation with

       a different instructor’s name (Ex. C - Dr. Murphy Dep.149:1-24).

                                   Dr. Dillard’s Disability

    79. Sydney Dillard disclosed to Dr. Murphy that she has a neurological condition leading to

       seizures (Ex. C - Dr. Murphy Dep.40:16-24; 41:1-5). Sydney Dillard requested

       accommodations due to her condition and provided a doctor’s note. DePaul provided a

       research assistant, a teaching assistant, and modifications in teaching courses and

       modalities (Ex. C - Dr. Murphy Dep.         44:16-24, 45:1-15). The accommodations

       provided went against her doctor’s orders. (Ex. B - Dillard Dep Ex. pp. 103-106, Ex.

       68).

    80. The stress of her experience at DePaul made Dr. Dillard physically sick. She began to

       have grand mal seizures leading to numerous life-inhibiting experiences, including

       vestibular dysfunction, dislocated shoulders, generalized anxiety disorder, and

       depression (Ex. B - Dillard Dep. 102:1-103:10); (Ex. G - Dr. Cristea Dep. pp. 13-14).

    81. Sydney shared with Dr. Ghanem that her health issues were exacerbated by stress at

       work and noted the lack of support from colleagues during her medical leave. Sydney

       discusses the impact of stress and challenges at work on her health, indicating a

       triggering effect while discussing these issues. (Ex. A – Dr. Dillard Dec. ¶31); (DSOF

       Tab B-2 – Ex. 85 - Calvente-DePaul 0038836-37). Dr. Dillard further expressed her fear

       for her future and the stress caused by her work environment, leading to sleeplessness

       and anxiety. (Ex. A – Dr. Dillard Dec. ¶31; DSOF Tab B-2 – Ex. 85 - CONFIDENTIAL

       Calvente-DePaul 0038839)




                                                                                            32
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    82. Sydney discusses challenges with HR regarding her medical leave and disability

       support, highlighting confusion and frustration with the process. (Ex. A – Dillard Dec.

       ¶31; DSOF Tab B-2 – Ex. 68, Ex. 85 - CONFIDENTIAL Calvente-DePaul 0038838-

       39, 43; (DSOF Tab B-2 – Ex. 68). Dr. Dillard also compared her treatment during

       sickness with that of a white male colleague, noting a stark difference in support

       received, suggesting racial discrimination (Ex. B – Dr. Dillard Dep. 100:5-24).

    83. Dr. Dillard’s neurologist is Dr. Cristea. Dr. Cristea testified that the onset of Dr.

       Dillard’s seizure disorder and the continued grand mal seizures were attributed to the

       stress that she experienced from DePaul’s ongoing discrimination. (Ex – G - Dr. Cristea

       Dep p. 32). Dr. Cristea refers to conversations he had with Dr. Dillard over multiple

       visits about her work issues. He recalls discussing her stress and anxiety, which were

       exacerbated by her work situation and were making her dizziness worse. Id.

    84. Dr. Dillard was forced to temporary disability when DePaul’s accommodations did not

       meet the needs of her disability. While she was on leave, her short-term disability claim

       was denied based on DePaul’s failure to supply a job description for her case, which

       resulted in Dr. Dillard being on unpaid leave (Ex. A – Dillard Dec. ¶ 21). Appealing the

       matter with support, Dr. Dillard ultimately did not have the appeal overturned until after

       she returned back to work. Id. Dr. Dillard’s disability is life-long, and she has incurred

       and will continue to incur costs and experience lifelong limitations because of this

       disability. (Ex. G – Dr. Cristea Dep.)

    85. DePaul’s disability accommodations, or lack thereof, showed a fundamental lack of

       understanding of what Dr. Dillard needed as accommodations. Dr. Dillard’s neurologist

       indicated in his doctor’s note that Dr. Dillard could work with restrictions, which




                                                                                              33
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       included teaching online courses. (DSOF Tab B-2 – Ex. 113); (Ex. G - Dr. Cristea Dep.

       p. 97)(“See where it says ‘Needs accommodations for work? See the ‘needs’ in all

       capitals? That implies to me that they weren’t being followed, the fact that I highlighted

       it that way...”). Dr. Dillard was forced to teach face-to-face classes against her

       Neurologist’s recommendation, which caused her to experience additional vestibular

       dysfunction, triggers, dizziness spells, and other life-impairing experiences. (DSOF Tab

       B-2 – Ex. 81; 113). Additionally, Dr. Dillard requested additional preparation time for

       course development and was given less time than her able-bodied counterparts when

       they received their teaching schedules approximately three months in advance Id.

       Lastly, she was encouraged to remove intersession teaching opportunities in exchange

       for preparation time as an accommodation after DePaul failed to provide an

       accommodation for more course preparation time Id.

    86. Currently, Dr. Dillard continues to experience anxiety and uncertainty when she

       continues to be qualified but rejected for career advancement opportunities—most

       recently being denied for the Associate Dean for Student Affairs and Engagement

       position based on presumptions about her ability to work while being disabled and an

       African-American woman. (Dillard Dec. ¶30).

    87. Dr. Cristea discusses his approach to treating patients with chronic diseases and how it

       applied to Dr. Dillard. He mentions that Dr. Dillard always wanted to work and was

       diligent in her career. He emphasizes the importance of allowing patients to live their

       lives within the limits of their restrictions, indicating that restrictions are not absolute

       but are tailored to each patient's situation. (Ex. G - Dr. Cristea Dep. 66 -69).




                                                                                                34
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      88. OIDE responded to the anonymous email with follow-up questions, which Dr. Dillard

          responded to, but OIDE did not perform a follow-up investigation. (DSOF Tab B-2 –

          Ex. 67).

      89. There has been a significant decrease in student enrollment within the PRAD program

          (at least 20%) and the PRAD program further lost faculty lines due to significant

          enrollment decreases, with the greatest loss of students within PRAD. (Ex. A – Dillard

          Declaration ¶4).

                                              Respectfully submitted,

                                              By: /s/ Gianna Scatchell Basile, esq.
                                                      Plaintiff’s Attorney


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Gia@dispartilaw.com


                                CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that she served this Plaintiff’s Motion for Extension
of Time to file Plaintiff’s Expert Disclosures to all counsel-of-record via this Court’s CM/ECF
filing system on December 27, 2023, and that such counsels are registered efilers.

                                                                   By: /s/ Gianna Scatchell Basile




                                                                                                 35
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                  EXHIBIT B -

DR. DILLARD DEPOSITION
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                                                                          Page 257
          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS
                    EASTERN DIVISION

 SYDNEY DILLARD,                       )
                                       )
                    Plaintiff,         )
                                       )
         vs.                           )   No. 1:20-CV-7760
                                       )
 DEPAUL UNIVERSITY,                    )
                                       )
                    Defendant.         )



                   The continued deposition of SYDNEY
 DILLARD, PH.D., the Plaintiff herein, called as a
 witness by the Defendant, pursuant to the Rules of
 Civil Procedure for the United States District
 Courts, taken remotely via Zoom videoconference
 before Sheri L. Arendt, C.S.R., on Tuesday,
 19th day of April, 2022, commencing at the hour of
 10:00 a.m. o'clock.




 Magna Legal Services Company
 (866) 624-6221
 www.MagnaLS.com, by:
 Sheri L. Arendt, CSR
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                                                   Page 258                                                Page 259
 1   APPEARANCES:                                              1              INDEX
                                                               2
 2     DISPARTI LAW GROUP                                      3   WITNESS: SYDNEY DILLARD, PH.D.
       121 West Wacker Drive, Suite 2300                       4
 3     Chicago, Illinois 60601                                 5   EXAMINATION BY:                PAGE
       (312) 506-5511                                          6   Ms. Wermuth              261
 4     gia@dispartilaw.com, by:                                7   Ms. Scatchell           390
                                                               8   Ms. Wermuth              538
 5         GIANNA SCATCHELL, ESQ.,                             9
 6         appeared on behalf of the Plaintiff;               10   EXHIBITS
 7                                                                 No. 145                262
        COZEN O'CONNOR                                        11   No. 3                263
                                                                   No. 38                263
 8      123 North Wacker Drive, Suite 1800                    12   No. 30                280
        Chicago, Illinois 60606                                    No. 24                283
 9      (312) 382-3100                                        13   No. 76                299
        awermuth@cozen.com                                         No. 32                315
10      brittanygreen@cozen.com, by:                          14   No. 33                315
                                                                   No. 42                316
11           ANNA WERMUTH, ESQ. and                           15   No. 43                317
             BRITTANY GREEN, ESQ.,                                 No. 146                320
12                                                            16   No. 36                320
            appeared on behalf of the Defendant.                   No. 40                321
                                                              17   No. 39                322
13                                                                 No. 48                331
14                                                            18   No. 49                332
15             * * * *                                             No. 67                333
16                                                            19   No. 75                334
17                                                                 No. 84                336
                                                              20   No. 85                337
18                                                                 No. 97                340
19                                                            21   No. 104                341
20                                                                 No. 47                347
21                                                            22   No. 2                353
                                                                   No. 50                358
22                                                            23   No. 121                363
23                                                                 No. 11                379
24                                                            24   No. 147                386

                                                   Page 260                                                Page 261
 1   No. 67                          431                       1            SYDNEY DILLARD, PH.D.,
     No. 148                          440                      2   called as a witness by the Defendant, having been
 2   No. 88                          469
     No. 149                          512
                                                               3   previously duly sworn, was examined and testified
 3   No. 150                          519                      4   further as follows:
     No. 151                          522                      5         E X A M I N A T I O N (cont.)
 4   No. 85                          528                       6               By Ms. Wermuth:
     No. 152                          529                      7        Q Okay. Thank you. Dr. Dillard,
 5   No. 154                          531
     No. 156                          532
                                                               8   before we got on the record, you indicated that
 6   No. 155                          537                      9   you have a bit of a cold or some sort of bug, and
 7                                                            10   that you are going to be taking cough medicine.
 8                                                            11   Have you taken any medicine in the last 24 hours
 9                                                            12   to treat your cold?
10
11                                                            13        A No.
12               * *     *                                    14        Q Okay. And when you say you are going
13                                                            15   to take cough medicine, when do you plan to do
14                                                            16   that?
15
16
                                                              17        A In less than a minute, once my
17           MS. WERMUTH: Let's go on the record.             18   husband finishes making it for me.
18   Good morning, and thank you everybody for                19        Q What sort of cough medicine is it,
19   returning. We are here today to continue the             20   what's the brand?
20   deposition of Dr. Sydney Dillard, case                   21        A It's Theraflu. Can you see that?
21   No. 20-cv-7760.                                          22   (Indicating.) Theraflu Severe Cold Daytime.
22                Dr. Dillard, do you understand
23   that you are still under oath today?                     23        Q Do you have any reason to believe,
24           THE WITNESS: I do, yes.                          24   Dr. Dillard, that it will interfere with your




                                                                                        2 (Pages 258 to 261)
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                                             Page 262                                                  Page 263
 1   ability to testify accurately and honestly today?     1       Q Do you want to go ahead and take that
 2        A     No, I don't believe it will.               2   binder out for us, please?
 3        Q     Okay. Terrific, thank you. Does            3       A Sure.
 4   everybody now have the email with the attachment,     4       Q Thank you. And if you would please
 5   Exhibit 145?                                          5   turn to Exhibit 3?
 6        A     Yes, I do.                                 6                (Exhibit No. 3 identified.)
 7        Q     Dr. Dillard, I would like to mark          7            THE WITNESS: It takes up a lot of
 8   this officially now for the record as Exhibit 145.    8   space. Just one moment.
 9                 (Exhibit No. 145 identified.)           9   BY MS. WERMUTH:
10   BY MS. WERMUTH:                                      10       Q Sure.
11        Q     Dr. Dillard, do you recognize this        11       A You said what, Exhibit 3?
12   letter?                                              12       Q Is that the EEOC charge that you
13        A     Yes. This, yes.                           13   filed in connection with your lawsuit?
14        Q     Okay. And this was the letter that        14       A Yes.
15   you received on or about September 26th, 2019, is    15       Q You filed it on August 13, 2019, is
16   that right?                                          16   that right?
17        A     That's correct.                           17       A Yes.
18        Q     This sets forth your accommodations       18       Q Can you turn to Exhibit 38, please?
19   for the academic year 2019-2020?                     19       A All right, Exhibit 38.
20        A     That is correct.                          20                (Exhibit No. 38 identified.)
21        Q     Thank you. Dr. Dillard, do you still      21   BY MS. WERMUTH:
22   have the exhibit binder in the box that we sent      22       Q Do you recognize those documents?
23   you?                                                 23       A It looks like it might be a 2017 W-2.
24        A     Yes, it's on the floor in the corner.     24       Q So in Exhibit 38, I see W-2's from
                                             Page 264                                                  Page 265
 1   2017 through 2019.                                    1   at this moment?
 2       A Oh, okay.                                       2            MS. SCATCHELL: After the deposition
 3       Q Or through 2020. Do you see that?               3   is fine.
 4       A I have to go backwards. Yes, 2017               4            THE WITNESS: Okay.
 5   through 2020. 2020 is the last one.                   5   BY MS. WERMUTH:
 6       Q Thank you. Those are your W-2's that            6        Q Okay. Dr. Dillard, could you please
 7   you produced to us, correct?                          7   turn to Exhibit 1? And you may want to actually
 8       A Correct.                                        8   remove that from the binder because we are going
 9             MS. WERMUTH: Okay. Dr. Dillard,             9   to be looking at that in conjunction with some
10   Gia, I am assuming the 2021 has been issued at       10   other exhibits as well. Okay?
11   this point since taxes were due yesterday. So if     11        A Yes. I have it out.
12   you have a minute, if you could please get us the    12        Q Terrific. Last week when we were in
13   2021 W-2?                                            13   deposition you indicated that this was the Second
14             MS. SCATCHELL: If I can. Did you           14   Amended Complaint that you filed in this case,
15   guys file your taxes, Sydney, or did you get an      15   correct?
16   extension?                                           16        A I believe so, yes.
17             THE WITNESS: I got an extension. I         17        Q Could you please turn to
18   didn't file yet.                                     18   Paragraph 25, which is on Page 5?
19             MS. WERMUTH: I'm just asking for the       19        A Yes.
20   W-2. I'm not asking for the tax return at this       20        Q I'm sorry. Wrong page. Could you
21   point.                                               21   turn to Page 7, Paragraph 31?
22             MS. SCATCHELL: Okay. Can you send          22        A Okay. I see it.
23   me the W-2 when you have a chance, Sydney?           23        Q Okay. And Paragraph 31 states:
24             THE WITNESS: After the deposition or       24   While working for DePaul, Plaintiff was subjected




                                                                                3 (Pages 262 to 265)
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                                             Page 266                                                  Page 267
 1   to an ongoing hostile work environment based on       1   meet with them regularly one on one and help guide
 2   her race in the following ways. Do you see that?      2   them and steer them to become better and more
 3       A      Yes.                                       3   prepared for tenure promotion.
 4       Q      Okay. And then there are a series of       4       Q Did you ask anyone to do that with
 5   paragraphs sub-marked A through G. Do you see         5   you?
 6   that?                                                 6       A Early in my career, during my first
 7       A      I do.                                      7   year I did. I asked Teresa Mastin to assist me.
 8       Q      So let's start with subparagraph A.        8       Q And did she?
 9   You write that: Non-minority employees similarly      9       A She assisted me in terms of research,
10   situated to Plaintiff were given one-on-one          10   yes, not in terms of teaching or service. But in
11   assistance and coaching regarding their              11   terms of research, she did assist me.
12   performance on the path to obtaining tenure, and     12       Q And is it your contention that Teresa
13   Plaintiff was not.                                   13   Mastin discriminated against you based on your
14                 Could you tell me who those            14   race?
15   non-minority employees are that you are referring    15       A I haven't thought about it. She's
16   to in that paragraph?                                16   been gone since 2014. So it was a long time ago.
17       A      Yes. From my knowledge, Michael           17       Q As you sit here today, you can't say
18   Devlin and Lou. I don't know Lou's last name.        18   whether or not you are making allegations that
19   Those are two ex-employees of DePaul that were       19   Teresa Mastin discriminated against you based on
20   white men who had been requested to go -- I think    20   your race?
21   to go through an additional review perhaps. But      21       A I'm not sure at this moment. I'd
22   in -- but they were given opportunities. In fact,    22   have to think about it. I never thought about
23   I was told by one of them that several faculty       23   Teresa at that time because I hadn't even thought
24   members, senior faculty members had offered to       24   about being discriminated against while she was
                                             Page 268                                                  Page 269
 1   there. So I'd have to think about it more and         1       A I think in 2017. And he kept
 2   maybe think about her interactions with me to         2   avoiding me actually. He eventually sat with me,
 3   decide if I think she was discriminating against      3   but he never helped me in terms of developing my
 4   me in any way.                                        4   teaching. He just told me that I had to go
 5       Q You filed your lawsuit in April                 5   through an additional review and what the
 6   of 2021, or this version of your lawsuit in April     6   personnel committee suggested that I work on.
 7   of 2021; correct?                                     7       Q So he gave you some feedback when you
 8       A That's what it says, yes. Yes.                  8   met with him?
 9       Q More than a year ago, correct?                  9       A No, that's not feedback because all
10       A We are in April now, so how is that            10   of that information was already given to me. So I
11   more than a year?                                    11   don't think that's substantial feedback. If you
12       Q It was filed -- this was your Second           12   repeat what's already told, that's not important
13   Amended Complaint which was filed on April 7th of    13   feedback.
14   2021. Today is April 19th of 2022, correct?          14       Q And when did Michael Devlin -- and is
15       A Yes. So a year and some days.                  15   it Lou Rutigliano, does that sound right?
16       Q Okay. Did you ever ask anyone to               16       A That might be right. I'm sorry, I
17   provide you with one-on-one assistance or coaching   17   don't know Lou's last name.
18   regarding your teaching?                             18       Q When did Michael Devlin and Lou
19       A I did, yes.                                    19   receive the one-on-one coaching that you referred
20       Q Who did you ask?                               20   to here?
21       A I asked                  when he was the       21       A Well, I had my first review in 2013,
22   personnel chair.                                     22   so it must have been at least in 2014, so at least
23       Q When did you ask                    to do      23   2014.
24   that?                                                24       Q And they told you that at the time?




                                                                                 4 (Pages 266 to 269)
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                                             Page 270                                                  Page 271
 1       A Michael told me. Lou did not tell               1   to. I'm pretty certain he did.
 2   me.       Calvente told me about Lou getting          2       Q      What about at DePaul?
 3   support.                                              3       A      He received a teaching award
 4       Q You have no first-hand knowledge                4   actually.
 5   about Lou getting support, correct?                   5       Q      My question is -- and I'm sorry, I
 6       A Yes, you are correct.                           6   wasn't clear. Did Michael Devlin receive tenure
 7       Q All right. Paragraph -- subparagraph            7   from DePaul?
 8   B, non-minority employees were subjected to less      8       A      I don't know.
 9   stringent evaluations than Plaintiff -- strike        9       Q      Did Lou, whoever Lou is, white male
10   that. I'm sorry.                                     10   Lou, did he receive tenure at DePaul?
11                Did Lou, was he awarded                 11       A      I don't know.
12   tenure?                                              12            MS. SCATCHELL: Actually that's --
13       A I don't know.                                  13            THE WITNESS: I think the better
14       Q Michael Devlin, was he awarded                 14   person to ask would be probably one of the deans
15   tenure?                                              15   because they would be the ones to deal with
16       A I don't know.                                  16   personnel.
17       Q They have both moved on from the               17   BY MS. WERMUTH:
18   University?                                          18       Q      I'm just asking you, Dr. Dillard. If
19       A Yes, they are both gone.                       19   you don't know, you can tell me you don't know.
20       Q Do you know if either one of them --           20       A      I don't know.
21   there was a recommendation for non-renewal?          21       Q      Non-minority employees were subjected
22       A I don't know. If you are asking                22   to less stringent evaluations than Plaintiff,
23   about tenure, I think Devlin, Mike Devlin received   23   allowing them to obtain tenure sooner than
24   tenure at whatever university he ended up going      24   Plaintiff. Who are you referring to in that
                                             Page 272                                                  Page 273
 1   paragraph?                                            1   and commended. They were saying, oh, great job,
 2        A I am referring to, for instance, one           2   versus in the situations in which I would have
 3   of my colleagues, Rajul Jain to give you an           3   perfect scores and students really enjoyed my
 4   example of that.                                      4   coursework, those were overlooked and not even
 5        Q And you say that she obtained tenure           5   included as a discussion point in the -- you know,
 6   sooner than you. Can you explain that to me?          6   in our dean's letters. So that's what I mean by
 7        A Well, she obtained tenure at least a           7   less stringent evaluations. So she was able to go
 8   year prior to me, even though her and I had went      8   up earlier.
 9   to the -- started at the University at the same       9                 And if that happens over time,
10   time. So when I was talking about less stringent     10   that's to me a sign, again, when you are going up
11   evaluations, you know, looking at the materials      11   for tenure, that happens over time. And so each
12   that -- well, she sent me her materials after she    12   year if you are getting -- being evaluated more
13   left the University, and I saw in her evaluations    13   harshly and others are given less stringent
14   that she had scores that were lower than mine in     14   evaluations, that gives them the opportunity to
15   numerous classes. And when it was time for           15   move up quicker in their career.
16   personnel and faculty members to vote as well as     16       Q Okay. So my question was: Did
17   the dean to decide on whether to renew her           17   Dr. Jain obtain tenure sooner than you?
18   contract and to keep her and say she was making      18       A Yes.
19   progress towards tenure in the category of           19       Q And you testified that she went up
20   teaching, she was not required to teach, to go       20   one year prior to you, even though you started at
21   through an additional review even though my scores   21   the same time, correct?
22   might have been higher. And also in some cases,      22       A Yes, I believe that to be true.
23   also, her perfect scores, like if she ever got       23       Q Okay. Now, you started at the same
24   five out of five, those scores were highlighted      24   time, but you also paused your clock for one year;




                                                                                 5 (Pages 270 to 273)
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                                             Page 274                                                  Page 275
 1   correct?                                              1       A I can't tell you exactly how many. I
 2        A That is correct.                               2   mean, she must have gone through at least three,
 3        Q Okay.                                          3   so perhaps between one and three.
 4        A That still means I can go up early.            4       Q Okay. Did you produce everything to
 5        Q That wasn't my question. You paused            5   us that she gave to you?
 6   your clock for one year, correct?                     6       A Yes, I did.
 7        A Yes, I did.                                    7       Q Okay. And are you -- is there a
 8        Q And so -- and Dr. Jain did not go up           8   particular review that you say she was subjected
 9   early for tenure early, right? She went forth on      9   to less stringent evaluations than you? Is there
10   the schedule set forth, the regular schedule set     10   a particular review that you are referring to?
11   forth in the handbook?                               11       A I'm sure if I had the reviews in
12        A I don't know if she paused her clock          12   front of me, then I could pinpoint exactly where
13   or not. I don't know if she went up early or not.    13   they are.
14        Q Okay. So you say that she gave you            14       Q So if you look at Exhibit 1, which
15   her reviews after she left. So she's gone from       15   you have in front of you, there is a footnote on
16   the University, is that correct?                     16   Page 4. Do you see that?
17        A She has left the University, yes.             17       A Yes.
18        Q And she left back in 2018, is that            18       Q Okay. So and that footnote lays out
19   correct?                                             19   the dates on which you received your formal
20        A I don't exactly remember when she             20   reviews, is that correct?
21   left honestly.                                       21       A Yes. This appears to be accurate.
22        Q Okay. And you said she gave you               22       Q So are you saying in this paragraph B
23   information about her review. How many reviews       23   that Dr. Jain was evaluated differently in every
24   did she give you?                                    24   single -- strike that.
                                             Page 276                                                  Page 277
 1                I guess what I'm trying to               1   not being forced to teach in that modality. So
 2   understand, are there particular reviews that you     2   different applications of criteria that is
 3   contend -- of yours, as set forth in footnote one     3   subjectively being applied between different
 4   that you contend were more stringent?                 4   candidates, with mine being more stringent.
 5       A I would have to see the reviews to              5       Q Is teaching online required of
 6   point out the differences. I can't necessarily        6   faculty in the College of Communication?
 7   say which reviews of hers were different. But I       7       A Teaching is required of faculty.
 8   did notice, in general, that there were some          8   Teaching online and in person are both required of
 9   discrepancies from what she gave me and what I saw    9   faculty if that's the courses that you are
10   in my reviews.                                       10   required to teach.
11       Q And in particular, you are talking             11       Q So my question is: Is there a
12   about scores on teaching evaluations?                12   requirement of the College faculty to teach
13       A I'm talking about the entire                   13   courses online?
14   document, not just scores, but the language that's   14       A There is a requirement to teach
15   used. For instance, for the example that I just      15   online and face to face because online is still
16   gave, like, commending someone for having perfect    16   teaching. Teaching is teaching, and it really
17   scores and then deciding not to commend another      17   doesn't matter the modality, doesn't change in the
18   person for that; or having lower scores in some      18   amount of money that the University receives in
19   form of teaching modality, for instance, teaching    19   terms of tuition and costs. It costs the same to
20   online versus face to face. So saying great job,     20   teach an online class as face-to-face. So in
21   and then noticing, for instance, me having lower     21   general, teaching online is required just like
22   scores in a face-to-face and then being forced to    22   face-to-face is required.
23   teach more face to face versus someone else having   23       Q Is it your testimony that every
24   lower scores when they teach online and then them    24   single member in the College of Communication is




                                                                                 6 (Pages 274 to 277)
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                                             Page 278                                                  Page 279
 1   required to teach an online course?                   1   those changes, I was -- it was recommended that I
 2       A     Every faculty member is required to         2   continue to increase my face-to-face classes and
 3   teach whatever they are required to teach. I          3   no longer teach online.
 4   don't understand your question. Are you saying        4                 And then only after I did very
 5   are we required to teach online? If that's what       5   well in my face-to-face classes, which I have done
 6   we are given, yes.                                    6   before, and after I complained about me being
 7       Q     If that's what you are assigned.            7   treated differently and no one else having that
 8       A     If you are assigned to teach online,        8   same requirement, then they changed it back.
 9   yes, you are supposed to teach it unless you work     9   They, being my colleagues, my program chair,
10   out something with your program chair or the dean.   10   changed it back to not only face to face even
11   You know, we have exceptions that can be made.       11   though I was forced to go through a review because
12       Q     Okay. And so if we -- when you say         12   they were concerned, quote unquote, concerned
13   that you were subjected to more stringent            13   about my teaching in face-to-face classes.
14   evaluations and required to teach face to face,      14       Q     Was it the March 3rd, 2017 formal
15   you are referring to your March 3rd, 2017 formal     15   review that made the recommendation that you teach
16   review, is that correct?                             16   more face-to-face courses?
17       A     That particular review was the review      17       A     I would have to see them. I believe
18   where that requirement was placed -- you know        18   so because 2017 is right before I went up for
19   what, it wasn't a requirement at first. It seemed    19   tenure so -- let me look. Let me think. First
20   like it was a recommendation. However, it became     20   one, second one, go through another review, third
21   a requirement. It seemed to become a requirement.    21   one. I think it was 2017 actually.
22   As you can see, I think we have emails somewhere     22       Q     That's what I asked you. Was it --
23   in here in which I changed my teaching schedule to   23       A     Oh, I'm sorry, I thought you said
24   consider the recommendation. And when I made         24   2015. Yes, 2017.
                                             Page 280                                                  Page 281
 1      Q       Could you please turn to Exhibit 30?       1        Q Okay. And so if you look at the --
 2                  (Exhibit No. 30 identified.)           2   do you see how there are columns with terms, 2014
 3            THE WITNESS: Keep this out?                  3   to '15, winter. Do you see that?
 4   BY MS. WERMUTH:                                       4        A Maybe further in. Let me see.
 5       Q      Yes, you can keep that out. That's         5        Q Page 583.
 6   fine. And actually, keep that footnote one by you     6        A Okay, yes. I see it.
 7   in Exhibit 1, if you would.                           7        Q Do you see up above there, those
 8       A      All right. I'm on 30.                      8   columns, the first one is 2014 through 2015
 9       Q      Okay. So in footnote one, it               9   winter?
10   indicates that you had a teaching review -- or a     10        A Yes, I do see that.
11   formal review on March 23 of 2015, and two years     11        Q If you go four columns in to
12   later in March of 2017, right?                       12   2014-2015 spring, do you see that?
13       A      I would say that's less than two          13        A Yes, I do.
14   years, but I can see what you are trying to point    14        Q Okay. And there is HTHC 520, do you
15   at.                                                  15   see that?
16       Q      If you can see Exhibit 30? Do you         16        A Yes.
17   have Exhibit 30 in front of you?                     17        Q That's a graduate course that you
18       A      Yes, I do.                                18   taught in the spring of 2015, is that right?
19       Q      And Exhibit 30, those are your            19        A That's correct.
20   historical -- that's historical data related to      20        Q Okay. And that was a face-to-face
21   scores that you received on your teaching            21   class?
22   evaluation, is that right?                           22        A I think, yes. I don't think -- I
23       A      Yes, this is -- yes, I believe this       23   think that class had four or five students in it.
24   is historical data.                                  24   I remember that.




                                                                                 7 (Pages 278 to 281)
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                                            Page 282                                                    Page 283
 1       Q     You see your scores in that class for      1       Q So the scores for this class were not
 2   that quarter? There are a fair number of red or      2   available to your peer reviewers for the 2015
 3   sort of pink boxes that show low scores. Do you      3   review, is that correct?
 4   see that?                                            4       A No. Yes, that would be correct.
 5       A     There are some.                            5   These would not have been available.
 6       Q     And if you go two columns in to            6       Q But they were available then for the
 7   2014-2015 spring, PRAD 595, do you see that          7   2017 review?
 8   column?                                              8       A Yes, they would, um-hum.
 9       A     Yes, I do.                                 9       Q Thank you. All right. If you would
10       Q     That was another face-to-face course?     10   turn to Exhibit 24?
11       A     That was the same face-to-face course     11       A I'm there.
12   that was cross-listed with five students.           12                (Exhibit No. 24 identified.)
13       Q     I see. Okay. Those scores relate to       13   BY MS. WERMUTH:
14   the same course?                                    14       Q Do you recognize that document?
15       A     Yes. Those scores relate to the same      15       A It looks like Rajul Jain's historical
16   class that was cross-listed across health           16   report.
17   communications and public relations and             17       Q Okay. And do you -- this is
18   advertising that had five students in it.           18   something she gave to you?
19       Q     Okay. And those spring 2015 courses       19       A Yes, she gave this to me.
20   were courses that you taught after your March 25,   20       Q Okay. Do you normally, like, in
21   2015 review was given to you?                       21   your -- do you have access to other faculty
22       A     Well, actually, the review was on the     22   members' evaluations?
23   23rd. And the class started probably during the     23       A Well, I do now, but at the time I
24   review or shortly after the review.                 24   didn't.
                                            Page 284                                                    Page 285
 1       Q And how is it that you have access to          1      A       I need to see them.
 2   that information now?                                2             MS. SCATCHELL: Anna, do you have
 3       A I had to request it from the program           3   page numbers?
 4   chair. But I'm -- as I plan and schedule courses     4             MS. WERMUTH: Yes, Brittany will get
 5   for the graduate program, I have to review           5   those, and we will circle back on that question,
 6   teaching effectiveness to see if certain faculty     6   and you can tell me how you got those. But I can
 7   members need any assistance in their teaching or     7   tell you right now that they are -- hang on just a
 8   development so I can provide assistance or make      8   moment. They include OTE's for               Willard,
 9   scheduling plans for the upcoming year.              9   David Brenders, Jean-Claude Teboul, Timothy Cole,
10       Q And so you produced to us dozens of           10   Carolyn Bronstein, David Morris, Leah Bryant, Dan
11   scores of faculty members from 2018 and 2019. How   11   Makagon, Luiesela Alvaray. I mean, there is
12   did you obtain those scores? I know that this was   12   literally almost four-dozen individuals for whom
13   given to you by -- or Exhibit 24 was given to you   13   you produced to us OTE's from the 2018-2019
14   by Dr. Jain. But how did you obtain the other       14   academic year. So I would like to know how you
15   ones from 2018 and 2019?                            15   obtained that information. So we'll get you the
16       A What other ones?                              16   Bates numbers.
17       Q You produced to us OTE's from                 17   BY MS. WERMUTH:
18   numerous other faculty, dozens, from 2018, 2019     18        Q Now, is this the Exhibit 24, the
19   academic year. How did you obtain those?            19   information that you rely on to say that your
20       A Can you show me where those are               20   scores were better than her scores such that
21   because I don't see those?                          21   she -- that you were subjected to greater
22       Q I don't have those marked as an               22   scrutiny?
23   exhibit. Those are in the production that you       23        A I would have to take a look at all of
24   sent to us.                                         24   those that were submitted. But this would be one




                                                                                 8 (Pages 282 to 285)
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                                             Page 286                                                   Page 287
 1   of the examples of the teaching scores in which I     1   period of time were you required to teach more
 2   had better scores or had perfect scores and was       2   face face-to-face instruction than any
 3   overlooked. I think you are comparing different       3   non-minority in the College of Communication?
 4   years. This says 2012. And the one that we just       4       A     That would be following my --
 5   looked over I think said 2014 or '15. So we are       5   following the 2017 review. So following that is
 6   looking not at apples to apples at this point I       6   when they recommended that I change all my classes
 7   don't think.                                          7   to face to face, which I did. And I started
 8       Q     Well, you see there are three pages         8   designing my coursework to mirror that. And,
 9   here, Dr. Dillard?                                    9   yeah.
10       A     I see the second and third page,           10       Q     So are you saying that for one
11   okay.                                                11   academic year, 2017-2018, you were required to
12       Q     Okay. And these are the pages that         12   teach more face-to-face instruction than any
13   you produced to us, correct?                         13   non-minority?
14       A     Yes, I know I produced these.              14       A     I'm sorry. My computer went out for
15       Q     Okay. All right. Is there anyone --        15   a second there.
16   going back to Exhibit 1, Paragraph 31(b), is there   16       Q     So I'm asking, you said it was after
17   anyone else in that paragraph other than Dr. Jain    17   the 2017 review. So for how many academic years
18   that you are referring to there?                     18   after the 2017 review were you required to teach
19       A     At the time, no. She was the only          19   more face-to-face instruction than any
20   person that provided her reviews to me.              20   non-minority employee in the College?
21       Q     Okay. All right. Paragraph 31(c)           21       A     I'm still not understanding. How
22   you say that you were required to teach more         22   long or when did it begin?
23   face-to-face instruction than any non-minority       23       Q     Not when did it begin. Here is the
24   employee in the College of Communication. What       24   question. For how many years --
                                             Page 288                                                   Page 289
 1       A For how many years.                             1       Q And so if I were to pull schedules of
 2       Q After -- let me finish because we are           2   everyone who taught in 2017 in the College, I
 3   going to clarify this.                                3   would see that you had more face-to-face courses
 4                 For how many years after your           4   than any other faculty member? Is that what --
 5   2017 review were you required to teach more           5       A What you would see is that there are
 6   face-to-face instruction than non-minority            6   probably some faculty that taught face to face,
 7   employees in the College?                             7   but they weren't required in the same sense that I
 8       A I would say one quarter. It wasn't              8   was in review. What you would find is that no
 9   for a year. They required it for the year. But        9   person who has gone through a review was required
10   after I complained about me being treated            10   to teach only face to face in the way that I was.
11   differently and then applying different standards    11       Q Okay. And you said you complained
12   to me, they flip-flopped and changed it back to      12   about that requirement. Who did you complain to?
13   being able to teach more than just face to face.     13       A I complained to                      . I
14   So if you are looking for a timeframe, it wouldn't   14   complained to Lexa Murphy or Alexandra Murphy. I
15   be an entire year. It would be for at least one      15   complained to Salma Ghanem and to                 .
16   quarter that I was required to teach face to face.   16   Initially, I just tried to go along with it
17   However, they told me it would have to be for a      17   because I'm, you know, a very cordial person, and
18   year.                                                18   I thought what was happening to me at the time was
19       Q And what quarter then? What quarter            19   support. But then later, like I said, after
20   were you required to teach more face-to-face         20   running into these types of information, I
21   instruction than any other employee in the College   21   realized that it wasn't support, I was just being
22   of Communication?                                    22   given differential treatment.
23       A I would say that would be the fall             23       Q And so the people you complained to
24   of 2017 at least.                                    24   were Dr. Murphy, Dr.            , Dr.     , and




                                                                                 9 (Pages 286 to 289)
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                                                  Page 290                                                   Page 291
 1   Dr. Ghanem, is that right? I just want to make              1   I didn't say why am I being treated differently
 2   sure that I got that right.                                 2   because of my race or ethnicity or gender or
 3       A     For certain those who were on the                 3   domestic status. That's not what I said. I just
 4   leadership team, yes. I probably told Maria                 4   said: Why am I being treated differently in this
 5   DeMoya and colleagues, but those were the people            5   case?
 6   that I went to in their leadership capacity for             6       Q When you say "domestic status," what
 7   assistance, and Dr. Bronstein as well.                      7   are you referring to?
 8       Q     Dr. Bronstein as well?                            8       A I am referring to being a US-born
 9       A     Yes.                                              9   minority.
10       Q     When you talked to those five                    10       Q Your Complaint does not have any
11   leadership folks, Dr. Murphy, Dr.          , Dr.  ,        11   allegation of national origin discrimination.
12   Dr. Ghanem, Dr. Bronstein, did you say: I think            12       A I would have to take a look at that
13   I'm being discriminated against based on my race?          13   because I did tell my attorney at the time that
14       A     No. At the time -- I told you, at                14   that was something that we should take into
15   the time I wasn't aware of what was exactly                15   consideration.
16   happening. It took me time to actually see that I          16       Q Well --
17   was being treated differently.                             17             MS. SCATCHELL: I am going to object.
18       Q     Okay.                                            18             MS. WERMUTH: I'm sorry?
19       A     It wasn't necessarily right at that              19             MS. SCATCHELL: I am going to object
20   moment that I said, oh, I'm being discriminated            20   to this line of questioning as it calls for a
21   against because at the time I was trying to do             21   legal conclusion. You can answer.
22   what I thought was -- what they were saying was            22             MS. WERMUTH: There is not a question
23   supposed to help me develop as a faculty member.           23   pending, but I will ask a new question.
24   But I did ask why was I being treated differently.         24
                                                  Page 292                                                   Page 293
 1   BY MS. WERMUTH:                                             1   class even if their scores may or may not have
 2       Q Did you review Exhibit 1 before it                    2   been below the College mean.
 3   was filed?                                                  3                  And again, I mean, the biggest
 4       A Exhibit 1, the one that we are                        4   thing is about not having an actual standard set,
 5   looking at, the Second Amended -- are you talking           5   right. So if there is no -- there is no rule that
 6   about the Second Amended Complaint?                         6   says it needs to be above the mean or below the
 7       Q Yes, Exhibit 1. Did you review that                   7   mean that the colleague used. We are changing
 8   before it was filed in court?                               8   that now, right. We are going to another review
 9       A I took a look at it, yes.                             9   of our team policies to be more strict because of
10       Q Okay. Going back to Exhibit 1,                       10   this type of situation. But I was referring to
11   Paragraph 31(d), I think we already talked about           11   numerous faculty members who had explained to me
12   this in connection with 31(b), but it says:                12   that they didn't -- they were not admonished even
13   Plaintiff was admonished for low scores, while             13   if their scores were lower.
14   non-minority employees with lower scores were not          14        Q     Do you know if Maria DeMoya, Rajul
15   admonished. Are you talking there about Dr. Jain?          15   Jain, Dr.       , Dr. Hoecker, or Dr.          had
16       A I'm talking about faculty members in                 16   scores lower than yours in face-to-face courses?
17   general because I talked to numerous faculty               17        A     I can't remember off the top of my
18   members that were going through review, and this           18   head. But when I talked to them in general, they
19   included Maria DeMoya, Rajul, Yeuseung           , later   19   said when they had lower scores, they weren't
20   Robin Hoecker, just a number, even Jill         ,          20   required to go through another review.
21   just a number of tenure-line faculty members about         21        Q     Okay. And by the way, the race of
22   their experiences. And when I talked to them               22   Maria DeMoya is what?
23   about having lower scores, they all acknowledged           23        A     I don't know what she considers
24   that they hadn't been required to teach another            24   herself. I know she was born in the Dominican




                                                                                     10 (Pages 290 to 293)
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                                              Page 294                                                      Page 295
 1   Republic.                                              1   are talking about.
 2       Q She is not Caucasian?                            2       A Well --
 3       A I can't assume that she's Caucasian              3       Q And I also need to understand the
 4   because I know someone else who was born in Latin      4   basis of your allegation that the five people that
 5   America who identifies themselves as Caucasian. I      5   you named are non-minority.
 6   think that's a question for her.                       6       A Well, the basis for me when I was
 7       Q Well, you used the word "non-minority            7   putting this together were people that were not
 8   employees." So you are identifying people that         8   considered US-born minorities. So for me, I'm
 9   you claim are not minorities. So I'm trying to         9   looking at that in reference to, for instance, I
10   understand how you reach the conclusion that          10   think      Calvente, she considers herself -- I
11   Dr. DeMoya, Dr. Jain, Dr.        , Dr. Hoecker, and   11   didn't know that she did, but she considers
12   Dr.         are non-minority. So what's the basis     12   herself African-American. And so -- but she is US
13   for your allegation?                                  13   born. She would be a non-minority -- I'm sorry,
14       A And what's your question again? Do              14   she would be a minority employee in my perception.
15   you mind repeating that?                              15   And after talking to, say, Maria DeMoya, she has
16       Q Your allegation is you were                     16   also explained to me that when she came to the US,
17   admonished for low scores while non-minority          17   she didn't even consider herself a minority. So
18   employees with lower scores were not admonished.      18   that's why I placed them in that category of
19   I asked you to identify the non-minority employees    19   non-minority based off the conversations that I
20   who were not admonished, and you identified four      20   had with them.
21   or five individuals.                                  21       Q And you indicated that these five
22       A I gave you some examples, yes.                  22   individuals were only examples. Are there other
23       Q Well, are there others? Because you             23   individuals that you are referring to in
24   make this allegation, and I need to know who you      24   Paragraph 31(b)?
                                              Page 296                                                      Page 297
 1       A     I can't think of it off the top of my        1   Plaintiff was forced to co-chair the committee
 2   head right now, but something might come to me         2   with a non-qualified employee. So when you write
 3   later.                                                 3   that you requested to be chair of a search
 4       Q     This is my only opportunity to depose        4   committee on one occasion, what timeframe are you
 5   you.                                                   5   referring to there?
 6       A     Hold on one second.                          6       A I believe this was in 2018.
 7           MS. WERMUTH: Off the record, please.           7       Q In the summer?
 8                 (Discussion off the record.)             8       A Well, the communication went back and
 9           MS. WERMUTH: Back on the record.               9   forth early -- it might have been late spring all
10   BY MS. WERMUTH:                                       10   the way to the summer.
11       Q     Dr. Dillard, this is my only                11       Q Okay. And you asked your program
12   opportunity to depose you. Can you be any more        12   chair,             , if you could be the sole chair
13   clear about who you are referring to in               13   of the committee, is that right?
14   Paragraph 31(d) other than what we've already         14       A I did request that I be the chair of
15   discussed?                                            15   the committee. I didn't ask to be the sole chair,
16       A     That's all I can remember at this           16   I asked to be the chair. And then I was
17   time. Perhaps if something comes up before the        17   informed that -- in fact, it was really
18   end of the deposition, I'll be happy to include       18   interesting because I even wasn't informed that
19   it.                                                   19   they had already decided who was going to be the
20       Q     Thank you. All right.                       20   co-chairs. And I found out at a lunch when we
21   Paragraph 31(e), it says: Plaintiff requested to      21   were going to celebrate Dr. DeMoya's tenure and
22   be a chair of a search committee on one occasion      22   promotion and Dr.             ,              , a junior
23   which would have demonstrated her level of service    23   faculty member who I was on the committee for that
24   to a committee and criteria for tenure. Instead,      24   hired, he informed me that he was going to be the




                                                                                 11 (Pages 294 to 297)
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                                                Page 298                                                    Page 299
 1   chair of the committee. He didn't say co-chair I         1        A I'm sure she did. I'd have to see
 2   don't think. He said chair. And I was kind of            2   the email, but I'm pretty certain that she gave me
 3   taken back because I hadn't had or heard that            3   a reason. She didn't ignore me or anything, no.
 4   conversation. And then that -- I went back to            4   I would have to look at the emails though.
 5          and asked her could I be the chair because        5        Q If you could turn to Exhibit 76. And
 6   out of everyone at the University, at least in my        6   if you would like to go off the record, and read
 7   program that was tenure or tenure track, everyone        7   it, we can go off the record, okay? Gia, is that
 8   had had the opportunity to be the chair of a             8   okay with you so that's fairly lengthy?
 9   committee or hold a leadership role. And any time        9            MS. SCATCHELL: Yes, I prefer that.
10   that I was asked to join, I was not given that          10   I didn't want to interrupt.
11   opportunity.                                            11                (Exhibit No. 76 identified.)
12                 And yes, there was a                      12                (Discussion off the record.)
13   non-qualified employee because he hadn't even           13            MS. WERMUTH: Back on the record.
14   become an assistant professor, and now he was           14   BY MS. WERMUTH:
15   about to chair a committee while he wasn't even an      15        Q So that email trail begins with an
16   assistant professor yet, hadn't taken on that           16   email from you to Dr.       , correct?
17   title yet and hadn't even been at the University        17        A Yes.
18   for a year yet, but somehow rose to the position        18        Q Okay. And that -- the first email is
19   of chair before even sitting on a committee to do       19   dated June 19th -- I'm sorry, June 18th of 2018?
20   this type of work after I had been on at least          20        A Yes, um-hum.
21   four different search committees as a member.           21        Q Okay. So you reach out to her with
22        Q     And        provided you with an              22   questions about the search committee for replacing
23   explanation for the decision to have the                23   you say Yeuseung. Is that Yeuseung          ?
24   co-chairs, is that right?                               24        A Yes, yes. That was about me asking
                                                Page 300                                                    Page 301
 1   because I had already informed her that I was            1   because you were submitting your tenure
 2   interested in the position prior to.                     2   application?
 3        Q Okay. And as of this date, you had                3       A Yes. I was explaining to her that,
 4   been back to work for one week, correct?                 4   yes, I was going up for tenure soon, and I hadn't
 5        A I'd have to look at my return date.               5   had any leadership opportunities. I've always
 6   But if you think that was the date, I will go            6   only been asked to co-chair or be a member but
 7   ahead and go along with it.                              7   never lead in terms of hiring. And then I also
 8        Q Do you recall returning to work from              8   expressed concern that         hadn't even --
 9   leave in June of 2018?                                   9   Dr.          hadn't even taught at the University or
10        A Yes, I do.                                       10   been at the University for a year, so how could he
11        Q Thank you. And she responded to you              11   be prepared to do that. And then I also -- I
12   about co-chairing with Dr.           , is that right?   12   didn't say anything in here, but go ahead, yeah.
13        A She responded to me and said the                 13       Q And so she responded that this would
14   position hadn't been approved yet, and --               14   not negatively impact your tenure review?
15        Q Okay.                                            15       A From her perspective, yes.
16        A -- and we will be searching for two              16       Q And it didn't -- you did get tenure
17   positions. Oh, yes, yes, I would like to have you       17   when you applied, right?
18   and       co-chair.                                     18       A I did. But I didn't get leadership
19        Q Nothing had been approved yet?                   19   positions, so, later on. But it did.
20        A The position had not been approved               20       Q It didn't impact your tenure
21   yet.                                                    21   application was my question.
22        Q Okay. And then you responded by                  22       A Oh, it did not impact my tenure
23   letting her know you really wanted to chair it,         23   application.
24   and you were in particular wanting that experience      24       Q Right. Okay. Thank you. Going back




                                                                                   12 (Pages 298 to 301)
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                                             Page 302                                                    Page 303
 1   to Exhibit 1.                                         1   longer use at DePaul. But it was a software that
 2        A    Can I add one other thing as well           2   we used for uploading our dossiers for reviews,
 3   about this situation?                                 3   for formal reviews, and also for, like, your
 4        Q    I mean, there is no question pending        4   formal tenure review I guess to go up for tenure
 5   at this point in time.                                5   and promotion.
 6        A    Okay. Maybe later.                          6       Q Okay. So it was an electronic file
 7        Q    My time is limited.                         7   of your dossier?
 8        A    That's understandable. That's fine.         8       A Yes. That's a good example or
 9   Let's go back to 1.                                   9   explanation, yes.
10        Q    I know your attorney is going to ask       10       Q And so it was what all of your
11   you some questions, and you can share additional     11   reviewers would look at in analyzing your tenure
12   information at that time. Thank you.                 12   application or analyzing you for formal review, is
13        A    Okay.                                      13   that right?
14        Q    Back to Exhibit 1, Paragraph 31, I         14       A Yes, yes. That was the system. But
15   would like to go -- I would like to skip (f) for a   15   you know what, I don't know if they would use -- I
16   minute and go to (g).                                16   think they did get on SharePoint to see it. I
17        A    Okay.                                      17   wouldn't know because I wasn't on that side of
18        Q    You say: Plaintiff was singled out         18   the -- you know, when you go through the review, I
19   and reviewed on her use of DePaul's SharePoint       19   don't exactly see what they see. But I think that
20   system which was not a requirement for class         20   that's how they would access it through
21   instruction. Do you see that?                        21   SharePoint.
22        A    I do see that, yes.                        22       Q Right. So the point is you are
23        Q    Okay. What is SharePoint?                  23   submitting your materials so they can be reviewed,
24        A    Well, it is a software that we no          24   correct?
                                             Page 304                                                    Page 305
 1        A     Yes, yes. That's 100 percent true.         1   that I did something wrong. Hai Tran, I shouldn't
 2        Q     Okay. So it is important to have all       2   say someone. At the time, one of the personnel
 3   of your materials there so that folks can get an      3   chairs, Hai Tran, accused me of not putting
 4   accurate picture of your record?                      4   materials up properly. And then I actually had to
 5        A     I agree, it is very important to have      5   go through and highlight in the forms that they
 6   all your materials there and have a working system    6   gave me where the forms were incorrect and how it
 7   as well, um-hum.                                      7   was impacting my submissions. And the fact that I
 8        Q     Yes. And the system didn't always          8   had to delete everything and re-upload and delete
 9   work well?                                            9   it again and re-upload, and it takes quite a bit
10        A     No, it did not. Plenty of time it         10   of time to put three, five, six years' worth of
11   would lose files and not allow you to upload stuff   11   work into a system that is not operating properly.
12   and kick you out. That's why we moved from that      12       Q And so is it your testimony that Hai
13   system to the new system we have now, Interfolio.    13   Tran gave you incorrect information about how to
14        Q     So it caused problems for a lot of        14   submit this information because of your race?
15   users, is that fair?                                 15       A I'm sorry? I don't even know
16        A     I would say it did cause problems for     16   where -- I don't understand what you are saying.
17   some users. I don't think to the extent of what I    17   Did I say Hai Tran -- I'm sorry? What? Say that
18   experienced because my experience was beyond         18   again.
19   SharePoint. My experience went into other faculty    19       Q You said Hai Tran gave you incorrect
20   members admonishing me because of SharePoint and     20   information that required you to resubmit all your
21   making accusations against me.                       21   materials, right?
22        Q     When did that happen?                     22       A Yes, he did. I don't know if it was
23        A     I would say at least in 2017 and 2018     23   Hai.         sent it to me first. And then I did
24   as well. Even got to the point where someone said    24   what         told me to do based off of those forms.




                                                                                13 (Pages 302 to 305)
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                                             Page 306                                                     Page 307
 1   And then they switched chairs, and Hai became the     1       Q Okay. So I just want to be clear
 2   chair, and he just essentially kept what              2   here, Dr. Dillard, because you do say that you
 3   told me to do. And then I told him: No, this is       3   were singled out and reviewed for your use of the
 4   still not right because you all are changing the      4   SharePoint system?
 5   forms and not acknowledging that they are             5       A Yes.
 6   changing.                                             6       Q This was part an ongoing hostile work
 7        Q     Okay. And --                               7   environment based on your race?
 8        A     Are you saying did he do that because      8       A Yes.
 9   of my race? I don't know. I can't speculate why       9       Q I need to understand everyone that
10   he did that.                                         10   you believe was subjecting you to a hostile work
11        Q     But your allegation is that this was      11   environment based on your race.
12   part of a hostile work environment based on your     12       A In reference to SharePoint?
13   race?                                                13       Q Let's start there, yes.
14        A     Yes, yes. And I am saying that            14       A Okay. We can start with SharePoint.
15   because, for instance, in my review letter from      15   I can start off by saying               was one.
16   the dean, Salma Ghanem, she put a note in my         16                 , Salma Ghanem, and I'm hesitant to say
17   review letter saying not having my materials on      17              because he kind of stepped into that
18   SharePoint in a timely manner detracts from a --     18   role, and it was already -- things had already
19   detracts from my record or something of that         19   happened before he did. But he did try to tell me
20   nature. I don't have it in front of me, but I        20   that what I was doing was incorrect, so I would
21   know she said something to that effect, and that's   21   actually have to roll him into that as well
22   where it became problematic because that's not a     22   because I'm pretty certain no one else in the
23   requirement for class instruction, not to mention    23   College received that type of feedback. And like
24   the system has had many issues over the years.       24   I said, I spoke to many, many faculty members
                                             Page 308                                                     Page 309
 1   about their experience with SharePoint, and no one    1   When did          Kessler single you out and review
 2   else told me that they were set to the side and       2   you based on your use of the SharePoint system?
 3   told that what they did was wrong. No one else        3       A She did it twice actually. So I'm
 4   was told that they were disorganized and              4   glad you have this footnote because it helps me
 5   unprepared. No one else was -- the only person        5   remember the years. But I believe it happened in
 6   that I knew had a point about the SharePoint          6   2017 and I think 2015. I don't think she was on
 7   system was Maria DeMoya in her letter from Salma.     7   the committee in 2018. I think by that time they
 8   She put something in her letter about the             8   had pulled her off of the committee before she
 9   SharePoint system and it detracting from her          9   even finished her time as a committee member.
10   record. So I would name those just to begin with.    10       Q Okay. And those -- you are talking
11   I mean, off the top of my head, because each one     11   about personnel committee member?
12   of those I had a particular experience in which I    12       A Yes, that's what I'm speaking about.
13   was being scrutinized differently.                   13       Q Which are typically three-year terms?
14                 And even one of my colleagues,         14       A They can be three years or more.
15   Matt          and Paul Booth took me to the side     15   Depends on if they renew.
16   after the interaction and apologized for             16       Q Okay. So tell me what she did in
17   Kessler's behavior and said: I'm sorry that she      17   2015.
18   was treating you this way. I don't know what         18       A I can't remember each interaction as
19   happened, but I want you to know that the way that   19   specifically as I think you are asking me for.
20   we are, you know, the majority of us don't feel      20   But I do remember sitting in the room, and the
21   this particular way, and that what she is putting    21   conversation was pretty pleasant. But then she
22   you through is not normal.                           22   said: I think there are some mistakes with your
23       Q Okay. So again, a lot of                       23   SharePoint. And I was a little confused, so she
24   information.         Kessler, let's start there.     24   pulled out her laptop and she said: Look, I'm




                                                                                14 (Pages 306 to 309)
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                                             Page 310                                                  Page 311
 1   looking at these files, and I see that things are     1   at the time they closed the files, and so I wasn't
 2   missing. And I said: Are you sure? And she            2   able to look at my portfolio which is interesting
 3   said: Yes, and I think there's duplicates. And I      3   because I know when you go up for tenure, you are
 4   was, like: Well, there is something wrong there.      4   supposed to still have access to your portfolio
 5   I don't believe that there should be anything         5   all the way until you are actually reviewed. So
 6   missing, and certainly shouldn't be any               6   in this particular case, I didn't even get access
 7   duplicates. And she said: Yeah, well, I mean          7   to it. But you know, it's neither here nor there.
 8   this would be like an example of you needing to       8   I was still unseasoned, so I didn't really know
 9   work on your -- on your SharePoint submissions.       9   expectations and whatnot.
10                  And this was interesting              10                 And shortly after that, I had
11   because I had already gone through -- I had          11   a meeting with          -- was it       ? I don't
12   already gone through a review before. And so I       12   know if         was the chair at that time. You
13   didn't have any issues with SharePoint in            13   have to forgive me. This was 2015. I have to
14   reference to me knowing what I put up there. I       14   think about it. But anyway, that happened in that
15   mean, the system did some crazy things and was       15   meeting. And then I had -- I believe I had
16   deleting things back there. But in terms of me       16   another meeting in which she asked me to go in --
17   knowing what I needed to put up there, I thought I   17   it might have been the same one, but she asked me
18   had that already down because I had already gone     18   to go in and change all my files and then put --
19   through a review, and I put it up there.             19   she wanted me to write a separate note for each
20                  So she brought it up. And             20   folder explaining what was new and what wasn't.
21   then I remember it became like back and forth, and   21                 Long story short. After
22   I felt like I was being persecuted. And I was,       22   everything was said and done, it turns out that
23   like, I don't really know what you're talking        23   the system, if you uploaded -- let's say I have
24   about. I would like to see the actual files. And     24   two separate files, one that says, you know, 2014
                                             Page 312                                                  Page 313
 1   whatever, a class that I taught in 2014 and           1   padding mean. And she's like: You are making it
 2   another file that said 2015, and it was a separate    2   seem like you are doing more than you are supposed
 3   class. When I uploaded the materials, if it had       3   to do.
 4   the same title, so if I uploaded one that said        4       Q I am going to interject because I
 5   "syllabus" in one folder and something that said      5   asked you about SharePoint.
 6   "syllabus" in another folder, if they had the same    6       A And I was explaining that.
 7   folder, title of the file, it would overwrite the     7       Q What Dr. Kessler said to you in 2015
 8   file that I uploaded. And I didn't know that at       8   about SharePoint, and you are now talking about
 9   the time. I was a little confused about it. And       9   padding your service record.
10   you know, I don't think anybody knew that. That's    10       A That's what she talked about as well.
11   why after everything went bad, and we ended up       11       Q So okay. So I'm going to move to
12   moving to the new portfolio system.                  12   strike the non-responsive, and let me make sure
13                  But long story short, she made        13   that we are all talking about your 2015 review
14   me change it. And then later she told me that I      14   here. Do I have this right, Dr. Dillard?
15   was too organized, and that I was padding my         15       A I told you from the very beginning, I
16   stats. And it was just really unusual because the    16   don't quite remember if it was 2015 or 2017
17   language that she used would always come out later   17   because those two -- that was around the time that
18   in training or like when I went through and          18   I had to go through numerous reviews. And when
19   updated my CV for all of the service that I did.     19   you go through a review almost every year, they
20   And I am service oriented in a lot of the work       20   start to kind of run together. So forgive me if I
21   that I do. I work with a lot of marginalized         21   don't remember exactly which one, but it was
22   populations. She complained to me and said that I    22   either 2015 or 2017.
23   was padding. I put quotes there, padding my          23       Q Okay. I thought you had previously
24   record. And I was confused because what does         24   testified that she twice in two reviews unfairly




                                                                               15 (Pages 310 to 313)
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                                              Page 314                                                 Page 315
 1   evaluated you on your use of SharePoint. So I'm       1   more than once, at two separate times, I know she
 2   trying to understand when those two occasions         2   did it twice.
 3   were.                                                 3       Q Can you please look at Exhibit 32?
 4        A     Well, I'd have to take a look at the       4                 (Exhibit No. 32 identified.)
 5   letter from the dean. That would jog my memory,       5            THE WITNESS: At the bottom it says
 6   or the personnel letter. But I do know it was         6   0425.
 7   either in 2015 or '17.                                7   BY MS. WERMUTH:
 8        Q     In both?                                   8       Q Yes, that's your formal teaching
 9        A     I know it was more than one time that      9   review for 2015?
10   she complained about my SharePoint submission.       10       A Yes.
11   She did it to me in person, and I don't remember     11       Q And based on the first paragraph, you
12   if it was two-thousand -- I don't think it was       12   were rated by the personnel committee as making
13   2018. It didn't happen in 2018. It was either        13   good to very good progress toward tenure in the
14   '15 and '17.                                         14   area of teaching. Do you see that?
15             MS. SCATCHELL: I am going to object        15       A No, I don't see that. Can you tell
16   to the extent that she already had testified that    16   me where?
17   she thought it was either 2015 or 2017.              17       Q First paragraph.
18   BY MS. WERMUTH:                                      18       A I don't see that. Okay, first
19        Q     So it wasn't both years?                  19   paragraph, I gotcha. I see fair. Halfway down, I
20        A     It may have been both years. I can't      20   see: Sydney is making good to very good progress
21   remember when she rotated off of the personnel. I    21   towards tenure. All right.
22   know it was before she was supposed to come off of   22       Q Go up please to Exhibit 33.
23   personnel. And it was after I complained about       23                 (Exhibit No. 33 identified.)
24   her treating me differently. And so if it wasn't     24
                                              Page 316                                                 Page 317
 1   BY MS. WERMUTH:                                       1             MS. SCATCHELL: Don't guess. If you
 2       Q That's Dr. Ghanem's annual letter               2   want to go off the record and read it, I would --
 3   after the 2015 evaluation, correct?                   3             THE WITNESS: Yes, I would like to
 4       A Yes. Yes, it is.                                4   read it.
 5       Q And there is nothing in there, in               5             MS. WERMUTH: Okay. Off the record.
 6   that letter about SharePoint, correct?                6                 (Discussion off the record.)
 7       A No, so that would make it 2017 that I           7   BY MS. WERMUTH:
 8   had that interaction.                                 8       Q Back on the record. Is that the
 9       Q And then can you go to Exhibit 42,              9   review in which you were recommended to do more
10   please?                                              10   face-to-face teaching?
11       A I'm there.                                     11       A Yes.
12                 (Exhibit No. 42 identified.)           12       Q If you would turn to Exhibit 43.
13   BY MS. WERMUTH:                                      13       A I'm there.
14       Q This is your March 3rd, 2017 formal            14                 (Exhibit No. 43 identified.)
15   review, right?                                       15   BY MS. WERMUTH:
16       A Um-hum, yes.                                   16       Q That's Dean Ghanem's letter in 2017?
17       Q Okay. And this is when you were                17       A That's correct.
18   recommended to do more face-to-face teaching,        18       Q Can you point out to me where she is
19   correct?                                             19   unfairly evaluating you on your use of SharePoint
20       A I'm fairly certain that's what it              20   in this letter?
21   was. I would have to reread it. At the end I         21       A I would say it is the last sentence
22   believe is when they said that. But yes. Yes, it     22   where she says: I concur with the personnel
23   says -- I have to read it, seven pages. My guess,    23   recommendations that you're focused on meeting the
24   this is the document.                                24   deadlines for submitting your materials for review




                                                                               16 (Pages 314 to 317)
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                                              Page 318                                                 Page 319
 1   and improving your documentation. That's in           1   While I'm finding it, do you know anyone else who
 2   reference to SharePoint right there. Not meeting      2   missed their deadline and was treated more
 3   deadlines causes an unnecessary burden on your        3   favorably?
 4   colleagues and detracts from your record.             4        A     I don't know who missed a deadline
 5       Q     Okay. You did miss your deadline for        5   and was treated more favorably. I do know that --
 6   submitting your materials that cycle, correct?        6   you know, I don't know anyone who was treated more
 7       A     Yes.                                        7   favorably.
 8       Q     And you started submitting your             8        Q     Okay. Were you going to add
 9   materials on the day they were due, correct?          9   something there?
10       A     You mean uploading them on the day         10        A     I was going to say that I know that
11   that they are due?                                   11   Maria DeMoya missed the deadline with me. Not
12       Q     Yes.                                       12   with me, but she missed it as well.
13       A     I sure did, yes.                           13        Q     And were you both given additional
14       Q     Okay. And                  was the chair   14   time to submit that material?
15   of personnel at that time, is that right?            15        A     Yes. But I had received I believe a
16       A     Yes, he was the chair.                     16   different email initially. So when I reached out
17       Q     Okay. And he opened up SharePoint to       17   to        , I think he responded to me in a very
18   allow you additional time to finish submitting       18   short way and then later responded to both me and
19   your materials?                                      19   Maria with the same exact message.
20       A     I believe he gave me 72 hours after        20        Q     And do you believe that that is
21   giving me -- yes, I think it was 72 hours perhaps.   21   evidence of discrimination?
22   It might have been 48, but I'd have to see that      22        A     I believe that that piqued my
23   email again.                                         23   interest as to me starting to notice a difference
24       Q     Okay. We can look at that email.           24   in treatment. Because I know that no one held
                                              Page 320                                                 Page 321
 1   anyone accountable the years prior to when            1       Q If you look at Exhibit 36 in the
 2   SharePoint was acting -- you know, was not            2   folder, we will come back to my email in a moment.
 3   operating properly. Everyone was given a lot more     3       A Okay, got it. I'm there.
 4   leniency. But this particular year, then new          4       Q Okay. That is the email that you got
 5   requirements and deadlines and more stringent         5   in October of 2016 regarding your 2017 formal
 6   deadlines were being applied.                         6   review, is that right?
 7       Q So to be more stringent -- wait. My             7       A Yes. We get the same email each
 8   question is: When you talk about others in years      8   year.
 9   prior, do you know of others in years prior who       9       Q Okay. And in the second paragraph it
10   missed a deadline for submitting their materials?    10   reads: Preparation of materials, colon. All
11       A No, I don't know of any one who                11   review materials must be uploaded by Monday,
12   missed their material deadline.                      12   January 9th, 2017 by 11:59 p.m., exclamation
13            MS. WERMUTH: And I just emailed to          13   point. Do you see that?
14   folks what I will mark as Exhibits 146.              14       A I do see that.
15                (Exhibit No. 146 identified.)           15       Q And the date and the time is bolded,
16   BY MS. WERMUTH:                                      16   right?
17       Q I will -- when you get it, please let          17       A Yes.
18   me know, but I am going to show you a couple other   18       Q Okay. And then the next sentence
19   emails in the meantime. Can you look at              19   reads: This is a hard deadline. Do you see that?
20   Exhibit 36?                                          20       A Yes.
21                (Exhibit No. 36 identified.)            21       Q Now, if you would look at Exhibit 40?
22            THE WITNESS: Do you want me to find         22                (Exhibit No. 40 identified.)
23   the email that you just sent or in this folder?      23   BY MS. WERMUTH:
24   BY MS. WERMUTH:                                      24       Q And if you would look at the email




                                                                               17 (Pages 318 to 321)
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                                             Page 322                                                  Page 323
 1   from        to you, do you see it's dated January     1   BY MS. WERMUTH:
 2   10th, 2017. Do you see that?                          2        Q Now, is this the email that you said
 3       A I do, yes.                                      3   that you received on January 10th, 2017 from
 4       Q Okay. So that was the day after your            4   Dr.        ?
 5   materials were due, right?                            5        A You are saying is this the same one
 6       A Yes, that's true.                               6   we just looked at in the file folder?
 7       Q Okay. And so according to this                  7        Q You testified earlier that you
 8   email, he was giving you an additional 72 hours to    8   received an email prior to getting the one that we
 9   complete --                                           9   just looked at?
10       A He did, yes, 72 hours, um-hum.                 10        A Yes. Yes, I did. I think he sent me
11       Q And if you go to Exhibit 39?                   11   an email.
12                (Exhibit No. 39 identified.)            12        Q All right. Have you had a chance to
13           THE WITNESS: Okay, I'm there.                13   review this one?
14   BY MS. WERMUTH:                                      14        A Let me take a look at it if you don't
15       Q Dr.           sent Maria almost an             15   mind.
16   identical message that same day?                     16        Q Please. Is this the email that you
17       A Um-hum.                                        17   say you were treated less favorably than Maria in
18       Q Yes?                                           18   connection with?
19       A Yes.                                           19        A No, this is not the same email. It
20       Q Did you receive my email yet?                  20   was a different email. It was very short, and it
21       A Let me look.                                   21   said something like it's a firm deadline, which
22           MS. SCATCHELL: I did.                        22   is -- he said something like: I need to review
23           THE WITNESS: 146 on it, yes. Let me          23   the procedures or something to figure out how to
24   download and open it. All right. I have it.          24   handle my requests. So I don't think this is the
                                             Page 324                                                  Page 325
 1   same email. I'd have to actually look. I'm            1   So with respect to (g), 31(g) in your Complaint,
 2   pretty certain that this is not it, what you sent     2   Exhibit 1, you identify Dr. Ghanem,
 3   me. This thing right here, it looks like it's a       3                               as creating a hostile
 4   replica of the prior email.                           4   work environment based on your race. Setting
 5                 (Audio distortion.)                     5   aside Paragraph 31(f) for the moment, I'm going to
 6            THE REPORTER: I'm sorry, the audio           6   come back to that. With respect to all the other
 7   was garbled, and your question didn't come            7   paragraphs in 31 that we looked at, who else in
 8   through.                                              8   the College do you believe discriminated against
 9            MS. WERMUTH: Sure. I asked if this           9   you based on your race or created a hostile work
10   email showed her response to it.                     10   environment based on your race?
11            THE WITNESS: This was a response to         11       A You are speaking in reference to
12   his second email to me. So he sent me something      12   SharePoint specifically or just general hostile
13   earlier that day. I think it might have been         13   work environment? I'm sorry, I missed --
14   around 1:00 or something in the afternoon. And       14       Q You answered the question with
15   then -- and I don't see that anywhere in here.       15   respect to SharePoint. I'm asking beyond
16   Maybe I can look at my email or something, but       16   SharePoint and with respect to your allegations in
17   this second email is my response to him after        17   Paragraph 31, who in the College do you believe
18   that.                                                18   was discriminating against you based on your race
19   BY MS. WERMUTH:                                      19   and creating a hostile work environment based on
20       Q I see.                                         20   your race?
21       A He sent me one, and then he sent me            21            MS. SCATCHELL: Objection, form. You
22   and Maria one, and I responded to his second         22   can answer.
23   email.                                               23            THE WITNESS: At the moment, I mean,
24       Q Okay. Let me ask you this question.            24   I'd have to go through a list. But I would have




                                                                               18 (Pages 322 to 325)
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                                                 Page 326                                                Page 327
 1   to say all of the colleagues that I spoke with --       1   know, coach the witness here.
 2   not all of them. The colleagues that I spoke with       2            MS. SCATCHELL: No, no. I wanted to
 3   that -- did I say Lexa Murphy? Did I include her?       3   clarify your question because you said "is it your
 4   BY MS. WERMUTH:                                         4   testimony that," and you named a series of
 5       Q      You can include her if that's your           5   individuals.
 6   testimony.                                              6            MS. WERMUTH: Okay. That's fine
 7       A      I would include her. Hostile work            7   then.
 8   environment? I would also include                 I     8   BY MS. WERMUTH:
 9   think is her last name.                                 9       Q Okay. So Carolyn Bronstein. Anyone
10       Q      She's not in the College.                   10   else, Dr. Dillard, as you sit here?
11       A      You're interested only in the               11       A Don Ingle, Jim Motzer. If any others
12   College? Yeah, yeah, yeah. So only in the              12   come to my mind, I'll try to let you know. That's
13   College.                                               13   a long list of names though.
14                                                          14   BY MS. WERMUTH:
15                                                          15       Q It is. So of all of those
16                     hose are all I can think of off of   16   individuals that you -- strike that.
17   top of my head. There may be more.                     17                 Did Don Ingle nominate you for
18            MS. SCATCHELL: Anna, I want to make           18   the PRAD chair position in 2018?
19   sure we are complete and have an accurate record.      19       A No, he did not.
20   Initially, when she was testifying as to               20       Q Not that you are aware of?
21   Paragraph 31, she had mentioned Carolyn Bronstein.     21       A Not that I am aware of, no.
22            THE WITNESS: Yes, thank you.                  22       Q Got it. Of those individuals that
23            MS. WERMUTH: I'm sorry. If it's in            23   you named, did any one of them ever say anything
24   the record, that's fine; but, like, let's not, you     24   derogatory to you about your race specifically?
                                                 Page 328                                                Page 329
 1       A     Derogatory about my race?                     1   Dr. Dillard, to conclude your deposition. I
 2       Q     Correct.                                      2   didn't ask you anything about redlining.
 3       A     How do you define derogatory?                 3                I asked you whether any of the
 4       Q     Let me ask you this: Did anyone               4   individuals you named specifically referenced your
 5   mention your race to you in connection with             5   race in connection with making decisions about
 6   evaluating your performance, evaluating your chair      6   your employment.
 7   nomination?                                             7       A Not overtly, no.
 8       A     Oh, no, no. No one ever openly                8       Q Okay. 31(f).
 9   discussed my race as a marker or, you know,             9       A I'm there.
10   deciding factor. But, you know, when it comes to       10       Q You write: DePaul's EEO office
11   race and marginalization and discrimination,           11   ignored Plaintiff's complaints of discrimination
12   that's one of my areas of expertise. And we all        12   thereby forcing her to continue to work in a
13   probably could agree that racism doesn't only          13   racially hostile environment. Do you see that?
14   function in overt spaces, you know, overt spaces.      14       A I do.
15   In short, a lot of times, people aren't aware that     15       Q It's your testimony that the
16   they are being discriminated against until it's        16   employees in the EEO office were part of the
17   too late. People aren't really forthright. For         17   individuals who discriminated against you or
18   instance, redlining, when African-Americans were       18   created a hostile work environment based on race?
19   not allowed --                                         19       A Yes, I think that's fair to say.
20       Q     Dr. Dillard, this goes so far beyond         20
21   my question.                                           21
22       A     I'm trying to explain.                       22      A
23       Q     We're not talking about redlining            23                     believe is his last name I
24   here. I'm sorry. I have very limited time,             24   think, and the ombudsman person whose name was




                                                                                 19 (Pages 326 to 329)
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                                             Page 330                                                  Page 331
 1   Craig something. I don't know his last name, and      1   please.
 2   perhaps even -- and Liz Ortiz because I believe       2                  (Exhibit No. 48 identified.)
 3   she was the one who received the Complaint and        3            THE WITNESS: I'm there. It says
 4   didn't follow through with an actual investigation    4   2907 at the bottom.
 5   because it was OIDE before it moved over to the HR    5   BY MS. WERMUTH:
 6   department.                                           6       Q      Yes, ma'am. Do you recognize that
 7       Q When you say "received an actual                7   document?
 8   Complaint," what day are you talking about, what      8       A      Yes. This was a document that I
 9   year?                                                 9   brought to OIDE and was told that they could not
10       A I don't remember the day. But in               10   keep the document, but apparently they kept the
11   two-thousand -- on or about 2017 or 2018, I put in   11   document.
12   an anonymous complaint to the OIDE office about my   12       Q      You prepared this document, is that
13   experiences and Dr.       Calvente's experiences,    13   right?
14   and nothing came about from that complaint other     14       A      I did, yes.
15   than I think there was one email response back       15       Q      Okay. And you don't specifically say
16   that asked for more details. I provided more         16   or use the words "discrimination" or "hostile work
17   details about the names and who to include. And      17   environment" in this document, is that right?
18   no investigation that I am aware of was ever         18       A      I'd have to review it to see if I say
19   opened because no one ever even followed up with     19   that in this.
20   me about that complaint. I think that would be an    20            MS. WERMUTH: Let's go off the record
21   example of how the EEO office or the OIDE office     21   and allow you that opportunity.
22   continued to allow me to work in a very racially     22                  (Discussion off the record.)
23   hostile work environment.                            23   BY MS. WERMUTH:
24       Q Okay. So let's go to Exhibit 48                24       Q      Back on the record. What's your
                                             Page 332                                                  Page 333
 1   answer?                                               1       A I do see that.
 2       A I was saying I do not see any                   2       Q Okay. Now, you mentioned another
 3   reference to discrimination in this particular        3   complaint. Can you look at Exhibit 67?
 4   document, no.                                         4                (Exhibit No. 67 identified.)
 5       Q And then can you look at Exhibit 49?            5           THE WITNESS: You said another
 6       A I'm there, yes.                                 6   complaint? This wasn't a complaint.
 7                 (Exhibit No. 49 identified.)            7   BY MS. WERMUTH:
 8   BY MS. WERMUTH:                                       8       Q Fair enough. It wasn't a complaint.
 9       Q And do you want to take a minute to             9   Thank you. All right. But you were testifying
10   look at those emails?                                10   before we looked at that about a complaint that
11       A Yes, if you give me a brief moment.            11   you said that to your knowledge no one followed up
12            MS. WERMUTH: Okay. Off the record.          12   on?
13                 (Discussion off the record.)           13       A Yes.
14   BY MS. WERMUTH:                                      14       Q I would like to direct your attention
15       Q Back on the record.                            15   to Exhibit 67, please.
16   reached out to you in connection with the material   16       A Yes.
17   that you left with the OIDE?                         17       Q Okay. Do you recognize that
18       A Yes.                                           18   document?
19       Q That we saw in Exhibit 48, right?              19       A Yes, I do.
20       A Yes.                                           20       Q You prepared that document?
21       Q Okay. And you responded to Barbara             21       A Alongside with           Calvente, yes.
22             telling her that you are not making        22       Q Is this the complaint that you said
23   allegations of unfair treatment or filing a formal   23   no one followed up on?
24   Complaint at that time. Do you see that?             24       A I would have to read it more closely;




                                                                               20 (Pages 330 to 333)
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                                              Page 334                                                   Page 335
 1   but I mean, it looks like the one that I              1       Q And again, in these submissions
 2   submitted, yes. I would say that this is it, yes.     2   you -- for example, in that first paragraph, you
 3       Q     Okay. And you submitted this                3   say: Again, it has become clear that neither are
 4   anonymously, correct?                                 4   comfortable stepping forward. Do you see that?
 5       A     I did.                                      5       A You said in the first paragraph?
 6       Q     Okay. And then Barbara               did    6       Q Yes.
 7   follow up, correct?                                   7       A Yes, I see that.
 8       A     I don't remember who followed up. I         8       Q So you wrote back to Barbara
 9   thought it might have been Liz Ortiz. Perhaps it      9   that the individuals in question were you and
10   was Barbara            .                             10                 , but that neither one was comfortable
11       Q     Can you look at Exhibit 75?                11   stepping forward?
12                 (Exhibit No. 75 identified.)           12       A Yes.
13            THE WITNESS: Yes, I'm there. It             13       Q And so you don't know what, if
14   says 2974 at the bottom.                             14   anything, Barbara             did with that
15   BY MS. WERMUTH:                                      15   information?
16       Q     Yes. Do you want to take a moment to       16       A No. She never followed up with me
17   read it?                                             17   personally. I never received anything after this
18       A     No. I'm pretty certain that this is        18   email.
19   the email exchange.                                  19       Q Okay.
20       Q     Okay. And so Barbara               then    20       A And I know I said discrimination in
21   did ask or sent an email back to the anonymous       21   this email, but I didn't understand what was the
22   writer to ask some additional questions about the    22   cause or what causes the actual investigation.
23   concerns, is that right?                             23       Q Okay. So then your next complaint
24       A     Yes.                                       24   was actually referred to OIDE by Salma Ghanem, is
                                              Page 336                                                   Page 337
 1   that right?                                           1       Q     And she on your behalf indicated that
 2       A Yes. After I went and complained                2   the two of you had raised concerns about
 3   directly to my dean as well in person. So I did       3   harassment, bullying, and marginalization of
 4   come forward eventually, yes.                         4   faculty of color in the College, is that right?
 5       Q Okay. So would you look at                      5       A     Yes.
 6   Exhibit 84, please?                                   6       Q     And this was after a two-hour,
 7                (Exhibit No. 84 identified.)             7   two-and-a-half-hour meeting with Dr. Ghanem?
 8            THE WITNESS: All right. I'm there.           8       A     I would assume it was about two to
 9   BY MS. WERMUTH:                                       9   two and a half hours. It was a nice amount of
10       Q Okay. And do you recognize that                10   time, yes.
11   email?                                               11       Q     And if you would look at Exhibit 85,
12       A Yes. This was -- yes.                          12   please.
13       Q Okay. So this is an email from Salma           13                (Exhibit No. 85 identified.)
14   Ghanem who is the dean in October of 2018, is that   14            THE WITNESS: Yes, I'm there.
15   right?                                               15   BY MS. WERMUTH:
16       A That is correct.                               16       Q     Do you recognize that document?
17       Q Okay. And I'm sorry. To be clear,              17       A     These look likes the notes that I
18   she was the dean of the College of Communication,    18   took from that meeting.
19   right?                                               19       Q     And how did you -- when did you
20       A Yes.                                           20   prepare these notes of that meeting?
21       Q Okay. And so this is dated                     21       A     I was taking notes at the actual
22   Wednesday, October 10th, 2018 to Barbara             22   meeting. And then after the meeting, I cleaned
23   with a copy to you and               , right?        23   them up and you know, filled them in, just pieces
24       A That's correct.                                24   that I couldn't get all in there.




                                                                                21 (Pages 334 to 337)
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                                             Page 338                                                     Page 339
 1        Q And how did you clean that up with             1            THE WITNESS: Well, yeah. I don't
 2   pieces you couldn't get in there? Did you have a      2   know much about metadata, yeah.
 3   recording that you referenced?                        3   BY MS. WERMUTH:
 4        A No, there was no recording. I've               4       Q Okay. After Salma Ghanem submitted
 5   been doing transcription for quite some time now.     5   that Complaint to Barbara             on your behalf,
 6   I do a lot of interviews, in-depth interviews as a    6   you did end up meeting with OIDE or EEO?
 7   part of my research. I've been doing this for         7       A OIDE had lost their, you know,
 8   quite some time, in-depth listening.                  8   investigative powers. So I did meet with the EEO
 9        Q Did you spend close to 30 hours                9   office. I believe it was Barb           and Isabel
10   editing this document?                               10   Diaz that came to that follow-up meeting.
11        A I don't know how much time I spent            11       Q Okay. And that was just you with the
12   editing it.                                          12   two of them, correct?
13        Q You produced metadata to us. Do you           13       A Yes.
14   recall that?                                         14       Q You did not meet with
15        A I did, yes.                                   15   also present?
16        Q And there is no reason to dispute the         16       A No, I did not.
17   metadata that you produced, is that right?           17       Q Okay. Because she had accused you of
18        A Yes. There is no reason to dispute            18   physically threatening her, is that right?
19   it, no.                                              19       A That's not right. I did not show up
20        Q Okay. After --                                20   because her and I had different -- differing
21            MS. SCATCHELL: I am just going to           21   opinions on how to move forward with our separate
22   object to that question to the extent that it        22   grievances.
23   calls for her to be an expert in the area of         23       Q But she did accuse you of physically
24   metadata.                                            24   threatening her at that time?
                                             Page 340                                                     Page 341
 1      A      I don't remember that.                      1       A Um-hum.
 2            MS. SCATCHELL: Objection,                    2       Q Yes?
 3   foundation. You can answer.                           3       A Yes. I'm sorry, yes.
 4            THE WITNESS: I don't remember her            4       Q Okay. Was that during winter break?
 5   accusing me of physically threatening her. We         5   Was the school closed down for winter break?
 6   just had a disagreement.                              6       A I don't know if the school was
 7   BY MS. WERMUTH:                                       7   closed. We do close for winter, so I mean, it
 8       Q Okay. And so if you told Maria                  8   could be. I'd have to look at the school
 9   DeMoya in a text message that she accused you of      9   calendar. But we do close right before Christmas.
10   physically threatening her in a text message, was    10       Q Okay. And you were asking Ms. Ortiz
11   that false information?                              11   and Ms.            for follow-up based on the
12       A That might be an overstatement, or             12   meeting that you had with the two of them last --
13   that was probably -- if I said that, that's          13   the week prior. Do you see that?
14   probably -- that was probably an overexaggeration    14       A Yes. Because they said they were
15   based off of emotion from that interaction.          15   going to get back to me, but they never did. So I
16       Q Can you please turn to Exhibit 97?             16   was following up with them. And they never gave
17                 (Exhibit No. 97 identified.)           17   me a follow-up or a write-up or anything as
18            THE WITNESS: I'm there.                     18   they -- as they told me they would do.
19   BY MS. WERMUTH:                                      19       Q Okay. So if you look then at
20       Q Okay. Do you see the top email from            20   Exhibit 104?
21   you back to Ms. Diaz and Ms.                ?        21                 (Exhibit No. 104 identified.)
22       A Yes.                                           22            THE WITNESS: Yes, I'm there. It
23       Q Okay. And it's dated December 20th             23   says 2810 at the bottom.
24   of 2018. Do you see that?                            24




                                                                                22 (Pages 338 to 341)
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                                              Page 342                                                 Page 343
 1   BY MS. WERMUTH:                                       1   office searches. Do you see that?
 2       Q Yes, ma'am, 2810 from your                      2       A I do see that.
 3   production. I say that because there is a 2810 in     3       Q And you believe that -- strike that.
 4   our production as well.                               4                 Tell me about these invasive
 5       A Okay, that makes sense.                         5   office searches.
 6       Q That is an email from Ms.               to      6       A Well, twice this has happened. One
 7   you dated January 22, 2019; do you see that?          7   of which was very brief, but in 2017, early in
 8       A Yes, that's correct.                            8   2017 after I had spoken to Dr. Ghanem about my
 9       Q And in that email she is following up           9   concerns about me going through additional reviews
10   with you on your concerns that you had raised at     10   and being treated differently or subject to
11   the end of the year prior?                           11   different criteria, I came into my office, and
12       A She's following up, yes.                       12   someone had put an ombudsman pamphlet on my desk.
13       Q Okay. And you did not respond to               13   I never put it there. My door is always locked.
14   this email, is that right?                           14   I don't know how it got there. Someone went into
15       A That's correct. I did not.                     15   my office and put that there which prompted me to
16       Q Okay. Going back to Exhibit 1,                 16   go see the ombudsman actually. The second one --
17   Page 3, Paragraph 18, some of these allegations      17       Q Can I stop you there for just a
18   are duplicative of stuff we went through, but I      18   moment? Can we talk about that office search, and
19   would like to point your attention to 18(c).         19   then we can talk about the next one?
20       A Yes.                                           20       A Yes.
21       Q You said: While working for DePaul,            21       Q So with respect to that what you call
22   Plaintiff was subjected to an ongoing hostile work   22   an office search, do you know if anyone searched
23   environment in the following ways. Plaintiff was     23   your office or do you know only that something
24   singled out and subject to random and invasive       24   appeared in your office when it was locked?
                                              Page 344                                                 Page 345
 1       A Well, I knew things were moved                  1   contention that it was racially motivated?
 2   around. Things weren't in the exact same place        2       A      Because the pamphlet -- well, first
 3   where they were. And I know that there was a          3   of all, no one else that I know of has had their
 4   pamphlet that was placed on my desk.                  4   office entered. And then the pamphlet was about
 5       Q What was moved around?                          5   things of an ombudsman or ombudsperson, and
 6       A Just papers.                                    6   getting support when you can't get support within
 7       Q Okay. And do you have any belief as             7   your own college. So it was someone that knew
 8   to who entered your office?                           8   that I felt I was being treated differently. I
 9       A I don't know who entered my office.             9   might not have said I was being discriminated
10   I just know that it did come shortly after I had     10   against because at the time I wasn't exactly sure
11   talked to Salma about my experiences.                11   what was happening. But whoever it was knew of my
12       Q So you believe that the person who             12   situation and placed it and entered without my
13   entered your office did so to make your              13   permission and placed that on my desk.
14   environment hostile based on your race?              14       Q      Now, you said it prompted you to go
15       A I would say I think whoever came into          15   talk to the ombudsperson, right?
16   the office might have thought that they were         16       A      Yes. Because that was the second
17   trying to assist me by putting that on my desk.      17   time that I had someone tell me about the
18   But at the same time, entering someone's office      18   ombudsperson -- no, or third time actually. I
19   without their permission is also a very intrusive    19   never knew who the ombudsperson was until a
20   and unsettling experience. So yes, I do think        20   colleague of mine brought it up, and I went to,
21   that that was racially motivated.                    21   like, a panel discussion about microaggressions
22       Q But you don't know who did it?                 22   towards minority faculty members, and they brought
23       A No, I don't.                                   23   up the ombudsperson there. And then this was the
24       Q Okay. And what's the basis for your            24   third time that I had it.




                                                                               23 (Pages 342 to 345)
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                                              Page 346                                                    Page 347
 1        Q Okay. So you went to see the                   1   him?
 2   ombudsperson?                                         2       A No. I figured at that point that's
 3        A I did.                                         3   his job. I don't -- you know, I didn't want to
 4        Q And his name was Craig Mousin at the           4   cause any more trouble than I've already caused.
 5   time?                                                 5   And to be honest, I didn't know that I trusted the
 6        A If you say that's his last name, yes.          6   system to do what it was supposed to do at that
 7   I know his first name was                             7   time.
 8        Q And when you went to see him, you              8       Q Okay. What was the second invasive
 9   explained to him your concerns about your 2017        9   office search that you believe was racially
10   review?                                              10   motivated?
11        A I explained to him everything that I          11       A The second office search was -- I
12   was experiencing at the time.                        12   think it was in October. It was shortly after I
13        Q And did you tell him that you                 13   had my seizures and dislocated my shoulders. I
14   believed what you were experiencing was racially     14   hadn't been on campus, and I received an email
15   motivated?                                           15   from                     who used to be the assistant
16        A Actually, I -- I don't know if I told         16   to the dean, and she was asking me to immediately
17   him it was racially motivated. I don't remember      17   come to my office and remove a space heater and to
18   if I thought it was racially motivated, but I do     18   move I think my computer from on top of a rug that
19   remember him saying he was going to put me in        19   I had in the office.
20   contact with other Black faculty members to assist   20       Q Okay. Can you look at Exhibit 47,
21   me through this difficult time.                      21   please?
22        Q Did he do that?                               22                (Exhibit No. 47 identified.)
23        A No, he did not.                               23            THE WITNESS: All right. I'm there.
24        Q He did not. Did you follow up with            24   BY MS. WERMUTH:
                                              Page 348                                                    Page 349
 1       Q Do you want to take a minute to read            1   you see that?
 2   those emails? We can go off the record.               2        A Yes.
 3       A No, I'm fine. I think I know exactly            3        Q Okay. Do you believe Donna Voight
 4   what this is.                                         4   was racially motivated in asking to have that
 5       Q Okay. First of all, in October                  5   material removed?
 6   of 2017 -- strike that.                               6        A I can't speculate whether she was
 7                 The email chain starts with a           7   racially motivated. But what I can speak to is
 8   message from                 t. Do you see that?      8   the history of these types of incidents happening
 9       A It looks like it was from            to         9   at DePaul. People entering other people's office
10                                                        10   and it being racially motivated, wouldn't be the
11       Q            to                            ?     11   first time.
12       A Yes.                                           12        Q In the College of Communication?
13       Q And do you know who D                      is? 13        A At the University.
14       A No idea who she is.                            14        Q My question is the in the College of
15       Q Do you know what her race is?                  15   Communication.
16       A No.                                            16        A I don't know if there are others in
17       Q And you don't know what her job is?            17   the College of Communication. Maybe             might
18       A No.                                            18   have said something, but I would have to talk to
19       Q And she says: While performing                 19   her about it.
20   inspections, I noticed there is a space heater       20        Q Okay. Do you have any reason to
21   behind the cabinet by the window in this office.     21   believe that                          -- well, strike
22   The occupant also has a fluffy throw rug under her 22     that.
23   desk, and the computer tower is on it. And so she 23                    You were not on leave in
24   is asking to have those fire hazards removed. Do     24   October of 2017, correct?




                                                                                24 (Pages 346 to 349)
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                                               Page 350                                                   Page 351
 1       A No, I was not.                                     1            MS. SCATCHELL: To the extent she
 2       Q Okay. And do you have any basis to                 2   mentioned redlining, I think it was when you said
 3   know whether or not                      was aware of    3   what kind of basis do you have for asserting race,
 4   your seizure condition at the time?                      4   and I think she said it wasn't overt, and she was
 5       A I mean, she was assistant to the                   5   providing context for you.
 6   dean, so it's possible that she informed her.            6            MS. WERMUTH: It wasn't my question.
 7       Q But you don't know?                                7   My question was very direct: Has anyone made a
 8       A I don't know. I don't know one way                 8   comment to you about your race, that was my
 9   or the other.                                            9   question, so -- but in any event, we don't need to
10       Q Okay. Going back to Exhibit 1,                    10   fight about it. I'm just saying, like you, I
11   Paragraph 18(d).                                        11   would like to complete this deposition in short
12            MS. SCATCHELL: Anna, we are at two             12   order. So I'm doing my best to do that, and I
13   hours. How much longer do you have?                     13   appreciate your flexibility.
14            MS. WERMUTH: If I get quick answers,           14            MS. SCATCHELL: Well, I am going
15   I think I can be done in 30 minutes.                    15   to -- we've now exceeded the time, and I know the
16            THE WITNESS: I can try to keep them            16   tech issues weren't necessarily your fault, but it
17   short and to the point.                                 17   was your law firm, and so I'm going to move to
18            MS. WERMUTH: Just answer the                   18   object to it. But I will be as flexible as I can,
19   question. Doesn't have to be short, just answer         19   and I would appreciate the same courtesy on the
20   the question at hand. Gia, I appreciate your            20   other side.
21   flexibility here. I think we've gone far afield         21            MS. WERMUTH: Of course, of course.
22   with redlining and the like. But if we can focus        22   The only -- well, of course. And we can only --
23   on the questions, I think I can be done in              23   look, if you'd rather stop now and have me go to
24   30 minutes I hope.                                      24   the judge, I can do that if that's your
                                               Page 352                                                   Page 353
 1   preference.                                              1   and I meant Exhibit 2. I'm so sorry.
 2            MS. SCATCHELL: I'm not looking to do            2                  (Exhibit No. 2 identified.)
 3   that. If we can wrap up in 30 minutes, that's            3            THE WITNESS: This one says the
 4   fine.                                                    4   Plaintiff's Response to First Set of
 5            MS. WERMUTH: Okay, doing my best.               5   Interrogatories. Is that what this is?
 6   BY MS. WERMUTH:                                          6   BY MS. WERMUTH:
 7       Q Okay. Dr. Dillard if you look at                   7       Q      Yes. So do you remember working with
 8   18(b) in your Complaint?                                 8   your lawyer to prepare these responses?
 9       A Um-hum.                                            9       A      Yes, I do.
10       Q You talk about being belittled,                   10       Q      If you go to page -- the last page.
11   ostracized and intimidated through                      11       A      The last page of the document?
12   microaggressions. Do you see that?                      12       Q      Actually Page 34 and 35.
13       A Yes.                                              13       A      I'm there.
14       Q If you look at Exhibit 3, do you                  14       Q      Is that your signature verifying
15   recognize that document?                                15   the -- that you swear under penalty of perjury
16       A I'm trying to get to it. We were                  16   that you provided true and correct information
17   just in the 60's, so --                                 17   based on the best of your knowledge at the time?
18       Q Of course.                                        18       A      Yes.
19       A All right. I am at Exhibit 3.                     19       Q      Okay. And so when you helped prepare
20       Q Okay. Do you recognize that                       20   these responses, you were working hard to be
21   document?                                               21   honest and accurate, is that right?
22       A This I think it's the first EEOC                  22       A      That's correct.
23   Complaint, yes.                                         23       Q      Okay. If you could go now to
24       Q I'm sorry, so sorry, I said Exhibit 3             24   Page 12?




                                                                                  25 (Pages 350 to 353)
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                                               Page 354                                                   Page 355
 1       A      All right.                                    1   how Salma, or Dr. Ghanem, spent a substantial
 2       Q      Okay. And you see Item 4 where we             2   amount of time talking about, you know, new people
 3   asked you to identify each instance of being             3   that joined the College, new people that left, you
 4   belittled, ostracized, and intimidated through           4   know, people that have left the College, giving
 5   microaggression. Do you see that?                        5   thanks to them and things of that nature. And
 6       A      I see that.                                   6   this particular situation was Willona Olsen who
 7       Q      Most of these we talked about. So I           7   was a tenure-track African -- let me go back. I'm
 8   would like to draw your attention to Page 14.            8   trying to get this to the point.
 9       A      Yes.                                          9                 When I came to the University,
10       Q      And the third bullet point from the          10   there were five African-Americans, US-born,
11   bottom: On or about 9-21-18?                            11   domestic African-American faculty members. By the
12       A      Yes.                                         12   time that this had come along, by 2018, there was
13       Q      Tell me what that -- you say here            13   only one and -- well, six. I think -- I don't
14   that that was -- you were ostracized in connection      14   remember if         was included in this. No, she
15   with this incident. Tell me, please, what               15   was in the meeting with me. So by that time it
16   happened.                                               16   was only two of us. Started off with six, and now
17       A      Okay. So yes. So at this particular          17   there is two. And rarely are people left off of
18   faculty meeting -- you want me to read it or --         18   the list of good-bye's and hello's. But what
19       Q      I need to understand why you believe         19   happened with Nonni was very obvious to me where
20   that this incident was some sort of hostility           20   she wasn't even included in the good-bye's. And
21   directed toward you based on your race?                 21   she had contributed to the University and to our
22       A      Okay. So this was -- there were a            22   College for many, many years teaching assessment
23   myriad of things that happened at this particular,      23   courses and a lot of different things. But when
24   this meeting. But this particular item was about        24   it came time to say good-bye, she wasn't even
                                               Page 356                                                   Page 357
 1   included.                                                1   impact is astronomical because the students don't
 2                  And it always seems to be an              2   even have that interaction with people of color,
 3   after-thought. And I had to bring it to Salma's          3   or even US-born minorities or domestic minorities.
 4   attention to let her realize that we just lost a         4   And the fact that our dean could not acknowledge
 5   senior-track faculty member. You know, when you          5   or see that is problematic because everyone else
 6   hire someone for tenure, you are assuming that           6   is acting like it's normal, it is normal to lose
 7   they are going to be at the University for the           7   people of color, and it's normal to lose women.
 8   rest of their life, if you will. But we had lost         8   And that was very hurtful for me in that meeting
 9   her, and no one seemed to even care that she was         9   because I know how well, you know, she contributed
10   gone. It's like once someone leaves, we just stop       10   to the College.
11   talking about it. And I've seen it happen with          11                 And there were other things
12        ,      Calvente. And I've seen it happen with      12   that were happening that day including, you know,
13               . And I've seen it happen with Nonni,       13   my other colleague, a white male, Dave Baglia,
14   all of which left under I don't think the best of       14   standing up and giving a long speech about how
15   circumstances.                 was denied tenure, and   15   great the College is. And he was on short-term
16          Calvente was denied tenure, and Nonni wasn't     16   disability, and how they gave him all those
17   even able to go up for tenure. She had been there       17   different resources.
18   for quite some time and couldn't even go up for         18                 So that coupled with this
19   tenure, or at least believed that she wasn't going      19   oversight, and when I brought it to Salma, she
20   to receive it.                                          20   said: Oh, it wasn't me, it was someone else that
21                  What was I -- the overall                21   did it. But I was like: You have to take
22   point that I was trying to get at is that when you      22   responsibility that you are creating a culture in
23   have a space in which there are very few                23   which you erase certain groups and don't
24   minorities, when you lose one of those few, the         24   acknowledge their existence.




                                                                                  26 (Pages 354 to 357)
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                                               Page 358                                                  Page 359
 1       Q     You brought that to Salma's attention         1   referring to?
 2   in the October 10, 2018 meeting, correct?               2       A This is pretty long. Let me take a
 3       A     I did, yes.                                   3   look really quickly. Yes. I would have -- it
 4       Q     According to your transcript-like             4   says September 21, 2018, so yes.
 5   notes of that meeting, she in fact did take             5       Q Okay. And then if you would tell me
 6   responsibility and apologized for it, did she not?      6   you said Jay Baglia got up and thanked folks for
 7       A     She apologized for it, but she said           7   helping him through a tough time?
 8   it was Sheena (phonetic) who was over the               8       A He thanked the College for their
 9   PowerPoint.                                             9   support, but yes.
10       Q     But if your notes say something              10       Q And you believe you did not get the
11   different, would you have reason to dispute that?      11   same level of support that he received from the
12       A     Apologizing to me is not the same as         12   College?
13   apologizing to the rest of the College or              13       A Not to my knowledge, no.
14   recognizing it for the culture. I explained about      14       Q And what support did he get that you
15   culture. It is not necessarily about me; it is         15   didn't get?
16   about the type of culture that is created. And to      16       A So one thing that he talked about was
17   even just explain it to me still is not sufficient     17   a food train where college -- where they offered
18   enough to remove the hostile work environment.         18   to drop off prepackaged meals for him and his wife
19       Q     Okay. Can you look at Exhibit 50,            19   Alyssa. He also talked about people taking over
20   please?                                                20   his courses to teach his courses. And he also
21                 (Exhibit No. 50 identified.)             21   talked about them giving him an alternate to his
22           THE WITNESS: I'm there.                        22   service of responsibilities, meaning someone else
23   BY MS. WERMUTH:                                        23   would go to his meetings for him or in his stead
24       Q     Is that the PowerPoint that you are          24   as he had positions on different committees
                                               Page 360                                                  Page 361
 1   throughout the University.                              1       A     If she could assist me in teaching my
 2       Q And you actually told                   you       2   courses. Yes, I did.
 3   didn't want other people to take over your              3       Q     And is that documented anywhere or
 4   classes, other faculty to take over your classes?       4   was that a verbal request?
 5       A I told her that at first. But as my               5       A     That was a verbal request. I don't
 6   symptoms progressed and got worse, I did ask for        6   think it was documented, but it was a verbal
 7   that, and she told me no.                               7   request.
 8       Q When was that?                                    8       Q     And she told you no?
 9       A This was in end of 2017 and 2018. I               9       A     She told me no. She told me no. She
10   think it was in 2018 too, and I'm pretty sure          10   said: At this point, unless you are on leave, you
11   Maria DeMoya will corroborate that because Maria       11   can't have someone, like a substitute or
12   offered to teach my classes. And then later            12   something, take over your courses. It had
13         told me no, she couldn't. And I told Maria,      13   something to do with me not being on leave. And
14   I'm sorry,        said no. But we'll figure            14   so -- go ahead.
15   something out some way. And so then what we ended      15       Q     Do you recall was Jay Baglia on leave
16   up doing was          added herself on as, like, the   16   when he had folks teach his classes?
17   grader for the courses or something of that            17       A     I don't know his whole, you know,
18   nature. But she --                                     18   leave situation.
19       Q That was winter quarter? I'm sorry.              19       Q     Okay.
20       A That was winter of 2018 I think -- I             20       A     I just know what he explained to us
21   think it was winter of 2018.                           21   in that meeting.
22       Q So in winter of 2018, you asked                  22       Q     Okay. Going back to Exhibit 2 on
23         if Maria DeMoya could take on teaching           23   Page 15.
24   responsibilities for your courses?                     24       A     Do you want me to take this out? Are




                                                                                 27 (Pages 358 to 361)
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                                              Page 362                                                 Page 363
 1   we going to be coming back to this multiple times?    1   And then for Nur, I might have been on leave, but
 2       Q We are almost done, but you can take            2   I think Carolyn Bronstein might have took the lead
 3   it out if you want.                                   3   on that as well.
 4       A It makes it easier because we keep              4       Q You would have expected your chair at
 5   going pretty far. Okay. I'm ready.                    5   the time,            , to do something for you?
 6       Q Okay. So the last bullet point on               6       A Yes. She offered, but she never did.
 7   Page 15 is blank.                                     7       Q Well, let's look at Exhibit 121.
 8       A Okay.                                           8       A Okay, it says 2540 at the bottom.
 9       Q But two bullet points above that                9                 (Exhibit No. 121 identified.)
10   where you talk about a celebration for your          10   BY MS. WERMUTH:
11   promotion. Do you see that?                          11       Q Yes. Your production, 2540.
12       A Yes, I do see that.                            12       A Yes, 2540.
13       Q Okay. So you say that other                    13       Q If you go to the first email on 2541,
14   individuals, including             , Matt     ,      14   that's an email from             to you trying to
15   Maria DeMoya, Rajul Jain all got celebrations when   15   arrange for a celebration for you, right?
16   they were promoted to tenure. Do you see that?       16       A Um-hum.
17       A Yes, and                 .                     17       Q Yes?
18       Q And                  . And who organized       18       A Yes. That was her asking: Would we
19   those celebrations for each one of them?             19   like to have a celebration; and me responding: I
20       A I think it changed depending on who            20   don't feel comfortable having a celebration until
21   was the person being celebrated. So I think when     21   after I received tenure, and me telling her but
22          and Matt did it, it might have been Carolyn   22   whatever you'd like to do is fine.
23   Bronstein who put that together. But for Maria       23       Q You say: I don't want to make a big
24   and Rajul, I'm pretty certain it was          .      24   hoopla out of it?
                                              Page 364                                                 Page 365
 1       A Yes, I did; meaning, I don't want to            1   Kendra Knight obtaining tenure, correct?
 2   do it before.                                         2        A     Yes, 100 percent, yes.
 3       Q Right. She also asks you to send her            3        Q     Okay. You are not comfortable with
 4   names of people to invite, right?                     4   the manner in which the votes were tallied more
 5       A Where does it say that? She said:               5   than once, correct?
 6   If you have people other -- from other areas you      6        A     I was not comfortable with the -- not
 7   would like to invite, please send the names along.    7   the tally, but the fact that we revoted and broke
 8   She is asking if I wanted to send other people        8   the Faculty Handbook rules, yes.
 9   from outside of our program an invite. And then       9        Q     And you sent a letter into the UBTP
10   that was the end of that interaction.                10   telling them that you were not comfortable with
11       Q Right. You never responded back to             11   it, right?
12   her with additional names, right?                    12        A     I don't know if I used the term
13       A No, I did not.                                 13   "wasn't comfortable," but I explained that the
14       Q Okay. You mentioned in your                    14   personnel letter said that -- like, they gave the
15   Complaint, Exhibit 1, go back to that.               15   perception that it was only two votes that
16       A Exhibit 1, let me get back to that.            16   happened when in actuality four votes happened.
17   That's the Second Amended Complaint?                 17   And I thought that was problematic because the
18       Q Yes.                                           18   votes from changed from all in favor except for
19       A I'm there.                                     19   one person denied or voted against, and then we
20       Q In Paragraph 60, Paragraph 60                  20   voted again and I believe the vote moved to all in
21   through 66 you talk about your participation in      21   favor and one abstention. And then we voted
22   Kendra Knight's tenure case, right?                  22   again, and it was another all in favor and one
23       A Yes.                                           23   abstention. And this wasn't just votes that were
24       Q Okay. And you were in favor of                 24   happening back to back. What happened is we would




                                                                               28 (Pages 362 to 365)
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                                               Page 366                                                 Page 367
 1   vote, people would talk, we'd vote and people         1   venture to assume whoever that person was who
 2   would talk, we would vote and then people would       2   voted no eventually turned their vote to yes after
 3   talk. And then finally, in the end we voted and       3   the voting no and then abstaining and then turning
 4   then everyone was in agreement that she was           4   to a yes. And a lot of that had to lot to do with
 5   100 percent voted for.                                5   the conversation I believe that was happening in
 6                And that to me was problematic           6   that room with people saying that we need to make
 7   for me because I had only been in several other       7   sure that we make this no longer anonymous. And
 8   votes like this, I think at least one, and I've       8   then they were saying things like: Well, this
 9   never seen anything like that happen. And the         9   must be someone who is new faculty member who was
10   term of -- you know, the concept of, oh, she's --    10   just tenured because people who have been here
11   we don't want her to feel like she has enemies, or   11   long enough would know not to do this type of
12   you know, it just turned out to be something that    12   thing.
13   I never expected it to be like. When someone         13                 And it just got very -- I
14   voted against her, and there was a lot of coercion   14   think it was problematic. And at first I thought
15   that seemed to be happening in that room, and no     15   it was fine, until I noticed that in the letter
16   one seemed to have the guts to stand up about it.    16   they just acted like it didn't happen. And I just
17       Q When you say "a lot of coercion," we           17   could not stand there and let that happen,
18   are talking about a one-vote difference. So it       18   especially after I went to double-check to make
19   went from -- who was coerced? One person was         19   sure what we were doing is fine. And I looked at
20   coerced?                                             20   the Faculty Handbook, and I was like, oh, I can't
21       A The thing is, I don't know because it          21   sign my name to something that I know is not in
22   is anonymous, right? I don't know if it was          22   step with what we were supposed to be doing.
23   someone that voted no and then decided yes and       23        Q    Okay. You were given a draft of that
24   then later abstained. We don't know. But I would     24   letter before it was finalized, right?
                                               Page 368                                                 Page 369
 1       A Yes. I was given a draft. All of us             1       A I don't know if I would say that
 2   were given a draft.                                   2   because we had another tenure vote the year prior
 3       Q And at that time you didn't raise any           3   to in 2019 for            . So the pandemic started
 4   concerns?                                             4   in 2019. I wouldn't say this happened after the
 5       A No, because I hadn't seen the Faculty           5   pandemic.
 6   Handbook yet.                                         6       Q You are sure? Well, I think the news
 7       Q So you did refuse to sign the                   7   cycle will make it clear when the pandemic
 8   statement, and you notified the UBTP of the           8   started.
 9   rationale for not signing the statement, right?       9       A Well, I know it started in '19
10       A Yes.                                           10   because they closed down my son's school in 2019,
11       Q And this was in the fall of 2020?              11   and I was stuck at home with him for a good year.
12       A Fall of 2020? No, it had to be 2021.           12   So I'm pretty certain the pandemic happened in
13   No? Wait. Yes, fall of 2020. You are right,          13   2019.
14   right.                                               14            MS. SCATCHELL: I think it may have
15       Q That's what Paragraph 60 says, right,          15   started in 2019, but to clarify, the lockdown
16   in Exhibit 1?                                        16   began in March of 2020. Right?
17       A I don't see it fall of 2020 in there.          17            MS. WERMUTH: Yes. It was March
18   You mean 65?                                         18   of 2020 when the city locked down. The school, my
19       Q 60, on or about --                             19   daughter at her public school was sent home.
20       A I'm sorry, I'm looking at 66. I'm              20   That's my understanding, but that's okay.
21   sorry, I am on the wrong page. Yes, 2020.            21            THE WITNESS: I see what you are
22       Q This was the first tenure vote that            22   saying. Okay. If you are saying the vote -- we
23   took place in the College after the start of the     23   had a vote the year prior to, and then we had this
24   pandemic, is that right?                             24   vote as well.




                                                                               29 (Pages 366 to 369)
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                                             Page 370                                                   Page 371
 1   BY MS. WERMUTH:                                       1   also at DePaul, faculty in DePaul's law school, is
 2       Q     Okay. In November of 2019 when you          2   that right?
 3   voted on       's case, that was an in-person         3       A Correct.
 4   meeting, right?                                       4       Q And             Calvente, her case is still
 5       A     Yes, it was.                                5   pending, is that right?
 6       Q     Okay. Can you look at paragraph --          6       A I don't know. But I mean, if you are
 7   by the way, by fall of 2020, you already had          7   saying it is, then I believe you.
 8   tenure, that's why you were voting in the room,       8       Q Okay. So thank you. And up above in
 9   right?                                                9   Paragraph 70 you say that: On or about November
10       A     Yes. I voted at that time and for          10   2nd, 2018,              , a non-minority assistant
11        prior -- the year prior to.                     11   professor, tried to disqualify another candidate
12       Q     Okay. So the vote on Kendra didn't         12   for having a foreign accent. Do you see that?
13   have any impact on your tenure case?                 13       A I do see that, yes.
14       A     No, it did not.                            14       Q Why is that evidence of race
15       Q     Thank you. And can you look at             15   discrimination against you, a US-born
16   Paragraph 72 in your Complaint?                      16   African-American?
17       A     I'm there. This is on Page 13?             17       A Because it shows, again, the culture,
18       Q     Yes. You mentioned three lawsuits in       18   and that the ways in which people discriminate
19   that paragraph. Do you see that?                     19   against protected classes. All right. And so I
20       A     Yes.                                       20   think if you can see that we start to build -- I
21       Q                    was a faculty member in     21   don't want to say "we," but the College of
22   the law school, is that right?                       22   Communication has built a history of ostracizing
23       A     Yes, at DePaul University.                 23   protected classes. You can definitely see how
24       Q     The law school. And                was     24   something that happened to me happened over time,
                                             Page 372                                                   Page 373
 1   you know, through whatever it was, through            1   Turkey. But        and I don't talk very often. She
 2   evaluations that are being applied differently or     2   might be from Turkey, but I wouldn't assume that
 3   however you would like to define it. But I            3   she is foreign or international born, but I know
 4   included that because I tried to step in to stop      4   her family is from Turkey.
 5   that from happening, and I was met with a lot of      5        Q And what exactly did she do in
 6   animosity which I think also turned into some form    6   November of 2018?
 7   of retaliation because I was speaking out against     7        A Well, she did a number of things.
 8   these types of injustices.                            8   Are you speaking to this particular incident,
 9       Q      To be clear, you have no claims of         9   No. 70?
10   retaliation in your lawsuit, correct?                10        Q Yes.
11       A      I don't -- I don't know off the top       11        A Okay. I remember very distinctly we
12   of my head. I'd have to see.                         12   were interviewing different candidates for the
13       Q      Is      a foreign national?               13   position. I was co-chairing a position to fill
14       A      I think that's something she would        14   with                as my co-chair who we had spoke
15   have to answer.                                      15   about earlier who actually wasn't even an
16       Q      In your view, does         have an        16   assistant professor when he was selected to be a
17   accent?                                              17   co-chair, not elected but selected.
18       A      I never noticed.                          18        Q That's not my question. Try to focus
19       Q      And so as you sit here today, you         19   on my question.
20   have no idea if         is US born or was born in    20        A You asked me what happened, and I'm
21   another country? That's your testimony, you don't    21   trying to give you the details of what happened
22   know?                                                22   and who was there. She was there.          ,
23       A      I think -- I said I don't -- I never      23            was there, Robin Hoecker. I believe that's
24   thought about it. I think she might be from          24   all, Robin,     , myself, and       . We were




                                                                               30 (Pages 370 to 373)
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                                             Page 374                                                    Page 375
 1   reviewing candidates and did our interviews, and      1   said: Well, that's what the students said. And
 2   there was one particular candidate that I believe     2   I -- and that's when I realized she was trying to
 3         really wanted to be on our top like three       3   disqualify this candidate and move them down. And
 4   list. But unfortunately, this particular              4   I said: Well, first, we can't use those types of
 5   candidate had already acknowledged that she hasn't    5   criteria for identifying if a candidate is
 6   taught any advertising courses and was not able to    6   acceptable or not. And second of all, we had
 7   teach advertising courses. And the position was       7   already kind of concluded our discussions about
 8   for someone to teach advertising. This particular     8   the candidates. But she was trying to reopen it
 9   lady had I think health communication was her         9   so that she could dig deeper into this one
10   area. And even though I thought she was a stellar    10   person's criteria differently than everyone
11   candidate, I knew she wasn't a fit for the           11   else's.
12   position because she just didn't have the            12                 And I said: If we are going
13   experience.                                          13   to do this, we are going to have to do this for
14                  And       really, really wanted       14   all of our candidates, look at all of the same
15   her. And so she tried to disqualify another          15   criteria again. And when I said that, she got
16   candidate who we had already gone through the        16   very, very upset. And she said: Fine, let's just
17   review and looked at everyone's materials. But       17   vote. And I said: Well, wait, we're not ready to
18   this particular candidate, she was like, she being   18   vote yet because everyone on the committee hasn't
19        , said: I think we need to look further into    19   spoken because Robin Hoecker hadn't had a chance
20   her particular background. And I said: What do       20   to speak. And I said: Robin, did you have
21   you mean? And she said: Well, this --                21   anything to add? Robin did have some things to
22   students -- I've read that students are saying       22   add. She added it, and we finished our
23   that she's difficult to understand when she          23   conversation and ended up voting.
24   speaks. And I said: What do you mean? And she        24                 And       was very upset about
                                             Page 376                                                    Page 377
 1   her not being able to move that candidate up. And     1        A    What do you mean "treated," like I
 2   she was upset because I told her we are not going     2   went to therapy?
 3   to disqualify someone based off of the way they       3        Q    Yes.
 4   speak.                                                4        A    Yes. Yes, I did.
 5       Q Okay. Did you offer that candidate a            5        Q    You sought treatment from a social
 6   position?                                             6   worker?
 7       A No. This person did not get offered             7        A    Okay, yeah. You said "treated," and
 8   a position.                                           8   I was confused. Yes, I did.
 9       Q Did you vote to offer that person a             9        Q    At some point in time you stopped
10   position?                                            10   treating with her, right?
11       A I don't think so. I think in the end           11        A    Yes. She -- I don't want to say she
12   we -- after she came to the University and did the   12   retired, but she stopped seeing patients
13   interviews, she didn't even rise to the top of the   13   altogether. She became a housewife.
14   candidates.                                          14        Q    And after she left, you did not
15       Q Okay.                                          15   continue with services with another therapist
16       A It wasn't my first choice to begin             16   thereafter, is that right?
17   with, but she was better than the other              17        A    No. Actually, it's not. I did go
18   candidates, so it was based off of those criteria.   18   see another therapist for a bit of time. But then
19            MS. WERMUTH: Understood. Gia, I             19   she moved her offices a couple more times.
20   have three or four questions on damages, and then    20   Actually, I went to try to find more -- find a
21   I will pass the witness. Okay.                       21   replacement, and it took me a while to find a
22   BY MS. WERMUTH:                                      22   replacement. I interviewed three or four
23       Q Dr. Dillard, for a period of time you          23   different therapists. And then I did see another
24   treated with a social worker, is that right?         24   therapist for a short time. But she kept moving




                                                                               31 (Pages 374 to 377)
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                                              Page 378                                                 Page 379
 1   her office, and it became too much of a burden to     1   I hadn't seen her for a very long time, and it
 2   try to see her.                                       2   slipped my mind.
 3        Q     And I'm sorry. Who was the second          3   BY MS. WERMUTH:
 4   therapist that you saw?                               4       Q     Okay. So now, can you turn to
 5        A     I don't remember her name to be            5   exhibit -- by the way, you stopped seeing Megan
 6   honest.                                               6   Mellee, and you stopped seeing her in -- your
 7             MS. WERMUTH: Gia, the only therapist        7   final session was January 10 of 2017. Does that
 8   that was identified was Doctor -- or, I'm sorry, I    8   sound accurate to you?
 9   don't think she's a doctor.                           9       A     I don't remember, but if that's what
10             THE WITNESS: She is not a doctor,          10   her records say. I trust that her records are
11   Megan Mellee.                                        11   true.
12             MS. WERMUTH: You have got to let me        12       Q     If you would turn to Exhibit 11,
13   ask my questions and make my statements,             13   quickly, so we can take a look together and if you
14   Dr. Dillard. I have not been notified of any         14   can go to the very last page?
15   other psychotherapist or social worker with whom     15                 (Exhibit No. 11 identified.)
16   Dr. Dillard treated with after Megan Mellee. So I    16            THE WITNESS: All right. I am on the
17   ask that I be provided with that information so I    17   last page, it says 1-10-2019.
18   can subpoena documents and get information about     18   BY MS. WERMUTH:
19   ongoing treatment that Dr. Dillard has testified     19       Q     Does that refresh --
20   to today.                                            20       A     Yes, that refresh my memory, yes,
21             MS. SCATCHELL: Okay. This is the           21   that would be our last day.
22   first that I'm hearing of this doctor, so I will     22       Q     Okay. Can you turn to -- I'm sorry.
23   definitely find out.                                 23   Go back to Exhibit 2 which are your Answers to
24             THE WITNESS: I'm sorry about that.         24   Interrogatories.
                                              Page 380                                                 Page 381
 1       A Okay.                                           1   about how did I arrive at that number? Is that
 2       Q And if you go to Page 31?                       2   what you are asking, Anna?
 3       A I'm there.                                      3   BY MS. WERMUTH:
 4       Q In Paragraph 18 we ask you to                   4       Q Yes.
 5   identify your damages. Do you see that?               5       A Essentially, I was thinking through
 6       A Yes.                                            6   the lost opportunities that happened to me along
 7       Q So could you turn to the next page?             7   the way during my time at DePaul. For example, I
 8   I have just a couple of quick questions.              8   looked at similarly situated schools, that, you
 9       A Of course.                                      9   know, have about the same size student body with
10       Q First, Roman numeral (i), you say you          10   similar tuition costs, private institutions, and
11   have lost wages from failure to promote for three    11   looked at what a program chair generally would be
12   years, approximately $150,000. So is this failure    12   paid or program director generally would be paid
13   to promote to PRAD chair?                            13   in terms of their salary, and that was the average
14       A Yes, yes.                                      14   salary of that person.
15       Q And how do you derive $150,000?                15                 And I know that at the
16            MS. SCATCHELL: I am going to object         16   University we don't necessarily have raises to
17   to the extent that it calls for a legal              17   this extent. However, it's about being able to
18   conclusion.                                          18   move forward in your career. And I know that once
19            THE WITNESS: I'm sorry. You cut             19   I was -- once I was adversely affected and wasn't
20   out.                                                 20   able to move up in my career or advance my career,
21            MS. SCATCHELL: I am going to object         21   that I automatically was starting to lose money
22   to the extent it calls for a legal conclusion, but   22   over time. That includes my salary as being --
23   you can answer.                                      23   you know, moving into a position as a program
24            THE WITNESS: And your question was          24   chair. And I will just stop there because I know




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                                             Page 382                                                  Page 383
 1   you said you have other questions, so go ahead.       1        A      Yes.
 2       Q I want a full answer to the question            2        Q      So my understanding was that was
 3   as to how you got $150,000 from the denial of the     3   $150,000 for the three years. But you just
 4   PRAD chair position.                                  4   testified that you looked at comparable colleges,
 5       A That's what the average pay is for a            5   and you saw individuals earning $150,000 a year
 6   person in a similarly situated position at            6   who held this position. So I'm confused as to how
 7   comparable universities.                              7   you are calculating this amount.
 8       Q Just so I'm clear, the average pay of           8        A      The three years is because I know at
 9   someone in a program chair position at a              9   DePaul the position is generally held for three
10   comparable university is $150,000 a year?            10   years.
11       A Yes.                                           11        Q      Right.
12       Q Okay. So you -- are you saying that            12        A      It could be longer than that. Could
13   you should get $450,000 because it says for three    13   be six years, doesn't have to be only three years.
14   years? I am confused. Are you saying the denial      14        Q      Are you saying it is $150,000 for the
15   of the promotion equals $150,000 or $450,000?        15   three years or it is $150,000 per year for each of
16       A I'm saying it compounds over time.             16   the three years? I don't understand your damages.
17   So even if I were to be given let's say 450 or       17        A      Oh, I see what you are saying. You
18   whatever the number you just said, $450,000, that    18   are saying is it per year or for all three years
19   puts me below the lifetime development of my         19   put together?
20   career because once you -- go ahead. You are         20             MS. SCATCHELL: I am going to make
21   shaking your head.                                   21   the same objection, but you can answer.
22       Q You said: Lost wages from failure to           22             THE WITNESS: Now you have got me a
23   promote Plaintiff for three years is approximately   23   little bit confused when you said that. I would
24   $150,000. So --                                      24   say it's -- actually, this to me is per year.
                                             Page 384                                                  Page 385
 1   Yes, per year.                                        1            MS. WERMUTH: Okay. Can we take a
 2   BY MS. WERMUTH:                                       2   break? I think I'm done. I just want to have,
 3       Q    So you are actually asking for three         3   like, a two-second conversation with my
 4   times the amount that you have listed here?           4   co-counsel.
 5       A    Isn't it totaled somewhere?                  5            MS. SCATCHELL: Sure, sounds good.
 6           MS. SCATCHELL: Same objection.                6   How long is this break?
 7           THE WITNESS: Yes.                             7            MS. WERMUTH: Do you want to take a
 8   BY MS. WERMUTH:                                       8   lunch break?
 9       Q    And what schools did you look at?            9            MS. SCATCHELL: Sydney, how are you
10   Tell me.                                             10   feeling?
11       A    I don't remember off the top of my          11            THE WITNESS: I'm okay. I'm just
12   head.                                                12   wondering how long we have because I do teach
13       Q    Did you save your research?                 13   tonight at 5:45. I want to make sure we will be
14       A    I'm sure I could do the research            14   able to get out in time for me to prep for that.
15   again.                                               15            MS. SCATCHELL: If we cut it too
16       Q    That's not my question. My                  16   close, would you have any objection to me
17   question --                                          17   finishing up Ms. Dillard's deposition by doing an
18       A    No, I didn't save the research.             18   affidavit?
19       Q    Did you give your lawyer the                19            MS. WERMUTH: Look, you can do any of
20   research?                                            20   it by affidavit. I don't really control that. If
21       A    Well, I gave it to my previous lawyer       21   you want to do all of her, it's your call, Gia,
22   because I came up with this number in tandem with    22   whatever you want to do.
23   my previous counsel. I haven't had this              23            MS. SCATCHELL: Well, I would like to
24   conversation with Gianna just yet.                   24   redirect her on some of these things. Let's take




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                                             Page 386                                                  Page 387
 1   say a half hour break. Is that okay, Sydney?          1                 (Exhibit No. 125 identified.)
 2           THE WITNESS: That's fine.                     2             THE WITNESS: Are you still --
 3           MS. SCATCHELL: Perfect.                       3   BY MS. WERMUTH:
 4           MS. WERMUTH: Thanks, everybody.               4        Q I'm done with that one.
 5           MS. SCATCHELL: Back on at 1:15?               5        A My cough medicine is starting to wear
 6           MS. WERMUTH: Sure.                            6   off.
 7                 (Lunch recess taken.)                   7        Q I'm sorry.
 8           MS. WERMUTH: Right before we                  8        A You said 125, okay. I'm there.
 9   reconvened, I sent an email with Exhibit 147. Do      9        Q Okay. That is a set of emails that
10   folks have that? Can you hear me?                    10   you produced to us, and it looks like it starts
11                 (Exhibit No. 147 identified.)          11   with an email from you to Lexa Murphy on May 1st,
12           MS. SCATCHELL: I have it, yes.               12   2019. Do you see that?
13           THE WITNESS: Yes.                            13        A Yes, I do.
14   BY MS. WERMUTH:                                      14        Q And in the email it looks like the
15       Q     I shared with you Exhibit 147. We          15   two of you had scheduled a meeting for that day,
16   were talking earlier today about the SharePoint      16   is that right? You write: I just wanted to
17   issue where you and Maria both timely failed to      17   provide you a quick overview of some of the
18   submit your materials in January of 2017. And you    18   concerns that I am hoping to raise at our upcoming
19   indicated that you got an email that was harsh       19   faculty climate meeting. Do you see that?
20   from               that Maria did not get. Is this   20        A Yes, I see that. I see that.
21   the email that you are referring to in               21        Q Okay. And so the two of you were
22   Exhibit 147?                                         22   planning to meet on that day, May 1st, 2019, is
23       A     Yes, that's the email.                     23   that right?
24       Q     And if you can turn to Exhibit 125?        24        A I don't remember what day we were
                                             Page 388                                                  Page 389
 1   planning on meeting. But yes, I think so. This        1   discuss with her, and I had a conversation with
 2   might have been the one where I met with her over     2   her about it. This one says considering -- I'd
 3   the phone or something. But yes, go ahead.            3   like to continue the conversation that Salma and I
 4       Q Okay. And you had raised a series of            4   began last year. And Selma and I had that
 5   concerns that are bullet pointed. Those concerns      5   conversation with Lexa -- not Lexa,       there.
 6   are primarily your concerns about how you were        6   So I can't wholeheartedly say that I remember us
 7   treated, is that right?                               7   having this conversation. I would have to think
 8       A Can I read over this?                           8   more about it. But I think we did. I really do
 9       Q Of course. We can do it on or off,              9   think we had a conversation about this.
10   whatever your choice is.                             10       Q Okay. And then after this, whether
11       A Okay. What was your question?                  11   you had the conversation or not, you notified her
12       Q The two of you met, and you discussed          12   that you had been selected for this Women in
13   those concerns; correct?                             13   Education Leadership Program at Harvard, right?
14       A Yes, I think we did. I just think it           14       A Yes, I did. I let her know that I
15   happened over the phone. We were supposed to meet    15   had applied, and I was selected.
16   face to face, and it might have been over the        16       Q And she expressed happiness for you,
17   phone. I believe we did meet. I've had a lot of      17   yes?
18   meetings with Lexa, yes.                             18       A She did, yes.
19       Q The two of you did discuss the items           19       Q And she said that she would reach out
20   that you set forth in your email?                    20   to academic affairs to inquire about funding for
21       A Honestly, I can't -- it's really               21   your participation, correct?
22   difficult for me to remember if we had this          22       A Yes, because I think two faculty
23   conversation or not because I had a longer email     23   members had gone to a similar program, and I think
24   where I listed some details of things I'd like to    24   academic affairs provided funding, and she was




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                                              Page 390                                                  Page 391
 1   going to look at that.                                1   advertising at DePaul. My master's was in media
 2       Q     And you did get funding for that?           2   technology and society, so I looked at how media
 3       A     Yes. I didn't end up going because          3   influences people's perception. And then finally,
 4   of COVID; but yes, they did approve it.               4   my Ph.D. was a general communications degree, but
 5            MS. WERMUTH: Okay. I have no                 5   my focus was in technology, society, and Critical
 6   further questions at this time. I'm going to          6   Race Theory, and health communication.
 7   black for my screen for a few minutes, I'm still      7                 And so I've spent a
 8   here.                                                 8   significant amount of time in my career focused on
 9            MS. SCATCHELL: Okay.                         9   understanding power dynamic, understanding the
10            EXAMINATION                                 10   interplay of culture, agency, and structure and
11              By Ms. Scatchell:                         11   how those three items shape and control and can
12       Q     Do you prefer to be Dr. Dillard on         12   also be manipulated by people in their own
13   the record or Sydney?                                13   agencies or by their own internal drivers or
14       A     You can call me Sydney.                    14   factors. And a lot of my focus is how the power
15       Q     Sydney, when you first began your          15   dynamics play out in structural inequities.
16   deposition, you started talking about a little bit   16       Q Okay. And could you expand a little
17   of your background, where you went to college and    17   bit more on what you studied or what Critical Race
18   pursued your Ph.D. Could you tell me what the        18   Theory is?
19   focus of your college major was?                     19       A Yes. Yes. Critical Race Theory is
20       A     For my Ph.D. or all of my degrees?         20   the study of the systemic marginalization of
21       Q     Both.                                      21   certain groups of people based off of their race.
22       A     My undergraduate degree was in             22   We all know that -- most people can agree that
23   advertising, integrated marketing communication,     23   race is a socially constructed marker or
24   and journalism. It's why I teach in PR and           24   descriptor. I mean, there might be, you know,
                                              Page 392                                                  Page 393
 1   visual differences or small differences based off     1   about this all day, but without going into too
 2   of people's genetic code. But in actuality, a lot     2   much of that, that's an overview of what my area
 3   of the experiences that people or particular          3   of expertise is, particularly in regards to
 4   groups have, you know, we're talking people of        4   Critical Race Theory.
 5   color, comes from a socially constructed marker       5       Q And you identify as a female,
 6   that is intangible. It's not something that you       6   correct?
 7   can necessarily put your finger on. But we still      7       A I do.
 8   use it daily.                                         8       Q And also as an African-American
 9                 And you know, history has               9   woman?
10   shown us that based off of these visual cues and     10       A Yes, and a descendant of slaves.
11   these verbal markers, that certain groups are        11       Q Okay, great. And then so Critical
12   ostracized and treated less than. And                12   Race Theory, is that -- would you describe that as
13   unfortunately, historically, that has been the       13   a mainstream type of position or more of a
14   case for descendants of slaves here in the United    14   controversial position?
15   States. So that's what a portion of my research      15            MS. WERMUTH: Object to form,
16   focuses on: How people of this particular group      16   leading. Thank you. Also relevance.
17   and other marginalized groups encounter the          17            THE WITNESS: It clearly is not
18   structures that shape their experiences and cause,   18   mainstream. I would say it is ancillary, but it
19   you know, long-term effects including                19   is getting a lot of popularity. When I was
20   socioeconomic instability and health inequities      20   studying it back in, you know, when I went to get
21   and lack of ability to move forward in, you know,    21   my Ph.D. in 2008, so that was almost, you know,
22   develop a fulfilling life.                           22   more than 10, 15 years ago, this was considered a
23                 So without going into, you             23   very small group of people and thought leaders.
24   know, a whole lecture because I could lecture        24   But now it's very prevalent now, and you're seeing




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                                             Page 394                                                  Page 395
 1   things like discussions at the elementary school      1   present ourselves versus what are the practices
 2   level, at the primary school level in which there     2   that we are implementing on a regular basis. So
 3   are discussions about what should and shouldn't be    3   culture, meaning, do you create a welcoming space?
 4   included in the history books and how that, you       4   Are you open to looking -- I mean, willing to
 5   know, plays out in young children's mind.             5   change with the times? Are you willing to
 6                 There is legislation banning            6   acknowledge that we've had a long history of
 7   the discussion of Critical Race Theory. And it        7   particular groups and particular people leading?
 8   certainly is something that's controversial           8   And when we start to see that there is other
 9   because what it does, it shines light on the ways     9   voices and other faces, are we trying to be
10   in which particular groups use their markers,        10   inclusive?
11   their race as a way to subjugate and minimize        11                And at DePaul we have a
12   other groups.                                        12   mission, right? We have a very specific mission.
13   BY MS. SCATCHELL:                                    13   We have a nonprofit organization and private
14       Q And you spoke a lot about the culture          14   institution. And we have Vincentian values where
15   at DePaul. Could you expand on what you meant by     15   we are trying to focus on diversity and
16   that?                                                16   inclusiveness, opening up opportunities for
17       A Well, of course. I mean, it's really           17   first-generation, low-income students and things
18   interesting and, you know, out of all of the         18   like that. But at the same time we have this
19   things that we talked about, one of the things       19   tension that I've seen develop over the years at
20   I've always tried to do as a professor and as, you   20   the College of Communication in which we don't
21   know, a Black woman is shed light on the             21   necessarily practice what we preach.
22   inconsistencies that we constantly experience. So    22                And that's exactly why we see
23   culture to me is about how the University presents   23   things happening in my case that are focused on,
24   itself and the College of Communication, how we      24   you know, setting a hard line of we're not -- I'm
                                             Page 396                                                  Page 397
 1   not going to go any further than this. Even           1   might not be overt but covertly are pushing people
 2   though it's much easier to go along with the grain    2   to the margins and not allowing their voices to be
 3   and also -- I mean, without going into much           3   heard and not allowing them to have a seat at the
 4   detail, knowing that when you go against the grain    4   table.
 5   too much or so much, that you get ostracized. So      5       Q Could I stop you for one second just
 6   a good example of that is like         Calvente.      6   to ask you what you mean by changing it from,
 7   I've said since day one she was very, very            7   like, the internal structure out?
 8   outspoken about the very nature and culture of the    8            MS. WERMUTH: Hang on. I'm just
 9   College. She has been very outspoken about it.        9   going to object based on relevance. You may
10   And me, I've been somewhat outspoken, but I only     10   proceed.
11   do it in the ways that I think are in alignment      11            THE WITNESS: Okay. Can you repeat
12   with my beliefs as a researcher.                     12   the question, Sheri? I'm sorry.
13                 I really do believe with the           13            MS. SCATCHELL: You said: Don't yell
14   culture-centered approach, you need to modify the    14   at the structure, change from the inside out.
15   structures internally. You can't yell at the         15            THE WITNESS: Oh, yes, don't yell at
16   structures and expect them to change. Everyone       16   the structure, change it inside out.
17   needs to be on the same page about the change that   17   BY MS. SCATCHELL:
18   needs to happen in order for you to be -- for us     18       Q Actually, let me back you up for one
19   to flourish, for us to create a very, truly          19   second. What you just testified to was your
20   inclusive space in which, you know, there is not     20   approach of how you believe that the culture of
21   only one tenure track or tenured faculty member      21   DePaul could be enhanced to be more inclusive?
22   that is a person of color and US born or             22       A Yes, yes.
23   descendant of slaves. We have to create a culture    23       Q Okay.
24   where we are aware that there are things that        24       A That's one of the reasons I haven't




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                                             Page 398                                                   Page 399
 1   left the University. I have had that question         1   408, so I object to this being in the record.
 2   asked of me on numerous occasions by numerous         2            THE WITNESS: Does that mean I
 3   faculty members and colleagues: Why haven't you       3   can't --
 4   left? I have a pretty strong record, and I could      4            MS. SCATCHELL: You can answer it in
 5   leave the University. I have had some offers from     5   the context -- if you -- you can't discuss what
 6   other universities, but I haven't taken them          6   happened at the mediation, but if it happened
 7   because I do believe that they do have the            7   outside the mediation, that's what you are able to
 8   propensity to change. And among other things --       8   discuss.
 9        Q    Real quickly, who asked you why you         9            THE WITNESS: What if it was in their
10   were still here at the University?                   10   response, DePaul's response? It was in their
11        A    Actually, I --                             11   letter.
12            MS. WERMUTH: Object to form,                12            MS. SCATCHELL: I will get to that.
13   misstates her testimony. Go ahead.                   13   We will just go -- yeah, we will just go to that.
14            THE WITNESS: Actually, when I was --        14            THE WITNESS: Well, the point being,
15   when we were doing the mediation session between     15   I have been asked why I haven't left. And I
16   DePaul and myself before, Gianna, you were my        16   really do believe that you can change it
17   attorney, when I had my previous attorney, that      17   internally because it is a matter of just a shared
18   was one of the topics that came up in DePaul's, at   18   identity and a shared understanding of what the
19   least from my memory, in DePaul's response. And      19   space should look like. And I have seen some
20   even at that meeting --                              20   movement, and I've seen some involvement in some
21            MS. WERMUTH: I'm going to have to           21   of my colleagues at DePaul. But at the same time,
22   move -- I'm sorry. I have to interject. Those        22   I've been met with lots and lots of animosity or
23   are privileged. Mediation communications are         23   met with I guess fear, I would say fear that this
24   privileged under Federal Rules of the Evidence       24   could be a different future, a future which the
                                             Page 400                                                   Page 401
 1   majority is not considered the majority, but the      1   try to get us to practice what we preach: Bridge,
 2   majority is now a part of a more inclusive space.     2   theory, to practice. I've even written works
 3   BY MS. SCATCHELL:                                     3   about bridging theories to practice because that
 4        Q Let me stop you really quick. What             4   is a very hard leap. It sounds good in nature,
 5   do you mean by "inclusive"?                           5   but it is a hard leap. But you have to make
 6        A I mean including voices that have not          6   decisions like not giving positions to people
 7   been there in the spaces of leadership. So I've       7   simply because you feel like you are like that
 8   always tried to strive for more, better.              8   person. It really should be based off of
 9   Unfortunately, it's just the nature of the academy    9   qualifications and based off of not just fit but
10   as of right now. I mean, in advertising              10   also strategic direction of the University and our
11   specifically and even in the communications field,   11   College.
12   there are very, very few people of color. There's    12        Q     Okay. And you had just testified as
13   even fewer African-Americans of color. And the       13   to a high attrition rate among was it
14   attrition rate of African-Americans specifically     14   African-Americans or people of color?
15   at DePaul is alarmingly high when you are a          15        A     I don't know about people of color,
16   faculty member. Faculty members leave. Black         16   but I do know attrition rate among African-
17   faculty members leave more often than you would      17   Americans is pretty high.
18   expect. And it happens, I don't know, ten fold       18             MS. WERMUTH: Objection, relevance.
19   within our College.                                  19
20                 That being said, it is about           20   BY MS. SCATCHELL:
21   creating the space where people acknowledge and      21       Q    Do you have any examples of that?
22   value opinions that are outside of the norm or       22       A    Well, I mean the biggest example
23   outside of their own. And that's always what I've    23   that's most relevant to our case right now is the
24   been pushing for since I've been at DePaul is to     24   number of African-Americans that have come and




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 1   gone or never been in the College. So I've been       1   getting mixed information about whether she was
 2   at DePaul since 2012. My entire time here we have     2   qualified for tenure or not.
 3   never had a person -- let's just start with the       3            MS. WERMUTH: Move to strike based on
 4   Black man, a domestic Black man or even a US-born     4   foundation.
 5   domestic Latina, Latino, or Latinx man. We've         5            MS. SCATCHELL: Based on what?
 6   never had one until -- no, we still don't have        6            MS. WERMUTH: Foundation.
 7   one. I was about to say we have Seyi, but Seyi        7            MS. SCATCHELL: First of all, listen.
 8   was born in Africa, and so his experience there is    8   I gave you a lot of latitude in the scope of the
 9   very different from a person born in the US.          9   deposition. I would appreciate it if you could do
10   That's the reason why we have those protected        10   that with mine. We both know that a relevance
11   classes I believe. And the same thing goes for       11   objection as noted is not enough to actually move
12   African-American women, right. So when I came to     12   to strike anything. As long as it's not
13   DePaul, we had               there, she was          13   privileged or harassing, it is able to come into
14   African-American.                                    14   the record.
15   BY MS. SCATCHELL:                                    15            MS. WERMUTH: Okay, but I have to
16        Q Who is she?                                   16   preserve my objection. So I am trying, but it's
17        A She was a journalism professor,               17   hard to get my objection in because there is
18   tenure-track journalism professor and the first      18   talking over each other. So I have an ongoing --
19   and only person that I know that went up for         19   well, first of all, that was foundation, which is
20   tenure in the College and was denied tenure and      20   not relevance. So now she's testifying about what
21   left the University. And there was a big to-do       21   someone else was told without identifying how she
22   about it. In fact, we changed our teaching,          22   knows that information, where she obtained that
23   T & P, tenure and promotion guidelines, for the      23   information. And so I think foundation is an
24   College after her interaction because she was        24   absolute reason to object and strike.
                                             Page 404                                                  Page 405
 1            MS. SCATCHELL: Well, I think -- hold         1       Q Okay. And you said she was an
 2   on one second, Sydney. The biggest thing is I         2   African-American woman?
 3   asked one question, and that was her answer, and I    3       A Yes.
 4   wasn't even given a chance to lay the foundation.     4       Q Okay. And she was up for tenure you
 5   So if given the opportunity, I will be happy to do    5   said?
 6   so.                                                   6       A Yes. She went up for tenure, and she
 7   BY MS. SCATCHELL:                                     7   was denied tenure.
 8       Q Sydney, who is           -- how do you say      8       Q How do you know this?
 9   her last name,         ?                              9       A She told me, and I was there when it
10       A           , yes.                               10   happened. Like, I was --
11       Q Who is she?                                    11       Q When she was denied?
12       A She was a tenure-track faculty member          12       A Not in the room when they denied her.
13   in the College of Communication. She was             13   But they had denied her, and we had faculty
14   African-American.                                    14   meetings afterwards. And she went around and told
15       Q Do you know her?                               15   people that she was denied. And I talked to her
16       A I do know her, yes.                            16   personally as well.
17       Q Okay. And she --                               17       Q And when you said there was a big
18       A She -- when I came to the University,          18   to-do about her denial of tenure, what happened?
19   she was still here.                                  19       A Well, the issue was, we used to have
20       Q Okay. And she was a professor for              20   categories for what's considered like in making
21   journalism. Is that in the College of                21   great progress towards tenure or you're not. We
22   Communication?                                       22   used to have categories of very good -- excellent,
23       A Yes, that's one of the programs in             23   very good, good, fair, and unsatisfactory. It was
24   our College.                                         24   like a five-point scale. When you went through




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                                             Page 406                                                    Page 407
 1   your reviews, you would have to -- they would have    1   the --
 2   to vote on which category you -- your progress        2             MS. WERMUTH: Objection. Again,
 3   was.                                                  3   foundation. To sit -- to make broad statements
 4                And apparently, from what she            4   that no one before her has had, you know, concerns
 5   told me, there were -- there was a strong split       5   about or has been evaluated under these prior -- I
 6   between faculty on how well she should have been      6   mean, these are very broad statements with no
 7   labeled. She had been told years prior to that        7   foundation.
 8   that she was making progress towards tenure, good     8             THE WITNESS: So --
 9   progress towards tenure. And then when she went       9             MS. SCATCHELL: I can lay the
10   up for tenure, there was some contention on          10   foundation if we get there. Okay.
11   whether or how well she did, and they voted on       11                 So Sydney, I think the easiest
12   those categories and whatnot. In the end, she was    12   way to do this to avoid this objection from
13   denied. And the following year --                    13   happening and avoid your testimony being
14       Q     She told you that?                         14   interrupted on a continual basis because I feel
15       A     She told me that, yes. She told me         15   like it's going to ruin the crux of what we're
16   that personally.                                     16   looking for, is, one, I will note a continuing
17       Q     Okay.                                      17   objection to the foundation as to my client's
18       A     And the years following that, the          18   testimony. And I will ask you more questions to
19   ones who were still at the University, the rest of   19   draw out particular parts about what you know and
20   us, the tenure-line and tenured faculty members,     20   what your experience and your opinion is, so this
21   we started having a broader conversation about       21   way we won't have the foundation issue. Okay?
22   whether we needed to remove those or change those    22             THE WITNESS: Okay.
23   subjective markers because no one else prior to      23   BY MS. SCATCHELL:
24   her had had these issues going up for tenure. And    24       Q Okay. So when you -- were you
                                             Page 408                                                    Page 409
 1   involved in the actual rewriting of the T & P         1   been more.
 2   policy?                                               2       Q This was after                   had left
 3       A I was involved in the discussion                3   the University?
 4   about the T & P policy. It was open to all            4       A Yes, this was shortly after.
 5   tenure-line faculty members to discuss and provide    5       Q And what were the issues that were,
 6   feedback, but I didn't have anything to do with       6   if you remember, that were discussed as to what
 7   the rewrite. I think we probably had a task force     7   needed to change for the T & P policy?
 8   or committee that did the rewrite specifically.       8       A I believe the removal of the -- of
 9       Q Do you remember who else was                    9   one of the criteria. It was, like, let me see,
10   participating in that discussion for the T & P       10   excellent, very good, fair. Oh, so I think we had
11   rewrite?                                             11   excellent, very good, good, fair, and
12       A Oh, yes. It was open to everybody,             12   unsatisfactory. I think those might have been the
13   but I do remember specifically         Calvente      13   five categories. I think               was judged as
14   having some concerns, voicing concerns, Maria        14   good in one or two of her categories. But I know
15   DeMoya, myself. I believe Jill             had       15   that when you go up for tenure, you need to be
16   something to say as well. And those are the --       16   excellent. I mean, this is a new rule. The rules
17   the thing is, at the time, I was a junior faculty    17   have changed. So I can't quite remember what all
18   member, so the junior faculty members meet up and    18   the different rules were, but I know that she was
19   try to talk about our concerns and respond to it     19   rated as good in one of her categories. And she
20   separately.                                          20   said: If I am rated as good, I don't understand
21                 In terms of the tenured                21   how that means I'm unsatisfactory. Because it was
22   faculty, I don't remember everyone that was          22   kind of -- it was contradictory to tell someone
23   included, but I think Daniel Makagon had something   23   they were good but not good enough to be tenured.
24   to say as well as               . There might have   24   You know what I mean? So I believe in the end we




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                                             Page 410                                                  Page 411
 1   removed the good category. We had excellent, very     1   what I heard, because I talked to her directly,
 2   good, fair, and unsatisfactory, among other           2   she told me that she had to leave because she felt
 3   things. There was a much larger conversation, but     3   like she was being treated differently. She had
 4   that was the beginning of the conversation was        4   applied for, like, a personal leave at some point
 5   about changing those categories.                      5   because she had, like, lost her father. He was a
 6       Q Were there any other African-American           6   very well-known, like, pastor in Chicago. And so
 7   female professors at the College of Communication?    7   she needed to take some time to grieve. And she
 8       A Since I began there, yes. I was                 8   was -- she told me she felt ostracized because she
 9   going through the list. There was              .      9   had applied, but her personal leave was denied.
10   She left or was denied tenure and left.              10   And she saw other people take personal leave, and
11       Q Let me ask you a different way. Who            11   they weren't denied. And eventually, she said she
12   is Nonni Olsen?                                      12   felt like she got pushed out, and she left the
13       A Willona Olson. She was also a                  13   University as well. I think that was maybe the
14   tenure-track faculty member African-American in      14   year before she went up for tenure, maybe two
15   the College. She was there when I got there.         15   years before she was supposed to go up for tenure,
16       Q Do you know her?                               16   she decided she couldn't handle it and left.
17       A I do know her, yes.                            17             MS. WERMUTH: Objection.
18       Q Okay.                                          18   BY MS. SCATCHELL:
19       A I don't know how long she had been             19        Q That was based on a conversation that
20   there, but she might have been there for a year or   20   you had with her, correct?
21   two.                                                 21        A Yes.
22       Q Is she still there now?                        22        Q And she told you she couldn't handle
23       A No. She did not stay. She had been             23   it, correct?
24   at the University for two years, but she -- from     24        A She did, yes. And she told me to be
                                             Page 412                                                  Page 413
 1   careful.                                              1   literally saw her a month ago and chatted with
 2       Q And what do you think that that                 2   her.
 3   meant?                                                3        Q     Who is she?
 4       A At the time, I honestly didn't quite            4        A     So Teresa Mastin was a tenured
 5   know what it meant. This was literally around the     5   faculty member in the College of Communication, in
 6   time that      Calvente told me to stay away from     6   my program, the public relations and advertising
 7   her.                                                  7   program.
 8       Q We will get to that.                            8        Q     And what's her nationality?
 9       A Okay. I had only been at the                    9        A     She is African-American as well,
10   University two to three years, and I was still       10   descendant of sharecroppers. Go ahead.
11   trying to understand the culture and ins and outs.   11        Q     Is she currently at the University?
12   But she told me to be careful, and I took that as,   12        A     No, she left as well.
13   you know, just be careful in who you associate       13        Q     Did she tell you why she left?
14   with. That was what I took it as. But now, you       14        A     She told me that she was over -- she
15   know, years later after seeing all of these small    15   told me she was overworked and that some of the
16   microaggressions and macroaggressions over time      16   opportunities at the University were too limiting
17   compounding, I have a much better understanding of   17   for her career and the direction that she wanted
18   what she was trying to elucidate back then.          18   to go. But she also told me that she eventually
19       Q Which was what?                                19   wanted to end up back where she came from. I
20       A Which was that this College, this              20   think she's from Michigan. Or her home, I think
21   University is not a space that is welcoming for      21   her home might have been Michigan or that's where
22   African-Americans.                                   22   her family is. She also wanted to go there. But
23       Q And who is Teresa Mastin?                      23   she said that the expectations at the University
24       A Yes, I know Teresa Mastin as well,             24   were not in line with what she had expected.




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                                             Page 414                                                  Page 415
 1       Q     Did she expand on that?                     1   BY MS. SCATCHELL:
 2       A     No, not very much, no.                      2        Q Diversity, equality, and inclusion?
 3       Q     Okay. And do you have any idea what         3        A Diversion, equity, and inclusion,
 4   she was referring to when she said that?              4   yes, at the medical school there, and took on more
 5            MS. WERMUTH: Objection, calls for            5   initiatives year. And then she left there and
 6   speculation. She just testified --                    6   went back to Michigan. I don't know which
 7            MS. SCATCHELL: If you know.                  7   university. I think it was she was at the
 8            MS. WERMUTH: She just testified she          8   University of Michigan, and now she is like the
 9   didn't expand on it. Calls for speculation.           9   dean of the school. So once she left the
10            THE WITNESS: Does that mean I can't         10   University, she was able to expand with her
11   answer?                                              11   career.
12            MS. SCATCHELL: You can answer.              12        Q And then who is           Calvente?
13            THE WITNESS: Okay. I can speculate          13        A         Calvente is -- was a faculty
14   that she knew that the College was going down a      14   member in the College of Communication. I believe
15   path that wasn't very good for people of color,      15   she was in the performance studies area, and I --
16   specifically Black women. Plus, she wanted to        16   go ahead.
17   move into the diversity, equity, and inclusion       17        Q Is she a woman?
18   space, and there was not very much room to grow      18        A I believe she identifies as a woman.
19   here at the University for that type of work. So     19        Q And what is her ethnicity?
20   I know that she left the University and went to      20        A I didn't know for certain until we
21   Northwestern which is literally down the street,     21   had this conversation, but I believe she
22   and she became like the DEI director of their,       22   identifies as African-American and maybe Latina.
23   like, medical school I believe.                      23   I think she's Vietnamese and Puerto Rican.
24                                                        24        Q Okay. She is still a professor at
                                             Page 416                                                  Page 417
 1   the University?                                       1   and without reason or, you know -- without reason,
 2       A     Unfortunately, no.                          2   you deny that person just based off of their
 3       Q     Do you know what happened to her?           3   markers and come up with unexplainable reasons as
 4       A     Yes, I do. She was denied tenure I          4   to why or I would say unqualified reasons as to
 5   believe in 2019.                                      5   why this person is not worthy of a position. That
 6       Q     And how do you know this?                   6   would be a macroaggression.
 7       A     I went up for tenure with her. And          7       Q      Okay. And what about a
 8   she told me everything that -- at least everything    8   microaggression, how is that different?
 9   that I know that happened to her. And her and I       9       A      Microaggressions are a lot more
10   had -- have had long discussions about experiences   10   covert. They happen in daily conversation when
11   we've both experienced in the College and even put   11   someone makes a small joke about a group or a
12   in complaints together.                              12   certain type of person, especially if they are
13       Q     Okay. We will get into those in a          13   like within a particular protected class. An
14   bit. When you stated that -- you mentioned           14   example would be, you know, saying that someone --
15   something about microaggressions and                 15   making the joke about a particular group or
16   macroaggressions. Can you tell me what a             16   laughing. Or I'll give you an example, perfect
17   macroaggressions is?                                 17   example. I haven't told too many people about
18       A     Yes. You said micro or macro? I            18   this, but a microaggression would be something
19   didn't hear you.                                     19   like my dean asking can she touch my hair, which
20       Q     Macro.                                     20   has happened to me.
21       A     Macroaggressions I believe are like        21       Q      Got it. And who did that?
22   overt signs that you are not wanted or needed.       22       A      Salma Ghanem.
23   For instance, a macroaggression would be a space     23       Q      And when did she ask you that?
24   in which let's say someone applies for a position    24       A      This was years ago, probably like in




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                                             Page 418                                                  Page 419
 1   2013 or '14.                                          1   really happening amongst African-Americans until
 2       Q Okay. And was anybody else present              2   someone actually took out a phone and recorded the
 3   for that conversation?                                3   things that were happening. Right? So if you
 4       A Yes. We were at the -- at a faculty             4   don't see it happening regularly, you'd think that
 5   meeting. To be honest, in full transparency, I        5   it's not happening, but it is. So same thing with
 6   didn't think anything negative about it when it       6   microaggressions. They are small, and they are
 7   happened because I always thought of Salma as --      7   happening all the time, and they compound over
 8   you know, her and I were cordial. Certain people      8   time.
 9   I don't mind asking me those types of things, you     9   BY MS. SCATCHELL:
10   know. So I didn't take it as a microaggression,      10        Q Okay. So when Salma Ghanem had
11   but that would be an example of a microaggression.   11   initially asked you that, you didn't find it
12       Q But now as you look back -- let me             12   offensive at the time because this was going back
13   back up.                                             13   when you were first starting at the University?
14                Fair to say that                        14        A Well, yeah. And I just felt like she
15   microaggressions probably happen more often than a   15   probably had very little interactions with people
16   macroaggression?                                     16   of color or a Black woman, and a Black woman in
17       A Yes.                                           17   her natural hair, you know. I don't think I've
18            MS. WERMUTH: Objection, leading.            18   ever in my life seen another, like, a person who
19            THE WITNESS: Microaggressions happen        19   is not Black be asked, oh, can I touch your hair
20   way more often, simply the nature of the academy.    20   just to see what it feels like? And I've had that
21   I mean, just in society in general, right. So I      21   experience throughout my life, even when I spent
22   will give you a very quick example. Let's talk       22   some time overseas. People ask to touch my hair
23   about say George Floyd. Let's of people wouldn't     23   all the time. I've gotten use to that. But it is
24   have realized that police brutality was really,      24   frowned upon. And really, in this day and age
                                             Page 420                                                  Page 421
 1   right now it is considered a microaggression.         1   her. I don't know if it was -- I think we started
 2   Lots of things that were acceptable ten years ago     2   talking in 2017 as well.
 3   are not acceptable now by society.                    3       Q And then when else did you complain
 4        Q So you said that          Calvente and         4   with       Calvente?
 5   you had made complaints together. What were those     5       A Yes, and then also the anonymous
 6   complaints?                                           6   complaint to OIDE, that was both         and I who
 7        A It is a very long list. But -- so, I           7   did that as well.
 8   mean, we complained to Salma together.                8       Q And why did you make the Complaint
 9        Q Let's just take it -- let's just make          9   anonymously?
10   it -- like, each Complaint we will make a separate   10       A Well, to be truthfully honest, I had
11   thing, and we'll come back and talk about each       11   seen how the University responds to complaints
12   one. So you complained to Salma?                     12   made against them, discrimination complaints made
13        A Yes.                                          13   against them. Right?
14        Q Do you remember when that was,                14       Q And how is that?
15   approximately?                                       15       A For instance, I saw a couple of
16        A This was October, November of 2018.           16   things. I saw      at one point,       Calvente,
17        Q And then when else did you complain           17   she had put a Complaint in before me, and I
18   with         Calvente?                               18   remember her telling me that they tried to fire
19        A And I believed we complained to Maria         19   her, not "they" being the University but the
20   DeMoya as our diversity advocate.                    20   personnel committee who has no firing power. She
21        Q Do you remember when that was?                21   told me they sent her an email telling her, you
22        A We complained to her multiple times           22   know, you are fired. And I was like, whoa, wait,
23   to be honest. I couldn't pinpoint exactly when it    23   what? And she put in the Complaint. And in the
24   was, but it was in 2018, 2019 we both met with       24   end, nothing came about it because Salma at the




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                                                 Page 422                                                   Page 423
 1   time overturned the personnel committee's request          1   how she was being treated, discriminated against
 2   to not reappoint her. So that was an example.              2   between her and couple other people, but I know
 3                 And I know she put in a                      3   for certain it was Gina. And I don't know Gina's
 4   Complaint then, but there was nothing to show              4   last name. It starts with a C-H. I don't know
 5   because there were no actual, quote unquote,               5   her last name unfortunately. I know she also left
 6   damages. She still had her job. So I saw that              6   the University, a staff member. She was one of
 7   with her.                                                  7   the only Black staff members. We had three, and
 8                 I saw              when he                   8   now we have two.
 9   became the director -- not director, co-chair of           9                 And she had been at the
10   DPUBLIC, the DePaul Black Leadership Coalition.           10   University for 16 years, and she told me that she
11   It is an employee resource group. I saw him speak         11   put in a Complaint, and they tried to separate her
12   out against the University, and then I also saw           12   from the offender, but in the end, it became too
13   him sue the University because they started               13   much for her to bear, and so she left the
14   retaliating against him. I saw the same thing             14   University too. So I've seen retaliation
15   happen to               who was also a law professor at   15   happening over and over and over during my time,
16   the University who spoke out about discrimination         16   and I'm really --
17   and gender inequities and pay inequities and              17            MS. WERMUTH: If you are going to
18   things like that, and same thing happened to her.         18   interject, I am going to interject because your
19   She was demoted and removed from committees and           19   question was: Why did you file a Complaint
20   not even considered to sit on certain committees          20   anonymously? What we got was hearsay. We've got
21   and things of that nature.                                21   speculation about, you know, so-and-so filed a
22                 I saw it happen to one of my                22   Complaint. We have -- you know, we don't even
23   colleagues. She was a staff member. Her name was          23   know to whom the Complaint was made. We just have
24   Latrina West-Shield. She put in a complaint about         24   these vague assertions about so-and-so filed a
                                                 Page 424                                                   Page 425
 1   Complaint, and they were retaliated against.               1            MS. SCATCHELL: Okay. So Sydney,
 2   There is no evidence to support any of these vague         2   what we are going to do is I am going to try to
 3   allegations. We don't know who the                         3   tailor more focused questions. So this way, like
 4   decision-makers are that are supposedly doing              4   I said, we can avoid this dance that we are having
 5   this. We don't know if they are the same                   5   because I really don't like to get into arguments
 6   decision-makers involved in Dr. Dillard's case.            6   with Counsel on the record. And I just want to
 7   We are now just in a world where none of this is           7   make sure that we get your story out correctly.
 8   relevant, and it's all speculative. And I can              8   So what we are going to do is we are going to
 9   tell you right now,        Calvente did not get an         9   take -- okay. I have noted all the different
10   email from the personnel committee saying you are         10   people that you mentioned, you know, that you've
11   fired. It didn't happen. So I don't know what we          11   felt were retaliating against you. We will come
12   are doing here, but whatever it is, it lacks              12   back to that.
13   foundation. It is hearsay. It is not relevant.            13   BY MS. SCATCHELL:
14             MS. SCATCHELL: Well, I'm trying to              14        Q     What we going to go back to is the
15   tailor it in. So you had your time, now is my             15   question of what made you want to write a
16   time.                                                     16   Complaint anonymously?
17             MS. WERMUTH: I know, but --                     17        A     There is no space for having an open
18             MS. SCATCHELL: I gave you --                    18   discussion. We began this old discussion about
19             MS. WERMUTH: The problem is I can't             19   culture. And the culture that I have seen at the
20   object in advance, Gia, because you ask a                 20   University in the College of Communication has
21   question, and then we go into this. I have to --          21   been one that retaliates against voices of
22   you know, at the risk of not interrupting                 22   dissension or voices that air grievances. This
23   Dr. Dillard, I have to make my statements after           23   includes the people that I already talked about
24   the fact.                                                 24   and I -- I, unfortunately, I felt scared. I felt




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                                             Page 426                                                  Page 427
 1   very, very scared to put something out there with     1   ways you could complain?
 2   my name on it in fear of me being retaliated          2       A Yes.
 3   against as well. And so the University had            3       Q These would be complaints for some
 4   different ways to put in complaints or to air your    4   sort of discrimination, correct?
 5   grievances.                                           5       A Complaints for discrimination or
 6       Q What are those different ways?                  6   retaliation, yes.
 7            MS. WERMUTH: Let me object. I am             7       Q And what are the Complaint mechanisms
 8   going to object. There is no allegation of            8   that DePaul uses?
 9   retaliation in the EEOC charge or the Complaint.      9       A Well, at the time they used to have
10   This is totally irrelevant.                          10   an OIDE website where you could click a link and
11            MS. SCATCHELL: That's not the               11   type in an anonymous -- or click in and fill out
12   question I asked her. I asked her why she wrote      12   like a form and submit it, but the form required
13   it anonymously, and it is relevant because I am      13   that you put your information in. And then --
14   asking her why or what her motivation was for not    14       Q Wait. What was that information that
15   putting her name on that email, which I think is     15   they required?
16   fair game for being relevant and tied to why we      16       A Details about the complaint like who,
17   are here today. She said she felt it was a           17   what, when, where, why, those types of questions.
18   culture of retaliation. I don't see how that's       18       Q Okay.
19   not relevant here. Go ahead.                         19       A The other way that I remember was
20            THE WITNESS: I forgot the question,         20   they had a hotline that you could call in and air
21   I'm sorry.                                           21   or submit your grievances that way. And I believe
22   BY MS. SCATCHELL:                                    22   there used to be a line at the bottom of the OIDE
23       Q I don't actually think there was a             23   website where you could click it, and you could
24   question pending. You said there were different      24   email if you had any complaints or a
                                             Page 428                                                  Page 429
 1   discrimination complaint or something you could       1       A Then it was Salma Ghanem.
 2   email it in. And the other one was you could tell     2       Q And what was her position as your
 3   your manager or someone who is a leadership person    3   supervisor?
 4   in leadership position.                               4       A She was the dean of the College of
 5        Q So when you made the anonymous                 5   Communication.
 6   complaint, which one of these four mechanisms did     6       Q Is she still there at DePaul?
 7   you use?                                              7       A Yes. She is now the -- I don't know
 8        A I used the email mechanism. I didn't           8   if she is the interim or she became the provost of
 9   feel comfortable with the form that they had          9   the University.
10   because you had to disclose information like maybe   10       Q And how long has that been?
11   your return contact information or something like    11       A She got that position in 2018, I
12   that. I didn't feel comfortable with the online      12   believe in the fall of 2018, maybe around November
13   or phone call in because you can't -- unless you     13   when other allegations about another provost
14   block your phone number, they would know it was      14   shortly after when he -- other allegations about
15   still me if I were to call in and put in a           15   his behavior and discrimination surfaced.
16   complaint. I wasn't comfortable talking to my        16       Q Okay. And then now who is your
17   manager at the time. And then the other one was      17   next -- or who is her successor? You said Lexa
18   email. And I didn't feel comfortable emailing        18   Murphy?
19   from own personal email either because everyone      19       A Lexa Murphy is the acting dean or
20   knows what my email is. And so --                    20   interim dean right now. But we're currently going
21        Q Sorry. Who is your direct                     21   through a process in which my college is asking
22   supervisor?                                          22   for her to be promoted to become the dean without
23        A Now it is Lexa Murphy.                        23   following the general process of doing a national
24        Q No. Then?                                     24   search to fulfill the position. So right now in




                                                                               44 (Pages 426 to 429)
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                                            Page 430                                                  Page 431
 1   some people's view, we are trying to usurp our       1             MS. SCATCHELL: Yes.
 2   normal processes to keep her in that position,       2             MS. WERMUTH: I believe it is
 3   and --                                               3   Exhibit 67, the one we examined her on.
 4                 (Audio distortion.)                    4             MS. SCATCHELL: You examined her on,
 5            MS. SCATCHELL: Wait. I can't hear           5   yes.
 6   you.                                                 6             MS. WERMUTH: Yes.
 7            THE REPORTER: Your audio dropped            7             MS. SCATCHELL: Okay.
 8   off, Dr. Dillard. I'm sorry. This is where we        8   BY MS. SCATCHELL:
 9   lost your answer: "So right now in some people's     9       Q Could you go to Exhibit 67, please?
10   view, we are trying to usurp our normal processes   10       A I have it.
11   to keep her in that position, and --"               11                (Exhibit No. 67 identified.)
12            THE WITNESS: And then I said: I            12             THE WITNESS: 2914 at the bottom?
13   think she's done a pretty good job as a dean for    13   BY MS. WERMUTH:
14   the small amount of time that she had been in       14       Q Yes, that's the one. Did you author
15   there. That's all I said.                           15   this letter?
16   BY MS. SCATCHELL:                                   16       A I authored it in conjunction with
17       Q So now, let's see here, you had --            17         Calvente. I wrote it, and she gave me
18   okay. Let's go back to you made an anonymous        18   feedback on changes to make as well.
19   complaint.                                          19       Q Okay. Who are the other faculty
20                 And I'm looking for what              20   members that you indicate in the first paragraph
21   exhibit that was. Anna, do you have the exhibit     21   that you communicated with that do not feel
22   offhand?                                            22   comfortable stepping forward?
23            MS. WERMUTH: June 2018 anonymous           23       A That, I was referencing myself and
24   complaint?                                          24         Calvente.
                                            Page 432                                                  Page 433
 1       Q Okay. Would Maria DeMoya fall into             1   harm to the women who are tenure-track Latina
 2   that category?                                       2   and/or African-American?
 3            MS. WERMUTH: Objection, relevance.          3       A Yes.
 4            THE WITNESS: I can't speculate she          4       Q Could you go into what you believe
 5   would fall into that category, but I do know --      5   those subjective performance criteria are?
 6   here is the thing. She was a diversity advocate.     6       A It is a number of things. It is
 7   So she had to step forward as a part of her job.     7   applying all of the T & P, College of
 8   She was supposed to step forward and bring out       8   Communication tenure and promotion guidelines
 9   concerns. But I do think that it took a bit of       9   differently. An example of that would be noting
10   time for her to feel comfortable doing that --      10   that some people have scores that are below the
11            MS. WERMUTH: Objection.                    11   College mean, but only focusing on those who are
12            THE WITNESS: -- and to have that           12   Latina or African-American faculty members and
13   conversation about what was happening before we     13   highlighting those discrepancies among that group,
14   came to her in her official role as a diversity     14   but then say among their white counterpart or male
15   advocate.                                           15   counterpart not highlighting that and not
16            MS. WERMUTH: I am going to object to       16   requiring them to go through additional reviews.
17   speculation and foundation, the testimony laking    17                And the same thing goes beyond
18   foundation and speculation.                         18   the scores. It also is about pulling out specific
19            MS. SCATCHELL: Your objection is           19   subjective or qualitative responses that students
20   noted. Okay.                                        20   might post on their evaluations and using that as
21   BY MS. SCATCHELL:                                   21   in my opinion ammunition to continue to ostracize
22       Q Where you say in the third paragraph          22   and treat someone unfairly. That's what I meant
23   that the most disturbing component is the use of    23   when I said "subjective performance criteria."
24   subjective performance criteria that has caused     24       Q Okay. And then --




                                                                              45 (Pages 430 to 433)
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                                             Page 434                                                  Page 435
 1       A     It's about how a person feels about         1        . I believe she told me that someone had made
 2   another group.                                        2   a joke using the word "nigger" as the punch line
 3       Q     Okay. And then those situations             3   for it. I was not there to hear that, but she did
 4   would also be in the bullet points that you           4   tell me that, and she did add that line. That
 5   outline?                                              5   would be an example of a racial epithet.
 6       A     You said those -- I didn't quite hear       6                  But I also put in there
 7   what you said.                                        7   dismissal of concerns of discriminatory actions.
 8       Q     Oh, the bullet points that -- you           8   That would be the fact that we've talked to
 9   know, there are four bullet points. Would those       9   people -- it's hard to explain. The University
10   also be considered what you were referring to as     10   has a tendency to make it seem like, oh, if you
11   subjective performance criteria?                     11   didn't -- it's not clear of what is considered a
12       A     Um-hum.                                    12   Complaint, right. So if you say to your
13       Q     And then on the next page, the             13   supervisor, hey, there are some issues that are
14   discriminatory acts in the College of                14   happening here, that in my opinion, that's a red
15   Communication, do you see that part?                 15   flag. If I were in a leadership role, that would
16       A     I think, yes, yes. I see that. That        16   be a red flag, and I would look into it, not
17   would be included as well because all of it          17   necessarily open an official Complaint, but it
18   determines your development and your career.         18   requires that you be proactive rather than
19       Q     So now let me -- we'll take these          19   reactive. And in these instances, as we've
20   discriminatory acts one at a time. Where you say     20   already seen, I tried to give the University, you
21   that: Racial epithets directed verbally toward       21   know, forewarning that something is happening. I
22   either of them, what were you referring to with      22   tried to say: Look, there is something happening
23   that statement?                                      23   here. Look at my experience. Look at what is
24       A     So, this one was specifically about        24   happening with these women and people of color and
                                             Page 436                                                  Page 437
 1   descendants of slaves that are leaving the            1   attempt.
 2   University. Look at how domestic minorities are       2       Q And you had briefly touched on what
 3   being treated, and I'm trying to do it without        3   follow-up action resulted from that. Could you
 4   saying this is a discriminatory space or this is a    4   refresh my memory because I just want to make sure
 5   place where people of color are not welcome. I'm      5   that I have it right.
 6   trying my hardest to do that without necessarily      6            MS. WERMUTH: Objection, asked and
 7   saying it. But no matter how much you try, they       7   answered.
 8   don't take it seriously until you say this is         8            MS. SCATCHELL: I actually really
 9   discrimination. And then even when you say this       9   don't remember, so that's why I'm asking.
10   is discrimination, you don't even get a response,    10            THE WITNESS: So yeah, I mean, long
11   you know. You get -- you know, you get like half     11   story short, and Anna opened up that file already,
12   effort and not a full-on investigation to see if     12   but the response was the University, Barbara
13   things should be changed.                            13             responded to the email asking more
14                 And I'm not going to go on too         14   details about who did what, when, where, and why.
15   much longer, but you will see other things where     15   There was a form you used to be able to fill out,
16   after only a national push to acknowledge that       16   and that was the end of that. And because it was
17   racism is real, then you start seeing things like    17   anonymous, I expected the University to reach out
18   let's have an anti-racism book club, let's have      18   to me and say at least to me or     because we
19   listening tours. Right? But this is a long time      19   did eventually name ourselves, at least reach out
20   coming, and I've been trying my hardest to give my   20   to me and say, you know, Sydney, what has your
21   colleagues in the College and the University the     21   experience been? Do you have any complaints? Do
22   opportunity to be better, to live the truth of the   22   you have some concerns, something? But nothing
23   Vincentian value. I've tried that. That's what I     23   ever came about it. Even though prior to this
24   was trying to say here, and in an anonymous          24   anonymous email I had already let them know that




                                                                               46 (Pages 434 to 437)
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                                             Page 438                                                  Page 439
 1   something is happening here. I didn't say it was      1   We had plenty of people within that category, but
 2   discrimination. I said: Something is happening        2   they are not tenure track. They have lower job
 3   here. Nothing happened. Then I say                    3   titles.
 4   discrimination is happening here, nothing             4        Q Okay. Okay.
 5   happened. The only time that the University           5        A Which fits the bill of racism. You
 6   reached back out to me was when it came from the      6   keep people of color in lesser positions that have
 7   dean of the College, when Salma gave a very short     7   less power.
 8   message and email saying there have been concerns     8            MS. WERMUTH: Objection. There is no
 9   of discrimination, even though our conversation,      9   evidence that --
10   as we said, was two hours long and she told me       10            MS. SCATCHELL: In your opinion.
11   specifically that every instance that we brought     11            MS. WERMUTH: Hang on.
12   up needed to be investigated. She said that was      12                -- that any one of those
13   the rule that the University was supposed to do.     13   individuals who is in a non-tenure track position
14   BY MS. SCATCHELL:                                    14   applied for a tenure-track position at DePaul
15       Q     We will get into that.                     15   University. We are getting really far afield here
16       A     Go ahead.                                  16   with lots of speculation and broad, wide-ranging
17       Q     We will get into that. Now, when you       17   assertions that aren't supported by the evidence
18   stated you are the only -- back to the first page.   18   in the record.
19   The only two faculty with -- in the protected        19   BY MS. SCATCHELL:
20   category within the College, is that an accurate     20        Q Okay. Give me one second. What
21   statement that you guys were the only two            21   exhibit did we leave off on, 147?
22   minorities or US-born minorities within the          22            THE REPORTER: Yes, 147 was the last
23   College of Communication?                            23   one marked.
24       A     That were up for tenure at this time.      24            MS. SCATCHELL: Perfect, I will mark
                                             Page 440                                                  Page 441
 1   148, and I will send it right now.                    1       A     Yes, yes.
 2                 (Exhibit No. 148 identified.)           2       Q     Okay. And did they indicate, like
 3            THE WITNESS: I have it.                      3   where, you know -- or did they provide you with
 4   BY MS. SCATCHELL:                                     4   where these multimedia files should be hosted or
 5       Q     Do you recognize this document?             5   did you need to do that on your own?
 6       A     Personnel Committee Support Needs for       6       A     I think you have to do it on your
 7   the Faculty Review Process, yes.                      7   own. What's weird is sometimes they would have
 8       Q     Okay. What is this document?                8   student workers that would be putting it up for
 9       A     This is the file that we're supposed        9   you as well. There was a lot of -- a lot of
10   to use on personnel for reviewing faculty members.   10   unclarity of where things need -- you know, how
11   And it tells you like things about how SharePoint    11   this process was supposed to go.
12   is supposed to be used and, like, putting things     12       Q     Okay. But --
13   in order, and it just goes through the flow of how   13       A     Yeah. Sometimes you would have to
14   to run a personnel review, formal review.            14   host it on your own.
15       Q     Do you see the part where it says:         15       Q     And then the paragraph above it says:
16   Because storage space is limited? This is on         16   However, there is some housekeeping we will ask
17   Page 4, Paragraph 4.                                 17   you to complete by date XX. Do you see that?
18       A     You said Page 4, okay. I am on             18       A     Yes.
19   Page 4: Because storage, okay.                       19       Q     What does that mean?
20       Q     So this is another -- so when              20            MS. WERMUTH: I will object based on
21   somebody is applying for a tenure position, they     21   foundation. I don't know that we've established
22   have to upload several different documents to        22   when this document was created, by whom it was
23   SharePoint unless it's audio or video or             23   created, to whom it was distributed.
24   PowerPoint?                                          24            MS. SCATCHELL: You produced it.




                                                                               47 (Pages 438 to 441)
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                                             Page 442                                                  Page 443
 1            MS. WERMUTH: That doesn't mean that          1   potentially in ESI. I'm just trying to make sure
 2   this witness, Dr. Dillard --                          2   I understand how it is --
 3            MS. SCATCHELL: She said she saw the          3   BY MS. SCATCHELL:
 4   document and is aware of the document, and it is      4       Q Did you receive a copy of this,
 5   the guidelines that the personnel committee used      5   Sydney?
 6   to evaluate staff members.                            6       A I've seen this before. This is one
 7            MS. WERMUTH: Okay. But she hasn't            7   of the documents that I was explaining about that
 8   established --                                        8   they kept changing the details on, and SDR is
 9            MS. SCATCHELL: She knows what the            9   about Shena Ramsay. She is the assistant dean in
10   document is.                                         10   the College. So I know who created this document
11            MS. WERMUTH: The date of the file,          11   and who updated the document as well.
12   who delivered it to her. There is no foundation.     12       Q And if you have seen a copy of it
13   BY MS. SCATCHELL:                                    13   before, fair to say that the document was
14       Q     Sydney, can you do me a huge favor         14   published, correct?
15   and tell me what date you see at the bottom of the   15       A Yes, it is published.
16   page?                                                16       Q Okay. Great. Is there more updated
17       A     Dated 3-12-2015, updated 3-12-2015.        17   copy than this one if you know?
18       Q     Do you have any reason to believe          18       A I think there should be, yes. This
19   that that date is not a true and accurate date for   19   has to be an outdated copy because it says Dropbox
20   this document to be circulated or published?         20   and SharePoint, and we don't use SharePoint, we
21       A     No, I have no reason to believe that.      21   use Interfolio. I'm fairly certain that there
22            MS. WERMUTH: You haven't established        22   should be an updated. I don't think I have it
23   that it was circulated. There are initials next      23   anywhere in my files, but I think there should be
24   to that date. This could be a draft. This was        24   one. Steven Awalt, he is not in our College
                                             Page 444                                                  Page 445
 1   anymore. He's left. There is a lot of outdated        1   the personnel committee.
 2   information in there.                                 2            THE WITNESS: From the ones that I
 3       Q Where it says this whole thing about            3   saw, no one else. And the people that I spoke to,
 4   these housekeeping matters and the date XX, do you    4   and I've spoken to a lot of faculty members in the
 5   recall if there was any follow-up with when these     5   College, no one else had this same situation. And
 6   housekeeping matters were supposed to be updated?     6   it did not become an issue until the year that I
 7             MS. WERMUTH: Objection, form,               7   went up for my review, and this became a very hot
 8   misstates the record.                                 8   button topic.
 9             THE WITNESS: No, I never received           9                Am I supposed to be waiting
10   any update about this. I mean, that's why this       10   for you to finish your question or wait for Anna
11   whole situation was so interesting because it        11   to object.
12   was -- it used to be kind of very fluid, if you      12            MS. SCATCHELL: She should not be
13   will. No one was really that strict about it         13   objecting to every question, but wait until I
14   until my particular case.                            14   finish my question. And if she is going to
15   BY MS. SCATCHELL:                                    15   object, she will make it known.
16       Q You mean nobody meaning that was               16            THE WITNESS: Okay, I will wait until
17   going up for tenure or reviewing somebody's tenure   17   she objects and then move on. Gotcha.
18   file?                                                18   BY MS. SCATCHELL:
19       A Yes.                                           19        Q When somebody is going up for a
20             MS. WERMUTH: Objection, foundation.        20   review for tenure, could you explain how much --
21   You've got to let the question get finished being    21   like, what goes into that up for review process?
22   asked so I can object. Foundation. I don't know      22   What information is included?
23   how you can testify to how other cases were          23            MS. WERMUTH: Objection to form.
24   handled or not handled when you were not part of     24            THE WITNESS: So when you go through




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                                             Page 446                                                  Page 447
 1   the review process, I mean, you are supposed to       1                  Same thing for research.
 2   have -- it's supposed to get easier over time         2   They'd like for you to have all of your published
 3   because you are building the case every two years     3   work in there. And if you have work that might be
 4   if you follow the normal experience which is two      4   being published soon, you can have like a letter
 5   years, two, four and your sixth year you have a       5   from the editor saying when it will be published,
 6   final review. It is supposed to build itself over     6   or that it's been accepted after being blind
 7   time where you are supposed to post your materials    7   reviewed.
 8   in the second year and post your materials in the     8                  And then for your service,
 9   fourth year, and so by the sixth year you only        9   which you are supposed to get a letter from your
10   have two years of material to upload to Interfolio   10   committee chair, whoever is the leader of your
11   or SharePoint.                                       11   committee, to write about your experiences and
12   BY MS. SCATCHELL:                                    12   what contribution you made on your -- in terms of
13       Q      And what would those include?             13   service, whether it be in the University or
14       A      Those would include your teaching,        14   outside of the University assessing to your
15   research, and service contribution to the            15   contribution.
16   University. So teaching being, it can include        16       Q Okay. And then have you published
17   anything honestly. It doesn't -- there are no        17   any articles?
18   specific requirements. It can include your           18       A I have, yes, multiple.
19   syllabus. You can include your -- you know, if       19       Q How many?
20   you wanted to put like notes or even assignments     20       A I'm sorry? You cut out. What did
21   that you've given to your students, the gamut is     21   you say?
22   pretty wide. It is up to you of what you would       22       Q How many?
23   like to include that you think represents your       23       A How many? I think I've published at
24   teaching.                                            24   least 11 articles.
                                             Page 448                                                  Page 449
 1       Q     Were they peer reviewed?                    1   with ethnic minorities in Lake County and Porter
 2       A     Majority of them were. I think at           2   County, Indiana to increase the vaccination uptake
 3   least nine or ten of them were peer reviewed.         3   at a mass vaccination clinic. And so this was in
 4       Q     Okay. Okay. And let's talk about            4   the wake of the COVID and coronavirus, and we were
 5   the service component of your time at DePaul.         5   trying to get people to get vaccinated. And I was
 6       A     Okay.                                       6   the PI on that, partnered with FEMA, the Indiana
 7       Q     Did you ever lead any program-seeking       7   Department of Health, Gary, the mayor of Gary, and
 8   grants?                                               8   a couple other major nonprofit and government
 9       A     Yes.                                        9   organizations.
10       Q     What was it?                               10       Q     Okay. And is that currently still
11       A     Well, I've done -- I've probably done      11   going on right now or is that finished?
12   the most grant work in the College most likely. I    12       A     No, that one is finished.
13   don't think anyone else has really done as much      13       Q     Okay. And then have you had any
14   grant work as me. But I would say the most recent    14   other -- have you sought any other grants?
15   one that a lot of -- not most, most recent one was   15       A     I mean, I don't want to go through
16   $150,000 from the Indiana Department of -- the       16   them all. But, I mean, at the same time, I had
17   Health Department. But the one that I'm pretty       17   another grant that was running simultaneously with
18   certain that you are talking about is --             18   the EOOR, which is operation, engage, education,
19       Q     Wait. Really quick, what happened          19   and register. We are talking about people getting
20   with that $150,000 grant?                            20   vaccinated. My other grant, that was $40,000, and
21       A     That was $115,000.                         21   that was focused on understanding of vaccination
22       Q     Oh, okay.                                  22   hesitation, so trying to understand what are some
23       A     And that one, if I said $150,000, I        23   of the reasons why people are not willing to get
24   meant $115,000. And that was a grant to engage       24   vaccinated during the pandemic. And that -- we




                                                                               49 (Pages 446 to 449)
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                                             Page 450                                                    Page 451
 1   call that Project Hope. That was for about            1   but we did get a lot of -- a lot of useful
 2   $40,000. I partnered with Purdue University for       2   information on developing our curriculum for the
 3   that one and the Indiana Minority Health              3   PR and advertising program. So yeah, really proud
 4   Coalition.                                            4   of that one. It was hard work, but it worked
 5       Q And anything else?                              5   really well.
 6       A Yes. And so before that, I received             6       Q Okay. Was there something that you
 7   a grant. I co-PI'd a grant with Dr.           and     7   got grant money for a computer lab?
 8   one of our colleagues, Ken Krimstein and Marshall     8       A Yes, that was the media engagement
 9   Goldman, and we got 163 -- I a little over            9   lab, the media lab.
10   $163,000. It was an Academic Growth and              10       Q And what is currently happening with
11   Innovation Fund grant to focus on developing our     11   that lab right now?
12   program, the PR and advertising program. So I --     12       A Now, my co-PI, he left the
13   we created a new creative minor. I started BRAND     13   University.
14   summer program which is called Building Resources    14       Q Who was that?
15   for Advertising Needs and Diversity that focuses     15       A His name was                      .
16   on -- it's like a summer enrichment program for      16       Q Okay.
17   high school students to increase diversity in        17       A And I really enjoyed working with
18   advertising, supporting funding for our new media    18   him. And but he -- he need a bit of direction
19   engagement research lab where we got to -- we        19   because I don't think he ever managed that much
20   purchased -- it was seed money to develop a new      20   funds. It was a good time. Media lab has all of
21   lab. So we bought technology, Google glasses, eye    21   the technology that we purchased on its behalf.
22   tracking software, biometrics, lots of different     22   And a new faculty member, Tony Deng, he works in
23   things, and we tried to create a certificate for     23   the lab quite a bit. And the University and the
24   the graduate program which didn't quite work out,    24   College decided to allow Dr.               to be the
                                             Page 452                                                    Page 453
 1   director of the lab, and so I've kind of washed my    1   we had developed for PR and advertising. But I
 2   hands of it at this moment.                           2   was really ostracized to the point where I just
 3       Q      Was that by choice or --                   3   told me dean: You know, it's fine. I'm going
 4       A      Well, it was by choice, but it was         4   through a lot of health issues. I don't want to
 5   actually due to the hostile work environment. At      5   argue or cause any additional stress, though I
 6   one point Nur refused to meet with me in a            6   think my record has shown that I am dedicated and
 7   meeting. And they kept making decisions about the     7   I am seeking to develop a better University for
 8   ME lab without me even though I was the one that      8   our students.
 9   provided the funding for the lab.                     9       Q Got it. Was there any other --
10       Q      And what do you mean they were making     10            MS. WERMUTH: I'm sorry. I am moving
11   decisions without you?                               11   to strike the testimony that lacks foundation and
12       A      They were deciding on how to design       12   was speculative. Again, I couldn't have
13   the lab, like developing relationships with          13   anticipated.
14   outside -- I -- I'm going to say "they" because I    14            MS. SCATCHELL: What was speculative
15   don't think Nur was doing that much of that. I       15   and what was lacking foundation? I asked her if
16   think       was doing more of that. They, the        16   she was seeking any grants.
17   College of Communication was -- to be frank, I       17            MS. WERMUTH: I know, and that's
18   think Nur was more focused on getting the title as   18   exactly right. You asked her if she goes on to
19   the director of ME lab. And          told me about   19   receive any grants, and she believes that Nur
20   that. And I said: We can all work together on        20   wanted the title of the lab because she was going
21   this. And I know she was going up for tenure, and    21   up for tenure. That's all speculation and --
22   maybe that was why she was motivated to try to do    22            MS. SCATCHELL: My next question --
23   that. But I had shown a great interest in            23   I'm not done. My next question to her was:
24   developing the ME lab and all of the programs that   24   Sydney, what was -- because she said I didn't have




                                                                                50 (Pages 450 to 453)
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                                             Page 454                                                  Page 455
 1   anything to do with it. And I said: Was that by       1   the record that your objection upon objection upon
 2   choice? -                                             2   objection is becoming a bit obstructionist. Okay.
 3             MS. WERMUTH: And she's speculating          3           MS. WERMUTH: I disagree, but we can
 4   about other people's motivations that she laid no     4   move on.
 5   foundation for. So I just moved to strike it. We      5           MS. SCATCHELL: Actually, let's take
 6   can move on.                                          6   a five-minute break.
 7             MS. SCATCHELL: We are not going to          7           MS. WERMUTH: Okay.
 8   move on. She felt Nur was ostracizing her because     8                (Recess taken.)
 9   she refused to meet with her.                         9   BY MS. SCATCHELL:
10             MS. WERMUTH: No. What she said was         10       Q All right. Let's go with you had
11   Nur wanted the title because she was going up for    11   previously testified that     Calvente had told
12   tenure.                                              12   you not to associate with her. Am I saying that
13             MS. SCATCHELL: She said that               13   correctly?
14   afterwards.                                          14       A In general, yes. I think her exact
15             MS. WERMUTH: Whatever. I move to           15   words were: You might want to stay away from me.
16   strike it.                                           16       Q Where was this at?
17             MS. SCATCHELL: Okay. Your objection        17       A We were at an alumni -- College of
18   is noted.                                            18   Communication alumni gathering.
19             THE WITNESS: It is making me very          19       Q Was anybody else there?
20   uncomfortable that Anna keeps yelling.               20       A Yes, several faculty member.
21             MS. WERMUTH: Let me just state for         21       Q That overheard the conversation?
22   the record that I was being interrupted by           22       A No, I don't think anyone overheard
23   Counsel.                                             23   that.
24             MS. SCATCHELL: Let me just state for       24       Q Do you remember what time period that
                                             Page 456                                                  Page 457
 1   was?                                                  1   telling her that she is fired or they don't want
 2       A      That is a tough one. That was years        2   her here anymore or voted -- it was something
 3   ago.                                                  3   very, very negative.
 4       Q      Was it before tenure or after tenure?      4                 And at the time, again, I
 5       A      Before. It could have been like as         5   didn't quite understand the nuances of what was
 6   early as, like, 2014-ish. Yeah, it was a while        6   happening. And I looked at it, and I was like:
 7   back. I'd have to think really hard.                  7   What is this? And she said: Yeah, they're trying
 8       Q      And what did she say to you, and what      8   to get rid of me, so you might not want to be
 9   did you say to her?                                   9   anywhere near me because I don't want anything
10       A      I hadn't seen it because there --         10   that's happening to me to rub off on you. And to
11   that was, like, when I first was getting to know     11   be honest, I didn't want that to rub off on me
12   her. I didn't know her very well at the time. So     12   either. So after that, I kind of distanced myself
13   we were at the -- whatever it was, I don't           13   from       , and I didn't really talk to her very
14   remember the timeframe, but I know it was shortly    14   much again until her, me, and Maria ran into each
15   after the -- she told me they were trying to fire    15   other at the microaggression discussion about
16   her. That's what she said. And so I was -- her       16   faculty of color and microaggressions that was put
17   and I hadn't really had any conversations. I went    17   on by -- I don't know who put it on. It could
18   up to her and said:        , how's it going? Nice    18   have been OIDE to be honest.
19   to see you; me trying to make friends with my        19        Q And what year was that?
20   colleagues. And she said: You might not want to      20        A When her and I and Maria met again?
21   be seen with me right now. And I was like: Why,      21        Q Yes.
22   what's going on? And she gave me her paper from      22        A I think that was 2017. I believe
23   her personnel -- it was like -- it was either like   23   that was 2017.
24   an email or a -- but it was like an explanation      24        Q And what happened during your




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                                              Page 458                                                  Page 459
 1   conversation at the microaggression meeting?           1   happened to her. And I was like in awe. And I
 2       A     What happened is they were talking           2   said: I guess I'm not alone in what's happening
 3   about what microaggressions were.                      3   to me. Apparently, this is pretty common.
 4       Q     And who is this?                             4       Q     Do you remember what you raised your
 5       A     They being the organization that put         5   hand about?
 6   it on. I would assume that it was OIDE, but I          6       A     What I raised my hand about wasn't
 7   can't -- you know, I go to a lot of meetings, so I     7   necessarily about discrimination against me
 8   don't remember who it was. But I know it was           8   because of my race. I -- well, was it? Honestly,
 9   about microaggressions, but I went because I kept      9   I don't remember what I raised my hand about,
10   having a lot of these experiences, and no one         10   honestly. It was about something -- about
11   around me was having these experiences. And I         11   something that happened at DePaul. I think it was
12   hadn't even talked to Maria DeMoya at the time        12   about more so about me having to go through an
13   because I don't think Maria was -- or she had just    13   additional review or something like that.
14   gotten into the role of diversity advocate. Prior     14       Q     The additional review that you
15   to, Teresa Mastin was the advocate, and I didn't      15   believe that you should not have went through,
16   talk to her because I didn't know what was            16   right?
17   happening.                                            17       A     Yes.
18                So anyway, when I got there,             18       Q     Okay. And okay. Do you remember
19   they were talking about these microaggressions,       19   what -- do you remember what happened or what you,
20   and I remember raising my hand and talking very,      20   Maria DeMoya, and         Calvente talked about at
21   you know, shortly about something that I              21   the meeting?
22   experienced. And I saw          raise her hand, and   22       A     Yes. So after the meeting was done,
23   she talked about what happened to her. And Maria      23   we pretty much were walking and talking together,
24   raised her hand and said something about what had     24   and we were surprised because all of us were
                                              Page 460                                                  Page 461
 1   having similar experiences here and there and,         1   once I believe or I see something to be truthfully
 2   like, pieces here and bits there. And so I             2   and honestly there, or there are facts to support
 3   remember us saying: Let's meet again and talk          3   it, then I will go ahead and move forward with it.
 4   about what's happening here. And that's really         4   And for quite some time, I only had speculations
 5   what started to get me to think about what was         5   in my mind, and I only had what I was feeling.
 6   happening to me. Even though I didn't have any         6   And I know that when it comes to discrimination, I
 7   evidence, I mean, I felt like something was            7   mean, I know what I know in terms of me being a
 8   happening to me. I was -- you know, I ended up         8   critical race theorist, but I also know the
 9   getting sick and all these different things, but I     9   structure doesn't acknowledge these types of
10   couldn't pinpoint it because everything is so         10   engagements or these types of interactions unless
11   closed. They make sure that information about         11   you can prove it through some tangible way. And I
12   other people's reviews, though they should be         12   couldn't prove it, I just knew what was happening
13   confidential, like, I agree they should be            13   to me.
14   confidential, they also keep it very hush in terms    14                 But like I said, it took me
15   of how people are being treated, what type of         15   some time in talking to other people and hearing
16   recommendations are being placed upon others,         16   about their experiences. And when Rajul Jain let
17   those types of things.                                17   me see her evaluation and I saw that they were
18       Q Okay. And when you say that you                 18   saying perfect stores, awesome, move on to the
19   didn't have any evidence, do you mean, like, you      19   next step, and for me they glossed over it and
20   didn't have any overt evidence, or what do you        20   didn't say anything, or, oh, you need to do this,
21   mean?                                                 21   or they focused on a class that only had five
22       A Yes, overt evidence. I'm the kind of            22   students in it and assumed that I am the worst
23   person that likes to give people the benefit of       23   teacher that needs to be reviewed an additional
24   the doubt. I don't like to assume the worst. But      24   time, that's when it becomes clear, oh, there is




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                                             Page 462                                                  Page 463
 1   some differences that are being applied to me.        1       Q Okay. Do you remember what the
 2       Q      Now, what classes have you taught at       2   racial demographic was of those five students?
 3   DePaul?                                               3       A Well, none of them were of color that
 4       A      I taught a lot of different classes.       4   I can remember.
 5   You want me to go through like all of them or --      5       Q And when you said you were getting
 6       Q      Are they listed in your CV?                6   bad reviews from that class, do you remember what
 7       A      Yes, they are listed in my CV.             7   the nature of the reviews were about?
 8       Q      Just in the interest of time, we           8       A Yes. Actually, and this is the part
 9   won't go through them. But you have taught            9   that I guess caused me so much stress is because
10   several different classes?                           10   that particular class I sat and talked to Carolyn
11       A      Oh, yes. I've taught at least a good      11   Bronstein about that class while it was happening
12   ten different classes at the University.             12   because there were a lot of moving pieces that had
13       Q      Has race ever come up in any of these     13   nothing to do with me. It was my first year
14   classes?                                             14   working with the Steans Center which is an
15       A      You mean as a topic for the class?        15   on-campus organization that helps faculty members
16       Q      Yes.                                      16   connect with nonprofit organizations to utilize
17       A      Oh, yes, yes. One of the classes          17   them in the learning experiences for their
18   that we just went over with Anna when I had the      18   students. And so they connected me within the
19   lowest scores, that class that had maybe five        19   organization that I had never worked with before.
20   students in it. That class was a class focused on    20                 Now, me, personally, I do a
21   race, and it was about action -- or what do you      21   lot of community work, so I know how to build
22   call it, healthcare campaigns and community          22   those relationships, but I also know that it takes
23   action. We talk a lot about race because race is     23   lots and lots of time and effort to build those
24   a huge factor in health inequities.                  24   relationships. But I was also new to the
                                             Page 464                                                  Page 465
 1   University, and all of my relationships were in       1   some of their interactions. But when they got
 2   Indiana, and I wanted to make sure that the           2   there, my community partner was having them do
 3   students got involved in Chicago organizations and    3   things like make copies on the copy machine and
 4   Chicago downtown. And what ended up happening in      4   menial tasks like filing and things like that
 5   that classroom was beyond my control. My              5   which is not what we had already agreed on.
 6   community partner that the University connected me    6                 So at the end of the quarter,
 7   with kept pushing back the date for when they were    7   the students were very, very upset. And I will be
 8   supposed to meet the students. They changed the       8   honest, I was upset too. And the students were
 9   assignments that they were supposed to do. In         9   not happy about their interactions. They were,
10   fact, I -- and I had this conversation with          10   like, the dates kept changing. We didn't know
11   Carolyn because I expected her to have a voice in    11   when the deadline was, so on and so forth, a lot
12   the room when they did the vote about my teaching    12   of things that were out of my control.
13   where my community organization also -- and these    13                 And then after that, I never
14   are graduate students mind you. We were working      14   worked with the Steans Center again. And from
15   with -- what do you call it -- inmates, prisoners,   15   then on, I only built my own relationships with
16   and they were -- they would write letters about      16   outside organizations because I couldn't afford to
17   things they would like to see changed and talk       17   have that type of interaction again.
18   about their health and things like that.             18            MS. SCATCHELL: Okay. Great. Hang
19                 So I was having the students           19   on. Can we go off the record for one second?
20   do in-depth analyses about their lived experiences   20            MS. WERMUTH: Sure.
21   and how they could develop health programs for       21                 (Discussion off the record.)
22   that group. And my community partner, they were      22   BY MS. SCATCHELL:
23   supposed to go to the location and meet with the     23       Q      You had previously testified that
24   community partner on an individual basis and share   24   there were five people and that you spoke about




                                                                               53 (Pages 462 to 465)
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                                             Page 466                                                  Page 467
 1   race. Were there any other classes that you spoke     1   to 70 percent of my classes have some sort of
 2   about race or structural inequalities in?             2   discussion. Oh, of course, and African-American
 3        A    Yes. Let me see my CV for a second.         3   Health. I have a class that I taught called
 4            MS. WERMUTH: I am just going to              4   African-American Health which also engages with
 5   interpose a relevancy objection. Thank you.           5   discussions of marginalization and racism.
 6            THE WITNESS: Some of the classes             6   BY MS. SCATCHELL:
 7   that I speak about racial inequality, Discover        7       Q And have you been teaching those
 8   Chicago, both the LSP 110 and HON, which is the       8   classes throughout your time at DePaul?
 9   honors class, Healthy Chicago 2.0. As you can         9       A Yes, I have.
10   imagine in Chicago, we have a long history of        10       Q And so let's see. Were there any
11   issues in reference to racism. That's why I was      11   classes that you were teaching before you went up
12   bringing up the concept of redlining and how lack    12   for tenure that you spoke about race with?
13   of access to resources trickles down. Racism         13       A Yes. I mean, essentially, all of
14   trickles down into the structures that shape our     14   those classes that I just named, those were all
15   experiences. And so in those particular classes,     15   taught prior to me going up for tenure.
16   I talk about that.                                   16       Q Okay. Was there ever a time period
17                 In Communication, Ethics, and          17   where you felt like you didn't want to, quote
18   Law I talk about race there. Advertising and         18   unquote, rock the boat in terms of race?
19   Health Promotions at the undergraduate level, and,   19       A Yes.
20   like, Advertising and Health Campaigns at the        20            MS. WERMUTH: I am going to object to
21   graduate level, I talk about it in those courses     21   the question on relevance grounds.
22   as well as Healthcare Campaigns and Community        22            MS. SCATCHELL: Okay. For the
23   Action as well.                                      23   record, the Rules of Evidence, Federal Rules of
24                 So I would say that a good 60          24   Evidence, for depositions do not allow you to make
                                             Page 468                                                  Page 469
 1   objections based on the manner of taking an           1   conversations and engaging with these types of
 2   objection, okay? You will always have those           2   interactions, I also realized very quickly that
 3   preserved, such as relevance, competence, and         3   the students weren't comfortable as well. So if
 4   materiality that will not be waived by your           4   you were to track the trajectory of my teaching
 5   failure to object during the deposition.              5   and the courses that I taught, you will notice
 6   Therefore, your objections to relevance are not       6   that I had more highly focused on race -- I mean,
 7   only unnecessary, but they are also inappropriate.    7   classes that were more focused on race early in my
 8   And, you know, I'm saying this with sincerity         8   career. And then, eventually, I tried to focus on
 9   here. My client says she is already feeling           9   the classes that I thought would alleviate that
10   uncomfortable by the way that you are interacting.   10   unnecessary burden because, I mean, there have
11   So I am going to ask you to please wait and hold     11   been studies that show that students, just in
12   your relevance objections.                           12   general, are more likely to rate a faculty member
13                Could you please read back the          13   as less competent and unprepared and all these
14   question?                                            14   other kind of, you know, descriptors, just based
15                (Record read as follows:                15   on not only their race, race is included, but
16                 "Q. Okay. Was there ever a             16   based off of their age, based off of way that they
17                 time period where you felt             17   speak, based off of their gender, even in sexual
18                 like you didn't want to,               18   orientation as well. So with that being said, I
19                 quote unquote, rock the boat           19   did start to taper off from teaching issues of
20                 in terms of race?                      20   race over time because of this.
21                 "A. Yes.")                             21   BY MS. SCATCHELL:
22            THE WITNESS: I was going to say yes,        22       Q Okay. I am going to draw your
23   in fact, once I realized that not only were my       23   attention to Exhibit 88.
24   colleagues uncomfortable about having these          24                 (Exhibit No. 88 identified.)




                                                                               54 (Pages 466 to 469)
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                                              Page 470                                                   Page 471
 1            THE WITNESS: Is this in the binder?          1   maintain, you know -- I mean, I thought our
 2   BY MS. SCATCHELL:                                     2   agreement was I would send them to you in advance
 3       Q     Yes.                                        3   for ease of reference, but not that you just had
 4       A     Okay, I'm here. There is a 703 at           4   license to use our documents. So I am going to
 5   the bottom?                                           5   lodge that objection, you know. This was not
 6       Q     Yes. What is the search committee?          6   entered into evidence. What I had said at the end
 7            MS. WERMUTH: Wait I'm sorry. I am            7   of the last deposition was that we would -- I
 8   going to make an objection. Is this an exhibit        8   think maybe at the beginning of the deposition was
 9   that we had entered into evidence?                    9   that we would be collecting the binders for that
10            MS. SCATCHELL: Yes, it is Exhibit 88        10   very reason. We would be sending messengers to
11   from your binder.                                    11   collect the binders. So you know, I think this is
12            MS. WERMUTH: Hang on one second,            12   inconsistent with our agreement.
13   Gia. Was it entered into evidence? That's my         13                 That being said, it is a
14   question. I don't think it was, and my -- I told     14   document that your client has produced, so I note
15   you I might not be putting all of the exhibits       15   my objection, and I think it is inconsistent with
16   into evidence, and I also asked you not to look at   16   what we agreed on. But I'm not going to call the
17   the binder between depositions.                      17   Court. If you are going to ask you a question,
18            MS. SCATCHELL: I didn't.                    18   that's fine. But I just think it is inappropriate
19            MS. WERMUTH: Okay.                          19   to do that.
20            MS. SCATCHELL: I am looking at it           20             MS. SCATCHELL: Okay. You asked me
21   right now.                                           21   not to look at in between depositions, and I did
22            MS. WERMUTH: Let me finish. But             22   not. Okay. I think that the entire position that
23   what -- if you are going through the binder, I       23   you have had on this about it being some sort of
24   think that is inappropriate. I asked you to          24   big secret is inconsistent with the fact that
                                              Page 472                                                   Page 473
 1   these documents were produced by either you or        1   and you can ask your questions.
 2   produced by me. And if you want to make an            2   BY MS. SCATCHELL:
 3   objection, I will make objection to the document      3       Q Great. Please look at Exhibit 88.
 4   dump of documents that you submitted to us on         4       A I'm there.
 5   April 8th and I believe on April 11th which were      5       Q Okay. And what is the search
 6   about 3,000 pages of documents that, you know,        6   committee?
 7   when I told you months ago my April and May were      7       A So looking at this document, November
 8   very busy, and we would not have time to go           8   the 2nd, this is a search committee that we were
 9   through them in great detail. So if you want to       9   putting together to hire two new advertising
10   make objections --                                   10   professors I think. So the search committee
11             MS. WERMUTH: Okay. That's fine.            11   consisted of myself,               ,           , and
12   Here is my point on that. I spent months trying      12   Robin Hoecker. And we were hiring professors for
13   to get you -- if we are going to throw, like,        13   the advertising -- in our PR and advertising
14   barbs here, the production was based on our          14   program.
15   inability to get your engagement on the ESI. It      15       Q Okay. And what was your concern with
16   happened the way it happened because in our --       16   the hiring process?
17   like, I think there is a pretty clear record that    17       A Well, my concern was that
18   you weren't engaging on the ESI discussion. But I    18   who was relatively new to the University, I think
19   hear you. And like I said, I am stating my           19   she had only been there for a year, maybe two at
20   objection. I didn't say it was a big secret. I       20   the max. But she literally had only been at the
21   think it was inappropriate to look at the            21   University for a year, and she was, I don't want
22   documents we compiled for purposes of conducting     22   to say attacking because it wasn't quite
23   your own examination. But as I said, you know, I     23   attacking. But she -- I already gave the example
24   am stating it for the record. And we can move on,    24   of her trying to disqualify a candidate for having




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                                                Page 474                                                   Page 475
 1   an accent. But then when we came back together            1   submitting it. She's like: I want to see it
 2   again to vote on the candidates, we were all in           2   before we give it to the faculty members. And I
 3   agreement. Everyone on the committee, we were all         3   was trying to explain to her: This is not a
 4   in agreement. Robin and           and me were in the      4   document that goes in front of the faculty
 5   meeting together. Like, we were all there. Nur            5   members. It is literally a document that we give
 6   wasn't there; she was on the computer. And so as          6   to the dean that just says who our candidates
 7   I was closing the meeting, I explained to everyone        7   were, what were their describers.
 8   that we need to -- I was going to put together or         8                 And       and I took notes at
 9         and I because we were co-chairs, and         had    9   the beginning, and we knew what needed to be said.
10   never done this before and he hadn't been on the         10   We had already talked about it. And she is like:
11   committee before, so he didn't really quite know         11   I want it right now. And so she started to yell
12   how to close out the search.                             12   at me on the computer, on the computer. So then I
13                 And I explained to her, to                 13   suggested: Well, how about this, why don't we do
14   everyone, that we needed to --          and I were       14   a Google Doc? I can -- we can write it on a
15   going to do, like, a final report that lays out          15   Google Doc and share it, and then you can see it
16   who the candidates were, you know, what were their       16   before we submit it to the dean. And she said:
17   defining markers, you know, and all of the reasons       17   No, I want to be able to write it, and I need to
18   that we decided to disqualify candidates. It was         18   be able to see it. And I said: That's not what
19   just like a formal paperwork that you have to            19   we need to do. Like, it's really not something
20   submit to show that we went through whatever             20   that requires everybody's input.
21   process for hiring.                                      21                 And so she really got upset,
22                 And Nur got very upset with me             22   and she wasn't listening to what I was saying.
23   because she was, like, I want to see the document        23   And then I started getting dizzy. I was triggered
24   before you submit it. And I said: We're not              24   because she was yelling, and she was doing all
                                                Page 476                                                   Page 477
 1   these unnecessary things. And I think honestly it         1   hiring a full-time faculty member, and it's a very
 2   might have been just some bad interaction that            2   different process.
 3   continued from the previous meeting in which I            3                 So I sent her an email because
 4   told her that we are not going to disqualify a            4   the interaction was not positive. It was very,
 5   candidate based off of their accent. So I think           5   very direct, and it was uncordial. And I'm always
 6   that that probably seeped over into the next              6   trying to be a cordial person. And I think that's
 7   meeting. And I said: You know what, I can't do            7   why it escalated, because I was not going where
 8   this right now, and I walked out because I                8   she wanted to go with it. And so then, this is
 9   couldn't get her to understand what was going on.         9   how this email came about. So I, you know, I
10   So as soon as I left, I sat down in my office and        10   emailed her to ask her to have a meeting. I tried
11   I turned off the lights because I was triggered.         11   to express to her that I thought there was a
12   And the lights were just -- I was afraid that I          12   misunderstanding. She accused me of being --
13   was about to have a seizure, so I waited for a           13   storming out, of being aggressive, and all these
14   second until like my -- I got my bearings, and           14   other things. Of course, all these tropes about
15   then I called              and I said to her exactly     15   African-American women, just because I am direct
16   what happened. And             was like: Let's have a    16   doesn't mean that I am angry or aggressive, but
17   meeting, you know, let's have a meeting. And I           17   that's how she perceived me to be.
18   said: That would be really helpful because I             18                 And then we ended up having a
19   think she's really confused. She, being Nur, was         19   meeting. Now, I asked the co-chair and the other
20   really confused about what was required of us            20   member that was there, committee member to come.
21   because I know that she had never really -- I            21   And I found out later they were asked not to come
22   mean, she chaired a committee or co-chaired. I           22   even though I know that they were there, and they
23   think she chaired a committee, but that wasn't           23   would have been able to speak to what happened in
24   hiring a senior track faculty member. It was             24   that meeting. But they were asked either by




                                                                                   56 (Pages 474 to 477)
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                                                Page 478                                                  Page 479
 1         or Lexa Murphy not to come.                        1   ended up getting very, very sick and dizzy that
 2                 So we had a meeting with Nur               2   day to the point that I got on the wrong train on
 3   and myself, and Lexa. And Lexa explained -- Nur          3   the way home that day. I got on the wrong train,
 4   tried to bring out the Faculty Handbook or               4   didn't even realize I was on the wrong train until
 5   something, and tried to say, well, Sydney didn't         5   I was way somewhere where I wasn't supposed to be.
 6   do this or that or that. I didn't even come with         6   So -- and I think I told Maria that too. And so
 7   any of that. All I came with was let's talk about        7   my husband had to drive all the way out to
 8   what the procedure is. And I have always said            8   somewhere else to come pick me up because of this
 9   that, what is the procedure? Let's make sure we          9   unnecessary triggering experience at the
10   follow procedure.                                       10   University that is simply based off of I believe
11                 So at the end of the meeting,             11   my gender and my race and my national origin
12   she started crying. And then, eventually, when          12   simply because I was doing my job.
13   she got ahold of herself, Lexa explained to her         13                 And in the end, nothing came
14   that what I was trying to do was in line with what      14   about it because what I was doing was right, and I
15   the position -- what I was supposed to be doing.        15   was not trying to belittle or do anything to that
16   So the form that I was trying to fill out that was      16   effect.
17   the final -- whatever the paperwork was was             17       Q     Did you escalate this to anybody
18   exactly what I was saying it was. It was not            18   above the search committee?
19   something for the College to see. But because she       19       A     I escalated it to Lexa because I felt
20   wasn't listening and she accused me of all these        20   Lexa needed to be a mediator there because Nur
21   different things, we didn't even get there.             21   would not listen to me. And if you look at the
22                 Now, mind you, in all of this,            22   emails, she said things to me that were
23   I am trying to stay professional and trying not to      23   outrageous. Like, she said I stormed out and I
24   get sick and keep my stress levels down. But I          24   wasn't listening and all these different things.
                                                Page 480                                                  Page 481
 1   And that wasn't even the case. And then I later          1       A She apologized on behalf of them.
 2   find out that when I disclosed that I was having a       2   And she said: I'm sorry for what just transpired.
 3   triggering experience, they shared my health             3   She had the meeting with me and Nur to discuss
 4   information with everyone.                               4   what happened. She explained to Nur that what I
 5        Q     Who is they?                                  5   was telling her was in line with what all of the
 6        A     Might have been              or Lexa          6   committees have done previously. And it turns out
 7   Murphy. I specifically removed           and Robin       7   that Nur was really -- I think she was most
 8   from the interaction -- I mean, from the email           8   concerned because she was going up for tenure
 9   initially. Yes. I think -- let me look at it.            9   soon, honestly. And she thought that I was going
10   Yes. I initially removed others from the email          10   to somehow hurt her tenure case by not letting --
11   because I didn't want them to know. But I wanted        11       Q That's your opinion?
12   Nur to know that it was not me doing whatever she       12       A That's my opinion. I think that's
13   thought it was, that I was having a triggering          13   what it was. Maybe it was that, but I know she
14   experience. And they went on, they being either         14   had a bias towards me. She didn't hear what I
15          or Lexa, I don't remember who, and looped in     15   wanted to say, and she assumed that I was
16   Robin, yes, looped in Robin and         . So now they   16   aggressive which is clearly a trope that is used
17   got to see all of my, you know, personal health         17   to define African-American women when they are
18   information. And it's fine. At this point, it's         18   direct.
19   whatever. Lots of people heard I had seizures.          19       Q Okay. And when you had previously
20   But I really didn't want anyone to know that I had      20   testified about diversity, equity and inclusion,
21   a disability at that time. And I wrote to Lexa          21   what is inclusion?
22   about it, and I explained how difficult it made it      22       A Inclusion is the inclusion of
23   for me.                                                 23   different ways of thinking and different
24        Q     And what did Lexa do?                        24   experiences. So inclusion has a lot more to do




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                                             Page 482                                                  Page 483
 1   with -- well, I guess inclusion and diversity go      1   domestic-born minorities.
 2   hand in hand actually. Diversity is about having      2            MS. WERMUTH: Objection to form and
 3   different voices. And inclusion is about taking       3   foundation.
 4   the steps to make sure those choices are included     4            THE WITNESS: Yes, there is a major
 5   and heard, and those voices are not just heard but    5   difference. I mean, you have to think about it in
 6   have an impact on the decision.                       6   reference to your upbringing. If you are born and
 7       Q     Okay. And based on what your                7   raised in an entirely different country in which
 8   definition that you just explained of what            8   you are not a minority, and a majority of the time
 9   inclusion is, do you feel DePaul's College of         9   when someone transitions to the United States,
10   Communication is an inclusive space?                 10   they are born in a place where they are not a
11       A     I think they want to be, but they are      11   minority, and they are not used to being
12   not. I think they don't know what it looks like      12   marginalized -- they might have been marginalized,
13   to have an inclusive space because we've never had   13   but it was based off of socioeconomic status or
14   it before. If you look at the history in terms of    14   lineage or something like that, but it's not quite
15   ethnic minorities, US-born or domestic minorities,   15   the same as being a US domestic minority where you
16   we have a long history of not including people       16   are raised in that culture or atmosphere. And
17   from those groups. And it has seeped into the        17   that plays out in the experiences that you have
18   daily experiences, so it is really difficult for     18   for faculty members.
19   them to imagine a space that is inclusive.           19                Let's be -- I mean, let's take
20       Q     Okay. Is there a difference between        20   an example. Like, March DeMoya gave me a very
21   domestic minorities and US-born minorities or        21   good example when we talk about our experiences
22   wait -- no, same thing?                              22   because she is now considered a Latinx or Latina
23       A     Um-hum.                                    23   person of color. And she said in her country,
24       Q     Foreign-born minorities and                24   there is no difference, we are all the same. She
                                             Page 484                                                  Page 485
 1   didn't think of herself as Latin until she came to    1   to get their green card eventually and stay here
 2   the United States and they said you need to put       2   in the United States and have a lifelong
 3   yourself in this box. And once she puts herself       3   experience here.
 4   in this box, she takes on all these roles. But        4                 These are things that I have
 5   the understanding of how those roles impact her       5   learned over the years after engaging with
 6   daily experiences, she's still learning that now,     6   international people of color. And the University
 7   and she's been in the US now for 15 or 20 years.      7   likes to group them all together and say "person
 8   She's been here for however long she's been, but      8   of color" or say "minority" as if the experiences
 9   she wasn't raised in it.                              9   are the same. And the truth of the matter is
10                  And she gave me an example of         10   these are particularly different experiences.
11   the green card. When you go to the University as     11   That's why there is a protected class for
12   a foreign-born international person of color or      12   nationality. That's why there is a protected
13   minority, when you come to the United States, you    13   class for race, you know, gender, and all these
14   are still trying to get those things, right. And     14   different things because they are not the same.
15   the University, unfortunately, the institution is    15   And the fact that the University sometimes doesn't
16   aware of that. And that also plays out into the      16   understand those nuances is why you see these
17   experiences and the decisions that they make,        17   problems. That's why we have so many
18   right? They are less likely to rock the boat         18   international and foreign-born faculty members of
19   because they might not even be aware or acutely      19   color in our college, but we have so few domestic
20   aware of the struggles of people of color because    20   faculty members of color.
21   they haven't had to live through it as long as a     21                 To this day, I'm still
22   person of color who is born here.                    22   thinking hard, I think I might be the only
23                  Or they are less likely to            23   faculty -- domestic faculty member of color in the
24   rock the boat for other reasons, because they want   24   College of Communication. We just hired a Black




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                                             Page 486                                                  Page 487
 1   guy, but he's from Africa. And, of course, he         1   correct?
 2   looks great on paper and he looks great in the        2       A It was. The wasn't accepted or --
 3   pictures, but his experience in reference to US       3   the appeal didn't go through until after I came
 4   experiences, limited.                                 4   back from work, so the entire time that I was on
 5   BY MS. SCATCHELL:                                     5   short-term disability -- or actually, not on
 6       Q      Would you consider yourself a race of      6   short-term disability, I was fighting for my
 7   color?                                                7   access to resources. So I wasn't really able to
 8       A      Yes, I do.                                 8   get as much time as I needed to recuperate and,
 9       Q      You touched on your medical                9   you know, go to therapy and all the other stuff
10   disability. So I'm going to go shift gears           10   that goes along with that.
11   quickly towards that. So you had previously          11       Q Were you being paid during the time
12   testified that you have a seizure disorder,          12   that you were off work?
13   correct?                                             13       A No, I was not paid at all.
14       A      I couldn't hear you. You said I           14       Q And how long were you off work for?
15   testified that I have a seizure disorder?            15       A I think eight to ten weeks. I can't
16       Q      Yes.                                      16   remember. It was for the spring quarter.
17       A      Yes.                                      17       Q And then ultimately they -- you
18       Q      And that it's exacerbated by certain      18   received your -- you appealed your short-term
19   triggers you said?                                   19   disability?
20       A      Yes.                                      20       A Yes. Once I returned back to work,
21       Q      Okay. And you applied for disability      21   then they back-paid me, but they couldn't -- they
22   or temporary disability with DePaul, correct?        22   can't back-pay the stress and anguish that goes
23       A      Yes, I did.                               23   along with trying to fight a case on your own that
24       Q      And it initially was rejected,            24   the University probably could have avoided.
                                             Page 488                                                  Page 489
 1        Q    Okay. And what is your understanding        1   person that works on an annual basis for the
 2   that the University could have done better to get     2   University.
 3   it granted the first time around?                     3                 And I remember distinctly
 4        A    I think one of the biggest -- there         4   Salma asking me to write a job description for my
 5   were two issues that I remember seeing in my          5   appeal for the University because they said they
 6   denial letter, one of them was about missing          6   didn't have anything on file to provide to
 7   health information. Although, that I believe          7   substantiate what my substantial functions were of
 8   might have been on the insurance company, so          8   my job.
 9   Liberty Mutual, they were supposed to get all of      9                 The main point being when they
10   my health information which they never did. So in    10   did supply, they supplied the wrong job
11   the end, I actually had to go to each one of my      11   description. They supplied a job description for
12   healthcare providers and get all of my medical       12   somebody who is only supposed to be at the
13   records. You know, this is hundreds and hundreds     13   University for one year which, I mean, it is kind
14   of pages of work. I had to scan them and put them    14   of serendipitous because they kept me on a
15   in my appeal and add them. That was on them.         15   one-year contract almost every year when I had to
16                 But on the other side, when            16   go through all of those reviews.
17   they denied it, they said they denied it because     17       Q Okay. Are you aware of anybody else
18   of the job title, the job description because the    18   that didn't have a job description or had a job
19   University initially didn't even give a job          19   description that was inaccurate you could say?
20   description to Liberty Mutual about the essential    20       A No. I mean, honestly, I didn't get
21   functions of my position. And then they later        21   to talk to too many people about it. I did know
22   gave a job description, but it was a description     22   that Jill       and Jay Baglia were both on leave
23   for someone who was an adjunct instructor which is   23   around the same team as me for different reasons,
24   not the same as me. An adjunct instructor is a       24   medical reasons. But I never heard anything from




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                                             Page 490                                                  Page 491
 1   them that they didn't have a job description for      1   happen to have your tongue out, you can bite your
 2   their leave.                                          2   tongue off if it happens. Luckily, my tongue
 3        Q     Okay. And you previously testified         3   wasn't out. You lose all functions of your body
 4   that you have your seizures at night, correct, for    4   including potentially urinating on yourself, and
 5   the most part?                                        5   you lose consciousness. And for me, all of that
 6        A     For the most part, the major ones          6   happened except for the biting of the tongue and
 7   that I have had have been at night.                   7   the urination.
 8        Q     Okay. And what is a grand mal              8                 And then what ended up
 9   seizure in your opinion?                              9   resulting from my grand mal seizures were other
10        A     It is the worst type of seizure that      10   side effects that I am still dealing with to this
11   you can have. It is the kind that can actually       11   day, one of them being with my shoulders because
12   kill you. In fact, I have a friend of mine whose     12   my shoulders dislocated multiple times while
13   son passed away two to three months after I had my   13   having my seizures. Never had any shoulder
14   seizures. Because I didn't really know much about    14   problems in my entire life, and I chipped a bone
15   seizures until I had them, but what happens is the   15   in one of my shoulders as well. And I -- you
16   electrical electrodes in your brain are misfiring.   16   know, grand mal seizures can result in needing
17   They are sending off the wrong signals, or they      17   vestibular therapy and other physical therapy just
18   are sending them too quickly or too slowly, and      18   so that you can function in your day-to-day life
19   your body clenches up very tightly, the              19   again.
20   tightest -- it's almost like shock, like if you      20       Q And how long have you been on seizure
21   were getting shocked by like shock therapy. You      21   medication?
22   are shaking and shaking. You are not breathing       22       A Since 2017, since I had the first
23   for at least a minute. You're foaming at the         23   seizure.
24   mouth, all things that happened to me. If you        24       Q And the whole purpose of the seizure
                                             Page 492                                                  Page 493
 1   medication is to control or prevent a seizure,        1   that position?
 2   correct?                                              2       A     I did, yes.
 3        A    Yes, yes.                                   3       Q     And what happened?
 4        Q    Okay. And when you first went on            4       A     What happened was I self-nominated.
 5   medication for your seizures, did your doctor have    5   I self-nominated. We, being the public relations
 6   to adjust your medication at all?                     6   and advertising program, we had a meeting to go
 7        A    Yes, he had to adjust it multiple           7   through the process of selecting the program
 8   times.                                                8   chair. I gave a speech and a discussion about
 9        Q    Okay. And do they have like a word          9   what my goals would be as a program chair because
10   for that?                                            10   I had just finished an entire year of training at
11        A    Titrate.                                   11   Leading People at DePaul on how to be a good
12        Q    And what is the program chair              12   leader so I could transition. I knew that was the
13   position?                                            13   direction that I wanted to go with my career. And
14        A    The program chair position is a            14   so I was trying to prepare for that. That's why I
15   position in which -- it's the person who directs     15   asked Salma to recommend me for the Leading People
16   the strategic direction of whatever the program      16   at DePaul program. It's also why I applied for
17   is. So for instance, the PR and advertising          17   the Harvard Institute and got into that because I
18   program, they manage the course scheduling. They     18   always wanted to work in that space to help
19   manage the faculty members. They do the hiring of    19   develop.
20   the adjuncts. They work directly with them to do     20                 So at the meeting I did my
21   the training of the adjunct, strategic initiative.   21   speech and I talked about my goals. We did a
22   Essentially, they oversee the program and lead it    22   question-and-answer session where I was asked many
23   in its development.                                  23   questions by my colleagues about what my
24        Q    Okay. And did you ever apply for           24   expectations would be. There were I think at




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                                                Page 494                                                       Page 495
 1   least four or people that were nominated for the         1   say you go through the process, you make your
 2   position, but all of them dropped out of the             2   recommendation based off of the vote to the dean,
 3   nomination or refused to do the nomination               3   and the dean chooses to accept the vote or deny
 4   including I think                , Maria DeMoya, Matt    4   the votes and do whatever he or she feels is best
 5           . I think those were the other people, and       5   for the College or for the program. And if not,
 6   maybe               . So I finished the discussion.      6   then they are supposed to restart the process
 7   And previously, what I've always seen or what I've       7   again seeking nominations again and to fill the
 8   seen is that the person leaves, they have a little       8   position and go through that whole process again.
 9   short discussion, no more than say three to five         9   And if not, we are supposed to do an external
10   minutes, we vote and go back in. Congratulations,       10   search for someone else to fill that position if
11   you are the new chair.                                  11   we can't find anyone internally that needs to do
12        Q It's what you previously testified               12   it.
13   about earlier in the deposition?                        13                In our particular case,
14        A Yes.                                             14   instead of going through that route, our dean,
15        Q And okay. And then now, my next                  15   Lexa Murphy decided to reappoint                 as the
16   question is: When you were denied that position,        16   interim program chair until they figured out what
17   who ended up taking over the position?                  17   the next steps were going to be after they denied
18        A So they didn't quite follow the                  18   me the position. And so a year went by, and then
19   rules.                                                  19   they opened up nominations again, and this time
20        Q What do you mean?                                20   Maria DeMoya accepted the nomination. And by that
21        A Well, the rules, there is a -- I                 21   time, they had now created an entirely new process
22   don't have the form in front of me, but there           22   for selecting a program chair because the process
23   is -- there was an election-like policy for             23   that I went through apparently didn't work
24   program chairs. And the rule is if you -- let's         24   properly. So they created a new process, and then
                                                Page 496                                                       Page 497
 1   Maria DeMoya was selected as the program chair a         1   candidate. There was no one else that was willing
 2   year later.                                              2   to do the job. And I'm not saying that I should
 3       Q      And what was different about this             3   have gotten the position by default. However, I
 4   process?                                                 4   do remember when                 who was at the time the
 5       A      Well, this new process added new              5   program chair who was stepping down, I remember
 6   elements, meaning the person who was -- anyone who       6   when she applied for the position, she was much
 7   was in the candidate pool needed to I think design       7   earlier in her -- not much earlier, but she was
 8   like a statement about what their goals were,            8   earlier in her tenure and promotion process. She
 9   things like that. And then they were to seek             9   hadn't even gotten the level of support that I had
10   feedback from faculty members, program faculty          10   received from the dean or the College when she
11   members anonymously, and then, you know, they meet      11   went up for that position, at least I don't think
12   in person and do the whole question-and-answer          12   so. I don't think so.
13   session. And then we vote, and then it was given        13                 And for me, I had already
14   to the dean, and the dean decides to accept or          14   gotten the majority of faculty votes saying that I
15   reject the vote.                                        15   am tenurable, and I should be promoted. And I got
16       Q      Would you say you were the most              16   the letter of support from my dean about my, you
17   qualified candidate?                                    17   know, tenurability and all that stuff. I had
18       A      Yes, I would.                                18   shown support for my colleagues and my program
19       Q      What is your basis for that?                 19   throughout my time. I served graciously both in
20       A      Well, I think it is a number of              20   the College and outside the University. Like I
21   reasons. Besides the fact that I had done a             21   said, I brought in funding, largest funding that
22   year's worth of leadership training for such a          22   the College probably had seen in quite some time
23   position at the University supported by my              23   to develop the new media engagement lab. I had
24   previous dean, besides that, I was the only             24   done so many different things that I thought my




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                                             Page 498                                                  Page 499
 1   record showed my commitment to the development of     1   things like: Oh, well, how long has she been
 2   the program, but they couldn't see past that. I       2   here? What, she's been here for maybe three,
 3   mean, they could only see what they wanted to see.    3   three years or so, three or four years, and of
 4   And I believe that was my race and my disability      4   those years, two or three of those she was on
 5   and my gender.                                        5   leave the entire time, that kind of conversation.
 6       Q And somebody said something during              6   Wasn't she on leave for some kind of sickness or
 7   the evaluation --                                     7   disability? Those types of things. You know, has
 8       A Yes.                                            8   she -- I don't even know her. These were all
 9       Q -- about your gender or your                    9   conversations that were being had. And people
10   disability. What was that?                           10   told me that this happened.
11       A That was the most disheartening part           11                 And I just was in awe because
12   because after everything that had happened, after    12   I never expected me giving so much of my time and
13   standing outside the office, you know, the room,     13   effort to the University would go unaccounted for
14   the conference room for over an hour wondering why   14   by my own colleagues who I put a lot of effort
15   are they having such a long conversation, I've       15   into and supported.
16   never seen this happen for anybody, and I go back    16            MS. WERMUTH: Can we take a quick
17   to my office, I find out that the whole              17   bathroom break?
18   conversation somehow wasn't about me, but somehow    18            MS. SCATCHELL: Sure. When do you
19   I got voted down. It just didn't make sense          19   want to come back, ten minutes?
20   because everyone said my qualifications weren't      20            MS. WERMUTH: I don't even need ten
21   being discussed in that meeting.                     21   minutes. But Gia, could I chat with you for two
22                And you know, after going from          22   seconds? Can I call your cell? Five minutes
23   person to person, I later found out that Eva         23   should be fine.
24                 brings up my disability, and says      24            MS. SCATCHELL: Okay. Great.
                                             Page 500                                                  Page 501
 1                 (Recess taken.)                         1   is you have your regular course load which is
 2   BY MS. SCATCHELL:                                     2   normally on average six courses per year. But
 3       Q      Okay. You had previously testified         3   then you have the option of teaching winter
 4   that you were advised not to teach winter             4   inter-session and summer for additional funds. It
 5   inter-session or summer courses, is that accurate?    5   is essentially the only University-provided way of
 6             MS. WERMUTH: Objection to form,             6   making additional funds beyond your regular
 7   misstates the testimony.                              7   salary.
 8             THE WITNESS: Yes.                           8   BY MS. SCATCHELL:
 9   BY MS. SCATCHELL:                                     9       Q     Okay. And that was suggested as an
10       Q      Okay. Did they suggest or did they        10   accommodation for your disability?
11   advise you?                                          11       A     Yes.
12       A      I'm trying to get the difference          12       Q     Okay. As an accommodation, did you
13   between suggest and advise. Wait. That was made      13   also ask for more time to prepare for your
14   as a -- that was made as a -- that was -- that was   14   classes?
15   recommended as an accommodation actually by the      15       A     I did.
16   disabilities office or accommodations office, by     16       Q     And what happened?
17   Gianna, not you Gianna, but the other, Gianna        17       A     I was given less time actually. And
18   Bellavia.                                            18   at one point I was told the reason why I had less
19       Q      Okay. And you are paid a certain          19   time, and I had to correct Gianna Bellavia. And
20   salary if you work the winter inter-session or       20   I'm sorry if I am saying her name wrong. I had to
21   summer inter-session, correct?                       21   correct her in our discussions to let her know,
22       A      Yes.                                      22   no, I gave my teaching schedule well in advance,
23             MS. WERMUTH: Objection.                    23   and we were able to make it well in advance for
24             THE WITNESS: Yes. So what happens          24   those accommodations. But she tried to make it




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                                             Page 502                                                  Page 503
 1   seem like I was the reason why I couldn't have        1        Q And did you ever have a student
 2   more time when she had my teaching schedule since     2   become aggressive with you?
 3   2018. And when 2019 came, the accommodations          3        A Yes. Oh, my goodness, yes.
 4   weren't in place, and she tried to, again, blame      4        Q Was it more than once?
 5   it on me. And then she realized it wasn't me, and     5        A It's happened numerous times. But
 6   I think eventually they tried to correct it. But      6   one, one particular time was -- I mean, I've had
 7   time is fleeting, it comes and goes. So the           7   it recently happen, and then another time it
 8   longer they took, the more it increased the           8   happened in person. I've been attacked via email
 9   chances of having medical issues because they         9   and then also verbally in person too.
10   weren't responding in an appropriate time or         10        Q Okay. And do you have a specific
11   within a timely manner.                              11   instance of what you believe to be an aggressive
12       Q Okay. So then let's see what else.             12   situation?
13   What is The DePaulia?                                13            MS. WERMUTH: I am just going to
14       A That's the school newspaper.                   14   interpose a quick relevancy objection. Thank you.
15       Q At the University?                             15            MS. SCATCHELL: Again, I'm going
16       A At DePaul.                                     16   restate what I stated to you before about those
17       Q Or just the College of Communication?          17   are preserved, and they are inappropriate for
18       A So The DePaulia comes from the                 18   depositions.
19   College of Communication. It is the student-run      19            MS. WERMUTH: Unless it can be cured.
20   newspaper through the College of Communication,      20   So I'm doing what I'm doing. It is not
21   but it was started by the students and majority of   21   inappropriate. But anyway, I said it very
22   the time ran by students. I don't know for           22   quickly, so we can move on.
23   certain, but I'm pretty sure they have maybe a       23            THE WITNESS: I'm sorry, I need the
24   faculty advisor for the -- for them.                 24   hear the question again.
                                             Page 504                                                  Page 505
 1                 (Question read as follows:              1   And I said: Unfortunately, as the instructor of
 2                  "Q. Okay. And do you have a            2   the course, you have to follow these guidelines,
 3                  specific instance of what you          3   and you have to -- unfortunately, this is the
 4                  believe to be an aggressive            4   grade that you have received based off of what you
 5                  situation?")                           5   submitted. Now, if you would like for me to
 6             THE WITNESS: Oh, yes, I do. I have          6   regrade it, I can redo that. Maybe there is
 7   numerous instances, but I can give one example.       7   something I overlooked. And his response was:
 8   This was probably in 2013 or '14. I remember          8   No, I don't want you to regrade it. I think you
 9   teaching a course. It was PRAD 335 I believe          9   gave me the wrong grade. And I said: Sir -- and
10   which is ethics. We've changed the topic or the      10   I did say sir. I probably shouldn't have called
11   title of the course over the years, it is not the    11   him a sir. But I did say: Sir, actually, I am
12   same one. But it was like advertising and            12   the expert on this topic, so you have to trust in
13   society, but it is really talking about ethics I     13   my judgment in terms of the quality of your work.
14   think.                                               14   And he literally stood up and banged on the table
15                 And I remember a student being         15   with his fist. He said: You are no expert, and I
16   upset. It was a white male student being upset       16   am talking to the dean. I am going to go to the
17   about his grade. He received a B on the final        17   dean. And I was taken aback. So I got up, and
18   paper. And so he wanted to talk to me about it.      18   opened my door, and then I went and sat back down
19   So I was happy to talk to him as I am with most of   19   at my desk. And I said: You can feel free to
20   my students. I went down and went through all of     20   pick up any grievances that you have about your
21   the assignments and showed him the areas that he     21   grade with the dean. And then I directed him to
22   could improve upon, and I offered to help him if     22   the grade challenge website, and then he stormed
23   he would like to meet more and go over it. And he    23   out of my office.
24   said to me: I don't think what you did was right.    24                 But you know, I'm pretty




                                                                               63 (Pages 502 to 505)
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                                             Page 506                                                  Page 507
 1   certain that no one else has had to experience --     1   things like: The University should have never
 2   I mean I've talked to a lot people, and everyone      2   hired me. Shame on them for having me as a
 3   is like: Oh, my God, did that really happen? It       3   professor because she failed my class when she
 4   really did happen. That was one example of            4   didn't turn in her assignment. And it was during
 5   someone being very aggressive with me, but that       5   last quarter in the fall when I was on leave. I
 6   was years ago.                                        6   was gone for seven out of the ten weeks. And when
 7   BY MS. SCATCHELL:                                     7   I came back to teach weeks eight through ten --
 8        Q    Did you complain to anybody?                8   and someone else was over my course during that
 9        A    I think I told my program chair. I          9   time, she felt like she didn't have enough
10   think I told -- I don't think -- I don't think       10   support. And instead of taking responsibility for
11          was the program chair then. I think it        11   the assignments that she didn't turn in and got
12   might have been Teresa Mastin. I think at the        12   zero for it, she felt that I was the problem even
13   time she was the program director. We haven't        13   though I wasn't even the one who taught the
14   have a program chair yet. I think she was the        14   course. I wasn't there.
15   director. And she told me: It's okay, you know,      15                 But somehow she realized who I
16   just wait it out. See if the student does            16   was, and she went around complaining about me.
17   anything. See if you hear something back from the    17   And it was really hurtful. And I accidentally
18   dean. And I never heard anything, so I let that      18   sent an email, which I was trying not to do. And
19   one go.                                              19   I accidentally sent an email back to her and said
20                 And more recent -- and I will          20   that was really hurtful.
21   make this short. A more recent encounter, a          21                 But those are the types of
22   student sent out an email to all of the advising     22   experiences that I had at the University that I am
23   team or the advisors at the University, and she      23   pretty certain that others don't have. And I
24   essentially is slandering my name and saying         24   didn't know that others didn't have it -- I mean,
                                             Page 508                                                  Page 509
 1   I didn't know that it was common to                   1   which previous, like, faculty members that are
 2   African-Americans and people of Black descent         2   retired, staff members that are no longer at the
 3   until I went more recently to Being Black At          3   University, and current students can speak out
 4   DePaul panel that we just had maybe a month -- not    4   about their experiences. And we also did an
 5   even a month, maybe three weeks ago.                  5   anonymous survey for people to discuss their
 6       Q     What is that?                               6   experiences because we know for a fact that staff
 7       A     What is what?                               7   members are the most vulnerable population, and
 8       Q     Being Black At DePaul, is that an           8   they are more likely to lose their jobs. They
 9   organization or --                                    9   don't have tenure and things like that.
10       A     No, no, no. So DPUBLIC, which is the       10                 So we thought it would be good
11   Black Leadership Coalition, DePaul's Black           11   to shelter them by giving them an outlet to
12   Leadership Coalition, which is the employee          12   discuss their grievances but anonymously. So they
13   resource group who was working with her name is      13   collected that information and presented it at
14   Dr.                   , she is like the diversity    14   this Being Black At DePaul panel. And lo and
15   fellow. And she was trying to figure out what are    15   behold, the things that I was saying that I was
16   some of the best ways to get the University to       16   experiencing, you know, lack of advancement in my
17   respond to the concerns of Black faculty, staff,     17   position, being treated unfairly by my students,
18   and students because we have been spending the       18   being rated and reviewed differently than my white
19   last two to three years trying to get the            19   counterparts or male counterparts, all those types
20   University to see that there are some structural     20   of experiences came out in that survey. And I
21   and cultural issues with the way that Black          21   didn't even put my own experiences in it because I
22   faculty, staff, and students are being exposed to    22   knew that I had litigation, you know, a pending
23   or experiencing. And so she came up with the idea    23   suit against the University. I didn't want to put
24   that we have this Being Black At DePaul panel in     24   anything about myself in there. But it was just




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                                             Page 510                                                  Page 511
 1   crazy that I could see that I wasn't the only         1        Q More than ten?
 2   person that was experiencing this.                    2        A I would say there were hopefully at
 3                 And so the fact that DPUBLIC            3   least ten. But the people that showed up to the
 4   has been asking the University to address this for    4   event, I mean, to the anonymous survey I would say
 5   years, and we even gave them a statement to, you      5   at least ten. People in the event, I think we had
 6   know, that details data and all this other stuff      6   at least one-hundred-odd-something people. And
 7   to support why we are saying this needs to change,    7   the panel included another ten respondents that
 8   and the University just glosses over it. They         8   talked about their experiences, the ones that
 9   show up to meetings without having actually read      9   weren't afraid of the retaliation that might
10   our statement or looked at all of the details.       10   happen to them if they speak their truth.
11   And that's why they ended up doing this, right?      11        Q And then you provided some -- like a
12   This is the exact reason why these types of          12   spreadsheet, correct?
13   documents are being put together because DePaul      13        A That was the survey that was provided
14   needs to seriously take a look at discrimination     14   to me by                   .
15   at the University.                                   15        Q Okay. I'm going to circulate that.
16        Q    Okay. About how many people                16   And then also there was a chat?
17   responded?                                           17        A Yes. So there was a chat in the
18        A    To the survey?                             18   panel discussion as well where people were talking
19        Q    To the survey, yes.                        19   about their experiences in the chat box as well.
20        A    I'm sorry. I don't remember off the        20        Q Okay. And you produced that to me as
21   top of my head.                                      21   well, correct?
22        Q    Was it more than five?                     22        A Yes, I did. I did.
23        A    Oh, yes. It was certainly more than        23        Q And what -- actually, hold on, I'm
24   five.                                                24   going to send out a document I will mark as
                                             Page 512                                                  Page 513
 1   Exhibit 148.                                          1   did you receive them?
 2            THE REPORTER: I think we have 148.           2            THE WITNESS: I did, yes.
 3   Let me check. Yes. We have 148.                       3   BY MS. SCATCHELL:
 4            MS. SCATCHELL: Okay. 149.                    4       Q     Okay. Could you open up the Excel
 5                (Exhibit No. 149 identified.)            5   spreadsheet?
 6            MS. SCATCHELL: I just circulated             6       A     I have it. It's open.
 7   that.                                                 7       Q     It is a read-only file. You see
 8            THE WITNESS: Can we go off the               8   that, correct?
 9   record for a second? I need to let my dog back in     9       A     I don't know where you see that.
10   the house.                                           10       Q     At the top of the --
11            MS. SCATCHELL: Sure.                        11       A     Yes, I see it.
12                (Brief recess taken.)                   12       Q     Okay. And is it your under -- what
13            MS. SCATCHELL: Back on the record.          13   is your understanding of what a read-only is?
14            MS. WERMUTH: I have an email with           14       A     It can't be modified. Once it is in
15   three attachments. Are you making this a Group       15   that format, it is stuck in that format and can't
16   Exhibit, Gia?                                        16   be changed.
17            MS. SCATCHELL: Yes. I couldn't              17       Q     Perfect. And so then for the first
18   Bates stamp them because I didn't want to            18   column do you see auto time stamp of when the form
19   interfere with the integrity of the actual           19   was submitted or survey was submitted?
20   document that was provided to me.                    20       A     Yes, that would be a time stamp of
21            MS. WERMUTH: Understood. I know you         21   when it was submitted.
22   sent these to me I think the day before              22            MS. WERMUTH: I'm sorry, where are
23   Dr. Dillard's deposition started.                    23   you?
24            MS. SCATCHELL: Right. Dr. Dillard,          24            MS. SCATCHELL: Column A.




                                                                               65 (Pages 510 to 513)
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                                             Page 514                                                  Page 515
 1            MS. WERMUTH: Okay. I see.                    1       A Yes.
 2            MS. SCATCHELL: And then column B             2       Q Okay. And then column E would be any
 3   would be the person's affiliation to DePaul.          3   suggestions or feedback that the person taking the
 4            THE WITNESS: Yes.                            4   survey would have for any of the DePaul
 5   BY MS. SCATCHELL:                                     5   administrators to help make the institution more
 6       Q And it would only -- it would be                6   diverse, equitable, and inclusive; correct?
 7   either a student, staff or faculty, is that           7       A That's correct.
 8   accurate?                                             8       Q And then if you scroll all the way
 9       A That's accurate.                                9   down to row 25, that would be the last submission.
10       Q Or --                                          10   Is that what you see?
11       A I think it was alums, but they were            11       A Yes. The last submission for me is
12   students. We just wanted to make sure the alums      12   an alum, alum No. 25.
13   knew they were heard as well.                        13       Q Okay. Great. Do you know if DPUBLIC
14       Q Okay. And column C is where the                14   had shared this document with any of the DePaul
15   person who took the survey would provide their       15   administrators?
16   experiences, is that accurate?                       16       A Yes. This document has been shared
17       A Yes. So we wanted both positive and            17   with the administration.
18   negative. We wanted the challenges and positive      18       Q Okay. And do you know which
19   experiences. We didn't want it to be leaning one     19   administrators have received a copy of this
20   way or the other. We just wanted general             20   spreadsheet?
21   experiences.                                         21       A I think for certain Cindy Pickett and
22       Q Okay. And then section D is how the            22   Liz Ortiz, they were, Cindy Pickett is the
23   Black community could hold -- at DePaul could hold   23   associate provost for diversity, equity, and
24   the University accountable, correct?                 24   inclusion. And Liz Ortiz is director of OIDE.
                                             Page 516                                                  Page 517
 1   But they both received it. I'm not exactly sure       1   which says: Meeting saved closed caption, could
 2   if it was sent to the provost. I'd have to            2   you open that?
 3   double-check because I'm not the communications       3        A     I have it open.
 4   coordinator for DPUBLIC.                              4        Q     Okay. What is this document?
 5        Q     And there are two other attachments.       5        A     This would be the captions of what,
 6   One says: Meeting saved chat. Could you open          6   at least as best it can be captured, of what was
 7   that?                                                 7   said at the meeting. I mean, this was
 8        A     Okay. I have it open.                      8   automatically transcribed by Zoom as a part of the
 9        Q     Okay. What is this document?               9   Being Black panel discussion.
10        A     This is just the chat box for the         10        Q     Okay. Got it. Thank you for that.
11   Being Black At DePaul. So while people were          11   Now, did -- back to DePaulia, the news
12   talking about their experiences or answering the     12   publication, did they ever reach out to you about
13   panel discussions, we encouraged people to use the   13   your lawsuit?
14   chat box to elicit questions or put comments or      14        A     Yes.
15   just talk about what they were feeling.              15        Q     Okay. And did they ever write an
16        Q     Okay.                                     16   article about the lawsuit?
17        A     So you will notice people say: Hey,       17        A     They did, yes.
18   so-and-so, hey so-and-so. It is just a chat box      18        Q     Okay. Did you provide any specific
19   so everyone can communicate with each other.         19   input to them?
20        Q     Do you know if that -- if this            20        A     No.
21   session was taped or recorded?                       21        Q     And did you read the article that
22        A     I don't think it was recorded, not to     22   they wrote?
23   my knowledge.                                        23        A     I did. I don't know if they -- I
24        Q     Okay. And then the last exhibit           24   believe they wrote more than one to be honest. I




                                                                               66 (Pages 514 to 517)
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                                             Page 518                                                  Page 519
 1   don't quite remember. But I do remember reading       1   DeMoya, of course, because I consider her a
 2   the first one, and me having -- excuse me for a       2   friend. Robin Hoecker reached out to me, and I
 3   second.                                               3   believe Jill        reached out as well.
 4                 I'm sorry. Sorry. That's my             4       Q And do you remember what Jill
 5   mother picking my son up from baseball. I'm           5   reached out to you and said?
 6   sorry. What was the question?                         6       A No. Actually, we didn't really get
 7             MS. SCATCHELL: Could you read back          7   to talk. She said she'd like to talk to me about
 8   the question, Madam Court Reporter?                   8   her experience with the short-term disability
 9                 (Record read as requested.)             9   process. But I think that was all. We didn't
10             THE WITNESS: If there were two, I          10   really get to connect like we wanted to.
11   don't remember reading the second one. But I do      11            MS. SCATCHELL: Off the record for
12   remember reading the first one, and immediately      12   just a few minutes. I'm going to present my last
13   getting sick and being triggered and having a        13   few exhibits, and I'm going to send them as one
14   discussion with several colleagues about it          14   email so we don't have to have multiple emails.
15   because I didn't know that it was going to be        15            MS. WERMUTH: All right.
16   published. I didn't see the email of them asking     16                 (Recess taken.)
17   me to be a part of the news article until the        17            MS. SCATCHELL: I just sent
18   night before it was published. And I just woke up    18   documents, Exhibits 150 to 155.
19   the next day, and the whole University saw it.       19            THE WITNESS: Got it.
20   The whole world could see it.                        20   BY MS. SCATCHELL:
21   BY MS. SCATCHELL:                                    21       Q Could you open up 150?
22       Q Okay. And did anybody reach out to             22       A It's open.
23   you after that article was published?                23                 (Exhibit No. 150 identified.)
24       A A couple of my colleagues did. Maria           24
                                             Page 520                                                  Page 521
 1   BY MS. SCATCHELL:                                     1   content. I've spoken to her about other
 2       Q     Okay. Do you recognize that                 2   work-related items.
 3   document?                                             3       Q Okay. And when she sent you the
 4       A     Yes. This looks like -- yes. This           4   email on 1-28, do you see that on Page 8185?
 5   is Ashlyn, one of the staff members in the College    5       A 8185, yes. What about?
 6   reaching out after reading the DePaul article.        6       Q She says: We are aware and we are
 7   Yes.                                                  7   saddened and disturbed by what you've experienced.
 8       Q     Okay. And do you know what her              8   Bringing these to light takes so much courage. Do
 9   ethnicity is?                                         9   you know what she meant by: We are afraid and we
10       A     I think she's white.                       10   are saddened?
11       Q     Okay. And the email thread begins          11            MS. WERMUTH: Objection to the
12   actually on Bates stamp Dillard DePaul 8186,         12   mischaracterization of the document.
13   correct?                                             13            THE WITNESS: Yes. I'm not seeing
14       A     Yes.                                       14   where you're looking at.
15       Q     Okay. And the first email would be         15   BY MS. SCATCHELL:
16   on January 27, 2021?                                 16       Q I'm looking at the second to last
17       A     That's correct.                            17   sentence: We are aware and we are saddened and
18       Q     Okay. And then proceeded by two more       18   disturbed by what you've experienced. Bringing
19   emails from you on January 27, 2021, and then her    19   these things to light takes so much courage. Do
20   on January 28, 2021, is that accurate?               20   you see that?
21       A     That is correct.                           21       A Give me a second. I'm having trouble
22       Q     Have you spoken with her since these       22   finding that. What is the date? What is the
23   emails?                                              23   bottom of the stamp so I can find the right page?
24       A     Yes, but not in reference to this          24       Q 8185.




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                                             Page 522                                                  Page 523
 1       A     I see it now, I'm sorry. I was              1      Q      And do you know what race
 2   looking way at the bottom. It is at the top. Go       2            identifies with?
 3   ahead. We are aware and saddened. No, I don't         3       A She is African-American.
 4   know. I would assume she's talking about the          4       Q And do you know -- what? I'm sorry.
 5   College, but I really don't know who she is           5       A I am saying domestic minority,
 6   referencing.                                          6   African-American.
 7       Q     Okay. I'm going to show you or could        7       Q And what about Stephani               ?
 8   you please open up Exhibit 151, and take a moment     8       A Same for her.
 9   to review it.                                         9       Q Domestic African-American?
10                 (Exhibit No. 151 identified.)          10       A Domestic minority, African-American.
11            THE WITNESS: Yes, I remember this           11       Q Okay. Did you ever speak with either
12   email.                                               12   one of them outside this email thread about your
13   BY MS. SCATCHELL:                                    13   lawsuit?
14       Q     So it is an email thread, correct?         14       A I talked to           about it, and was
15       A     Yes. It is an email thread between         15   trying to find ways to avoid being in the
16   myself, Dr.           , and Dr.         .            16   spotlight. And she said: Just don't respond to
17       Q     Who is Dr.            ?                    17   any articles. If you don't want to be seen, don't
18       A     Dr.            is or was -- she is a       18   say anything, just keep living your life
19   faculty member in I think political science, and     19   regularly. She also encouraged me to speak out
20   she is also currently the presidential diversity     20   though. She said: I think if we speak out, you
21   fellow for the University.                           21   will be surprised that more people have similar
22       Q     Okay. And then Dr.              ?          22   experiences.
23       A     I believe she is a faculty member in       23       Q Okay. And then in this email thread,
24   accounting in the business school.                   24   there was some conversation about being open to
                                             Page 524                                                  Page 525
 1   having some sort of town hall or group discussion.    1   people's experiences, and then they were supposed
 2   Correct?                                              2   to do some kind of action plan or development
 3       A Yes.                                            3   after that. But the whole year went -- came and
 4       Q Okay. Did that ever happen?                     4   went, and nothing happened. And so that's when
 5       A We did have a Black town hall meeting           5   DPUBLIC decided to have another -- I think another
 6   in 2021, so I believe we had another town hall        6   Black town hall meeting discussing what would the
 7   meeting later that year online. It might have         7   next steps be. And that's where we came to
 8   been in April I think. I'd have to look at my         8   develop the statement that was put forth to the
 9   records. I'm pretty certain we had one more           9   University -- yeah, put forth to the University.
10   meeting after this one too.                          10   And this statement is not to be confused with a
11       Q Okay. And do you remember what the             11   different statement that came to the University
12   nature of that meeting was?                          12   from outside.
13       A The nature of that meeting was to              13        Q Which was from whom?
14   discuss how the University -- like, what were the    14        A What? Which statement are you
15   next steps for supporting Black faculty staff and    15   talking about?
16   students because after the wake of the George        16        Q The second that wasn't from DPUBLIC,
17   Floyd riots, the University put out a statement      17   who was that from?
18   saying that they stand in solidarity against         18        A That one, I don't know really who to
19   racism, and they wanted to develop an and            19   attribute it to. But I know that some scholars,
20   antiracism approach for the University's mission     20   critical race scholars got wind of my situation
21   as one of the University's missions.                 21   when the article was published, and they took up a
22                And the University then                 22   petition to call the University to action to ask
23   administered campus-wide listening tours where       23   them to make changes and to make structural
24   they would listen, ask questions, and listen to      24   changes that acknowledged that there is something




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                                             Page 526                                                  Page 527
 1   inherently wrong with the system, that there is       1   the meeting, the provost was there, and the
 2   discrimination that's happening towards domestic      2   president was there. DPUBLIC chairs were both
 3   minorities. And they took up a petition and had       3   there. I was there, and I think the associate
 4   scholars from around the world calling the            4   provosts for DEI and OIDE as well. OIDE was
 5   University to get diversity training to change        5   there. But I distinctly remember the chair of
 6   their effort to make changes and not continue to      6   DPUBLIC deciding she was done, and that she no
 7   let people like              and            and       7   longer wanted to fight this fight because when we
 8   myself and        Calvente and all the others that    8   got to the meeting, they hadn't even looked at our
 9   haven't sued the University, not let our voices be    9   statement and hadn't made any segue on developing
10   lost in the wake because, as you can see, all of     10   any kind of action plan other than a one-page
11   them have left. And I'm still one of the few, if     11   statement saying they are going to do something.
12   not the only person still there.                     12   But nothing ever came of it.
13       Q I don't mean to cut you off. Do you            13       Q Do you know who runs DPUBLIC?
14   know if anything happened based on those calls to    14       A Well, it's -- it is a -- it is run by
15   action?                                              15   elected members. So this year -- actually,
16       A Nothing has happened, at least from            16   earlier this year I was elected to become the
17   my understanding. After we did the statement that    17   co-chair DPUBLIC. But prior to that, I was the
18   came from the Black town hall meeting, we provided   18   communications coordinator.
19   that to the University. The University didn't        19       Q And then who was the co-chair when
20   respond to us for a very long time. They actually    20   the lawsuit was filed?
21   ignored us. We asked for a meeting with the          21       A                       and                  I
22   president as well as some representative from the    22   believe his name is. It was one staff and faculty
23   board of trustees that went unanswered. Then we      23   member.
24   finally did have a meeting. And when we came to      24       Q Do you know if DPUBLIC is a
                                             Page 528                                                  Page 529
 1   corporation or a 501(3)(c)?                           1   with your position that you feel -- with your job
 2       A     No, it is an employee resource group        2   that you feel was a direct result of this meeting?
 3   through the University.                               3            MS. WERMUTH: Objection, vague.
 4       Q     Oh, okay. Do you know if it has             4            THE WITNESS: I feel like part of the
 5   funding through the University?                       5   reason why I wasn't selected for the program chair
 6       A     Yes, we have some funding through the       6   position was a result of me having this candid
 7   University.                                           7   conversation about discrimination in our program
 8       Q     Just going back to a prior exhibit --       8   or in our College because --
 9   one second.                                           9   BY MS. SCATCHELL:
10            MS. SCATCHELL: Anna, do you have the        10       Q     Okay.
11   exhibit number for the -- oh, here it is. 85.        11       A     Go ahead, I am --
12                (Exhibit No. 85 identified.)            12       Q     I just said okay. I'm sorry.
13            THE WITNESS: Do you want me to go to        13       A     I couldn't -- the fact that there
14   85?                                                  14   were no reasons given as to I wasn't selected.
15   BY MS. SCATCHELL:                                    15   And given my history, it's really difficult not to
16       Q     Yes, please.                               16   see that as the main reason or see discrimination
17       A     All right, I'm there.                      17   as the main reason why I wasn't selected for that,
18       Q     All right. And this is the meeting         18   for -- why my growth and development and my career
19   that you previously testified that you had with      19   was stifled.
20        Calvente, Salma Ghanem, and yourself,           20       Q     Okay. Then I'm going to have you
21   correct?                                             21   open up Exhibit 152.
22       A     Yes.                                       22                 (Exhibit No. 152 identified.)
23       Q     And after this meeting, did                23            THE WITNESS: All right. It's open.
24   anything -- did any sort of -- did anything happen   24   BY MS. SCATCHELL:




                                                                               69 (Pages 526 to 529)
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                                             Page 530                                                   Page 531
 1       Q     Okay. And can you take a moment and         1             THE WITNESS: Open up the attachment
 2   review this document?                                 2   or 154?
 3       A     Okay, I've seen it.                         3           MS. SCATCHELL: First 154.
 4       Q     What is that document?                      4           THE WITNESS: Okay, got it open.
 5       A     This is an email chain or exchange          5               (Exhibit No. 154 identified.)
 6   between myself and Dr.           who is a faculty     6   BY MS. SCATCHELL:
 7   member in my College. I think she also teaches in     7       Q    Who is -- or actually, do you
 8   the journalism program. And she was asking me --      8   recognize this document?
 9   she was telling me that she saw my -- the article     9       A    Yes. This looks like an email sent
10   about my lawsuit in The DePaulia. And she was        10   from DPUBLIC to I'm guessing its constituents
11   reaching out, and she would be happy to talk about   11   about my lawsuit and the article that was -- that
12   her experiences while she was pregnant and her       12   was published.
13   short-term disability experience that would be       13       Q    Okay. And then there is also email
14   helpful for me.                                      14   from a Dan          ?
15       Q     And did you ever end up speaking with      15       A    Yes.
16   her?                                                 16       Q    Who is he?
17       A     No. We were never able to connect.         17       A    I have no idea who Dan            is.
18       Q     Okay. I am going to have you open up       18       Q    Okay. What about the -- what about
19   Exhibit 154.                                         19   Thomas Tatum?
20            MS. WERMUTH: I have two marked 154.         20       A    His name sounds familiar. I think he
21            MS. SCATCHELL: One is the                   21   might be a member of DePaulia.
22   attachment.                                          22       Q    Okay. And then if you would open up
23            MS. WERMUTH: I see. Got it. Thank           23   154 dash attachment?
24   you.                                                 24           MS. WERMUTH: Gia, can I ask real
                                             Page 532                                                   Page 533
 1   quick? I don't see anything in this email that        1   BY MS. SCATCHELL:
 2   suggests that what you have labeled as 154            2       Q    Could you please open up Exhibit 156?
 3   attachment was attached to it. Can you tell me        3       A    156, you just sent it again?
 4   where --                                              4       Q    I relabeled it.
 5             MS. SCATCHELL: That's my question.          5       A    Okay.
 6   I don't know.                                         6       Q    Can you take a moment and review that
 7             MS. WERMUTH: Oh, I see.                     7   document?
 8             MS. SCATCHELL: Yes. I --                    8       A    All right.
 9             MS. WERMUTH: I just don't see an            9       Q    What is that document?
10   attachment to -- like, anything to indicate there    10       A    This is a statement put out by the
11   is an attachment. Okay.                              11   DPUBLIC -- by DPUBLIC following our 2021 DPUBLIC
12             MS. SCATCHELL: I can mark it as 156.       12   town hall meeting. What happened was, again, this
13   I assumed it was the attachment, but maybe I was     13   has been, like I said, ongoing. We were waiting
14   wrong.                                               14   for the University to respond, and our
15             MS. WERMUTH: I don't know. I'm just        15   constituents were growing restless and wanted more
16   asking because I didn't see a reference to an        16   concrete -- concrete information and examples for
17   attachment.                                          17   how the University could move forward. So it
18             MS. SCATCHELL: We will remark that         18   includes data about the University's climate
19   as 156. I will resend it.                            19   toward Black faculty staff and students of African
20                  (Exhibit No. 156 identified.)         20   descent. It talked about limited opportunities
21             THE WITNESS: I have the attachment         21   for advancement and promotion and how that has
22   open or file, I don't know what you call it.         22   adversely affected Black faculty staff and
23             MS. SCATCHELL: I am going to relabel       23   students. And then it also talks about, you know,
24   it for a clear record.                               24   accountability, limited accountability and the




                                                                               70 (Pages 530 to 533)
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                                             Page 534                                                  Page 535
 1   University's lack of actual true commitment to        1   providing more strategic ways of responding to it.
 2   diversity, equity, and inclusion. It talks about      2   And it gives us an opportunity to start building
 3   graduation rate and attrition rate. And it also       3   on what we know we have or what resources we have
 4   provides at least a good 15 to 20 bullet points on    4   and ways we can address these concerns.
 5   recommendations how the University can respond to     5   BY MS. SCATCHELL:
 6   these --                                              6       Q Okay. And then can you also, lastly,
 7                 (Audio distortion.)                     7   open up Exhibit 155?
 8             MS. WERMUTH: You muted yourself.            8       A All right. I have it.
 9             THE WITNESS: Sorry about that. Hold         9       Q Okay. Could you -- who is                --
10   on a second. Sorry, my dog went into the other       10   oh, boy,            ,
11   room.                                                11       A I know him as            , and he was a
12             THE REPORTER: I'll read the portion        12   faculty member in the College of Communication,
13   before we lost you: "And it also provides at         13   specifically in my College or my program, public
14   least a good 15 to 20 bullet points on               14   relations and advertising.
15   recommendations how the University can respond to    15       Q Okay. And what is his ethnicity?
16   these --"                                            16       A He is a white male or white man.
17             THE WITNESS: Yes.                          17       Q And does he still work there?
18                 -- (continuing) respond to             18       A No. No, he does not.
19   these experiences authentically about, you know,     19       Q What happened to him?
20   instead of just providing lip service and, you       20       A After he finished his first year, he
21   know, continuing listening tours where they are      21   was at the University for one year, and they did
22   just listening to people. This document was          22   not renew his contract to continue at the
23   supposed to provide direction coming from the        23   University.
24   Black community which is a part of DePaul,           24       Q Okay. And do you know -- do you know
                                             Page 536                                                  Page 537
 1   why they didn't renew his contract?                   1       Q     Okay. And have you ever seen this
 2       A What I was told by him and others was           2   email that's been marked as Exhibit 155?
 3   that he wasn't -- well, I heard lots of different     3                 (Exhibit No. 155 identified.)
 4   stories. One story is this, so obscene, but he        4            THE WITNESS: No, I've never seen
 5   told me that there were concerns about his service    5   this before. This is my first time now. I'm
 6   and that he -- someone in the meeting, Jay Baglia     6   reading it now.
 7   is what I heard, but that they complained about       7   BY MS. SCATCHELL:
 8   him letting class out early, and he didn't show up    8       Q     Okay. Great. And then lastly, in
 9   to enough meetings, and so he wasn't fulfilling       9   your opinion, in order to -- does racial
10   his responsibilities in reference to service         10   discrimination mean that you have to have
11   because he had -- he supposedly had excellent        11   derogatory words used towards you?
12   teaching and excellent -- or very good teaching      12            MS. WERMUTH: Objection, it calls for
13   and excellent and very good research.                13   a legal conclusion.
14       Q Who is                       ?                 14            THE WITNESS: Can I answer?
15       A                       was a faculty member     15            MS. WERMUTH: Yes.
16   at DePaul University when I first got there. He      16            THE WITNESS: In my opinion, as a
17   used to be in PR and advertising, tenure-track       17   person, but also as an expert in Critical Race
18   faculty member as well.                              18   Theory, no, you do not need direct -- direct words
19       Q What is his ethnicity?                         19   to be said to you for it -- for someone to
20       A A white man.                                   20   discriminate against you. And that's why I gave
21       Q And did he ever get tenure?                    21   the example of redlining earlier. The racism --
22       A He left the University before he               22   the more formidable forms of racism happen
23   received tenure. But he has been tenured at his      23   structurally, and they are much more difficult to
24   other new University.                                24   pin down and much more difficult to identify as




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                                                Page 538                                                  Page 539
 1   truth because they are often hidden, and they            1                 Going back to that graduate
 2   can't be seen.                                           2   class with five students where we looked at your
 3            MS. SCATCHELL: Okay. I have no                  3   scores earlier today, you testified in examination
 4   further questions.                                       4   by your lawyer that those five students were upset
 5            MS. WERMUTH: I have just a couple of            5   for reasons beyond your control. Do you recall
 6   quick questions based on the examination by your         6   that testimony?
 7   lawyer, not many though.                                 7       A I do recall that.
 8             FURTHER EXAMINATION                            8       Q Okay. And in your personnel
 9                By Ms. Wermuth:                             9   interview where these -- well, strike that.
10        Q Dr. Dillard, did Salma Ghanem vote on            10                 Did you inform the personnel
11   your nomination for PRAD chair?                         11   committee about these issues related to your
12        A Did she vote on it? No.                          12   students being frustrated for reasons beyond your
13        Q Okay. You never saw                              13   control?
14         -Hébert's full tenure submission, did you?        14       A I did.
15        A No, I only heard what she told me.               15       Q You did?
16        Q Okay. And Salma Ghanem was not the               16       A I did because they happened in the
17   dean when               -Hébert was denied tenure, am   17   spring. So when I went up for the review in 2017,
18   I right about that?                                     18   I did bring it up because it was immediately
19        A I don't remember honestly. There was             19   following my previous review. And I said: I
20   a switch between          to Salma, but I don't         20   hadn't even had time to, you know, make changes.
21   remember if it was the same year that       went        21   So I felt like they should not have been included.
22   up.                                                     22       Q So my question is: Did you tell the
23        Q Okay. And in Exhibit 1 -- actually,              23   personnel committee that the students gave you bad
24   strike that.                                            24   scores for reasons beyond your control?
                                                Page 540                                                  Page 541
 1       A     I gave them --                                 1   reached out to you. Did you communicate with your
 2            MS. SCATCHELL: Objection, misstates             2   lawyer, your spouse, or any other witness by using
 3   testimony.                                               3   your phone during this deposition today while you
 4            THE WITNESS: I gave them the context            4   were in the chair answering questions?
 5   of what happened in that class. I can assume that        5       A      No. I mean, I communicated go ahead
 6   that's exactly why. But given the way that that          6   pick up the baby from school, but nothing in
 7   interaction was with the Steans Center, I did tell       7   reference to this.
 8   them there was something going on there that was         8       Q      Okay.
 9   beyond my control.                                       9       A      My mother was on her way to pick my
10   BY MS. WERMUTH:                                         10   son up from school; and I told her, no, my husband
11        Q And you said that in the personnel               11   will get him instead.
12   interview in your 2017 review?                          12       Q      So the only person you communicated
13        A I believe it was 2017. I have to                 13   with by use of your phone today during the course
14   look at the dates one more time. '13, '15, I            14   of the deposition was with your mother --
15   think it was the 2017 -- wait. I have to look at        15       A      Yes.
16   all the dates of when I had the reviews. But it         16       Q      -- on the topic of childcare issues?
17   was the one in which they were reviewing that           17       A      Yes.
18   year.                                                   18       Q      Thank you. And I know at one point
19        Q Okay. So it was the one in which                 19   earlier this morning your husband, around
20   they recommended you have more face-to-face             20   10 o'clock this morning, your husband was making
21   classes?                                                21   you Theraflu. Did he stay in the room during the
22        A Yes, yes.                                        22   deposition?
23        Q Today there were a couple times when             23       A      No. He went to work. So he made my
24   you looked at your phone. I know your mother            24   Theraflu and went to work.




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                                             Page 542                                                           Page 543
 1       Q      And the last question I will ask is I      1   the Plaintiff in this case that we have a right to
 2   will just request of you, Dr. Dillard, and you,       2   review the documents, especially in light of the
 3   Gia, that you put the binder back in the box.         3   fact that there was an examination. But that
 4   Obviously, anything marked during the course of       4   being said, that's fine. We will put it in the
 5   your deposition will be attached to the               5   box. I don't know if I have the original box to
 6   transcript, so you will get copies of them. But I     6   be honest with you, but it will be in a box of
 7   would ask that you put the binders back in the        7   some sort.
 8   boxes and not review them. And I will arrange to      8            MS. WERMUTH: Thank you. I
 9   have someone pick them up. I will work with your      9   appreciate that courtesy. With that, are we
10   lawyer, Dr. Dillard, to make sure you are home to    10   adjourned.
11   do that. Okay?                                       11            MS. SCATCHELL: Yes. I will speak
12            THE WITNESS: Okay. Do I get to say          12   with you, Sydney, personally when we are off the
13   anything else or we are done with the questioning?   13   record. Okay.
14            MS. WERMUTH: At this point, the             14            MS. WERMUTH: Sheri, I will order.
15   deposition -- I mean I'm done with my questioning.   15            THE REPORTER: This session and last
16   There is no question pending. So my only question    16   one as well?
17   is do you agree to put the binder back in the box    17            MS. WERMUTH: Yes, thank you.
18   and not review it?                                   18            MS. SCATCHELL: And we will as well,
19            THE WITNESS: Yes.                           19   we will take a copy rather.
20            MS. WERMUTH: Thank you.                     20            THE REPORTER: E-Tran or paper
21            MS. SCATCHELL: I am going to again          21   transcript?
22   object to the fact that these exhibits, I haven't    22            MS. WERMUTH: E-Tran.
23   gong through them all, but I assume they have        23            MS. SCATCHELL: E-Tran.
24   already been produced already, and I believe as      24            THE REPORTER: Regular delivery okay
                                             Page 544                                                           Page 545
 1   or does anyone need it faster?                        1   STATE OF ILLINOIS        )
                                                                           ) SS.
 2           MS. WERMUTH: Regular.                         2   COUNTY OF C O O K            )
 3           MS. SCATCHELL: Regular is fine.               3
 4               (Whereupon, the deposition                        I, Sheri L. Arendt, a certified shorthand
                                                           4   reporter in the State of Illinois, do hereby
 5                concluded at 5:13 p.m.)                      certify that SYDNEY DILLARD, PH.D. was by me first
 6                                                         5   duly sworn to testify to the truth, and that the
                                                               above matter was recorded stenographically by me
 7                                                         6   and reduced to writing by me.
 8                                                         7       I FURTHER CERTIFY that the foregoing
 9                                                             transcript of the said matter is a true, correct
                                                           8   and complete transcript of the testimony given by
10                                                             the said witness at the times and places specified
11                                                         9   herein before.
12                                                        10       I FURTHER CERTIFY that I am not a relative
                                                               or employee of any of the parties, nor a relative
13                                                        11   or employee of the attorneys of record, or
14                                                             financially interested directly or indirectly in
                                                          12   the action.
15                                                        13       IN WITNESS WHEREOF, I have hereunto set my
16                                                        14   hand at Chicago, Illinois this 5th day of May,
17                                                        15   2022.
                                                          16
18                                                        17
19                                                        18
20                                                        19
                                                          20
21                                                        21        __________________________________
22                                                        22        Certified Shorthand Reporter
                                                                    Illinois CSR License No. 084-002856
23                                                        23
24                                                        24




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                      EXHIBIT C

  DR. MURPHY DEPOSITION
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 157 of 572 PageID #:4536


                                                                              Page 1
                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 SYDNEY DILLARD,                              )
                                              )
                            Plaintiff,        )
                                              )
         -vs-                                 ) No. 1:20-cv-7760
                                              )
 DEPAUL UNIVERSITY,                           )
                                              )
                           Defendant.         )


               The videoconference discovery deposition of

 ALEXANDRA MURPHY, taken pursuant to the provisions of the

 Code of Civil Procedure and the Supreme Court Rules of

 the State of Illinois pertaining to the taking of

 depositions for the purpose of discovery, taken before

 DEANNA L. TUFANO, Certified Shorthand Reporter of the

 State of Illinois, wherein all parties attended remotely

 on Thursday, April 21, 2022 at 12:00 p.m.




 Reported for:
 MAGNA LEGAL SERVICES
 (866) 624-6221
 www.magnals.com, by:
 Deanna L. Tufano, C.S.R.
     Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 158 of 572 PageID #:4537

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 1   A P P E A R A N C E S:      VIA VIDEOCONFERENCE             1               INDEX
 2                                                               2   WITNESS                             PAGE
     DISPARTI LAW GROUP, P.A.                                    3   SYDNEY DILLARD
 3   MS. GIANNA R. SCATCHELL
     121 West Wacker Drive, Suite 2300                           4      Examination by Ms. Scatchell ...............4, 180
 4   Chicago, IL 60601                                           5      Examination by Ms. Wermuth ................. 171
     (312) 506-5511                                              6
 5   gia@dispartilaw.com                                         7                EXHIBITS
 6      on behalf of the Plaintiff;                              8       Exhibit No. 1 .............................. 41
 7
     COZEN O'CONNOR                                                      Exhibit No. 2 .............................. 47
 8   MS. ANNA WERMUTH                                            9       Exhibit No. 3 .............................. 51
     MS. BRITTANY GREEN                                                  Exhibit No. 4 .............................. 63
 9   123 North Wacker Drive, Suite 1800                         10       Exhibit No. 5 .............................. 63
     Chicago, IL 60606                                                   Exhibit No. 6 .............................. 113
10   (312) 474-7900                                             11       Exhibit No. 7 .............................. 119
     awermuth@cozen.com
11   brittanygreen@cozen.com                                             Exhibit No. 8-18 ........................... 129
12      on behalf of the Defendant;                             12       Exhibit No. 19 ............................. 179
13                                                              13   Exhibit Nos. 8-21 were marked, but Exhibit Nos. 8-19 were
     Reported BY: DEANNA L. TUFANO, CSR                         14            referred to and tendered.
14           LICENSE NO. 084-003819                             15
15
                                                                16
     ALSO PRESENT: Plaintiff, Sydney Dillard
16                                                              17
17                                                              18
18                                                              19
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20                                                              21
21
22                                                              22
23                                                              23
24                                                              24

                                                   Page 4                                                                Page 5
 1                             (Witness sworn.)                  1      A No.
 2                 ALEXANDRA MURPHY,                             2      Q Okay. And at times, your attorney is going to
 3    called as a witness herein on behalf of the Plaintiff      3   object. If it's an objection that's based on privilege
 4    having been duly sworn, was examined and testified as      4   or she instructs you not to answer, that's when you do
 5    follows:                                                   5   not answer the question. If it's an objection based on
 6                   EXAMINATION                                 6   what maybe sounds like objection, form or objection,
 7    BY MS. SCATCHELL:                                          7   relevance, or objection, objection, at that point, just
 8       Q Good morning, Lexa. Actually, let me back up.         8   you're able to answer. It's only when your attorney
 9    What do you preferred to be called, Dr. Murphy, Lexa?      9   tells you not to answer.
10       A Lexa is fine.                                        10             And if we just try not to talk over each
11       Q Okay. Perfect. I am Gianna Scatchell and I am        11   other, that will be helpful to make a clear record. And
12    going to be representing Ms. Dillard today in this        12   if you don't understand the question, please let me know
13    matter. Have you been deposed before?                     13   and I will rephrase it. If you don't say that you don't
14       A I have.                                              14   understand the question, I'm going to assume that you do.
15       Q Okay. So you're aware that you're under oath and     15             All right. With that, we'll get started.
16    you have to testify truthfully, correct?                  16   Could you please state your name for the record.
17       A Yes.                                                 17      A Alexandra Murphy.
18       Q And to make a clear record we have to say, you       18      Q Okay. And Alexandra, what is your current
19    know, yes, no, instead of uh-huhs or shaking your head,   19   position?
20    correct?                                                  20      A Professor and Interim Dean in the College of
21       A Yes.                                                 21   Communication.
22       Q Okay. Perfect. And then you haven't taken any        22      Q And how long have you worked for DePaul?
23    medication that would affect your ability to testify      23      A Since 1998.
24    truthfully today, have you?                               24      Q Okay. And what were the positions that you held


                                                                                                2 (Pages 2 to 5)
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                                                    Page 6                                                            Page 7
 1   at DePaul?                                                   1     Q Okay. And what is that difference?
 2      A I started out as Assistant Professor, moved to          2     A So acting dean I was holding the position because
 3   Associate Professor also as -- and then to Professor. I      3   the person who had been the dean was temporarily also
 4   also was Director of Community Service Studies, and I        4   acting provost, and so the position was still hers for
 5   have been a Graduate Director, and then also an Associate    5   she to choose to return to it.
 6   Dean.                                                        6     Q And do you know who it was in that position?
 7      Q Okay. And is associate dean different than              7     A Salma Ghanem.
 8   interim dean?                                                8     Q And then she ended up becoming provost, correct?
 9      A Yes.                                                    9     A Correct.
10      Q What are the differences?                              10     Q And then with this position of acting dean, was
11      A Associate dean reports to the dean, so there are       11   there candidates to select from?
12   several associate deans within the college. Interim dean    12     A Acting dean position, no.
13   means that I'm serving in the dean role in the interim as   13     Q Was it a position that you had to apply for?
14   we move toward a search to put someone in as a final        14     A No. It happened very quickly.
15   person or permanent person.                                 15     Q Okay. And when you say quickly, could you expand
16      Q Okay. And then how long have you held the              16   on that?
17   interim dean position?                                      17     A Yes. The person who was the provost at the
18      A Interim dean position, I have held for one year.       18   university became ill, and so within a matter of one
19      Q Okay.                                                  19   night, Salma Ghanem was placed in the position of acting
20      A And prior to that, it was acting dean, so that         20   provost and so she identified me to be the acting dean
21   began in October of 2018.                                   21   within that day.
22      Q Okay. And then is there a difference between           22     Q Okay. And then is there a process for how that
23   acting dean and interim dean?                               23   appointment would work or is it just at the discretion of
24      A Yes.                                                   24   the acting dean?


                                                    Page 8                                                            Page 9
 1      A The acting provost?                                     1   classes between 10 and 15.
 2      Q Yes.                                                    2       Q And then be out of those 53 full-time staff, how
 3      A I think it's a pretty rare situation, so I think        3   many are on the tenure track?
 4   that deans are appointed by the provost, and so in that      4       A I think we have 32 or 33. I don't have it in
 5   case, they followed that particular process.                 5   front of me, but approximately 32 or 33 are tenure track.
 6      Q Okay. And then what would your job duties be as         6       Q Okay. And do you happen to know the approximate
 7   the acting dean?                                             7   racial demographic of those 32 to 33 tenure track
 8      A As the acting dean, the same as the interim dean,       8   professors?
 9   and quite frankly the same as the dean.                      9       MS. WERMUTH: Objection --
10      Q Okay. And what are those duties?                       10   BY THE WITNESS:
11      A I oversee the functioning of the College of            11       A I don't have it in front of me.
12   Communication.                                              12   BY MS. SCATCHELL:
13      Q And how big is the College of Communication at         13       Q Is that something that you could provide to your
14   DePaul?                                                     14   attorney?
15      A In terms of faculty, we have about 53 full-time        15       A I don't recall if I was asked to provide that.
16   faculty. We have 14 staff that are full-time, and we        16       Q But is it something that you could provide?
17   have, on any given quarter, between 60 and 80 part-time     17       A That information would be located on our
18   faculty.                                                    18   institutional research site, DePaul University has that.
19      Q And how many students are there on average?            19       Q Okay. And is that available to the public?
20      A Approximately 1300.                                    20       A I don't know if it's available to the public, but
21      Q Okay. And then what is the average class size          21   it's available to any employee.
22   for a communications course?                                22       Q Okay. Could you explain the process of tenure
23      A They range on average probably as an                   23   track of how you go from, you know, being hired on with
24   undergraduate class between 20 and 30 students, graduate    24   tenure track and then all the way to becoming a professor


                                                                                               3 (Pages 6 to 9)
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                                                   Page 10                                                          Page 11
 1   or a paying tenure --                                        1   there was a standard length of probation of six years.
 2      A Yes. The typical trajectory is we will hire             2   Could anything affect that standard length?
 3   someone in as an assistant professor, and the standard       3      A Yes.
 4   length of probation is six years. So during that time,       4      Q Okay. What would those factors be?
 5   they are in the -- I just said -- in the probationary        5      A Anytime the university has a policy that anytime
 6   period as an assistant professor. Then at the beginning      6   the academic year during that first six months is
 7   of their sixth year, they would apply for tenure &           7   interrupted by any kind of leave meaning research leave,
 8   promotion. And so they would go through the review           8   medical leave. If it's a personal leave, then I think it
 9   process for tenure & promotion. And then if successful,      9   is not necessarily in the same case. It's automatically
10   they are tenured and then promoted to associate             10   extended by one full year. A candidate can choose to not
11   professor.                                                  11   extend their tenure clock in those cases.
12      Q And then once they become associate professor, is      12      Q Okay. And is there a reason why somebody would
13   there a higher position that they could attain or how       13   not want to extend their clock?
14   does that work?                                             14      A Yes. Depending on what might be going on during
15      A They can, if they choose to, apply for promotion       15   that leave, it allows them the ability to makeup anytime
16   to full professor.                                          16   with research in particular, that's usually why someone
17      Q And how long does that on average take?                17   might choose to extend their research -- or excuse me,
18      A That really ranges. We have some associate             18   their tenure clock.
19   professors in our college that have been associate          19      Q And then if somebody goes on personal leave, how
20   professors for 25 years. They've chosen not to move         20   does that differ?
21   forward in that way. And then we have had some faculty      21      A I believe in the handbook personal leave is
22   who have applied for promotion to full professor within     22   excluded from this. I think probably it would depend on
23   five to six years of obtaining associate professor.         23   what happens. It would probably have to be approved by
24      Q Okay. And then you had previously stated that          24   the dean and the provost, but I'd have to look back at

                                                   Page 12                                                          Page 13
 1   the policy just to double check.                             1      A That's okay.
 2       Q And how does the decision get made to become or        2      Q All the full-time faculty members, they vote.
 3   to have somebody obtain tenure, is it a vote?                3   Then that recommendation goes to the dean. Then the dean
 4       A Yes. There's a vote of all the tenured faculty         4   --
 5   on a candidate's application, that's considered a            5      A Let me stop already, I'm sorry. There's one step
 6   recommendation to the dean of the college. And then the      6   ahead of that in our college. And I should say different
 7   dean of the college will write their own report. All of      7   colleges have some different steps. We are a college
 8   that information then goes to the University Board for       8   that considers the entire college as the local unit so we
 9   Tenure & Promotion, and then they assess the case, and       9   as a college make the recommendation to the dean where
10   then they also do a vote. And then that vote is a           10   some other colleges have departments for us. We do a
11   recommendation to the provost of the university. And so     11   personnel committee, so there is a personnel committee
12   it's the provost of the university that in the end either   12   that does a review of a candidate's documents. And then
13   accepts or denies recommendations.                          13   that review feeds into the tenured faculty discussion,
14       Q Okay. And the provost could say if the board          14   and then the tenured faculty are the ones who then will
15   decided against a candidate the provost could overturn      15   vote. So I missed that part when we were talking
16   that decision, right?                                       16   through.
17       A Yes.                                                  17      Q No problem?
18       Q Okay. I just want to clarify something. So it         18      A So, five steps maybe.
19   seems that there is four different steps to voting on the   19      Q Okay. So is it the personnel committee that
20   tenure faculty member or whether or not to grant them       20   ultimately makes the decision to the dean --
21   tenure; is that accurate?                                   21      A No --
22       A I didn't count up the steps, so which ones?           22      Q -- or recommendation?
23       Q So I just want to make sure I have it correctly.      23      A No.
24   I am not trying to trip you up.                             24      Q Okay.


                                                                                           4 (Pages 10 to 13)
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                                                   Page 14                                                         Page 15
 1      A The personnel committee does the first level            1   review and an informal review?
 2   review and they provide that information to the tenured      2      A Yes.
 3   faculty. The tenured faculty still have access to all of     3      Q Okay. What is that difference?
 4   the information and documents and they do a review as        4      A A formal review, according to the university
 5   well. And then the vote happens with the tenured             5   faculty handbook, all faculty that are in that
 6   faculty, so the tenured faculty make the recommendation      6   probationary period need to have a formal review every
 7   to the dean.                                                 7   two probationary years.
 8      Q Okay. And then from there it goes?                      8      Q Okay. And would there ever be an instance where
 9      A To the University Board for a tenure & promotion        9   that formal review would be less than two years?
10   which is shortened as UBPT.                                 10      A Yes, yes.
11      Q Got it. And then at that point it goes to the          11      Q Okay. What would that be?
12   provost?                                                    12      A The tenured faculty when looking at a formal
13      A Yes.                                                   13   review can make a decision to call for an additional
14      Q Okay. Great.                                           14   formal review.
15             And how on average how many faculty               15      Q Okay. And what factors would go into that
16   members go up for tenure?                                   16   decision?
17      A At the university or in the college?                   17      A Often they may be looking at wanting to see
18      Q In the college.                                        18   someone's research showing up a little more -- like if
19      A In the college it ranges. It depends on how many       19   they've got concerns about research, if they might have
20   people we've hired the six years prior, so we've had        20   any questions or concerns about teaching and/or service.
21   years with no one going up for tenure & promotion, and      21   So if there are thing that come up during a review where
22   we've had years with three or four people going up for      22   they would like to check in with the candidate prior to
23   tenure & promotion.                                         23   the two years.
24      Q Okay. And is there a difference between a formal       24      Q Okay. So if that does happen where a

                                                   Page 16                                                         Page 17
 1   tenure-track faculty member has to go through an             1   observations of teaching. They will review any documents
 2   additional formal review, is there any kind of coaching      2   that the candidate submits in terms of their teaching;
 3   or additional help that is provided to that candidate, or    3   such as, syllabi, examples of course activities. And
 4   how does that work?                                          4   then they will also review committee work that the
 5      A So in terms of just official, can you help me           5   candidate has done in terms of service.
 6   understand a little more?                                    6       Q Okay. And what is committee work?
 7      Q Oh, yeah, sure. I am trying to figure out so if         7       A Committee work is the main way, the kind of third
 8   they want to see someone if they have concerns about         8   piece in terms of teaching, research, and service. It's
 9   research or about their teaching or service, is there        9   usually the way in which someone accomplishes that. At a
10   anything that the college does to help that candidate       10   university, faculty do more than teach and do research,
11   clarify that or coach them to say have better teaching      11   they also work on committees to help either the program
12   scores or something like that?                              12   that the college or the university kind of keep things
13      A Yes, the report that comes out of the formal           13   moving. So there's a variety of different committees
14   review will have -- will indicate areas that the faculty    14   that that faculty will serve on.
15   would like to see addressed.                                15       Q Okay. And how long are those different
16      Q Okay.                                                  16   committees, like the length of time? Does it range or is
17      A Often the chair of the personnel committee would       17   it like a certain term?
18   also talk to candidates and let them know.                  18       A Typically, when someone joins a committee, it's
19      Q And then what documents does the personnel             19   for a three-year term. It can vary depending on some of
20   committee review in terms of creating recommendation for    20   the committees.
21   tenure track or for tenure position or recommending them    21       Q Okay. And then if somebody doesn't do committee
22   not to get that?                                            22   work, is there any other way to meet that service prompt
23      A They will review all published research. They          23   of tenure?
24   will review all teaching evaluations as well as peer        24       A That's the primary way. They will look at


                                                                                          5 (Pages 14 to 17)
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                                                  Page 18                                                           Page 19
 1   professional service, but in our guidelines, service to      1      Q Okay. And then how do you aggregate all of that
 2   the college and the university is primary.                   2   data for viewing the applications?
 3      Q Okay. And what would an example of professional         3      A The teaching evaluations are --
 4   service be?                                                  4      Q No. The tenure track applications, is it
 5      A We have faculty who do reviews for conferences          5   SharePoint or something?
 6   where they're read papers and rank the papers and decide     6      A Oh, how is it like presented and kind of
 7   which papers would be accepted for a conference. We          7   collected?
 8   also are peer reviewers for each other's research and so     8      Q Yes.
 9   you'll serve as a blind reviewer for publications.           9      A It used to be SharePoint, we've now moved -- the
10   Sometimes if you do that enough for a particular journal,   10   university moved to a different database system that's
11   they will make you an editor of the journal, and so we      11   called Interfolio.
12   have some that will do things like that. Other kinds of     12      Q Okay. And when did you guys transition from
13   roles as with professional associations would be            13   SharePoint to Interfolio?
14   professional service, some are more official than others.   14      A I think it was 2019. It was either 2019 or 2020.
15   So those kinds of things.                                   15      Q Okay. Was there anything that made you guys
16      Q Okay. And then so the paperwork or documents           16   change from one provider to the other?
17   that you had indicated that are looked at; such as,         17      A We aren't the decision makers on that, that's a
18   syllabi, student reviews, peer evaluations, does anything   18   university decision.
19   weigh more heavily in terms of deciding to grant or deny    19      Q And by university decision, you mean the
20   tenure than other documents?                                20   university board?
21      A That is hard to answer without, you know, context      21      A No. The university information systems group and
22   in a case. I think usually faculty try to look at all of    22   information technology.
23   the information and kind of make an assessment based on     23      Q Okay. And did you use SharePoint?
24   all of the data that they have.                             24      A When I went up for tenure or just in other roles?

                                                  Page 20                                                           Page 21
 1       Q Just in other roles.                                   1   SharePoint problems?
 2       A Oh, yes. SharePoint is -- I'm not a techy, so          2      A The university had tech support and we had
 3   it's hard to say exactly how to put it. But SharePoint       3   someone within the college named Steven Awalt who tried
 4   is basically how the websites are constructed, how any       4   to help where possible.
 5   kind of team group managing system is constructed. It's      5      Q And then it's very idiosyncratic, could you
 6   like it was basically the dominant thing at the              6   expand on that?
 7   university for anything kind of technological, so yeah.      7      A One example is SharePoint did everything -- it
 8       Q Did you find it to be user friendly?                   8   organized things, I believe, alphabetically just as part
 9       A No. SharePoint is not user friendly.                   9   of its system, so we had to try to have everyone label
10       Q Okay. Was there a lot of technical glitches with      10   their files in a particular way so when things were
11   SharePoint?                                                 11   uploaded in SharePoint, it didn't move them in place that
12       A SharePoint was very idiosyncratic in terms of how     12   they didn't want them to get moved. And then if you
13   things were managed, it's not a user friendly kind of       13   wanted to move things, I believe you had to download,
14   system.                                                     14   then reupload. It wasn't very friendly in terms of just
15       Q Okay. And then was there any training on              15   moving and dropping and dragging.
16   SharePoint?                                                 16      Q Okay. And then was there also something wrong
17       A We offered, I think, some workshops on                17   with it where SharePoint would delete a file that you
18   SharePoint.                                                 18   tried to -- if you uploaded the same file name in two
19       Q Okay. And were the workshops mandatory?               19   different places it would delete it out of one or
20       A No.                                                   20   something?
21       Q Okay. And was there like a written guideline of       21      A I don't remember that exactly. It's possible.
22   how to use SharePoint?                                      22      Q Okay. And is Interfolio more user friendly?
23       A I don't remember. Yeah, I don't remember.             23      A Yes.
24       Q And was there tech support available through          24      Q Okay. So let's go back to committee work. So


                                                                                           6 (Pages 18 to 21)
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                                                   Page 22                                                          Page 23
 1   the College of Communication, how many different             1      Q Okay. And what is the search committee?
 2   committees does it have for a tenure-track faculty member    2      A So a search is committee is formed when we have
 3   to accomplish the service component?                         3   the opportunity to hire a new faculty member.
 4       A I would have to look at the list. We have              4      Q Okay. And then how do you decide who you
 5   it -- we have the committees all listed out, so I don't      5   ultimately select to be on the search committee?
 6   have the total number off the top of my head. I'll give      6      A So the dean will, depending on where the hires
 7   10, 15. Honestly, I couldn't makeup a number, but I          7   going to be, so the dean will go to the program chair of
 8   don't have it in front of me.                                8   the particular area that the hires going to be in and
 9       Q Okay. Could you give me some examples of what          9   they'll talk about who they might want to do as a chair
10   committees, and maybe that will help out?                   10   of the committee. And then they'll put a call out to the
11       A Yes. We have a curriculum committee, an               11   faculty to see who would like to serve on the committee.
12   assessment committee, a teaching research and learning      12   And then, I believe, typically you have at least -- again
13   committee. I am trying to remember. What else do we         13   I don't have it in front of me -- two or three faculty
14   have. I'm trying to think of the constant ones. The         14   that are within the program area and then you ask for one
15   assessment committee is broken out into program areas so    15   outside of the program area to serve on the committee.
16   there's some extra -- like has the larger ones and then     16   That's typical.
17   smaller ones within that. I am sure I'm blanking on         17      Q Okay. And when you say outside the program area,
18   other standard ones. And then we also have kind of ad       18   what do you mean by that?
19   hoc committees that will come up on a year to year -- oh,   19      A So for example if the hire was going to be in
20   sorry, international committee, that's one that's           20   journalism, then we would ask for someone outside of
21   constant. Then we have ad hoc committees; such as, a        21   journalism to also serve on the committee.
22   search committee or different task forces that if we have   22      Q Okay. Got it. And then how long does a search
23   a project that is something that has a start and stop       23   committee last for?
24   date, then we'll pull a committee together for that.        24      A It lasts for the length of the hire or until the


                                                   Page 24                                                          Page 25
 1   search -- or excuse me, the hire is complete. That's         1   front of me, but I believe it was 2012.
 2   typically two to three months.                               2      Q Okay. And you were at the University at that
 3      Q Okay. And do leadership make a decision on who          3   time, correct?
 4   serves before they put out the call or after?                4      A Yes I was.
 5      MS. WERMUTH: I'm sorry. Let me just object to form        5      Q Okay. What was your position during that time in
 6   insofar as it misstated the testimony. Go ahead, Lexa.       6   2012?
 7   BY THE WITNESS:                                              7      A I believe I was program chair of communication
 8      A The decision on who serves on that committee is         8   studies, which I didn't mention in my long list of all
 9   made after the call.                                         9   the different positions I've had at this university.
10   BY MS. SCATCHELL:                                           10      Q No problem. Actually, let me do one background
11      Q Okay. And then do you know who Sydney Dillard          11   question now that we're going back.
12   is?                                                         12             So where did you get your PHD from?
13      A Yes.                                                   13      A I received my PHD from the University of South
14      Q Who is she?                                            14   Florida.
15      A Sydney Dillard is an associate professor in our        15      Q Okay. And what was your primary area?
16   public relations and advertising faculty.                   16      A My area is organizational communication and
17      Q And how would you describe her ethnicity or race?      17   cultural studies.
18      A As African-American.                                   18      Q Okay. And did you have a specific focus?
19      Q Okay. And how long has she been at the                 19      A It was on gender, power, and politics in the
20   university for?                                             20   workplace.
21      A I believe she was hired in 2012 --                     21      Q Did you publish anything on gender, politics in
22      Q Oh, I wasn't sure you were finished. I didn't          22   the workplace?
23   want to cut you off.                                        23      A Yes.
24      A I'm sorry. I, again, don't have her file in            24      Q Okay. And what did you publish?


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                                                   Page 26                                                          Page 27
 1      A I published about 20 articles, so I've --               1   in an emergency room, I looked a lot at transitions
 2   primarily in airlines and healthcare.                        2   between nurses to nurses and physicians to physicians and
 3      Q Okay. And what was the, and forgive me, I might         3   what information was just rotely kind of passed along
 4   have the jargon a little bit wrong with the higher           4   without actually paying attention to what really anything
 5   education thing, so I'm not trying to be offensive.          5   that could have taken it as an outlier or moved it in a
 6             So what was the kind of crux of your               6   different place. Sorry, I'll move it into a lecture and
 7   position in your research?                                   7   I don't want to take your time.
 8      A That's a tough one to answer in a short way.            8      Q No, no, no. I want to understand it.
 9   Best summarized as I looked at organizational practices,     9              I just want to make sure I am
10   and when organizational practices are taken for granted,    10   understanding you correctly. Are you saying that more of
11   and kind of reproduced at what point those need to be       11   like your background was in the role the gender played to
12   questioned. So I looked at things like, especially on       12   say a female would say to a pilot we're not doing the
13   the safety in high reliability organizations. So in         13   proper protocols, and they just disregarded it because
14   airlines when you have pilots not listening to flight       14   she was a woman or a flight attendant instead of an
15   attendants because they are just doing certain things or    15   actual pilot or co-pilot?
16   I looked at emergency rooms and some of the practices       16      A Yes.
17   that take place in emergency rooms that needed to be        17      Q Okay. And is it fair to say that the airlines
18   questioned that were taken for granted.                     18   are a traditionally male dominating profession?
19      Q Okay. And when you say taken for granted, could        19      MS. WERMUTH: I am just going to object. I think
20   you expand on what you mean by that?                        20   we're getting far afield here. Relevance. Go ahead.
21      A Sure. So for example in an airline, if you get         21   BY THE WITNESS:
22   into real behavior; such as, a safety check that's not      22      A I think it's fair to say that the roles are still
23   actually performed and you just automatically say yes, so   23   quite gendered. So those that are in the pilot position
24   at what point do you need to take a pause. And if you're    24   are still very masculine and those that are in the flight


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 1   attendant position are still quite feminine.                 1   Caucasian tenured professors than African-American
 2   BY MS. SCATCHELL:                                            2   professors?
 3      Q And would you say the same is true as to an             3       MS. WERMUTH: Object to form and vague. Go ahead.
 4   emergency room --                                            4   BY THE WITNESS:
 5      A Yes.                                                    5       A I will ask you to be more specific on what you're
 6      Q -- with doctors and nurses?                             6   asking me to respond to.
 7      A Yes.                                                    7   BY MS. SCATCHELL:
 8      Q Do you feel it's the same way in higher education       8       Q Sure. So you said like there's certain gendered
 9   as well where there's gendered roles?                        9   roles so you have a pilot that would be male and a flight
10      A I think there's been some research to show that        10   attendant that would be a female. So now putting that
11   the gendered roles play out sometimes in committee work     11   kind of gendered role, but instead of it being gender,
12   where women might take on more maintenance committees.      12   it's race where there would be say the pilot would be
13   Whereas, men might take on more task-related committees,    13   Caucasian. But I am meaning this -- actually, that's a
14   but I'm not up-to-date on that research.                    14   bad question. Let me just strike that.
15      Q In your experience?                                    15              So what I am trying to ask is that do you
16      A In my experience it's hard to -- I haven't             16   feel that in your experience there's been more Caucasian
17   noticed the same kind of occupational genderedness in       17   tenured professors than other races like, let's say,
18   higher education as I would in more exaggerated cases       18   African-American?
19   like airlines and hospitals, but I think there's            19       A Yes. Numbers-wise there are more Caucasian
20   particular occupations within higher education that are     20   faculty than there are African-American faculty.
21   more feminine than others that are viewed that way.         21       Q Okay. And you had mentioned maintenance-based
22   Probably communication, psychology, versus business.        22   committees versus task committees. Could you explain on
23      Q Okay. And what about how those roles play out          23   what that difference is?
24   say in a racial perspective where there's more say          24       A Maintenance committees are considered ones that


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                                                  Page 30                                                          Page 31
 1   are kind of helping the university just keep going.         1   if their concerns about either diversity or equity
 2   Whereas, a task-based committee is typically one that       2   issues, then they can file a complaint with OIDE.
 3   would make a decision. I don't want to overstate that       3       Q And what would an example of an equity issue be?
 4   though because I am remembering some research from a        4       MS. WERMUTH: Let me just object on foundation. Go
 5   while back, and so...                                       5   ahead.
 6      Q Okay. No problem.                                      6   BY THE WITNESS:
 7              And in terms of the tenure track process,        7       A I would imagine if someone felt like they were
 8   what are the position requests and justifications, what     8   not being treated in the same way that they think some of
 9   are those?                                                  9   their peers or colleagues would be treated would be an
10      A Are you referring to when we request to be able       10   equity issue.
11   to hire a position?                                        11   BY MS. SCATCHELL:
12      Q Yes.                                                  12       Q Okay. And do you know if that Office of
13      A So on an annual basis, the colleges are asked to      13   Institutional Diversity and Equity is still a current
14   put forward their request for new positions or             14   department or if it's called something else now?
15   replacement positions and those requests go to academic    15       A I am not sure if it changed its name or what its
16   affairs, specifically the provost.                         16   current status is.
17      Q Okay. And who is the Office of Institutional          17       Q Do you know who would know that?
18   Diversity or what is the Office of Institutional           18       A I can look it up. You know, the people that I
19   Diversity, rather?                                         19   know that were in that office are no longer there, so the
20      A The Office of Institutional Diversity and Equity,     20   first names that come up -- I know Barbara            has
21   I believe, OIDE.                                           21   retired, so I'd have to look it up and see what the
22      Q Yes.                                                  22   structure is now.
23      A And that's an office at DePaul that can take any      23       Q Okay. Is there a woman Isabel Diaz that was
24   complaints that might arise that someone might consider    24   there?


                                                  Page 32                                                          Page 33
 1      A Yes. And I'm not sure if Isabel is still there         1      A They can tell me their complaint, yes.
 2   or not.                                                     2      Q And then what would happen next?
 3      Q Okay. And do you know how the complaint process        3      A Then I would refer them to the proper structure.
 4   would work for an OIDE complaint?                           4      Q And what would that be?
 5      MS. WERMUTH: Objection. Foundation. Go ahead.            5      A Well, that is what I would have to look up if
 6   BY THE WITNESS:                                             6   OIDE is no longer in place.
 7      A My understanding is someone would approach the         7      Q Okay. Have you ever been involved in an EEO or
 8   office and then they would make a decision as to whether    8   OIDE investigation before?
 9   it would launch some level of an investigation.             9      MS. WERMUTH: Objection. Vague. Go ahead.
10   BY MS. SCATCHELL:                                          10   BY THE WITNESS:
11      Q Okay. And do you know what factors go into that       11      A There was one investigation years ago that I was
12   decision?                                                  12   involved with.
13      MS. WERMUTH: Objection. Foundation.                     13   BY MS. SCATCHELL:
14      THE WITNESS: (inaudible)                                14      Q And do you remember who was involved in that
15      THE COURT REPORTER: I'm sorry, I didn't hear her        15   complaint?
16   answer.                                                    16      A Yes. That was Barbara              did the
17      THE WITNESS: I answered, I do not know.                 17   investigation, and it was -- do you want me to tell you
18   BY MS. SCATCHELL:                                          18   who the complainant is, is that --
19      Q And do you know if the current name of the OIDE       19      Q Yes.
20   office is now called the EEO office?                       20      A And it was
21      A I don't know if that was the direct shift.            21      Q And when you say some years ago, was it about two
22      Q And if somebody in the College of Communication       22   or three years ago?
23   had a complaint about equity or discrimination, could      23      A No, it was longer than that. It was, I think,
24   they make that complaint to you?                           24   2015-ish.


                                                                                          9 (Pages 30 to 33)
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                                                   Page 34                                                           Page 35
 1      Q Do you know what the nature of that complaint            1      Q Okay. Do you happen to know the name of those
 2   was?                                                          2   workshops?
 3      MS. WERMUTH: Objection. Relevance. Foundation. Go          3      A I don't know them off the top of my head, no.
 4   ahead.                                                        4      Q Okay. And before you moved into the dean
 5   BY THE WITNESS:                                               5   position, was there any kind of mandatory training on EEO
 6      A I never saw the complaint. I was only                    6   issues or discrimination?
 7   interviewed and provided information.                         7      A No.
 8   BY MS. SCATCHELL:                                             8      Q Okay. And do you know if there were any for
 9      Q And what information were you provided?                  9   professors?
10      A I was asked to provide information on any female        10      A Mandatory, no. Not that I'm aware of.
11   faculty member who had taken a leave of absence due to       11      Q Okay. And did you have any prior experience with
12   having a baby.                                               12   EEO investigations before you came to the university?
13      Q Okay. And do you remember how many people that          13      A No.
14   was?                                                         14      Q Okay. And have you attended any of the
15      A I don't remember.                                       15   discretionary workshops?
16      Q Okay. Would anything refresh your recollection?         16      A I've attended ones on implicit bias and on search
17      A A list of how many there were.                          17   committee hiring practices.
18      Q Okay. A list that you provided?                         18      Q Okay. And do you remember the approximate date
19      A Yeah.                                                   19   that you took the implicit bias workshop?
20      Q Okay. Perfect. And do you receive any training          20      A I don't. It's been a few years.
21   on discrimination or harassment?                             21      Q Okay. What about the search committee hiring
22      A There's not a mandatory training moving into the        22   practices?
23   dean position, but there are workshops that we can           23      A Search committee hiring practices, the first one
24   attend.                                                      24   I attend the was also probably at least 10 years ago and


                                                   Page 36                                                           Page 37
 1   then have gone through one since then. Often at that          1   that you took, if you could just summarize it in a couple
 2   point,            who is, I'll get her title wrong, VP for    2   sentences? What was the nature of the workshop?
 3   diversity and equity would come and meet with search          3      A For implicit bias?
 4   committees, so that's how they did that then. I believe       4      Q Yes.
 5   there's much more formal training that are happening now.     5      A Trying to have individuals recognize as they go
 6      Q Okay. And you don't know what those formal               6   into a decisions any of the factors that could be
 7   trainings are?                                                7   influencing their decision other than the qualities of
 8      A I know there's formal trainings now for search           8   the candidate.
 9   committee hiring for evaluations, various things like         9      Q Okay. And you previously testified that that's a
10   that, but I don't have the list in front of me.              10   discretionary workshop?
11      Q Okay. Do you know what factors go into these            11      A It's no longer discretionary, it's required for
12   workshops that say for evaluations.                          12   anyone doing a search committee or as part of a search
13      A I don't know what factors go into the actual            13   committee.
14   workshops. What do you mean by -- or who takes them?         14      Q Do you know when it became mandatory?
15      Q What like factors they consider. I'm guessing           15      A I believe it became mandatory in 2020, but I'm
16   that the evaluation search committee workshop would deal     16   not sure. We always had everyone in our college go
17   with how to equitably evaluate a candidate, correct?         17   through a training for search committees, but I don't
18      A Yes.                                                    18   know when the university exactly required it. But I know
19      Q Okay. And do you know what say some of those            19   as of the last few searches, our last search wouldn't
20   factors would be that would go into the evaluation           20   move forward until all of them had gone through it.
21   process?                                                     21      Q Okay. And when you say that you always had
22      A That's tough to answer. I am not doing the              22   everybody go through the implicit bias workshop, did
23   workshops.                                                   23   anybody at the college keep a record of who took what
24      Q Okay. No problem. So the implicit bias workshop         24   workshop and when?


                                                                                          10 (Pages 34 to 37)
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                                                   Page 38                                                          Page 39
 1      A I don't know that we have a centralized record on       1   terms of a vote, but those votes are considered
 2   that, no.                                                    2   recommendations. And so the dean has the prerogative to
 3      Q Okay. Would it be fair to say that members who          3   make a different decision.
 4   were on these various committees were on the honor system    4      Q Okay. On average since you've been the interim
 5   that they said they took it?                                 5   dean or the associate dean or the acting dean, how many
 6      A I believe, but I'm not entirely sure that at that       6   recommendations have you received for tenure-track
 7   point before the iteration that's currently in place,        7   faculty members?
 8   someone would come and meet with the search committee.       8      MS. WERMUTH: Objection to form. Vague. Go ahead.
 9   So it was a different process.                               9   BY THE WITNESS:
10      Q Okay. And do you know if there would be a record       10      A Again, I feel like I should have this all
11   of who that person was and what was discussed?              11   memorized. But I would have to go through and count up
12      A I believe it was             in that office that       12   the first set of recommendations I made within 2018, and
13   would come in. But again, I could be misremembering.        13   we had three people going up for an associate and I
14      Q Okay. And in your position, do you manage              14   believe one for full, so that was four. Then I think the
15   faculty members, is that what you would call it or how      15   next year was one. And then the following year, around
16   would you describe the relationship between the faculty     16   eight to ten. But I would have to go through and count
17   members and you?                                            17   up.
18      A I try to be accessible and open to all faculty         18      Q Okay. And is that something that you could
19   members. We have a system where we have program chairs,     19   provide to your attorney?
20   so the program chairs are kind of their first point of      20      A Yes.
21   contact, but I am available and here.                       21      Q Okay. And the three that went up for associate
22      Q Okay. And do you make hiring and promotion             22   professor in 2018, do you remember the names of those
23   decisions?                                                  23   individuals?
24      A As dean, most everything is faculty driven in          24      A Yes.


                                                   Page 40                                                          Page 41
 1      Q Who were they?                                          1      Q And did I miss anybody?
 2      A                  Sydney Dillard, and Brea McEwan.       2      A I don't believe so because then we have someone
 3      Q How do you spell her last name?                         3   this year, Matt        , who is up for full professor and
 4      A M, little c, big E-W-A-N.                               4   that's the only case we have this year.
 5      Q And then who was the full tenure professor?             5      Q And all of these candidates from 2018 to 2020,
 6      A I think it was Paul Booth that year, but I'd have       6   was there ever a decision that you overturned?
 7   to look back. The years start to merge a little bit.         7      A No.
 8      Q I think everything has went from pre-pandemic is        8      Q And on average, how long does it take to make a
 9   kind of a blur and everything post-pandemic is still a       9   decision whether or not to recommend somebody for tenure?
10   blur.                                                       10      MS. WERMUTH: Objection. Vague. Go ahead.
11             So in 2019, do you remember who that              11   BY THE WITNESS:
12   candidate was?                                              12      A You know it's hard to calculate in hours because,
13      A That was Nor Uysal, and I don't recall if there        13   you know, I'm familiar with cases and then I reread and
14   was any full professors that year or not.                   14   go through the various applications that come forward as
15      Q And then in 2020, there were a lot, you said           15   well as the tenured report, so it will take hours, eight
16   eight to ten?                                               16   to ten hours across. It doesn't happen in like one day.
17      A Okay. I don't know if I add up to that many. So        17   I get the recommendation in mid November and my decision
18   2018, 2019, Nur --                                          18   has to go to the University Board of Tenure & Promotion
19      Q Would it                    Jill      ?                19   by the end of January.
20      A Thank you. If you have it, that would be great.        20      Q And I'm going to show you what I'm going to mark
21      Q         --                                             21   as Exhibit No. 1.
22      A         Kessler and                                    22                        (Exhibit No. 1 was marked
23      Q Yes.                                                   23                         for identification.)
24      A So that was it, yes.                                   24      MS. SCATCHELL: Anna, do you want me to email just to


                                                                                         11 (Pages 38 to 41)
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                                                   Page 42                                                          Page 43
 1   you or do you want me to email it to Lexa's email as         1      Q Okay. And you're familiar with that handbook,
 2   well?                                                        2   correct?
 3     MS. WERMUTH: I would suggest just for purposes of          3      A I am familiar with the handbook. It's been
 4   expediency that you copy me and Lexa and Brittany at the     4   changed since 2010.
 5   same time.                                                   5      Q Okay. And I'm going to direct your attention to
 6     MS. SCATCHELL: Okay. What's Lexa's email?                  6   Page 2, which is labeled Dillard_DePaul 0005.
 7     MS. WERMUTH: Lexa, are you okay with providing that?       7      MS. WERMUTH: And just to be clear for the record,
 8     THE WITNESS: Yes, that's fine. It's                        8   this is Page 2 of Chapter 3. I think each chapter starts
 9   amurphy1@depaul.edu.                                         9   with a new number one, Gia.
10     MS. SCATCHELL: Okay. You guys should have it.             10      MS. SCATCHELL: Okay. Thank you.
11     MS. WERMUTH: Not yet. Do you have it yet, Anna?           11      MS. WERMUTH: But to your point, it's labeled
12     THE WITNESS: No.                                          12   Dillard_DePaul 0005.
13     MS. WERMUTH: Brittany, do you have it?                    13      THE WITNESS: Okay. I think I'm on the right page.
14     MS. GREEN: No, not yet.                                   14   Does it been with to be conducted by the faculty member's
15     MS. SCATCHELL: It should be another second. Still         15   home academic unit?
16   nothing?                                                    16   BY MS. SCATCHELL:
17     MS. WERMUTH: No. Did we lose Gia?                         17      Q Yes. Could you look at line 601 to 603 in
18     THE COURT REPORTER: It looks like it.                     18   particular and just read it into the record, please.
19                        (Lost connection.)                     19      A "A formal evaluation by peers, selected by the
20   BY MS. SCATCHELL:                                           20   faculty in the unit, shall take place at least every
21     Q Could you take a moment and look at this document       21   second year. However, formal evaluations by the academic
22   and tell me if you recognize the document.                  22   unit shall be made annually if early evaluations make
23     A It looks like it's excerpts from our 2010 faculty       23   reappointment questionable."
24   handbook.                                                   24      Q Okay. And you previously testified that the


                                                   Page 44                                                          Page 45
 1   formal evaluation occurs every two years, correct?           1       Q Okay. What do you remember about hers?
 2      A Yes.                                                    2       A I recall after her first formal review, some
 3      Q And then here in the 2010 handbook, it says it          3   concerns were raised in terms of teaching, and I don't
 4   could be made annually if the early evaluations make the     4   remember if they were concerns raised in any of the other
 5   reappointment questionable. What does questionable mean      5   areas, so I think they asked for an additional review in
 6   to you?                                                      6   that case. And then I know that there was an additional
 7      A Questionable would be if there were potential           7   teaching review that was asked after her -- I don't
 8   issues that they are seeing as a result of the formal        8   remember -- I don't have the interims of the years, but
 9   review so they want to check in with the candidate again     9   there was an additional teaching review that was asked
10   prior to the two years.                                     10   after another formal review.
11      Q Okay. And when there is a questionable decision        11       Q Okay. So then I just want to make sure I
12   that's made, what factors go into it or does it vary?       12   understand what you're saying here. So that when there
13      MS. WERMUTH: Objection to form. Go ahead.                13   is an annual review, formal review, it doesn't have to be
14   BY THE WITNESS:                                             14   for the whole everything, it just could be portions of
15      A I think it varies.                                     15   it, whatever there concern is?
16   BY MS. SCATCHELL:                                           16       MS. WERMUTH: Objection. Vague. Go ahead.
17      Q Okay. And do you remember any faculty tenure           17   BY THE WITNESS:
18   track applicant that had annual evaluations because their   18       A Yes. They can make a determination if they want
19   reappointment was questionable?                             19   to do the entire file again or case or if they want to
20      A We have called for additional formal reviews for       20   just look at certain aspects.
21   either a full formal review or for various aspects for      21   BY MS. SCATCHELL:
22   faculty over the years that I've been here, yes.            22       Q Okay. And do you know what would make that
23      Q Okay. Do you remember any of those examples?           23   factor where it would be full versus, I guess, this
24      A Yes. I remember Sydney's.                              24   partial?


                                                                                         12 (Pages 42 to 45)
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                                                  Page 46                                                         Page 47
 1      A The factor would be where if the areas are in one      1   going to mark as Exhibit No. 2. I just sent that over.
 2   area more than others, then they would just look at         2                      (Exhibit No. 2 was marked
 3   those, just look at that particular area.                   3                       for identification.)
 4      Q Okay. We'll use Sydney as our example. Do you          4      MS. SCATCHELL: Do you guys have it?
 5   remember why they wanted a full formal review for her on    5      THE WITNESS: No. Wait, it just got here, I think.
 6   an annual basis?                                            6      MS. WERMUTH: Do you have it, Lexa?
 7      MS. WERMUTH: Objection to form. Completely               7      THE WITNESS: I do.
 8   misstates the record evidence. You can answer.              8      MS. WERMUTH: All right. Would you hang tight for
 9   BY THE WITNESS:                                             9   just a moment, I don't have it. Thank you.
10      A There was never any decision made to have a           10   Brittany, did you get it?
11   formal review on an annual basis for Sydney. There was a   11      MS. GREEN: No, not yet.
12   request for the full review after the first review. And    12      MS. SCATCHELL: I will resend it to you guys. Oh,
13   then the second time, it was just for teaching.            13   you want to know why because it only went to Lexa. It
14   BY MS. SCATCHELL:                                          14   replied to her auto reply, that's what happened. I
15      Q Okay. And do you know who reviewed her                15   apologize. That's what happened there. So let me get it
16   application? Was it you?                                   16   where everybody is on the same page. I apologize about
17      A I was part of the review, but, no, it would have      17   that.
18   gone through the process that we talked about earlier      18      MS. WERMUTH: The joys of Zoom depositions.
19   where a personnel committee would have reviewed it. Then   19      MS. SCATCHELL: Exactly.
20   it would go to the tenured faculty, and then the tenured   20      MS. WERMUTH: Okay. I have it now.
21   faculty would make whatever recommendation. At that        21   BY MS. SCATCHELL:
22   point when it's not a tenure & promotion review, the       22      Q Okay. Lexa, could you please open that document?
23   recommendation is for reappointment.                       23      A I have it open.
24      Q Okay. And then I'm going to show you what I'm         24      Q And could you take a moment to review it.


                                                  Page 48                                                         Page 49
 1      A Okay.                                                  1      MS. SCATCHELL: It is?
 2      Q Do you recognize this document?                        2      THE WITNESS: Mine opened.
 3      A Yes.                                                   3      MS. WERMUTH: Hold on. I'm getting a weird signal.
 4      Q What is it?                                            4   Okay. I do have it.
 5      A This is our list of college level committees as        5   BY MS. SCATCHELL:
 6   well as university level committees.                        6      Q Okay. Could you take a moment to review that
 7      Q Okay. And is this what you were referring to           7   document. And the Bates stamp for this exhibit for some
 8   before about the various committees that a faculty or       8   reason aren't showing up, but it should be Dillard_DePaul
 9   tenure-track faculty member could join?                     9   5568 to 5573.
10      A Yes.                                                  10      MS. WERMUTH: I'm sorry, Gia. Can you say those
11      Q And do you see at the bottom of Page 2, which         11   numbers again.
12   would be Dillard_DePaul 5046?                              12      MS. SCATCHELL: Sure. 5586 to 5573. It's your
13      A Yes.                                                  13   production Dillard_DePaul.
14      Q Where it says PRAD Search Committee?                  14      MS. WERMUTH: Okay. So I'll just put this on the
15      A Yes.                                                  15   record. I mean, I haven't looked at this. I don't
16      Q What is that?                                         16   know --
17      A That would have been an ad hoc committee for a        17      MS. SCATCHELL: I'll resend it with the Bates Stamp.
18   search. I don't remember what one that would have been.    18   I don't know why it --
19      Q Okay. And what is PRAD?                               19      MS. WERMUTH: I think that's a good idea.
20      A Public Relations and Advertising, the program.        20      MS. SCATCHELL: That's fine.
21      Q And then I'm going to show you what I'm going to      21      MS. WERMUTH: Thank you. I appreciate that.
22   mark as Exhibit No. 3. Okay. That's sent.                  22      MS. SCATCHELL: No problem. I don't know why it
23      MS. WERMUTH: Okay. It says Exhibit No. 3. I don't       23   seems to like a weird copy because it even saved kind of
24   know that I can open it. It's locked.                      24   strange, I don't know why.


                                                                                        13 (Pages 46 to 49)
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                                                  Page 50                                                          Page 51
 1       MS. WERMUTH: Yeah. It showed up weird in my box as      1   second and I'll produce the right one.
 2   I said. it has like a lock on it. I was able to open        2     MS. WERMUTH: Can we maybe take a quick break then?
 3   it, but it looks like it was encrypted or something. I      3   Lexa, do you want to take a break?
 4   don't really understand it either.                          4     THE WITNESS: That would be great.
 5       MS. SCATCHELL: Okay. I just resent the corrected        5                          (Short recess.)
 6   version.                                                    6     MS. SCATCHELL: Back on record.
 7       MS. WERMUTH: Okay. This actually even looks             7   BY MS. SCATCHELL:
 8   different that what you sent before. I have it now. Do      8     Q Could you take a moment and review the second
 9   you have it, Lexa?                                          9   corrected version of Exhibit No. 3.
10       THE WITNESS: Do I have the exhibit?                    10                  (Corrected Exhibit No. 3 was
11       MS. WERMUTH: The new one. She sent the new version     11                   marked for identification.)
12   because there was something wrong with that version.       12     MS. WERMUTH: Alexa, did you get that?
13       THE WITNESS: Sorry. I thought you just couldn't        13     THE WITNESS: Yes. Let me open it.
14   open that one. Yes, I have the new one.                    14   BY MS. SCATCHELL:
15       MS. WERMUTH: Let's all work off of that one because    15     Q And that will be Bates stamped 5502 to 5508 and
16   it has the Bates on those. Do you see in the lower         16   that's Dillard_DePaul. And Lexa, when you finish
17   right, Lexa?                                               17   reviewing it, just let me know.
18       THE WITNESS: Uh-huh.                                   18     A Okay. Depending on how thorough you want to
19       MS. WERMUTH: It says, Dillard_DePaul.                  19   review, I've gone through.
20       THE WITNESS: Yep, got it. Okay. Oh, wait, I'm          20     Q Enough to be able to discuss it; is that fair?
21   sorry. This is actually completely different. This is      21     A Sure.
22   Rajul's.                                                   22     Q Okay. And if you need more time, I don't want to
23       MS. WERMUTH: Yeah. So Gia, do you want --              23   rush you.
24       MS. SCATCHELL: Can we go off the record for one        24     A That's okay.


                                                  Page 52                                                          Page 53
 1      MS. WERMUTH: I'm sorry. I got kicked out so I'm          1   contract renewal votes in favor, 14?
 2   back here again.                                            2      A Yes.
 3      BY MS. SCATCHELL: We didn't say anything. I just         3      Q And votes against zero, correct?
 4   asked her if she finished reviewing it.                     4      A Correct.
 5      MS. WERMUTH: Understood. Thank you. Sorry about          5      Q Okay. So that would mean that there was nobody
 6   that.                                                       6   that was against Ms. Dillard getting her contract
 7   BY THE WITNESS:                                             7   renewed, correct?
 8      A Okay. Gia, if you have questions, I can try to         8      A That is correct.
 9   answer. If I need to go back and look at that, we can do    9      Q Okay. And would it be fair to say that on Page
10   that.                                                      10   1, which will be Dillard_DePaul 5502, do you see the part
11   BY MS. SCATCHELL:                                          11   where it says reasons for recommendation?
12      Q So I just wanted to ask you if you recognize this     12      A Yes.
13   document?                                                  13      MS. WERMUTH: I'm sorry, you caught out for me, Gia.
14      A Yes.                                                  14   What was the question?
15      Q Okay. What is it?                                     15      MS. SCATCHELL: I just said on Page 1, Dillard_DePaul
16      A This would be the recommendation to the dean          16   5502, the part at the bottom where it says reasons for
17   about the continuation or termination of untenured         17   recommendation?
18   faculty contract and this particular one is for Sydney.    18      THE WITNESS: Yes.
19      Q Okay. Do you see the part where it says               19   BY MS. SCATCHELL:
20   personnel committee recommendation, votes in favor, 7?     20      Q Okay. Do you see the part where it says that the
21      A Yes.                                                  21   faculty concludes that for this period, Sydney is making
22      Q Votes against zero?                                   22   fair progress toward tenure in teaching, very good
23      A Yes.                                                  23   progress toward tenure in research and good/very good
24      Q And at the college recommendation it says             24   progress tenure and service, correct?


                                                                                        14 (Pages 50 to 53)
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                                                    Page 54                                                           Page 55
 1       A Yes.                                                     1   promotion guidelines where we shifted. I believe it was
 2       Q Okay. Could you explain to me what the                   2   from good to fair.
 3   difference of fair, very good, and good are in terms of        3      Q Okay. Did you get rid of fair or was fair kept
 4   this recommendation spectrum?                                  4   in the spectrum?
 5       A This language comes from our tenure & promotion          5      A We put fair in instead of good.
 6   guidelines for the college and so there's a level at           6      Q Okay. But then here it has fair and good?
 7   graduation of the different terms of we will assess and        7      A I don't recall. I'd have to look at exactly the
 8   use the language to be consistent. So there's fair, very       8   dates. Sometimes they'll try to put in something to show
 9   good, and then excellent.                                      9   kind of a range, but I don't recall exactly what would
10       Q Okay.                                                   10   have been going in for this particular one.
11       A The last one I believe is unsatisfactory. So            11      Q Okay. Do you know why they changed it from good
12   it's unsatisfactory, fair, very good, and excellent.          12   to fair?
13       Q And was good always part of this evaluation?            13      A Yes. In part, it was a request from faculty that
14       MS. WERMUTH: Let me just object to the form of the        14   were untenured who felt like getting something that said
15   question as vague. Go ahead.                                  15   good was a misnomer when good is not -- when you go up
16   BY THE WITNESS:                                               16   for tenure & promotion, we're looking for very good to
17       A What do you mean by was good always part of the         17   excellent and excellent in at least two out of the three
18   evaluation?                                                   18   categories. And so there was a discussion that I believe
19   BY MS. SCATCHELL:                                             19   was prompted mostly from untenured faculty asking for
20       Q Correct me if I am wrong, but there was a time          20   more clarity in the term.
21   period where the good level was included and then it          21      Q Okay. Did this come up when you say there was a
22   wasn't included?                                              22   concern from junior faculty, did this come up -- was
23       A I'd have to go back and look at where the               23   there a particular case that made this an issue or was it
24   language is, but yes, there was a change in the tenure &      24   just across the board?


                                                    Page 56                                                           Page 57
 1      A I think it was across the board. I don't recall           1   the university?
 2   it being tied to a particular case.                            2      A I don't recall what year it was.
 3      Q Okay. Do you know a woman named                Peco --    3      Q Okay. Did she receive her tenure before she left
 4      A                                                           4   the university?
 5      Q Yes.                                                      5      A No, she did not.
 6      A Yes.                                                      6      Q And she was tenure tracked, correct?
 7      Q Okay. Could you spell her name for the court              7      A Yes, she was.
 8   reporter.                                                      8      Q Okay. And do you remember if the good to fair
 9      A                                                           9   classification came up during her tenure application?
10      Q Okay. And who is she?                                    10      A I honestly don't remember.
11      A                       was on our faculty as an           11      Q Would anything refresh your recollection?
12   assistant professor in journalism.                            12      A It's possible, but I remember having that
13      Q Okay. And do you know what ethnicity she                 13   conversation, but I don't remember exactly the context
14   identified as?                                                14   and who was up or what was going on.
15      A She was a mixed race, I believe. She identified          15      Q Okay. No problem. And do you know approximately
16   as African-American, but I'm not entirely sure.               16   how many tenure track candidates are denied tenure in the
17      Q Is she still at the university?                          17   last five years?
18      A No, she's not.                                           18      MS. WERMUTH: Objection. Vague.
19      Q Is she not in the college either?                        19   BY THE WITNESS:
20      A No, she's not at the university so not at the            20      A No.
21   school.                                                       21   BY MS. SCATCHELL:
22      Q Sorry, that was a dumb question.                         22      Q And is it fair to say that somebody -- actually,
23      A That's okay.                                             23   strike that. I'm going to ask that later.
24      Q And do you know approximately what year she left         24              Could you look at Ms. Dillard's reviews


                                                                                           15 (Pages 54 to 57)
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                                                  Page 58                                                          Page 59
 1   and point out where her evaluation would be quote,           1   MS. WERMUTH: Gia, I'm sorry. It's my turn now. I just
 2   unquote questionable or appointment would be quote,          2   got kicked out. Can we stop the examination for a
 3   unquote questionable?                                        3   moment?
 4      MS. WERMUTH: Objection vague. Are you asking her to       4      MS. SCATCHELL: Oh, yeah.
 5   look at corrected Exhibit No. 3?                             5      MS. WERMUTH: The last thing I heard from you, Dr.
 6      MS. SCATCHELL: Yes.                                       6   Murphy was if you go to the last section on the last
 7      MS. WERMUTH: Or second corrected Exhibit No. 3.           7   page, and then from there it went blank. Ms. Tufano, do
 8      MS. SCATCHELL: Second corrected Exhibit No. 3.            8   you mind reading back for me?
 9   BY THE WITNESS:                                              9                         (Lost connection.)
10      A I think if you go to the last portion of it, the       10      MS. WERMUTH: I do have my IT person is hopefully
11   faculty summarize it by saying that there were some         11   coming up shortly.
12   concerns in teaching.                                       12      THE COURT REPORTER: I think she got kicked out
13   BY MS. SCATCHELL:                                           13   again.
14      Q Okay. And do you have any recollection of why          14      MS. WERMUTH: Okay. Ms. Tufano, can you guys hear
15   some concerns in teaching would have made her go through    15   me, I'm really sorry. I'm trying to get my IT guy.
16   a whole formal review the next year and not just a          16      THE COURT: You tell me when to read back. I'll be
17   portion?                                                    17   happy to do so.
18      A In looking at this, it looks like they did just        18      MS. WERMUTH: Thank you. I appreciate it. Go ahead
19   do a portion.                                               19   and start and let's hope I'm in here.
20      Q Okay. Where do you see that at?                        20                        (Question and answer read.)
21      A Maybe I saw it in the first one you sent. I'm          21      MS. WERMUTH: Thank you.
22   trying to see.                                              22      THE COURT REPORTER: You're welcome.
23      Q Wait. Hold on one second Anna was kicked out.          23      MS. WERMUTH: So, Gia, is there -- I'm not trying to
24                       (Lost connection.)                      24   interfere with your examination. I don't know if Dr.


                                                  Page 60                                                          Page 61
 1   Murphy was done. Were you done or --                         1   separate system. And then the formal reviews are the
 2      THE WITNESS: If you look at the overview, it just         2   ones toward tenure & promotion.
 3   says the personnel committee will evaluate Sydney's          3      THE COURT REPORTER: Hold on one second. It does
 4   teaching again in winter, 2015 due to the teaching           4   look like the two attorneys are frozen again. Hold on,
 5   challenges that we identified. However, she is making        5   here they come.
 6   very good progress in research and good/very good            6                       (Lost connection.)
 7   progress in service --                                       7      THE COURT REPORTER: So I saw you go out.
 8   BY MS. SCATCHELL:                                            8      MS. WERMUTH: Yes.
 9      Q Okay. And is there a difference between a formal        9                      (Question and answer read.)
10   review versus an annual or merit review?                    10      MS. WERMUTH: Okay.
11      A Yes.                                                   11      MS. SCATCHELL: Anna, is your IT person coming up
12      Q Okay. What is that difference?                         12   soon?
13      A An annual or merit review is done by the program       13      MS. WERMUTH: He's on with the network folks. I even
14   chair and it looks at the last academic period, just the    14   tried to do my hotspot and that was no better. I'm happy
15   one year. And then the formal reviews are the ones that     15   to come over to your office, Gia.
16   we're talking about now that go through a personnel         16      MS. SCATCHELL: Do you want to just take like a ten
17   process and they look at not only the time period between   17   minute break?
18   from the last formal review to the current one, but also    18      MS. WERMUTH: Yeah.
19   trajectory toward tenure.                                   19      MS. SCATCHELL: And if you need like an extra five
20      Q Okay. And then was there any reason why Ms.            20   minutes or whatever, I feel like we'll make it up at the
21   Dillard had a formal review versus an annual regarding      21   end.
22   this 2013 review?                                           22      MS. WERMUTH: Thank you. I appreciate that. So do
23      A Yes. All faculty go through an annual review           23   you guys want to try to just come back at 2:00?
24   that's a merit review each year, so that's a totally        24      MS. SCATCHELL: That's perfect. If you need more


                                                                                        16 (Pages 58 to 61)
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                                                  Page 62                                                          Page 63
 1   time, just text me and we'll go from there.                  1   still be concerns, but the concerns aren't so egregious
 2      MS. WERMUTH: Thank you so much.                           2   because you wouldn't want to reappoint someone because
 3                        (Short recess.)                         3   that's the end and that means they're no longer going to
 4      MS. SCATCHELL: Are we good to go?                         4   be a part of the faculty.
 5      MS. WERMUTH: Yes.                                         5      Q Okay. Got it. So I'm going to send what I am
 6   BY MS. SCATCHELL:                                            6   going to mark as Exhibit Nos. 4 and 5. Let me know when
 7      Q So I'm going to send you -- or actually, let me         7   you guys receive them.
 8   back up before we go on to the next exhibit. Lexa, are       8                      (Exhibit Nos. 4 and 5 were
 9   you there?                                                   9                       marked for identification.)
10      A Yes.                                                   10      MS. WERMUTH: I have them.
11      Q Okay. Perfect. So in your experience, would a          11      THE WITNESS: I just got them.
12   faculty member vote for someone to be reappointed if they   12   BY MS. SCATCHELL:
13   they thought that there were questionable issues with       13      Q Okay. Perfect. Could you please open up Exhibit
14   their evaluation?                                           14   No. 4, please.
15      MS. WERMUTH: Objection. Vague. Foundation. Go            15      A All right. It's open.
16   ahead.                                                      16      Q And that is titled Dillard_DePaul 6189,
17   BY THE WITNESS:                                             17   Dillard_DePaul all the way to 6192. And I'd like to
18      A Yes because you're really looking at a couple          18   direct your attention to the emails that begins on 6189
19   different things with that, so the tenure process we        19   and continues to 6190. Could you take a moment and
20   talked about is a six-year probationary period, and so a    20   review that, please.
21   faculty member can say, yes, I want to reappoint because    21      A Okay.
22   that's a one-year reappointment with the hopes that and     22      Q Do you recognize that document?
23   still want to see these things addressed. So it's a         23      A No.
24   different factor that they're considering. There can        24      Q Okay. Do you see on page 6190 where it says your


                                                  Page 64                                                          Page 65
 1   name, Murphy, Alexandra, and then your email address at      1   through. So the program chair looks at it, makes their,
 2   the top.                                                     2   his or her, determination and then that moves forward
 3       A Oh, at the very top?                                   3   just to the dean, and it's only based on that one year
 4       Q Yes.                                                   4   and it's only the annual -- that period is under what's
 5       A Sorry. I don't see where I came in on it.              5   reviewed.
 6       Q At the top of 6190, it says --                         6      Q Okay.
 7       A Oh, sorry okay. Yeah, okay.                            7      A So there's that review. Then there's the tenure
 8       Q And it says, I will forward your feedback to the       8   & promotion reviews which are the formal reviews that
 9   leadership team and will talk to Lexa about having a         9   we've been talking about, and the formal reviews are the
10   meeting with junior faculty. Do you know what this is       10   ones that go through a personnel process and the tenured
11   about?                                                      11   faculty then vote on them, and so they're not the same.
12       A Looking at this this is actually about the annual     12      Q Okay. So then if somebody did not receive a good
13   review not the formal review.                               13   annual review, would there be any consequence or what
14       Q Okay. And this would be taking the good --            14   would happen?
15       A It's a different system. It's about the annual        15      A It would be a consequence in terms of merit, but
16   review rubric, so it's a completely different rubric than   16   not contract renewal.
17   the one for the formal review.                              17      Q Okay. And then -- it seems that Brittany has
18       Q Okay. And what are the differences between the        18   left.
19   two rubrics?                                                19      MS. WERMUTH: That's okay. I'm here so we can keep
20       A The annual review what they're talking here still     20   going.
21   had, I think, excellent, very good, good. I don't have      21   BY MS. SCATCHELL:
22   it in front of me, that iteration. There was a great gap    22      Q Okay. How would that impact their merit?
23   category that was for like extraordinary, and that's the    23      A We get a range, so the university gives a range
24   one that program chair every year that all faculty go       24   of -- they put funds in each college, and so usually


                                                                                        17 (Pages 62 to 65)
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                                                  Page 66                                                           Page 67
 1   they'll say okay, there's a three percent range or like      1   processes.
 2   up to. And so depending on the kind of overall merit         2      Q And is there any reason for that difference, like
 3   review that one gets, then it can distinguish what           3   is there -- has it always been that way or is there a
 4   percentage of that faculty might get to be added to their    4   specific --
 5   base salary each year.                                       5      A Yeah. The annual review again is something all
 6       Q Okay. And then so that one faculty member's            6   faculty go through, and so that's something that happens
 7   merit, like a bad merit -- a bad review in terms of merit    7   to determine the raise package. The tenure & promotion
 8   could affect the whole college potentially in terms of       8   process is a more kind of elaborate review process that
 9   funding?                                                     9   again goes over the six-year period of probation. So
10       A No, no. The funding is given ahead of time.           10   post someone becoming an associate professor, DePaul
11   It's like the percentage of the total number of faculty     11   doesn't have a post-tenure review process that
12   in the college.                                             12   is -- instead they would only go through the annual merit
13       Q Okay. All right. And then what is this breakout       13   review until they decide to go up for full professor. So
14   that you were describing?                                   14   the process for the formal reviews is pretty like almost
15       A That was something that was attached to the merit     15   exclusively for that probationary period, and that's what
16   reviews that to know -- let's say somebody won the          16   decides contract renewal and kind of pushing towards
17   teaching award or somebody in that year published two       17   success towards tenure.
18   books, or you know, something that even went beyond         18      Q Okay. And is the formal reviewed tied to how
19   excellent because the merit review like -- and I think      19   many publications a candidates publishes.
20   Salma says that in here. Excellent is a really broad        20      A What do you mean by tied to?
21   category in terms of merit.                                 21      Q If say a candidate published a lot of or several
22       Q And then how does that differ from the very           22   articles versus say one or one that was in progress,
23   good/fair category as defined in the formal reviews?        23   would that have any bearing on their formal review?
24       A They're completely different systems and              24      A It would be looked at -- so the formal review is

                                                  Page 68                                                           Page 69
 1   going to look at teaching, research and service and          1   review.
 2   they're going to do it according to the handbook again       2      Q And then when you had mentioned the three
 3   every two probationary years. So they're going to go         3   different categories of how a tenure-track member is
 4   back at least those two years and then they'll look and      4   evaluated, is it each one a third, a third, a third, or
 5   see. So in response to your question if somebody has         5   is anyone of those categories weighed more than the other
 6   certain publications or what's their research activity,      6   two?
 7   what's going on with that, then yes, they will assess        7      A They're going to look at the whole candidate in
 8   that. The annual review is only going to look at the         8   terms of teaching, research, and service. DePaul is, I
 9   last year and they also will look at teaching research       9   would say, probably teaching and research are paid
10   and service but, it's just the program chair that's kind    10   attention to probably more even. I mean, service is
11   of looking at those things. And they tend to try to say     11   still necessary, and so they're going to look at all
12   we'll count it when it's published because it can take      12   three but probably weigh teaching and research more.
13   two to three years for an article to actually go through    13      Q Okay. And does the College of Communication have
14   the pipeline for a publication, so they want to kind of     14   a diversity and equity inclusion plan?
15   in an annual review give you credit for the year that it    15      A We do.
16   actually comes out.                                         16      Q Okay. And when did that go into effect?
17      Q Okay. And is there a range with how much -- like       17      A We started with a full review of the college and
18   what somebody's annual review score is and what their       18   that would have been in '19 to '20, academic year '19 to
19   raise package would look like?                              19   2020. And based on that review, we put into place an
20      A Yeah. It's pretty -- it's not a very distinct --       20   action plan. So the beginning of the actual action plan
21   like it's not broken up in a bunch of small categories      21   started in 2020.
22   because I'll be honest, in higher education the raise       22      Q Okay. And do you know was it a task force or who
23   packages are so small that, you know, it's kind of broad    23   participated in that full review?
24   categories in terms of what the packages in tied to the     24      A Yeah, it was a task force that was led by our


                                                                                         18 (Pages 66 to 69)
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                                                   Page 70                                                          Page 71
 1   Diversity Advocate, Maria DeMoya for the 2019 to the 2020    1   and it's been a couple years since I looked at it.
 2   year.                                                        2      Q And do you remember who else was on it besides
 3      Q And do you remember what that full review, what         3   Maria DeMoya?
 4   the results of that full review were?                        4      A Again, I'd have to look at it. I believe Sheena
 5      A There's a report that came out. So in terms of          5   Ramsay was on it from staff, I think Karen Winters, Jay
 6   the full review, I haven't looked at it recently,            6   Baglia, and I'd have too look to see who else. I'm sure
 7   recently. So I can say I think there were some questions     7   I'm missing people.
 8   about staff and staff versus faculty and feelings of kind    8      Q And so then before 2019, there wasn't a diversity
 9   of staff feeling a business disempowered and a little bit    9   equity, and inclusion policy?
10   excluded, and so that was one of the things that we tried   10      MS. WERMUTH: Objection. Form. Misstates the record
11   to address in our action plan. I believe that the           11   evidence. Go ahead.
12   results, and again I want to look back to make sure I am    12   BY THE WITNESS:
13   capturing it right, but I believe that the student and      13      A We had a diversity advocate in place, and then
14   faculty results were relatively positive just in terms of   14   we're working toward -- we didn't have like a systematic
15   college, but we can always do better. And so we             15   action plan before that.
16   established kind of some of the things that we want to      16   BY MS. SCATCHELL:
17   try to address in the action plan.                          17      Q Okay. And was the diversity advocate, a tenured
18      Q Okay. Do you know how many students responded to       18   professor or was it a staff member?
19   the survey?                                                 19      A I believe when Maria started, she's faculty. I
20      A I don't know.                                          20   believe she took the position prior to tenure, but kept
21      Q Was it a survey that they responded to or how did      21   it post-tenure. So she was a tenured track, but not
22   they give the feedback?                                     22   tenured when she first started.
23      A I believe they did a survey and focus groups, but      23      Q Okay. And then is this for just the college or
24   I'd have to go back and look. I wasn't on the task force    24   for the university as a whole?


                                                   Page 72                                                          Page 73
 1       A She represented the college, but she worked with       1      MS. WERMUTH: Objection. Vague.
 2   other diversity advocates and it was coordinated by the      2   BY THE WITNESS:
 3   university.                                                  3      A I think we are always trying to look and do
 4       Q Okay. And then you had mentioned that the staff        4   better.
 5   had felt disempowered and excluded, correct?                 5   BY MS. SCATCHELL:
 6       MS. WERMUTH: I'm going to object to the question. I      6      Q And do you remember what any of the specific DEI
 7   think you've misstated the testimony. Go ahead, Lexa.        7   concerns were?
 8   BY THE WITNESS:                                              8      MS. WERMUTH: Objection. Assumes facts not of
 9       A You had asked what I remembered from the report,       9   record. Go ahead.
10   and one of the area that I remembered from the report was   10   BY THE WITNESS:
11   wanting to address faculty and staff divides.               11      A Not enough to give you like one, two, three,
12   BY MS. SCATCHELL:                                           12   four.
13       Q Okay. And if you remember, do you remember what       13   BY MS. SCATCHELL:
14   those divisions were?                                       14      Q Okay. If I just gave you a list of them, would
15       A I could try to go back and recollect, but without     15   you be able to say yes or no?
16   it in front of me, I'd feel like I'm kind of talking        16      MS. WERMUTH: Objection to the form of the question.
17   through it, so...                                           17   Vague. Calls. For speculation.
18       Q We can come back to it. I think I should have         18   BY MS. SCATCHELL:
19   it.                                                         19      Q Okay. Have you as the associate dean, interim
20              And it's fair to say that diversity,             20   dean, or acting dean, so that would be 2018 to 2022, have
21   equity, and inclusion is abbreviated DEI?                   21   any faculty members come to you with any sort of racial
22       A Yes.                                                  22   discrimination concerns?
23       Q Were there any DEI concerns before the college        23      A To me directly, no.
24   put the action plan in place in 2020?                       24      Q Okay. Do you know if they came to somebody else?


                                                                                         19 (Pages 70 to 73)
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                                                  Page 74                                                         Page 75
 1      A I believe that there were meetings with Salma           1   this?
 2   Ghanem.                                                      2      MS. SCATCHELL: It was in the last email with 4 and
 3      Q Okay. And do you know what faculty members that         3   5.
 4   those included?                                              4      MS. WERMUTH: I'm sorry. Thank you. Okay.
 5      A Yes. I think it was Sydney and                          5      THE WITNESS: Okay. Oh, Anna, do you have it, sorry?
 6      Q And do you know if Maria DeMoya was part of any         6      MS. WERMUTH: I do. Thank you.
 7   of those communications or complaints?                       7   BY MS. SCATCHELL:
 8      A I don't know.                                           8      Q Could you take a moment to review it.
 9      Q And what is your knowledge of any of those              9      A Yeah.
10   complaints made by Sydney and                               10      Q Just let me know when you're finished.
11      A All I know is that I believe there was something       11      A I am, sorry.
12   that was pushed forward to OIDE, but I wasn't privy to      12      Q Okay. Do you recognize that document?
13   the actual -- I was never given the actual complaint.       13      A I can see what it is, which is Sydney's CV.
14      Q Okay. Do you know who received the complaint?          14      Q And then do you see there are certain handwritten
15      A I would imagine Salma would have received it, but      15   numbers on some of the pages?
16   I'm not sure if she got a copy of that, but it would have   16      A I do.
17   gone through whoever the OIDE officer was who was           17      Q Okay. Did you put those numbers in there?
18   handling it.                                                18      A No.
19      Q And I'm going to direct your attention to Exhibit      19      MS. WERMUTH: Gia, I'm sorry. What are you looking
20   No. 5.                                                      20   at?
21      A Okay.                                                  21      MS. SCATCHELL: There are certain handwritten page
22      Q Okay. Can you take a moment and review it,             22   numbers on the exhibit.
23   please.                                                     23      MS. WERMUTH: And can you point me to a Bates number
24      MS. WERMUTH: I don't have it yet. What number is         24   because I'm not seeing handwritten page numbers.


                                                  Page 76                                                         Page 77
 1      MS. SCATCHELL: No, no, no, not handwritten page           1      A We have four programs in the College of
 2   numbers, handwritten numbers on the pages.                   2   Communication and PRAD is one of them. And each of the
 3      MS. WERMUTH: Okay. Can you point me to the pages?         3   programs has a chair who overseas the activities within
 4      MS. SCATCHELL: Yes. It will be Dillard_DePaul 3195        4   that program.
 5   which contains handwritten numbers one, two, three, and      5      Q Okay. And what activities would the PRAD chair
 6   four and then two stars where it comes to two of the         6   be reviewing?
 7   articles. And then on Page 3196, there is a number 5.        7      A So the PRAD chair would call the program meetings
 8      MS. WERMUTH: Okay. Thank you. And I'm sorry, the          8   and would assign teaching, do the scheduling for the
 9   question is?                                                 9   teaching, hires adjuncts for the program, and then also
10      MS. SCATCHELL: Ms. Tufano, could you read back the       10   does those annual reviews that we talked about.
11   question.                                                   11      Q Okay. And that would only be for the PRAD?
12                        (Question read.)                       12      A Yes.
13   BY MS. SCATCHELL:                                           13      Q Okay. And then about how many faculty members
14      Q And Lexa, do you know who did put those numbers        14   are involved in the PRAD?
15   on the first two pages?                                     15      A You probably have a document that has this, so I
16      A No.                                                    16   would -- I think there's about 16-ish.
17      Q And you don't know what those numbers mean?            17      Q Okay.
18      A No.                                                    18      A But I don't remember off the top of my head.
19      Q Or what those stars mean, correct?                     19      Q No problem. And who is the current PRAD chair?
20      A Correct.                                               20      A Currently, it's Maria DeMoya.
21      Q Okay. And are you familiar with the program, the       21      Q Okay. And how long has she been in that position
22   PRAD chair position?                                        22   for?
23      A Yes.                                                   23      A This is her second year.
24      Q Okay. What is that position?                           24      Q Okay. And who was the PRAD chair prior to Ms.


                                                                                        20 (Pages 74 to 77)
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                                                    Page 78                                                          Page 79
 1   DeMoya?                                                        1      Q What's the difference between a program director
 2      A                                                           2   versus a program chair?
 3      Q And before                                                3      A So when the program director first started, we
 4      A                                                           4   had a centralized scheduling and hiring of adjuncts. So
 5      Q Okay. And then how long was                    in that    5   as the scope got bigger for the position, we shifted it
 6   position for?                                                  6   from director to chair just as a way to better to
 7      A I believe she stepped into Theresa's position for         7   indicate the scope of the job.
 8   a year, then another three years and then one more year.       8      Q Okay. And is there any salary difference between
 9   So five years.                                                 9   director and chair?
10      Q Okay. And then do you receive extra compensation         10      A The director -- we don't have directors anymore,
11   for serving as the PRAD chair?                                11   so I don't -- I wasn't involved with what the salary was
12      A Yes.                                                     12   for Theresa, so I don't know what she got as a director
13      Q And how much is that?                                    13   versus moving to chair.
14      A So it again ranges across the different program          14      Q And did Ms. Dillard ever apply for the PRAD chair
15   chairs. For the PRAD chair -- well, all program chairs        15   position?
16   receive one unit of summer pay which is one-twelfth of        16      A Yes.
17   their base salary, and then they receive an annual            17      Q Okay. Do you remember approximately when that
18   stipend. It's different per chair depending on the scope      18   was?
19   of what they do. So for the PRAD chair, I believe it's        19      A She applied for the chair position in winter of
20   7,000 to 7,500, something like that for the year.             20   2019.
21      Q And was                     first a program director     21      Q And do you remember what the outcome of that
22   and then she became a PRAD chair?                             22   application was?
23      A Yeah. We shifted the name of it to better                23      A Yes, I do.
24   indicate the duties.                                          24      Q What was that?

                                                    Page 80                                                          Page 81
 1     A She was not selected as program chair.                     1      Q And were there minutes that were taken during
 2     Q So there was a faculty vote, correct?                      2   that vote?
 3     A Yes.                                                       3      A No.
 4     Q And do you remember who voted on that?                     4      Q Is there fully reason why there weren't any
 5     A On all full-time faculty are eligible to vote --           5   minutes taken?
 6     Q Okay --                                                    6      A I don't know that we have taken minutes in
 7     A Sorry, I should clarify, within public relations           7   meetings, so it wasn't...
 8   and advertising.                                               8      Q Was there any sort of record that was made?
 9     Q And just because they're all eligible to vote              9      A Meaning?
10   doesn't mean they all have to vote, right?                    10      Q Of like the vote of like who said yes, who said
11     A Right.                                                    11   no?
12     Q How many factors do you need for a quorum or does         12      A No.
13   that not matter?                                              13      Q Do you remember any of the reasons why
14     A I believe it's two-thirds.                                14   individuals voted against Ms. Dillard becoming program
15     Q Okay. And do you remember how many people voted           15   chair?
16   against Ms. Dillard for being the program chair?              16      A It's an anonymous vote, so it's not a hands up,
17     A I believe 13.                                             17   so I can't say this was from one person to another in
18     Q Do you remember how many voted in favor of her            18   terms of why they might have voted against.
19   becoming program chair?                                       19      Q So I guess I just want to understand how the
20     A I believe it was three.                                   20   process works. So does the whole faculty discuss the
21     Q Did you vote in that --                                   21   candidacy before voting or how does that work?
22     A No.                                                       22      A So in this case the way the program chair
23     Q Were you present for the vote?                            23   election went, the program meets, and any candidate gives
24     A Yes.                                                      24   a little overview just in terms of their statement to the


                                                                                           21 (Pages 78 to 81)
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                                                   Page 82                                                          Page 83
 1   faculty goals, different things like that, that person       1   consisted of in this particular case?
 2   then leaves the room or people would leave the room and      2      A Yeah. A lot of the discussion started
 3   then a discussion would happen and then the vote is          3   circulating around feelings about the actual process
 4   taken.                                                       4   people feeling like -- as well as the position itself,
 5      Q Okay. And then do you remember if anybody else          5   and they would talk about the position itself just in
 6   was up for that position or was it just Ms. Dillard?         6   terms of what does it take to be a program chair in PRAD,
 7      A There were other people nominated who chose not         7   what does this look like, kind of is it tenable for one
 8   to run.                                                      8   person to do. So there was a lot of discussion about
 9      Q Okay. And was Ms. Dillard nominated?                    9   that.
10      A She nominated herself and then she was nominated       10      Q Okay. And what was the outcome of those
11   by one other person.                                        11   discussions?
12      Q Do you remember who that one other person was?         12      A The outcome of the discussions?
13      A Yes, it was Don Ingal.                                 13      Q Uh-huh.
14      Q And do you remember if anybody abstained from          14      A About the process?
15   that vote?                                                  15      Q Yes.
16      A I don't believe so.                                    16      A We changed the process.
17      Q Okay. And then prior to taking the vote at any         17      Q Okay. And when did you change the process?
18   of these elections or chair election positions, is there    18      A We changed the process prior to the next year.
19   any sort of discussion about the individual candidates or   19      Q Okay. And what did you guys change about the
20   how does that work?                                         20   process?
21      A So, yeah. Ideally you have a discussion                21      A We shifted the process so that now there is a
22   about -- as the candidate leaves, you have a discussion     22   written statement that any faculty who's either -- who's
23   and then the vote is called.                                23   nominated or nominates themselves. They give a written
24      Q Okay. And do you remember what the discussion          24   statement if they accept the nomination, there's time.


                                                   Page 84                                                          Page 85
 1   And then they also provide not only that statement but       1   of the reasons why we kind of took a pause and wanted to
 2   their CV that goes to all of the program members. And        2   rethink the process based on that feedback.
 3   anyone we allow for an anonymous survey to go out that       3      Q Okay. Do you remember if anything -- I guess my
 4   let's people give feedback about any of the candidates so    4   question is, I'm a little bit confused. What of Ms.
 5   we give time for that to take place. And then we come        5   Dillard's qualifications were discussed in this election?
 6   back and follow through with -- then a statement can         6      A A lot of conversation kind of circled around just
 7   happen and then a discussion happens and then the vote.      7   in terms of what do you need in a program chair, you need
 8      Q Okay. And do you remember what the feedback was         8   someone who's responsive, you need someone who's timely,
 9   from the voting results from Ms. Dillard?                    9   you need kind of collaboration, various kind of aspects
10      A Can you tell mean by feedback --                       10   of the position. I don't remember how much specifically
11      Q You said that during the survey faculty members        11   was tied back to Sydney in terms of the conversation. A
12   are allowed to give feedback --                             12   lot of what took from it as a very new dean in that role
13      A We didn't have that in place during --                 13   was getting -- feeling like people were telling me we
14      Q Oh, okay --                                            14   feel very rushed in this. We feel like this position
15      A Yes. That was one of the issues that was raised        15   needs to be rethunk, rethought, and so it was one of
16   was that there wasn't a good way to provide feedback        16   those where there were conversations kind of circling
17   about any particular candidate.                             17   around and indications. But to be able to say
18      Q Okay. Do you remember if Ms. Dillard's CV was          18   specifically this, this, and this, it's hard to kind of
19   provided to the faculty members that voted?                 19   tieback.
20      A I don't recall.                                        20      Q Okay. Is there any record of the voting results
21      Q Anything that would refresh your recollection?         21   or any of the discussion that occurred?
22      A Only if I saw that we did distribute it. So            22      A We didn't take minutes, so there's not a written
23   that's not part of the process, but I don't remember if     23   record.
24   that was part of the process at that point which was one    24      Q So not even like an informal email or anything


                                                                                         22 (Pages 82 to 85)
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                                                     Page 86                                                            Page 87
 1   like that?                                                      1   was the way I felt the conversation was kind of
 2      A I don't remember if an email went out after the            2   unfolding. And then as it moved toward kind of looking
 3   fact that included the vote. I don't remember.                  3   at me like this process, we needed a chance to be able to
 4      Q And when you had said that, and I don't want to            4   rethink the process and they rethink the position. There
 5   misstate your testimony, but you stated that there was          5   was a lot of that discussion that was kind of again
 6   some qualifications that a program share was supposed to        6   floating around.
 7   have which would be that there are responsive, timely.          7      Q Okay. And was there anything specifically that
 8   Did I miss anything else?                                       8   made you think that they were trying to extend a
 9      A I think present, timely, responsive, they talked           9   professional courtesy to some of those issues that were
10   a lot about just the number of the kind of time                10   being floated around?
11   commitment that it took in terms of the program chair, I       11      A For me, just the implication was because nothing
12   think they felt like it had grown so much in terms of          12   was -- I didn't see anything specifically directly saying
13   hiring adjunct and the various things that they needed to      13   Sydney is not responsive, you know.
14   be thinking about.                                             14      Q Do you remember if Sydney talked about her
15      Q And also collaborative, too, right?                       15   qualifications at the beginning of her presentation or at
16      A Yeah, I think that was mentioned as well.                 16   any place during her presentation?
17      Q Okay. And so out of any of those qualifications,          17      A She did make a statement at the beginning and did
18   what if any of Sydney's qualifications were tied back to       18   talk about kind of her vision and the kinds of workshops
19   any of those determinations?                                   19   and things that she had done in terms of leadership.
20      A That's where again I think that there were things         20      Q Okay. And do you remember what that consisted of
21   that were floated out and I don't know -- I can't tell         21   specifically?
22   you if people were professional courtesy, just unwilling       22      A I believe she talked about, and I can't remember
23   to say this, this, and this, you know, tie in                  23   the name of it, but she was participating in a leadership
24   specifically that they kind of just put things out, that       24   development program with DePaul. And so I think she


                                                     Page 88                                                            Page 89
 1   talked about some of the things that she had learned in         1   something about we need to have a program chair who is
 2   that program.                                                   2   present and on campus.
 3      Q Okay. And do you know if any of those leadership           3     Q And do you know what she meant by that?
 4   qualities were discussed in the vote?                           4     A I don't want to put myself in her mind, but, you
 5      A I don't remember.                                          5   know, in terms of where she was, I think she felt like --
 6      Q Okay. And who is Eva                    ?                  6     MS. WERMUTH: I am going to object on foundation, I'm
 7      A Eva                 was a lecturer in the public           7   sorry. Calls for speculation. Go ahead, Lexa, I'm
 8   relations and advertising program.                              8   sorry.
 9      Q Is she currently at the university?                        9   BY THE WITNESS:
10      A No, she's not.                                            10     A I am speculating because I'm not Eva                  ,
11      Q Do you know when she left?                                11   but I think it was about kind of the need to have
12      A Yes, she left in 2019.                                    12   somebody who was a presence on campus.
13      Q Do you know why she left?                                 13   BY MS. SCATCHELL:
14      A Yes, her contract was not renewed.                        14     Q Okay. And was there any reason to think to
15      Q Okay. Any particular reason why?                          15   Sydney wasn't present on campus?
16      A Yes. There had been a pattern with Eva                    16     A I think the indication was that --
17                 of a lack of service commitments and some        17     MS. WERMUTH: I'm sorry, Lexa. Hang on one second.
18   teaching questions.                                            18   Again, I'm objecting on foundation and calls for
19      Q Okay. And do you remember if she said anything            19   speculation. Go ahead.
20   about Sydney during the vote?                                  20   BY THE WITNESS:
21      A Yes.                                                      21     A What I would take is public relations and
22      Q What did she say?                                         22   advertising are a pretty active faculty, they do a lot of
23      A I do remember that -- I don't exactly remember            23   events. They do a lot of evening events pre-Covid. And
24   the phrasing, but I do remember that Eva                said   24   now I think that the implication would be that they


                                                                                             23 (Pages 86 to 89)
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                                                    Page 90                                                           Page 91
 1   didn't see Sydney at a lot of those events.                   1      A I don't know the details of it. I know what
 2   BY MS. SCATCHELL:                                             2   Sydney has told me just in terms of a neurological issue
 3      Q Okay. In your opinion, do you think Sydney was           3   with the results in seizures.
 4   present and on campus?                                        4      Q And do you know if Sydney had went on maternity
 5      A It's hard for me to judge because I wasn't in            5   leave?
 6   public relations and advertising, and so I had a very         6      A If she what?
 7   different relationship with her then the faculty in the       7      Q Went on maternity leave?
 8   program, so I also was not going to all of those events       8      A I know that she had had, yeah, a baby, so she was
 9   at that point. So it's hard for me to say one way or          9   on a leave a couple years prior to that.
10   another. My role was very different.                         10      Q Okay. So when you decided to rethink the process
11      Q Okay. And were those events mandatory?                  11   of program chair after this election, was there any
12      A No.                                                     12   reason why you let the vote go through or continue?
13      Q And when he Eva                     had mentioned the   13      A Yeah, because I think we were in the current
14   whole presence on campus aspect of it, do you know what      14   process and so to stop that vote would have, I think,
15   anybody's response was to that, did they jump in, or what    15   been unfair.
16   happened next?                                               16      Q Unfair to who?
17      A I do remember in terms of the presence piece of         17      A To Sydney. I didn't expect the vote to go. It
18   it. I think people agreed that the program chair needed      18   wasn't like I knew where the vote was going to go.
19   to have a presence on campus. She did, yeah.                 19      Q Okay. And by expect the vote to go, can you
20      Q And do you know if Sydney's -- let me back up.          20   expand on that?
21              Are you aware that Sydney has a medical           21      A I didn't expect the majority of the faculty to
22   condition?                                                   22   vote against her candidacy.
23      A I am.                                                   23      Q And you testified that you didn't vote, right?
24      Q Okay. Do you know what that is?                         24      A Correct, I did not vote.

                                                    Page 92                                                           Page 93
 1      Q And was there any reason why you expected the            1   had something to do with program chair selection. It's
 2   vote not to be against her candidacy?                         2   now been changed to the one that we've -- now that we've
 3      MS. WERMUTH: I'm going to just object insofar as you       3   overhauled the process, now it's been changed. But it
 4   mischaracterized her testimony.                               4   was a broader -- it didn't have the detail that it does
 5   BY THE WITNESS:                                               5   now.
 6      A I didn't know what the vote would be, so I needed        6      Q And did anybody mention Sydney's medical
 7   to let the vote happen because that would be part of the      7   condition when they were discussing their position?
 8   process.                                                      8      A I didn't hear anyone mention specifically the
 9   BY MS. SCATCHELL:                                             9   medical position. Eva                 asked a question that
10      Q Would another option have been to not have the          10   I can't remember the exact phrasing of, but it was
11   vote at that time?                                           11   leading toward inappropriate and I told her that, so we
12      A That would have been another option, yes.               12   stopped that line of conversation.
13      Q Okay. Was that within your control or authority?        13      Q Do you remember what the gist of it was? It
14      A Probably.                                               14   doesn't mean you have to know it verbatim.
15      Q Okay. Is there any reason why you didn't do             15      A I think it was connected to is she around, you
16   that?                                                        16   know, and then leading towards -- she was starting to go
17      A Because in that moment, I was following the             17   into questions of is something wrong.
18   process as it was laid out.                                  18      Q Okay. And did she also ask something like does
19      Q Okay. And was that in the handbook or where is          19   she even teach her?
20   that process laid out?                                       20      A I don't remember that exactly.
21      A No, it's not in the handbook, but we had a              21      Q Okay. And do you know if she was disciplined for
22   document that explained what the process was.                22   her inappropriate question?
23      Q Do you remember what that document was called?          23      A Disciplined post. I think she was called on the
24      A It would have been called -- no. It would have          24   inappropriateness question in the moment.


                                                                                          24 (Pages 90 to 93)
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                                                   Page 94                                                         Page 95
 1      Q And in your opinion, would Ms. Dillard's presence       1      A So, yes. Starting in 2018, I believe, I was
 2   on campus and her medical condition have any connection      2   actually involved with our HR coordinator or the liaison
 3   to the position?                                             3   with navigating and coming up with the accommodations,
 4      A I think that the position does require someone to       4   and so requests were made for a research assistant and
 5   be present. You know, now again, that was pre-Covid so       5   for a teaching assistant and for some modifications in
 6   we didn't have the things that we have in place now, but     6   terms of teaching either courses or modality.
 7   I do think it at that point especially was a very kind of    7      Q Do you remember what accommodations were given to
 8   on-campus position. I wouldn't connect that to her           8   Ms. Dillard?
 9   medical condition.                                           9      A Yes. We brought in a research assistant and a
10      Q Okay. And do you know if Ms. Dillard has any           10   teaching assistant and also worked to shift the courses
11   kind of physical or mental limitation based on her          11   she was set to teach as well as the modalities.
12   disability?                                                 12      Q Okay. And what would you consider to be the job
13      MS. WERMUTH: Objection. Vague. Calls for an expert       13   duties that would require the program chair to be on
14   opinion. Foundation. Go ahead.                              14   campus?
15   BY THE WITNESS:                                             15      A Well, again, at the time, our business was on
16      A I only know what I've seen as depicted in the          16   campus, so I think that there's a lot of -- and being at
17   lawsuit.                                                    17   the different events being kind of the face of the
18   BY MS. SCATCHELL:                                           18   program.
19      Q Okay. And do you know if she's requested any           19      Q Okay. At the time that Sydney applied for the
20   accommodations?                                             20   position, was there a job description or job duties list
21      A Yes.                                                   21   for that specific position?
22      Q Do you know what those accommodations were?            22      A Probably. I have to look back and see. I think
23      A Yes. Do you want me to--                               23   it might have been at the top of the selection process,
24      Q Yeah, go ahead.                                        24   and those were -- that's a kind of general list for all


                                                   Page 96                                                         Page 97
 1   the program chairs. And I don't want to over emphasize       1      Q Okay. And is there any reason why you didn't
 2   presence on campus as like the reason people voted           2   overturn the vote?
 3   against her because I really don't know.                     3      A In the moment, yes. I think that trying to kind
 4      Q Okay. And in your opinion, do you think that Ms.        4   of listen and pay attention to all of the kind of
 5   Dillard was qualified for the program chair position?        5   messages coming at me, and so I had to kind of weigh. If
 6      A I think she met the minimum qualifications, yes.        6   I would have overturned that vote, then I'm looking at a
 7      Q And in your opinion, what would those                   7   13 to 3 kind of pretty major majority, and I didn't want
 8   qualifications be?                                           8   to, first of all, set somebody up for failure if you put
 9      A Minimally, you needed to be a tenure-track              9   them into a position where they don't have the confidence
10   faculty member with tenure in the program area.             10   of the faculty within the program, then that's an uphill
11      Q Okay. And do you think that she was lacking any        11   battle there. And so that's where I thought, okay, my
12   of the qualifications?                                      12   best route forward is try to just do a pause. And so my
13      A At the time, you know, I needed to -- the way the      13   goal was do a pause on this, not make this necessarily
14   process works it's a faculty driven process, and so at      14   about Sydney's candidacy as much as we need to kind of
15   that point I am looking at what recommendation comes to     15   revisit, again, the process and the position, and I let
16   me from the faculty.                                        16   her know that that's what I wanted to do. And so that's
17      Q Okay. And could you have overturned the                17   what we did is took a pause, took some time to kind of
18   faculty's decision?                                         18   look at the position, look at the selection process, look
19      A In theory, yes.                                        19   for ways that we could make it kind of more thorough.
20      Q Okay. And in theory, what do you mean by that?         20   And so then, we put that into place the following fall
21      A In theory, it's a recommendation to the dean, a        21   and called for new nominations then that next year.
22   decision like that and it's similar to the tenure           22      Q And was there any of the job duties that the
23   promotion that we've talked about. So yes, in theory I      23   program chair had at the time that could not be done
24   could do that. In practice, that's a rare thing to do.      24   remotely or not on campus?


                                                                                         25 (Pages 94 to 97)
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                                                  Page 98                                                          Page 99
 1      A That's a hard question. Again, we were pre-Covid       1      A I went back to          who had asked not to -- she
 2   so life is on campus. So we really didn't have a culture    2   wasn't going to -- she was going to step out of the
 3   of doing things remotely, it was more rare that someone     3   program chair position, and I felt that the best way
 4   would phone in or we didn't have Zoom capabilities. We      4   forward was to ask her to continue for the one extra year
 5   didn't have what we have now.                               5   while we worked out the kind of issues that the faculty
 6      Q Okay. And speaking of culture, how would you           6   were wanting us to look at. So she stayed in it for the
 7   describe the faculty culture at the Department of           7   extra year.
 8   Communications or College of Communications?                8      Q And that would be
 9      MS. WERMUTH: Objection. Vague. Go ahead.                 9      A Yes.
10      THE WITNESS: Yeah, that's a big question.               10      Q
11   BY MS. SCATCHELL:                                          11      A
12      Q Okay.                                                 12      Q Okay. Did you ask Sydney if while you guys were
13      A So, you know, I think if you think of                 13   revamping the program chair position, if she would like
14   organizational cultures, I can't say that it's like one    14   to step in as the interim program chair?
15   unified thing. There's definitely different kind of ways   15      A No, I didn't.
16   of thinking about it.                                      16      Q Any reason why?
17      Q Okay. And what are some of those different ways       17      A Yeah. I think going back to what I talked about
18   of thinking about it?                                      18   before, I didn't want to put her in a position again
19      A So, yeah, depending on -- I mean, I think I need      19   where she -- at that point, the vote told me that there
20   more help to narrow it down.                               20   wasn't enough confidence in moving forward in that
21      Q Okay. I'll come back to that one. Let me just         21   election for whatever reasons, and so I thought, again,
22   go back to the program chair.                              22   take a pause, continue with         for the year while we
23              So who ended up serving that position for       23   rethink, and then invite for the nominations to come
24   the rest of that term?                                     24   back.

                                                Page 100                                                         Page 101
 1      Q And do you remember if you had any discussion          1   chairs. Because even though I had only talked to the
 2   with Sydney about the voting results?                       2   PRAD faculty, I wanted to make sure and see is this
 3      A I did talk to her right after the vote to let her      3   something that's common across all of the other program
 4   know what had happened, and then we had a phone call, I     4   chair positions. So one of the things that had come up
 5   think, a week later.                                        5   was the scheduling issues. So I got feedback from all
 6      Q Okay. And did you explain to Sydney what those         6   the program chairs to get a sense of what their workload
 7   reasons were for that she wasn't nominated for the          7   was like, how many people do they typically hire, what
 8   position?                                                   8   are the different kinds of aspects or the pressure points
 9      A I think I tried to talk a lot about, again, what       9   of the position. And so from that, made a decision to
10   I heard from the meeting, which was we need to take this   10   rethink our director of advising who now serves as a role
11   pause. So I was trying to emphasize that we need to kind   11   as a assistant dean of advising and scheduling.
12   of pay attention to what was going on with the process     12      Q Okay. And what specifically about scheduling was
13   and what was going on with the position.                   13   a quote, unquote, pressure point?
14      Q Okay. Did you ask Sydney to be part of the            14      A It's a really time-sensitive process. And so
15   process in terms of revamping that position?               15   when you're trying to balance research, teaching, all of
16      A Specifically --                                       16   your other service obligations, the other kinds of duties
17      Q Yes --                                                17   in terms of the program chair as well as just being a
18      A -- revamping the position?                            18   regular faculty member then the schedule is a tricky
19      Q Yes.                                                  19   thing because it has to be in at a certain deadline, and
20      A No.                                                   20   that was one of the things that had moved into the realm
21      Q Do you remember who was a part of that decision?      21   of program chair that was not part of the program
22      A Part of the process of looking at that, I talked      22   director role. So it really only been a part of that
23   to our leadership team about it and then tried to get      23   role for maybe five or six years, and so it just felt
24   feedback on what was going on with all the program         24   like a good time to revisit that, is it too much. Is it


                                                                                     26 (Pages 98 to 101)
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                                                 Page 102                                                         Page 103
 1   too much for any one person to do across the different       1      A Oh, gosh. I have no idea when she started at the
 2   programs.                                                    2   university. It was before 206 (sic) because we were
 3             And so from that what I learned is that            3   still up in Lincoln Park. I am going to throw out 2005,
 4   for a couple of the programs, it seemed okay because         4   but up not entirely sure.
 5   they're smaller. But for two of the programs, it's just      5      Q Okay. And you had previously stated that the
 6   com studies and public relations in advertising. They        6   program chair position for PRAD was a significant time
 7   handle a lot more classes that they have to schedule, and    7   commitment, right?
 8   we wanted to also try to look at how we could coordinate     8      A Yes.
 9   the scheduling across the area so that we could maximize     9      Q And that                had she stepped down or why
10   the courses that different students could take because      10   did she not want to be the program chair?
11   that helps with enrollment in the classes. So we, again,    11      A She was ready to do some other things.
12   used to have a centralized schedule person. It got too      12      Q Okay. It's a three-year term, right, for program
13   big for that but what we lost with centralizing it was      13   chair?
14   the coordination. And so for a lot of reasons, in           14      A Yes.
15   talking through this it made sense to have somebody kind    15      Q And do you know if she was at the end of her
16   of help oversee it. She does do more help with public       16   three-year term?
17   relations and advertising with the like kind of the         17      A              is not in the role any more.
18   logistics of the early schedule than she does for any of    18      Q When she was, was --
19   the other programs.                                         19      A Oh, yes. That's why. She was at the end of her
20      Q And then just so we have a clear record, who do        20   three-year term and so she could have gone for another
21   you mean when you say she?                                  21   term if she would have chosen to, and so she had chosen
22      A Sorry. Ginny Nightingale who is our assistant          22   not to move forward, and so that's where we're doing the
23   dean for scheduling and advising.                           23   election.
24      Q And when did she start at the university?              24      Q And did you do a vote for her to remain in that

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 1   position?                                                    1   correct?
 2       A No, I did not.                                         2       MS. WERMUTH: Objection. Vague. Confusing. Go
 3       Q Is there any reason why?                               3   ahead.
 4       A No. I think it was just a continuation. So for         4   BY THE WITNESS:
 5   newer role, I didn't that, no.                               5       A She wasn't in the room when they first started
 6       Q Is that part of the policy that any extension of       6   talking those concerns.
 7   three years requires another vote, or how does that work?    7   BY MS. SCATCHELL:
 8       A I don't think we have in written into a policy.        8       Q Was she in the room later?
 9       Q Okay. Do you remember if there's been other            9       A We kind of went back to -- I took the feedback
10   circumstances where if somebody's been asked to remain in   10   and then started working through, kind of what we're
11   that role, hence the term?                                  11   going to do -- we didn't hold other major meetings about
12       A No. I can't -- I don't recall hearing. I think        12   it.
13   it's happened in probably other colleges.                   13       Q Okay. And have you seen any other program chair
14       Q Okay. Do you remember or let me back up.              14   candidates that were voted down?
15              Did you have any concern about                   15       A Have I seen that?
16   remaining in that position considering that she decided     16       Q Yes.
17   that she did not want to do that position again?            17       A I'm trying to think back when we were a
18       A No, I didn't have any concerns.                       18   department, we had one that was -- no, she wasn't. So,
19       Q Okay. And why is that?                                19   no.
20       A I worked pretty closely with          in that role    20       Q Okay. And how many tenured faculty would you say
21   for the time period that she had been in the program        21   identify as African-American at the College of
22   chair position.                                             22   Communications?
23       Q Okay. Now, Sydney was not included in that            23       A In the College of Communications right now, I
24   discussion with all the issues with the program chair,      24   think Sydney is our only tenure track, tenured faculty


                                                                                    27 (Pages 102 to 105)
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                                                 Page 106                                                         Page 107
 1   member.                                                      1      A I think I said already that I recall her talking
 2      Q That's African-American?                                2   about her experience in the leadership workshop that she
 3      A That's African-American. We have one member of          3   was a part of or the leadership development program at
 4   the public relations and advertising program who is an       4   the university. I don't remember other details of her
 5   assistant professor, but he is African.                      5   presentation.
 6      Q And in your opinion, is there a difference              6      Q In that leadership role, did you help her with
 7   between the two?                                             7   that at all?
 8      MS. WERMUTH: Objection. Form. Go ahead.                   8      A The leadership development program?
 9   Foundation. Go ahead.                                        9      Q Yes.
10   BY THE WITNESS:                                             10      A We had at least one meeting where we talked
11      A I think that one is African-American, one is           11   about -- she kind of laid out her goals in terms of
12   African. One is African, so he's got -- they are going      12   developing as a leader, and so we talked about that. And
13   to each have different aspects of identity and              13   then we did talk after the program chair position where I
14   experience.                                                 14   tried to -- we looked at what are other leadership
15   BY MS. SCATCHELL:                                           15   opportunities, both within the college and outside of the
16      Q Okay. And do you know -- well, you identify as a       16   college, that would kind of help her -- I was hoping
17   Caucasian, correct?                                         17   would help her, you know, find ways to build experience,
18      A Yes.                                                   18   have that experience in terms of a leadership role.
19      Q Okay. And a female, correct?                           19      Q And do you remember what options that you guys
20      A Yes.                                                   20   discussed?
21      Q Okay. Do you remember what Sydney had said             21      A Yeah. We talked about within the college looking
22   during her presentation?                                    22   at graduate director positions. And then outside of the
23      A Which presentation?                                    23   college, I talked to her about things like faculty
24      Q For program chair.                                     24   council and looking at leadership opportunities in those

                                                 Page 108                                                         Page 109
 1   areas.                                                       1   BRAND Camp that she did that was part of that innovation
 2       Q Okay. And do you remember if she said anything         2   grant. So during that process, she worked with various
 3   about the innovation fund?                                   3   corporations including Facebook and Leo Burnett and
 4       MS. WERMUTH: Objection. Vague. Go ahead.                 4   negotiated and navigated that with Chicago scholars and
 5   BY THE WITNESS:                                              5   brought students in that can get kind of exposure to
 6       A Do you mean in her presentation?                       6   being in a university setting and really kind of picture
 7   BY MS. SCATCHELL:                                            7   themselves there. And then also think about it in terms
 8       Q Yes.                                                   8   of advertising and branding as kind of a potential
 9       A I don't remember. She might have, I don't              9   career.
10   remember.                                                   10      Q And has Sydney gotten any other grants, if you
11       Q Are you aware of any innovation grant that Sydney     11   know?
12   had led the charge on?                                      12      A She's gotten external grants that I think have
13       MS. WERMUTH: Objection to form.                         13   helped sponsor some of her research.
14   BY THE WITNESS:                                             14      Q Okay. And do you know if                     had
15       A                and Sydney were able to secure and     15   received any other grants or had applied for them?
16   what's the -- it's AGIF and I can't think of the name.      16      A I don't know off the top of my head what other
17   It is an innovation fund, but I can't think of what the A   17   grants he's applied for or received.
18   and the G stand for. And so yes, they secured funding       18      Q Okay. Would you have any record of that
19   through that mechanism.                                     19   anywhere?
20   BY MS. SCATCHELL:                                           20      A We'd have to go back and look at his vitaes that
21       Q Okay. And in your opinion, in what ways has           21   are timestamped to see what they were. But yeah, I don't
22   Sydney contributed to the PRAD program?                     22   know.
23       A I think that's one of the ways. I think one of        23      Q Is there an advertising search committee?
24   the things I've been most impressed about was the Summer    24      MS. WERMUTH: Objection. Form. Go ahead.


                                                                                    28 (Pages 106 to 109)
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                                                 Page 110                                                          Page 111
 1   BY THE WITNESS:                                              1   program area with one that's outside of the program area.
 2      A A search committee is formed when there's a             2   We also do searches for term faculty, which are not
 3   position available, so it's not an ongoing committee.        3   tenure track and those -- actually, no, those have to
 4   BY MS. SCATCHELL:                                            4   still be tenure-track faculty members. You have to be
 5      Q Okay. Do remember there being an advertising            5   tenure-track to serve on a search committee, I believe.
 6   search committee?                                            6      Q Okay. Do you remember if Sydney was ever on an
 7      A Yes.                                                    7   advertising search committee?
 8      Q Okay. Do you remember approximately when that           8      A Yes.
 9   was?                                                         9      Q And that was in that same time period of
10      A I believe the search, yes, would have been Fall        10   approximately 2018?
11   of 2018.                                                    11      A Yes.
12      Q Okay. And how many people are usually on a             12      Q Okay. Do you remember who else was on that
13   committee?                                                  13   search committee?
14      A Usually there's at least -- well, it's usually         14      A                 , Robin Hoecker,            .
15   three to five, I believe.                                   15      Q Did you say                 ?
16      Q Okay. And is there any requirement that out of         16      A Yes.
17   those three to five faculty members, that they have to      17      MS. SCATCHELL: Actually, can we take a ten minute
18   have a certain number of years or be tenured or is there    18   break?
19   any requirements like that?                                 19      THE COURT REPORTER: Before we do, can I just ask you
20      A The requirements have to be tenure track because       20   Nur -- will you say that name again?
21   we're hiring into -- if we're hearing into a tenure-track   21      THE WITNESS: Nur, N-U-R. And then Uysal is U --
22   position, they must be tenure-track faculty. And only       22      MS. SCATCHELL: I got it it's U-Y-S-A-L.
23   one -- well, sorry, not only one. I'd have to look back.    23      THE WITNESS: U-Y-S-A-L, yeah.
24   I think it's at least two to three need to be from the      24      MS. SCATCHELL: And then Robin is Robin Hoecker,


                                                 Page 112                                                          Page 113
 1   H-O-E-C-K-E-R?                                               1      Q So was Robin a tenured-faculty member at that
 2     THE WITNESS: Yes.                                          2   time?
 3     MS. SCATCHELL: And then                for        is       3      A No.
 4   M-U-N-D-E-L.                                                 4      Q And was                    a tenured-faculty member at
 5     THE COURT REPORTER: Thank you.                             5   that time?
 6   BY MS. SCATCHELL:                                            6      A No.
 7     Q And then actually, could I just ask you what a           7      Q Okay was Nur a faculty member at that time?
 8   Robin's ethnicity?                                           8      A Yes, a faculty member.
 9     A I believe she identifies as Caucasian, but I             9      Q Tenured-faculty member?
10   don't know.                                                 10      A No.
11     Q And Nur?                                                11      Q Okay. And I'm going to show you what I'm going
12     A Nur -- I don't know her ethnicity. She's a              12   to mark as Exhibit No. 6.
13   Muslim international from Turkey, I guess. But race         13                        (Exhibit No. 6 was marked
14   would be white.                                             14                         for identification.)
15     Q And         ?                                           15   BY MS. SCATCHELL:
16     A         is LatinX.                                      16      Q And when you get it, please just let me know and
17     MS. SCATCHELL: Okay. Great. Can we just take a ten        17   take a moment to look at it.
18   minute break and come back at 3:27.                         18      A Okay. I've gotten it.
19     MS. WERMUTH: Okay.                                        19      Q Okay. Do you recognize that document?
20                        (Short recess.)                        20      A Yes.
21     MS. SCATCHELL: Okay. What was the last question           21      Q Okay. What is that?
22   that I asked, Ms. Tufano?                                   22      A Again, I'm looking at the whole chain. This
23                        (Question read.)                       23   looks like it's an email chain that happened as a result
24   BY MS. SCATCHELL:                                           24   of the search committee.


                                                                                     29 (Pages 110 to 113)
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                                                 Page 114                                                           Page 115
 1      Q The advertising search committee?                       1      Q Sure. So this discussion about potential bias
 2      A Yes.                                                    2   and procedural problems with the search process, was that
 3      Q And what was the nature of this thread?                 3   brought to your attention?
 4      MS. WERMUTH: Objection. The document speaks for           4      A Yes, particularly the procedural problems.
 5   itself. Go ahead.                                            5      Q Okay. And what was the nature of what was
 6   BY THE WITNESS:                                              6   brought to your attention?
 7      A So the email chain starts with Sydney following         7      A What I recall from this is that again there was
 8   up on an instance that took place during the search          8   an issue about whether or not the committee would see the
 9   committee conversation during the committee's meeting,       9   report that was written about the top candidates or the
10   and then a back and forth between she and Nur.              10   recommendations of the candidates prior to going to the
11      Q Okay. And what issues were raised during that          11   full faculty for review and vote. And I believe Nur
12   search committee meeting?                                   12   thought that there should be a report or wanted to see
13      MS. WERMUTH: Objection. Foundation. Go ahead.            13   this report, and Sydney was saying that isn't how it's
14   BY THE WITNESS:                                             14   done and I think they were kind of talking across each
15      A I want to be clear I was not at the search             15   other in that way, and so we needed to kind of clarify
16   committee meeting, so I know what's also in the documents   16   with that had happened. So that's my recollection.
17   and from the conversation with Sydney and Nur that as       17      Q Okay. And do you remember if there was any
18   stated there was concerns raised. I think Sydney and Nur    18   investigation that was done?
19   had a conversation that involved whether a report was       19      A Investigation on?
20   going to be sent out to the search committee before it      20      Q The potential bias and procedural problems?
21   went to the rest of the faculty, something like that.       21      A We talked about the procedural problems in a
22   And there was, you know, other than what's in here. If      22   meeting with Sydney and Nur, myself and                 and
23   you have a a more specific question.                        23   clarified at that point that there wasn't a report that
24   BY MS. SCATCHELL:                                           24   Nur wanted to be able to -- that there was


                                                 Page 116                                                           Page 117
 1   misunderstandings there. I don't recall what we talked       1      Q Okay. And was one of the candidates familiar
 2   about in terms of potential bias.                            2   with Nur or was there some sort of allegation about that?
 3       Q Okay. Is there anything that would refresh your        3      A That, I don't remember.
 4   recollection?                                                4      Q Okay. Did Sydney raise any concerns about her
 5       A Not without being back in the room.                    5   interaction with Nur to you?
 6       Q Okay. But if you were back in the room, is there       6      MS. WERMUTH: Objection. Vague. Are you talking
 7   anything like an email or an incident report or something    7   about in connection with this?
 8   that would help you refresh your recollection?               8      MS. SCATCHELL: With this incident, yes. What I knew
 9       A Possibly.                                              9   OF the instances of what you're seeing in the emails, so
10       Q Okay. And what would that be?                         10   Sydney raised concerns based on these emails. So we came
11       A I don't know. I thought you were asking in a          11   together and had a conversation altogether.
12   general --                                                  12      Q Okay. And then did you have a conference with
13       Q Okay.                                                 13   just you and Sydney regarding this email thread?
14       A So, no.                                               14      A I can't remember if just Sydney and I talked
15       Q Okay. And did you take notes at the meeting that      15   about this.
16   you had about the procedural issues?                        16      Q If I said that you did, would you have any reason
17       A No, not that I remember.                              17   to believe that that didn't happen?
18       Q Is there a correct procedure for how -- or I          18      MS. WERMUTH: Objection --
19   guess what is the correct procedure in this instance, is    19   BY THE WITNESS:
20   it that there is a report or is not a report made?          20      A I don't remember if it happened.
21       A There is a recommendation that gets made -- the       21   BY MS. SCATCHELL:
22   search committee typically comes to the larger faculty      22      Q Would anything refresh your recollection?
23   and gives a verbal report on the strengths and weaknesses   23      A No.
24   of each of the candidates.                                  24      Q Okay. Like a calendar?


                                                                                     30 (Pages 114 to 117)
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                                                      Page 118                                                           Page 119
 1      A I am not sure what --                                          1      A
 2      Q Would it be in your calendar if you had a meeting              2      Q Okay. I see now. And what is                's
 3   with her, that's all I'm asking?                                    3   position?
 4      A Possibly.                                                      4      A She is a professor in the public relations and
 5      Q Okay. On Page 8363 Dillard_DePaul where Sydney                 5   advertising program.
 6   sends Nur an email with          Shu-    an, and that's S-H-U       6      Q And how long has she been at the university for?
 7   -          A-N, you as Lexa Murphy,                , and I think    7      A I don't remember her start date.
 8   that was it. Do you see that email at the bottom of that            8      Q And do you know what ethnicity she identifies
 9   page?                                                               9   herself as?
10      A Yes.                                                          10      A She is Asian.
11      Q And do you see the portion of it that says the                11      Q And I'm going to show you what I'm going to mark
12   hiring search process seems unclear to you and perhaps             12   as Exhibit No. 7.
13   could use more clarity. It would probably be beneficial            13                      (Exhibit No. 7 was marked
14   if both you and I were to meet with either        or a             14                       for identification.)
15   Lexa to discuss your concerns?                                     15   BY MS. SCATCHELL:
16      A Yes.                                                          16      Q Let me know when you've received it.
17      Q Do you remember if there was any meeting with                 17      A Okay. I've received it.
18   either you or              and Sydney and Nur?                     18      Q Okay. Could you please review the emails in this
19      MS. WERMUTH: Objection. Asked and answered. She's               19   thread and let me know when you finish.
20   testified to this. Go ahead.                                       20      A Okay.
21   BY THE WITNESS:                                                    21      Q Okay. And what is this document?
22      A Yes. That's the meeting I referred to.                        22      A This is an email chain that continues the
23   BY MS. SCATCHELL:                                                  23   conversation about the search committee.
24      Q Okay. And who is Shu-          an?                            24      Q Okay. Does that refresh your recollection on

                                                      Page 120                                                           Page 121
 1   whether you, as in the whole search committee, had a                1      Q Do you remember if there was any if that specific
 2   meeting about this incident?                                        2   statement came up at the meeting that you had referenced?
 3      A I told you that we did have a meeting about the                3      A Yes.
 4   incident. What I did not recall is if I met individually            4      Q Okay. And do you remember what in particular had
 5   with Sydney.                                                        5   come up about that sentence during the meeting?
 6      Q Right, okay. And then I'm going to circle back                 6      A What I remember was Nur feeling like Sydney had
 7   to Exhibit No. 6. Could you go back to that exhibit.                7   left in the middle of the conversation, and so they had
 8      A Yeah. I'm back.                                                8   to workout both of their interpretations of that.
 9      Q And do you see the email from Nur?                             9      Q Okay. And do you think that in your opinion that
10      A Yes.                                                          10   the use of the word stormed out is an accurate depiction
11      Q Okay. And Nur would be considered a junior                    11   of what the situation that was presented to you was?
12   faculty member compared to Sydney, correct?                        12      MS. WERMUTH: Objection. Foundation. Go ahead.
13      A They're pretty close. She was hired after                     13   BY THE WITNESS:
14   Sydney, but came in with ears to her credit. It's kind             14      A I was not at the meeting and did not witness or
15   all in there.                                                      15   either hear or see what happened, so I don't feel
16      Q okay. But she wasn't tenured at that point in                 16   qualified to give an accurate interpretation of whether
17   2018, correct?                                                     17   that was appropriate or not.
18      A Correct. None of the faculty members were                     18   BY MS. SCATCHELL:
19   tenured at this point.                                             19      Q Okay. In your opinion, was that a more
20      Q Okay. And do you see the sentence where it says               20   argumentative way of saying someone left a meeting?
21   I think this would have made more sense to you if you had          21      A I don't want to -- I can't really give an opinion
22   listened to me and the other committee members further             22   on it because I wasn't present.
23   before you stormed out of the meeting today?                       23      Q Right. But the term stormed out of the meeting,
24      A Yes.                                                          24   in your opinion, is that a more argumentative way of


                                                                                            31 (Pages 118 to 121)
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                                                 Page 122                                                         Page 123
 1   saying someone left the meeting?                             1   discuss.
 2      MS. WERMUTH: Objection. Asked and answered. Calls         2      Q Okay. And do you remember if Sydney had told you
 3   for foundation. Lack of foundation.                          3   how the situation made her feel?
 4      MS. SCATCHELL: I said in her opinion.                     4      A Can you be more specific?
 5      MS. WERMUTH: I understand what you said. I'm just         5      Q Did she say she was uncomfortable?
 6   stating my objections. Go ahead.                             6      A When we were in the meeting, she talked about, I
 7   BY THE WITNESS:                                              7   believe, her discomfort in the way the conversation was
 8      A I'll answer the best way possible, which is again       8   unfolding, I believe.
 9   I am not -- I can't really give an opinion on something      9      Q Okay. And do you remember what happened next?
10   that I did not see.                                         10      A I don't remember.
11   BY MS. SCATCHELL:                                           11      Q Do you remember if Sydney cried during the
12      Q I'm saying in general. In general like the way         12   meeting?
13   that that term is used. Stormed out, you don't think        13      A I don't remember that.
14   that that is a bit of an argumentative term?                14      Q Okay. Is that something that if it happened you
15      MS. WERMUTH: Objection. Argumentative. Go ahead.         15   would have remembered or no?
16   BY THE WITNESS:                                             16      MS. WERMUTH: Objection. Argumentative. Go ahead.
17      A I think it depends on how someone sees or views        17   BY THE WITNESS:
18   the activity.                                               18      A All I can tell you is I don't remember.
19   BY MS. SCATCHELL:                                           19      Q Okay. If Sydney said she cried during the
20      Q And you have no opinion based on reading the           20   meeting, do you have any reason to not believe that she
21   email that you read?                                        21   did?
22      A My opinion, no. I see people with different            22      MS. WERMUTH: Objection. Argumentative.
23   interpretations of what happened. One saw it one way,       23   BY MS. SCATCHELL:
24   one say it another way, and that was what we need to        24      Q You can answer.


                                                 Page 124                                                         Page 125
 1      A I don't remember.                                       1   said that there was a series of things that the college
 2      Q No, no. I'm saying if she said that she cried           2   was doing to foster and further the initiatives of
 3   during the meeting, do you have any reason to believe        3   diversity, equity, and inclusion, right?
 4   that she wasn't being truthful?                              4      A Yes.
 5      A I would have no reason to believe that, no.             5      Q And is one of those initiatives having diversity
 6      Q Okay. And do you believe that Sydney is a               6   workshops?
 7   truthful person?                                             7      A Yes.
 8      MS. WERMUTH: Objection. Argumentative.                    8      Q Okay. And do you know what the diversity
 9   BY MS. SCATCHELL:                                            9   workshops consist of?
10      Q You can answer.                                        10      A We have the diversity workshops for the search
11      A I believe, yeah, I would say in my experience.         11   committees. We also did at every faculty meeting a
12      Q Okay. Let's shift gears to the diversity,              12   series of what we call micro-trainings on various topics.
13   equity, and inclusion action plan that you had previously   13      Q And are these diversity trainings or micro-topics
14   talked about. Do you know if -- (inaudible)                 14   are they mandatory or are they discretionary?
15      MS. WERMUTH: You broke up.                               15      A The search committees are mandatory and the
16      MS. SCATCHELL: Yeah, I heard the same thing.             16   micro-trainings are if you're at the meeting, you're
17   BY MS. SCATCHELL:                                           17   there. Most people are at the meetings.
18      Q Do you know if, is it diversity workshop that is       18      Q Okay. And is there the same type of diversity
19   included in this DEI action plan?                           19   workshop or are than more one type?
20      A I need you to be more specific. You mean the           20      A There are different types.
21   college level?                                              21      Q And do you happen to know what those types are?
22      Q The one that you previously testified, the             22      A I am not sure what you're asking to be honest.
23   college level, the action planned that you guys             23      Q Like what types of diversity programs or
24   implemented, I believe within the past year, you guys       24   workshops are being offered by your college?


                                                                                     32 (Pages 122 to 125)
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                                                Page 126                                                        Page 127
 1      A So in terms of the search committee, those are         1   are she is Latin American.
 2   all university workshops so we take advantage of the        2      Q Domestic?
 3   university workshops on that. And in terms of the           3      A She is -- no, foreign. Outside of the U.S.
 4   college level, we implemented the micro-trainings at the    4      Q And what's Dustin         's position?
 5   different faculty meetings.                                 5      A He is a professor.
 6      Q Okay. And who leads the micro --                       6      Q Okay. How long has he been at the university
 7      A The micro-trainings?                                   7   for?
 8      Q Yes.                                                   8      A I don't know exactly.
 9      A The first year that we did them, they were led by      9      Q Okay. Give or take?
10   the diversity advocate and then a few were done in         10      A 13-ish years.
11   conjunction with a staff member. And then they've          11      Q Okay. Do you know if he was ever involved in any
12   continued, we've had a switch in terms of the diversity    12   sort of discrimination complaint?
13   advocate so they've switched over to the new diversity     13      A I don't know.
14   advocate.                                                  14      MS. WERMUTH: Objection. Vague. I think you
15      Q And did you testify who the new diversity             15   answered. Are you waiting for an answer?
16   advocate is?                                               16      MS. SCATCHELL: Yeah.
17      A No. During last year, it was Dustin        .          17   BY THE WITNESS:
18      Q Okay?                                                 18      A Oh, No, I don't know.
19      A And this year it's                                    19   BY MS. SCATCHELL:
20      Q And Dustin         , what's his ethnicity?            20      Q Okay. And do you recall a situation where
21      A He is White, Jewish.                                  21   Sydney's medical information was disclosed in an email
22      Q And can you spell the second name and tell me         22   thread?
23   what his ethnicity is?                                     23      MS. WERMUTH: Objection. Vague. Go ahead.
24      A It's a she.           L-U-I-S-E-L-A,           and    24   BY THE WITNESS:


                                                Page 128                                                        Page 129
 1     A No.                                                     1   BY MS. SCATCHELL:
 2   BY MS. SCATCHELL:                                           2      Q Lexa, would you mind opening up Exhibit No. 8 and
 3     Q You don't remember if there was an email that           3   reading that?
 4   involved            and a few other members from the        4      A Hold on. I just got it, and it's still
 5   college and you and had her medical information on it?      5   downloading attachment. Okay. There we go. Number 8,
 6     A I don't remember that.                                  6   is that what you said?
 7     MS. SCATCHELL: Okay. Could we go off the record for       7      Q Yeah.
 8   one second?                                                 8      A Okay. I've read it.
 9     MS. WERMUTH: Sure.                                        9      Q Okay. What is that document?
10                      (Short recess.)                         10      A This is a document that is talking about
11   BY MS. SCATCHELL:                                          11   SharePoint and -- yeah, talking about SharePoint.
12     Q I just sent everyone a series of exhibits, so let      12      Q And what's the nature of what that thread is
13   me know when you guys receive them.                        13   about with SharePoint specifically?
14     MS. WERMUTH: I don't have them yet.                      14      MS. WERMUTH: Objection. The documents speaks for
15     MS. SCATCHELL: Okay.                                     15   themselves. Go ahead.
16     MS. WERMUTH: Okay. I got a bunch.                        16   BY THE WITNESS:
17     MS. SCATCHELL: It should be Exhibit No. 8 through        17      A So if you start at the bottom of the chain, it
18   21.                                                        18   was a conversation responding to Sydney having some
19                     (Exhibit Nos. 8-21 were                  19   challenges with SharePoint logging her out and trying to
20                      marked for identification.)             20   get her documents uploaded.
21     MS. WERMUTH: I see 8 through 21, but I also see          21   BY MS. SCATCHELL:
22   something that's not marked with a number--                22      Q And Steve Awalt is the technical -- is the IT
23     MS. SCATCHELL: Not sure I'm going to use that yet.       23   guy?
24     MS. WERMUTH: I see.                                      24      A Steven Awalt worked on our website, so he had


                                                                                   33 (Pages 126 to 129)
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                                                 Page 130                                                        Page 131
 1   familiarity with SharePoint.                                 1      A No. That was -- if I looked at the date of
 2      Q Okay. And who is Unnati?                                2   January, 2018, that would be her teaching review, that
 3      A Unnati was an administrative assistant in the           3   formal review.
 4   college.                                                     4      Q Okay. That would be going towards whether or not
 5      Q And Gina?                                               5   she would be considered for tenure?
 6      A Gina is our director of operations in the               6      MS. WERMUTH: Objection. Misstates the evidence.
 7   college.                                                     7   BY THE WITNESS:
 8      Q Okay. So when the first email in the thread             8      A This would be her formal review looking at her
 9   which is Dillard_DePaul 7187, the email -- you see that      9   teaching.
10   the email is from you, correct?                             10   BY MS. SCATCHELL:
11      A Yes.                                                   11      Q And do you know if she ever got any assistance?
12      Q And it said that Unnati is completely swamped          12      A I believe Steven helped to try to figure out what
13   with work, and Gina isn't able to spare anyone else right   13   the logging off issue was.
14   now to help with the SharePoint file uploads. Salma and     14      Q And do you know if that solved Ms. Dillard's
15   I will be asking her to help me brainstorm ways which we    15   problem?
16   can get better support faculty trying to get their files    16      A I don't remember.
17   appropriately uploaded; do you see that?                    17      Q Do you remember if there was every year where Ms.
18      A Yes.                                                   18   Dillard had two reviews in one year, formal reviews?
19      Q Okay. And then it says in the meantime, please         19      A Not in the same academic year.
20   do the best you can to get the files uploaded. I am very    20      Q Okay. But it could happen within the calendar
21   sorry not to have a better answer right now, correct?       21   year?
22      A Yes.                                                   22      A Yes, it can happen in a calendar year.
23      Q And was that the year that Sydney was going up         23      Q Is that the normal protocol for an annual review
24   for tenure?                                                 24   or how does that work?


                                                 Page 132                                                        Page 133
 1      A That is normal for the way that the formal              1   updates and Sydney's draft doc. Do you see that?
 2   reviews are scheduled, yes.                                  2      A Yes.
 3      Q Okay. And in your opinion, is the preparation           3      Q And then the attachments say
 4   process for a formal review a time consuming task for        4   Dillard_Teaching_2018.
 5   faculty member?                                              5      A Yes.
 6      A It can be, yes, to organize their files.                6      Q What is that attachment?
 7      Q Okay. And what in particular would be some of           7      A That is the, I'm assuming -- well, that would be
 8   the things that would make it a time consuming process?      8   the -- sorry, not assuming. That's going to be according
 9      A Regardless of what you're doing, you're                 9   to the email, the draft of her teaching review, the
10   compiling -- in what way you're doing it, you're            10   formal review. They would have written the report and
11   compiling all of your documents that will be moving         11   attached it as a draft.
12   forward for your application or for your review.            12      Q And do you know -- Anna, I don't think the
13      Q And then can you open up Exhibit No. 9, please.        13   attachment was with this email. Do you know where we can
14      A Sorry. It's open. I'm looking at it.                   14   get a copy of it?
15      Q Okay. Just review it, please.                          15      MS. WERMUTH: I can certainly follow-up. I mean,
16      A Okay.                                                  16   this came out of the email search, I think, so I don't
17      Q Okay. What is that email?                              17   know.
18      A This is an email from             to the personnel     18      MS. SCATCHELL: That's just Bates stamp 5675. It
19   committee.                                                  19   just says Dillard_Teaching_2018.docx.
20      Q And who is                                             20      MS. WERMUTH: Yep, I do see that. I can certainly
21      A                     He is a professor in -- sorry.     21   inquire. This is the -- I mean, you've seen obviously
22   Associate professor in journalism, and at the time was      22   the final version, which was unanimously positive as you
23   chair of the personnel committee.                           23   may recall.
24      Q Okay. And the subject line says personnel              24      MS. SCATCHELL: Right. I just want to see the draft


                                                                                    34 (Pages 130 to 133)
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                                                 Page 134                                                        Page 135
 1   to see if there's any changes in it because it says          1   another meeting in the afternoon. What is that referring
 2   that --                                                      2   to?
 3           Lexa, do you see at the bottom of Page 5676          3      A I honestly don't remember.
 4   where it says post-interview dates.                          4      Q Is there anything that would refresh your
 5   BY THE WITNESS:                                              5   recollection?
 6      A Yes, sorry.                                             6      A No.
 7   BY MS. SCATCHELL:                                            7      Q Okay. No problem. All right. If you can open
 8      Q Okay. It says revised/close, read/edited. And           8   up Exhibit No. 10, please. And whenever you're ready,
 9   then it says, documents are sent to candidates for           9   just let me know.
10   fact-checking. Documents are sent to tenured faculty for    10      A Sorry, it's long.
11   feedback or questions and then there's a tenured faculty    11      Q No problem. I just wanted to make sure we didn't
12   meeting. What do each of these different designations       12   lose anybody.
13   represent?                                                  13      A I'm to the appendix so if you want to ask.
14      A So because it's a collective document, the             14      Q Well, just review the appendix.
15   personnel committee has a primary rider and a secondary     15      A Okay.
16   rider, they work together to write the first draft of the   16      Q Do you recognize that document?
17   document, then it's sent to the entire committee for        17      A No, I have not seen this document.
18   edits. Then it's sent to the candidate to make sure that    18      Q Okay. Do you know the content like what
19   there aren't any factual errors prior to it going to the    19   complaint this document is referring to?
20   whole tenured faculty.                                      20      A This is referring to what we discussed early on,
21      Q Okay. And then on Page 5675 in subsection 3. Do        21   which was the internal investigation based on an OIDE
22   you see that?                                               22   complaint from
23      A Yes.                                                   23      Q Okay. And in the appendix, do you see that or
24      Q Okay. Where it says Lexa and Sydney will have          24   could you go to the appendix?

                                                 Page 136                                                        Page 137
 1      MS. WERMUTH: There are multiple appendices. Which         1   results of the program chair search and includes Isabel
 2   one are you pointing to?                                     2   and Barbara from what I keep calling OIDE.
 3      MS. SCATCHELL: One. 8903.                                 3      Q Okay. And you previously testified that Barbara
 4      THE WITNESS: Yep, I'm there.                              4   has since left the university, correct?
 5   BY MS. SCATCHELL:                                            5      A Yes.
 6      Q Okay. What does the UT stand for in the                 6      Q Okay. And you mean program chair vote, not the
 7   tenure-track status.                                         7   search committee?
 8      MS. WERMUTH: Objection. Foundation. Dr. Murphy has        8      A Is that not what I said. Yes, program chair,
 9   neither authored this document --                            9   yes.
10   BY MS. SCATCHELL:                                           10      Q Okay. I just wanted to make sure.
11      Q If you know --                                         11             And do you remember why Isabel Diaz or
12      MS. WERMUTH: nor did she receive it at the time. Go      12   Barbara            were on this thread?
13   ahead.                                                      13      A I only know what's on the email, Sydney brought
14   BY THE WITNESS:                                             14   them into the thread.
15      A Untenured.                                             15      Q And do you remember having any conversation with
16   BY MS. SCATCHELL:                                           16   Barbara            about the program chair selection?
17      Q Okay. Great. Could you please open up Exhibit          17      A No.
18   No. 11.                                                     18      Q Okay. Do you remember having any conversation
19      A Okay. It's open. I'm reviewing it.                     19   with Isabel Diaz about the program chair selection?
20      Q Okay.                                                  20      A I don't remember.
21      A Okay.                                                  21      Q Okay. And do you have anything that would
22      Q What is that document?                                 22   refresh your recollection?
23      A The document is an email chain that begins with        23      A No.
24   Sydney asking for an additional meeting to talk about the   24      Q And do you know what Sydney is referring to when


                                                                                    35 (Pages 134 to 137)
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                                                 Page 138                                                          Page 139
 1   she says that -- actually, let me back up.                   1   the exception of the first page.
 2             Do you know what Ms. Diaz is stating in            2      A Okay.
 3   her February 20, 2019 email, which is Dillard_DePaul 3599    3      Q So I'm going to direct your attention to
 4   where she says, I am not saying that we are not able or      4   Dillard_DePaul 3636.
 5   willing to participate in a meeting with you and the         5      A Yep.
 6   dean. Our office investigates complaints of                  6      Q And where Isabel Diaz has an email to Sydney,
 7   discrimination and harassment and I am unclear as to what    7   you, Barbara           , Salma Ghanem, EEO_Investigations,
 8   role you see us having in the meeting. Can you please        8   and she says that, becasue there is the potential
 9   advise. Do you see that email?                               9   investigation and/or harassment, our office should not
10      A Yes.                                                   10   partake in the meeting. Do you see that part?
11      Q Okay. Do you know what Ms. Diaz is referring to?       11      A Yes.
12      MS. WERMUTH: Objection. Foundation. Objection            12      Q Okay. Do you know how the EEO complaint
13   vague.                                                      13   investigation process begins at the College of
14   BY THE WITNESS:                                             14   Communication?
15      A Beyond what's in the email, this is what I know.       15      MS. WERMUTH: Objection. Vague. Assumes facts not
16   BY MS. SCATCHELL:                                           16   of record. Foundation. Go ahead.
17      Q Okay. Could you open Exhibit No. 12 please --          17      THE WITNESS: What do you mean?
18   actually you know what, I just want you to review the       18   BY MS. SCATCHELL:
19   first page?                                                 19      Q I can rephrase. That's no problem.
20      MS. WERMUTH: You can look at the whole document,         20             Okay. So we had talked about it already
21   Lexa.                                                       21   that there is an EEO office or OIDE office, correct?
22   BY MS. SCATCHELL:                                           22      A Yes.
23      Q You could but that's what we're going to focus on      23      Q Okay. And as part of the OIDE or EEO office,
24   because I realize it's a repeat of Exhibit No. 11 with      24   they would process complaints that deal with


                                                 Page 140                                                          Page 141
 1    discrimination and harassment, correct?                     1   there anything else?
 2       A Yes.                                                   2      A All that I have to -- I would listen to the
 3       Q Okay. And my question to you is that if                3   complaint and then refer it to the appropriate channels
 4    somebody, if a student or faculty member raises a           4   for a more formal complaint that would then result in
 5    discrimination or harassment question or issue to this      5   that office deciding on an investigation or not.
 6    office, what is the next step in their investigatory        6      Q Okay. And what do you mean by a more formal?
 7    process, if you know?                                       7      A That again, you'd have to ask in terms of those
 8       MS. WERMUTH: Same objections.                            8   that are actually in that office.
 9    BY THE WITNESS:                                             9      Q Okay. And the college has not given you any sort
10       A I'm not in that office, so I can't tell you their     10   of guidelines on what you to expect when you refer a
11    exact process.                                             11   complaint to the EEO or the OIDE office, correct?
12    BY MS. SCATCHELL:                                          12      A The guidelines that I know are very general that
13       Q Okay. And you're testifying that you don't know       13   if a complaint is lodged in that office that they go
14    how that process would work?                               14   through their internal process of which I do not have
15       A I don't know.                                         15   details on that will have them make the decision as to
16       Q Okay. And as the Dean of the College of               16   whether or not they will launch an internal
17    Communications, what are your job expectations when        17   investigation.
18    you're faced with the discrimination or harassment         18      Q Okay. And did Sydney make a complaint of
19    complaint within the college?                              19   discrimination to you?
20       A What are my job expectations?                         20      A She did not, no.
21       Q Yes.                                                  21      Q And what would you consider to be a
22       A What I need to do. I would refer the person to        22   discrimination complaint?
23    the EEO or OIDE.                                           23      MS. WERMUTH: Objection. Vague.
24       Q Okay. And is that all that you have to do or is       24   BY THE WITNESS:


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                                                  Page 142                                                       Page 143
 1      A I think someone coming to me and saying I've been        1       A Yes.
 2   discriminated against.                                        2       Q Do you remember when that was?
 3   BY MS. SCATCHELL:                                             3       A It was -- I don't have the dates in front of me.
 4      Q Okay. Do you remember if any faculty members             4   It happened once in, was it, 2015 and another time in
 5   have come to you in the last say five years and               5   2017.
 6   complained about discrimination?                              6       Q Okay. So she was overturned twice?
 7      A The one conversation that I have had was with            7       MS. WERMUTH: Objection. Vague.
 8                                                                 8       THE WITNESS: (Nodding.)
 9     Q Okay. And what happened with the complaint that           9   BY MS. SCATCHELL:
10        made to you?                                            10       Q I'm just trying to understand what you meant by
11     A I referred her to, I keep saying OIDE, but I told        11   the two time periods?
12   her what her avenues were.                                   12       A Yes.
13     Q Okay. And what were those avenues?                       13       Q Okay. And did you have any discussion with Salma
14     A At that point, I was an associate dean, so I told        14   Ghanem about that decision?
15   her to go to -- if she had a formal complaint to go to       15       A No.
16   OIDE and that that was like her -- that was her pathway.     16       Q Okay. In your opinion, does an act of
17     Q Okay. And is                     still at the            17   discrimination have to be an overt act --
18   university?                                                  18       MS. WERMUTH: Object to the form. I'm sorry. Go
19     A No.                                                      19   ahead.
20     Q Okay. Do you know what happened to her?                  20   BY MS. SCATCHELL:
21     A Yes. She did not receive tenure.                         21       Q -- or could it be something that's more subtle?
22     Q Okay. And do you remember if there was a faculty         22       MS. WERMUTH: Object to the form of the question.
23   decision to not renew her contract that was overturned by    23   It's vague. It's confusing. It calls for opinion
24   Salma Ghanem?                                                24   testimony by a lay witness. It calls for a legal


                                                  Page 144                                                       Page 145
 1    conclusion. Go ahead, Lexa.                                  1      A No.
 2    BY THE WITNESS:                                              2   BY MS. SCATCHELL:
 3       A I think in my understanding there can be bias           3      Q Okay. And gender?
 4    without discrimination. There could be subtle forms of       4      A No.
 5    things like that, but I think that there's a distinction.    5      MS. WERMUTH: Objection. Relevance.
 6    BY MS. SCATCHELL:                                            6   BY MS. SCATCHELL:
 7       Q Okay. And what is that distinction in your              7      Q Okay. Is there any other examples of implicit
 8    opinion?                                                     8   bias that you can think of that you've seen?
 9       MS. WERMUTH: Same objection.                              9      MS. WERMUTH: Objection to the form of the question.
10    BY THE WITNESS:                                             10   Calls for a legal conclusion. Vague. Assumes facts not
11       A In my opinion, I think biases happen.                  11   of record. Misstates her prior testimony. Go ahead,
12    Discrimination can be negative consequences of that.        12   Lexa.
13    BY MS. SCATCHELL:                                           13   BY THE WITNESS:
14       Q Okay. And have you personally witnessed any            14      A So just types of bias, that's almost impossible
15    examples of this implicit bias at the College of            15   to answer, so no.
16    Communications?                                             16   BY MS. SCATCHELL:
17       MS. WERMUTH: Objection. Vague. Go ahead.                 17      Q Okay. Did Sydney ever discuss any sort of pay
18    BY THE WITNESS:                                             18   inequities with you or bring that to your attention?
19       A I need to think more in terms of what type of          19      A Yes.
20    bias you're talking about.                                  20      Q Okay. Do you remember what the nature of that
21    BY MS. SCATCHELL:                                           21   was?
22       Q Race, start there.                                     22      A Yes.
23       A Whether I've seen that?                                23      Q What was it?
24       Q Whether you've experienced it or observed it?          24      A So Sydney and                   both approached me


                                                                                     37 (Pages 142 to 145)
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                                                 Page 146                                                        Page 147
 1   about -- they saw the range for incoming assistant           1     A Pay raises occur in -- you're notified in
 2   professors when they were part of the search committee.      2   December and they kick in January 1st.
 3      Q Okay. What did they say to you about that?              3     Q All right. I'm going to go to 13. Could you
 4      A Concerns that the range was higher than current         4   open that email.
 5   salary, than their current salary.                           5     A Okay. I have it open.
 6      Q Okay. And what did you do with that information?        6     Q Okay. Could you review it and let me know if you
 7      A I explained that that's just the range that we          7   recognize that document.
 8   are approved to hire someone within, and that that           8     A Okay. I've reviewed it.
 9   doesn't necessarily mean that that person would get hired    9     Q Okay. Do you recognize that document?
10   at that level. And then also talked about just time and     10     A No.
11   compression of salaries.                                    11     Q Okay. Do you know who Vincent --
12      Q And what do you mean by time and compression of        12     A              .
13   salaries?                                                   13     Q And could please spell his name.
14      A So I explained and used myself as an example to        14     A Vincent, and then C-I-C-C-H-I-R-I-L-L-O.
15   that someone who's hired even five years or ten years       15     Q Okay. Great. Thank you. Do you happen to know
16   before is going to get hired at a particular salary, and    16   him?
17   give inflation and various other types of influences,       17     A Yes.
18   salaries go higher, even initial salaries. And so that      18     Q And who is he?
19   is kind of a normal process of what happens in terms of     19     A He was a faculty member that was brought in as an
20   hiring.                                                     20   assistant professor.
21      Q Okay. And do you know if there was a pay               21     Q Okay. Is he still at the university?
22   disparity that Sydney ended up getting corrected?           22     A No, he's not.
23      A No.                                                    23     Q Okay. What happened to him?
24      Q And when do pay raises occur?                          24     A He did not have a contract renewed.

                                                 Page 148                                                        Page 149
 1      Q Okay. And what is his ethnicity?                        1   evaluations.
 2      A He is white.                                            2      Q Okay. And could you expand on what that
 3      Q And do you remember what year that approximately        3   particular thread is about?
 4   was?                                                         4      A It is about --
 5      A I believe it was 2017. I don't remember exactly.        5      MS. WERMUTH: Objection. The document speaks for
 6      Q Okay. And then could you please open the next           6   itself. Go ahead.
 7   exhibit.                                                     7   BY THE WITNESS:
 8      MS. WERMUTH: So when you say next, can you tell us        8      A The thread is looking at the teaching evaluations
 9   what that is because I don't have 14, 15, 16. I go from      9   and questions that Sydney had about the means and how
10   13 to 17. Do you want to us to open 17.                     10   those were calculated in the standard deviations as well
11      MS. SCATCHELL: No. Thank you. I will send you that       11   as one of the teaching evaluations that had a different
12   right now.                                                  12   instructor name on it.
13   BY MS. SCATCHELL:                                           13      Q Okay. Ken is the name?
14      Q Could you open Exhibit No. 14, please.                 14      A It looked like it was Ken Krimstein.
15      MS. WERMUTH: I just got it. Did you get it, Lexa?        15      Q And who is he?
16      THE WITNESS: I haven't gotten it yet. I just got         16      A Ken Krimstein was a term faculty member and
17   it. I got 14.                                               17   instructor in public relations and advertising.
18   BY MS. SCATCHELL:                                           18      Q Okay. And is he still at the university?
19      Q Do you recognize that document?                        19      A No, he is not.
20      A I am just now looking at it.                           20      Q And when did he leave?
21      Q Oh, okay.                                              21      A He left Fall of 2020.
22      A Okay. I've read it.                                    22      Q Okay. Do you know why he left?
23      Q And what is this document?                             23      A He retired. Resigned, retired.
24      A This is an email chain talking about teaching          24      Q Okay. He resigned or retired?


                                                                                    38 (Pages 146 to 149)
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                                                 Page 150                                                       Page 151
 1       A I don't know which. I don't know if he had            1      Q Okay. Do you know who does?
 2   enough -- he, we'll say, resigned.                          2      MS. WERMUTH: Objection to form. Assumes facts not
 3       Q Got it. And do you know what his ethnicity was?       3   of record.
 4       A White, Jewish.                                        4   BY THE WITNESS:
 5       Q Okay. And do you know who DPUBLIC is or what          5      A They're not a formal group, so we don't have a
 6   DPUBLIC is?                                                 6   formal liaison.
 7       A Yes.                                                  7      Q And who is Depaulia?
 8       Q What is it?                                           8      A The Depaulia is the student print newspaper.
 9       A DPUBLIC is a university group of faculty who          9      Q And are you aware of any article that was written
10   identify as Black or people of color.                      10   about this lawsuit?
11       Q And do you know anything about -- or do you know     11      A Yes.
12   if they have any sort of meetings?                         12      Q Okay. And what was the nature of that article?
13       A I think they have, yes. I think they have            13      A The article included the lawsuit and talked about
14   meetings.                                                  14   like referenced that there was a lawsuit against the
15       Q Do you know if they've had any what they would       15   College of Communication.
16   call town hall meeting?                                    16      Q And is that all you remember from it?
17       A I don't. I know there have been town hall            17      A Yeah.
18   meetings, I don't know if they're specific to DPUBLIC.     18      Q Okay. Could you open up attachment 15, please.
19       Q And do you work with anybody from DPUBLIC            19      MS. SCATCHELL: Wait, does anyone need a quick break?
20   regarding any sort of racial inequities at the college?    20      MS. WERMUTH: Lexa, do you need a break?
21       A No --                                                21      THE WITNESS: It depends how much longer we're going
22       MS. WERMUTH: Objection to form. Assumes facts not      22   to go.
23   of record.                                                 23      MS. WERMUTH: Yeah, I have that same question.
24   BY MS. SCATCHELL:                                          24      MS. SCATCHELL: I just sent you guys Exhibit No. 16


                                                 Page 152                                                       Page 153
 1   and I only have about four or five exhibits left to go.     1   record that this is an incomplete version of the
 2     MS. WERMUTH: So is that an hour or --                     2   conversation, so I think that's important to note. Go
 3     MS. SCATCHELL: Should be a half hour, not even.           3   ahead.
 4     MS. WERMUTH: Lexa, do you want to take a quick            4      THE WITNESS: Okay.
 5   break?                                                      5   BY MS. SCATCHELL:
 6     THE WITNESS: I'm okay if we keep going.                   6      Q And then could you just review it and let me know
 7     MS. WERMUTH: Okay. Can we go off the record for one       7   when you finish reviewing it?
 8   second, please.                                             8      A Okay. I've reviewed it.
 9     MS. SCATCHELL: Sure.                                      9      Q Okay. Do you recognize that email thread?
10                       (Whereupon, a discussion               10      A Yes.
11                        was had off the record.)              11      Q Okay. What is it?
12     MS. WERMUTH: Back on the record. Let's go.               12      A This is an email thread that was part of setting
13     THE WITNESS: Okay I've got it open.                      13   up a meeting that Sydney and I had in the spring.
14   BY MS. SCATCHELL:                                          14      Q Okay. And do you see the email that is on page
15     Q Okay. Could you please read through that               15   5826?
16   document.                                                  16      A Yes.
17     MS. WERMUTH: Sorry, are we looking at 15?                17      Q That is from Sydney to you?
18     MS. SCATCHELL: Yes.                                      18      A Yes.
19     MS. WERMUTH: Is there a portion of 15 that's cuff        19      Q And do you see where she says that I have
20   off. It starts mid page and it looks --                    20   experienced instances of microaggression, social
21     MS. SCATCHELL: Yeah. It's your production, I just        21   isolation and treatment unbecoming of the College of
22   wanted that specific email so that's why I included just   22   Education?
23   that email.                                                23      A Yes.
24     MS. WERMUTH: Okay. So I'm going to state for the         24      Q And then the rest of the paragraph goes onto say


                                                                                   39 (Pages 150 to 153)
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                                                Page 154                                                         Page 155
 1   a list of her concerns?                                     1   goes from assistant to associate to full. In terms of
 2      A Yes.                                                   2   career advancements, administrative or leadership
 3      Q Where she says that as U.S. born African-American      3   opportunities, are kind of a separate pathway.
 4   woman who was tenure track and then it goes on to have      4       Q Okay. Then let's go to -- it's your opinion that
 5   one, two, three, four, five, six bullet points?             5   the second bullet point her saying she feels socially
 6      A Yes. Do I see that, yes.                               6   isolated and harassed as a U.S. born African-American
 7      Q Okay. Is it still your testimony that Ms.              7   woman who is tenure track within the college is not
 8   Dillard never complained to you about feelings of being     8   considered to discrimination?
 9   discriminated against?                                      9       MS. WERMUTH: I'm going to object to the form of the
10      A We did have that conversation, so I guess             10   question, and I also object insofar as your question
11   discrimination biases we -- so this came forward. I        11   misstates the record evidence. Go ahead, Lexa.
12   don't recall any conversation where she explicitly said    12   BY MS. SCATCHELL:
13   that she felt discriminated against.                       13       Q I will reask the question, okay.
14      Q Okay. I guess let's go through these concerns         14              So please review the second bullet point
15   one by one. So is it your opinion that when Ms. Dillard    15   beginning with socially isolating. And after you review
16   said that she's concerned about having limited career      16   it, please let me know if it's your opinion that you
17   advancement opportunities as an African-American woman     17   don't consider that bullet point to be discrimination or
18   who was tenure track, you don't believe that to be         18   harassment.
19   discrimination?                                            19       MS. WERMUTH: And I object to the form of the
20      A I think there's limited career advancement            20   question. Go ahead.
21   opportunities in a college.                                21   BY THE WITNESS:
22      Q Okay. What do you mean by that?                       22       A So we're getting hung up on discrimination I
23      A That there -- well, I shouldn't even say career       23   guess in this, and so these were bullet points that I
24   advancement. The academic profile of a faculty member      24   took seriously and talked to Sydney about when we met.


                                                Page 156                                                         Page 157
 1   BY MS. SCATCHELL:                                           1   had moved forward and resolved or we were in a place
 2      Q I guess maybe we should start with what is your        2   where we were going to work together on this.
 3   definition of discrimination?                               3      Q Okay. And do you feel that ultimately ended up
 4      A I think I answered that before.                        4   -- that you guys worked together and the issue was
 5      Q Yes. In context of this email?                         5   resolved?
 6      A In context of this email?                              6      A We ended up with her taking on the graduate
 7      Q Yes.                                                   7   director role in the public relations and advertising
 8      A This would be her laying out some of her concerns      8   program looking at different types of funding streams for
 9   and her experiences.                                        9   leadership development opportunities, and so that seemed
10      Q And did you escalate this to OIDE or the EEO?         10   to be where the conversation moved.
11      A I don't think I did because we were meeting to        11      Q Okay. And then I just sent a corrected Exhibit
12   talk about it.                                             12   No. 15. Could you take a look at that.
13      Q Okay. Do you have any particular reason why you       13      MS. WERMUTH: I'm sorry, what to you mean by
14   didn't refer it to the EEO office?                         14   corrected?
15      A I think I was waiting for us to have our              15      MS. SCATCHELL: I sent the wrong one. Hang on one
16   conversation.                                              16   second. Could we go off the record for one second.
17      Q Okay. And then have after you had your                17                        (Very brief recess.)
18   conversation?                                              18      MS. SCATCHELL: Okay. That should be the right one.
19      A After we had our conversation, I think we talked      19      THE WITNESS: I haven't gotten it yet.
20   a lot about different opportunities, that was the          20      MS. WERMUTH: I have not either.
21   conversation I think I mentioned to you before about       21      THE WITNESS: I just got it.
22   other kinds of internal and external leadership            22   BY MS. SCATCHELL:
23   opportunities in ways that we can support her goals. And   23      Q Okay. And is that document with the exception of
24   I think at the end of that conversation, it felt like we   24   the email on the first page the same document that you


                                                                                    40 (Pages 154 to 157)
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                                                 Page 158                                                         Page 159
 1   just reviewed?                                               1      MS. WERMUTH: Because these demands are based --
 2      A Yes.                                                    2   they're calls to action to the university, not to the
 3      Q Okay. Could you please open up Exhibit No. 16.          3   College of communication?
 4      A Okay.                                                   4      MS. SCATCHELL: Right. And then she said she was
 5      Q Do you recognize that document?                         5   just going to review it and let me know what the
 6      A I did see this when it first came out.                  6   university has implemented and I said sure.
 7      Q And what is it?                                         7      MS. WERMUTH: No, no, no. She did not say she was
 8      A It's a message from DPUBLIC that went out to            8   going to review for what the university implemented. I
 9   faculty, staff, and students.                                9   don't know that she has -- let me just object to
10      Q Okay. And what is the -- if you could just             10   foundation. She is the Dean of the College of
11   summarize what believe this article says?                   11   Communication.
12      A This would be a summary of some of the concerns        12   BY MS. SCATCHELL:
13   that they are raising for all faculty staff and students    13      Q Within the university right?
14   of African descent at the university, and then a list of    14      MS. WERMUTH: Lexa, you can --
15   some requests and recommendations.                          15   BY THE WITNESS:
16      Q Do you know if any of these recommendations have       16      A Sorry. I am a part of the university, but my
17   been implemented by the College of Communication?           17   role is as Dean of the College of Communications, so the
18      A Many of the recommendations are university based,      18   recommendations are university based.
19   so I'd have to go through each bullet and see how we have   19   BY MS. SCATCHELL:
20   operationalized those.                                      20      Q Did you have any discussion with anybody else
21      Q Sure.                                                  21   from the university regarding any of the these discussion
22      A I can say as I see one that we now have our DEI        22   about race issues?
23   plan. I mean, I don't know if you want me to --             23      A The university has ongoing discussions about race
24      Q Just point out which ones have been --                 24   for students, faculty, and staff.


                                                 Page 160                                                         Page 161
 1      Q Did you participate?                                    1   level, there's now an associate provost for diversity,
 2      A Yes.                                                    2   equity, and inclusion. I believe that person was hired
 3      Q Okay. So in your experience, would you be able          3   in 2020. Many of the activities I think on this bullet
 4   to look at the bullet points and decide or answer which      4   point list are things that are within that person's kind
 5   ones have been implemented and which s have not?             5   of purview and also working with the vice-president for
 6      MS. WERMUTH: I'm going to object to foundation and        6   diversity equity and inclusion at the university level.
 7   the form of the question.                                    7   So I know many of these things are happening in those
 8   BY MS. SCATCHELL:                                            8   kinds of conversations. I think that DE and I factors
 9      Q You could answer.                                       9   into probably safe to say all decisions so things like
10      A I can looks at the bullet points and tell you          10   improving retention, improving admissions and graduation
11   what I think. Some of them are already being addressed.     11   rates, I think these are all things that are priorities.
12   Some things are being addressed along the way in terms of   12   As I mentioned, unit level DE and I plans, we are -- we
13   conversations, so I wouldn't feel confident in being a      13   had already created one. But for those units that have
14   kind of a final word on this.                               14   not created one, there is a call out now for all colleges
15      Q That's fine.                                           15   and units to create a DE and I action plan. I think we
16      A Okay. Do you want me to go through -- I don't          16   already talked about trainings that are now being
17   know what the question is.                                  17   implemented.
18      Q Whatever ones you know that have been                  18      Q Okay. Anything else?
19   implemented, whatever ones you can answer, answer. If       19      MS. WERMUTH: Again, objection. Foundation.
20   you can't, that's -- I am not asking you to say I don't     20   BY THE WITNESS:
21   know what this bullet -- just when you go through the       21      A So, you know, other more specifics things, I
22   bullet point, that would be helpful, that's all.            22   wouldn't be the right person to say yes or no.
23      A So in university conversations I think DE and I        23   BY MS. SCATCHELL:
24   things that have been implemented at the university         24      Q Who would be the right person?


                                                                                     41 (Pages 158 to 161)
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                                                Page 162                                                        Page 163
 1      MS. WERMUTH: Objection. Foundation.                     1      MS. WERMUTH: What was that petition, objection.
 2   BY THE WITNESS:                                            2   Foundation.
 3      A For each of these things, I think you would talk      3      MS. SCATCHELL: She said she's aware of it.
 4   to the associate provost for diversity, equity, and        4      MS. WERMUTH: Vague. In addition.
 5   inclusion or the vice-president for diversity.             5   BY THE WITNESS:
 6   BY MS. SCATCHELL:                                          6      A Yeah, actually as I say that, I'm not sure if I
 7      Q Okay. And were you aware of an external petition      7   am thinking of the same thing you're thinking. So if you
 8   that was directed at the College of Communication          8   want to be more specific, that would help me.
 9   regarding the discriminatory behavior by certain           9   BY MS. SCATCHELL:
10   professors?                                               10      Q That's why I was trying to drill down into it.
11      MS. WERMUTH: Objection. Argumentative. You can         11   So was it -- do you recall an article being published in
12   answer.                                                   12   the Depaulia newspaper about a petition calling for an
13   BY THE WITNESS:                                           13   end to discrimination at the College of Communication?
14      A A petition about certain professors.                 14      A Yes, I'm aware of that article.
15   BY MS. SCATCHELL:                                         15      Q And do you remember what the nature of that
16      Q That were being discriminated against?               16   petition was?
17      MS. WERMUTH: Again, objection insofar as it is         17      A The nature of the petition was about looking at
18   argumentative and assumes facts not of record.            18   the College of Communication and the practices in the
19   BY THE WITNESS:                                           19   College of Communication.
20      A Yes. I am aware of an external petition.             20      Q Okay. What did you do, if anything, after you
21   BY MS. SCATCHELL:                                         21   read that article?
22      Q Okay. What was that petition?                        22      MS. WERMUTH: Objection. Foundation. I have no idea
23      MS. WERMUTH: What was the question?                    23   of like the timing of this. Foundation. Vague. Go
24      MS. SCATCHELL: What was that petition.                 24   ahead. You can answer Lexa.


                                                Page 164                                                        Page 165
 1      THE WITNESS: I am trying to think how to answer.        1      Q Can you just review it and let me know when you
 2   What did I do?                                             2   finish.
 3   BY MS. SCATCHELL:                                          3      A Okay.
 4      Q Did you relay it to the EEO office?                   4      Q Do you recognize that document?
 5      A The petition was not directed to me.                  5      A Yes.
 6      Q But it was directed to the College of                 6      Q Okay. What is it?
 7   Communication.                                             7      A This was the email chain post the public
 8      MS. WERMUTH: Objection. Assumes facts not of            8   relations and advertising program chair election.
 9   record.                                                    9      Q Could you open up Exhibit No. 18, please.
10   BY THE WITNESS:                                           10      A Okay.
11      A I don't have it in front of me so I can't tell       11      Q Okay. What is that document?
12   you one way or the other -- so it was not sent to me to   12      A It's an email chain between              and Sydney
13   do anything.                                              13   regarding her review and kind of the outcome of
14   BY MS. SCATCHELL:                                         14   clarifying some questions and things about the review and
15      Q All right. Could you please open up Exhibit No.      15   teaching.
16   17.                                                       16      Q Okay. And then who is
17      A I don't know where Exhibit No. 17 is.                17      A                   is an associate professor in the
18      Q It's in the prior email.                             18   College of Communication.
19      MS. WERMUTH: You sent us several emails in the last    19      Q Okay. And was she just voted -- was there a vote
20   hour. It's in an email that I have timestamped 4:04 if    20   involving
21   that's helpful to you, Lexa.                              21      A She just went through the tenure & promotion
22      THE WITNESS: I have one from 3:44. Oh, wait, here.     22   process.
23   Okay. I have it open.                                     23      Q And do you remember if there was anything unusual
24   BY MS. SCATCHELL:                                         24   about the vote process with Ms.


                                                                                   42 (Pages 162 to 165)
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                                                  Page 166                                                         Page 167
 1      MS. WERMUTH: Objection. Vague. Go ahead.                   1      Q Okay. What part was unclear about it?
 2   BY THE WITNESS:                                               2      A As it turned out, and this is what it seemed like
 3      A So her vote was taken on Zoom because it was when        3   someone who creates the pole cannot actually vote in the
 4   the first time we had to do personnel and do our              4   pole, and so the chair of the personnel committee logged
 5   personnel process and vote via Zoom.                          5   onto two separate devices, so we weren't entirely sure if
 6   BY MS. SCATCHELL:                                             6   that was throwing in an extra vote. There was a no vote
 7      Q Okay. And were you present for that vote?                7   that came in, and there was no discussion that seemed to
 8      A Yes, I was.                                              8   indicate that in terms of the conversation of the tenured
 9      Q Okay. And do you remember hearing anybody say            9   faculty. And so that's what brought up the overall
10   that they didn't want Ms.         to feel like she has any   10   discussion about what was going on with the vote.
11   enemies at the College of Communication?                     11      Q Okay. So what is your opinion on why somebody
12      A I do remember someone saying that.                      12   said we don't want Ms.           to feel like she has
13      Q Okay. Do you remember who said that?                    13   enemies?
14      A I don't.                                                14      A I really don't --
15      Q And what is Ms. Knight's ethnicity?                     15      MS. WERMUTH: Objection --
16      A White.                                                  16   BY THE WITNESS:
17      Q And was there some allegation about there being         17      A -- have an opinion on that.
18   four votes or something like that?                           18   BY MS. SCATCHELL:
19      MS. WERMUTH: Objection. Vague. Go ahead.                  19      Q Do you know how many votes were taken that day?
20   BY THE WITNESS:                                              20      A There were two votes. There were two others that
21      A So the vote process was challenging because we          21   didn't count because they didn't show up for everybody.
22   were doing it via poll on Zoom and so it was unclear         22      Q What do you mean they didn't show up for
23   whether or not it had been accurately done.                  23   everybody?
24   BY MS. SCATCHELL:                                            24      A I don't have it in front of me, so I can't


                                                  Page 168                                                         Page 169
 1   remember the details of how it went. But there were two       1      A (Nodding.)
 2   votes that had results and then there was at least one        2      Q Okay. Did the faculty handbook allow for voting
 3   that not everybody had access to the poll so they             3   more than one time?
 4   scrapped it, they scrapped it before they actually showed     4      A The faculty handbook, once someone has voted,
 5   the results.                                                  5   they're not allowed to change their vote. I believe
 6      Q Okay. Do you remember what the results of each           6   that's how it's put.
 7   vote was?                                                     7      Q Okay. And what happens if the person changes
 8      A The first one had one negative vote, and the             8   their vote?
 9   second one -- I don't remember how that fell out. There       9      A I'm sorry?
10   were questions of a missing vote or whether it like kept     10      Q You said they're not allowed to change their
11   kicking in. I could try to talk through it, but I don't      11   vote. And what happens if they do?
12   have it in front of me to be so accurate.                    12      A I think the way it's written is to avoid someone
13      Q Okay. Would that be something you could produce         13   who once a vote's been announced going up to the person
14   to your attorney?                                            14   taking the vote and saying I now want to vote a different
15      MS. WERMUTH: Objection. We have produced this             15   way.
16   information.                                                 16      Q Okay. And is the College of Communication
17   BY THE WITNESS:                                              17   changing its voting procedures?
18      A Yeah.                                                   18      A We have just gone through a process of changing
19      MS. WERMUTH: Oh, no, actually, I don't think you          19   and clarifying our voting procedures.
20   guys ever asked for this information. Strike that.           20      Q And was there a technical glitch during that
21      MS. SCATCHELL: Okay. We'll look into that.                21   vote?
22   BY MS. SCATCHELL:                                            22      A That is what we -- that's why they called for
23      Q But is it something that you do have a record of        23   another vote --
24   it?                                                          24      Q Okay. What was that glitch?


                                                                                      43 (Pages 166 to 169)
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                                                  Page 170                                                        Page 171
 1      MS. WERMUTH: Did you finish your answer. I don't          1   do have a couple of follow-up. So Lexa, I'm sorry to
 2   know if she was done.                                        2   keep you a little bit longer but, if I could get five
 3      MS. SCATCHELL: I apologize.                               3   minutes, that would be helpful to get my thoughts
 4   BY THE WITNESS:                                              4   together and then we can rejoin. I don't have a lot so
 5      A I can just continue where it was. I think that          5   it should be relatively quick.
 6   the concern was that we were again on Zoom and it was        6       MS. SCATCHELL: Great.
 7   very new trying to figure out a polling system and trying    7                            (Short recess.)
 8   to figure out what was going on when someone's running       8       MS. WERMUTH: Dr. Murphy, I thank you for your
 9   the poll and it's on a Separate device.                      9   patience. Let's go on the record.
10   BY MS. SCATCHELL:                                           10                   EXAMINATION
11      Q Okay. Who ran the poll?                                11   BY MS. WERMUTH:
12      A Paul Booth.                                            12       Q I have a couple of questions for you.
13      Q And do you if he's the one who said we don't want      13             Early on you were asked some questions
14   Ms.          to feel like she has enemies at the college?   14   about mandatory training in the college and you testified
15      A I don't know.                                          15   about some in-person training. Are employees also
16      Q Okay. Do you remember at what point of the             16   required to go through any virtual or digital sort of
17   meeting you heard that statement?                           17   modules related to topics of discrimination and
18      A I'm sorry, can you repeat that?                        18   harassment?
19      Q Do you know at what point of the meeting you           19       A Yes.
20   heard it, was it like toward the beginning, middle, or      20       Q Okay. And does that come through a compliance
21   end?                                                        21   office?
22      A I don't remember.                                      22       A Yes.
23      MS. SCATCHELL: Okay. We are finished.                    23       Q Okay. And you were asked at one point how long
24      MS. WERMUTH: Okay. Can I take five minutes, and I        24   does it take to make a tenure decision. And you

                                                  Page 172                                                        Page 173
 1   answered, about how long you as a dean have to weigh in      1   college level, and then the dean in -- so they get that
 2   on the process. But I'd like to make sure that we're         2   in December, and then they get the dean recommendation in
 3   clear for the record, the process has multi layers; is       3   January. They get the UBPT according to the handbook by
 4   that correct?                                                4   May 15th.
 5      A Yes.                                                    5      Q Okay. And then the provost in June?
 6      Q And it goes through multiple review levels,             6      A Provost by I think June, but I don't remember the
 7   correct?                                                     7   exact day, but there is a date in the handbook.
 8      A Yes.                                                    8      Q Let's go to the testimony about the PRAD chair
 9      Q Okay. And that process takes how long from start        9   election in the Winter of 2019 during which Dr. Dillard
10   to finish?                                                  10   was a nominee. In the Winter of 2019, if I recall
11      A From start to finish, the application is first         11   correctly, early to mid February of 2019?
12   declared of May of spring that someone wants to go up for   12      A Yes.
13   the spring of the prior year for tenure & promotion, and    13      Q Okay. And so how long had you been in the role
14   then the first level of review is in the fall with the      14   of acting dean or interim dean at that point in time?
15   college. And then the next level of review would be with    15      A About three months.
16   UBPT in the winter, and then it moves forward from there.   16      Q And had you presided over another program chair
17   So the decisions don't actually come out until mid may to   17   election and deliberation prior to February of 2019?
18   June.                                                       18      A No.
19      Q The final decision from the provost?                   19      Q Okay. And you testified that Dr. Dillard met the
20      A Correct.                                               20   minimum qualifications for the position; do you recall
21      Q But the candidate is made aware of each level of       21   that testimony?
22   review the recommendation at each level in real-time; is    22      A Yes.
23   that right?                                                 23      Q Okay. And you described the minimum
24      A They are made aware of the recommendation for the      24   qualifications as being a tenure-track faculty member in


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                                                 Page 174                                                         Page 175
 1   the program with tenure. Is it required that the             1             So you were asked some questions about the
 2   candidate have tenure at the time of the nomination?         2   exchange between you and Dr. Dillard on May 1st of 2019;
 3       A Not required. I think it's preferred.                  3   do you see that?
 4       Q Okay. You also testified that what resulted from       4      A Yes.
 5   the deliberations on February of 2019 was a new process      5      Q And did you and Dr. Dillard meet that same day to
 6   which included a job description for the program chair       6   discuss these topics?
 7   position for all of the program chairs in the college; is    7      A I believe we had a meeting set up for soon after
 8   that right?                                                  8   that. I don't remember if it was the same day, but it
 9       A Yes.                                                   9   was -- we already had a meeting set up.
10       Q And once that process had been developed and          10      Q Okay. And based on your prior testimony, I just
11   reduced to writing, was that distributed to the faculty     11   want to make sure I understood, so you did discuss the
12   and the college for input and feedback?                     12   issues that she raised in her issue to you; is that your
13       A Yes.                                                  13   recollection?
14       Q And that would have included distribution to Dr.      14      A Yes.
15   Dillard for her feedback; is that right?                    15      Q And the outcome of that discussion was that you
16       A Yes.                                                  16   committed to assist her in her leadership plan and
17       Q Okay. Can you for a moment go back to the             17   identifying and securing and in other ways supporting her
18   corrected Exhibit No. 15.                                   18   leadership opportunities?
19       A Can you tell me where? Let's see, I have so           19      A Yes.
20   many.                                                       20      MS. SCATCHELL: Objection. Form.
21       Q It was sent at 5:09, at least that's when I got       21   BY MS. WERMUTH:
22   it.                                                         22      Q Okay. So I see that this email trail then goes
23       A Got it.                                               23   onto include notice from Sydney to you that she had been
24       Q Do you have it, okay.                                 24   selected to participate in a woman and education


                                                 Page 176                                                         Page 177
 1   leadership program; do you see that?                         1      MS. WERMUTH: The facts are in evidence. The
 2      A Yes.                                                    2   documents are in evidence.
 3      Q Okay. And so she inquired of you as to whether          3      MS. SCATCHELL: Okay. That's argumentative. I move
 4   or not there would be university funding for this            4   to strike that. Go ahead.
 5   opportunity, right?                                          5   BY MS. WERMUTH:
 6      A Yes.                                                    6      Q Okay. So now in May 1 of 2019, that was --
 7      Q And you ultimately did help her secure that             7   Strike that.
 8   funding by reaching out to academic affairs; is that         8              Could you look back at Exhibit No. 12,
 9   right?                                                       9   please, if you can find that. I don't know if you still
10      A Yes.                                                   10   have it open.
11      Q Okay. Now, as of May 1, 2019, where was --             11      A Okay. Yes.
12   Strike that.                                                12      Q You have that open, okay. So you've already
13              You testified earlier there were three           13   testified about this email trail in February of 2019. In
14   individuals who applied for tenure in the 2018, 2019        14   the last email in this trail that you're copied on is
15   academic year, right?                                       15   from Isabel Diaz; do you see that?
16      A Yes.                                                   16      A Yes.
17      Q And Dr. Dillard was one of them?                       17      Q And it's dated February 20, 2019; do you see
18      A Yes.                                                   18   that?
19      Q Okay. So by May 1 of 2019, she had been notified       19      A Yes.
20   at least through the college level that the college was     20      Q Okay. And this was the meetings that and the
21   supporting her application for tenure, correct?             21   conversations that Sydney wanted to have with you about
22      A Yes.                                                   22   the PRAD chair selection process, right?
23      MS. SCATCHELL: Objection. Form. Assumes facts not        23      A Right.
24   in evidence. You can answer.                                24      Q Okay. And as of February 20, 2019, Isabel Diaz


                                                                                     45 (Pages 174 to 177)
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                                                   Page 178                                                        Page 179
 1   told Sydney, according to this email, that if after            1      A I did explain what happened and followed up in
 2   meeting with you, if she decided she wanted to -- that         2   writing.
 3   she had a complaint that she should contact Barbara            3      Q You followed up in writing. I'm going to send an
 4              or Isabel to schedule time to meet and discuss      4   email around. I guess this would be -- what was the last
 5   those concerns; do you see that?                               5   exhibit marked, Ms. Tufano?
 6      A Yes.                                                      6      THE COURT REPORTER: 18.
 7      Q Okay. Do you know if Dr. Dillard ever did that?           7      MS. WERMUTH: I am marking what I'm sending as
 8      A I do not know.                                            8   Exhibit No. 19 or ask that it be marked Exhibit No. 19.
 9      Q Okay. Now, with respect to                      tenure    9   Let me know when you get it, please?
10   voting issue, was that something that you communicated        10                      (Exhibit No. 19 was marked
11   with the UBPT about?                                          11                       for identification.)
12      A Yes.                                                     12      THE WITNESS: Just got it.
13      Q So as the dean of the college, when a tenure case        13      MS. WERMUTH: Do you all have it? Gia, do you have
14   leaves the college and goes to the UBPT, are you involved     14   it?
15   at all in the UBPT's review of the case?                      15      MS. SCATCHELL: Yes.
16      A Yes.                                                     16   BY MS. WERMUTH:
17      Q And what is that involvement, Dr. Murphy?                17      Q Oh, terrific, okay.
18      A I am called to a meeting with them, and they             18             Dr. Murphy, do you recognize that
19   can -- it's basically an interview of the dean.               19   document?
20      Q And so did the committee in that interview with          20      A Yes.
21   you question you on the voting issue with respect to          21      Q What do you recognize it to be?
22             Knight's case?                                      22      A This is the email follow-up that I sent to the
23      A Yes.                                                     23   University Board for Promotion & Tenure that explains
24      Q And did you explain to them what happened?               24   voting in        Knight's case.


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 1      Q Okay. So based on your interactions with the              1      A March 9, 2021.
 2   UBPT, they wanted to understand what happened with the         2      Q Okay. And is that the first communication that
 3   poll voting in her case, correct?                              3   you had with UBPT about the voting issue or glitch?
 4      A Yes.                                                      4      MS. WERMUTH: Objection. Asked and answered.
 5      Q And even in spite of the issues with the poll             5   BY THE WITNESS:
 6   voting in her case, the UBPT decided to grant her tenure       6      A This would have been just a few days after -- I
 7   or recommended that she be granted tenure; is that             7   probably met with them the Friday before for the
 8   correct?                                                       8   interview, so I followed up with this email after that
 9      A Yes.                                                      9   Friday.
10      MS. WERMUTH: Okay. And by the way, that was                10   BY MS. SCATCHELL:
11   produced to you, Gia.                                         11      Q Okay. And were you aware if there was any
12              So anyway, I have no further questions at          12   complaints made to the university about the voting
13   this time.                                                    13   process?
14      MS. SCATCHELL: Okay. I just have one follow-up             14      A A complaint made?
15   question.                                                     15      Q Uh-huh.
16                FURTHER EXAMINATION                              16      A No, I'm not aware of a complaint.
17   BY MS. SCATCHELL:                                             17      MS. SCATCHELL: Okay. I have no further questions.
18      Q When was              Knight's vote?                     18      THE COURT REPORTER: Signature?
19      A It would have been in November of 2020.                  19      MS. WERMUTH: Yes, we will reserve. Thank you.
20      Q Okay. And what is the date on Exhibit No. 19,            20                 ********
21      A That is March 9th --                                     21                         (Ending time: 5:59 p.m.)
22      Q The date that -- Sorry. I just wanted to clarify         22
23   the date that you sent the email to                           23
24      Q March 9, 2021?                                           24


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 1               REPORTER'S CERTIFICATE
 2          The within and foregoing statement of the
 3   witness, ALEXANDRA MURPHY, was taken before DEANNA L.
 4   TUFANO, CSR, and Notary Public, at 121 West Wacker Drive,
 5   Suite 2300, Chicago, Illinois, County of Cook, at 12:00
 6   p.m. on the 21st of April, A.D., 2022.
 7         The said witness was first duly sworn and was
 8   then examined upon oral interrogatories; and the
 9   questions and answers were taken down in shorthand by the
10   undersigned, acting as stenographer and Notary Public;
11   and the within and foregoing is a true, correct, and
12   accurate record of all of the questions asked of and
13   answers made by the said witness, ALEXANDRA MURPHY, at
14   the time and place hereinabove referred to.
15         The undersigned is not interested in the within
16   case, nor of kin or counsel to any of the parties.
17         Witness my official signature and seal as Notary
18   Public in and for Cook County, Illinois on this
19   5th Day of May, A.D., 2022.
20                     __________________________
                       DEANNA L. TUFANO, CSR,
21                     CSR No. 084-003819
                       MAGNA LEGAL SERVICES
22                     SEVEN PENN CENTER
                       1635 MARKET STREET, 8TH FLOOR
23                     PHILADELPHIA, PA 19103
                       (866) 624-6221
24




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Sent:                  Monday, February 18, 2019 8:58:27 PM
To:                    Dillard, Sydney
Cc:
Subject:               Re: PRAD Program Chair election follow-up meeting

Hi Sydney,

Thank you for reaching out. I was planning on following up with you to continue our
conversation since we had such limited time last Friday. That is fine if you would like to meet
with                        present. I can ask    to look into a time that will work for all of us.
Could someone please tell me if she should include both                      l in the calendar
search or if it should be whomever has availability?

I will say that there were no formal minutes taken during the meeting, so I won’t have anything
for us to review. Hopefully, when we can talk without being rushed, I will be able to clarify what
I can about how the conversation unfolded. The primary duties of the chair position and the
election process are in the document that I sent out last week. I can bring hard copies to the
meeting to share with everyone.

All my best,
Lexa.

On Feb 18, 2019, at 4:43 PM, Dillard, Sydney <SDILLAR2@depaul.edu> wrote:


      Dear Lexa,

      After the Public Relation and Advertising program’s (PRAD) last faculty meeting on
      2/15/19, you and I were only able to speak briefly. I wanted to follow up with you to
      review the details of our talk and extend the conversation. As I recall, you noted:
           1. I am qualified for the PRAD program chair position.
           2. There were no areas of concern discussed during the voting meeting in reference
              to my qualifications for the PRAD program chair position.
           3. I did not receive a majority vote in favor of my election for the PRAD program chair
              position.
           4. The voting discussion for electing the PRAD program chair focused predominantly
              on reshaping the program chair position.
           5. The voting discussion for electing the PRAD program chair found the position
              difficult for anyone to continue to effectively manage as it currently stands.
           6. The next steps moving forward would be to extend another call out for
              nominations within PRAD and hold another election or complete an external open-
              rank search (filling Raju Jain’s position) for the PRAD program chair position.

      As I am seeking clarity surrounding the details of a meeting that did not include a
      discussion of my qualification, but led to a majority vote in opposition to my nomination to
      program chair (12-opposed, 3- favor), I would like to request a meeting with you and




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    DePaul’s Employee Engagement & Equal Employment Opportunity representatives to
    discuss this matter. I am currently unclear about a number of factors that led to this
    outcome, given my history of service to the track, college, and university and current
    standing, as I’ve positively moved toward tenure. In our meeting I would like to request
    that you and I review the following items:
           The minutes of the 2/15/19 PRAD faculty meeting. As you noted, there were no
             concerns specifically surrounding my qualifications for the position and the voting
             discussion focused only on restructuring the program chair position. If this was the
             context of the meeting, as an active tenure-track faculty member of PRAD, I was
             excluded from the conversation when you facilitated the voting procedures and
             requested, I leave the meeting. The discussion of restructuring the program chair
             position was initiated during a time in which deliberations on my qualifications
             were supposed to be the only topic under discussion. Thus, I would like to request
             a copy of and review the minutes for the entire PRAD program faculty program
             meeting.
           The primary duties of the Program Chair position
           My qualifications for the Program Chair position
           My qualifications for leadership positions in CMN
           CMN’s processes and procedures governing the method through which program
             chair voting deliberations are followed
           CMN’s processes and procedures for assessing a nominee’s qualifications during a
             voting discussion
           CMN’s future plans for filling the PRAD program chair position


    I am seeking clarity for future reference in the event that I am nominated, qualified for,
    willing to, and am the only viable candidate in the selection pool for another leadership
    position in CMN. With the conflicting information that I am receiving about my
    qualifications (no concerns noted in the voting meeting vs. 80% vote opposed to election)
    and my exclusion from this potentially program changing discussion (reshaping the
    program chair position), I am feeling isolated, uninformed, and unclear about my standing
    through the lens of my peers in PRAD and within CMN or the direction of the program’s
    future structure. I would like to also request that we meet sooner, rather than later, while
    the details of this unfortunate situation are still current.

    I look forward to discussing CMNs commitment to diversity and inclusion in leadership
    through objective processes. I also hope to review the manner in which subjective criteria
    in this specific instance reveal an employment environment where race and gender
    discrimination flourishes through exclusion directed towards those within protected
    classes, such as myself, given that I am the only tenure-track/tenured African American
    woman within PRAD and the College of Communication. I can make myself available
    almost any day this week for a meeting with you,                    .

    Sincerely,

    Sydney Dillard




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    --
    Sydney Dillard, Ph.D.
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    College of Communication, DePaul University
    14 E. Jackson Blvd., Ste 1261, Chicago, IL 60604
    office: 312.362.8840
    Faculty Profile | Follow on twitter @DrSydneyjd

    Communications Coordinator, DPUBLC
    Professional Freedom & Responsibilty Chair, Advertising Division, AEJMC
    Grant Program Chair, Minority and Communications Division, AEJMC




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                 EXHIBIT D

  DR. GHANEM DEPOSITION
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                                                                              Page 1
                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 SYDNEY DILLARD,                              )
                                              )
                             Plaintiff,       )
                                              )
          -vs-                                ) No. 1:20-cv-7760
                                              )
 DEPAUL UNIVERSITY,                           )
                                              )
                           Defendant.         )


               The discovery deposition of SALMA GHANEM, taken

 pursuant to the provisions of the Code of Civil Procedure

 and the Supreme Court Rules of the State of Illinois

 pertaining to the taking of depositions for the purpose

 of discovery, taken before DEANNA L. TUFANO, Certified

 Shorthand Reporter of the State of Illinois, at 121 West

 Wacker Drive, Suite 2300, on Tuesday, May 3, 2022 at

 11:00 a.m.




 Reported for:
 MAGNA LEGAL SERVICES
 (866) 624-6221
 www.magnals.com, by:
 Deanna L. Tufano, C.S.R.
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 1   A P P E A R A N C E S:          VIA VIDEOCONFERENCE             1                INDEX
 2                                                                   2   WITNESS                             PAGE
     DISPARTI LAW GROUP, P.A.                                        3   SALMA GHANEM
                                                                     4      Examination by Ms. Scatchell ............... 4
 3   MS. GIANNA R. SCATCHELL                                         5      Examination by Ms. Wermuth .................128
     121 West Wacker Drive, Suite 2300                               6      Further Examination by Ms. Scatchell .......131
 4   Chicago, IL 60601                                               7
     (312) 506-5511                                                                     EXHIBITS
 5   gia@dispartilaw.com                                             8
 6      on behalf of the Plaintiff;                                          Exhibit No. 1 .............................. 15
 7                                                                   9       Exhibit No. 2 .............................. 18
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     COZEN O'CONNOR                                                 10       Exhibit No. 5 .............................. 26
 8   MS. ANNA WERMUTH                                                        Exhibit No. 18 ............................. 30
     MS. BRITTANY GREEN                                             11       Exhibit No. 41 ............................. 32
 9   123 North Wacker Drive, Suite 1800                                      Exhibit No. 4 .............................. 50
     Chicago, IL 60606                                              12       Exhibit No. 6 .............................. 53
10   (312) 474-7900                                                          Exhibit No. 11 ............................. 57
     awermuth@cozen.com                                             13       Exhibit No. 17 ............................. 59
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11                                                                  14       Exhibit No. 27 ............................. 63
       on behalf of the Defendant;                                           Exhibit No. 52 ............................. 64
12                                                                  15       Exhibit No. 12 ............................. 69
13   Reported BY: DEANNA L. TUFANO, CSR                                      Exhibit No. 8 ............................. 78
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14                                                                           Exhibit No. 10 ............................. 83
15   ALSO PRESENT: Plaintiff, Sydney Dillard                        17       Exhibit No. 13 ............................. 84
                                                                             Exhibit No. 51 ............................. 85
              (via videoconference)                                 18       Exhibit No. 22 ............................. 97
16                                                                           Exhibit No. 14 .............................101
17                                                                  19       Exhibit No. 15 .............................102
18                                                                           Exhibit No. 19 .............................111
19                                                                  20       Exhibit No. 25 .............................122
20                                                                           Exhibit No. 53 .............................129
                                                                    21
21
                                                                           Exhibits were marked in order they were tendered.
22                                                                  22
23                                                                  23
24                                                                  24

                                                           Page 4                                                                    Page 5
 1                            (Witness sworn.)                       1      A Correct.
 2                  SALMA GHANEM,                                    2      Q And you have to testify truthfully and
 3   called as a witness herein on behalf of the Plaintiff           3   accurately?
 4   having been duly sworn, was examined and testified as           4      A Yes.
 5   follows:                                                        5      Q And that to make a clear record, answer just like
 6                  EXAMINATION                                      6   you've been answering, yes, no. No shoulder shrugs or
 7   BY MS. SCATCHELL:                                               7   uh-huhs or huh-uhs, stuff like that.
 8      Q Could you please state your name and spell it for          8             And we have Madam Court Reporter, Deanna
 9   the record.                                                     9   Tufano, and she will be taking down everything that we
10      A Sure. Salma Ghanem, S-A-L-M-A, G-H-A-N-E-M.               10   say, and that's why it's very important for us to not
11      Q And what do you prefer I call you, Dr. Ghanem --          11   talk over each other. And I understand that you're
12      A Dr. Ghanem is fine.                                       12   represented by counsel, and she from time to time will
13      Q Perfect. Dr. Ghanem, great.                               13   make objections. Obviously, let her make the objection
14             And have you ever been deposed before?               14   and then unless she tells you not to answer, you're going
15      A Yes, I have.                                              15   to answer whatever question it is.
16      Q Okay. And do you remember what the nature of              16             And if you don't understand the question,
17   that deposition was?                                           17   just let me know and I will rephrase it. Otherwise, if
18      A There were two cases. I don't know what you mean          18   you answer, I'm going to assume that you understand that;
19   by the nature, so I apologize.                                 19   do you understand that?
20      Q Was it like a personal injury, an employment?             20      A Yes, I do.
21      A Employment.                                               21      Q Perfect. And I ask this of everybody, not just
22      Q And during those depositions, they gave you some          22   you. But you're not taking any medication that would
23   ground rules and they let you know that you're under           23   affect your ability to testify truthfully today?
24   oath, correct?                                                 24      A No, I am not.




                                                                                                                           2 (Pages 2 to 5)
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                                                     Page 6                                                           Page 7
 1      Q And there's nothing else that would inhibit you         1      Q Okay. So let's just start with the most current
 2   from testifying truthfully and accurate today, correct?      2   -- actually, let me back up.
 3      A Correct.                                                3              What is the acting provost position?
 4      Q Now that we have the ground rules out of the way,       4      A Okay. So the difference between acting, interim,
 5   let's start with your current job position.                  5   and permanent, let me start that way. Acting means you
 6      A I am the Provost at DePaul University.                  6   are taking that role until the person who used to fulfill
 7      Q And what are your job duties as the provost?            7   that role is going to come back. Interim means that you
 8      A The provost is the chief academic officer, so I         8   are in that role until they decide who is going to be the
 9   am an Executive of the University. All of the colleges       9   permanent. And then permanent provost.
10   report to me as well as enrollment management and student   10      Q Okay. And then is it a term or is it just until
11   affairs.                                                    11   you decide to leave, how does that work?
12      Q Okay. And that is just the undergraduate or for        12      A The permanent provost position, which one of
13   any of the graduate programs?                               13   them?
14      A All programs.                                          14      Q Yes. Well, the permanent provost position.
15      Q Okay. And then how many programs are there at          15      A I have a contract. It is for four years, but I
16   DePaul University?                                          16   am an at-will employee, so my contract could be
17      A Over 200 programs. There are 10 colleges and           17   terminated at any time.
18   each college has multiple programs, graduate and            18      Q Okay. And other than your attorneys, have you
19   undergraduate.                                              19   spoken with anybody at DePaul about today's deposition?
20      Q Okay. And how long have you been the provost           20      A I might have mentioned I have a deposition. My
21   for?                                                        21   assistant knows it's on the calendar, but I have not
22      A In my -- as permanent provost, I was appointed, I      22   talked about any specifics about the deposition.
23   think, May 2001. Prior to that, I served as interim         23      Q Okay. And you haven't talked to Lexa Murphy
24   provost. Prior to that, I served as acting provost.         24   about the deposition?
                                                     Page 8                                                           Page 9
 1      A No, I have not.                                         1   way to that point, and then I make a decision on tenure &
 2      Q Or the president of --                                  2   promotion.
 3      A No.                                                     3      Q Okay. And are you able to overturn a decision by
 4      Q Okay. And nobody's promised anything for your           4   the Dean of Students?
 5   testimony here today, correct?                               5      MS. WERMUTH: Objection. Assumes facts not of
 6      A Correct.                                                6   record.
 7      Q Okay. As the provost of DePaul, are you                 7   BY MS. SCATCHELL:
 8   considered an officer of DePaul?                             8      Q You can answer.
 9      A I believe so, yes.                                      9      A The dean of students does not participate in the
10      Q Okay. And you have the ability to sign contracts       10   tenure & promotion at all.
11   and agreements?                                             11      Q And then prior to various provost positions, what
12      A Yes, I do.                                             12   was your role at DePaul, if any?
13      Q Okay. And could you explain what your role is in       13      A I was the Dean of the College of Communication.
14   the tenure process when someone is quote, unquote, going    14      Q Okay. And then do you know who your successor
15   up for tenure?                                              15   was?
16      A In my role as provost or in my previous role?          16      A Alexandra Murphy.
17      Q In your role as provost, and then we'll go to          17      Q Okay. When did Lexa Murphy assume that position,
18   your previous role.                                         18   was it when you were acting?
19      A Okay. I sit in the deliberations of the                19      A Yes.
20   University Board of Promotion & Tenure. I do not            20      Q Okay. And do you know if Ms. Murphy received any
21   participate, but I observe the deliberations that take      21   formal training to become the successor dean?
22   place there, and then I get a recommendation from the       22      A Deans usually don't have any formal training, but
23   University Board on Promotion & Tenure. Plus I review       23   she did serve as an associate dean prior to when she
24   the entire file all the way from the department all the     24   became acting dean.




                                                                                                  3 (Pages 6 to 9)
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                                                    Page 10                                                         Page 11
 1      Q Okay.                                                   1   permanent provost positions, was there any difference in
 2      A And also I believe she had also served as interim       2   what responsibilities you had or what authority you had?
 3   dean for a short while, but that was before I had come to    3      A No.
 4   DePaul.                                                      4      Q Okay. And then prior to becoming the Dean of the
 5      Q Okay. And would you consider Ms. Murphy a               5   College of Communications, what was your position prior
 6   colleague or friend or both?                                 6   to that?
 7      A I would consider her both.                              7      A I was Dean of the College of Communication and
 8      Q Okay. And prior to your position as dean, did           8   Fine Arts at Central Michigan University.
 9   you serve any other positions at DePaul?                     9      Q And is that a research University, like more of a
10      A No.                                                    10   research than teaching?
11      Q And where did you do your undergraduate?               11      A It's a regional University. I think -- I don't
12      A At the University of Texas-Pan American. It has        12   know it's classification, but it was not an R1
13   since been renamed, and now it's called University of       13   University.
14   Texas-Rio Grande Valley.                                    14      Q And then what does it mean to be a regional
15      Q And what was your major?                               15   University?
16      A Communication.                                         16      A In the state systems, you will have the flagship
17      Q And what did you do your doctorate in?                 17   University like, you know, Michigan State or University
18      A I got my doctorate UT Austin.                          18   of Michigan, and then you will have Central Michigan,
19      Q And what was the nature of that?                       19   Eastern Michigan, Western Michigan, and so on. So that's
20      A It was a PhD in journalism.                            20   what is referred to as a region.
21      Q And then do you remember what year that was            21      Q And then how does Central University compare to
22   approximately?                                              22   DePaul?
23      A I completed my PhD in 1996, I believe.                 23      MS. WERMUTH: Objection. Vague. Relevance.
24      Q And going back to the acting, interim, and             24   BY THE WITNESS:
                                                    Page 12                                                         Page 13
 1      A Again, it depends what you're comparing with.           1   the College of Communications. Do you do anything on a
 2   They were very similar in size. There were a lot more        2   day-to-day basis for the College of Communications or is
 3   similarities between, I would say, Central Michigan and      3   it more or less people report to you?
 4   DePaul than there were differences, limited number of PhD    4      A More or less people report to me. Right now,
 5   programs. The biggest difference was that Central            5   I've got 10 colleges report to me.
 6   Michigan University is a public University. DePaul           6      Q Okay. And then how does that reporting work, is
 7   University is a private University and a Catholic            7   that like a meeting that you have with each individual
 8   University.                                                  8   college head, or is it like a meeting with all 10
 9      Q Okay. And what are the Vincentian values that           9   colleges and you?
10   DePaul subscribes to?                                       10      A Both. We have regular meetings of academic
11      A DePaul University is a Catholic Vincentian             11   council which involves all 10 deans as well as the
12   Institution. Vincentian is kind of a type of Catholicism    12   associate provost and the vice-president. And then we
13   with the idea that it is based on St. Vincent DePaul.       13   have deans council, which is all 10 deans. And then I
14   St. Vincent DePaul was a saint who really focused on        14   meet on a monthly basis with each of the deans.
15   working with the poor and helping the poor and helping      15      Q Okay. Let me see how I'm going to ask this, how
16   those who are disenfranchised in society. So that's kind    16   does the tenure track work for tenure track professor?
17   of the ethos of DePaul.                                     17      MS. WERMUTH: Objection. Vague.
18      MS. SCATCHELL: Off the record for one second.            18      THE WITNESS: Can you specify what you mean, my role
19                           (Brief recess.)                     19   or the whole process?
20      MS. SCATCHELL: Back on the record.                       20   BY MS. SCATCHELL:
21   BY MS. SCATCHELL:                                           21      Q The whole process.
22      Q Okay. So you were previously telling me about          22      A Well, it starts by hiring a tenure-track faculty
23   the Vincentian values and the ethos of DePaul.              23   member. They are given a probationary time period,
24             Let's go to your current role, if any, in         24   usually it's six years, unless there are reasons to




                                                                                             4 (Pages 10 to 13)
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                                                    Page 14                                                          Page 15
 1   extend it or an offer is made for somebody to come in        1   the final review for tenure.
 2   with a shorter probationary period. They go through          2      Q Okay. And then what's the difference between a
 3   formal reviews, and until they're up for tenure, it is       3   formal review and an informal review?
 4   reviewed by the personnel committee of the department.       4      A A formal review is one where all of the personnel
 5   Now, it varies from college to college because some          5   committee -- I mean, it follows that process that I
 6   colleges have departments, some colleges don't. But more     6   described to you. The informal would be just a review, I
 7   or less, there's a personnel committee, there is a           7   believe, just by the dean, and a decision can be made
 8   department-wide. And then if there is a department           8   then whether to reappoint or not.
 9   chair, the department chair weighs in, then the college      9      Q Okay. And would there be any time where a
10   committee weighs in, then the deans weigh in, then UBPT     10   tenure-track faculty member would have to undergo a
11   weighs in, and then it comes to me. So it's a year long     11   formal review every year?
12   process --                                                  12      A Yes. The faculty handbook indicates that if
13      Q Okay. And --                                           13   there are areas of concern that they can have another
14      A -- when they go up for tenure.                         14   formal -- they can have multiple formal reviews.
15      Q Okay. And then what you had previously mentioned       15      Q Okay. And I am going to show you what has been
16   that some people or some tenure track professors may have   16   marked as Exhibit No. 1.
17   a shorter time period or shorter review period. What are    17                      (Exhibit No. 1 was marked
18   some factors that would go into a shorter review?           18                       for identification.)
19      A Usually it is if they have years at another            19   BY MS. SCATCHELL:
20   institution. Otherwise, it's six years.                     20      Q And can you review it and let me know when you've
21      Q Okay. And then is it a review each year or every       21   finished. This is Bates stamp number Dillard_DePaul 3189
22   other year?                                                 22   to 3194.
23      A That is specified in the faculty handbook. I           23      A This looks like a draft of a formal review.
24   believe it is a formal review every other year and then     24      Q Okay. Do you know who drafts this document or
                                                    Page 16                                                          Page 17
 1   who drafted rather?                                          1   indicate areas where they're doing well and areas that
 2      A No, I do not.                                           2   might need further work to get them in preparation for
 3      Q Okay. Is it fair to say that it was not you?            3   their tenure review.
 4      A That is correct.                                        4      Q Okay. And how are areas of concern defined?
 5      Q Okay. And did you ever see this document before?        5      MS. WERMUTH: Objection. Vague. Go ahead.
 6      A Not in this form, no.                                   6   BY THE WITNESS:
 7      Q Okay. But you saw it in a different form?               7      A If there is lack of research productivity, if
 8      A I get the final review once they're done, but not       8   there is no participation in service, if there are issues
 9   this.                                                        9   that are brought up about teaching. So those are the
10      Q Okay. And when it says on Page 2, which is             10   three areas, teaching, service, and research.
11   Dillard_DePaul 3190, there's a comment bubble. Do you       11   BY MS. SCATCHELL:
12   see that?                                                   12      Q Okay. And that seems like a good place to kind
13      A I do.                                                  13   of expand a little bit more on.
14      Q Okay. Do you know who the comment bubble would         14             So could you give me a little bit more
15   be?                                                         15   context of what is considered service as part of the
16      A No, I do not.                                          16   tenure-track process?
17      Q Okay. Do you know who would know?                      17      A Service is participation in program,
18      A No, I do not.                                          18   departmental, college, University level service, that's
19      Q Okay. And going back to the formal reviews, are        19   the internal service. The external service could be
20   the formal reviews considered developmental?                20   involvement with community as well as professional
21      A Yes.                                                   21   organizations and so on.
22      Q And could you expand a little bit more on that?        22      Q Okay. And then research?
23      A A formal review is an opportunity for a                23      A It depends on the field, but usually it's
24   candidate's file to be reviewed by their peers and to       24   research and creative activities, so it could be articles




                                                                                              5 (Pages 14 to 17)
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                                                    Page 18                                                          Page 19
 1   that were published, books. In theater, it might be          1   Dillard_DePaul 3211. Do you see the handwriting?
 2   productions. In music, it might be a performance, that       2      A I do.
 3   kind of stuff.                                               3      Q Okay. Is that your handwriting?
 4      Q Okay. And then so there was service, research           4      A No, it is not.
 5   and then teaching. Could you expand a little bit more on     5      Q Okay. Do you recognize that handwriting?
 6   teaching as part of the tenure-track process?                6      A No, I do not.
 7      A Yeah. Teaching, they review student evaluations.        7      Q Do you know anybody who would know whose
 8   There is also, before they go up for tenure, they have       8   handwriting it is?
 9   students survey other students who've taken the class, so    9      MS. WERMUTH: Objection. Vague. Calls for
10   not currently in the class for their input. They look at    10   speculation.
11   syllabi, but they have peer observations from colleagues.   11   BY THE WITNESS:
12   They look at assignments, that type of stuff.               12      A I do not know who would know.
13      Q Okay. And then I'm going to show you what is           13   BY MS. SCATCHELL:
14   going to be marked as Dillard_DePaul 3210 to 3215?          14      Q And you did not draft this document?
15                      (Exhibit No. 2 was marked                15      A No, I did not.
16                       for identification.)                    16      Q Okay. When you were in your position as
17      THE WITNESS: And what was the question?                  17   associate dean, would you be in charge of drafting these
18   BY MS. SCATCHELL:                                           18   formal reviews?
19      Q Sure. Do you recognize that document?                  19      A I was never associate dean --
20      A Well, it looks again like a draft of a formal          20      MS. WERMUTH: Objection --
21   review.                                                     21   BY MS. SCATCHELL:
22      Q Okay. And do you know who drafts this document?        22      Q Oh, as dean, sorry.
23      A No, I do not.                                          23      A And the question again?
24      Q And if you go to Page 2, which will be                 24      Q As dean, did you ever draft the formal reviews
                                                    Page 20                                                          Page 21
 1   prior to --                                                  1   I believe Sydney might be the only born African-American
 2      A No, I did not.                                          2   on the tenure track. There has been a hire of a
 3      Q And do you know who Sydney Dillard is?                  3   term-faculty member who's African-American.
 4      A Yes.                                                    4      Q Okay. And what's the difference between
 5      Q Who is she?                                             5   term-faculty member and tenure-track faculty member?
 6      A Sydney Dillard is a faculty member in the College       6      A A term-faculty member is not on the tenure track.
 7   of Communication.                                            7   They do not go through the tenure review, so they usually
 8      Q Okay. And do you happen to know what her                8   have an appointment of one, possibly, two years. Some of
 9   ethnicity is?                                                9   them have longer term appointments.
10      A I believe she's Black.                                 10      Q Okay. And then after that appointment, could
11      Q Okay. And how many tenured faculty members are         11   they have that appointment renewed or do they have to
12   in the College of Communication?                            12   leave the University? How does that work?
13      A I don't recall offhand, maybe 30-some. I don't         13      A No. It can be renewed, but there is no guarantee
14   have an exact number.                                       14   for renewal.
15      Q So more than 20, less than 50?                         15      Q Okay. And do you know who                      is?
16      A Yes.                                                   16      A Yes, I do.
17      Q And out of all of the tenure professors, how many      17      Q And who is she?
18   of them are African-American, if you know?                  18      A She used to be a faculty member in the College of
19      A Right now?                                             19   Communication.
20      Q Yes.                                                   20      Q And used to, she's no longer there?
21      A I believe there are two.                               21      A That is correct.
22      Q Okay. And are they domestic born                       22      Q Okay. And approximately when did she separate?
23   African-Americans or were they born --                      23      A I'm not sure, but I think either the last
24      A There was hiring that was done after I left, but       24   academic year was her final year or it was the year




                                                                                              6 (Pages 18 to 21)
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                                                      Page 22                                                             Page 23
 1   before that.                                                    1   color in the college. So I talked to Barbara            .
 2      Q So 2019 or 2018, give or take?                             2      Q And who is Barbara               ?
 3      A I think, and I am not 100 percent sure. I think            3      A She was -- I believe at that point, there was
 4   '19, '20 might have been her last year.                         4   some shifting in the University of duties, but I believe
 5      Q So 2019 into 2020?                                         5   she was in HR at the time and she handled -- we referred
 6      A Yes.                                                       6   to her complaints about discrimination.
 7      Q And what was the reason why she left the                   7      Q Okay. And in the signature line or your
 8   University?                                                     8   signature line at the bottom quadrant of the page, it
 9      A She was denied tenure.                                     9   says, Professor and Dean of College of Communication?
10      Q And what was her ethnicity, if you know?                  10      A Correct.
11      A Hispanic, or at least she classifies as Hispanic.         11      Q That was your position at that time?
12      Q Let me show you what I'm going to mark as Exhibit         12      A Correct.
13   No. 3. And that is Dillard_DePaul 3355.                        13      Q And do you know what happened next after you sent
14                       (Exhibit No. 3 was marked                  14   this email?
15                        for identification.)                      15      A Not really because after I sent this email about
16   BY MS. SCATCHELL:                                              16   a week later, I was appointed acting provost.
17      Q Do you recognize this document?                           17      Q Okay. So then that would have been the
18      A I do.                                                     18   responsibility of the dean to follow-up with?
19      Q And what is this document?                                19      A No. It would have been the responsibility of
20      A This was an email that I sent to Barbara                  20   Barbara            to follow-up.
21   regarding a meeting I had had with both Dr. Sydney             21      Q Okay. And then would Barbara                  follow-up
22   Dillard and Dr.                  where they had indicated as   22   with you as the acting provost or whoever the dean was?
23   the email states that they believe there's a pattern of        23      A I don't know exactly what the process is. I
24   harassment, bullying and marginalization of faculty of         24   believe, but I'm not sure, that the first thing would be
                                                      Page 24                                                             Page 25
 1   for her to get in touch with Dr. Dillard and Dr.                1       A Within a few days of when I met with them, but I
 2              but I'm not sure exactly what the process is.        2   don't recall exactly when it was.
 3      Q Okay. So when you said they believe there is a             3       Q And then when it says right here, we are planning
 4   pattern of harassment, bullying and marginalization of          4   to schedule another time to talk some more. Do you know
 5   faculty of color in the college, and we had a talk for          5   or do you remember if you did have a second meeting about
 6   over two hours. I'm just going to take each one one at          6   this?
 7   at the time. What is defined as a faculty of color, or          7       A No, I don't believe I did because I shifted
 8   what are you referring to?                                      8   roles.
 9      A A faculty of color is usually a non-white faculty          9       Q And then the last line says, please let me know
10   member.                                                        10   if you are the appropriate person to look into this issue
11      Q Okay. And then pattern of harassment, what did            11   if there is somebody else I need to contact. Do you
12   you mean by that?                                              12   recall if there was a secondary message or a reply
13      A I was basing it on what they had told that they           13   message from Barbara saying I am or I am not the correct
14   were feeling.                                                  14   person?
15      Q Okay. And what was that -- what did they tell             15       A I believe I am -- I can't remember exactly, but I
16   you that they were feeling?                                    16   believe she responded and that was the right person to be
17      A It was a two-hour meeting and they expressed              17   in touch with, but I can't recall exactly.
18   multiple concerns about the College of Communication and       18       Q Okay. And then as the dean, what is your
19   how they felt. This was following a college meeting that       19   responsibility for forwarding complaints such as the one
20   had taken place.                                               20   that Ms. Dillard and Ms.             came to you with?
21      Q A college meeting amongst?                                21       A I have the responsibility to do so whenever a
22      A All.                                                      22   complaint is brought to me that's discriminatory in
23      Q Okay. And do you remember when approximately              23   nature. I have to report it.
24   that meeting was?                                              24       Q Okay. And then is there like a complaint process




                                                                                                  7 (Pages 22 to 25)
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                                                     Page 26                                                          Page 27
 1   like where you like say a case number opened up or how        1      Q And what is this document?
 2   does that process work?                                       2      A That is a response from Barbara               to the
 3      MS. WERMUTH: Objection. Foundation. Go ahead.              3   email that you had showed me, and I believe it was
 4   BY THE WITNESS:                                               4   Exhibit No. 3 indicating that she is the person.
 5      A I don't know how that office does their cases. I         5      Q Okay. And then do you see -- so it seems that
 6   know that my obligation is to let them know.                  6   there's two emails?
 7      Q Okay. And do you know who would know what that           7      A Correct.
 8   process or protocol looked like?                              8      Q And then at the top of it, it says from you to
 9      A Probably somebody in HR.                                 9   yourself?
10      Q And do you recall having any conversations with         10      A To myself.
11   Lexa Murphy regarding this pending complaint?                11      Q Yes, that's what it looks like, and it's like a
12      A Not that I recall.                                      12   forward. Do you see that?
13      Q Okay. Here. This is Exhibit No. 5.                      13      A Yes.
14                      (Exhibit No. 5 was marked                 14      Q Do you know why you forwarded that?
15                       for identification.)                     15      A Yes. I usually -- whenever I send an email, I
16   BY MS. SCATCHELL:                                            16   copy myself. This way I save my emails and I can have a
17      Q Okay. Can you just review that when you have a          17   trail of that, and I believe I forgot to copy myself, so
18   moment. And that is Dillard_DePaul 3365 and                  18   I went to my send folder and forwarded it to myself so I
19   Dillard_DePaul 3366.                                         19   can have the full conversation.
20             Okay. When did you transition into the             20      Q And then when it says please call my cell, I'm
21   role of acting provost?                                      21   working from home and am available all day. Did Ms.
22      A I believe it was October 18th.                          22              call your cell phone that day, if you remember?
23      Q And do you recognize this document?                     23      A I do not recall.
24      A Yes, I do.                                              24      Q Okay. Would anything refresh your recollection?
                                                     Page 28                                                          Page 29
 1      A You know, if you have something that reminds me          1   protocol changed from OIDE to HR?
 2   of a possible call, maybe, but I do not remember.             2      MS. WERMUTH: Objection to the form insofar as you
 3      Q And then do you see below that where the email's         3   have misstated the record. Go ahead.
 4   from Barbara            to you and it says, yes, HR is now    4   BY THE WITNESS:
 5   handling discrimination and harassment cases?                 5      A I do not.
 6      A Yes.                                                     6   BY MS. SCATCHELL:
 7      Q Do you know what she was referring to by saying          7      Q Do you know who would know?
 8   HR is now?                                                    8      A HR or OIDE.
 9      A Yes. It used to be through the -- Barbara                9      Q Or Ms.            ?
10             was with the Office of Institutional Diversity     10      A Yeah.
11   and Equity. And then that duty of investigation moved        11      Q Okay. And is your understanding of what OIDE,
12   from the Office of Institutional Diversity and Equity,       12   what their role was to investigate complaints of
13   known as OIDE to HR. And as a result of that move,           13   discrimination and harassment at DePaul?
14   that's why in my email I had asked if she was still the      14      THE WITNESS: Could you repeat the question?
15   same person.                                                 15      MS. SCATCHELL: Could you read that back?
16      Q And did you have anything to do with the                16                         (Question read.)
17   transition from OIDE to HR?                                  17   BY THE WITNESS:
18      A No, I do not.                                           18      A I am not sure I understand the question.
19      Q Do you know who did?                                    19   BY MS. SCATCHELL:
20      A No, I do not.                                           20      Q Sure. It was a bad question so strike that.
21      Q And do you recall if you had an interview with          21            So is it your understanding that OIDE was
22   Ms.           regarding this complaint?                      22   in charge of investigating complaints that a faculty
23      A I do not recall.                                        23   member would bring to them about discrimination or
24      Q Okay. And do you remember when the complaint            24   harassment?




                                                                                               8 (Pages 26 to 29)
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                                                    Page 30                                                          Page 31
 1      A As I mentioned, yes, it was part of their                1   email, she overseas the issues of discrimination and
 2   responsibility, but that responsibility moved from OIDE       2   harassment. She is the director of employee relations.
 3   at some point to the Human Resource Department.               3      Q Okay. So then would Isabel report to Barbara
 4      MS. WERMUTH: Can we take a quick break?                    4            , or would Barbara           report to Isabel?
 5      MS. SCATCHELL: Yeah.                                       5      MS. WERMUTH: Objection. Foundation. Assumes facts
 6      MS. WERMUTH: Because I need to use the washroom.           6   not of record.
 7                           (Short recess.)                       7   BY MS. SCATCHELL:
 8      MS. SCATCHELL: Back on the record.                         8      Q If you know?
 9   BY MS. SCATCHELL:                                             9      A I'm not sure, but I would believe that Barbara --
10      Q So prior to the break, we were speaking about the       10   the way it's written, Barbara          reports to Isabel
11   email chain with Barbara             . Do you recall that,   11   Diaz.
12   correct?                                                     12      Q And do you know why you were still included on
13      A Correct.                                                13   this email chain?
14      Q And then I'm going to show you what I'm going to        14      MS. WERMUTH: Objection. Foundation.
15   mark as Exhibit No. 18.                                      15   BY THE WITNESS:
16                       (Exhibit No. 18 was marked               16      A I'd be speculating, but my guess is that Barbara
17                        for identification.)                    17   was showing me that she was following up.
18   BY MS. SCATCHELL:                                            18   BY MS. SCATCHELL:
19      Q And this is Dillard_DePaul 3483 and                     19      Q And this email chain was sent on or about October
20   Dillard_DePaul 3484. Could you review this document and      20   11, 2018, you see that, correct?
21   let me know when you're finished. Ready?                     21      A Correct.
22      A Ready.                                                  22      Q And that was when you were still in your role as
23      Q Okay. Who is Isabel Diaz?                               23   the dean, correct?
24      A Isabel Diaz works in HR, and according to the           24      A Correct.
                                                    Page 32                                                          Page 33
 1      Q And what does CMN stand for?                             1   BY MS. SCATCHELL:
 2      A That is the abbreviation for the College of              2      Q And do you know what the PRAD program chair
 3   Communication.                                                3   position entails? What is it?
 4      Q And then I'm going to show you what is going to          4      A The person in that position would be involved in
 5   be marked as Exhibit No. 41, and that is Bates stamped        5   scheduling of classes, being part of the dean's
 6   Dillard_DePaul 9077 to Dillard_DePaul 9082?                   6   leadership team and kind of manages the program.
 7      A Okay.                                                    7      Q Okay. And by program you mean?
 8      Q So it seems that the thread is reverse, so we'll         8      A The PRAD.
 9   start with Dillard_DePaul 9080. And then if you can look      9      Q Okay. And are you aware of whether Sydney ever
10   at the -- at the bottom of it it says on February 18,        10   applied for that position?
11   2019, Dillard, Sydney wrote, and then it goes the email      11      A I had heard that she had applied for that
12   the bulk of it goes to Dillard_DePaul 9081 and 9082.         12   position following these emails and so on.
13      A Correct.                                                13      Q Okay. And what did you hear about her applying
14      Q So we'll start there. What is the PRAD that's           14   for this position?
15   referenced in that email if you know?                        15      A Can't recall exactly, but I think it starts with
16      A It's a program within the College of                    16   the email that Sydney sends that she applied for the
17   communication, and it is the public relations and            17   position and did not get it.
18   advertising program.                                         18      Q Okay. And what would in your opinion the PRAD
19      Q And do you know what Ms. Dillard's email to Lexa        19   position, serving as the PRAD coordinator, what would
20   is referencing with the PRAD program?                        20   that do for somebody that was going up on tenure, would
21      MS. WERMUTH: Objection. Foundation. Go ahead.             21   it be helpful -- actually, strike that.
22   BY THE WITNESS:                                              22             The PRAD program chair position would
23      A I believe it had something to do with the               23   count towards a tenure-track faculty members service
24   selection of the PRAD program chair.                         24   component, right?




                                                                                              9 (Pages 30 to 33)
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                                                    Page 34                                                         Page 35
 1      A Possibly, yes. When you go up for tenure, they          1   be considered an academic issue versus a complaint of
 2   look at the portfolio overall.                               2   harassment?
 3      Q Okay. And do you know who created the program           3      MS. WERMUTH: Okay. I'm going to object to this
 4   chair selection process?                                     4   question. I think you've misstated the document and it
 5      MS. WERMUTH: Objection. Vague.                            5   also calls for speculation. And there's no foundation
 6   BY THE WITNESS:                                              6   laid. Go ahead, Salma.
 7      A I don't recall. I think it was under -- when I          7   BY THE WITNESS:
 8   was Dean of the College of Communication, we tried to        8      A Again, I cannot tell how Isabel makes that
 9   develop better policies and processes, so it might have      9   determination, but the best I can tell that there's
10   been under my watch.                                        10   nothing in the email that Sydney said that indicates an
11   BY MS. SCATCHELL:                                           11   issue of discrimination. So it becomes an issue that is
12      Q Okay. And would there be anything that would           12   dealt with within the college.
13   refresh your recollection?                                  13      Q Okay. What would indicate that there would be an
14      A Not particularly.                                      14   issue of discrimination?
15      Q Okay. Let's go to the next email where on page         15      MS. WERMUTH: Objection. Calls for speculation.
16   9080 where it says, Good Afternoon, Sydney at the top of    16   Lacks foundation.
17   the page. Barbara and I have reviewed the emails below      17   BY MS. SCATCHELL:
18   and both agree that at this point what you believe is an    18      Q In your opinion, as the Dean of College of
19   academic issue and should be discussed with your dean.      19   Communication?
20   If you believe you have been discriminated or harassed      20      A That really would be up to that office within HR,
21   and wish to move forward with a complaint please schedule   21   that's why we have that office.
22   a time to meet with us. Do you see that?                    22      Q Okay.
23      A Yes, I do.                                             23      A If there is something that would indicate, if the
24      Q And do you have any knowledge of why that would        24   faculty member said I believe I've been discriminated
                                                    Page 36                                                         Page 37
 1   against or something of the sort.                            1   asking her about email communications that she didn't
 2      Q Okay. I am going to direct your attention to            2   send. There's not a single email sent by Dr. Ghanem in
 3   page 9081, Section 6 or Paragraph 6?                         3   this train. You haven't established that she was at the
 4      A Okay.                                                   4   PRAD chair meeting where these issues were discussed or
 5      Q And the bullet point -- so there's three                5   how it is that or why it is Dr. Dillard decided to
 6   subsections in Paragraph 6, and it's the bullet point,       6   include Dr. Ghanem in these email trails. You haven't
 7   which would be 1, 2, 3 paragraphs down beginning with the    7   established any foundation for any of the communications
 8   minutes of 2/15/19 PRAD faculty. Do you see that?            8   in this email trail because none of them were sent by Dr.
 9      A I do.                                                   9   Ghanem.
10      Q Okay. And do you see where Sydney says, as you         10      MS. SCATCHELL: She said she was aware of the PRAD
11   noted, there were no concerns specifically surrounding my   11   faculty vote, and that's why I was asking her --
12   qualifications for the position and the voting discussion   12      MS. WERMUTH: She said she was aware because she got
13   focused only on restructuring the program chair position.   13   this email.
14   If this was the context of the meeting as an active         14      MS. SCATCHELL: Right.
15   tenure-track faculty member of PRAD, I was excluded from    15   BY MS. SCATCHELL:
16   the conversation when you facilitated the voting            16      Q And did you do any independent investigating to
17   procedures and requested that I leave the meeting. The      17   find out more information about the nature of why you
18   discussion of restructuring the program chair position      18   received this email?
19   was initiated during a time in which deliberations of my    19      A No, I did not.
20   qualifications were supposed to be the only topic under     20      Q And did anybody approach you regarding this issue
21   discussion. Would that be something that you would          21   that needs Sydney raised --
22   consider to be discrimination in your opinion?              22      MS. WERMUTH: Objection. Vague --
23      MS. WERMUTH: Hang on, let me object. I am going to       23   BY THE WITNESS:
24   object on a couple of grounds. First of all, you're         24      A Not that I recall.




                                                                                            10 (Pages 34 to 37)
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                                                    Page 38                                                        Page 39
 1   BY MS. SCATCHELL:                                            1   issue of discrimination and harassment?
 2      Q And do you know why you were included on the            2      A I believe, I did.
 3   email thread?                                                3      Q Do you know if it was an email or a telephone
 4      A No, I do not know the reason why I was included.        4   conversation?
 5      Q And you see that the date of this email thread is       5      A I really don't remember.
 6   in February of 2019, correct?                                6      Q And would anything refresh your recollection?
 7      A That is correct.                                        7      A Only if you showed me something that might.
 8      Q Okay. And that was after the meeting that               8      Q Okay. And then going back to this email thread
 9             and Ms. Dillard had approached you with            9   on Page 9077 who is
10   regarding ongoing marginalization, harassment, and          10      A             vice-president of the Office of
11   discrimination, correct?                                    11   Institutional Diversity and Equity.
12      A That is correct.                                       12      Q And who is Craig Mousin?
13      Q And do you recall ever sending Ms. any Dillard         13      A He is the University ombuds person.
14   sort of email or sort of communications saying that I'm     14      Q And Mousin is M-O-U-S-I-N.
15   now leaving the position of dean and going to be the        15             And where it says VP of OIDE, I thought
16   acting provost, and I am no longer going to be following    16   that you had previously testified that the position had
17   up with your complaint of discrimination and harassment?    17   shifted from OIDE to Human Resources?
18      A Following the meeting that --                          18      A The investigation --
19      Q Yes.                                                   19      MS. WERMUTH: Hang on. Let me just object. You've
20      A I can't recall exactly, but I do believe that I        20   completely misstated her testimony. The question again
21   might have said she needs to start following up with        21   lacks foundation. Go ahead.
22   Lexa, but I'm not sure.                                     22   BY THE WITNESS:
23      Q Okay. And do you recall if you made Lexa aware         23      A I had said that the investigation of
24   that Sydney may be following up with her regarding this     24   discrimination moved from the Office of Institutional
                                                    Page 40                                                        Page 41
 1   Diversity and Equity to HR.                                  1      Q And in the email thread that we were just looking
 2   BY MS. SCATCHELL:                                            2   at, who is Lea that is referenced in the email thread?
 3      Q But then the OIDE remains in place or remained in       3      A Can you tell me where, which page, I'm sorry?
 4   place?                                                       4      Q I believe it was 9080. It would be the middle
 5      A Correct.                                                5   email.
 6      Q Okay. And do you know what their new -- Strike          6      A Oh, I believe she is referring to Lea Palomino
 7   that.                                                        7   (phonetic), the assistant to the Dean.
 8             Do you know what their new, I guess, role          8      Q Okay. And could you spell her last name for the
 9   was if the investigation shifted over to HR, what was        9   record.
10   their responsibilities?                                     10      A I'm not sure exactly if I've got the spelling
11      MS. WERMUTH: Hang on. Objection. Vague. Calls for        11   right, but I think it's P-A-L-M-E-N-O.
12   speculation. Lacks foundation. Go ahead.                    12      Q Okay. Thank you. And do you know are you aware
13   BY THE WITNESS:                                             13   of an organization called DPUBLIC --
14      A The Office of Institutional Diversity and Equity       14      MS. WERMUTH: Objection to the form. Go ahead.
15   overseas a lot of diversity issues through the University   15   BY THE WITNESS:
16   in general. That person does not report to me.              16      A Yes.
17   BY MS. SCATCHELL:                                           17   BY MS. SCATCHELL:
18      Q Okay. Who does that person report to?                  18      Q Okay. What is it?
19      A I believe that person reports to the president.        19      A It is an organization on campus.
20      Q Okay. And the president, how do you spell his          20      Q And what is, if you know, what is their primary
21   name?                                                       21   purpose?
22      A The President of DePaul University?                    22      A We have different organizations on campus
23      Q Yes.                                                   23   representing different affinity groups and DPUBLIC
24      A Is Gabriel Esteban.                                    24   represents Black faculty, staff, and students.




                                                                                           11 (Pages 38 to 41)
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                                                    Page 42                                                         Page 43
 1      Q Okay. And is it independent of DePaul or is it          1   BY MS. SCATCHELL:
 2   funded by DePaul, or how does that work?                     2      Q Okay. What does it stand for?
 3      MS. WERMUTH: Objection to form. Assumes facts not         3      A Diversity, equity, and inclusion.
 4   of record. Go ahead.                                         4      Q Is there any sort of training at DePaul for the
 5   BY THE WITNESS:                                              5   faculty members in DEI?
 6      A I don't know exactly how the funding is of these        6      A It depends in what area. So for example in
 7   different affinity groups.                                   7   faculty searches, there is training to make sure that
 8   BY MS. SCATCHELL:                                            8   members of search committees are aware of implicit bias.
 9      Q Do you know who would know?                             9   There is a lot of training that happens on campus to
10      A I believe it would be           in the Office of       10   explain to faculty how to address issues of DEI in their
11   Institutional Diversity and Equity.                         11   classroom and in the University community.
12      Q And are you familiar with the term diversity,          12      Q And do you know if such trainings are mandatory
13   equity, and inclusion or DEI?                               13   or discretionary?
14      A Yes.                                                   14      A For the search committee, they're mandatory.
15      Q And what is it?                                        15      Q Okay. And then for the faculty?
16      MS. WERMUTH: Objection. Vague.                           16      A For the faculty, there is a compliance training,
17   BY THE WITNESS:                                             17   and if a person is classified, I think I believe as a
18      A I really don't understand the question.                18   manager, then they have to complete the compliance
19   BY MS. SCATCHELL:                                           19   training and there's a module that deals with diversity,
20      Q So you're aware of diversity, equity, and              20   equity, and inclusion.
21   inclusion as a philosophy, correct?                         21      Q And who would be considered a manager?
22      MS. WERMUTH: Objection. Vague.                           22      MS. WERMUTH: Objection. Foundation. Calls for
23   BY THE WITNESS:                                             23   speculation. Go ahead.
24      A Yeah. I know what DEI stands for.                      24   BY THE WITNESS:
                                                    Page 44                                                         Page 45
 1      A I believe anyone who has managerial duties or           1   in the implicit bias training. I do not know how they
 2   manages a budget. Again, that classification is done by      2   divide the work between them, how many each one does and
 3   HR. I don't know exactly how they classified it. A dean      3   so on.
 4   would be a manager, a provost would be a manager, but I      4      Q And then who handles the training for the module?
 5   don't know how far it filters down.                          5      A That is a computerized module that was part of
 6   BY MS. SCATCHELL:                                            6   our compliance office and maybe HR.
 7      Q And what is implicit bias you previously                7      Q Okay. And by computerized module?
 8   testified about?                                             8      A It's a --
 9      A My understanding of implicit bias is that               9      Q Like a quiz or something?
10   sometimes in our structures and the way we approach         10      A They show you case studies, they show you certain
11   things that there could be areas that would favor one       11   scenarios and then you answer questions, and so on.
12   group or one person over the other, and it is to help       12      Q And do you know if DePaul keeps records of who
13   people understand where these biases can happen and take    13   has taken these modules?
14   place and to be aware of them.                              14      A I believe they do.
15      Q Okay. And do you know who handles the training         15      Q Okay. And do you know who has access to those
16   or the modules, is it somebody from DePaul, is it           16   records?
17   somebody from outside of DePaul?                            17      MS. WERMUTH: Objection. Assumes facts not of
18      A The training for the search committee or the           18   record. Also calls for speculation. Lacks foundation.
19   modules?                                                    19   BY THE WITNESS:
20      Q Both. So we'll start with the search committee.        20      A I would check with -- there's a compliance
21      A The search committee, I believe, it used to be         21   office. I would check with them, HR.
22              in the Office of Institutional Diversity and     22   BY MS. SCATCHELL:
23   Equity. And then when we hired an associate provost for     23      Q Okay. And you had previously testified about an
24   the diversity, equity, and inclusion, she's also involved   24   associate provost of DEI, who is that?




                                                                                            12 (Pages 42 to 45)
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                                                    Page 46                                                          Page 47
 1      A Dr. Cynthia Pickett.                                    1      A It was Dr. Ruben Parra.
 2      Q And do you know who made the decision to hire           2      Q Para?
 3   her?                                                         3      A I think it's P-A-R-R-A.
 4      A Yes. I did.                                             4      Q Okay.
 5      Q Okay. And do you know what year that was                5      A And he did that for a year while we did a search,
 6   approximately?                                               6   and Dr. Cynthia Pickett was an external hire.
 7      A Okay. When I first moved into the provost               7      Q So Dr. Ruben Parra was an internal hire?
 8   office, we had one associate provost who was in charge of    8      A Was appointed as interim associate provost for a
 9   research and diversity, equity, and inclusion, and I         9   year.
10   split that position into two, and I had an associate        10      Q Okay. And what was his position before he was
11   provost for research and an associate provost for DEI. I    11   interim provost?
12   hired an interim associate provost for DEI while we         12      A He was a faculty member in the chemistry
13   conducted a search. So I'm trying to -- I think Dr.         13   department.
14   Pickett might be in her third year with us now, or it       14      Q And do you know why he was selected?
15   might be her second year. I can't remember the timeline     15      A I had a call for nominations for the interim and
16   exactly.                                                    16   had a couple of applications reviewed, interviewed them,
17      Q Okay. And was Ms. Pickett also the interim             17   and made the decision.
18   associate dean for DEI?                                     18      Q And you had previously testified that you split
19      MS. WERMUTH: Objection to form. Misstated the            19   the provost position that was research, diversity,
20   testimony. Go ahead.                                        20   equity, and inclusion into provost of research and
21   BY THE WITNESS:                                             21   provost DEI, correct?
22      A No, she was not.                                       22      A Associate provost of research and associate
23   BY MS. SCATCHELL:                                           23   provost of DEI.
24      Q Do you know who that was?                              24      Q And what made you split those two positions?
                                                    Page 48                                                          Page 49
 1      A I felt that both topics were extremely important        1   provost?
 2   to the University, and that it would require somebody        2      A I believe there has been calls at the University
 3   dedicated to each one of them.                               3   to have a dedicated person for that.
 4      Q Okay. And was anybody else involved in that             4      Q And then do you remember who would have made
 5   position to split the two decisions?                         5   those calls or what organizations had made those calls?
 6      A I might have mentioned it to the president, but         6      A Not specifically, no, I don't.
 7   it was my decision to split it.                              7      Q Okay. Do you recall Ms. Dillard having any
 8      Q And you had previously testified that you felt it       8   medical conditions?
 9   was extremely important to the University that there was     9      A Yes, I do.
10   a dedicated person to each of the two -- Strike that.       10      Q And what do you know about her medical
11             You previously testified that it was very         11   conditions?
12   important to the University, correct?                       12      A If I recall, she had experienced seizures.
13      A Yes.                                                   13      Q Okay. And do you remember if she went on any
14      Q And what was the nature of how you made that           14   sort of short-term disability in connection with her
15   determination?                                              15   seizures?
16      MS. WERMUTH: Objection. Vague. Go ahead.                 16      A I know that there was some accommodations that
17   BY THE WITNESS:                                             17   needed to be made, but I don't know if she actually took
18      A Well, the portfolio was too large to be able to        18   a disability leave or not, I do not remember.
19   both focus on both areas, and they were two very            19      Q Okay. What do you remember about what
20   important areas for the University, and I believe that we   20   accommodations were made?
21   should have a dedicated associate provost to each of        21      A Accommodations in terms of needing assistance so
22   those areas.                                                22   from research assistant or a teaching assistant, classes,
23      Q And do you remember anyone or any organization         23   and so on.
24   had made a request to have a dedicated DEI associate        24      MS. SCATCHELL: I apologize, could you read back her




                                                                                            13 (Pages 46 to 49)
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                                                    Page 50                                                          Page 51
 1   answer.                                                    1     you on 3362 and 3363.
 2                         (Answer read.)                       2        A Yes.
 3      MS. SCATCHELL: Okay. Thank you.                         3        Q And your email address is sghanem@depaul.edu?
 4   BY MS. SCATCHELL:                                          4        A Correct.
 5      Q And is there a certain department that deals with     5        Q And do you recall the nature of this
 6   disability or accommodation requests?                      6     communication thread with Ms. Bellavia?
 7      A Yes.                                                  7        A Yes.
 8      Q Okay. And who was that?                               8        Q What was it?
 9      A That would be through the HR Department.              9        A It was to address the needed accommodations for
10      Q And would that be Barbara            , or would that 10     Sydney Dillard.
11   be somebody else through the HR Department?               11        Q And do you know why Ms. Bellavia sent the
12      A No. I believe it would be somebody else.             12     accommodation request update to you?
13      Q All right. I'm going to show you what has been       13        A Because I was the Dean at the time.
14   previously marked as Exhibit No. 4. It will be            14        Q And do you know what course Ms. Dillard was
15   Dillard_DePaul 3356 to Dillard_DePaul 3364.               15     teaching that she needed the accommodation for?
16                      (Exhibit No. 4 was marked              16        MS. WERMUTH: Let me just object. Facts not of
17                       for identification.)                  17     record.
18   BY MS. SCATCHELL:                                         18     BY THE WITNESS:
19      Q Okay. Who is Gianna Bellavia-                        19        A I don't remember the specific course, but in the
20      A I believe she works for the HR Department, and       20     email it mentions PRAD 375 teaching in the fall, and then
21   according to her signature, she's an employee relations   21     it mentions PRAD 575 in the winter, but that's all. I do
22   and engagement specialist.                                22     not recall except what I'm seeing in the email.
23      Q Okay. And you see on Page 3362 into 3363 in the 23          BY MS. SCATCHELL:
24   email that is from Gianna Bellavia to what appears to be 24         Q Okay. And do you recall if there were teaching
                                                    Page 52                                                          Page 53
 1   assistants that were made available to Ms. Dillard?          1      A The Vincentian Mission Institute itself, as I
 2      A I believe so, but I don't recall specifics.             2   mentioned, is a two-year program of study, but the trip
 3      Q In the thread for Exhibit No. 4, Ms. Murphy is on       3   is about -- for this one is about two weeks.
 4   some of the email threads; you see that, correct?            4      Q And I'm going to show you what I'm going to mark
 5      A Yes.                                                    5   as Exhibit No. 6, and it's Dillard_DePaul 3370 and 3371.
 6      Q Do you know why she's on the email threads?             6                         (Exhibit No. 6 was marked
 7      A I can't tell when it started, but it's because I        7                          for identification.)
 8   was leaving from the VMI, and I was telling Gianna that I    8   BY THE WITNESS:
 9   was going to be out of the office and if there's anything    9      A Okay.
10   she needed to be in touch with Dr. Lexa Murphy who was      10   BY MS. SCATCHELL:
11   the associate dean at the time.                             11      Q Do you recognize this document?
12      Q And what does VMI stand for?                           12      A Vaguely.
13      A Vincentian Mission Institute.                          13      Q Okay. And what do you vaguely recognize about
14      Q Okay. And what is that?                                14   this document?
15      A The Vincentian Mission Institute is a program          15      A That this was an email from Bola Lamina to me
16   that exists at DePaul where we took -- I believe it was     16   indicating that she received an email from Sydney and
17   two years of studying Catholic higher education and our     17   informing me of how she responded to her.
18   Vincentian Mission. And then this is a trip that we go      18      Q Okay. And who is Bola, B-O-L-A, Lamina,
19   to France where St. Vincent DePaul is from, and we go and   19   L-A-M-I-N-A?
20   we visit different areas that St. Vincent DePaul has been   20      A She is also in the HR Department and she's a
21   involved in, where he was raised, the University he went    21   benefit specialist.
22   to, hospitals he was involved with, and so on. So it's a    22      Q And do you know what the STD stands for in THE
23   group of people from DePaul who go.                         23   subject line?
24      Q And how long is the program?                           24      A I believe it stands for short-term disability.




                                                                                            14 (Pages 50 to 53)
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                                                    Page 54                                                            Page 55
 1      Q And the claim number, is that assigned by DePaul         1   support from her and                (both my supervisors in
 2   or a third-party administrator?                               2   the College of Communication) and she said you informed
 3      A I do not know.                                           3   her that it is not university's policy to have such
 4      Q Okay. And who is                 that's referenced in    4   letters added to STD appeals. Do you recall having a
 5   this email?                                                   5   conversation with Ms. Dillard?
 6      A              is a faculty member in the College of       6      A Vaguely.
 7   Communication, and I believe she was the program chair in     7      Q Okay. What did you remember from that
 8   public relations and advertising at the time.                 8   conversation?
 9      Q Okay. And the way that this email is written, is         9      A To the best of my ability, it was a follow-up.
10   it your understanding where in Paragraph 2 it says           10   She had made a request for a letter of support, and I had
11   Sydney, and then underneath that, it is a block quote.       11   checked with HR and was told that it wasn't University
12   Do you see that?                                             12   policy, and I let Dr. Dillard know that. And this might
13      A I do see that.                                          13   have been a follow-up phone call about that.
14      Q Okay. Is it your understanding that that                14      Q Okay. And do you know what Ms. Dillard is
15   references something that Sydney said?                       15   referencing for a letter of support?
16      A From what I can gather, that is the email that          16      A I believe her request for short-term disability
17   Sydney had sent to Bola.                                     17   was denied, or there was some issue, and she wanted a
18      Q Okay. And then where it says my response, and           18   letter of support. And that's when I contacted HR to ask
19   then followed by a block quote, is it your understanding     19   them about such a letter.
20   that it was referencing what Ms. Lamina had said in          20      Q And your position is that they don't allow that?
21   response to Sydney's email?                                  21   Sorry, I don't want to misstate what you said.
22      A That's how I would read it, yes.                        22      A When I asked that's what I understood from Ms.
23      Q Okay. And then where Sydney states, I just ended        23   Lamina that that is not the process and the procedure we
24   a phone call with Salma about my request for a letter of     24   follow.
                                                    Page 56                                                            Page 57
 1     Q Do you remember if Ms. Lamina that told you why           1   Dillard_DePaul 3427.
 2   they don't allow letters of support?                          2      MS. WERMUTH: Thank you.
 3     MS. WERMUTH: Objection. Insofar as you misstated            3                       (Exhibit No. 11 was marked
 4   the record evidence and or the testimony.                     4                        for identification.)
 5   BY MS. SCATCHELL:                                             5   BY MS. SCATCHELL:
 6     Q It's not the policy and procedure, I apologize.           6      Q Okay. And I'm just going to ask you about page
 7     A I don't remember the specifics of what Ms. Lamina         7   Dillard_DePaul 3424.
 8   had said, but something to the effect that Liberty Mutual     8             And do you see that it says from yourself
 9   makes the decision based on medical documentation they        9   to yourself on June 17, 2018, correct?
10   get or something.                                            10      MS. WERMUTH: Objection. Misstates the record
11     Q And do you know if Ms. Dillard was being paid            11   evidence. Go ahead.
12   while she was denied short term disability?                  12   BY THE WITNESS:
13     A No, I do not remember the details.                       13      A I don't know if it's from myself to myself. I'm
14     Q And in Exhibit No. 6 where Bola indicates what           14   not sure what you're referring to. Where it says sent
15   her response was to Ms. Dillard, do you know why she sent    15   from my iPhone?
16   that to you?                                                 16   BY MS. SCATCHELL:
17     MS. WERMUTH: Objection. Foundation. Go ahead.              17      Q No. At the top of Page 3424, it says from
18   BY THE WITNESS:                                              18   Ghanem, Salma?
19     A I have no idea, maybe just FYI.                          19      A Yeah, I copied myself.
20   BY MS. SCATCHELL:                                            20      Q Okay. So you copied yourself. Then it also has
21     Q And I'M going to show you what is marked as              21   Lexa Murphy on there, correct?
22   Exhibit No. 11.                                              22      A Correct.
23     MS. WERMUTH: Can you read the page number, Gia.            23      Q And do you have any reason to believe that that
24     MS. SCATCHELL: Yes, it is Dillard_DePaul 3424 to           24   is not an email that you sent to yourself and to Ms.




                                                                                              15 (Pages 54 to 57)
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                                                   Page 58                                                           Page 59
 1   Murphy?                                                     1      Q I'm going to show you what I'm going to mark as
 2      A No reason not to believe that. I didn't send it        2   Exhibit No. 17. It's Dillard_DePaul 3477 and 3478.
 3   to myself as I mentioned earlier --                         3                       (Exhibit No. 17 was marked
 4      Q You cc'd --                                            4                        for identification.)
 5      A I cc'd myself.                                         5   BY MS. SCATCHELL:
 6      Q And do you know what you're referencing here           6      Q Okay. Do you recognize this email thread?
 7   where it says, she does speak Chinese by the way. We'll     7      A I do.
 8   discuss with HR before we agree to anything?                8      Q And what do you recognize it to be?
 9      A Yes. I believe part of the accommodation if I          9      A It was an inquiry that I sent to Ms. Bola Lamina
10   recall that she requested a student who speaks Mandarin.   10   in HR following Sydney Dillard asking me to write a
11   And Lexa was under the impression that she didn't speak    11   letter of support for her appeal to Liberty Mutual, and I
12   Mandarin, but I believe that Sydney did speak Mandarin.    12   was asking Bola if that is something I can do.
13      Q And what is GLE with China?                           13      Q And do you know why Ms. Lamina created a
14      A Global Learning Engagement, I think that's what       14   statement that you could respond to Sydney with?
15   it stands for. We have classes where a faculty member      15      MS. WERMUTH: Objection. Calls for speculation. Go
16   would partner with another faculty member overseas, and    16   ahead.
17   the students interact with each other. So one of her       17   BY THE WITNESS:
18   classes must have been doing that with a class in China.   18      A In matters of accommodation, we rely on HR to
19      Q And do you know why Ms. Murphy we say she didn't      19   tell us how to handle. They're the experts.
20   speak Mandarin before her seizures?                        20   BY MS. SCATCHELL:
21      MS. WERMUTH: Objection. Foundation.                     21      Q Okay. And where Ms. Bola states I would
22   BY MS. SCATCHELL:                                          22   recommend not to provide a letter of support as this is
23      Q If you know.                                          23   not part of the university's leave process. Do you see
24      A I have no idea.                                       24   that?
                                                   Page 60                                                           Page 61
 1      A I do.                                                1     you recognize that document? Whenever you're finished
 2      Q And do you know what the university's leave          2     reviewing, sorry.
 3   process is?                                               3        A Yes, I see it.
 4      A No, I do not.                                        4        Q Okay. And what is this document?
 5      Q Do you know who would know besides Ms. Lamina?       5        A This was the email that Sydney -- that Dr.
 6      A Southbound in HR.                                    6     Dillard sent me requesting an appeal support letter for
 7      Q And do you know where the leave process would be     7     her short-term disability claim that was denied.
 8   located?                                                  8        Q Okay. And then the email on Page 3487 at the
 9      A No, I do not.                                        9     top, do you recognize that document?
10      Q Do you know who would know?                         10        A Yes, I do.
11      A Somebody probably in the Benefit's Office of HR,    11        Q And what does this document refer to?
12   but it's just a guess.                                   12        A That's the email that I sent to Sydney, to Dr.
13      MS. SCATCHELL: Do you want to take a break?           13     Dillard, that I would be unable to provide her with a
14      MS. WERMUTH: We had a conversation about every hour. 14      letter of support because it's not part of the
15      MS. SCATCHELL: That's fine.                           15     University's leave process.
16                             (Short recess.)                16        Q And then where it says in the cc line of the
17   BY MS. SCATCHELL:                                        17     email        Shu-    an?
18      Q I'm going to show you what is going to be marked    18        A Correct.
19   as Exhibit No. 20.                                       19        Q Is that
20                        (Exhibit No. 20 was marked          20        A That is correct.
21                         as requested.)                     21        Q And why is she cc'd on that message?
22   BY MS. SCATCHELL:                                        22        A Because               had received the same message
23      Q And just review that document when you have a       23     or the same request from Sydney. And           I believe, I
24   moment. And that is Dillard_DePaul 3487 and 3488, and do 24     can't remember exactly, had reached out to me and so I




                                                                                            16 (Pages 58 to 61)
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                                                    Page 62                                                           Page 63
 1   was informing both Sydney as well as           about the     1   going to be marked as Exhibit No. 27, which is
 2   process.                                                     2   Dillard_DePaul 3538, 3539, and 3540.
 3      Q Okay. And you had previously testified that you         3                       (Exhibit No. 27 was marked
 4   didn't know what the university's leave process was,         4                        for identification.)
 5   correct?                                                     5   BY MS. SCATCHELL:
 6      A Correct.                                                6      Q Okay. Do you recognize this email thread?
 7      Q And in here you say it's not part of the leave          7      A I believe I do, yes.
 8   process?                                                     8      Q And what is it?
 9      A I was following the instructions from HR in the         9      A It is a communication between Bola Lamina and
10   email that I think it was Bola in one of the exhibits you   10   myself informing me that Liberty Mutual had denied her
11   showed me.                                                  11   short-term disability.
12      Q Okay. But you didn't at this point do any              12      Q Okay. And do you see in there on Page 3538, the
13   independent investigation on what the lead process was?     13   email says, Hello Salma, no action is needed from you at
14      A No, I did not.                                         14   this time. Liberty Mutual will contact Sydney to discuss
15      Q Was there any reason why you didn't look into it       15   the next steps. I couldn't reach her by phone but I've
16   further?                                                    16   emailed her to let her know that her pay has been
17      MS. WERMUTH: I'm going to object to the form of the      17   suspended, and that's signed, Bola.
18   question. It's argumentative and it misstates her           18             And do you have any reason to believe that
19   testimony. Go ahead.                                        19   this is not an email from Bola Lamina to you?
20   BY THE WITNESS:                                             20      A No.
21      A I checked. My responsibility was to check with         21      Q And does this refresh your recollection that Ms.
22   HR and I followed the instructions I had from HR.           22   Dillard was not getting paid while she was on short-term
23   BY MS. SCATCHELL:                                           23   disability?
24      Q Okay. And then I'm going to show you what is           24      MS. WERMUTH: Object to the form of the question.
                                                    Page 64                                                           Page 65
 1   Misstates record evidence. Go ahead.                         1      A                     is a faculty member in the College
 2   BY THE WITNESS:                                              2   of Communication.
 3     A This reminds me that her pay was being suspended,        3      Q And do you know what this is referencing where it
 4   yes.                                                         4   says           Knight's case?
 5   BY MS. SCATCHELL:                                            5      A Yes.
 6     Q And I'm going to show you what I'll mark as              6      Q Okay. What is it referencing?
 7   Exhibit No. 52, which is Dillard_DePaul 9437 to 9438.        7      A There was some question about some technical
 8                      (Exhibit No. 52 was marked                8   glitches that had happened in the - I believe it was the
 9                       for identification.)                     9   college's voting on Dr. Knight's case.
10   BY THE WITNESS:                                             10      Q Okay. And where it says underneath the email, it
11     A Okay.                                                   11   says, Dear         at the beginning of the email it says,
12   BY MS. SCATCHELL:                                           12   Thanks Lexa. And then underneath it there's an email
13     Q Okay. Do you recognize this document at all?            13   that says to the University Board on Promotion and Tenure
14     A I think so.                                             14   and Provost Ghanem?
15     Q Is it your understanding that the email is from         15      A Correct.
16   Alexandra Murphy to                                         16      Q And that continues onto the next page. Do you
17     A Correct.                                                17   recall receiving this communication from Ms. Murphy?
18     Q And who is                                              18      A If it came to me, which I think it did, it would
19     A She is the associate provost. She's one of the          19   have come to me from
20   associate provost and she handles the UBPT.                 20      Q Okay. And do you have any independent
21     Q And UBPT stands for University Board on Promotion       21   recollection of receiving that email from
22   & Tenure?                                                   22      A No reason to believe I did not.
23     A Correct.                                                23      Q Okay. And do you see in Paragraph 3 of the
24     Q And then who is                                         24   letter that's directed to you and the UBPT. It says, as




                                                                                             17 (Pages 62 to 65)
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                                                    Page 66                                                        Page 67
 1   T & P guidelines require a narration of any negative         1      A I think there was something in what was uploaded,
 2   vote, they weren't sure what to say in the document. No      2   but I don't recall exactly what it was.
 3   one offered any additional commentary to put in an           3      Q Okay. And do you have anything that would
 4   addendum. What is the T & P guideline?                       4   refresh your recollection?
 5      A Tenure & promotion guidelines.                          5      A If I would see what she wrote, it might help.
 6      Q Okay. And what does she mean by narration of any        6      Q Okay. And where it says, as is standard they
 7   negative vote?                                               7   circulated the document to all tenured faculty for at
 8      A You'd have to ask her, but the guidelines               8   least a week to solicit any feedback or needed changes.
 9   indicate that there has to be an explanation of why there    9   Do you see that part?
10   was a negative vote.                                        10      A I'm sorry, where is it?
11      Q And then on Page 2 of the email, 9438, the first       11      Q The same paragraph, I can see how.
12   paragraph says I can see how Sydney Dillard could           12      A I'm sorry, I can't see it. Oh, I can see how.
13   characterize the process as four separate votes. Do you     13      Q Where it says, as is standard, it's the second to
14   know what she's referring to here?                          14   last sentence.
15      MS. WERMUTH: Objection. Foundation. Go ahead.            15      A Okay.
16   BY MS. SCATCHELL:                                           16      Q Do you know what Ms. Murphy is referencing by as
17      Q If you know.                                           17   is standard?
18   BY THE WITNESS:                                             18      A I can't tell what she's referring to, no.
19      A I really don't recall how Sydney characterized         19      Q And then in the last paragraph where Ms. Murphy
20   that part.                                                  20   says, I sincerely apologize that in my meeting with the
21   BY MS. SCATCHELL:                                           21   UBPT, I didn't fully recall some important details that
22      Q But do you recall anything that Ms. Dillard had        22   could help explain the process. Do you know what she's
23   raised or any issue that Ms. Dillard had raised about the   23   referring to here?
24   vote referenced in this email?                              24      A Yes. When the UBPT reviews the portfolio of the
                                                    Page 68                                                        Page 69
 1   candidate, one of the elements is to meet with the dean.  1      P guidelines, do you know if they outline a voting
 2   And the UBPT members or somebody in the UBPT committee 2         processor procedure?
 3   had raised this issue with Dr. Murphy trying to           3          A I don't recall the details.
 4   understand what happened with the process.                4      BY MS. SCATCHELL:
 5     Q Okay. And do you recall or were you at the            5          Q Okay. And we will mark this as Exhibit No. 12.
 6   meeting that she had with the UBPT?                       6      It is Dillard_DePaul 4059. I have a copy for you.
 7     A I do attend all the meetings of UBPT, yes.            7          MS. WERMUTH: Good.
 8     Q And are there any minutes that are taken at these     8                           (Exhibit No. 12 was marked
 9   UBPT meetings?                                            9                            for identification.)
10     A No, there are not.                                   10      BY MS. SCATCHELL:
11     Q And do you know what was -- do you know if the       11          Q Okay. Do you recognize this document?
12   voting process changed after Ms.          voting issue?  12          A Yes.
13     A Within UBPT?                                         13          Q Okay. What is it?
14     Q Within the faculty voting process?                   14          A It is a document outlining the program chair
15     A In the College of Communication?                     15      duties, selection, and review process.
16     Q Yes.                                                 16          Q Okay. And do you know who drafted this?
17     A I do not know.                                       17          A I don't recall who drafted it, no.
18     Q Do you know who would know?                          18          Q Did you have any part in this process?
19     A I do not know.                                       19          A To be honest, I don't recall what was my
20     Q Do you know if there's policy regarding the          20      involvement. I don't know if it was something that
21   voting process for faculty members?                      21      already existed and we brought it up or if we modified
22     MS. WERMUTH: Objection. Vague.                         22      it, I don't recall.
23   BY MS. SCATCHELL:                                        23          Q Okay. And do you see where it says in Bullet
24     Q That was a bad question, I apologize. So the T &     24      Point Number 1, the Dean of the College invites




                                                                                           18 (Pages 66 to 69)
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                                                    Page 70                                                         Page 71
 1   nominations or several nominations from the program area     1      A Yes.
 2   faculty?                                                     2      Q Could you expand on what that means?
 3      A Uh-huh.                                                 3      A That if the Dean of the College accepts the
 4      Q Would the Dean of the College be referencing your       4   recommendation by the majority of the full-time faculty
 5   position at that time which would be 3/8/2016?               5   in the program and the Dean accepts it, then the person
 6      A Yes.                                                    6   has been selected as program chair.
 7      Q And then Number 2 where it says, Dean of the            7      Q Okay. And then number 9 says, if the Dean of the
 8   College asks if those nominated are willing to serve in      8   College rejects this recommendation, then the faculty is
 9   this role. Do you see that?                                  9   asked to revote on any remaining viable candidates. Do
10      A Yes.                                                   10   you see that?
11      Q Okay. So I guess if you can clarify for me, is         11      A I do.
12   the Dean of the College at the PRAD chair vote or when      12      Q In your experience, have you ever rejected a
13   does this get asked?                                        13   recommendation for PRAD chair before?
14      A No. This is -- let's say there is a program            14      MS. WERMUTH: Objection. Assumes facts not of
15   chair position that's going to be become available, you     15   record.
16   send -- you ask via email usually for nominations or        16   BY THE WITNESS:
17   self-nominations for people who for this -- to be           17      A No, I don't believe I have.
18   nominated for this position and then the next step is to    18   BY MS. SCATCHELL:
19   ask those who have been nominated because people could      19      Q Okay. And as of the Dean, can you overturn a
20   have been nominated by other people if they would be        20   recommendation and chose somebody yourself or how would
21   willing to serve in this role.                              21   that work?
22      Q Okay. And then it says in Subsection 8, if the         22      A If there is a -- I'm not sure I understand the
23   Dean of the College accepts this recommendation, the        23   question. Could you specify?
24   process is complete?                                        24      Q Yeah. If there was a certain person recommended
                                                    Page 72                                                         Page 73
 1   and you did not like that candidate, could you reject        1     Q Including the PRAD chair, correct?
 2   that recommendation and appoint somebody yourself or how     2     A Correct.
 3   would that work?                                             3     Q And there's no specific PRAD chair selection
 4      A Based on this policy, if the Dean rejects the           4   process and duties formed that exist outside this
 5   recommendation, then the faculty have to do another vote.    5   document that you're aware of?
 6      Q Okay. And would there be anytime where the              6     A Not that I'm aware of.
 7   faculty wouldn't have to do another vote to have a           7     Q And in March of 2016, do you recall if the
 8   program chair?                                               8   program chair was
 9      A Not according to this document.                         9     A I can't tell if it was           or
10      Q Okay. And do you remember who the program chair        10
11   was in 2016, March of 2016?                                 11      Q And who is
12      A I can't be 100 percent sure --                         12      A She used to be a program chair of PRAD as well,
13      MS. WERMUTH: I want to state an objection here, too.     13   but I can't remember when each one started.
14   You're assuming that this -- that the PRAD chair is the     14      Q And when in Subpart numbers 8 and 9 accepting or
15   only program chair position in the college, so I just       15   rejecting the recommendation, what factors go into
16   want to make that clear.                                    16   accepting or rejecting the recommendation referenced
17   BY MS. SCATCHELL:                                           17   here?
18      Q Is there any other program chairs in the College       18      A That's up to the Dean to accept or reject.
19   of Communications?                                          19   There's no factor in particular.
20      A Yes.                                                   20      Q Okay. So what information do -- when you were
21      Q And what is your understanding of what program         21   the Dean of the College, what information did you use to
22   chair this duty selection and review process is referring   22   accept or reject the recommendation?
23   to?                                                         23      MS. WERMUTH: Let me just object to the form of the
24      A To all program chairs.                                 24   question insofar as it assumes that during the period of




                                                                                            19 (Pages 70 to 73)
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                                                  Page 74                                                         Page 75
 1   time she was a Dean she made such a decision. Go ahead     1   annually by the Dean of the College. Do you see that?
 2   and answer.                                                2      A Yes.
 3   BY MS. SCATCHELL:                                          3      Q Okay. And what kind of review is done by the
 4       Q I'll back up. So during your time as the Dean,       4   Dean of the College?
 5   did you ever accept or reject a recommendation of any      5      A It is part of the annual performance review that
 6   program chair?                                             6   where each one of the program chairs is being reviewed.
 7       A Yes, I believe I have.                               7      Q Okay. And are you aware if the program selection
 8       Q Okay. And when you accepted or rejected any of       8   process meetings have any kind of minutes or are
 9   those recommendations, what information did you use to     9   recorded?
10   make your decision to accept or reject?                   10      A Not that I'm aware of.
11       A I looked at the vote and my knowledge of the        11      Q Okay. And did you ever ask to be in the room
12   candidate and that's as far as I can remember.            12   during the faculty members presentation or question and
13       Q Okay. And do you see where it says that in          13   answer session?
14   number 3, those willing to serve are asked to provide a   14      MS. WERMUTH: I'm just going to object again as
15   presentation and answer questions at a faculty meeting?   15   vague. Like, I don't even know which --
16       A Uh-huh.                                             16      MS. SCATCHELL: In Section 3.
17       Q Does that presentation and answers to the           17      MS. WERMUTH: It's not even clear what particular
18   questions factor into your decision to accept or reject   18   presentation you're talking about.
19   the candidate?                                            19      MS. SCATCHELL: In Section 3.
20       A I don't believe I attended those presentations.     20      MS. WERMUTH: But whose presentation? We haven't
21   It's based on those presentations that I received the     21   even established --
22   recommendation from the faculty.                          22      MS. SCATCHELL: It says that there's a presentation.
23       Q Okay. And it says review process at the end of      23   BY MS. SCATCHELL:
24   this document, and it says program chairs are reviewed    24      Q Is it your understanding that the program chair
                                                  Page 76                                                         Page 77
 1   candidate provides a presentation and Q & A session at a  1    how the vote -- let me rephrase that.
 2   faculty meeting to be selected as program chair?          2               Is there any reason to believe that a
 3      MS. WERMUTH: What time period are you talking about? 3      presentation and Q & A session is not factored into the
 4      MS. SCATCHELL: The time period that's referenced in    4    faculty vote for program chair candidate?
 5   this document?                                            5        MS. WERMUTH: Objection. Foundation. Calls for
 6      MS. WERMUTH: In 2016?                                  6    speculation. Go ahead.
 7      MS. SCATCHELL: Yes.                                    7    BY THE WITNESS:
 8   BY THE WITNESS:                                           8        A I mean, this is how the process is outlined, so
 9      A I got a little bit confused so can I have the        9    it's part of what faculty, I assume, take into
10   question again?                                          10    consideration.
11   BY MS. SCATCHELL:                                        11    BY MS. SCATCHELL:
12      Q Yes, okay. So is it your understanding that a       12        Q And you believe this to be an accurate document
13   candidate for a program chair position gives a           13    of how a program chair's duties, selection, and review
14   presentation and answers questions at a faculty meeting  14    process works in 2016?
15   as laid out in Section 3 of this document?               15        A As far as I can recall.
16      A Yes.                                                16        Q Okay. Perfect. And during these presentations
17      Q Okay. And it's also your understanding that this    17    for candidates for program chair, did you ever ask to be
18   presentation and Q & A session is what factors into the  18    part of the presentation of Q & A session as outlined in
19   faculty vote for the program chair candidate?            19    Number 3?
20      MS. WERMUTH: Objection.                               20        A That, I don't recall.
21   BY THE WITNESS:                                          21        MS. SCATCHELL: Okay. Actually, can we take a 10
22      A Possibly.                                           22    minute break?
23   BY MS. SCATCHELL:                                        23        MS. WERMUTH: You bet.
24      Q Do you have any reason to believe that that's not   24                           (Short break.)




                                                                                         20 (Pages 74 to 77)
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                                                    Page 78                                                          Page 79
 1   BY MS. SCATCHELL:                                            1   meant by that?
 2      Q I'm going to show you what we're going to mark as       2      A Yes. There were some concerns that were brought
 3   Exhibit No. 8, and it's Dillard_DePaul 3390.                 3   up in her last formal review that she addressed and
 4                       (Exhibit No. 8 was marked                4   changed some of her teaching approaches that improved her
 5                        for identification.)                    5   teaching. So I was commending her and congratulating her
 6   BY THE WITNESS:                                              6   for doing that.
 7      A Okay.                                                   7      Q Okay. And then I'm going to show you what's been
 8   BY MS. SCATCHELL:                                            8   marked as Exhibit No. 9, which is Dillard_DePaul 3391 to
 9      Q What is this document?                                  9   3392.
10      A This is my letter to Dr. Dillard following her         10                       (Exhibit No. 9 was marked
11   fifth-year probationary teaching review.                    11                        for identification.)
12      Q And the fifth-year probationary teaching review,       12   BY MS. SCATCHELL:
13   do you know if that was a formal review or informal         13      Q Actually, before we go to that document I
14   review?                                                     14   actually have one more question. Do you know if the
15      A I believe that was a formal review focusing just       15   peer-review committee or personnel committee rather had
16   on teaching.                                                16   recommended Ms. Dillard to undergo a separate review for
17      Q Okay. And do you know why it was a formal review       17   teaching, formal review for teaching?
18   focusing just on teaching?                                  18      A I am not sure I follow you.
19      A Yes. It was based on her prior formal review           19      Q So the personnel committee is the committee that
20   where they felt -- where the faculty felt that she needed   20   does the tenure track reviews, correct?
21   an additional review focusing just on teaching.             21      A It does the first review.
22      Q Okay. And where you say I commend you for your         22      Q The first review?
23   reflexivity and pedagogical approaches you took to          23      A Yes.
24   improve your teaching. Could you expand on what you         24      Q And do you know if the personnel committee had
                                                    Page 80                                                          Page 81
 1   recommended Ms. Dillard to have a fifth-year probationary    1   indicating that improvements in this area are warranted?
 2   teaching review that focused only on teaching and was        2      A Okay.
 3   formal in nature?                                            3      Q What were the improvements that they were
 4      A I don't remember if it was the personnel that           4   referring to, and they being the faculty members?
 5   recommended it to the full faculty or if it was the full     5      A They had outlined them. I think I mentioned some
 6   faculty who made that decision, no, I don't.                 6   of them here in this letter, feedback on assignments and
 7      Q Do you know would anything refresh your                 7   organization.
 8   recollection?                                                8      Q Okay. And did you ever personally witness Ms.
 9      A I'd have to see the document.                           9   Dillard teaching any of her classes?
10      Q And what document are you referring to?                10      A No, I did not.
11      A The formal review recommendation that comes to         11      Q Okay. Do you know if any of the faculty members
12   me.                                                         12   that conducted this vote had personally witnessed her
13      Q Okay. That's it for that document. So we'll go         13   teaching?
14   to Exhibit No. 9, which is 3391 and 3392.                   14      A My guess, yes, because there are peer review of
15      A Okay.                                                  15   teaching, but I cannot be sure.
16      Q Do you recognize this document?                        16      Q Okay. And do you know how they came to that
17      A I do.                                                  17   decision that she needed to make these improvements or
18      Q And what is this document?                             18   what materials they used, the faculty?
19      A This was my letter in regard to the                    19      A They look at the materials that she submits for
20   recommendation that I had received from the college about   20   her formal review.
21   her formal review.                                          21      Q And that would be like a syllabus or what would
22      Q Okay. And do you see where it says the tenured         22   that information that Ms. Dillard would submit be?
23   faculty did not unanimously agree about your progress       23      A There's a whole bunch of things, everything from
24   towards tenure in teaching with 16 to 20 faculty members    24   syllabi to assignments to course evaluations. If at the




                                                                                            21 (Pages 78 to 81)
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                                                    Page 82                                                          Page 83
 1   time there were peer reviews, those would be included and    1   different approaches that she took, that's what I recall.
 2   so on.                                                       2      Q Okay.
 3      Q Okay. And so in Exhibit No. 8, you had mentioned        3      A That's what I'm referring to in March, 2018.
 4   that Ms. Dillard's teaching has improved?                    4      Q And then in Exhibit No. 10, and that is
 5      A Correct.                                                5   Dillard_DePaul 3397.
 6      Q Okay. What changed from, I guess, it would be           6      A Yes.
 7   from March 16, 2017, which is Exhibit No. 9 to March 13,     7                      (Exhibit No. 10 was marked
 8   2018, which would be Exhibit No. 8?                          8                       for identification.)
 9      A That she made improvements in her teaching?             9   BY MS. SCATCHELL:
10      Q Yes.                                                   10      Q Okay. And just review this document and let me
11      A Between both of them.                                  11   know when you finish.
12      Q So what changed in terms of like her teaching          12      A Okay.
13   that would give her now satisfactory marks or however you   13      Q What is this document?
14   --                                                          14      A It is an email from Dr.             to members of
15      A I cannot recall exactly what the tenured faculty       15   the college with the external review letters.
16   members had indicated or what her dossier showed, but I     16      Q Okay. And you're on this on the email thread,
17   would assume part of it would be her teaching               17   correct?
18   evaluations, both quantitative and qualitative.             18      A Yes.
19      Q Okay.                                                  19      Q And what are external review letters?
20      A As well as, I would like to add, there's a             20      A When a faculty member goes up for tenure or
21   narrative that is written by the faculty member.            21   promotion, they solicit feedback from reviewers outside
22      Q So Ms. Dillard would be the person that wrote the      22   of the University to commend the quality of the
23   narrative?                                                  23   candidates research and creative activities.
24      A Yes. And in the narrative, she would address the       24      Q Okay. And the three links that appear at the
                                                    Page 84                                                          Page 85
 1   bottom app.box.com followed by a whole bunch of letters      1   included in it?
 2   and numbers.                                                 2      A Based on my email response to Lexa and where it
 3      A Uh-huh.                                                 3   says attachment, it mentions three attachments.
 4      Q What are those links referring to?                      4      Q And I'm going to mark this document as Exhibit
 5      A Box folders that contain the external review            5   No. 51.
 6   letters.                                                     6                       (Exhibit No. 51 was marked
 7      Q And who is                                              7                        for identification.)
 8      A He's a faculty member in the College of                 8   BY THE WITNESS:
 9   Communications.                                              9      A Okay.
10      Q And then I'm going to show you what's marked as        10      Q Do you recognize this document?
11   Exhibit No. 13, which is Dillard_DePaul 3441.               11      A Vaguely, yes.
12                        (Exhibit No. 13 was marked             12      Q Okay. And what do you recognize about this
13                         for identification.)                  13   document?
14   BY MS. SCATCHELL:                                           14      A This is a resolution that Faculty Council had
15      Q And do you recognize this document?                    15   approved and comes to me to respond, and I respond on
16      A Yes, I do.                                             16   behalf of the president.
17      Q And what is this document?                             17      Q Okay. And who is
18      A It's Dr. Lexa Murphy asking me for copies of the       18      A               was Faculty Council's president at
19   letters I wrote to Sydney when she was on the under         19   that time.
20   formal review.                                              20      Q Okay. And what is his role as Faculty Council
21      Q Do you know why Ms. Murphy asked you for these         21   president?
22   documents?                                                  22      A He presides over Faculty Council.
23      A I do not recall.                                       23      Q Okay. And what would his duties be for as
24      Q And do you know if this email had attachments          24   presider of Faculty Council?




                                                                                            22 (Pages 82 to 85)
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                                                   Page 86                                                         Page 87
 1      A I do not know in full detail what his role would       1      A When there is a motion in Faculty Council it has
 2   be.                                                         2   to have a sponsor.
 3      Q Do you know anything about what his role is?           3      Q And do you see where it says
 4      A He convenes the meetings of Faculty Council.           4      A Yes.
 5      Q And then it says your response is dated February       5      Q And who is she?
 6   18, 2019, correct?                                          6      A At that time, she was a Faculty Council
 7      A Correct.                                               7   alternate, and she is a faculty member in the Department
 8      Q And you say I have reviewed Faculty Council's          8   of Political Science.
 9   Record of Action 1819-ROA-036 Motion regarding concerns     9      Q And what ethnicity does she identify it?
10   of faculty and staff of color. Is the record of action     10      A I believe she identifies as Black.
11   is that the document that appears on 9428 or Page 3 of     11      Q And who is
12   this document?                                             12      A                     at that time a Faculty Council
13      A The record of action would be the whole document      13   representative to Faculty Council and Chair of the
14   if I'm not mistaken comes to me. I think it would be       14   Promotion and Tenure Policy Committee as it states in
15   this one with the number, the record of action sent to     15   there. And she -- I don't know if she was or not chair
16   me.                                                        16   of the Chemistry Department.
17      Q And this one, you mean 9428?                          17      Q Okay. And what's her ethnicity?
18      A Correct.                                              18      A I believe it is Black.
19      Q And then is there anything missing from --            19      Q And is she still at the University?
20      A I can't tell.                                         20      A Yes, she is.
21      Q And do you know who drafted the document on 9428?     21      Q Is that still her current position or does she
22      A No, I do not.                                         22   have some other position?
23      Q And what does it mean for somebody to be a            23      A At the University?
24   sponsor as it refers to this document?                     24      Q Yes.
                                                   Page 88                                                         Page 89
 1      A She is Chair of the Department of Chemistry and        1      Q Okay. And did you ask them to give you more
 2   she's Vice-President of Faculty Council.                    2   information about what they meant by a pattern of buying
 3      Q And who is                                             3   out or pushing out faculty of color?
 4      A            was an alternate member from the College    4      A Not that I recall.
 5   of Liberal Arts and Social Studies on Faculty Council.      5      Q Any reason why?
 6      Q And what is his ethnicity?                             6      A Usually, the response I give to the motion to the
 7      A I believe it is white.                                 7   record of action responds to what I receive.
 8      Q And is he still at the University?                     8      Q And what is IRMA data in Bullet Point Number 2.
 9      A I believe so, yes.                                     9      A IRMA is Institutional Research and Marketing
10      Q And do you see where the next section says            10   Analytics.
11   indifference to concerns of faculty and staff of color?    11      Q And who conducts those surveys?
12      A Yes.                                                  12      A What surveys?
13      Q And it says the University has consistently           13      Q Or what would you call the analytics?
14   disregarded the concerns of faculty and staff of color     14      A It's data that comes from -- it's a lot of data
15   through actions that include, but are not limited to a     15   on the IRMA website.
16   pattern of buying out or pushing out faculty of color.     16      Q Okay. And who was in charge of putting the data
17   Do you what is referenced?                                 17   onto the IRMA website?
18      A No, I do not.                                         18      A There's a whole office.
19      Q Did you do any kind of investigation to find out      19      Q At DePaul?
20   what that meant?                                           20      A Yes.
21      A No. It's up to them to tell me what they mean.        21      Q And did you inquire as to what they meant by a
22      Q And was there any meeting that followed this          22   lack of commitment to appropriating dedicated resources
23   motion?                                                    23   to attracting and retaining faculty of color in Bullet
24      A No.                                                   24   Point Number 3?




                                                                                          23 (Pages 86 to 89)
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                                                  Page 90                                                          Page 91
 1      A No. That's why I referred in my response that        1       A The secretary of Faculty Council following the
 2   several unsupported general associations.                 2    Faculty Council meetings sends me all of the records of
 3      Q And was there any further action taken by the        3    actions.
 4   Faculty Council after they received your response?        4       Q Okay. And is that on a rolling basis or is that
 5      A Not that I recall specifically with regard to my     5    one time --
 6   response, I don't recall.                                 6       A No. They meet once a month and every month there
 7      Q And is there an appeal process or what would         7    will be records of action.
 8   happen in this situation if they pursued the matter       8       Q And you mentioned in your response that something
 9   further?                                                  9    about Goal Number 2 of the current strategic plan?
10      A They can resubmit it if they want.                  10       A Uh-huh.
11      Q Okay. Do you know if they resubmitted it in this    11       Q What is that?
12   case?                                                    12       A There is a strategic plan, a University-wide
13      A I do not recall.                                    13    strategic University plan called grounded in mission that
14      Q Do you know if there is any -- would anything       14    addresses the various goals of the University.
15   refresh you've your recollection rather?                 15       Q And is that document located anywhere?
16      A I have to see another Faculty Council Record of     16       A I believe it is on the University website.
17   Action.                                                  17       Q And what is the difference between a
18      Q And do you know where those record of actions are   18    vice-president for institutional diversity and equity and
19   maintained?                                              19    the associate provost for diversity?
20      A Faculty Council maintains them.                     20       A The vice-president for institutional diversity
21      Q Okay. And do you receive copies of all the          21    and equity reports to the president and addresses issues
22   faculty motions?                                         22    of institutional diversity and equity throughout the
23      A Yes.                                                23    entire institution. The associate provost for diversity
24      Q And how do you get provided those documents?        24    is focuses mainly on DEI issues within academic affairs.
                                                  Page 92                                                          Page 93
 1      Q And on Page 9427 or Number 2 of this document,        1   of color?
 2   you state that the Office of the President will shortly    2      A Do I agree -- could you repeat the question,
 3   announce the Presidential Fellows Program appointment and 3    please?
 4   the Presidential Fellows will work with the President and  4      Q Let me rephrase it.
 5   engage in research regarding diversity and inclusion       5             Do you agree that there is a lack of
 6   issues influencing the recruitment, retention, and         6   commitment to appropriating dedicated resources to
 7   success of diverse faculty, staff, and students?           7   attracting faculty of color as outlined in Bullet Point
 8      A Yes.                                                  8   3?
 9      Q Do you know what has been done regarding these        9      MS. WERMUTH: Page 9428?
10   issues of diversity and inclusion and influencing the     10      MS. SCATCHELL: Yes.
11   recruitment, retention, and success or diverse faculty,   11   BY THE WITNESS:
12   staff, and students?                                      12      A There have been resources dedicated to attracting
13      A By the Presidential Fellows Program?                 13   and retaining faculty of color. I don't think there has
14      Q Yes.                                                 14   been a lack of commitment on the part of the University,
15      A The Presidential Fellows Program has selected, I     15   but there are resource constraints that exist at the
16   believe two faculty members to each year to address       16   University.
17   issues. They come up with their own research project      17      Q Okay. And what are those resource constraints?
18   dealing with DEI type issues. They present their work.    18      A Budget.
19   They sometimes create certain work. They present to       19      Q Is that it?
20   Joint Council, and they inform the rest of the University 20      A Yes.
21   about the work that they've done.                         21      Q And do you believe that there is a pattern of
22      Q Okay. And do you agree with any of the               22   buying out or pushing out faculty of color as outlined in
23   statements made by this Faculty Council, Document 9428,   23   Bullet Point Number 1 on Page 9428?
24   regarding indifference to concerns of faculty and staff   24      A No, I do not.




                                                                                          24 (Pages 90 to 93)
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                                                   Page 94                                                          Page 95
 1      Q And what is your basis for that position?              1   still at DePaul University?
 2      MS. WERMUTH: Objection. It's argumentative.              2      A No, she is not.
 3   Assumes facts not of record. Go ahead.                      3      Q And when did she separate from the University?
 4   BY THE WITNESS:                                             4      A I can't recall exactly when she separated.
 5      A I am not aware of any process or pattern of focus      5      Q Okay. Do you know why she left the University?
 6   on buying out or pushing out faculty of color.              6      A Yes. She went to pursue a job opportunity at
 7   BY MS. SCATCHELL:                                           7   Northwestern.
 8      Q And you previously testified that Ms. Dillard is       8      Q Was she tenure track?
 9   the only domestic African-American tenure faculty member 9         A She was tenured.
10   in the College of Communication, correct?                  10      Q And                --
11      A At this point, yes.                                   11      A                       I think, was denied tenure
12      Q And at this point, was there a different point        12   prior to my arrival at DePaul.
13   where there were more than one?                            13      Q And do you know when she separated from DePaul?
14      A Yes.                                                  14      A Yeah. She would have separated -- her last year
15      Q And what was that point in time?                      15   would have been the first year I was at DePaul, so I
16      A I don't recall the exact date, but there have         16   think that would have been -- she would have separated at
17   been other Black faculty born in the United States in the  17   the end of 2014 to 2015.
18   College of Communication.                                  18      Q And then
19      Q Okay. And do you remember any of their names.         19      A Yes.
20      A Yes. I remember                      I can't remember 20      Q Is she still at the University?
21   her first name, but                                        21      A No, she's not.
22      Q                                                       22      Q And when did she separate from the University?
23      A        yeah. And                                      23      A I don't recall exactly.
24      Q Okay. And let's start with                     is she 24      Q Were you at the University when she left?
                                                   Page 96                                                          Page 97
 1      A Yes.                                                   1   correct?
 2      Q And do you know if she was tenured or tenure           2      A Correct.
 3   track?                                                      3      Q And all three of them were domestic born
 4      A She was tenure track.                                  4   African-Americans, from what you know?
 5      Q Okay. And do you know if she ever was accepted         5      A As far as I know, yes, but I can't be sure.
 6   -- was she denied tenure?                                   6      Q I'm going to show you what I'm going to mark as
 7      A No, she was not.                                       7   Exhibit No. 22 and this is Dillard_DePaul 3494 and 3495.
 8      Q Okay. Do you know what stage the tenure track          8                       (Exhibit No. 22 was marked
 9   process she was in?                                         9                        for identification.)
10      A I don't remember what year she was in, but she        10   BY MS. SCATCHELL:
11   decided she no longer wanted to pursue going up for        11      Q And the email from                    to you on
12   tenure.                                                    12   February 17, 2015. Do you see that?
13      Q Okay. Do you know if she ever made it to the          13      A I do.
14   tenure review?                                             14      Q Okay. And do you have any reason to believe this
15      A I don't believe she did.                              15   is not an accurate copy of this email that was sent by
16      Q Okay. And back to                   Do you know if    16           to you?
17   she was tenured when she came to the University?           17      A No reason.
18      A She was hired before I was, and I believe she         18      Q And do you see where the subject line, research
19   came in with tenure.                                       19   leave and December term teaching?
20      Q And                  was African-American, correct?   20      A Correct.
21      A Correct.                                              21      Q And on 3495 the document states, I personally
22      Q And        Picot was African-American, correct?       22   believe that Sydney needs to focus on her research. As
23      A I believe so, yes.                                    23   to my knowledge, she has not published anything since her
24      Q And                           was African-American,   24   last review and her 2013 publications are with her




                                                                                           25 (Pages 94 to 97)
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                                                      Page 98                                                         Page 99
 1   advisor. I have attached her updated CV. That being             1      Q Okay. And do you recall doing any independent
 2   said, as she's taking a two-quarter leave, she may need         2   investigation into whether or not her teaching or
 3   the money. I would never want to stay in the way of her         3   research needed more?
 4   finances, but all things considered, I think she would be       4      A As I mention in my reply, I don't believe that a
 5   better served to focus on her research without a teaching       5   faculty member who's on leave for research should be
 6   interruption. Please let me know your thoughts,                 6   permitted to teach during that time.
 7   decision, et cetera. Do you know what she's referring to        7      Q And do you know who                          is?
 8   her?                                                            8      A Yes.           was a staff member in the College
 9      A From what I gather, I don't recall this exchange,          9   of Communication.
10   but based on what I'm gathering, she was granted a             10      Q Okay. And was, she left the University?
11   research leave. Research leave means you don't have to         11      A I believe so, yes.
12   do research, so you don't have to do teaching so you can       12      Q Okay. Do you know why she left the University?
13   focus on your research. Also, you get full pay or you          13      A I really don't recall.
14   get paid during your research leave. I don't know if it        14      Q Okay. And what was her ethnicity?
15   was full pay or not.                                           15      A She's Black.
16      Q Okay. And do you know what Ms.                based her   16      Q And do you recall any complaints she made to you
17   statement that Ms. Dillard would be better served on her       17   about being discriminated against?
18   research without a teaching interruption on?                   18      A No, I do not recall.
19      A Say that again.                                           19      Q Would anything refresh your recollection?
20      Q Do you know what she based that statement that            20      A I'd have to see some evidence.
21   she should focus on research without a teaching                21      Q And do you recall when you were the Dean of the
22   interruption?                                                  22   college of Communication whether or not there were any
23      A I think based on her email, she is saying that            23   allegations of somebody being harassed or discriminated
24   would allow her to focus on research.                          24   against based on the race?
                                                     Page 100                                                        Page 101
 1      MS. WERMUTH: I'm sorry, can you restate that?                1      A If I see any documentation, it might be helpful.
 2      MS. SCATCHELL: Yes.                                          2      Q Okay.
 3   BY MS. SCATCHELL:                                               3      MS. WERMUTH: Do you want another quick break?
 4      Q So when you were the Dean of Students for the              4      MS. SCATCHELL: Yeah. Now is a good time for a
 5   College of Communication, do you recall any instances           5   break.
 6   where a faculty member had approached you about being           6                             (recess.)
 7   discriminated against based on race?                            7      MS. SCATCHELL: Back on the record.
 8      MS. WERMUTH: I'm going to object to the form of the          8   BY MS. SCATCHELL:
 9   question because Dr. Ghanem was never Dean of Students.         9      Q All right. I am going to show you what is going
10   I'm also objecting --                                          10   to be marked as Exhibit No. 14, and that is going to be
11      MS. SCATCHELL: Associate Dean --                            11   Dillard Discovery Production 2699.
12      MS. WERMUTH: She was Dean of the College of                 12                       (Exhibit No. 14 was marked
13   Communication. She wasn't Dean of Students. Also,              13                        for identification.)
14   insofar as she's already testified as to complaints that       14   BY MS. SCATCHELL:
15   she received from                   and Dr. Dillard. We've     15      Q And do you recognize that document?
16   been over some of this already.                                16      A No.
17   BY MS. SCATCHELL:                                              17      Q Okay. And where it says Lexa, do you recognize
18      Q So I apologize. While you were the Dean of the            18   -- Let me strike that.
19   College of Communications, other than Ms.                and   19             Were you aware that             was chosen
20   Ms. Dillard, do you recall any other faculty or staff          20   to be the PRAD chair for an additional year?
21   members that approached you with complaints of                 21      A I really don't recall how they resolved it
22   discrimination or harassment based on their race?              22   internally within the college.
23      A I do not recall.                                          23      Q Okay. Then let's go to what I'm going mark as
24      Q And would anything refresh your recollection?             24   Exhibit No. 15. That is Dillard_DePaul 238, 239 to 240,




                                                                                            26 (Pages 98 to 101)
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                                                   Page 102                                                         Page 103
 1   and I have a copy for you, Anna.                         1           Q I don't know. This is produced by your attorney.
 2                      (Exhibit No. 15 was marked            2           MS. WERMUTH: Your question assumes that the provost
 3                       for identification.)                 3        is even involved in local academic unit practices.
 4     THE WITNESS: I don't have 239. I have 42 and 44.       4           MS. SCATCHELL: No, it doesn't. I'm just asking her.
 5     MS. WERMUTH: Can we go off the record for one          5           MS. WERMUTH: So I guess to your point as to whether
 6   second.                                                  6        or not we produced it, we did. But in October of 2019,
 7                      (Short recess.)                       7        Dr. Ghanem was the provost of the University.
 8                                                            8        BY MS. SCATCHELL:
 9   BY THE WITNESS:                                          9           Q Do you know who                        is?
10       A Okay.                                             10           A I'm sorry, say that again.
11   BY MS. SCATCHELL:                                       11           Q Do you know who                        is?
12       Q And do you recognize this document?               12           A Yes.                     is a faculty member in the
13       A No, I don't.                                      13        College of Communication.
14       Q Okay. And do you see where it says program chair 14            Q And does she serve on any other positions?
15   duties, selection and review process, correct?          15           A I believe she has a position with study abroad --
16       A Uh-huh.                                           16        with the Office of International studies, focusing on
17       Q And do you know whose responsibility it would be 17         Latin America.
18   to draft this document?                                 18           Q Okay. And does she also do something with the
19       A No, I don't --                                    19        diversity, equity, and inclusion?
20       MS. WERMUTH: Objection. Foundation. Go ahead. 20                 A I believe she used to be the -- I'm drawing a
21   BY THE WITNESS:                                         21        blank on the name, I'm sorry. She used to be what
22       A As I said, I do not know what this document -- is 22                  is doing now. Diversity advocate for the
23   it for the College of Communication?                    23        College of Communication, but not currently. And I do
24   BY MS. SCATCHELL:                                       24        believe she is chair of PRAD.
                                                   Page 104                                                         Page 105
 1      Q Okay. So she's the program chair for PRAD?               1      Q Okay. Would that be memorialized anywhere in
 2      A Yes.                                                     2   writing?
 3      Q Okay. Do you know when she started that                  3      A Only if she or I had sent a follow-up, but I
 4   position?                                                     4   don't recall.
 5      A No.                                                      5      Q Okay. And then when she would come to your
 6      Q And I just want to make sure I have your                 6   office, would it be more of an informal meeting or more
 7   testimony correct. Was she ever the diversity advocate?       7   of a formal meeting?
 8      A Yes, she was.                                            8      A I don't know what the delineation is between
 9      Q Okay. Was she ever the diversity advocate when           9   formal and informal.
10   you were the Dean of the College of Communication?           10      Q Would she have to make an appointment ahead of
11      A Yes, she was.                                           11   time, or would she just drop by your office if you she
12      Q What was your interaction with                 as the   12   saw you in the office?
13   diversity advocate while you were the Dean?                  13      A It could be both.
14      A There wasn't a formalized interaction, but she          14      Q And do you believe that she's a truthful person
15   would come and drop by my office and talk to me.             15   in your opinion?
16      Q Okay. And would she ever -- do you recall if you        16      A I have no reason to believe not.
17   ever had a conversation with her about any sort of           17      Q Okay. And who is DePaulia or what is DePaulia?
18   discrimination or harassment based on race?                  18      A It's the independent student newspaper.
19      A I don't believe there was any discussion about          19      Q And by independent, you mean separate from the
20   discrimination, but they're more about the climate           20   University?
21   overall in the college.                                      21      A Well, it's located at the University. It has a
22      Q Okay. And do you remember what she said about           22   faculty advisor, but the University administration does
23   the climate?                                                 23   not dictate or have any editorial control of what is
24      A No, I don't recall detail.                              24   published in the DePaulia.




                                                                                         27 (Pages 102 to 105)
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                                                 Page 106                                                         Page 107
 1      Q And who is the faculty advisor?                        1      A Yes. I participated in town hall meeting with
 2      MS. WERMUTH: Currently?                                  2   the president. I've participated in University-wide town
 3   BY THE WITNESS:                                             3   hall meetings.
 4      A Yeah, I think it's              (phonetic). I          4      Q Okay. And do you recall ever attending a
 5   think that's the name.                                      5   DPUBLIC's Black town hall meeting?
 6   BY MS. SCATCHELL:                                           6      A No, I have not.
 7      Q And do you read the DePaulia?                          7      Q And were you aware of the town hall meeting
 8      A Occasionally.                                          8   occurring before it happened or did you find out
 9      Q And are you aware of any town hall meetings that       9   afterwards?
10   happen at DePaul?                                          10      A I don't recall specifics, but usually it's
11      A They're multiple town hall meetings.                  11   afterwards.
12      Q Specifically Black town hall meetings?                12      Q Who is                      ?
13      A I think the DPUBLIC have held a couple of town        13      A It's not ringing a bell.
14   hall meetings.                                             14      Q Is he a staff co-chair on DPUBLIC?
15      Q And what exactly is a town hall meeting, in your      15      A I really don't recall.
16   opinion?                                                   16      Q What about Natalie Daniels, do you know who that
17      A Basically people are welcome to attend, and it's      17   is?
18   an open meeting. That's the way I would see a town hall    18      A I don't recall.
19   meeting.                                                   19      Q Do you know who currently is the head of DPUBLIC
20      Q And is it staff, students? Who is allowed to a        20   at this time?
21   continued?                                                 21      A No, I do not.
22      A Depends on the organizers of the town hall.           22      Q Does DePaul have a diversity advocate currently?
23      Q Okay. And have you ever attended a town hall          23      MS. WERMUTH: Objection. Vague. Assumes facts not
24   meeting?                                                   24   of record.
                                                 Page 108                                                         Page 109
 1   BY THE WITNESS:                                             1   the Dean of the College of Communication alleging that
 2       A Diversity advocates exist within each college, so     2   there's been microaggressions leveraged against them.
 3   it's not one diversity advocate.                            3      MS. WERMUTH: Asked and answered. There's
 4   BY MS. SCATCHELL:                                           4   substantial testimony on this topic already. Go ahead
 5       Q Does the College of Communication have a              5   and answer.
 6   diversity advocate?                                         6   BY THE WITNESS:
 7       A I believe it does.                                    7      A I believe in the meeting that was held with
 8       Q And who is that person?                               8              and Sydney Dillard that was brought up.
 9       A I believe it's think it's Luisela                     9   BY MS. SCATCHELL:
10       Q Are you familiar with the term microaggressions?     10      Q And do you know what was done to address those
11       A Yes.                                                 11   issues of microaggressions?
12       Q What does that term mean to you?                     12      A It depends --
13       MS. WERMUTH: I'm just going to object to the form of   13      MS. WERMUTH: Hang on. Let me just object. Assumes
14   the question. Go ahead.                                    14   facts not of record. Go ahead.
15   BY THE WITNESS:                                            15   BY THE WITNESS:
16       A A microagression where it can basically -- it's      16      A Again, you know, you'd have to tell me which
17   kind of I would call it a death by a thousand cuts. So     17   particular microagression. I tried to -- I had a long
18   it's the idea that you can have small aggressions          18   discussion with        and Sydney during that meeting
19   leveraged against a person and over time. It's a big       19   trying to explain certain things, but there is not --
20   issue, so it can be anything from the way somebody is      20   there isn't an action to be taken to every microagression
21   greeted to the way somebody is ignored through the way     21   that might happen or somebody might indicate has
22   somebody is talked to, so it can come in many, many        22   happened.
23   forms.                                                     23   BY MS. SCATCHELL:
24       Q Okay. And has anyone come to you while you were      24      Q Okay. And do you remember what specifically you




                                                                                       28 (Pages 106 to 109)
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                                                   Page 110                                                        Page 111
 1   stated about the microaggressions to         or Sydney       1   BY MS. SCATCHELL:
 2   during the meeting that you're referencing?                  2      Q Okay. Do you recognize that document?
 3      MS. WERMUTH: Objection. Vague. Objection. Assumes         3      A I do.
 4   facts not of record. Go ahead.                               4      Q And what is this document?
 5   BY THE WITNESS:                                              5      A This was a message from faculty staff and
 6      A It was in response to whatever they brought up,         6   students of African descent, the DPUBLIC community, I
 7   so I didn't bring up the issue of microaggressions. If I     7   think.
 8   recall, they brought up examples of microaggressions that    8      Q Okay.
 9   they felt, perceived.                                        9      A And the Black Student Union.
10   BY MS. SCATCHELL:                                           10      Q And what is the Black Student Union?
11      Q And do you know if there was an independent            11      A A group of students of Black students
12   investigation into those specific microaggressions that     12   organization.
13   were brought up?                                            13      Q And do you see on Page 8158 where it says
14      A That is when I referred back to our discussion to      14   University climate?
15   Barbara           , so I don't know if they investigated    15      A Yes.
16   those or not.                                               16      Q Do you know what they're referencing when they
17      Q And I'm going to show you what I'm going to mark       17   mention in the Faculty Handbook 4.4.1, misconduct charge?
18   as Exhibit No. 19. Okay. You should have it now.            18      A Yes.
19      MS. WERMUTH: I don't yet.                                19      Q Okay. What is that referring to?
20   BY MS. SCATCHELL:                                           20      MS. WERMUTH: Let me just object on relevance
21      Q And this is going to be referred to as                 21   grounds. Go ahead.
22   Dillard_DePaul 8157 to 8161.                                22   BY THE WITNESS:
23                        (Exhibit No. 19 was marked             23      A The Faculty Handbook 4.4.1 outlines how
24                         for identification.)                  24   misconduct is to be handled at the University. Faculty
                                                   Page 112                                                        Page 113
 1   Handbook 4.4.1 was developed by a committee and approved     1      A Yes, I see it.
 2   by Faculty Council for inclusion in the Faculty Handbook.    2      Q Okay. And do you know in the first sentence it
 3      Q And do you have any idea why that would be              3   says, faculty, staff and students uniformly discussed a
 4   referenced in this letter?                                   4   gap between DePaul stated DEI commitment and their actual
 5      MS. WERMUTH: Objection. Foundation. Calls for             5   record of accomplishment? Do you know what meeting
 6   speculation.                                                 6   they're referring to or discussion rather?
 7   BY MS. SCATCHELL:                                            7      A No, I do not.
 8      Q If you know.                                            8      Q Okay. And then do you see in the second
 9      A I do. There was some question about the way             9   paragraph where it says mentioning listening tours?
10   4.4.1 was phrased that it could be targeting particularly   10      A Yes.
11   faculty of color or Black faculty.                          11      Q What is a listening tour?
12   BY MS. SCATCHELL:                                           12      A A listening tour were tours organized between the
13      Q Okay. And do you know what language in                 13   President, the Vice-President Office of OIDE,
14   particular was the concern?                                 14                     and myself, and there might have been
15      A I think, and I don't have the handbook in front        15   somebody else where we met with different affinity groups
16   of me, but it said something about misconduct based on a    16   on campus to listen to their concerns, issues, and so on.
17   bunch of things including a pattern of intimidation and     17      Q Okay. Were you at any of the --
18   something else, but I can't remember what the exact         18      A Yes, I was.
19   wording was.                                                19      Q Do you know how many listening tours there were
20      Q Okay. And then do you see the section on Page          20   in, let's say, the last three years?
21   8159 where it says limited accountability and commitment    21      A Well, I think they were started last year and
22   to diversity, inclusion, and equity?                        22   they were with each of the affinity groups, maybe six or
23      A I'm sorry, can you say which page again?               23   seven, or at least some with the affinity groups, six or
24      Q Sure. 8159.                                            24   seven. I can't remember the exact number.




                                                                                        29 (Pages 110 to 113)
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                                                  Page 114                                                         Page 115
 1       Q And by affinity groups, could you explain what      1      Organization and DPUBLIC?
 2   you mean by that?                                         2         A I do not know if there was a meeting.
 3       A Yeah, like with the DPUBLIC, it's called ERG and    3         Q Okay. And on Page 8157 it mentions an
 4   again now -- something, group. So it would be one for     4      organization called, CEID, which is Faculty Council on
 5   women, one for gay and lesbian groups, one for Latino     5      Equity, Inclusion and Diversity.
 6   groups, and so on. They were organized by the Office of   6         A Yes.
 7   the President.                                            7         Q What is that?
 8       Q Okay. And then on the last page or second to        8         A Faculty Council developed a committee called CEID
 9   last page, Page 8160.                                     9      made of different faculty members. Faculty Council has
10       A Yes.                                               10      multiple committees and this was a new committee that
11       Q Sorry.                                             11      they formed called CEID, which is the committee on
12       MS. WERMUTH: We're there. Tell us what the question 12       equity, inclusion and diversity.
13   is.                                                      13         Q Have you discussed this document with anyone from
14   BY MS. SCATCHELL:                                        14      the University?
15       Q Where it says please contact the officers of       15         A It was addressed at the cabinet.
16   DPUBLIC and Black Student Union to arrange a meeting     16         Q What's the cabinet?
17   before May 21, 2021. Do you know who they're calling on 17          A The cabinet is the president, the
18   to arrange a meeting?                                    18      vice-presidents. So the cabinet has several
19       A I believe they were requesting a meeting. If you   19      vice-presidents including myself, the chief of staff, and
20   go up to the beginning of the recommendation, a meeting  20      the president.
21   between President Esteban and the President of the Board 21         Q Okay. And do you recall when it was mentioned at
22   of Trustees.                                             22      the cabinet?
23       Q Do you know if any meeting happened with either    23         A No, I do not.
24   the Board of Trustees, the President and the Student     24         Q Okay. And do you recall what was mentioned
                                                  Page 116                                                         Page 117
 1   during the cabinet about this letter?                        1      MS. SCATCHELL: Okay. Could you read back her
 2      MS. WERMUTH: Can I just interject here? Insofar as        2   answer?
 3   the General Council as part of the cabinet, to the extent    3                          (Answer read.)
 4   there was any attorney/client privileged discussion being    4      THE WITNESS: That's all I can share.
 5   had at the cabinet, I would instruct you not to answer.      5   BY MS. SCATCHELL:
 6      MS. SCATCHELL: Okay. I am not looking for any             6      Q Okay. And do you know what action, if any, was
 7   attorney/client privileged information. I am looking for     7   taken?
 8   topics of what was discussed at the cabinet meetings. So     8      A Well, there are a lot of actions taken by the
 9   you're allow to testify as to topics, just not what was      9   University that address several of these. Like the
10   said about those specific topics.                           10   implicit bias training for all faculty and staff, I know
11      MS. WERMUTH: You can answer in that way. So to the       11   we had started it on the faculty side, and they
12   extent there was --                                         12   implemented it on the staff side. There was a lot of
13      THE WITNESS: What?                                       13   work done a campus-wide diversity plan where every unit
14      MS. WERMUTH: You can answer in the way that she          14   came up with a diversity plan. Since I've become
15   described. So I don't want you to get into specifics of     15   provost, we've hired several deans, who are persons of
16   anything conveyed from the General Council, or you know,    16   color.            is working on a website for DEI
17   seeking the General Council's advice and input from a       17   Metrics. So there's been a lot. There's been action
18   legal perspective. But insofar as there were -- you can     18   that has been taken.
19   provides topics of information that were discussed, that    19      Q And when you say faculty of color has been hired,
20   is fine.                                                    20   are you referring to domestic faculty of color or
21   BY THE WITNESS:                                             21   international faculty of color?
22      A To be honest, I remember we addressed or looked        22      A I made a reference to deans. And since I became
23   at the concerns that had come up, but in what possible      23   provost, we have two African-American deans, and starting
24   actions could be taken, and that's it.                      24   in July there will be a third African-American dean.




                                                                                        30 (Pages 114 to 117)
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                                                   Page 118                                                       Page 119
 1   Now, I'm assuming they are born in the U.S., but I've        1   five-minute break? I think we're almost finished
 2   never specifically asked that question.                      2   wrapping up here.
 3      Q Okay. And were you aware of any sort of petition        3      MS. WERMUTH: Yeah, sure.
 4   that was circulated to you regarding the tenure process      4                         (Short recess.)
 5   being disproportionately -- actually, let me rephrase        5                  (Discussion was had before going
 6   that question and come back to that one.                     6                   back on the record.)
 7             You previously testified that there was no         7      MS. SCATCHELL: All right. Back on the record. Was
 8   implicit bias training, correct?                             8   it ever brought to your attention that there was an
 9      MS. WERMUTH: Objection. Totally misstates her             9   external petition circulating from professors and
10   testimony.                                                  10   graduate students from across the country that were
11   BY THE WITNESS:                                             11   calling to end a system of racism at DePaul's College of
12      A That there isn't.                                      12   Communication.
13   BY MS. SCATCHELL:                                           13      A Yes.
14      Q Or it's not a requirement, I apologize.                14      Q Okay. What was brought to your attention?
15      A Yes, it is for all searches.                           15      A I think I saw it on Facebook. I don't recall
16      Q Okay. But it's not required for any other              16   exactly where I saw it, but I saw it somewhere.
17   faculty?                                                    17      Q Okay. And was it ever emailed to you?
18      A For like personnel?                                    18      A I do not recall how exactly I saw it, but I did
19      Q Yes.                                                   19   see it.
20      A No, but we're working on it.                           20      Q Okay. And do you remember what the gist of this
21      MS. DILLARD: Working on it.                              21   petition was about?
22      MS. SCATCHELL: Could you mute yourself.                  22      A I'd have to look at it again.
23      MS. DILLARD: I'm sorry.                                  23      Q Was it fair to say that it was calling for some
24      MS. SCATCHELL: You know what, could we take a quick      24   end to some sort of racism?
                                                   Page 120                                                       Page 121
 1       MS. WERMUTH: Objection. Vague. Go ahead.                 1   discovery requests, yes.
 2   BY THE WITNESS:                                              2   BY MS. SCATCHELL:
 3       A Yes.                                                   3      Q Do you recall feeling concerned about the
 4   BY MS. SCATCHELL:                                            4   contents of this petition when you read it?
 5       Q At the College of Communication at DePaul?             5      MS. WERMUTH: Objection. Vague. Go ahead.
 6       A I believe so, yes.                                     6   BY THE WITNESS:
 7       Q And did you speak with anybody at the University       7      A I am not sure what you meant by concerned.
 8   with regards to this petition?                               8   BY MS. SCATCHELL:
 9       A I probably mentioned it to a few people, but I         9      Q Well, they're accusing the College of
10   don't recall any specific conversation about it.            10   Communication of having a systemic racism problem, was
11       Q Okay. And you say probably mentioned it to a few      11   that concerning to you?
12   people, who potentially would those people have been?       12      A It was upsetting, yes.
13       A I might have mentioned it to the president. I         13      Q Okay. And did you ever have a call with Faculty
14   might have mentioned it to Lexa. I might have mentioned     14   Council regarding this petition?
15   it to an associate provost, but I really don't recall       15      A Not that I recall.
16   specific conversations.                                     16      Q And did Faculty Council ever make you or ever say
17       Q Okay. And would that be something that you could      17   anything to the effect of there is a racism problem at
18   review your emails to see if you were ever sent a copy of   18   DePaul?
19   this petition?                                              19      A Did Faculty Council ever say that in the history
20       A I can check and see.                                  20   of Faculty Council?
21       Q And that's something you could provide to your        21      Q No, no, since you've been the provost, I
22   attorney?                                                   22   apologize. And that would be acting, interim, or
23       A If I find it, yes.                                    23   permanent?
24       MS. WERMUTH: And if it's called for by your             24      A I don't attend every meeting of Faculty Council,




                                                                                        31 (Pages 118 to 121)
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                                                  Page 122                                                          Page 123
 1   so I can't really say if it was addressed in a particular    1   and I can't remember if this was the second one or the
 2   meeting or not.                                              2   exact details of it.
 3      Q Okay. And then I'm going to show you what I'm           3      Q Okay. But you understand that to be the second
 4   going to mark as Exhibit No. 25.                             4   amended complaint in the lawsuit, Sydney Dillard versus
 5                       (Exhibit No. 25 was marked               5   DePaul University, correct?
 6                        for identification.)                    6      A Correct.
 7   BY MS. SCATCHELL:                                            7      Q And you don't have any reason to believe that
 8      Q And that is the second amended complaint that was       8   that isn't a true and accurate representation of the
 9   filed on April 7, 2021?                                      9   second amended complaint?
10      MS. WERMUTH: Are you marking it or --                    10      MS. WERMUTH: Objection. Foundation. Go ahead.
11      MS. SCATCHELL: I just emailed it to you.                 11   BY THE WITNESS:
12      MS. WERMUTH: Okay. Got it.                               12      A No, I don't.
13   BY MS. SCATCHELL:                                           13   BY MS. SCATCHELL:
14      Q Okay. Do you recognize that document?                  14      Q And we had previously discussed microaggressions,
15      A I think I do, yes.                                     15   correct?
16      Q And what is that document?                             16      A Yes.
17      A It is --                                               17      Q Did you ever ask Ms. Dillard to touch her hair?
18      MS. WERMUTH: Objection. Foundation. Go ahead.            18      A I do not recall.
19   BY THE WITNESS:                                             19      Q Okay. When a tenure-track faculty member was
20      A It says it's the second amended complaint.             20   evaluated in terms of their student evaluations, was
21   BY MS. SCATCHELL:                                           21   there some sort of standard that -- let me back up.
22      Q And you said you think you do, what is your basis      22              The student evaluations as it relates to
23   for that?                                                   23   the tenure review, how was that standard or was there a
24      A Well, you know, I get these and I look at them         24   standard that made sure that the evaluations were looked
                                                  Page 124                                                          Page 125
 1   at objectively and not subjectively?                         1       A They look at in terms of the qualitative
 2      MS. WERMUTH: Objection. Assumes facts not of              2   responses if there are multiple students saying that, if
 3   record. Vague. Confusing. Go ahead.                          3   it's one student in multiple classes saying that. It's
 4   BY THE WITNESS:                                              4   kind of looked at holistically.
 5      A There's a quantitative score that comes in for          5       Q Okay. And do these do these teaching
 6   the variety of questions and they are anonymous by the       6   evaluations, in your opinion, do you believe that they
 7   student, so that's the quantitative part. And the            7   are a strong indicator of the quality of how a teacher
 8   qualitative part where students respond, those are           8   teaches a course?
 9   anonymous as well.                                           9       A It is one of the indicators and it is one of the
10   BY MS. SCATCHELL:                                           10   ways that the University reviews faculty teaching.
11      Q How does the personnel committee determine which       11       Q Okay. And so you said there was the qualitative
12   parts of the student evaluation to consider?                12   and then the quantitative aspect of the teaching
13      A I think they look at them all, and they see if         13   evaluations, correct?
14   there's anything that has, where are the high scores,       14       A Correct.
15   what are the average scores, where are of the low scores.   15       Q So is there an open-ended section of the teaching
16      Q And is there any way to say if there was an            16   evaluation for the student to fill out?
17   outlier where there was one student that says this is the   17       A I don't believe it's just open-ended. I believe
18   worst teacher I've ever had. Do you know how that would     18   there are questions and the students can respond in their
19   factor into the personnel committee's evaluation?           19   own words.
20      MS. WERMUTH: Objection. Calls for speculation --         20       Q Okay. And in your opinion, do you think that
21      MS. SCATCHELL: If you know --                            21   there could be a racial or implicit bias in the student
22      MS. WERMUTH: It's an incomplete hypothetical --          22   opinion of teaching surveys?
23   BY MS. SCATCHELL:                                           23       MS. WERMUTH: Objection. Vague. Calls for
24      Q If you know.                                           24   speculation. Go ahead.




                                                                                        32 (Pages 122 to 125)
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                                                   Page 126                                                           Page 127
 1   BY THE WITNESS:                                               1      MS. WERMUTH: Okay.
 2      A It's possible, yes.                                      2                          (Brief recess.)
 3   BY MS. SCATCHELL:                                             3   BY MS. SCATCHELL:
 4      Q And does the personnel committee do anything to          4      Q Okay. This is the last question. In your
 5   minimize the risk of racial bias or implicit bias coming      5   opinion, does implicit bias lead to issues of racism or
 6   into student evaluations?                                     6   discrimination?
 7      A I don't believe that there is anything in                7      MS. WERMUTH: I just object to the form of the
 8   particular that they do, no.                                  8   question. It calls for speculation. It asks for expert
 9      Q Okay. And you had previously testified that the          9   opinion testimony from a lay witness, and on relevancy
10   personnel committee does not have -- it's not required       10   grounds. Go ahead.
11   that the personnel committee be trained in implicit bias,    11      THE WITNESS: Can you repeat the question, please.
12   correct?                                                     12      MS. SCATCHELL: Could you read back the question,
13      A At this point, that is correct.                         13   please.
14      Q Okay. And if you know, is there a reason why the        14                        (Question read.)
15   search committee has a required training for implicit        15   BY THE WITNESS:
16   bias, but the personnel committee does not?                  16      A That is a question that requires a direct cause
17      A No, I do not know.                                      17   and I am not an expert to be able to answer that
18      Q Okay. And there's no requirement for implicit           18   question. That's why whenever there are allegations of
19   bias training for deans of colleges, correct?                19   discrimination, I have to refer them to HR.
20      A The deans do go through implicit bias training          20      Q Okay. And is it your position that the HR staff
21   because they're involved in the searches for faculty that    21   members are experts then?
22   happen in their colleges.                                    22      A They are trained to investigate.
23      Q Let me just step out for a second with my client,       23      Q Okay. We have no further questions.
24   and we should be just about finished.                        24      MS. WERMUTH: Great. I have just a couple.
                                                   Page 128                                                           Page 129
 1      THE WITNESS: Okay.                                         1       THE COURT REPORTER: There was a 52 already.
 2                  EXAMINATION                                    2       MS. WERMUTH: I will mark this as 53, and I will send
 3   BY MS. WERMUTH:                                               3   it to you. Do you want me to send it to Dr. Dillard?
 4      Q Dr. Ghanem, how many deans are there at the              4   Gia, let me know when you get it.
 5   University?                                                   5                      (Exhibit No. 53 was marked
 6      A 10.                                                      6                       for identification.)
 7      Q Earlier today you testified about the meeting            7       MS. SCATCHELL: Okay. Got it.
 8   where Dr.            and Dr. Dillard came to meet with you    8       MS. WERMUTH: You got it, okay.
 9   in October of 2018. Do you remember that testimony?           9   BY MS. WERMUTH:
10      A Yes.                                                    10       Q So Dr. Ghanem, I am putting in front of you
11      Q Okay. And we saw in Exhibit No. 3 that you              11   what's been now marked as Exhibit No. 53, which is the
12   escalated their concerns to Barbara           in the OIDE?   12   string of emails Bates labeled Dillard_DePaul 3667
13      A Let me just real quickly look at it. Yes.               13   through 3674.
14      Q And then you were asked about whether you did           14             So do you want to take a quick moment to
15   anything to continue the conversation within the college.    15   look through that?
16   Do you remember that line of questioning?                    16       A Okay.
17      A Okay.                                                   17       Q Having reviewed this email trail, does this
18      Q Yes, okay. And shortly after that meeting, you          18   refresh your recollection, Dr. Ghanem, as to whether or
19   were elevated out of the college and into the acting         19   not you communicated with Drs.             and Dillard about
20   provost position; is that right?                             20   following up with the dean, the acting dean of the
21      A That's correct, about a week later.                     21   college as you moved out of the college?
22      MS. WERMUTH: Okay. I am going to send you, Gia, a         22       A Yes, it does.
23   document, and I suppose we can mark this as 52, does that    23       Q Okay. And according to --
24   sound right?                                                 24       MS. SCATCHELL: Really quick, I am just going to




                                                                                          33 (Pages 126 to 129)
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                                                   Page 130                                                            Page 131
 1   object to foundation of it, but obviously we have an         1    questions.
 2   answer.                                                      2                 FURTHER EXAMINATION
 3   BY MS. WERMUTH:                                              3    BY MS. SCATCHELL:
 4      Q Okay. And according to this email trail, did            4       Q Okay. Is this document about -- hold on. Okay.
 5   Sydney -- I'm sorry, forgive me.                             5    So on page 3668 of this document, which is Number 3, you
 6              Did Dr. Dillard affirmatively respond to          6    see where it states Hi, Salma and         I would be open
 7   your discussion in that regard -- Strike that. Let me        7    to still meeting with Lexa if our priorities are
 8   ask it this way.                                             8    developing pathways for diversity, inclusion, and
 9              How does Dr. Dillard respond to the               9    retention of minority tenured/tenure faculty into the
10   suggestion that they follow-up with the acting dean, Dr.    10    vision and goals of the college. Do you see that?
11   Murphy.                                                     11       A Yes.
12      MS. SCATCHELL: Objection. Vague. Calls for               12       Q And so you see where it says diversity,
13   speculation.                                                13    inclusion, and retention. It doesn't say anything about
14   BY MS. WERMUTH:                                             14    discrimination, correct?
15      Q You can answer.                                        15       A Correct.
16   BY THE WITNESS:                                             16       Q Okay. And in your opinion, based on the meeting
17      A According to this email, Dr. Dillard indicates         17    that you had with Ms. Dillard and Ms.              would you
18   that she would still be open to meet with Lexa to focus     18    say that they brought up issues of diversity, equity,
19   on priorities for developing pathways for diversity,        19    inclusion?
20   inclusion, and retention of minority tenured/tenure-track   20       A Yes.
21   faculty, but not to discuss the sensitive nature of the     21       Q And is it also fair to say that they brought up
22   previous discussion. And then she asked for my              22    issues about discrimination or harassment?
23   recommendation.                                             23       A They mentioned the microaggressions that they
24      MS. WERMUTH: Very good. I have no further                24    felt in the meeting and that is the reason why I
                                                   Page 132                                                            Page 133
 1   contacted Barbara              .                              1      MS. WERMUTH: I'll take a copy.
 2      Q And the microaggressions were racial based               2             ********
 3   microaggressions, correct?                                    3               (Ending time: 4:26 p.m.)
 4      A I believe so yes.                                        4
 5      Q And what if anything in this email thread led you        5
 6   to -- actually, let me back up.                               6
 7             When you received this email thread from            7
 8   between you, Ms. Dillard, and Mr.                 is that --  8
 9   actually, strike that, too. It's getting late.                9
10             Okay. So is it fair to say that you did            10
11   not follow-up on this complaint after you became the         11
12   acting provost, correct?                                     12
13      A No, I believe I did. In terms of the priorities         13
14   for pathways for diversity, inclusion, and retention, I      14
15   suggested that they reach out to Dr. Murphy. In terms of     15
16   the complaint of microaggressions, I had contacted           16
17   Barbara             , so both I believe both issues were     17
18   addressed.                                                   18
19      MS. SCATCHELL: Okay. Thank you. That's all I have. 19
20      MS. WERMUTH: Nothing further.                             20
21      THE COURT REPORTER: Signature?                            21
22      THE WITNESS: We'll reserve.                               22
23      THE COURT REPORTER: Did you want this written? 23
24      MS. SCATCHELL: Yes.                                       24




                                                                                          34 (Pages 130 to 133)
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                                                 Page 134
 1               REPORTER'S CERTIFICATE
 2          The within and foregoing statement of the
 3   witness, SALMA GHANEM, was taken before DEANNA L. TUFANO,
 4   CSR, and Notary Public, at 121 West Wacker Drive, Suite
 5   2300, Chicago, Illinois, County of Cook, at 11:00 a.m. on
 6   the 3rd of May, A.D., 2022.
 7         The said witness was first duly sworn and was
 8   then examined upon oral interrogatories; and the
 9   questions and answers were taken down in shorthand by the
10   undersigned, acting as stenographer and Notary Public;
11   and the within and foregoing is a true, correct, and
12   accurate record of all of the questions asked of and
13   answers made by the said witness, SALMA GHANEM, at the
14   time and place hereinabove referred to.
15         The undersigned is not interested in the within
16   case, nor of kin or counsel to any of the parties.
17         Witness my official signature and seal as Notary
18   Public in and for Cook County, Illinois on this
19   22nd Day of May, A.D., 2022.
20                     __________________________
                       DEANNA L. TUFANO, CSR,
21                     CSR No. 084-003819
                       MAGNA LEGAL SERVICES
22                     SEVEN PENN CENTER
                       1635 MARKET STREET, 8TH FLOOR
23                     PHILADELPHIA, PA 19103
                       (866) 624-6221
24




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3/8/2016

Program Chair duties, selection, and review process.

Primary Duties of Program Chair.

Program Chairs are responsible for the coordination of activities within their respective program areas.
These duties include, but are not limited to, curricular review, the annual review of faculty, scheduling of
courses, hiring part‐time faculty, planning and conducting at least two quarterly meetings with faculty,
attending and participating in leadership meetings, serving as the liaison between the Dean of the
College and the faculty within their units.

Selection of Program Chair

Program Chairs serve three year terms. They are elected by the full‐time faculty in the program unit.
This election is a recommendation to the Dean of the College who has final say on the selection of a
candidate. Program Chairs must be tenure‐track with a strong preference given to those who are
associate or full professors.

    1. Dean of the College invites nominations or self‐nominations from the program area faculty.
    2. Dean of the College asks if those nominated are willing to serve in this role.
    3. Those willing to serve are asked to provide a presentation and answer questions at a faculty
        meeting.
    4. An election is held with all full‐time faculty in the program area invited to vote by secret ballot.
    5. Quorum of 2/3 of all eligible faculty must vote.
    6. The person with a simple majority is elected.
    7. This elected candidate is presented to the Dean of the College.
    8. If the Dean of the College accepts this recommendation, the process is complete.
    9. If the Dean of the College rejects this recommendation, then, the faculty is asked to revote on
        any remaining viable candidates.
    10. The process repeats until a new Program Chair is elected.

For a normal election, the timeline will begin in Winter Quarter. Nominations are requested at the
beginning of the quarter. The presentation and Q&A will happen at the first faculty meeting, or the
third Friday of the quarter. Special elections can be called at any time if circumstances arise that a
current program chair cannot fulfill the remaining term.

Review Process

Program Chairs are reviewed annually by the Dean of the College.




CONFIDENTIAL                                                                            Dillard_DePaul4059
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                 EXHIBIT E

  DR. DEMOYA DEPOSITION
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                                                                           Page 1
                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

    SYDNEY DILLARD,                             )
                                                )
                               Plaintiff,       )
                                                )
            -vs-                                ) No. 1:20-cv-7760
                                                )
    DEPAUL UNIVERSITY,                          )
                                                )
                             Defendant.         )


                 The videoconference discovery deposition of

    MARIA DE MOYA, taken pursuant to the provisions of the

    Code of Civil Procedure and the Supreme Court Rules of

    the State of Illinois pertaining to the taking of

    depositions for the purpose of discovery, taken before

    DEANNA L. TUFANO, Certified Shorthand Reporter of the

    State of Illinois, at wherein all the parties attended

    remotely on Wednesday, April 27, 2022 at 10:00 a.m.




    Reported for:
    MAGNA LEGAL SERVICES
    (866) 624-6221
    www.magnals.com, by:
    Deanna L. Tufano, C.S.R.
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 1                             (Witness sworn.)                 1   everything that we say because that's part of the nature
 2                   MARIA DE MOYA,                             2   of the deposition, so we need to make sure not to speak
 3   called as a witness herein on behalf of the Plaintiff      3   over each other. Do you understand that?
 4   having been duly sworn, was examined and testified as      4      A Yes.
 5   follows:                                                   5      Q Okay. Great. And we need to make sure you give
 6                    EXAMINATION                               6   clear answers just like you've been giving. So no
 7   BY MS. SCATCHELL:                                          7   uh-huhs or body gestures, two things I am very guilty of
 8      Q What do you prefer to be called Dr. De Moya,          8   doing. And if you don't understand a question, please
 9   Maria, what should I call you?                             9   ask me to clarify and I'll rephrase it. If you do answer
10      A Maria.                                               10   a question, I'm going to assume that you understood that.
11      Q Okay. Perfect. Well, good morning, Maria. My         11   And sometimes, you know, you may not remember something
12   name is Gianna Scatchell. I represent Sydney Dillard in   12   unless you look at a document. So if there's a certain
13   Dillard versus DePaul. And you've just taken an oath to   13   document or something that will jog your memory, just let
14   tell the truth, you understand that, correct?             14   me know and we'll make sure that we could try to give it
15      A I do.                                                15   to you if we have access to it. And then you don't have
16      Q Okay. Have you ever been deposed before?             16   an attorney, correct?
17      A No.                                                  17      A No.
18      Q Okay. So then we're going to go over some            18      Q Okay. And DePaul's outside Counsel, Ms. Wermuth
19   instructions just to give you an overview of what to      19   is here this morning. She may choose to object to
20   expect. So what I'm going to need is for you to give me   20   certain questions that are asked and she does that to
21   answers that are true, complete, and accurate. Do you     21   create a record. But if she objects, that does not mean
22   understand that?                                          22   that you're not able to answer the question unless it's
23      A Yes.                                                 23   specifically said do not answer this question, and then
24      Q Okay. And a court reporter is writing down           24   that's something that her and I will hash out.




                                                                                                           2 (Pages 2 to 5)
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                                                    Page 6                                                            Page 7
 1             Is there anything that is preventing you           1      Q Okay. And now that we got the generalities out
 2   from testifying truthfully, completely, and accurately       2   of the way, we'll start with the more pertinent
 3   here today?                                                  3   questions. Where did you go to college?
 4      A No.                                                     4      A Three places. In my home country, Dominican
 5      Q Okay. And I ask this of everybody. This is not          5   Republic I did my bachelor's. I did my masters at NYU.
 6   anything against you. Are you taking any medication that     6   I did my PhD at the University of Florida.
 7   effects your ability to testify truthfully, completely,      7      Q When you did -- okay. Let's back it up.
 8   and accurately?                                              8             So when you were in college, you were in
 9      A No.                                                     9   the Dominican?
10      Q Okay. Did you do anything to prepare for today's       10      A Yes. I was born and raised in the Dominican
11   deposition?                                                 11   Republic.
12      A I had a conversation with Anna yesterday, that         12      Q And when did you graduate from college in the
13   was it.                                                     13   Dominican?
14      Q And did she give you anything to review?               14      A '99.
15      A No.                                                    15      Q And what degree did you earn?
16      Q And did you speak with anybody else at her firm?       16      A We call it social communication, but it's mass
17      A No.                                                    17   communication, a bachelor's in mass communication. But
18      Q And did you speak to anybody at DePaul about your      18   the direct translation will be social communication.
19   testimony?                                                  19      Q And then your master's you got at NYC?
20      A No. I mean, I told Sydney I am going to be             20      A My master's is in business and economic
21   deposed next week, but that was it.                         21   reporting. It was half in journalism school, half in the
22      Q Okay. And nobody promised you anything for             22   business school. And I believe I graduated in January,
23   testifying today, correct?                                  23   2003.
24      A No.                                                    24      Q Perfect. And then your PhD?
                                                    Page 8                                                            Page 9
 1      A My PhD was in mass communication with the               1               So did you ever serve as the Diversity
 2   emphasis in public relations and community organizing. I     2   Advocate at DePaul?
 3   graduated, 2011.                                             3      A I did.
 4      Q Okay. And then did you work any -- did you work         4      Q Okay. And what does that job entail?
 5   anywhere before you started working at DePaul?               5      A It has changed overtime. When I took on the job,
 6      A Yes. I worked at North Carolina State University        6   my main responsibilities where to be available, or quote,
 7   as an Assistant Professor for two years.                     7   a resource for the faculty in my college. And that
 8      Q And then you joined DePaul after?                       8   meant, you know, being available to help them if they had
 9      A Yes.                                                    9   any questions regarding diversity inclusion, maybe with
10      Q Okay. And what year was that?                          10   their class, maybe with interactions with students or
11      A 2013.                                                  11   other faculty members and provide training, but that came
12      Q And what college are you a professor?                  12   a little later. And the other side was to represent the
13      A College of Communication.                              13   college in the President's Diversity Council, and I was
14      Q Okay. And what is your current title?                  14   in that role 2016 to 2020, I believe.
15      A I have three; Associate Professor of                   15      Q Okay. And then what made you leave that
16   Communication in Public Relations and Advertising. I am     16   position?
17   the Chair of Public Relations and Advertising, and I also   17      A I took on the role as chair, and even though we
18   serve as Associate Director for Regional Initiatives in     18   don't have a role in my college yet, I hope we will
19   Latin America for the Office of Global Engagement. I        19   soon, I strongly believe that anybody who is evaluating
20   know that's a lot.                                          20   faculty should not be the diversity advocate, that those
21      Q That's the one thing I've been enjoying about          21   things should not mix. So I spoke to the dean and she
22   every professor. They all have, I do three things. I do     22   agreed and we found a substitute for me.
23   five things, and then each one is longer than the next,     23      Q Okay. And what reasons do you have to say that
24   so it's interesting.                                        24   the two shouldn't mix?




                                                                                                3 (Pages 6 to 9)
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                                                   Page 10                                                              Page 11
 1      A I think that it might be uncomfortable for              1   President, he thought it was too big of a body so he
 2   somebody who wants to ask questions, for example, about      2   created a smaller, 12-person advisory council, which I
 3   interactions with a colleague or interactions with a         3   coincidentally sit on now. But that's another story.
 4   student to talk to somebody who's going to be writing        4      Q Okay. So then is there a difference between the
 5   their annual evaluation. Ideally not, but I can see why      5   two, the diversity council versus this 12-person advisory
 6   that might be an issue in any case.                          6   council?
 7      Q And what is the President's Diversity --                7      A Yes. There's significant difference. There's
 8      A So the President's Diversity Council does not           8   less voices being heard, less representation. So I guess
 9   exist anymore. It existed until 2019, but sadly, I can't     9   that means that there's, I guess, a little more distance
10   be 100 percent sure about the year, but it was until we     10   between the president and some offices. And also in the
11   received a new president. It was a group made up of         11   President Diversity Council -- when we had the President
12   around 45 people that represented different offices and     12   Diversity Council, we did not have an associate provost
13   colleges in the university under the direction of           13   for diversity and now we do. So now, the body has
14          who is our OIED vice-president, I think. I can't     14          but also Cindy Pickett, who is our new associate
15   remember her title. And the idea was to provide support,    15   provost for diversity. I believe she's been at DePaul
16   advice, and strategic planning for the university's         16   for two years.
17   president at that time, Father Holtschneider.               17      Q And were you part of her selection process?
18      Q Could you spell that?                                  18      A No.
19      A I really could not. I can try, but I'm not going       19      Q Okay. Do you know who was?
20   to get it right. Father Holtschneider, yeah. The good       20      A I think actually Dr. Dillard sat on that
21   thing is we have a building named after him now at          21   committee, but I don't remember who else. I know that
22   DePaul, so I know you can Google it very easily, I'm        22   they did a call for anybody in the university who wanted
23   sorry. I don't trust my spelling.                           23   to be part of the search committee to volunteer. I
24              And then what Dr. Estaban became the new         24   didn't volunteer at that time.
                                                   Page 12                                                              Page 13
 1      Q And how often did the President Diversity Council       1   meetings, kind of listened to people report out what they
 2   meet?                                                        2   had learned in their college and tried to provide some
 3      A Did or does?                                            3   information and advice that could go to the president's
 4      Q Well, I'll go to the new 12 -- does the new             4   office.
 5   12-person committee have a name?                             5      Q And do you remember anybody specifically from
 6      A So the difference between the old one and the new       6   that working group regarding -- we'll just take each one
 7   one is the old one is Diversity Council, the new one is      7   of them at a time -- regarding the faculty climate?
 8   Diversity Advisory Council. We call it PDAC.                 8      MS. WERMUTH: Objection. Overbroad. Go ahead.
 9      Q So we'll go to the old one first, the President's       9   BY THE WITNESS:
10   Diversity Council. How often did that council meet?         10      A I honestly can't. I remember a couple people
11      A Yeah. We met once a quarter, and in addition to        11   that served with me. I remember talking about staff
12   that, we had one or two meetings a quarter that were in     12   faculty relations broadly. Oh, one specific thing that I
13   our working groups. I was in the staff and faculty          13   can remember is discussing kind of like inclusion and
14   working group.                                              14   bias training and making that mandatory. And that's
15      Q And what are working groups?                           15   something that                has been working on for a while,
16      A So we would take on different challenges to look       16   but it's still optional, so I remember that came up
17   at them in more detail and to see how we could maybe, you   17   during that time. But apart from that, I couldn't tell
18   know, propose solutions or programs or initiatives. So      18   you specific things.
19   there were several working groups. I know, for example,     19      Q So when you say that it's optional, optional for
20   that there was a group that was working with parents, so    20   the staff or faculty, or who is it optional for?
21   employee who are parents that was their focus. I            21      A For everybody, but mainly faculty. Most of the
22   volunteered for the staff and faculty, diversity working    22   courses are available for faculty. They're considered
23   group and what we discussed were issues that had to do      23   professional development courses. And there is a program
24   with climate, with opportunities. And we had smaller        24   called the BUILD certificate that focuses on diversity




                                                                                              4 (Pages 10 to 13)
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                                                  Page 14                                                              Page 15
 1   and inclusion and faculty had the option to sign onto       1      A No because we're a smaller group. So I am one of
 2   that, and then we get invited to different lectures,        2   the faculty members selected, meaning that I don't only
 3   groups, discussions. I invited speakers, trainees to        3   represent my college, but I represent faculty.
 4   learn more about diversity and inclusion.                   4      Q And then who else is on the PDAC?
 5      Q And this built certificate is optional?                5      A
 6      A That is BUILD with a D.                                                       a professor in LAS -- why can't I remember
 7      Q BUILD, okay. Thank you. And at these working           7   his first name right now --                     another
 8   group meetings, were there minute notes or anything like    8   faculty member. And there are two staff members that I'm
 9   that?                                                       9   not remembering their name, but one of them has to deal
10      A I don't recall. The staff member that helps us        10   with student issues and the other one, I believe, is the
11   coordinate is no longer there, and I don't remember his    11   president of staff council. If she's not the president
12   name.                                                      12   of staff council, then she is on staff council. And
13      Q Okay.                                                 13   there is one more faculty member             whose last name I
14      A So I don't recall if there were minutes.              14   can't remember,               is his first name, and
15      Q Do you know who would?                                15                        also from LAS. I might have missed
16      A             maybe, but I can't say for sure just      16   somebody, but I think that's most of the people there.
17   because she kind of had to have the overview of            17      Q Okay. And then is there a differentiation of
18   everything. So she might know if there were minutes.       18   professors who teach at the undergrad level or graduate
19      Q And then now going to the President's Advisory        19   level?
20   Council or PDAC, how often does that council meet?         20      A No --
21      A We meet once a quarter and we might have other        21      MS. WERMUTH: Objection. Vague.
22   meetings if there's a special event or something. So       22   BY MS. SCATCHELL:
23   about maybe six times a year total -- five times, yeah.    23      Q Okay. And what is staff council that you had
24      Q And do you guys have working groups as well?          24   previously mentioned?
                                                  Page 16                                                              Page 17
 1      A So like we have faculty council to govern and to       1   that committee and there's no staff representative on
 2   represent faculty interest at the university level, we      2   that college.
 3   have staff council. Sadly, I don't know what they do        3             I am also on the working group, which has
 4   beyond, you know, kind of represent the interest of the     4   no official name, but it's a working group to address
 5   staff. But I know that they are represented in several      5   Vincentian's relationship with slavery. I represent the
 6   university level committees.                                6   CEID in that group because that was related to news that
 7      Q Okay. And then do you serve on (inaudible)             7   came out specifically regarding Father Rosati who had
 8      A I'm sorry, can you repeat that?                        8   been a slave owner, and there's been efforts to kind of,
 9      MS. WERMUTH: Gia, we couldn't hear you. We can't         9   you know, acknowledge, reconcile, and move to ideally,
10   hear you. We can see your lips moving, but we can't hear   10   you know, education and restitution, if possible, for
11   you.                                                       11   that experience and that heritage. That isn't exclusive
12      MS. SCATCHELL: How about now?                           12   to DePaul, but DePaul is one of the, I believe, only two
13      MS. WERMUTH: Yeah.                                      13   Vincentian universities in the United States.
14      MS. SCATCHELL: Okay.                                    14       Q Is it one of the largest catholic universities?
15   BY MS. SCATCHELL:                                          15       A I believe it's the largest, unless numbers have
16      Q My question was, do you serve on any other            16   changed in another, but if it's not the largest, it's up
17   university committees?                                     17   there.
18      A Yeah, on several. So I serve in the CEID, that        18       Q Okay. And then when was the CEID -- can I call
19   is Committee on Equity Inclusion and Diversity. That is    19   it the CEID Committee?
20   a faculty council committee, and our mandate is to         20       A Yeah, that's what we call it.
21   collect information, analyze and share information         21       Q Okay. When was it started?
22   regarding diversity, inclusion at DePaul, bring forward    22       A It was started two years ago right before the
23   initiatives to increase diversity, inclusion and equity    23   pandemic. I want to say June.
24   at DePaul. There's a representative of each college on     24       Q Of 2019 or 2020?




                                                                                             5 (Pages 14 to 17)
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                                                   Page 18                                                          Page 19
 1      A Now I'm not 100 percent sure if it was before the       1      A No. There's a representative from each college.
 2   pandemic because we never met in person, we always met       2   The problem is that I am not going to be able to remember
 3   online so that makes me think it may be after the            3   everybody's name.
 4   pandemic.                                                    4      Q No, no. No worries. Give or take, how many
 5      Q Why was it started?                                     5   people would you say that is?
 6      A So                     -- I am so embarrassed that      6      A That would be 10 people.
 7   I'm forgetting last names, but one of my colleagues first    7      Q And then who is Father Rosati?
 8   name is Quineta, Q-U-I-N-E-T-A. They had been trying to      8      A He was a Vincentian priest that was involved with
 9   get faculty council to address diversity, equity, and        9   DePaul University. And the only thing I know about him
10   inclusion more directly and more intentionally instead of   10   apart from that is that there was a room in the library
11   it being just one of those topics that would come up        11   named after him. So 1800's I believe, but again, I can't
12   every once in awhile. They proposed that we have a          12   be sure.
13   standing committee for that, and it was approved by         13      Q And then you had previously stated that he was a
14   faculty council. When it was approved by faculty            14   slave owner and part of what the CEID Committee is doing
15   council, and that must have been 2019, then they send out   15   is providing some sort of education and potential
16   an email to the whole university asking who wanted to be    16   restitution --
17   on that committee. I had just stepped down as diversity     17      A Pardon me, no. And I apologize because I know
18   advocate for the college -- so that does means it's         18   that the confusion comes from me. I represent the CEID
19   2019 -- and I volunteered to be on that committee.          19   Committee in that working group. But that working group
20      Q Okay. And how often does that committee meet?          20   is led by Father Memo, M-E-M-O. I'm sure he has a last
21      A We meet once a quarter, but we have met more than      21   name, but we call him Father Memo from Mission &
22   once a quarter. Yeah, about once a quarter.                 22   Ministry, which is another department. So my job, when
23      Q Okay. So is it just the three individuals that         23   they put that group together, they wanted to get
24   you mentioned, or are there other --                        24   presentations from the different diversity units that
                                                   Page 20                                                          Page 21
 1   existed at the university and I was the person selected      1      A I identify in order; Dominican, Caribbean,
 2   from CEID to go there to serve on that one.                  2   Latina.
 3      Q And you're tenured, correct?                            3      Q And as a female?
 4      A Yes.                                                    4      A Yes.
 5      Q Okay. And when did you achieve your tenure?             5      Q Okay. And is there a difference between, let's
 6      A '18.                                                    6   say, African-American minority like that was born here
 7      Q Okay. And have you taught courses at the                7   versus one that was a person of African descent that was
 8   university?                                                  8   born say in Africa somewhere?
 9      A Yeah.                                                   9      MS. WERMUTH: Objection to form and foundation. Go
10      Q Okay. What courses have you taught?                    10   ahead, Maria.
11      A Many. Would you like me to list them all or do         11   BY THE WITNESS:
12   you need to know just subject area?                         12      A The answer to your question is, yes. And unless
13      Q Subject area is perfect.                               13   you want me to dissertate, I really think we need to get
14      A Public relations mainly, and kind of like three        14   a lot more specific because it really is -- there are so
15   specialized areas, one of them has to do with               15   many, many differences.
16   multi-cultural Latino audiences. The other one has to do    16   BY MS. SCATCHELL:
17   with activists in communication for social change, and      17      Q Okay. If you could maybe just list a couple of
18   the third one has to do with law and ethics.                18   them and then maybe we can trickle down from there.
19      Q I'm just taking notes. So do you teach graduate        19      A So the most important thing has to do with lived
20   students or undergrad students, or is it a mix?             20   experience, especially if we're talking about the U.S.
21      A I teach both. Most classes we separate graduate        21   context. If I may, can I call you Deanna?
22   and undergrad. Every once in awhile, there might be a       22      Q Yeah.
23   class that has graduate and undergrad.                      23      THE COURT REPORTER: Hold on. one second. I am
24      Q Okay. And what ethnicity do you identify with?         24   Deanna. This is Gia.




                                                                                            6 (Pages 18 to 21)
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                                                   Page 22                                                          Page 23
 1       MS. SCATCHELL: I thought you were calling me Gianna. 1       most of us from countries where we are the majority. So
 2       THE COURT REPORTER: I didn't want the record to be    2      an African immigrant comes from a country where they are
 3   unclear so that's the reason why I interrupted.           3      ordinarily the majority, they have not had the lived
 4   BY MS. SCATCHELL:                                         4      experience of a minority. If they have suffered
 5       Q You can call me Gia if that's easier.               5      discrimination or bias or hostility, it's usually not
 6       A Okay. So the way that I would refrain the           6      related to race. For example, in many of our countries,
 7   question in my brain is in the U.S. context, you know,    7      it is related to maybe gender or social economic class.
 8   what's the difference between being an immigrant of       8          Q Can you briefly describe the tenure process of
 9   African descent and an African-American. So is that a     9      when somebody goes up for tenure?
10   fair representation of what you want to talk about a     10          A Sure. So there is a timeline of when you're
11   little bit?                                              11      hired as a tenure-track faculty member. Assuming you
12       Q Yes.                                               12      come directly out of grad school, you have about five
13       MS. WERMUTH: Sorry, I am going to just post a        13      years to prepare your case. And if you come from another
14   relevancy objection to this line of questioning. But     14      job like I did, you might have a little less time because
15   please proceed.                                          15      you might bring in a year. But in total, a person has
16   BY THE WITNESS:                                          16      around five years to prepare their case. During those
17       A Sure. An African-American is somebody who has a    17      five years, you are reviewed at least three times. The
18   heritage that is marked by slavery. They were born and   18      second year review, the fourth year review, and the
19   most of them -- well, actually, all of them are born and 19      pre-tenure review. Those reviews are done first by the
20   raised in the United States, meaning they're descendants 20      personnel committee. It's a committee made up of
21   of slaves. They have dealt with issues of discrimination 21      representatives of different programs in the college. I
22   and all of the other things that have to do with a being 22      believe it has six or seven members, but sadly, I can't
23   a Black person in America for all their lives. An        23      be 100 percent sure about that, and then it goes to the
24   immigrant, whether they're Black, or in my case, Latina, 24      tenure faculty. So the personnel committee provides an
                                                   Page 24                                                          Page 25
 1   evaluation of your work, a summary. The tenure-faculty       1   university level committee that also interviews you, also
 2   has access to that evaluation, but they also have access     2   looks at your case. They make their recommendations to
 3   to your whole case, the same thing that the personnel        3   the provost and the provost votes -- no. They vote, make
 4   committee saw. They discuss your case, could take five       4   recommendations to the provost and the provost affirms
 5   minutes, could take an hour, and then we have secret         5   their decision almost always. But again, theoretically,
 6   ballot votes that talk about are you making progress         6   the provost would have the authority to disagree with the
 7   towards tenure. That is summarized in our report and         7   committee and go against the recommendation.
 8   given to the candidate or the person who's being             8      Q Okay. Then you said that there's at least three
 9   reviewed. That is the same thing that happens in the         9   reviews?
10   fourth year review. So second year and fourth year          10      A Before tenure, yes.
11   review are the same thing.                                  11      Q And then could you expand on what you mean by at
12             The pre-tenure review is an evaluation of         12   least?
13   your case for tenure. So the same, you meet with the        13      A The faculty handbook specifies that a person
14   personnel committee, you submit your documents, they        14   going up for tenure will be reviewed three times and in
15   evaluate you, they submit your evaluation to the tenure     15   these three occasions.
16   faculty. But here the decision isn't are you making         16      Q And could somebody be reviewed more than three
17   progress, but basically is your case tenurable. Do they     17   times?
18   recommend you for tenure & promotion. That vote is          18      A I know that Dr. Dillard was reviewed more than
19   reported to the dean, the dean decides what to do with      19   three times, I don't know if anybody else has been. So
20   that case. So theoretically, although I don't think it's    20   the answer to that would be, I guess, yes, she was
21   happened, they could, you know, bounce back about the       21   reviewed more than three times. So it's happened at
22   case and tell the personnel committee I disagree with       22   least once.
23   you, and then it gets moved to UBPT, University Board for   23      Q Okay. And then for these faculty reviews, what
24   Promotion & Tenure, Tenure & Promotion, which is a          24   goes into them in terms of documentation --




                                                                                            7 (Pages 22 to 25)
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                                                   Page 26                                                          Page 27
 1      MS. WERMUTH: Objection. Vague.                            1   you would look at all of your teaching evaluations. And
 2   BY THE WITNESS:                                              2   then you submit supporting documents to your case, that
 3      A So we prepare a statement about our work in three       3   includes material from your teaching, letters from
 4   areas, research, teaching and service, and kind of           4   service, meaning the chair of that committee says, Maria
 5   self-evaluating and self-reflecting. It's supposed to be     5   served in this committee, and she contributed this way,
 6   an essay that combines kind of like a self-reflection in     6   and then also, your research. So actually samples of
 7   making your case. It's very difficult to write. We have      7   your research -- I mean, not samples, your actual
 8   one peer observation from two faculty members. So two        8   research. A copy of your research is submitted, each
 9   faculty members are selected to review -- to observe one     9   article. And in addition to that, letters, if you have
10   of your classes live and they provide feedback and an       10   co-authored work, then the co-authored letters are
11   evaluation, they look at your course material. Usually      11   included there. I don't think I'm forgetting anything.
12   maybe just the syllabus and one assignment or something     12   Yeah, that seems like everything.
13   like that.                                                  13   BY MS. SCATCHELL:
14              Then you also have a student survey for          14      Q Okay. So when you said that former students are
15   the pre-tenure one, so not for the other two evaluation,    15   randomly selected to write a report, that's for the
16   but for the pre-tenure evaluation, they do a survey with    16   pre-tenure review?
17   former students, they randomly call. They ask for           17      A Yes.
18   student volunteers to do the actual data collection and     18      Q Okay. And is that different from the other
19   the student volunteers write a report. For all three of     19   student evaluations?
20   them, and I'm sorry for talking out of order, for all       20      A Yes. That's in addition to the student
21   three of them, they look at your most recent -- I need to   21   evaluations. The student evaluations are filled out at
22   correct that, pardon me.                                    22   the end of the course. When students are on week 8 --
23              For the first two, they would look at your       23   our courses are on 11 weeks -- the 11th week is exam
24   most recent teaching evaluations. But for your tenure,      24   week, and students provide feedback about the class, your
                                                   Page 28                                                          Page 29
 1   performance, would they recommend the class to others,       1      Q Do you know what her ethnicity is?
 2   whatever. This is supposed to be more like outside of        2      A She's Black.
 3   the context of the class, the students that have had         3      Q Okay. And do you know if she made any complaints
 4   Maria as a teacher, you know, what do they remember, what    4   about discrimination?
 5   feedback they have, things like that.                        5      A I don't know. So sadly with staff matters, they
 6      Q Okay. So they're randomly selected throughout           6   tend to be channeled differently.
 7   the time, say it's the six years or somebody, five or six    7      Q Now, if somebody -- let me back up.
 8   years, do you know who reaches out to these students?        8             So if you apply for tenure, is it like
 9      A Today, no. But in the past, for example, when I         9   would you apply in the fall or when would the vote
10   was going up for tenure, it was an administrative           10   happen?
11   assistant. Her name is                  --     I'm          11      A You would submit documents September, so the fall
12   blanking on her last name. And she would ask for            12   of the year that you're being reviewed, and then the
13   graduate student volunteers, and then the volunteers        13   process takes about a whole year. And usually you have
14   would get a list of our former students and contact them.   14   your interview with the personnel committee around winter
15   How they did it, how they did the random sampling or        15   because they have until May-something to submit their
16   anything like that, I have no idea.                         16   recommendation to UBPT. So then you would hear about
17      Q Do you know who would know that?                       17   your case -- actually, it's before May. You would hear
18      A Yeah. I'm 100 percent sure the dean would know         18   about your case in June. So let me go back. The only
19   that and possibly the chair of personnel who currently      19   thing that I'm 100 percent sure of regarding the dates is
20   is -- is it Paul Booth or                                   20   that you submit early in the year around September and
21      Q Is          still at the university?                   21   that you hear by June. So when the other things happen,
22      A No.                                                    22   I might be misremembering.
23      Q Do you know when she left approximately?               23      Q Okay. Sounds good. And when you compile all of
24      A At least three years, maybe four years, ago.           24   the materials to go up for tenure, was the program that




                                                                                            8 (Pages 26 to 29)
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                                                  Page 30                                                         Page 31
 1   you use or platform rather, was that called SharePoint?    1   quickly. But I can try to pause a little bit.
 2      A I don't remember. I remember that it changed at       2      MS. WERMUTH: No worries. I'm explaining why I
 3   least once in the process, and I don't remember if it was  3   interrupted you. I don't mean to do that.
 4   called SharePoint. I think so, but I'm not sure.           4   BY THE WITNESS:
 5   Because I've been checking -- I've been evaluating other   5      A Okay. I found the software to be clunky. So let
 6   people's cases, so I've been looking at SharePoint for     6   me see, when I was submitting my case, again I think it
 7   over two years, so I can't be sure that I'm remembering    7   was SharePoint, but it could have been another software.
 8   that I used it or that I use it if that makes sense.       8   I'm pretty sure it was SharePoint. Putting files in a
 9      Q Yes. But you said that you remember using it for      9   folder was like a six-step process. Like first you have
10   at least reviewing or for yourself, correct?              10   to add the folder, then you have to go back. And then if
11      A Yes.                                                 11   you click back, then you're out of the system so it's not
12      Q And what's your experience with SharePoint, has      12   intuitive. So it is a little time consuming. But yeah,
13   it been, I guess -- was there like technical issues or    13   but whatever it is that we use, whatever the software is
14   anything like that?                                       14   called, it's used at the university level. So we're kind
15      MS. WERMUTH: Objection to form.                        15   of stuck with that.
16      THE WITNESS: I --                                      16      Q And you had previously mentioned that the service
17      MS. WERMUTH: And I know you're very cooperative, Dr. 17     component of going up for tenure, how would somebody
18   De Moya, but I do need to be able to interpose objections 18   obtain the service credit or service requirement?
19   from time to time. I don't mean to interrupt you, but     19      A That is an exact science. We kind of -- okay.
20   you answer so quickly.                                    20   So you get service credit for the work that you do in
21              So anyway I am just going to objection to      21   service of your program, your college or university that
22   form and foundation.                                      22   is outside the scope of your teaching and research. So
23      THE WITNESS: Thank you, Anna. I have a very kind of 23      serving on a committee, organizing a community event, you
24   conversational style, but sometimes I respond too         24   know, helping the dean address, I don't know, some issue
                                                  Page 32                                                         Page 33
 1   that she needed an ad hoc committee for. Most of us --     1   course. One of them is distributed throughout the school
 2   because there are enough committees at the level of the    2   year, so let's say that that's 5 or 6,000, it would be
 3   university and the college, most of us get our service     3   distributed through the school year. And then in summer,
 4   record by serving on committees. And the evidence of       4   you get that same 5 or 6,000, so it would be two
 5   that is a letter that is supplied.                         5   equivalents if that makes sense.
 6      Q And were you the PRAD committee chair?                6      Q And then were you nominated for that position?
 7      MS. WERMUTH: Objection. Vague.                          7      A I was.
 8   BY THE WITNESS:                                            8      Q Okay. Do you remember who nominated you?
 9      A So there's no PRAD committee --                       9      A I don't think I was told.
10   BY MS. SCATCHELL:                                         10      Q And then as the program chair, what are your job
11      Q Program chair.                                       11   duties?
12      A That's okay. I am the program chair now.             12      A I'm sorry, that is a long list. Okay. So I
13      Q And when did you become the program chair?           13   oversee anything that has to do with the public relations
14      A June 2020.                                           14   and advertising curriculum especially for undergraduate
15      Q And is it a three-year term?                         15   because at graduate level, I would have to coordinate
16      A Yes.                                                 16   closely with the graduate director. Meaning, we have a
17      Q And then let's see, do you get a salary or           17   graduate academic director and in that role, she is the
18   stipend for serving on a program chair?                   18   person who is in charge of the grad curriculum. But any
19      A Yes.                                                 19   changes or innovation or whatever would normally be
20      Q Okay. And what is that salary or stipend?            20   discussed with the chair. It's more of a collaboration
21      A The exact amount, I don't know. But I can tell       21   than it is supervision if that makes sense. I am in
22   you that it's equivalent to teaching one summer course.   22   charge of the schedule for the program, so all of the
23   I believe that's about a tenth of your salary, annual     23   classes that are taught, again, at the graduate level, I
24   salary. So two equivalents of teaching a separate         24   have to coordinate with the graduate director to make




                                                                                          9 (Pages 30 to 33)
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                                                   Page 34                                                          Page 35
 1   sure that the classes are scheduled and that we have         1   up to class today comes to me first. And any exception
 2   staff for them, that's another thing. I am in charge of      2   that needs to be made to the degree progress report of a
 3   staffing those courses. That means selecting which           3   student, I need to authorize those exceptions. I also
 4   professors teach which courses, and if necessary, hiring     4   write a lot of recommendation letters, so anytime my
 5   adjuncts to teach the courses that we don't have in-house    5   faculty want to apply for a grant or an award or
 6   faculty to cover. I write annual evaluations for all         6   something like that, internally they almost always
 7   full-time faculty. That is the annual merit evaluation       7   require the chair's support. So that is part of my work
 8   that goes directly to the dean.                              8   providing that support. And honestly, putting out fires.
 9              I also advise, so kind of like, it's              9   Anything that comes up, usually comes to me first.
10   not -- I mean, I want to call it mentor, but mentor is      10      Q Okay. And you had stated that one of the things
11   not a job. It's something else. But kind of like advise     11   that you do or that your committee does is deciding
12   the junior faculty in terms of their service obligations    12   whether somebody is fit for different rolls. Did I say
13   and make sure that PRAD is represented in the different     13   that correctly?
14   committees at the local level. And for example, I might     14      MS. WERMUTH: Objection. Form. Insofar as it
15   coordinate with our associate dean for faculty affairs,     15   misstates the record.
16   Michaela Winchatz. I can't spell that one. That, you        16   BY THE WITNESS:
17   know, oh, Tony, would be good for this committee, or you    17      A Yeah, so no, not really. I'm assuming that
18   know, Jane would be good for this other committee kind of   18   you're referring to service. I mentioned that I might
19   things.                                                     19   advise one junior faculty member about what the best
20              And I also serve in the leadership team          20   service opportunity is for them and that might happen,
21   for the college. Any problem with faculty that students     21   you know, directly to the associate dean. That was the
22   have comes to me first, any challenge that a faculty has    22   part that I mentioned with Michaela Winchatz. So she
23   regarding their teaching, anything from, you know, this     23   might say, Maria, we need a PRAD member for the teaching
24   course isn't working out to I got sick and I can't show     24   committee and I would look at the record and say, well,
                                                   Page 36                                                          Page 37
 1   maybe, Tony could use more service kind of to balance it   1     review it more frequently for the faculty that has been
 2   out. That happens more frequently than me going directly   2     teaching for us a long time, the adjunct that's been
 3   to Tony and saying, hey, Tony, you should serve on this    3     teaching for us a long time, I might review it every once
 4   committee. Because usually people are invited to           4     in a while or if somebody asks a question.
 5   committees so I have to be careful that my faculty don't   5               I have the power to hire new adjunct
 6   feel that I'm telling them they have to join a committee.  6     faculty without consulting with anybody else. I have
 7      Q Okay. Is it any kind of standard criteria that        7     never because I'm smarter than that. And I have the
 8   you use?                                                   8     power to not offer courses to an adjunct faculty member.
 9      A No. It is very much trying to estimate the time       9     And the only reason I have not done that to date is
10   commitment that the committees take so that I don't       10     because we have less courses to offer than we did in the
11   recommend somebody who's already serving many hours and 11       past. So that's what I mean by yes and no in managing
12   might feel they have to say yes to that invitation        12     the adjunct faculty -- or not alone, pardon me.
13   because it comes from the associate dean or something     13        MS. SCATCHELL: Could we go off the record for one
14   like that.                                                14     second.
15      Q Okay. And does the PRAD chair manage the adjunct 15                                (Brief recess.)
16   faculty?                                                  16        MS. SCATCHELL: Back on the record, I'm sorry.
17      A Yes, not alone.                                      17     BY MS. SCATCHELL:
18      Q Okay. What do you mean by that?                      18        Q So then how are requests for service roles that
19      A So the adjunct faculty is evaluated by an adjunct    19     come from the faculty handled by the program chair?
20   teaching committee that is made up of PRAD faculty        20        A Not all of them are. So usually they come
21   members, so they choose a group of adjuncts that teach    21     directly from the associate dean. The associate dean
22   frequently in our program to evaluate their performance.  22     will email all of the faculty and say, we have openings
23   That's formally. Informally, I have access to their       23     in these roles and most of the time faculty will
24   teaching evaluations for the faculty that is new. I will  24     volunteer. Sometimes there's some competition, meaning,




                                                                                          10 (Pages 34 to 37)
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                                                   Page 38                                                        Page 39
 1   you know, maybe I want to serve in the -- God, there's       1      A Oh, yeah.
 2   like a sports committee, I don't remember what the name      2      Q And how do you know her?
 3   is, but something like that, or the library committee,       3      A We are colleagues and friends.
 4   but Matt also wanted to. But most of the time there          4      Q Okay. And do you know when she went up for
 5   isn't a lot of competition because most of us already        5   tenure?
 6   have. And in that case, you might have a vote, you know,     6      A I believe it was the year after me, so it must
 7   to select your representative and that is usually done by    7   have been '18, '19.
 8   email.                                                       8      Q And do you know if she had applied for the
 9               Those are for the committees at the              9   program chair position?
10   college level. At the university level, we get an email     10      A Yes. I know she was interested in the program
11   from faculty council or whatever university unit it is.     11   chair position when it first came up.
12   Some you can just volunteer for, but most of them you       12      Q Okay. And do you know whether or not she was
13   have to be elected to. So you write a paragraph about       13   selected?
14   why you're a good fit for that committee, and your          14      A She wasn't selected. She was presented as a
15   college or the university, depending on the type of         15   candidate, but when the faculty vote, she didn't get
16   committee elects you to that role. So for example, for      16   majority faculty support.
17   the CEID, I was elected by my college, the one that's       17      Q And were you at that meeting?
18   representing the college in the diversity -- in the         18      A Yes and no, meaning I was at the meeting, but I
19   faculty council diversity committee. But for other          19   was virtual. I had a family engagement in Miami and had
20   committees, I'm in the program review committee at the      20   asked the dean to let me participate virtually.
21   university level. That I was selected by the committee      21      Q And then do you remember how long the meeting
22   chairs. There was no voting there.                          22   was, the vote for program chair?
23      Q Okay. And then you previously testified that you       23      A Approximately an hour, maybe an hour and a half.
24   know Sydney Dillard, correct?                               24      Q And do you remember what the approximate vote
                                                   Page 40                                                        Page 41
 1   makeup was, like who said yes, who said no?                  1      Q Okay. And do you have access to your notes?
 2       A I can't remember who said no. I believe she            2      A I can find them on my computer, but you have
 3   received three votes yes.                                    3   access to them. Would you like me to find them?
 4       Q Out of how many people were in the vote?               4      MS. WERMUTH: We produced these to you, Gia.
 5       A I don't remember, but PRAD faculty, the biggest        5      MS. SCATCHELL: I just want to make sure we're
 6   it's been, it's 18. It's been down to 15, so might be 15     6   talking about same notes, that's all.
 7   to 18 people.                                                7      THE WITNESS: Do you want to show me the ones you
 8       Q And then at the beginning of the meeting, do you       8   have, does that work?
 9   remember if Sydney had given a statement about her           9      MS. SCATCHELL: Anna, do you know the Bates stamp
10   qualifications?                                             10   number of them?
11       A Yes.                                                  11      MS. WERMUTH: I don't.
12       Q Do you remember what the nature of that statement     12      MS. SCATCHELL: We'll take a break and we'll come
13   was or her qualifications were?                             13   back to that part of it.
14       A Yes. Actually, in the handwritten notes that I        14   BY MS. SCATCHELL:
15   passed, one of those were kind of my notes when she was     15      Q All right. Was Sydney asked to leave the vote
16   speaking. She spoke about her experience with the           16   meeting?
17   program. She spoke about being a good listener and being    17      A Yes. That's usually how it happens.
18   willing and able to work with the faculty to represent      18      Q Okay. And do you remember what qualifications
19   the faculty. She spoke about wanting to take a little       19   were discussed about Sydney during that vote?
20   kind of like time at the beginning to really immerse        20      A So you mean when she stepped out of the room?
21   herself in the role before making any kind of like big      21      Q Yes.
22   changes or decisions. If you would like more                22      A Very little, honestly. The conversation wasn't
23   specificity, I would have to look at the notes because I    23   about Sydney as much as it was about the chair role and
24   don't remember.                                             24   the fact that it was too much work for one person and




                                                                                         11 (Pages 38 to 41)
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                                                      Page 42                                                          Page 43
 1   that it was impossible and that this is why nobody wanted       1   if             was interested in serving a second term or
 2   to serve as chair. I don't remember anything                    2   another term for program chair?
 3   specifically being said about Sydney as a candidate. I          3      A She wasn't --
 4   do remember saying, we are supposed to be discussing the        4      MS. WERMUTH: Objection. Foundation.
 5   candidate because the conversation was about the role,          5   BY THE WITNESS:
 6   which is something we had kind of been stuck in for more        6      A As far as I know, she wasn't.
 7   than a month, kind of just talking about the role.              7   BY MS. SCATCHELL:
 8      Q Okay. And did you raise that generally to the              8      Q She was not, okay. And do you know who became
 9   individuals that were voting, or who did you say that to?       9   the program chair instead of Sydney?
10      A I said it to the room. I was on the computer,             10      A              stayed on another year.
11   but I was in the middle of the table, so they could hear       11      Q And do you remember if there was a vote to make
12   me.                                                            12   her program chair again?
13      Q And do you remember if anybody responded to that          13      A There wasn't.
14   statement or request?                                          14      Q Okay. And do you know if somebody is already
15      A No, I don't remember.                                     15   program chair and their term is up, whether there has to
16      Q And you had previously said that nobody wanted to         16   be another vote or how that process works?
17   serve as the program chair because it was a lot of work?       17      MS. WERMUTH: Objection to the form. Go ahead.
18      A Yes.                                                      18   BY THE WITNESS:
19      Q And Sydney had volunteered, correct?                      19      A I don't know if it has to be another vote, I
20      A Yes.                                                      20   don't think it does. Assuming the program chair -- give
21      Q And who was the program chair that would have             21   me one second, I'm recalling something. Okay. The
22   been the predecessor to this program chair?                    22   journalism chair, Jason Martin, volunteered to stay on
23      A Dr.                                                       23   another year -- another term, and they sent an email to
24      Q And do you know why                   -- or do you know   24   the journalism faculty, I believe, asking, you know, if
                                                      Page 44                                                          Page 45
 1   anybody else was interested. So I'm assuming there is a         1      Q Do you know why she would have said something
 2   process now, but I know that this happened after I was          2   like that?
 3   named chair, so this would have been after         stepped      3      MS. WERMUTH: Objection. Foundation.
 4   down and after Sydney had volunteered for the position.         4   BY THE WITNESS:
 5   BY MS. SCATCHELL:                                               5      A Because she didn't know what area Sydney taught
 6     Q And was anything said about Sydney in the                   6   in, I assume.
 7   position of program chair during this vote?                     7   BY MS. SCATCHELL:
 8     MS. WERMUTH: Objection. Vague.                                8      Q And so is it fair to say that at that vote, it
 9   BY THE WITNESS:                                                 9   was more about revamping the position of program chair
10     A What vote are we talking about --                          10   than about taking a vote for Sydney?
11   BY MS. SCATCHELL:                                              11      MS. WERMUTH: Objection. Leading. Go ahead.
12     Q Program chair.                                             12   BY THE WITNESS:
13     A So when we were discussing Sydney's case?                  13      A I wouldn't say that's -- more than fair, I
14     Q Yes.                                                       14   wouldn't say that's accurate because whether we discussed
15     A So when she volunteered to be program chair, we            15   Sydney's case or not, the vote was about, you know, do we
16   were discussing it. There was nothing specific that I          16   want her to represent us as chair.
17   can recall said about her qualifications.                      17      Q And did anybody ask to suspend the vote or
18     Q Do you remember if somebody had said during the            18   postpone it to a time where Sydney's qualifications were
19   vote process is she even -- something to the effect of is      19   discussed?
20   she even a professor here?                                     20      A No.
21     A Yes, something to that effect. Is wasn't that              21      Q Do you know why that is?
22   exact wording. It wasn't is she even a professor. It           22      MS. WERMUTH: Objection. Foundation.
23   was something like what does she teach. And it was Eva         23   BY THE WITNESS:
24                 , a former colleague.                            24      A I don't know.




                                                                                             12 (Pages 42 to 45)
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                                                   Page 46                                                          Page 47
 1   BY MS. SCATCHELL:                                            1   happy to go with her recommendation with her on that
 2      Q And in your experience in serving on various            2   because she had more experience than me. And if there
 3   committees, has something like that ever happened before     3   was any -- mentoring the graduate students, industry
 4   where Sydney's -- or where the candidates qualifications     4   relationship building, and if there was conflict, there
 5   were not being discussed?                                    5   was one or two cases of conflict between a faculty member
 6      MS. WERMUTH: Objection. Vague.                            6   and a student, then I would be the intermediary. Oh, and
 7   BY THE WITNESS:                                              7   you also serve at the college level graduate director
 8      A I don't recall another meeting where I had to           8   committee.
 9   vote where we didn't talk in detail about a candidate,       9      Q Okay. So you had previously testified that you
10   no.                                                         10   and Sydney are work colleagues and also friends?
11   BY MS. SCATCHELL:                                           11      A Yes.
12      Q And did you also serve as a graduate director at       12      Q Okay. Did you guys ever have any email or text
13   DePaul?                                                     13   message communications?
14      A Yeah.                                                  14      A Yeah.
15      Q And what does that position entail?                    15      Q Have you applied for any other positions outside
16      A I was the academic director for the master's in        16   of DePaul in the last five years?
17   public relations and advertising. Most of my work had to    17      A Yes.
18   do with curriculum with making sure we taught a good        18      Q Okay. We're actually not going to talk about
19   balance of classes between public relations and             19   that.
20   advertising because it's a degree that covers both making   20             So when you applied for other positions,
21   sure that we could staff -- we could staff the classes.     21   did you discover that there was any kind of limitation on
22   I could review faculty evaluations. I think I only did      22   not having some sort of service requirement?
23   that in one case because the chair was doing it.            23      MS. WERMUTH: Objection. Vague.
24   she was doing it. And to be 100 percent honest, I was       24   BY THE WITNESS:
                                                   Page 48                                                          Page 49
 1      A No.                                                1            MS. SCATCHELL: Okay. That's fine.
 2   BY MS. SCATCHELL:                                       2            THE WITNESS: That would be nice, and are you going
 3      Q Okay. Did any of the other places that you         3        to email me?
 4   applied to require you to have experience in let's say  4            MS. SCATCHELL: Actually, can I get your email
 5   like a program chair type position?                     5        address.
 6      A Yes.                                               6            THE WITNESS: I'll put it in the chat.
 7      Q Okay. And at that time, did you have that          7            MS. SCATCHELL: Then we'll go back on the record at
 8   experience?                                             8        11:19.
 9      A Yes.                                               9                              (Short recess.)
10      Q And was there ever a time that you applied to a   10        BY MS. SCATCHELL:
11   different university that you did not have that        11            Q Let's go back to what we were discussing before
12   experience as program chair?                           12        the break, the program chair position. So as the program
13      A Yes.                                              13        chair, do you have direct reports?
14      Q And what happened then?                           14            A Yes. Let me clarify I struggle with that a
15      A I wasn't selected.                                15        little bit because even though I do advise and maybe
16      Q And did they say why or explain why?              16        supervise in some way the faculty, we all -- our direct
17      A No, but that's also very standard in academic     17        supervisor is the theme because we don't have
18   jobs. The assumption is always somebody more qualified 18        departments, we have programs. So yes and no.
19   received the job.                                      19            Q And then does the graduate director have direct
20      MS. SCATCHELL: Could we go off the record for one   20        reports?
21   second. I am just going to send out some exhibits.     21            A No. Again maybe -- no, they wouldn't actually.
22      MS. WERMUTH: Okay. Do we want to take maybe a five 22             Q Okay. And when you had said that you previously
23   minute break or such? Is that okay while you email the 23        applied to other positions, what were those other
24   stuff?                                                 24        positions that you were seeking?




                                                                                          13 (Pages 46 to 49)
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                                                  Page 50                                                          Page 51
 1      MS. WERMUTH: Objection. Relevance. Also, you know, 1         having direct reports a qualification that was preferred?
 2   this is confidential information that really has --        2       MS. WERMUTH: Hang on. I'm going to object to form
 3      MS. SCATCHELL: Do you have a protective order in        3    and I'm going to object to scope and relevance. Go
 4   place?                                                     4    ahead.
 5      MS. WERMUTH: I understand. If you can just let me       5    BY THE WITNESS:
 6   finish my objection. That's all I was going to do, state   6       A No, not exactly. But yes, having administrative
 7   an objection, get it on the record. You're going to get    7    experience.
 8   your answer, but I do think it's outside of the scope of   8       Q Okay. And that's to get positions that are
 9   the litigation.                                            9    higher up the academic chain so to speak for
10      MS. SCATCHELL: Okay. Your objection is noted.          10    administrative positions, correct?
11   BY THE WITNESS:                                           11       MS. WERMUTH: Objection. Vague.
12      A I will answer, but I am concerned because, as you    12    BY THE WITNESS:
13   know, I don't necessarily want my employer to know I've   13       A So yes, there would be higher up administrative
14   been looking for other jobs.                              14    positions.
15   BY MS. SCATCHELL:                                         15    BY MS. SCATCHELL:
16      Q Right.                                               16       Q Okay. And then having a position like program
17      A One of the jobs that I applied to was to be          17    chair would give you those qualifications that you would
18   director of the school of advertising and public          18    need to have that administrative experience, correct?
19   relationship at the University of South Florida.          19       MS. WERMUTH: Objection. Leading.
20      Q I don't want to know where. I just want to know      20    BY THE WITNESS:
21   -- here, I guess just like to get to the gist of what I   21       A For two of the positions that I applied, yes.
22   am looking for, it's not to try to get you into hot water 22    BY MS. SCATCHELL:
23   with your school or anything. I just want to know that    23       Q Okay. I'm going to show you what has been marked
24   the different positions that you were applying to, was    24    as Exhibit No. 1 if you could go to that, please.
                                                  Page 52                                                          Page 53
 1                          (Exhibit No. 1 was marked            1      MS. WERMUTH: Those are the page numbers that Gia is
 2                           for identification.)                2   referring to.
 3     THE WITNESS: One second. Thank you. I have it open        3      THE WITNESS: Okay. Thank you. I actually hadn't
 4   now.                                                        4   noticed that. Thank you, Anna.
 5   BY MS. SCATCHELL:                                           5      MS. WERMUTH: No problem.
 6     Q Can you actually just open up Exhibit No. 1.            6   BY THE WITNESS:
 7     A The cover says Exhibit 1.                               7      A I believe I recognize this as an email -- I'm
 8     Q Yes. And what I'm going to show you is going to         8   sorry, text exchanges between Sydney and myself.
 9   be marked Dillard Discovery Production Page 2817 to         9   BY MS. SCATCHELL:
10   Dillard Discovery Production 2943.                         10      Q Perfect. Well, we're not going to go through all
11             Could you take a moment and review those         11   143 pages. We're just going to go through some of them.
12   pages                                                      12   I just wanted to first make sure that you had the context
13     MS. WERMUTH: That's like 120 some pages, you want        13   that it was communications between you and Sydney?
14   her to read all of it now?                                 14      A Yes.
15     MS. SCATCHELL: No. I just want her to gloss over it      15      Q So if you could now go to -- or scroll to Page
16   and just tell me if she recognizes what that exhibit is.   16   2827.
17     THE WITNESS: Could I please get again what page I'm      17      A Okay. I got it.
18   supposed to be starting at?                                18      MS. WERMUTH: I'm sorry. I'm not quite there yet.
19     MS. SCATCHELL: 2817.                                     19   Hang on. What page of the PDF?
20     MS. WERMUTH: So Maria, what she's referring to is do     20      MS. SCATCHELL: 12.
21   you see on the second page of the PDF, at the bottom of    21      MS. WERMUTH: Okay. That's helpful. Thank you.
22   that page, there's a red marking that says Dillard         22   Yes, I'm there. Thank you.
23   Discovery Production 2817.                                 23   BY MS. SCATCHELL:
24     THE WITNESS: Now I do.                                   24      Q Okay. Maria, would you mind just taking a look




                                                                                         14 (Pages 50 to 53)
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                                                       Page 54                                                           Page 55
 1   at that page and reviewing it and let me know when you're        1      A I remember a conversation that was relevant to
 2   finished?                                                        2   Sydney.
 3      A I read it.                                                  3      Q Okay. What do you remember?
 4      Q Okay. And you see the part where it says well, I            4      A And just let me clarify, I am very bad with
 5   should back up.                                                  5   dates, so I don't trust my memory. So we had talked
 6             So the green text would be Sydney,                     6   about how the evaluation criteria for tenure & promotion
 7   correct?                                                         7   wasn't clear, and I had gone to Salma as diversity
 8      A Uh-huh.                                                     8   advocate to talk about that. In that initial
 9      Q And the gray text would be you.                             9   conversation, if that was the first conversation that I
10      A Uh-huh.                                                    10   had with Salma about this topic, and Salma was our former
11      Q And it says at the top, "Hey if you are free, can          11   dean. She's now the provost at the university. I
12   we talk? I Just talked to Salma."                               12   believe I did not mention anybody specifically having
13      A Actually, I didn't see that on this page. Oh,              13   names. I used the term faculty of color. In this case,
14   yeah. Yes, sorry. Yes.                                          14   I was referring specifically to Sydney, to myself, and to
15      Q And you see the date right above that which is             15                   because the three of us had talked about
16   March 13, 2017, correct?                                        16   the fact that the guidelines were vague and needed to be
17      A Yes.                                                       17   more specific and clearly laid out. That was the first
18      Q And do you remember what that conversation was             18   conversation that I had with Salma regarding diversity
19   about and/or what she was referring to?                         19   that might have been something that I would talk to
20      A The accurate answer is no. I can make an                   20   Sydney about.
21   assumption, but I can't promise 100 percent that it was a       21      MS. WERMUTH: I'm sorry. Deanna can you read back
22   conversation I had on that date.                                22   the question that Dr. De Moya just responded to.
23      Q But do you remember a conversation happening               23                           (Question read.)
24   around that date?                                               24      MS. WERMUTH: There are some foundational issues
                                                       Page 56                                                           Page 57
 1   here, so I'll just state that.                                   1      A I mean, almost everything, but I think the main
 2   BY MS. SCATCHELL:                                                2   concern had to do with research and service. So teaching
 3      Q And do you remember why in that conversation you            3   at DePaul is very clear. There's very high expectation,
 4   had mentioned faculty of color and not the specific names        4   and you have to have high marks across the board.
 5   of you, Sydney, or                                               5   Service and research is a lot more up for debate and up
 6      A Because at that time, I would have agreed with              6   for interpretation.
 7   Sydney and           not to mention their cases specifically,    7      Q Okay. And then going to the next page, could you
 8   but to talk about comments that I had received in                8   please review that, that would be 2828?
 9   general. So as diversity advocate, I would always ask            9      A Okay.
10   the faculty or staff, you know, do you want me to bring         10      Q And could you just review that and let me know
11   this up on your behalf or in general. And if I did that         11   when you've finished?
12   in that case, it's because we had agreed that it would be       12      A I'm finished.
13   kind of more in general and broad.                              13      Q Do you see the part where it says, "Sorry I
14      Q Did Sydney or             tell you why they wanted to      14   missed your message yesterday.          is 100% cool with
15   keep their identities hidden at that time?                      15   it. No worries. On a separate note, had a conversation
16      A I'm sure we had a conversation about that.                 16   with       yesterday. Wanted to talk to you about it."
17   Specifically, I can't recall why we decided not to              17   Then you responded, "Am available, smiley face" Do you
18   mention our names. Because I have to be clear in this           18   see that?
19   case, I also felt like I was advocating for myself. I           19      A Yes.
20   was still pre-tenure and I felt that the guidelines were        20      Q Do you remember what that conversation about
21   unclear and open to interpretation to the faculty that          21   was about?
22   were going to be voting on our cases.                           22      MS. WERMUTH: Objection. Form. Foundation.
23      Q And do you remember what portions of it you felt           23   BY THE WITNESS:
24   needed clarification or were unclear?                           24      A So this would have been a conversation between




                                                                                              15 (Pages 54 to 57)
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                                                    Page 58                                                          Page 59
 1   Sydney and          There were more than one conversations    1   as well. I was also going up for tenure. I was going up
 2   in which I wasn't present. If I was being told about it,      2   for tenure before Sydney and        and I was a little
 3   I mean, again, we have a friendship and a professional        3   uncertain about my case. So for me, a clarification of
 4   relationship. It could have been diversity advocate           4   the standards would have helped every untenured faculty
 5   related to      concerns about her case and how that          5   member including myself.
 6   related to Sydney's case or my case, or it could have         6      Q And could you please go to 2830?
 7   been about anything else, so I can't.                         7      MS. WERMUTH: Can you tell me the PDF page number?
 8      Q And         is                 correct?                  8      MS. SCATCHELL: 15.
 9      A Yes.                                                     9      MS. WERMUTH: Okay. Thank you.
10      Q And when you were speaking about the tenure &           10   BY MS. SCATCHELL:
11   promotion guidelines being vague, do you remember if         11      Q Okay. Could you review that and let me know when
12   Sydney had approached you with concerns about service and    12   you're finished?
13   going up for tenure?                                         13      A I finished 2830.
14      A I can't remember specifics, no.                         14      Q Do you see the part where it says Thursday, March
15      Q Okay. Would there be anything to refresh your           15   23, 2017?
16   recollection?                                                16      A Uh-huh.
17      A No. To be 100 percent clear, I can't remember           17      Q Do you see where you say, "Meeting with Salma
18   anything specific, but I can definitely remember we          18   April 4th and with           this coming Monday. Have to
19   talked about research and service because those were the     19   schedule a meeting with Lexa"?
20   areas that were too broad.                                   20      A Uh-huh.
21      Q Okay. And then you said you were advocating for         21      Q Do you remember what those meetings were about?
22   yourself, could you expand on what you meant by that?        22      A Yes. So specifically        had already kind of
23      A I identify as a faculty of color. I think that          23   given me all of her case and talked to me about the parts
24   the things that affect faculty of color could affect me      24   that were problematic in terms of their evaluation. And
                                                    Page 60                                                          Page 61
 1   around that time, Sydney and I had been up for our fourth     1      A The only thing that I remember -- give me one
 2   year review and we had similar experiences and similar        2   second. This is a general impression. Not the letter
 3   letters, but I had received an anonymous vote in all          3   that we got signed from the dean, both Sydney and I were
 4   three categories, and Sydney had received a split vote in     4   very, very similar in wording. And again, the fact that
 5   one category. We had shared our documentation with each       5   with a similar analysis, you could -- it could result in
 6   other and we had discussed how in         's case and in      6   different votes -- brought a question of what was the
 7   Sydney's case, there was an appearance of bias in the         7   criteria that was being used by the person voting. Those
 8   evaluation because they didn't seem to be applied the         8   are the two specific things that I can remember. I don't
 9   exact same way. So I was going to go to the dean --           9   believe we talked about research or service at that time.
10   well, I went to the dean as diversity advocate to talk       10   I believe the conversation was based on evaluation of
11   about these cases, and in this time, yes, with names and     11   teaching.
12   examples. I speak to             before that because it      12      Q Okay. And do you know what criteria was used?
13   was going to be my first time, kind of like presenting a     13      A Yes and no. The criteria for teaching is still
14   formal complaint to the dean and I wanted some advice,       14   the same criteria, but it is broad, meaning it defines,
15   and she gave me some advice. And she told me that it was     15   you know, high quality of teaching. And I remember in
16   fair to say that there was an appearance of bias, and I      16        's case, there were comments about students feeling
17   would have had to schedule a meeting with Lexa because       17   uncomfortable in the class, and those comments, together
18   Lexa was the associate dean in charge of faculty.            18   with others, that was not the only thing mentioned, led
19      Q Okay. So then do you remember what the                  19   to a conclusion that she was an ineffectual teacher.
20   appearance of bias was?                                      20              So my question would be or is something
21      A The fact that some criteria would be used to            21   like well, are we looking at, you know, the level of
22   evaluate teaching for one person, but not for another.       22   comfort of all students in all classes. For example,
23   That was one specific example.                               23   right, if this is one of the evaluations that we're going
24      Q Do you have any other examples?                         24   to use to say that people are ineffectual. And I also




                                                                                           16 (Pages 58 to 61)
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                                                   Page 62                                                          Page 63
 1   was concerned with the fact that they didn't account for   1     remember what they were, but I do remember having a brief
 2   research that showed that faculty of color, especially     2     conversation at the end of the meeting about specificity
 3   women of color, are evaluated differently by students.     3     and the tenured faculty, which at that point were the
 4      Q And do you remember what the outcome of that          4     ones making decisions in terms of changes, disagreed with
 5   meeting was?                                               5     my point that the guidelines were not clear enough. That
 6      A Yes. Salma told me that she had spoken to             6     was the only time I remember having a discussion about
 7   Lawrence            , he was the associate provost for     7     that specific conversation.
 8   research and diversity at that time, and that he had told  8        Q Do you remember approximately when those
 9   her that her obligation was to listen, and that I had,     9     conversations were?
10   you know, performed my obligation, and she had performed 10         A They must have been -- I know that they were at
11   hers, basically.                                          11     the end of the academic year, so May or June. And they
12      Q And has the teaching criteria changed during that    12     must have been at the end of that academic year, so I'm
13   meeting?                                                  13     assuming 2017.
14      A No --                                                14        Q And you had mentioned that Sydney had a split
15      MS. WERMUTH: Objection. Vague. I'm sorry, what was 15         vote in one category. Do you remember what that category
16   the answer?                                               16     was?
17      THE WITNESS: No.                                       17        A Teaching.
18   BY MS. SCATCHELL:                                         18        Q And do you remember anything more about her
19      Q And do you know why it has not changed?              19     teaching and that review?
20      MS. WERMUTH: Objection. Foundation.                    20        A I mean, I'm sorry I don't understand what you're
21   BY THE WITNESS:                                           21     asking.
22      A We've had discussions about it being vague. We       22        Q That was a bad question. We'll come back to
23   did after this meeting. For example, there was some       23     that. I'm sorry about that. Now is there -- how is the
24   changes to the tenure & promotions guidelines. I cannot   24     criteria? Is it like a good, better, best or how does
                                                   Page 64                                                          Page 65
 1   that work or good, better, excellent, something of that      1   review, Sydney would have been in her fourth review, so
 2   nature?                                                      2   it would not have an adjective there.
 3      A And Gia I will answer the question to the best of       3      Q And at the bottom of page or bottom of the text
 4   my ability, but I have to admit, I might be                  4   message thread on Page 2830, do you see where it says
 5   misremembering because we recently went through the          5   from Sydney, "Okay great! Thanks again. I wanted to ask
 6   ballots, you know, through the previous years because we     6   you a hard question yesterday, but didn't want to ask in
 7   were doing some more -- adding some more specificity in      7   front of       Would you mind sharing the email that you
 8   terms of process to the tenure & promotion guidelines.       8   received from           about the peer observation upload
 9   So because of that, I can assume, you know, what were the    9   and your final personnel/reappointment letter"?
10   adjectives at that time, but I have to admit that I might   10      A Yes.
11   have been mistaken. There are three -- usually three        11      Q Is that what you were referring to about when you
12   adjectives; excellent, very good, and fair. For some        12   guys were comparing evaluations or is that something
13   reason they skip good, I don't know why. Somewhere in       13   different?
14   our faculty handbook it says that you have to be            14      A That would be different.             would have told
15   excellent in two out of the three categories and very       15   me who needed to upload my peer evaluation. So over the
16   good in the other to be considered tenure by your           16   time that I was being evaluated, that changed from the
17   peers -- to be recommended for tenure by your peers.        17   evaluators are going to upload it to the candidate has it
18             So that is what the personnel committee           18   upload it. I believe that during that time, it was the
19   includes in their report. So they will tell the tenure      19   evaluators that were supposed to upload it. And so if it
20   faculty, you know, in the area of service, we evaluate      20   was missing, you know, it wasn't that you didn't put it
21   Maria as very good. However, the tenure faculty when we     21   in, but the people who observed your class didn't put it
22   vote in the second and in the fourth year review, we do     22   in.
23   not use adjectives. We just say is this person making       23             I don't remember anything -- oh, oh, okay.
24   adequate progress toward tenure, yes or no. In that         24   So that would be two different things. About the peer




                                                                                          17 (Pages 62 to 65)
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                                                    Page 66                                                         Page 67
 1   observation upload, that's one thing. And the other           1      Q Okay. Could you expand on when you mean by she's
 2   thing is my final letter, my evaluation letter, and did       2   the only Black woman in your college?
 3   share that with her. And that is a letter that I'm            3      A It really is just that, she's the only Black
 4   referring to that had similar wording, but different          4   woman in the college.
 5   votes at the end.                                             5      Q Meaning tenure faculty or pre-tenure faculty?
 6      Q Okay. Perfect. And then could you go 2833,               6      A I'm pretty sure meaning any staff or faculty, but
 7   which is 18 of the PDF?                                       7   I would have to confirm when Rachel started.
 8      A Okay.                                                    8      Q Okay. And who is Rachel?
 9      Q Do you see where it says where you say, "Do you          9      A Rachel is -- she was an admin in charge of
10   feel bad about it? Uncomfortable?"?                          10   student records. Now, she is advisor, student advisor.
11      A Yes, I do.                                              11      Q And then we're going to go to 2846, which is 31
12      Q Do you know what that's referring to?                   12   of the PDF.
13      A A comment on her teaching evaluation on her             13      A Okay.
14   letter.                                                      14      Q And could you review that and let me know when
15      MS. WERMUTH: I'm going to object on foundation. I         15   you're finished.
16   don't see a date on here.                                    16      A Yes.
17   BY MS. SCATCHELL:                                            17      Q Okay. Do you see where it says Sydney says, he
18      Q And then we're going to go to 2835. Could you           18   let me ask you something, and I'm just paraphrasing,
19   review and let me know when you finish?                      19   about the very good, excellent, and tenure process
20      A Uh-huh.                                                 20   classifications?
21      Q Do you see where you say, "You are the only young       21      A I see it.
22   Black woman in our college. You'll be the one living         22      Q Okay. Does that refresh your recollection on
23   this experience, but I got your back"?                       23   that different standard about good versus very good and
24      A Absolutely.                                             24   excellent?
                                                    Page 68                                                         Page 69
 1      MS. WERMUTH: Objection. Leading and vague.                 1      A Yeah. He was a faculty member in advertising --
 2   BY THE WITNESS:                                               2   tenure-track faculty member in advertising.
 3      A I don't think I have a problem recollecting -- I         3      Q Is he still at the university?
 4   mean, remembering the standard. I think that the problem      4      A No, his contract wasn't renewed.
 5   is that it can be applied however the person -- there's       5      Q Okay. And do you remember if he had made any or
 6   no set criteria to determine one or the other, but I          6   raise any concerns to you about why his contract wasn't
 7   remember that, you know, those are the standards, yes.        7   renewed?
 8   BY MS. SCATCHELL:                                             8      A Not to me, no. I would have had nothing to do
 9      Q Okay. And when you previously testified about            9   with it.
10   the text message I got your back?                            10      Q What was his race?
11      A Yes.                                                    11      A He was a white man or he is, sorry.
12      Q What did you mean by that? Could you expand on          12      Q Okay. And then let's go to Page 2852, which is
13   that?                                                        13   37 of the PDF.
14      A That I would support her through the process.           14      A Yes.
15      Q Okay. And then we're going to go to -- actually,        15      Q Actually, I'm going to say 2853, which is, what
16   do you know former faculty member named Vinny?               16   page is that, 38 -- actually 38 and 2855, which is 39 of
17      A Yes.                                                    17   the PDF.
18      Q Do you know what his last name is                  or   18      A Okay. I'm finishing 38.
19   something?                                                   19      Q Okay.
20      A               , something like that, yeah.              20      A So if I'm correct, the 39 is just repeating the
21      MS. SCATCHELL: Ms. Tufano, I'll get you the spelling      21   same thing the previous text said.
22   of that after the deposition.                                22      Q Yeah. I actually meant 40, which would be 2855,
23   BY MS. SCATCHELL:                                            23   I apologize.
24      Q Do you remember who he was?                             24      A No worries.




                                                                                           18 (Pages 66 to 69)
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                                                       Page 70                                                           Page 71
 1      Q Okay. So on Page 2855, do you see where you say,             1   question insofar as it misstates what the document says.
 2   I will wait until I know more about Vinny's case and I            2   Please proceed.
 3   will talk to you and       about responding to your               3      THE WITNESS: Yes --
 4   official complaint or inquiry or whatever?                        4      MS. SCATCHELL: It says official complaint.
 5      A Uh-huh.                                                      5      MS. WERMUTH: Or inquiry or whatever is what it says.
 6      Q Do you remember what that was referring to?                  6   BY MS. SCATCHELL:
 7      A Yes. I did not talk directly to Vinny about his              7      Q Okay. I will correct my statement. Official
 8   case. We weren't very close. I told him that it sucked.           8   complaint or inquiry or whatever.
 9   But I did know that he was appealing the case. The                9      A Yes. I need to clarify that coming to me is not
10   assumption was that it could prove or substantiate the           10   an official complaint. What I meant by that, I'm 100
11   argument that the criteria were being applied differently        11   percent sure, is on the record, meaning I am speaking on
12   for different people. I knew that Vinny had not been             12   your behalf, and the associate dean will know that I am
13   renewed mainly because of his service, but I wasn't privy        13   speaking about your cases. That's what in my mind made
14   to the conversation, to the discussion. He showed me his         14   it official versus an unofficial conversation about, you
15   letter and I was also -- and I wouldn't have been because        15   know, how do I deal with this kind of conversation in the
16   I wasn't tenured at the time. So going forward to                16   classroom.
17   talking -- I believe it was to Lexa at that time -- to           17      Q And let's go to 2861, which is 46 of the PDF.
18   talk about again about possible biases in the process, I         18      A Yeah.
19   was going to wait to see how Vinny's case was -- the             19      Q Could you read that and let me know when you're
20   appeals of Vinny's case went to kind of bring this in as         20   finished?
21   possible sporting arguments.                                     21      A I finished.
22      Q Okay. And by            and Sydney's official               22      Q Okay. Do you see the part where you said you are
23   complaint, could you expand on what you meant by that?           23   going to love this. Apparently a journalism professor
24      MS. WERMUTH: Let me just object to the form of the            24   has been recommending a diction class for Black students
                                                       Page 72                                                           Page 73
 1   to quote, unquote help with their accent. I almost lost           1   students talked about, you know, that they have had some
 2   my shit?                                                          2   experience with faculty that they believed treated Black
 3      A Yes.                                                         3   students differently, and they mentioned this case
 4      Q Do you remember who that professor was?                      4   specifically. And I was very upset and the students
 5      A Yes, Rick Brown.                                             5   noticed this because I thought it was bullshit.
 6      Q Okay. And what is his ethnicity?                             6      Q And did you tell anybody besides Sydney?
 7      A He's a white man.                                            7      A Yes. I just don't remember at what time at what
 8      Q Okay. And how did you find out that he was                   8   moment. I believe I told Lexa, again, as part of
 9   recommending a diction class for Black students?                  9   faculty. I know that I had decided to talk to Jason, his
10      A The journalism students wanted to form a Black              10   supervisor, but I also know that I never did.
11   journalism association. Sadly, we don't have Black               11      Q And is there any reason why you did not talk to
12   journalism faculty, and I had been advising the Latino           12   his supervisor?
13   student association in journalism despite the fact that          13      A No.
14   I'm not a journalist anymore. Because I had some                 14      Q And did you ever speak with Rick, is it? Did you
15   experience with journalism that was part of my undergrad         15   ever speak with Rick about this?
16   and my grad -- my master's, but I had also worked there.         16      A No.
17   So I had volunteered to help put this together. Lawrence         17      Q Okay. Do you know if Lexa did anything?
18              on of -- not Lawrence           , last name I don't   18      MS. WERMUTH: Objection. Form. Foundation.
19   recall, one of our adjuncts had volunteered to be their          19   BY THE WITNESS:
20   advisor, but because he's an adjunct, he couldn't be             20      A Yes. It was addressed at that time. I believe,
21   their official advisor.                                          21   but you would have to ask her, that she spoke to Jason
22              So this was an initial meeting, and the               22   who spoke to Rick. And Rick has been receiving guidance
23   question in the meeting were kind of like what of the            23   and mentoring to deal with his lack of knowledge, you
24   things you wanted to do with this association. And               24   know, in terms of diversity and students of color.




                                                                                               19 (Pages 70 to 73)
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                                                   Page 74                                                           Page 75
 1      Q Okay. And is he a tenured professor?                    1   President's Diversity Council, and I did. But most of my
 2      A No. He's a term-faculty member.                         2   training I took on myself. I am self-taught, I would
 3      Q Okay. And do you know why or what part of the           3   say, in that area.
 4   Black students -- what part of their speech would this       4      Q And then did you raise any concerns about not
 5   diction help?                                                5   receiving adequate support -- or sufficient training?
 6      MS. WERMUTH: Objection. Vague. Form. Foundation.          6      A I did say that it would be helpful to receive
 7   BY THE WITNESS:                                              7   more training. I said that it will be -- that in my
 8      A The fact that they spoke like Black people. The         8   opinion, the diversity advocates, we you should be kind
 9   fact that I speak with an accent. For example, one           9   of like at a similar level of knowledge. I never felt
10   student had a southern accent and that was the problem,     10   that I didn't have sufficient support, but I did feel
11   that's why it was problematic that he was doing this. He    11   that I needed more training.
12   didn't realize that he was trying to get -- he was          12      Q And did they give you any training on how to
13   recommending students to address things that have to do     13   process complaints of discrimination?
14   with their identity.                                        14      MS. WERMUTH: Objection. Form. Assumes facts not of
15   BY MS. SCATCHELL:                                           15   record. Go ahead.
16      Q And when you became the diversity advocate, was        16   BY THE WITNESS:
17   there any sort of training that was provided to you when    17      A That was not part of my responsibility.
18   you became or when you entered into that role?              18   BY MS. SCATCHELL:
19      A There was some, not sufficient. I had a meeting        19      Q Was there any training on how to identify
20   with             she walked me through like being a         20   discrimination?
21   diversity advocate and some of the resources available at   21      A Yes. I participated in implicit bias training.
22   DePaul, and she gave me a booklet that talked about, you    22   I also remember -- I don't remember the title of the
23   know, faculty of color in higher education. I had access    23   training, but it was about how we evaluate people who are
24   to a lot of people to go to for support because of the      24   applying for jobs and how to make sure that we request
                                                   Page 76                                                           Page 77
 1   information regarding their commitment to diversity,         1   leadership, things that need to be attended, and there's
 2   equity, and inclusion and kind of using rubrics for that.    2   two more things probably that I don't recall. But those
 3   I went to many other trainings similar, but those are the    3   were -- so basically I'm referring to a description that
 4   ones that are optional and open to all faculty, so not       4   there was that had maybe five bullet points, maybe four
 5   exclusive to diversity advocates.                            5   about what the role of the diversity advocate was.
 6      Q Then did you get any training on how to handle a        6      Q Okay. Going back to when Sydney and              had
 7   complaint if it was brought to your attention?               7   brought a complaint of some sort to your attention and
 8      A No. I was told that -- how I took -- pardon me.         8   you said you were going to follow-up with leadership, do
 9              Where I learned what to do with complaints        9   you remember if          or Sydney followed up with you
10   had to do with my five bullet point kind of list of         10   regarding the status of that complaint?
11   responsibilities and one of them would be to bring          11      A Yes. In Sydney's case, if I recall correctly, I
12   attention to this to the leadership. The faculty that       12   just reported that I had had the conversation with Salma
13   spoke to me knew that I wasn't kind of like an official     13   and with Lexa. I don't think I had anything else to
14   complaint mechanism, that they needed to go to HR for       14   report. In      's case, I spoke to Lawrence           and
15   that, but that I could advocate and that I could speak to   15   he was again the associate provost for research and
16   the leadership on their behalf. And that's what I did.      16   diversity and that        had asked me to advocate for her
17      Q And then what was your five-point system?              17   outside of the college, which is why I spoke to him. And
18      A Pardon me, not system, but list.                       18   he told me that, you knee, he was going to look more into
19      Q List.                                                  19   the case, and sadly never followed up. I asked maybe
20      A So it said that the diversity advocate is a            20   once or twice by email, Lawrence, is there any news, but
21   resource for, I remember that one very well, for the        21   he left soon after. My assumption is that he wasn't, you
22   faculty were responsible for providing kind of like         22   know, focused on it at that time, that was the follow-up
23   training and opportunities for development. We are          23   in both of those cases.
24   responsible for bringing to the attention of the            24      Q Do you remember what Lawrence's last name is?




                                                                                          20 (Pages 74 to 77)
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                                                      Page 78                                                          Page 79
 1      A It's spelled           , I think it's pronounced           1      A Yes, I'm finished.
 2             , H-A-M-M-E-R.                                        2      Q Okay. And do you see the text message that you
 3      Q And then I'm going to direct your attention to             3   had -- the beginning the text message of 11:14. Halfway
 4   Dillard Discovery Production 2869, which is Page 54 of          4   through it says because you made yourself be heard and
 5   the PDF?                                                        5   overcame a lot of bullshit, you deserve to celebrate it
 6      A Okay.                                                      6   as a win?
 7      Q And do you see where Sydney mentions, LOL, you             7      A Yes. And I'm sorry, my dog is barking, but yes.
 8   are the sweetest. I am surprised the           K?               8      Q No problem. I'm surprised it's not mine.
 9      A Yes.                                                       9             Could you expand on what you meant by
10      Q And then it goes on. Do you know who              K is?   10   telling Sydney made yourself heard and overcame a lot of
11      A Yes. My colleague,             Kessler.                   11   bullshit?
12      Q And then two text messages down at approximately          12      A Yeah. So Sydney was -- I don't know if the right
13   11:04 a.m. you responded good, he talked to me briefly         13   term is unhappy, unpleased, upset about the fact that her
14   the other day. Told me basically, can't remember word          14   reviews seem to be confusing, unclear what they were
15   for word, that it had been a great meeting and then KK         15   based on. And the frustration there was, well, how can I
16   had derailed it. Would KK be             Kessler?              16   improve and meet the requirement that you want if I don't
17      A Yes.                                                      17   know what the requirement that you want was. One of the
18      Q Okay. And do you know what she derailed?                  18   things that Sydney and I have talked a lot of about is
19      A She focused a lot on the SharePoint and the fact          19   how I have more of a diplomatic approach, which is I just
20   that the files weren't organized in a certain way, and if      20   kind of like meet with people, ask a lot of questions,
21   I recall my conversation with Matt, he was annoyed             21   and sometimes that can help. So Sydney did that. She
22   because that wasn't very important.                            22   met with several people including the chair personnel to
23      Q And then going to the next page 2870, could you           23   kind of get an idea of what things she needed to address
24   review that and let me know when you're finished.              24   in her case, kind of how to improve her letter.
                                                      Page 80                                                          Page 81
 1   Basically, how to make her case so that she didn't get          1   evaluate us and the fact that we don't have anything in
 2   this unflattering and unhappy report that she had in the        2   place to try to avoid the bias from influencing people's
 3   past, and she had a very good report. And I told her,           3   evaluations. And can I just say, by we don't have
 4   you know, it went well after all of your efforts, so            4   anything in place, I mean DePaul and many, many
 5   forget about it. She had done a lot of homework and put         5   universities in academia. Sadly, this is not exclusive
 6   in a lot of -- done a lot of conversation and asking            6   to DePaul. It's a problem the faculty of color face in
 7   questions to make sure that her case was presented in the       7   almost any institution.
 8   best light possible and it paid off.                            8   BY MS. SCATCHELL:
 9      Q And the bullshit aspect of it, what part were you          9      Q Okay. So does it affect faculty of color in any
10   referring to there?                                            10   other ways besides the unconscious bias that you had just
11      A The part that you can't -- you can never know how         11   explained?
12   people are going to evaluate you. It's just, I don't           12      MS. WERMUTH: Objection. Foundation. Vague.
13   know how else to put it, but bullshit. It feels                13   BY THE WITNESS:
14   uncertain and there might be criteria that are not             14      A The ways in which a faculty of color can be
15   spelled out. I don't think I was referring to anything         15   affected in their tenure & promotion process are many.
16   very specific.                                                 16   So some have to do with bias, some have to do with plain,
17      Q Okay. And would that be just to faculty of color          17   you know, discrimination or racism. Each case is
18   or to all faculty?                                             18   different, but I think what is most common and most
19      MS. WERMUTH: Objection. Vague.                              19   difficult to point to is unconscious bias.
20   BY THE WITNESS:                                                20      Q Okay. And could you explain what unconscious
21      A I believe the process is problematic for all              21   bias is?
22   faculty. I understand that the process effects faculty         22      A Sure. So we have -- I'm trying not to get too
23   of color differently, especially because of the                23   kind of like technical. But okay, the way in which we
24   unconscious bias that people have including students who       24   process information, right, has to do a lot about how we




                                                                                             21 (Pages 78 to 81)
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                                                   Page 82                                                         Page 83
 1   are socialized, and we have kind of like shorthands for      1   seeking an opinion from a lay witness, I'll make that
 2   people, for places, for spaces that we are not               2   objection as well. You can proceed, Maria.
 3   necessarily aware of. So for example, if you see             3   BY THE WITNESS:
 4   somebody running towards you, you might qualify that in      4      A Yes and no. So What do you mean with find? Let
 5   your brain as a threat. And you might not realize that       5   me -- can it be found in an evaluation?
 6   you only see it if it's a threat if it's a young Black       6   BY MS. SCATCHELL:
 7   man towards you and not a young white guy or something       7      Q During the evaluation process or the formal
 8   like that. Unconscious bias is natural. It's part of         8   review process, is unconscious bias a factor in the
 9   our socialization process. It is almost unavoidable.         9   decision making process?
10   The best that we can do is plan for it, meaning make sure   10      MS. WERMUTH: Same objections.
11   that we develop an understanding of our own biases and      11   BY THE WITNESS:
12   try to create a system that allows you to put biases        12      A Unconscious bias is a factor in all human
13   aside.                                                      13   interaction, always, if we don't count for it.
14              For example, in teaching a rubric makes it       14   BY MS. SCATCHELL:
15   so that a professor always evaluates a student's work the   15      Q Okay.
16   same way regardless of the student's name, gender,          16      A I have a colleague named Daniel who I had not
17   ethnicity or whatever, we're using the same criteria.       17   worked with for a long time. I did not like him, I can't
18   That's what I mean by unconscious bias.                     18   tell you why. I still can't tell you why. Working with
19      Q Okay. Could unconscious bias be found in a             19   him I realized that we worked well together, but I was
20   formal review for a faculty member going up for tenure?     20   aware of the fact that I didn't have any foundation for
21      MS. WERMUTH: Objection. Calls for speculation --         21   my dislike. I couldn't point to three specific things
22   BY MS. SCATCHELL:                                           22   that Daniel did that made me dislike him. That's an
23      Q In your opinion --                                     23   example of unconscious bias. Therefore, I made an effort
24      MS. WERMUTH: Vague and foundation. And since you're      24   that anything related to my work with him wasn't
                                                   Page 84                                                         Page 85
 1   influenced by my irrational animosity towards him.           1   influenced that decision?
 2      Q And do you know if DePaul has any of those              2      MS. WERMUTH: Objection. Arguments. Calls for
 3   protocols put in place?                                      3   speculation and foundation.
 4      MS. WERMUTH: Objection. Vague.                            4   BY THE WITNESS:
 5   BY THE WITNESS:                                              5      A I do. I can't see any other reason why she
 6      A No. So we don't have something official                 6   wasn't selected.
 7   standardized that addresses the possibility of biases in     7      MS. SCATCHELL: Okay. Is it a good time to take a
 8   the process. Some of the process including the open          8   break?
 9   discussion is supposed to avoid those kind of opinions       9      THE WITNESS: Sure.
10   because we are able to ask somebody, you know, Anna, we     10      MS. SCATCHELL: Five minutes good for everybody?
11   don't have an Anna faculty member. Anna, why do you say     11      MS. WERMUTH: Sure.
12   that Joe isn't a good teacher, right. So we are able to     12                          (Short recess.)
13   ask each other to substantiate our claims. That is part     13   BY MS. SCATCHELL:
14   of the discussion, and that is one of the ways in which     14      Q We're going to switch gears a little bit here.
15   we can reduce bias being used as criteria of evaluation     15   We'll probably come back to the text messages but we've
16   for the group. At the end of the day, each vote is          16   on that for a while, so we're going to switch gears.
17   individual and personal and you vote your conscious. So     17             Do you remember anything about Sydney
18   you vote whatever you think is best for the students and    18   being on a short-term disability?
19   for the college.                                            19      A Yes, I remember conversations about her
20      Q Okay. And this is probably going to cause an           20   requesting short-term disability.
21   objection, but I'm going to ask it anyway.                  21      Q Do you remember what the outcome of that
22             When Sydney was not selected as program           22   short-term disability application was?
23   chair and her qualifications were not discussed, do you     23      A I know that it was initially denied. I honestly
24   think that, in your opinion, unconscious bias may have      24   don't remember if it was approved. I think she received




                                                                                          22 (Pages 82 to 85)
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                                                   Page 86                                                               Page 87
 1   some accommodation.                                          1      A Yes.
 2      Q And did you write a letter for her?                     2      Q And actually the one right before that, too,
 3      A I did.                                                  3   where it says -- actually all three of those bullet
 4      Q Okay. Could you just go to Exhibit No. 2 and let        4   points. The one that says her general slowing down,
 5   me know if that is the letter that you wrote for Ms.         5   looking tired, and worn out when she came to class, her
 6   Dillard?                                                     6   having to stop by or stop and sit down and/or take a
 7      A Where can I find Exhibit No. 2?                         7   breath during casual conversations because she felt dizzy
 8      MS. WERMUTH: Yeah, it's not tabbed --                     8   or faint. And then the last one, her sneaking in naps
 9      MS. SCATCHELL: It's right behind, so it's going to        9   under her desk in because student meetings because she
10   be Page 130 or Dillard Discovery Production 2252.           10   felt too tired during the day. Could you expand on those
11                       (Exhibit No. 2 was marked               11   three bullet points?
12                        for identification.)                   12      A I don't think I can expand except to say that I
13   BY THE WITNESS:                                             13   knew she was ill. We talked every time we saw each
14      A Okay. I have the letter.                               14   other, and I had noticed those three things. So they are
15   BY MS. SCATCHELL:                                           15   accurate, and I remember that. The napping, I know -- I
16      Q Okay. And could you review it and let me know          16   remember one specific case in which I was like, oh my
17   when you're finished?                                       17   God, Sydney, were you just napping under her desk. I had
18      A Sure.                                                  18   put my face against the glass because I knew she was in
19      Q Okay. Is this the letter that you wrote for her?       19   her office, but I didn't see her, but I know she had
20      A Yes.                                                   20   brought in a pillow and she had brought in a blanket and
21      Q Okay. And in this letter where you stated that         21   she had told me that sadly that had happened more than
22   you witnessed her sneaking in naps under her desk between   22   once because she just got too tired throughout the whole
23   classes and student meetings because she was too tired      23   day. So yeah, is there anything, I don't know, specific?
24   during the day?                                             24      Q No, no, that's it. That's perfect, okay.
                                                   Page 88                                                               Page 89
 1              And then who is                                   1   we automatically get one-year extension to our tenure
 2      A               is our colleague. She was a chair at      2   clock. If you do not want to take advantage of that,
 3   that time.                                                   3   meaning if you feel that your case is solid enough and
 4      Q And did                 ever ask you not to write a     4   you want to proceed without that extra time, you can do
 5   letter for Ms. Dillard?                                      5   that. So I had requested to the dean that they do not
 6      A No, not in those words. She advised me that I           6   count that extra time so that I could go up for tenure in
 7   didn't have the expertise to write this letter.              7   that year.                  is, I want to say, associate
 8      Q And is she considered a supervisor of yours or          8   provost. But regardless of her title, she is the person
 9   colleague?                                                   9   that handles the university and promotion cases at the
10      A It's a little difficult because the chair isn't        10   university level. And this was a notice that she had
11   exactly a supervisor. The dean is your direct               11   received my request via the dean, and that if I wanted to
12   supervisor, but the chair does have some responsibilities   12   apply this year, then I had to notify her by email May
13   that can be interpreted as supervisory. I am not being      13   15th.
14   intentionally vague, it is vague.                           14      Q Okay. And then let's go to exhibit -- actually,
15      Q And then could we go to Exhibit No. 4, please.         15   going back to the question that I was asking you about
16      A Page 134. It's going to be an email --                 16   the letter that you wrote in Exhibit No. 2, did you and
17      Q Oh, yeah, you're right. Sorry. 134.                    17   Sydney ever have a conversation about                 's comment
18                       (Exhibit No. 4 was marked               18   to you about not being an expert?
19                        for identification.)                   19      A We did.
20   BY MS. SCATCHELL:                                           20      Q What did you say to her and what did she say to
21      Q And then let me know when you've reviewed it.          21   you?
22      A I remember this email, yeah.                           22      A I told her that I had talked to         because I
23      Q Okay. What is that email?                              23   don't remember how            found out that I would write the
24      A When we take leave -- pre-tenure leave, we can --      24   letter. I don't know if I told her that I was




                                                                                            23 (Pages 86 to 89)
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                                                    Page 90                                                          Page 91
 1   considering it or if Sydney told her that I said I would      1   know what it's referring to, but I don't remember it, no.
 2   write it. I don't know, but I would guess I told              2      Q Okay. What is it referring to?
 3   And          had talked Salma, and she explained to me the    3      A Accommodations provided for Sydney in teaching a
 4   reasons why she didn't feel she could write the letter,       4   graduate class. The only reason I would be informed at
 5   which was that she wasn't technically a supervisor. The       5   that time is because it was a graduate class.
 6   supervisor was Salma, and she didn't have the expertise,      6      Q And you were the grad director at that time?
 7   like medical expertise, to make observations about            7      A Yeah.
 8   Sydney's condition. I told           that I appreciated it    8      Q Okay. And then going to Exhibit No. 7 which is
 9   and that I would take it into consideration, but I didn't     9   page 142, 143 and 144 the PDF, which is marked as
10   feel like I was being asked to write a letter that           10   Dillard_DePaul 8134, 8135, and 8136.
11   required medical expertise. It was just a letter about       11                        (Exhibit No. 7 was marked
12   what I had observed.                                         12                         for identification.)
13      Q Okay. And then let's go to Exhibit No. 6, Which         13   BY MS. SCATCHELL:
14   is Dillard_DePaul 3375 or Page 139 of the PDF.               14      Q Can you review that document and let me know when
15                       (Exhibit No. 6 was marked                15   you're finished?
16                        for identification.)                    16      A Okay.
17   BY MS. SCATCHELL:                                            17      Q Do you recognize what this email thread is?
18      Q And could you review that document?                     18      A Yeah. I had referred to it earlier to exchanges
19      A 139 you said?                                           19   with Michaela Winchatz about service obligations at the
20      Q And I believe it goes onto Page 140, which would        20   program level, and this was one in which she asked me to
21   be Dillard_DePaul 3376?                                      21   recommend somebody to serve on this committee. Based had
22      A I finished that page.                                   22   on the information she gave me and based on the
23      Q Do you recognize that document?                         23   information I had, I thought that Sydney might be willing
24      A I really don't remember that exchange. I mean, I        24   and able to take this role on.
                                                    Page 92                                                          Page 93
 1      Q Okay. And do you know if Sydney ended up taking          1   to talk. Sometimes when there's the need for
 2   that role?                                                    2   clarification or the opportunity for mentoring or advice,
 3      A I don't, but the fact it was resolved makes me           3   you have a sit-down with your colleague to go over the
 4   think that she did take the role.                             4   feedback. I believe in this case, we didn't. I remember
 5      Q And then let's go to Exhibit No. 8, which will be        5   that at that time that I was getting Carolyn's help with
 6   Page 146 of the PDF or Dillard_DePaul 5785.                   6   my essay.
 7      MS. WERMUTH: I'm so sorry, Gia, Exhibit No. 8 is           7      Q And then could you go to -- let's go to Exhibit
 8   what we're looking at?                                        8   No. 10, which would be 162 through 166 of the PDF or
 9      MS. SCATCHELL: Yeah.                                       9   Dillard_DePaul 8157 to Dillard_DePaul 8161.
10      MS. WERMUTH: Okay. Thank you.                             10                        (Exhibit No. 10 was marked
11                        (Exhibit No. 8 was marked               11                         for identification.)
12                         for identification.)                   12   BY THE WITNESS:
13   BY THE WITNESS:                                              13      A That's at statement from DPUBLIC.
14      A I need to go further down a little bit, sorry,          14   BY MS. SCATCHELL: Q Who is DPUBLIC?
15   because the exchanges are backwards. Yeah, I recognize       15      A They are called ERGs, Employee Resource Groups,
16   this exchange.                                               16   but DPUBLIC is bigger than that. It's a voluntary group
17   BY MS. SCATCHELL:                                            17   of faculty, staff, and students who identify as Black or
18      Q Okay. What is that exchange?                            18   African-American.
19      A                        was an evaluator for one of my   19      Q And what's the nature of the statement or the
20   classes and she was giving me my report to read, usually     20   message?
21   to look through it, and if there's any factual errors,       21      MS. WERMUTH: Objection. Foundation.
22   you can correct that. And then she told me that she was      22   BY THE WITNESS:
23   going to send it in so that it was put in my personnel       23      A I can't speak to anything that isn't in the
24   case. We can -- and there's also kind of an invitation       24   context of the letter because I had no role in writing or




                                                                                           24 (Pages 90 to 93)
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                                                  Page 94                                                          Page 95
 1   --                                                          1   testified to, correct?
 2   BY MS. SCATCHELL:                                           2      A That's the committee that I serve on, yes.
 3      Q Did you receive a copy of it?                          3      Q And then do you see on Page 2 of this document
 4      A I believe I did, yeah.                                 4   where it says Dillard_DePaul 8158?
 5      Q Do you know if it was emailed to you or how you        5      A Okay.
 6   received a copy of it?                                      6      Q Where it says due to higher service commitments,
 7      A If I received it, I am pretty sure that I              7   many faculty of African descent languish in the associate
 8   received it from Sydney herself. Sometimes we're talking    8   professor category and face greater barriers to promotion
 9   about committee work that we're doing. She has mentioned    9   to associate and full professor.
10   things that DPUBLIC does, and I'm usually interested in    10      A Yes.
11   learning about it and learning from them the work that     11      Q Do you agree with that statement?
12   they're doing, so she has shared this in the past.         12      A Yes. There are statistics at the national level
13             I'm sorry, that's not correct in this            13   and at the university level.
14   case. This one was sent to everybody in the university,    14      Q Okay. And you agree with that as it applies to
15   I remember now. Because of the second paragraph, the       15   DePaul?
16   message of solidarity, yes. So this one specifically was   16      A Yes.
17   sent to everybody so I would have received it directly     17      Q Okay. And the College of Communication in
18   and not from Sydney.                                       18   particular?
19      Q And where it says in the fourth paragraph --          19      A Our sample is too small, so we don't know.
20      A Yes.                                                  20      Q Okay. And do you see at the bottom of Page 2
21      Q Do you see where it says, Faculty Council             21   where it says, limited opportunities for advancement and
22   Committee on equity, inclusion, and diversity CEID?        22   promotion?
23      A CEID, yes.                                            23      A I do.
24      Q Okay. That's the program that you had previously      24      Q Could you review that and let me know when you're
                                                  Page 96                                                          Page 97
 1   finished?                                                   1   dean, and through the dean, the chairs to report on that.
 2      A I finished.                                            2   And also we have survey called the Program Portfolio
 3      Q Okay. And do you agree with that statement for         3   Review. One of the things that it evaluates is our
 4   the limited opportunity for advancement and promotion as    4   commitment to the mission and one of the things that we
 5   it applies to DePaul's tenure track?                        5   have to explain is how we're working on diversity,
 6      MS. WERMUTH: Objection. Foundation.                      6   equity, and inclusion at the program level. As far as I
 7   BY THE WITNESS:                                             7   know, those are the only things that have to do with
 8      A I think I have difficulty agreeing to the              8   that. Another thing that would be an indirect evaluation
 9   statement because -- have difficulty answering that         9   is the Campus Climate Survey.
10   question because I can't disagree with people's lived      10      Q Okay. And what is the Campus Climate Survey?
11   experience which is what's being reported here. So I       11      A It's a survey that talks about people's lived
12   think that would be difficult for me to judge.             12   experience in the college as students, as staff, as
13   BY MS. SCATCHELL:                                          13   faculty -- pardon me, in the university. And it asks to
14      Q Okay. And then the College of Communication only      14   report on leaderships, commitment and work in diversity
15   has one African-American professor, correct?               15   and inclusion and also about sense of belonging and
16      A Yes. We have an African professor in addition to      16   things like that. So you could extrapolate the answers
17   one African-American professor, but yes, only one          17   by college and by faculty of color to make some analysis
18   African-American.                                          18   or some judgments if you wanted to.
19      Q Okay. Do you know if there were any evaluations       19      Q And how would you describe the faculty climate in
20   for the faculty or administrators on diversity             20   the College of Communications for domestic minorities?
21   competency?                                                21      MS. WERMUTH: Objection. Vague. Foundation. You
22      A I know there are no uniform formal evaluations.       22   can proceed.
23   I know that -- I want to stay starting three years ago,    23   BY THE WITNESS:
24   the university started asking at the college level, the    24      A I think there has been a shift, so I would have




                                                                                         25 (Pages 94 to 97)
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                                                    Page 98                                                           Page 99
 1   to talk about, you know, before and now if that's okay.      1    their classes than they used to. And based on this, I
 2   When we did the initial evaluation, I think there was        2    would conclude that there's a better climate than there
 3   more concern about being heard and sense of belonging and    3    used to be maybe three years ago.
 4   a recognition or lack of a recollection of the fact that     4       Q Okay. And you mentioned somewhat of a shift.
 5   we are taxed with invisible service, especially in the       5    What do you believe, in your opinion, was the reason for
 6   form of mentoring students who come to us because they       6    that shift?
 7   identify with our ethnicity, with our background. And        7       MS. WERMUTH: Objection. Foundation. Go ahead.
 8   that is something that, despite that fact that I think       8    BY THE WITNESS:
 9   most of us do it with pleasure, you can't deny that it's     9       A Honestly, I would say a two things. The first is
10   taxiing in terms of time and commitment. The uncertainty    10    the fact that       and Sydney's case became public and it
11   about tenure & promotion was something that faculty         11    led us to discuss things that maybe we hadn't discussed
12   members spoke of. But I also have to clarify that I         12    in the past, and I was bringing this to the attention of
13   spoke to minoritized faculty, which includes also people    13    people. And sadly, you know, a lot of the response
14   who might be gender fluid or might be gay or lesbian, so    14    was -- especially from the tenured faculty -- was like
15   not only faculty of color. And I also did not               15    oh, no, don't worry. You know we have your best interest
16   differentiate between native faculty of color and           16    at heart, but that's not what I'm saying. What I'm
17   international like me.                                      17    saying is we need clear criteria, right. So I think in
18             Now, I think there's more opportunity for         18    part because of that scrutiny, we have had these
19   discussion. There's more open discussion. There's more      19    conversations. But whether or not we had had the
20   investment. There were no programs before systematic        20    conversations, the second part is the fact that our
21   about, you know, educating the college in terms of          21    interim -- our acting and interim dean has dedicated time
22   diversity and inclusion, there has in the last three        22    and resources and space for diversity and inclusion
23   years, especially the last two, and faculty are including   23    training and programs, and our college has made it
24   topics of diversity and inclusion and equity more in        24    better. Our students are also speaking up, which is
                                                  Page 100                                                           Page 101
 1   great. So yeah, those are the reasons why I think we're       1   one of the things discussed in        's case. In Sydney's
 2   doing a little better.                                        2   case, it did not come up. There was no question about
 3      Q Okay. And what did you do specifically to bring          3   that.
 4   the attention of Sydney and        's cases attention to or   4              And I actually took the strategy of being
 5   draw attention to them?                                       5   wider in my approach because I feared that sometimes you
 6      A I mentioned -- I spoke to the dean as we                 6   can look at cases and say, well, Maria is an exception,
 7   discussed. I spoke to Lexa when she was associate dean.       7   right. So focusing on a case might not be as productive
 8   I spoke in the tenure meeting form         's case about the  8   as focusing on what do we want to do for our faculty,
 9   fact that I believe that the student evaluations are          9   what do we want to do for our students, what do we want
10   partly based (inaudible)                                     10   to do for our staff. So after       and Sydney's case had
11      THE COURT REPORTER: Hold on, Maria. You were cut 11            gone through the tenure process, I took a broader
12   off.                                                         12   approach to diversity and inclusion in the college.
13      THE WITNESS: That's okay. I actually stopped              13      Q And going to Exhibit No. 11, which will be 168 of
14   talking.                                                     14   the PDF to 177. So it with be Dillard_DePaul 9413 to
15                       (Record read.)                           15   9422.
16   BY THE WITNESS:                                              16                        (Exhibit No. 11 was marked
17      A Oh because this is the part that I don't know if        17                         for identification.)
18   I remember correctly. We have a system where you agree       18   BY MS. SCATCHELL:
19   with people, so I know that          Kessler brought it up   19      Q Can you take a moment and review that document?
20   that there's something about her being a woman of color      20      A About the Liberal Studies Council?
21   teaching race and ethnicity that makes it difficult for      21      Q Yes.
22   students and that can lead to negative evaluations. And      22      MS. WERMUTH: I will just object on form and
23   now I'm not remembering if I also added to that comment      23   foundation and relevance.
24   or if I just agreed with that. But I know that that was      24      MS. SCATCHELL: You guys produced it.




                                                                                         26 (Pages 98 to 101)
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                                                 Page 102                                                          Page 103
 1      MS. WERMUTH: I see it must have got pulled into our       1   BY MS. SCATCHELL:
 2   ESI, but it clearly doesn't relate to the College of         2      Q Okay. Perfect. And then could you please go to
 3   Communication.                                               3   Exhibit No. 12, which is Dillard_DePaul 304 to 313.
 4   BY THE WITNESS:                                              4                         (Exhibit No. 12 was marked
 5      A So I'm scanning the document and I know what it         5                          for identification.)
 6   refers to. I have not read it in detail. I can take the      6   BY MS. SCATCHELL:
 7   time to do so, but honestly --                               7      Q What report is this?
 8   BY MS. SCATCHELL:                                            8      A Uh-huh.
 9      Q No, no. I just wanted to know what the document         9      Q Oh, I am just asking what report this is
10   is?                                                         10   referring to.
11      A It's about --                                          11      A Yes, I'm sorry. I'm double checking which report
12      MS. WERMUTH: Hang on. Just let me object on              12   this is.
13   foundation because she's neither an author, nor recipient   13      Q Okay.
14   as far as I can discern on this document.                   14      A Because I saw it and I thought it was one and now
15      MS. SCATCHELL: That's why I am asking her, so why        15   I think that this is another one.
16   don't we let her answer.                                    16      Q Take a moment?
17   BY THE WITNESS:                                             17      A Yeah, it isn't the one that I thought that it
18      Q So Faculty Council documents to clarify, Anna, we      18   was, but this is the PPR, I believe. Okay.
19   don't receive them directly, but we all have access to      19      Q Okay. Do you recognize this document?
20   them, and that's all that I can say. It's a document        20      A Yes, but I don't think I have seen the results
21   that was submitted on behalf -- by Faculty Council to the   21   before.
22   provost, and revising one of their standing committees      22      Q Oh, okay. And so this report, is this report --
23   and how it works, but I'm not involved with that standing   23   is says default report?
24   committee.                                                  24      A So when I was nominated or when I accepted a
                                                 Page 104                                                          Page 105
 1   nomination to become chair, the faculty were asked to        1      Q And do you know if Sydney's situation of losing
 2   provide anonymous feedback and evaluate me on these          2   the program chair position led to the creation of this
 3   criterias -- this criteria, sorry. And I knew that they      3   report?
 4   had evaluated me and this would go to the dean. I don't      4      MS. WERMUTH: Objection. Foundation. Calls for
 5   know if it was shared with the PRAD faculty. I don't         5   speculation. Go ahead.
 6   think it was shared with me. But yeah, it was my peers       6   BY MS. SCATCHELL:
 7   evaluating me as a potential program chair.                  7      Q If you know.
 8      Q And do you know who created this or the                 8      A It must have influenced it because it definitely
 9   parameters of this report?                                   9   influenced my need as a candidate to have a process
10      A Yes. And I know that -- so it was the acting           10   spelled out. I was not comfortable with votes that I had
11   dean at that time, Lexa Murphy. She's currently still       11   no idea what they were based on. So I thought it was
12   our dean, but she's interim now. And I know that several    12   important that we create an evaluation process. In fact,
13   of us provided feedback including myself in terms of for    13   I think I might have had a bigger hand than I remember in
14   me it was very important that if I was going to be          14   creating this process, because now I'm recalling a
15   considered for chair, there were clear criteria to          15   meeting with the PRAD faculty in which we looked at the
16   evaluate me or any candidate with.                          16   different criteria and made sure they were clearly
17      Q Do you know if a default report like this was          17   defined. So I might not have defined the criteria
18   generated when Sydney was going up for program chair?       18   myself, but I wanted the PRAD faculty to discuss it and
19      A I know that it wasn't.                                 19   to be like okay, we understand. All of us agree on what
20      Q Okay. Do you know why?                                 20   learning agility is, for example, which is on page 186
21      A It didn't exist.                                       21   where I am now.
22      Q So this came in existence after Sydney's losing        22      Q And do you know when that meeting was
23   the program chair?                                          23   approximately?
24      A Yes.                                                   24      A No. It would have been before my election and it




                                                                                      27 (Pages 102 to 105)
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                                                 Page 106                                                         Page 107
 1   would have been one of the standing PRAD faculty meetings 1         MS. SCATCHELL: She said notes.
 2   that happened twice a quarter.                             2        MS. WERMUTH: I understand. I'd like to finish if I
 3      Q And do you know if there was any notes, minute        3    could, Gia, without you interrupting, we did ask Maria
 4   notes that happen from that meeting?                       4    for all of her notes. So if there's anything else,
 5      A I don't know, but we don't take minutes in the        5    Maria, that you have that would be relevant, please let
 6   PRAD faculty meeting. As chair, I kind of -- I make        6    me know.
 7   notes about things that need to be followed up on. I've    7        THE WITNESS: I will say because these notes are A
 8   tried to kind of get us into the habits of taking          8    memory aid, I don't always keep all of them, but I have
 9   minutes, but it's been unreliable. We don't take           9    at least five or six of my previous notebooks that I
10   minutes.                                                  10    started not throwing away precisely because sometimes --
11      Q Okay. And do you remember if you took any notes      11    so I will go through all of them, and if I have the notes
12   at that meeting?                                          12    from this meeting, I will gladly share them, but I can't
13      A I have a PhD. I always take notes. I need to         13    promise that I do because sometimes, you know, I didn't
14   take notes to listen whether I am teaching or I'm a       14    bring my notebook and I wrote somewhere else but I lost
15   meeting, so I always take notes.                          15    it.
16      Q I am the same way.                                   16    BY MS. SCATCHELL:
17              Do you happen to have those handy or could     17        Q Okay. Thank you. I appreciate that. Then let's
18   you send them to Anna and myself?                         18    go to -- actually, let me back up.
19      MS. WERMUTH: As to what meeting, I am sorry?           19               So at the meeting to discuss the
20      MS. SCATCHELL: The meeting she's just been talking     20    parameters about the program chair vote, do you know if
21   about for the last three minutes, the meeting about this  21    Sydney was at that meeting?
22   PRAD share parameters.                                    22        A I don't recall.
23      MS. WERMUTH: I definitely produced emails on that      23        Q Okay. And is there attendance or anything taken
24   topic. We did --                                          24    at those meetings?
                                                 Page 108                                                         Page 109
 1      A No. But there is the expectation that unless           1      Q Okay. Both times being 2019 and what was the
 2   you're sick or away from work, you're at that meeting.      2   second time?
 3   So the likelihood would be that she would have been         3      A I'm not 100 percent sure about dates. But the
 4   there, too.                                                 4   first time when Sydney went up for the position, I had
 5      Q Okay. And then let's go to Page 190 of the PDF,        5   been nominated and rejected the nomination. The second
 6   which is Exhibit No. 13 and that is Dillard_DePaul 2244.    6   time, I had been nominated and decided to accept the
 7                      (Exhibit No. 13 was marked               7   nomination. So I believe that the second time might have
 8                       for identification.)                    8   been 2020 because I started June 2020, so yes. Since
 9   BY THE WITNESS:                                             9   this was sent August 2019. Honestly, I don't know. I
10      A Yes.                                                  10   know there were two emails like this.
11   BY MS. SCATCHELL:                                          11      MS. WERMUTH: I'm sorry, are we on Exhibit No. 13?
12      Q Okay. Could you review that document.                 12      MS. SCATCHELL: Yes.
13      A Okay.                                                 13      MS. WERMUTH: It looks like it was sent was sent in
14      Q Do you recognize that document?                       14   February.
15      A I do. It's an email sent by Lexa asking for           15      MS. SCATCHELL: At the top of it it says August 28,
16   nominations -- or self-nominations for program chair.      16   2019 --
17      Q Do you remember if you were nominated at this         17      THE WITNESS: Oh, sorry. I had the wrong date.
18   time?                                                      18      MS. WERMUTH: I'm sorry. That must have been
19      MS. WERMUTH: Asked and answered.                        19   printed. I don't know what that is.
20   BY THE WITNESS:                                            20      THE WITNESS: So that would have been the first one,
21      A I was.                                                21   probably. Yes, thank you. I was looking at the top
22   BY MS. SCATCHELL:                                          22   date, not at the email date.
23      Q In 2019?                                              23   BY MS. SCATCHELL:
24      A I was nominated both times.                           24      Q Okay. Does that change your testimony at all?




                                                                                     28 (Pages 106 to 109)
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                                                Page 110                                                         Page 111
 1      A It doesn't.                                          1    the office that would put everything together. And then
 2      Q Okay. And then let's go to Exhibit No. 14, which     2    now, I still do because their director or whatever the
 3   is 192 of the PDF and 2974 to 2976 and that's             3    title is, I'm sorry, I don't recall, is coordinating the
 4   Dillard_DePaul.                                           4    President's Advisory Committee -- Jesus Christ. I am so
 5                        (Exhibit No. 14 was marked           5    sorry. President Diversity Advisory Committee with the
 6                         for identification.)                6    associate provost. I got completely tongue-tide.
 7   BY THE WITNESS:                                           7        Q There's a lot acronyms and things get tongue-tied
 8      A Yes.                                                 8    here, so I completely understand.
 9   BY MS. SCATCHELL:                                         9                So now with your position as diversity
10      Q Okay. Can you take a moment and review this         10    advocate, would you receive any kind of complaints that
11   document and tell me if you recognize it.                11    would be sent to OIDE if it dealt with College of
12      A I have never seen this document before, but I can   12    Communication?
13   continue to read it.                                     13        A No, I wouldn't.
14      Q No, that's okay. I guess I just wanted to ask       14        Q Okay. What about if it dealt with the CEID
15   you, you had previously testified about OIDE. Who is     15    program?
16   that or what does that stand for?                        16        A In theory, yes, but we haven't received any
17      A Office for Institutional Diversity and Equity, I    17    complaints through CEID, any direct complaints. Because
18   believe.                                                 18    I believe that these cases are seen as personnel issues,
19      Q Okay. And in your former position as the            19    and as diversity advocate, I had no role in personnel
20   diversity advocate, would you coordinate with this       20    decisions and employment issues. CEID, I believe, it
21   office?                                                  21    would have to be brought up by the faculty member
22      A Yes. They were the lead for the diversity -- for    22    themselves. Like they would have to bring it to us for
23   the President's Diversity -- for the President's         23    us to kind of like either provide feedback or advocate
24   Diversity Council. They were kind of like the head and   24    their case or seek new policies or procedures or
                                                Page 112                                                         Page 113
 1   something like that.                                       1   and leading conversations around diversity, equity, and
 2      Q Okay. And do you know if there's a process for        2   inclusion.
 3   how a faculty member would know to come to CEID?           3   BY MS. SCATCHELL:
 4      A We don't have one. Sadly, that is one of the          4      Q And then do you remember ever having a meeting
 5   items in our agenda. We're a new committee, and there      5   with Sydney as the diversity advocate discussing some of
 6   had been something ongoing led by the committee members    6   these issues facing while trying to go up for tenure and
 7   that we just kept pursuing, but that was one of the        7   in teaching?
 8   things that I mentioned in the agenda last time we need    8      A Yes. I have --
 9   to create a process for faculty to be able to consult      9      MS. WERMUTH: Objection. Vague. Go ahead.
10   with us easily. Because right now, I guess it would be    10   BY THE WITNESS:
11   somebody talking to somebody who is a member, you know, 11        A I have several meetings. I can't recall specific
12   very loosely defined.                                     12   dates or times. I also have to specify that one of the
13      Q Okay. who did you have that discussion with?         13   challenges is that often Sydney and I are chatting as
14      A The committee in our last meeting to make sure to    14   friends, you know, gossipy and having fun, and we tried
15   put it on the agenda.                                     15   to make a clear distinction of what conversations are
16      Q Okay. And as you started as the diversity            16   kind of like on the record and which are not. But
17   advocate, what is the word advocate mean in terms of your 17   there's a possibility, you know, that I might misremember
18   role, your position?                                      18   on the record versus off, yeah.
19      MS. WERMUTH: Objection. Asked and answered several 19          Q And then do you remember at any of the meetings
20   times now. Go ahead.                                      20   did you guys discuss Sydney feeling socially isolated?
21   BY THE WITNESS:                                           21      A Yes, we did.
22      A Yeah, it's more about kind of like peer mentor or    22      Q Could you expand on what you believe she meant by
23   accompaniment. I think the original idea was that it      23   that?
24   would be somebody kind of like tasked with being aware of 24      MS. WERMUTH: Objection. Foundation.




                                                                                    29 (Pages 110 to 113)
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                                                Page 114                                                          Page 115
 1   BY THE WITNESS:                                             1      MS. WERMUTH: Off the top of my head, I don't know.
 2      A I remember specifically after the share vote.          2      THE WITNESS: So she wouldn't have because we
 3   I'm talking about not feeling comfortable, you know,        3   finished it. We are in the process of analyzing it at
 4   welcome, included with the rest of her colleagues. And      4   the university level, and I just happen to be on that
 5   she has mentioned several times that I'm one of the few     5   committee. But if you need a copy of the draft that I
 6   people she talks to. Because sometimes I will say           6   submitted, which is not the official one received by the
 7   something like this, Sydney, did you hear. And then         7   university until they kind of approve it because
 8   she'll say where am I going to hear it from. I only talk    8   sometimes they edit, then I'm sure that can, you know, be
 9   to you about this in the college. So yes, it's come up      9   shared.
10   several ways, several times.                               10      MS. WERMUTH: So if this is ongoing work, Gia, it
11   BY MS. SCATCHELL:                                          11   wouldn't have been called for by your document request,
12      Q Let's see here. Could you please go to Exhibit        12   nor would it have been able to have been captured by our
13   No. 15, which is 196 to 206 in the PDF or Dillard_DePaul   13   ESI review when the ESI was collected several months ago.
14   3178 to Dillard_DePaul 3188?                               14   so I just share that for what that's worth.
15                      (Exhibit No. 15 was marked              15      MS. SCATCHELL: Okay. When was this document
16                       for identification.)                   16   completed?
17   BY THE WITNESS:                                            17      MS. WERMUTH: What document, Exhibit No. 15 or --
18      A This is the program portfolio review document. I      18      MS. SCATCHELL: Hold on.
19   recently completed the new one, so I had opportunity to    19      MS. WERMUTH: Hold on --
20   revise this one. Also, I should be able to answer any      20      MS. SCATCHELL: Now I'm getting confused --
21   questions related to it, yes.                              21      MS. WERMUTH: I said hold on because I was
22      MS. SCATCHELL: Okay. Really quickly, Anna, did you      22   mid-sentence and now I got cut off again. Just to
23   produce? I don't remember seeing one that was prepared     23   finish, I'd like to say is your question relating to
24   by Ms. De Moya?                                            24   Exhibit No. 15, which we did produce, or to the ongoing
                                                Page 116                                                          Page 117
 1   communications and work being done in this moment, which    1   looking through my files.
 2   we didn't produce because it wasn't called for in a         2      Q And then do you know if this draft that you
 3   specific request and wasn't pulled by the ESI when we       3   drafted -- this most recent one in January of 2022, do
 4   collected email boxes several months ago.                   4   you know if that was emailed or how that was circulated?
 5      MS. SCATCHELL: Second one.                               5      A It hasn't been circulated because it hasn't been
 6      MS. WERMUTH: Can I look on my calendar at my             6   approved. It's still in analysis. So the only people
 7   computer because it was very recently, and I will say       7   that have it are                 and the IRMA office. And
 8   that I am 100 percent sure that it was, and I cannot        8   I apologize, I don't know what IRMA means except that the
 9   recollect it was the time after the request for             9   R is for research, Institutional Research something.
10   documents. Okay. I want to say -- because I always put     10   Something. So and it hasn't -- the only person who would
11   everything in my PPR. God, I want to say January, and I    11   have seen it apart from me would be the dean.
12   can give you look a date if you give me a minute, but it   12      Q Okay. And how did you give a copy of the 2022
13   would be completed in January. And then since then, what   13   report to the dean?
14   we've been doing is looking at cleaning up the data,       14      A Actually, I didn't. That's the thing. I
15   looking at the reports, evaluating the programs because    15   submitted the survey via Qualtrics. And I am saying that
16   this is a university level committee and a university      16   if the dean wants to see our reports, she can. And there
17   level report?                                              17   is a possibility that that the committee sent it to her
18      THE WITNESS: Here we go.                                18   for confirmation, but I submit it directly to the
19   BY MS. SCATCHELL:                                          19   committee through a Qualtrics survey.
20      Q Are you saying January 2022?                          20      Q And do you have a copy of this that you could
21      A Yes. The latest version of this one, the updated      21   provide to us?
22   version of this one. This one was completed in 2019 I      22      A I do.
23   want to say at the end of the academic year around June    23      Q Then I'm going to direct your attention to page
24   if I remember correctly, but I can find it exactly         24   4.




                                                                                     30 (Pages 114 to 117)
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                                                     Page 118                                                          Page 119
 1      MS. WERMUTH: Of Exhibit No. 15?                               1       Q And on Page 1, 3178 where it says commitment to
 2      MS. SCATCHELL: Yes.                                           2   social justice (implicitly).
 3      THE WITNESS: Is that 99 -- 199 of the PDF?                    3       A Uh-huh.
 4   BY MS. SCATCHELL:                                                4       Q What does that mean?
 5      Q Yes.                                                        5       MS. WERMUTH: Objection. Foundation. Go ahead.
 6      A Wonderful, I'm there.                                       6   BY THE WITNESS:
 7      Q Okay. What is the summer PRAD -- Diversity Focus            7       A The program Portfolio Review asks all programs to
 8   PRAD Summer Bootcamp?                                            8   respond on different questions related to the mission,
 9      A I believe that that is referring to the PRAD                9   and one of those questions is how are we incorporating in
10   program that was created by Sydney and                  . And   10   our learning objectives and our teaching things like
11   I apologize, I don't know exactly how the work was              11   commitment to social justice or diversity and inclusion.
12   distributed. I know that the grant that funded it, they         12   If it is one of our explicit learning objectives, then we
13   were both heading it, and I know that Sydney worked more        13   would answer that we incorporated explicitly. If it is
14   on the PRAD program, but I know that they were both             14   part of the student learning other things, you know, but
15   related to that.                                                15   it's not established as a direct target, then we would
16              This was a program for students in high              16   answer that we are covering it implicitly and justify
17   school to learn about advertising because we are -- we're       17   that, or we could say we're not covering it at all.
18   trying to increase the number of underrepresented               18   BY MS. SCATCHELL:
19   students who are mainly students of color who consider a        19       Q Okay. And let's go to Exhibit No. 17, which is
20   career in public relations and advertising.                     20   213 of the PDF Dillard_DePaul 3315.
21      MS. WERMUTH: Gia, I'm sorry, where on this page --           21                         (Exhibit No. 17 was marked
22   oh, I see it, I'm sorry. Diversity-focused PRAD Summer          22                          for identification.)
23   Bootcamp. I'm sorry, it took me a moment. Thank you.            23   THE WITNESS: Okay.
24   BY MS. SCATCHELL:                                               24   BY MS. SCATCHELL:
                                                     Page 120                                                          Page 121
 1      Q And let me know when you've reviewed that                   1   the city and national level.
 2   document.                                                        2       Q And then let's go to Exhibit No. 20. It's 219 of
 3      A I read it.                                                  3   the PDF and it's Dillard_DePaul 3324 to 3328.
 4      Q Okay. Do you know what that document is?                    4       MS. WERMUTH: Let me just state for the record
 5      A Sydney sharing an industry report. We sometimes             5   quickly that Exhibit No. 19 appears to be one page in a
 6   send each other emails of things that we can incorporate         6   six page email trail, so it appears incomplete. And
 7   into our classes and this is what Sydney is doing here.          7   Exhibit No. 20 appears to be -- appears, I don't know, to
 8      Q Okay. And did you happen to take a look at this             8   be Pages 2 through 6 of an email trail. I don't know if
 9   report?                                                          9   it's the same one. So I think Exhibit No. 19 and No. 20
10      A I don't think I did.                                       10   are both incomplete.
11      Q And then let's go to Exhibit No. 19, which is              11       MS. SCATCHELL: Then what we could do is we could
12   Page 217.                                                       12   just call Exhibit No. 19 and we'll say that it goes from
13                      (Exhibit No. 19 was marked                   13   Dillard_DePaul 3323 to 3328 and then strike Exhibit No.
14                       for identification.)                        14   20.
15   BY MS. SCATCHELL:                                               15       MS. WERMUTH: I mean, I think it's important first to
16      Q Could you take a moment and review that document?          16   understand from the witness, assuming she was on this
17      A I remember this.                                           17   entire trail for the witness to indicate whether or not
18      Q Okay. What is this document?                               18   that these go together. I'm not going to presume that.
19      A There was an email exchange regarding around the           19       THE WITNESS: I believe they go together.
20   George Floyd protest and, you know, universities and            20   BY MS. SCATCHELL:
21   people coming out with statements. And Robin Hoecker is         21       Q Okay. And then if you just wouldn't mind to take
22   one of our untenured faculty members and she is                 22   a moment to look at the other pages.
23   encouraging us to consider issues at DePaul and in the          23       A I remember this exchange. If you want me to look
24   history of DePaul. In addition to considering issues at         24   at the specific portion of it, I can, but I remember this




                                                                                          31 (Pages 118 to 121)
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                                                   Page 122                                                            Page 123
 1   exchange.                                                      1      Q Do you know why Lexa Murphy would have forwarded
 2      Q And do you see on Page 5 of 6 or Dillard_DePaul           2   that email?
 3   3327 an email from Sydney to you among other colleagues?       3      MS. WERMUTH: Objection. Foundation.
 4      A Yeah, I see it. And I believe, if I remember              4   BY THE WITNESS:
 5   correctly, and based on the names there that is all the        5      A I don't know.
 6   full-time faculty and staff in the college who is the          6   BY MS. SCATCHELL:
 7   recipient of this. But yes, I remember this email.             7      Q And if we could go back to Exhibit No. 1, the
 8      Q And then let's go to Exhibit No. 21, which is             8   test messages.
 9   224.                                                           9      A Sure.
10                        (Exhibit No. 21 was marked               10      Q Okay. Thank you.
11                         for identification.)                    11             Let's see, could you please go to 2900
12   BY THE WITNESS:                                               12   which is, I will tell you exactly what page it is. Give
13      A Okay.                                                    13   me one second. It should be Page 85 or Dillard Discovery
14      Q Do you recognize that email exchange?                    14   Production 2900.
15      A Yes. That was a response I received from                 15      A That helps a lot.
16          . I believe he was the head of the personnel           16      Q Okay. Could you just review that and let me know
17   committee at the time. I had missed the deadline to           17   when you finish?
18   submit papers for my review, my tenure review, I believe.     18      A Sure. Yeah.
19   God, I'm not 100 percent sure of tenure review, for my        19      Q Okay. What do you recall from this text message
20   review. And I was granted three more days to provide          20   exchange?
21   that information.                                             21      A Sure.                   was a faculty member in
22      Q Do you see at the top where it says from, Lexa           22   advertising. He took the lead in proposing an innovation
23   Murphy and to, Salma Ghanem?                                  23   grant and shared it with all the faculty to see if we
24      A Yes.                                                     24   wanted weigh in.         -- not       Eva               was
                                                   Page 124                                                            Page 125
 1   one of our term faculty members and she wanted to weigh        1   questions about the program?
 2   in, but sadly Eva was difficult, is the best way that I        2      A Can you repeat the first part of the question.
 3   can put it, and so, you know, she tended to be rude in         3   Was it why I said it or I'm sorry --
 4   her formal speech. So this exchange is about           and     4      Q Yeah, what was the context of that?
 5   Eva talking about the innovation grant. The reason why         5      A There was going to be a search for an advertising
 6   Sydney would be involved is because Sydney ended up            6   position, a tenure-track advertising professor, and they
 7   taking a very big role in helping        finalize the grant    7   had -- they were putting together a search committee.
 8   and get it funded.                                             8   The weigh in which that is put together is a little
 9      Q And then let's scroll down to page 2902, which            9   abstract, I guess. Meaning, we are invited to express if
10   should be 87.                                                 10   we're interested in being on a search committee and the
11      A Yes.                                                     11   dean then sends us anyone notifying us who was on the
12      Q Okay. Could you review that and let me know when         12   search committee. Sometimes we don't get asked. It
13   you're finished?                                              13   might be oh, you know, we're having a search and this is
14      A Yes, I remember this (indicating).                       14   a search committee, so it can change from case to case.
15      Q And you made a funny noise, is there any reason          15   In this case, Sydney was asked to co-chair a committee
16   why?                                                          16   with               , Robin Hoecker, and I don't remember the
17      A Because I laugh at inappropriate times is my best        17   other person, but I know -- oh,            . So Nur,      ,
18   answer. I'm sorry, I have a very bad sense of humor and       18   and Robin had just joined the university and I thought it
19   difficulty controlling it, so my apologies.                   19   was weird that they were -- they had made up a committee
20      Q No problem. Could you please let me know what            20   of people that didn't have a lot of experience with the
21   you meant by at 7:50 a.m. you said on July 9, 2019.           21   program except for Sydney.
22   Gotta tell you, no idea how they put your committee           22   was -- because they were going to do two searches at the
23   together. Everyone but you is a first year. Great             23   same time or that's what, you know, we were told. But
24   people, nice and smart, but shit, can they even answer        24   they had decided instead of creating two committees, to




                                                                                         32 (Pages 122 to 125)
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                                                       Page 126                                                            Page 127
 1   have one committee co-chaired by two people, by              and    1   tenure track?
 2   Sydney.                                                             2      A It means that you are hired with the expectation
 3      Q Okay. Got it. And had the selection process for                3   that you will apply to be tenured in the university. It
 4   the committee changed in your experience or was it like             4   means that you teach a set number of courses, but also
 5   this all of the time?                                               5   have obligations in terms of research and service to the
 6      A It has never been consistent, so it could change               6   university. Tenure track is every faculty member that is
 7   at any time. It's volunteer, it's not seen as                       7   tenured or untenured. So, for example, despite the fact
 8   competitive, so basically you either get asked --                   8   that I'm tenured, I'm still considered a tenure-track
 9   everybody gets asked if they want to be part or you get a           9   faculty member. And we do that to differentiate for term
10   direct ask. You know, the dean could email me and say,             10   faculty members whose main responsibility it is to teach
11   Maria, do you want to be on this committee, for example.           11   and support the program with some service.
12   So there's no consistent way in which the search                   12      Q Okay. Do you know if             was an instructor or
13   committees are put together.                                       13   tenure track when he began the year before he was
14      Q Okay. And was                      , was he a tenure-track    14   selected as the co-chair to this committee?
15   faculty member?                                                    15      A There was a little confusion or debate there
16      A Yes.                                                          16   because he understood that he was starting as tenure
17      Q Okay. And is                     -- I think you               17   track right away. But because his graduation date fell
18   previously testified that he had left the university,              18   after the cut -- what is it called. Kind of like a
19   correct?                                                           19   deadline, he had to be on instructor role for the first
20      A Yes. I did say that he had moved, yes.                        20   year before he was able to get on the tenure track, which
21      Q Did he leave as a tenured professor?                          21   basically means that his clock for tenure has started.
22      A He left before tenure.                                        22   Because the clock works two ways, you have six years to
23      Q Okay. Let me just back up really quick.                       23   submit, but also you can't submit before you're five so
24              If somebody is tenure track, what defines               24   you have to wait to apply for tenure until the fifth
                                                       Page 128                                                            Page 129
 1   year.                                                               1   were first nominated for the program chair position and
 2      Q Okay. And then could you go down to Page 2910                  2   declined it and then ultimately were nominated again and
 3   which, would be Page 95. And let me know when you finish            3   then you accepted the nomination. What changed between
 4   reviewing that.                                                     4   those two time periods?
 5      A Yeah, I'm done.                                                5      A Well, the fact that we hadn't elected a chair
 6      Q Okay. Do you see the exchange that Sydney says                 6   last time and that the position was still open, I felt
 7   at 6:39 p.m., "Oh, yea, and I talked to          today"?            7   honestly responsible and a little guilty with regards to
 8      A Yes.                                                           8          because I felt that if I had kind of -- they were
 9      Q And then do you see the part where you responded,              9   going to elect me, that was the impression that I got.
10   "Yeah, I think they have a plan for you and me."?                  10   My thinking at the time was, well, I don't want this job
11      A Uh-huh.                                                       11   and Sydney does, so why should I even go up. And I also
12      Q "Which would be fine if they talked to us instead             12   thought if I am to stay at DePaul, it's going to make my
13   of trying to move us like pawns." Could you explain what           13   progression towards full professor eventually better to
14   you mean by that statement?                                        14   have this in my record. So honestly, I felt that even
15      A Yes. I was not interest in the chair position                 15   though I still don't like the position, it's still a
16   and Sydney was. I was happy to stay on as graduate                 16   position I would rather not have, it was the best choice
17   director and work with Sydney as chair. Sydney kept                17   at the time to both serve the program and to serve my
18   getting encouraged to consider taking on the graduate              18   career progression.
19   director role as I moved up to chair, despite us both              19      Q And you had just stated that -- let me back up.
20   telling people that we were interested in the opposite             20             When Sydney was denied the program chair
21   positions. And I felt like the suggesting gotten more to           21   position, in your opinion, do you believe she was
22   kind of like a pushing us towards those roles. That's              22   qualified for that program chair at that time?
23   what I mean by moving like pawns.                                  23      A Yes, as qualified as any program chair we've had
24      Q Okay. And you had previously testified that you               24   in the past or have since.




                                                                                             33 (Pages 126 to 129)
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                                                 Page 130                                                          Page 131
 1      Q Okay. And then let's go to Page 29 -- sorry,            1   our term faculty members don't understand all the
 2   we're going to go backwards for a second. Page 97, which     2   responsibilities that tenure-track faculty members have.
 3   is 2912, and let me know when you finish reviewing it.       3   And for example, in this case, that they don't understand
 4      A Yeah, I remember this exchange.                         4   why a term faculty member can't serve as chair.
 5      Q Okay. Who is Don?                                       5      Q And then please go to Page 2923, which is 108.
 6      A Don Ingle is one of our colleagues. He's a              6      A Okay. Yeah, I remember this.
 7   term-faculty member who teaches in the public relations      7      Q Okay. What do you remember about it?
 8   program -- teaches public relations classes, pardon me.      8      A Honestly, I remember that it had a lot to do with
 9      Q And then Jim, who is Jim?                               9   me. I was just tenured and I was feeling burned out and
10      A Jim Motzer is a former faculty member, he              10   unhappy. I had a lot of -- it was a very emotional time,
11   retired. He was a term faculty member as well, also         11   and I felt very disappointed like going through the
12   teaching public relation.                                   12   tenure process was jumping through a lot of hoops with
13      Q And Ron?                                               13   very little reward after it.              had just
14      A Ron Culp is our current professional director of       14   joined, he is Argentinean and a fellow Spanish speaker,
15   the graduate program. He's also a term faculty.             15   and I had become his unofficial mentor, and I realize
16      Q Okay. And what do you remember about this              16   that I had shared too much of my frustration with him.
17   exchange?                                                   17   And I was feeling guilty because was I felt like, you
18      A Don is frequently socially awkward, I guess,           18   know, I might have influenced him to start in a bad way,
19   that's the best way of putting it. And when he -- pardon    19   not the way that I had started, kind of like with all of
20   me. Sydney is telling me that when she talked to him        20   this hope and happiness and optimism. And that's what
21   about being interested in the chair position, he went --    21   Sydney says when she says, you know,           told me
22   he said something like well it's too bad that Jim can't     22   everything you said is -- I have told him about the
23   do it because Jim would be great at it. We have frequent    23   things that had gone on with me, so how I was feeling.
24   conversations and often frustration about the fact this     24   One of my main frustrations was with the fact that I
                                                 Page 132                                                          Page 133
 1   could not improve my teaching. I have to say that my         1   talk about issues of diversity and inclusion.
 2   teaching was already very good, but the feedback was, you    2      Q Okay. And you had stated it was willful
 3   know, that there are some things that could be improved,     3   ignorance. Could you expand on what you mean by the
 4   and I felt like I was asked to fit a mold that I was         4   willful ignorance part?
 5   never going to fit, and I came to the realization around     5      A I think there comes a point when if somebody
 6   that time and that was very problematic for me. Sydney       6   tells you that you have a problem, you should at least
 7   and I talked a lot during that time.                         7   double check that you don't. And the response that I had
 8      Q Okay. And what about the conversation -- or what        8   received talking to colleagues, officially and
 9   about the culture became toxic at DePaul as you              9   unofficially, were things like well, no, don't worry,
10   described?                                                  10   trust your colleagues, or you know, this is a process or
11      A There was, what I called at the time, willful          11   we have your best interest. And I remember making the
12   ignorance regarding some of these differences in terms      12   comparison if a student tells me that I evaluated their
13   of, you know, well, you can't look at Sydney's              13   assignment incorrectly before ensuring them that I
14   evaluations like without remembering that she's a young     14   didn't, I would take a second look at how they evaluated
15   Black woman in academia. And we had been already            15   their assignments.
16   participating in conversations for more than a year,        16              So I was frustrated about the fact that
17   maybe two years at that point. I was tired and I was        17   nobody was willing to stop and take a second look of our
18   feeling emotionally burdened, and I think that's what I     18   processes even if we ended up disagreeing in terms of,
19   referred to as toxic. Because I know if I would be          19   you know, them being sufficient or not sufficient.
20   saying toxic today, I might say something different. I      20   That's why for me the ignorance was willful because there
21   was never made to feel uncomfortable that I couldn't come   21   was no intent to review how we did things.
22   in, you know, that I couldn't belong that I know that       22      Q Okay. And do you think some of that willful
23   Sydney had difference experiences than me in that sense,    23   ignorance --
24   but I felt like I kept hitting a wall when I tried to       24      A My dogs.




                                                                                      34 (Pages 130 to 133)
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                                                  Page 134                                                         Page 135
 1      Q Do you want to take a five minute break?                1   people of different races. I thought it could, you know,
 2      A Honestly, can I just finish answering this              2   it would be beneficial to all tenure-track faculty
 3   question?                                                    3   members if things were clarified.
 4      Q Perfect.                                                4      Q And let's go to 29 -- sorry, I didn't mean to go
 5      A It is a little taxiing to remember that time.           5   backwards here -- 2918.
 6   There's actually something called a post-tenure slump        6      MS. WERMUTH: What page?
 7   that nobody tells you before you go through tenure.          7      MS. SCATCHELL: 2918. Let me give you the PDF
 8             You were asking about that?                        8   number.
 9      Q Yes. When you were talking about some of the            9      MS. WERMUTH: It's more helpful than trying to scroll
10   willful blindness, do you believe that race was a factor    10   through.
11   in any of that?                                             11      THE WITNESS: I think it's 103.
12      MS. WERMUTH: Objection. Vague. Foundation. Calls         12      MS. WERMUTH: Thank you. I appreciate that. Is that
13   for speculation. Go ahead.                                  13   where we are, 2918?
14   BY THE WITNESS:                                             14      MS. SCATCHELL: Yes.
15      A I would have no way of knowing why they were           15      MS. WERMUTH: Thank you.
16   being -- you know, why there was an unwillingness. At       16   BY MS. SCATCHELL:
17   that time, I don't remember thinking that it was related    17      Q Do you recall saying something to the effect of I
18   specifically to race. I remember thinking that it was       18   think our colleagues were horrible to you and the
19   more like honestly just over confidence and maybe           19   treatment was not warranted?
20   humorous, oh, no, we're right because this is how we've     20      A I did. I wrote that, yes.
21   always done it. So my frustration was more about that       21      Q What did you mean by that?
22   than, you know, they don't want to look at race because     22      A The fact that they had voted that they didn't
23   honestly we didn't -- I don't think the lack of clarity,    23   have confidence on Sydney being a chair where I couldn't
24   the things that I was bringing up would only affect         24   see any information that could substantiate that. It
                                                  Page 136                                                         Page 137
 1   felt to me kind of like a popularity contest when it         1      A Yes.
 2   should have been, you know, do you support this person to    2      Q And then you guys were talking about -- everybody
 3   work for you as chair because I can tell you work of         3   in that meeting was basically more or less talking about
 4   chair is not fun at all.                                     4   revamping that position, correct?
 5      Q Okay. And during that vote, do you remember --          5      A Yes.
 6   the program chair vote for Sydney, do you remember           6      Q And Sydney was told to leave the meeting because
 7   whether Eva had said anything about Sydney being on          7   you guys were voting on whether or not she should be
 8   maternity leave?                                             8   program chair, correct?
 9      A She didn't mention maternity leave. She said            9      A Yes.
10   she's been sick or ill or something like that. And          10      Q Was she ever included back in the meeting when
11   several of us actually told her that we don't talk about    11   you guys were talking about the position and not on
12   that or that's not a criteria for evaluation.               12   basically her qualifications?
13      Q Do you remember how she responded?                     13      A No.
14      A I don't, but we didn't go further into it so she       14      Q Okay. Do you know why that was?
15   obviously was quiet.                                        15      A Because we were supposed to be talking about her
16      Q Okay. And do you know if she was disciplined or        16   qualifications.
17   anything happened for her saying that?                      17      Q Okay. And do you remember at that same program
18      A No. Eva was eventually let go because of how           18   chair meeting whether one of your colleagues, maybe Dan
19   difficult she was to work with, but it was many             19   Azzaro, had said something, why is Sydney being held to a
20   instances. Whether that was one that was listed or not,     20   different standard than
21   I don't know.                                               21      A I don't recall that. I know that Dan Azzaro was
22      Q Okay. And you had previously testified that at         22   there. But I do want you to remember that I was on, what
23   that program chair meeting vote for Sydney that her         23   is it called, video call, so I might have missed some
24   qualification were not discussed, correct?                  24   things that were discussed.




                                                                                      35 (Pages 134 to 137)
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                                                 Page 138                                                         Page 139
 1      Q And you had previously testified about the notes       1      A Yes.
 2   that you took at one of the meetings?                       2      Q It's getting to be that time.
 3      A Uh-huh.                                                3      A For some reason spelling out letters in English
 4      Q I'm going to send you what I'll mark as Exhibit        4   for me is extra effort.
 5   No. 23 and 24.                                              5      Q Actually, let me back up.
 6                     (Exhibit Nos. 23 and 24 were              6              When you guys are voting, and by you guys,
 7                      marked for identification.)              7   I mean, various faculty members say for the program chair
 8   BY MS. SCATCHELL:                                           8   or whatever you have to revote. Is there a process for
 9      Q And could you let me know if either of these           9   revoting?
10   represent your notes?                                      10      MS. WERMUTH: Objection. Totally vague.
11      A So maybe we can take that stretching break now        11      MS. SCATCHELL:
12   for five minutes because it's going to take a minute for   12      Q Yeah, it's a bad question.
13   it go through email.                                       13              Actually, if you could just give me one
14      Q Perfect. That makes sense.                            14   second to go off the record?
15                         (Short recess.)                      15      A Okay.
16   BY MS. SCATCHELL:                                          16                          (Brief recess.)
17      Q Who is                                                17      MS. SCATCHELL: I'm sorry about that. Back on the
18      A I think she's tenured already -- or tenure-track      18   record.
19   faculty member, I honestly don't recall. Yes, she was      19   BY MS. SCATCHELL:
20   tenured recently. In interpersonal communications, I       20      Q Do you recall if            is on any specific
21   believe.                                                   21   committees?
22      Q Do you have her last name by?                         22      A She is on the assessment committee at the college
23      A                                                       23   level, so the program assessment committee, yes.
24      Q                                                       24      Q Okay. And was she voted onto that position?
                                                 Page 140                                                         Page 141
 1      A I don't recall.                                        1          questions, we did. I can't remember what we asked,
 2      Q Okay. And do you know if there's a voting              2   and then vote in support of her as program chair. So
 3   process for the program chair position?                     3   that's what we did. The third time around when it was
 4      A Yes, there has been for the last three times.          4   time for         to step down, I believe that what Lexa
 5   There wasn't before that.                                   5   tried to do was follow a similar system that had been
 6      Q Okay. The last three times, so would that be the       6   followed the last time, but in this case the faculty
 7   2020, 2019?                                                 7   didn't support Sydney as chair, and that led to a lot
 8      A Uh-huh.                                                8   more discussion about the position and about the process.
 9      Q And which one was before that, do you happen to        9      Q And do you remember a candidate named Candace?
10   know?                                                      10      A She was a candidate for an advertising position.
11      A '14 or '15 when                was elected.           11      Q Okay. Do you remember what her ethnicity was?
12      Q Okay. So before                 was elected to the    12      A She is a Black woman.
13   program chair, there was no selection process in place?    13      Q Was she selected?
14      A No. A couple things, we're a young college, so        14      A No. She was ranked -- she was ranked third, I
15   we're only 11 or 12 years old. The previous program        15   believe. So when we have finalists, that means we invite
16   chair had been appointed by the Dean,                      16   people to the campus, the college faculty vote on their
17   When          left the institution,           had been     17   preferred, you know, hire, the one that they think is the
18   asked or volunteered, I don't know, to be the next         18   first choice. And based on that, they are ranked first,
19   program chair. And that was kind of like a done deal       19   second, and third choice. The idea is that the dean has
20   until the knew dean came, Salma Ghanem. And she said       20   our advice or our support to offer the position to
21   actually we need a process, like there should be some      21   anybody who is ranked. In Candace's case, I know there
22   faculty feedback before we appoint a program chair. So     22   wasn't a lot of support. There might be a possibility
23   she asked        to make a little statement in front of    23   that she was voted as an unacceptable candidate, but I'm
24   the PRAD faculty. She asked -- we were supposed to ask     24   sorry, I don't recall. If she was third, what would mean




                                                                                     36 (Pages 138 to 141)
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                                                  Page 142                                                        Page 143
 1   is if it's candidate one and two didn't accept the           1   short survey, like a three-question survey, basically,
 2   position, number three would get offered. If she was         2   you know, what do they think of the instructor and would
 3   determined unacceptable, which has happened in the past      3   they be interested in taking classes with them. So I did
 4   with other candidates, then it means that the dean will      4   feel that.
 5   only offer the position to candidate one and two because     5      Q Okay. And either of the candidates for that that
 6   the faculty decided this candidate doesn't qualify for       6   were considered during Candace's application, do you
 7   this position.                                               7   remember which of the teachers had the strongest teaching
 8       Q And so was her last name Edrington?                    8   scores?
 9       A Yes.                                                   9      A No, I don't remember which had the strongest
10       Q E-D-R-I-N-G-T-O-N?                                    10   teaching score.
11       A Yes.                                                  11      Q Would anything refresh your recollection?
12       Q Okay. And how many people applied for the             12      A Looking at the scores again. I remember that she
13   position?                                                   13   did well. Are we talking specifically about Candace or
14       A I don't know. I wasn't in the search committee,       14   the search in general?
15   so I wouldn't know.                                         15      Q Either, whatever you're able to remember?
16       Q Okay. Do you know anything about any of her like      16      A Candace was a very strong candidate and she
17   teaching scores or anything like that?                      17   flopped the research presentation. Sadly, in many ways,
18       A Yeah. So I would have seen her application --         18   she was a little insecure, she went too short, didn't do
19   when they are finalists, we see all the materials, we       19   a great job answering the questions. Some of my
20   means all the faculty that can vote, tenure-track           20   colleagues felt that this meant that she was less
21   faculty. We see all the materials and also we see a         21   qualified for the job. I had read and used her research
22   teaching presentation that they do about half an hour,      22   in my class so I was a little familiar with her research,
23   it's recorded. And also, we see research presentation       23   and I thought she just had a brad presentation, that that
24   which is also recorded and students are asked to say a      24   doesn't disqualify her as a research. So I believe the
                                                  Page 144                                                        Page 145
 1   objections to her case were based on her research, not on    1   Dillard_DePaul 4958.
 2   her teaching and her teaching feedback was good.             2      A I'm sorry. Do I have that in a different email?
 3      Q Is DePaul a teaching institute or a research            3      Q There should be the same email. There should be
 4   institute?                                                   4   two.
 5      A It is a teaching institution, but we do have the        5      A Give me one second. I didn't notice the second
 6   expectation to produce research.                             6   one. You are right, it was an email, one second. Okay.
 7      Q Okay. Let's see here. Okay. Let's open up               7   These are the notes from when Sydney presented her kind
 8   Exhibit No. 23.                                              8   of like case for chair.
 9      A The notes?                                              9      Q Okay. Is this your handwriting or someone
10      Q Yes.                                                   10   else's?
11      A Okay. Got them.                                        11      A Sadly, that is my handwriting.
12      Q Would you review. It is Dillard_DePaul 4954 to         12      Q And just to recap, are these about her
13   Dillard_DePaul 4957.                                        13   qualifications?
14      A Uh-huh.                                                14      A No. This is a listening aid, so it starts at the
15      Q And let me know when you're finished.                  15   last part of the page. So thankfully, you know, the
16      A I reviewed them when we were on break, so I did        16   first half is in Spanish, so you know it is not about
17   see them.                                                   17   that. Then I have a comment about a student, so I
18      Q Are these the notes that you were referring to?        18   underlined Sydney as she was talking because we didn't
19      A These are the notes that I took from my meeting        19   have a copy of her document. I was making notes about
20   with Sydney after the vote and her to take kind of like     20   the things that she was saying about her qualifications
21   an on the record feedback regarding the chair process       21   that I wanted to remember. So they would be just kind of
22   that I could go to the dean with that before we had         22   like brief reminders to myself.
23   another chair selection.                                    23      Q Okay. So would this be an accurate description
24      Q And let's go to Exhibit No. 24, and that is            24   of what Sydney had listed were her qualifications?




                                                                                      37 (Pages 142 to 145)
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                                                 Page 146                                                          Page 147
 1      A Yes. The ones that I thought were, you know,            1   doesn't have enough research, then you're probably going
 2   worth noting, yes.                                           2   to expect that there's probably going to be at least one
 3      Q Okay. Perfect. And then do you remember a time          3   vote that says Maria does not qualify for tenure. There
 4   recently where there was more than one vote for a            4   was nothing in the discussion about Kendra's case. And
 5   candidate?                                                   5   honestly, nothing in Kendra's case that would warrant a
 6      A In which context, for the chair?                        6   negative vote, as I see it. Again, remember each one of
 7      Q With                                                    7   us evaluate differently.
 8      A That was tenure review.                                 8             The number of votes wasn't the same as the
 9      Q Oh, yes, that's exactly it.                             9   number of people online because I think if not our first,
10      A I guess, yes, except but do we consider more than      10   one of our first voting on Zoom for tenure & promotion
11   one vote. But yes, I remember that the case.                11   because of the pandemic, and there were notes that
12      Q Okay. Do you remember how many votes there were        12   weren't explained by the discussion, and it was honestly
13   or what the nature of the --                                13   upsetting. I remember that I got upset because I
14      A I'm going to answer the second part of the             14   remember saying to our group like if you have an
15   question first. We were reviewing her case, we discussed    15   objection, why would you not mention it. And if, you
16   her case, it was time to vote. This is what the faculty     16   know, don't mention it, then why would you vote no.
17   say that they recommend this candidate for tenure, yes or   17   Again, there's nothing that mandates that our colleagues
18   no. When with did the votes, there were answers that        18   express it, there's an expectation, and that's what I
19   appear to be a mistake. This is why. There were several     19   personally was upset about.
20   notes, but there have been no opposition in the             20             We, I don't know how, came to the
21   discussion. Several, this maybe three or not.               21   conclusion that it was a glitch. I know that several of
22             Okay. The discussion should reflect the           22   us agreed to try it again just to confirm that the voting
23   vote, there is no way to guarantee that, except that it     23   had been correct, and I know that we did at least three
24   always has. Meaning that if I say, you know, well, Maria    24   times. I know that it was more than two. I know that it
                                                 Page 148                                                          Page 149
 1   wasn't a dozen. At some point, one of my colleagues          1   right.
 2   said, I think I'm the one that's screwing things up          2   BY MS. SCATCHELL:
 3   because I'm logged in two places, whatever, whatever. We     3      Q And then who made the decision to do the revote?
 4   ended up supporting her case for tenure unanimously which    4      A It was several of us. Sometimes the way that
 5   did reflect the discussion, at lease in my opinion, so I     5   these decisions are made is I will propose something and
 6   walked out of there okay with the decision, yes.             6   then, you know, you might support it. And if there's no
 7      Q And what ethnicity is                                   7   opposition then we assume you're agreeing, it was
 8      A            is white, I believe, yeah.                   8   something like that. So we didn't have a vote about
 9      Q And then do you remember during that vote anybody       9   having another vote.
10   saying something about her not wanting to feel like she     10      Q Okay. And then was there an extension the first
11   has enemies?                                                11   time?
12      A Not exactly that wording. What I recall is some        12      A I don't recall. I only remember the no.
13   people expressing concerns about kinds= of like this        13      Q And with a no vote, would            still have made
14   unexplained no getting back to her because it would,        14   tenure or would that no vote have precluded her from
15   right. So the candidate looks at their -- and feeling       15   becoming tenured?
16   like somebody is against them, I guess. They might have     16      A No. She would have made tenure because it would
17   used the word enemy, but I honestly don't recall the        17   have been one or two outliers and because her case was
18   specific word.                                              18   going to get supported by the dean and double checked by
19      Q Was that a factor in the revote process or no?         19   UBPT. So again, it's not an exact science, but based on
20      MS. WERMUTH: Objection. Foundation.                      20   everything, she would have made tenure, she would just
21   BY THE WITNESS:                                             21   have seen a no in her letter.
22      A I didn't decide on the revote, so I can't say. I       22      MS. SCATCHELL: And Anna, you don't have any issue
23   can say that for me when there wasn't. When Paul said       23   marking the comments about the other jobs that she was
24   there was a glitch, I had no reason to doubt that he was    24   looking for confidential, correct?




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                                                   Page 150                                                            Page 151
 1      MS. WERMUTH: Of course not.                                 1      A That's correct.
 2   BY MS. SCATCHELL:                                              2      Q Okay. So at that time, you didn't have the
 3      Q All right. Well thank you so much for your time.          3   benefit of having reviewed their full cases; is that
 4   I really appreciate it. I am going to turn you over to         4   correct?
 5   Anna now.                                                      5      A That's correct. And I should add that I would
 6                  EXAMINATION                                     6   never have that because you only get from the starting
 7   BY MS. WERMUTH:                                                7   point where you join. So for Sydney and for          both, I
 8      Q Hi, Dr. De Moya. Thank you for being here today.          8   only reviewed the most recent report.
 9   I have just a couple quick questions.                          9      Q I see. So when you did get tenured and then you
10      A Sure.                                                    10   were sitting on the tenured faculty group to review their
11      Q The student evaluations that are reviewed during         11   tenure cases, you only had a portion of their file?
12   the probationary reviews and the tenure review, they're       12      A No. I had the complete file, but I didn't have
13   like on a five-point scale; is that right?                    13   the privilege of the two previous discussions or the
14      A Yes.                                                     14   three, and I wasn't given access to them. And I did ask
15      Q Have you ever personally received student                15   because I knew that       's case especially was going to
16   evaluation in the twos?                                       16   be controversial and academic affairs explained that no,
17      A No.                                                      17   we're supposed to see starting when we joined.
18      Q Or in the ones, have you ever received                   18      Q I see. But going back to 2017, you absolutely
19   evaluations in the ones?                                      19   did not have that full record, okay.
20      A No.                                                      20      A No.
21      Q Okay. Now in 2017 when you we're talking to              21      MS. WERMUTH: I have no further questions. Thank
22              and Sydney Dillard about their reviews and their   22   you, Dr. De Moya.
23   concerns about the appearance of bias as you put it, you      23      MS. SCATCHELL: Actually, I just have one quick
24   were not tenured at that time, correct?                       24   redirect.
                                                   Page 152                                                            Page 153
 1                FURTHER EXAMINATION                               1   that needs to be corrected, but it's better to be safe
 2   BY MS. SCATCHELL:                                              2   than sorry. Again, sometimes my accent trips me up, but
 3      Q So when Sydney and           had come to you, they        3   who know, but I think we got it.
 4   were making a complaint, correct?                              4            Gia, I'm so sorry. I just remembered one
 5      MS. WERMUTH: Objection. We've been over this.               5   thing. The date for the PPR survey, the updated one was
 6   We're just redoing old territory, okay.                        6   submitted January 21, 2022, I looked it up.
 7   BY THE WITNESS:                                                7      MS. SCATCHELL: Okay. Great. Thank you so much.
 8      A It's not a complaint, it's more like seeking              8                 ********
 9   advocacy and support.                                          9
10      MS. SCATCHELL: Okay. Perfect. No further                   10
11   questions.                                                    11
12      MS. WERMUTH: Dr. De Moya before you, go. Gia, I            12
13   think it's important to let De Moya know what her options     13
14   are. You do have the option to review your transcript         14
15   before it becomes like final. Or you can waive that           15
16   option and it really is your choice. So whatever your         16
17   preference is, you can let us know.                           17
18      THE WITNESS: I think I would rather keep a copy of         18
19   my transcript, so I would rather look at them, yeah.          19
20      MS. WERMUTH: So you would like to see in advance           20
21   before it comes like a final --                               21
22      THE WITNESS: Yes, I think --                               22
23      MS. SCATCHELL: To make any corrections --                  23
24      THE WITNESS: Just in case. I doubt there's anything        24




                                                                                         39 (Pages 150 to 153)
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                                                 Page 154
 1               REPORTER'S CERTIFICATE
 2          The within and foregoing statement of the
 3   witness, MARIA DE MOYA, was taken before DEANNA L.
 4   TUFANO, CSR, and Notary Public, wherein all the parties
 5   attended remotely at 10:00 a.m. on the 27th of April,
 6   A.D., 2022.
 7         The said witness was first duly sworn and was
 8   then examined upon oral interrogatories; and the
 9   questions and answers were taken down in shorthand by the
10   undersigned, acting as stenographer and Notary Public;
11   and the within and foregoing is a true, correct, and
12   accurate record of all of the questions asked of and
13   answers made by the said witness, MARIA DE MOYA, at the
14   time and place hereinabove referred to.
15         The undersigned is not interested in the within
16   case, nor of kin or counsel to any of the parties.
17         Witness my official signature and seal as Notary
18   Public in and for Cook County, Illinois on this
19   14th Day of May, A.D., 2022.
20                     __________________________
                       DEANNA L. TUFANO, CSR,
21                     CSR No. 084-003819
                       MAGNA LEGAL SERVICES
22                     SEVEN PENN CENTER
                       1635 MARKET STREET, 8TH FLOOR
23                     PHILADELPHIA, PA 19103
                       (866) 624-6221
24




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                 EXHIBIT F

  DR. AZZARO DEPOSITION
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 391 of 572 PageID #:4770


                                                                              Page 1
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

           SYDNEY DILLARD,                            )
                                                      )
                                     Plaintiff,       )
                                                      )
                   -vs-                               ) No. 1:20-CV-7760
                                                      )
           DEPAUL UNIVERSITY,                         )
                                                      )
                                    Defendant.        )



                        The videoconference discovery deposition of

           DAN AZZARO, taken pursuant to the provisions of the Code

           of Civil Procedure and the Supreme Court Rules of the

           State of Illinois pertaining to the taking of depositions

           for the purpose of discovery, taken before DEANNA L.

           TUFANO, Certified Shorthand Reporter of the State of

           Illinois, at wherein all the parties attended remotely on

           Wednesday, May 27, 2022 at 9:00 a.m.




           Reported for:
           MAGNA LEGAL SERVICES
           (866) 624-6221
           www.magnals.com, by:
           Deanna L. Tufano, C.S.R.
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 392 of 572 PageID #:4771


                                                                              Page 2
      1    A P P E A R A N C E S:                          VIA VIDEOCONFERENCE
      2
           DISPARTI LAW GROUP, P.A.
      3    MS. GIANNA R. SCATCHELL
           121 West Wacker Drive, Suite 2300
      4    Chicago, IL 60601
           (312) 506-5511
      5    gia@dispartilaw.com
      6           on behalf of the Plaintiff;
      7
           COZEN O'CONNOR
      8    MS. ANNA WERMUTH
           123 North Wacker Drive, Suite 1800
      9    Chicago, IL 60606
           (312) 474-7900
    10     awermuth@cozen.com
    11            on behalf of the Defendant;
    12
           Reported BY:       DEANNA L. TUFANO, CSR
    13                        LICENSE NO. 084-003819
    14
           ALSO PRESENT:        Plaintiff, Sydney Dillard
    15
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    17
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                                                                              Page 3
      1                                     I N D E X
      2    WITNESS                                                             PAGE
      3    DAN AZZARO
      4              Examination by Ms. Scatchell ...............                   4
      5              Examination by Ms. Wermuth ................. 28
      6
      7                                 E X H I B I T S
      8
                          No exhibits were marked or tendered.
      9
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                                                                              Page 4
      1                                                      (Witness sworn.)

      2                                  DAN AZZARO,

      3    called as a witness herein on behalf of the Plaintiff

      4    having been duly sworn, was examined and testified as

      5    follows:

      6                                  EXAMINATION

      7    BY MS. SCATCHELL:

      8         Q    What do you prefer that I call you, Mr. Azzaro,

      9    Dan, Professor?

    10          A    Mr. Azzaro.

    11          Q    Okay.     Well, good morning, Mr. Azzaro.            My name

    12     is Gianna Scatchell.         I represent Sydney Dillard in the

    13     matter of Dillard versus DePaul.            And have you ever been

    14     deposed before?

    15          A    No.

    16          Q    Okay.     So I'm going to go over some ground rules

    17     about how a deposition works.            It's basically a

    18     conversation between the two of us where you're under

    19     oath and you're sworn to tell the truth.               You understand

    20     that part, correct?

    21          A    Yes.

    22          Q    Okay.     And I am going to ask you a series of

    23     questions that I ask everybody.            It's nothing about you

    24     personally.      But have you taken any medication today that
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                                                                              Page 5
      1    could affect your ability to testify truthfully and

      2    accurately today?

      3         A     No.

      4         Q     Okay.    Because we have a court reporter here

      5    taking down everything that we say, it's very important

      6    that we don't talk over each other.              So if you don't

      7    understand a question as well, please let me know and

      8    I'll rephrase the question.            But if you don't ask me to

      9    rephrase the question, I'm going to assume that you

    10     understand what I'm asking you.             From time to time, your

    11     attorney, Ms. Wermuth, is going to make objections.

    12     Unless she specifically instructs you not to answer the

    13     question, please answer the question.               She's just going

    14     to make her objection for the record, and then you're

    15     able to continue on unless she instructs you otherwise.

    16                         And then if you if you need a break or

    17     anything like that, you just let us know.                And we just

    18     ask that when you ask to take a break, that there are no

    19     pending questions at that time.

    20          A     Okay.

    21          Q     Okay.    Can you please state and spell your name

    22     for the record.

    23          A     Daniel Azzaro, A-Z-Z-A-R-O.

    24          Q     And what is your current occupation?
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                                                                              Page 6
      1          A    I am a Professional Lecturer at DePaul.
      2          Q    Okay.     Great.     How long have you been in that
      3    position for?
      4          A    I believe it's like 12 years.
      5          Q    Okay.     And do you teach a specific subject?
      6          A    I teach a variety of subjects in the PRAD
      7    Program.
      8          Q    Okay.     And that is at the College of
      9    Communications within DePaul?
    10           A    Yes.
    11           Q    Okay.     And are you a tenured professor?
    12           A    No.
    13           Q    Okay.     And do you know Sydney Dillard?
    14           A    Yes.
    15           Q    And how long have you known her for?
    16           A    As long as when she got to DePaul.               I think it
    17     was a couple years after me.
    18           Q    Okay.     And how do you know her just from being
    19     another professor or more on a social level too?
    20           A    Just as a colleague.
    21           Q    Okay.     And do you know what subjects that Ms.
    22     Dillard teaches?
    23           A    Some advertising, and I believe some health
    24     advertising classes.          Specifically, no.         Probably
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                                                                              Page 7
      1    principles of advertising.           I think she taught media

      2    planning, but I'm not exactly totally sure on the

      3    specifics.

      4         Q    Okay.     And are you familiar with the position of

      5    program chair?

      6         A    Yes.

      7         Q    Okay.     And what is that position?

      8         A    It is basically -- okay, there's a chair of the

      9    program.     Basically you run the program, you know.

    10     Responsible for hiring, reviews, curriculum for our

    11     specific group.

    12          Q    Okay.     And then is there a difference between a

    13     program chair and a program director?

    14          MS. WERMUTH:      Objection.      Vague.

    15     BY MS. SCATCHELL:

    16          Q    You can answer.

    17          A    I don't know.       I've always called it a chair or a

    18     director.     But I believe we call them chairs, directors,

    19     I am not sure.

    20          Q    Okay.     And do you know if Ms. Dillard ever

    21     applied for the PRAD chair position?

    22          A    Yes, she did.

    23          Q    Okay.     Do you remember approximately what year

    24     that was?
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                                                                              Page 8
      1          A   2018, 2019, something like that.             It was before

      2    the pandemic.

      3          Q   Okay.     And do you remember what the outcome of

      4    her running for -- or applying for that position was?

      5          A   She didn't get it.

      6          Q   And how was a program chair selected, is it a

      7    vote?

      8          A   Yes.    In this particular case, it was a vote.

      9          Q   And it's a faculty vote, correct?

    10           A   Correct.

    11           Q   Okay.     And do you remember who voted?

    12           A   I'm not trying to be a wise ass, but the faculty

    13     term, which is what I am, nontenure and tenure.                 I can't

    14     tell you everybody was in the room, but it as a lot of

    15     us.

    16           Q   Okay.     So it would be like more than 10?

    17           A   Yes.

    18           Q   Okay.     Less than 20?

    19           A   Okay.     It's probably in the 10 to 15 range, but I

    20     honestly couldn't tell you the exact number.

    21           Q   Okay.     And you were a part of that vote, correct?

    22           A   Yes.

    23           Q   Okay.     And do you have to have a quorum or how do

    24     you guys figure out how many people need to be there out
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 399 of 572 PageID #:4778


                                                                              Page 9
      1    of the faculty that vote?

      2         MS. WERMUTH:       Objection.      Foundation.      Go ahead.

      3    BY THE WITNESS:

      4         A     I don't know.

      5    BY MS. SCATCHELL:

      6         Q     Okay.    Do you remember how many people voted in

      7    favor of Ms. Dillard becoming the program chair?

      8         A     I believe it was three.

      9         Q     Okay.    And you previously testified that you

    10     voted, correct?

    11          A     I did vote.

    12          Q     And then did you vote for or against Ms. Dillard

    13     getting the program position?

    14          A

    15          Q     Okay.    And was it an anonymous vote?

    16          A     Yes.

    17          Q     Okay.    And do you know if there are minutes that

    18     were taken during that vote?

    19          A     I don't know.

    20          Q     Do you know who would know?

    21          A     The dean or the interim dean at that time.

    22          Q     That would be Lexa Murphy?

    23          A     Yep.

    24          Q     Do you know if there was any sort of record that
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 400 of 572 PageID #:4779


                                                                            Page 10
      1    was made?

      2         MS. WERMUTH:      Foundation.       Objection.

      3    BY THE WITNESS:

      4         A    I don't know.

      5    BY MS. SCATCHELL:

      6         Q    Okay.     And do you remember if Ms. Dillard gave a

      7    speech at the beginning or before the vote took place?

      8         A    Yes, she did.

      9         Q    And then that was -- do you remember what she

    10     said?

    11          A    Not totally.       There were a few things in terms of

    12     what she saw the direction of the department going.                  She

    13     had said that she wasn't going to put -- and I'm

    14     paraphrasing because the intent is not coming t

    15     hrough -- that she wasn't going to put the type of hours

    16     that              , the previous chair did.           And I'll back

    17     that up with             tended to be on email 24 hours a day,

    18     7 days a week.       And Sydney said it in a far better way.

    19     I know I'm saying it now and it comes off like she didn't

    20     want to do the work, that's not what I'm saying.                 But

    21     rather, just not the insane hours that                     would keep.

    22          Q    Okay.     So is it fair to say that Sydney was

    23     trying to be more mindful of work hours versus non-work

    24     hours?
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                                                                            Page 11
      1         A    Yes --

      2         MS. WERMUTH:      Objection.      Foundation.

      3    BY MS. SCATCHELL:

      4         Q    And is it also fair to say that Sydney's approach

      5    was taking more of a worklife balance?

      6         MS. WERMUTH:      Objection.      Foundation.      Argumentative.

      7    Irrelevant.      Go ahead.

      8    BY THE WITNESS:

      9         A    Yeah.     I would say so.

    10     BY MS. SCATCHELL:

    11          Q    Okay.     And do you remember if Sydney was

    12     nominated or who nominated her?

    13          A    I believe she nominated herself.

    14          Q    Okay.     And do you know if anybody else had

    15     nominated her as well?

    16          A    I don't know.

    17          Q    Okay.     Do you know somebody named Don Ingle?

    18          A    Yes.

    19          Q    Who is he?

    20          A    He is a fellow teacher in the department.

    21          Q    Do you think that he nominated her?

    22          A    I don't know.

    23          Q    Do remember if anybody had abstained from voting?

    24          A    I don't know.
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                                                                            Page 12
      1         Q    And then prior to taking a vote, is there any

      2    kind of discussion that occurs?

      3         A    Yes.

      4         Q    Okay.     What happens with that?

      5         MS. WERMUTH:      Objection.      Vague.

      6    BY MS. SCATCHELL:

      7         Q    What happens with that discussion?

      8         A    People comment on the candidate.

      9         Q    And do you remember what the discussion was with

    10     Syndney's candidacy?

    11          A




    16          Q    Okay.     And was that                       i?

    17          A    Yes.

    18




    22          MS. WERMUTH:      Objection.      Asked and answered.         Vague.

    23     Vis-a-vis stuff like that.           You can answer, Dan.

    24     BY THE WITNESS:
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                                                                            Page 13
      1



                                                  But other than that, I

      4    don't remember anything else.

      5




      8




    12          Q




    15

    16          Q    Okay.     Do you remember if Sydney's CV was

    17     provided to the faculty members that voted?

    18          A    I don't remember.

    19          Q    Okay.     Would there be anything that would refresh

    20     your recollection?

    21          A    No, sorry.

    22          Q    No problem.      All right.      And then was Sydney in

    23     the room for that vote?

    24          A    No.
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                                                                            Page 14
      1         Q    Do you remember how long the conversation lasted

      2    for in terms of discussion to vote?

      3         A    You mean the discussion after -- hang on.

      4    Clarify that for me, please.

      5         Q    Sure.     So how long did the conversation or

      6    discussion last for prior to deciding to vote on whether

      7    or not Sydney should get program chair?

      8         A    I believe it was in the area of like a half hour

      9    to an hour, but I can't really remember that.                 But I do

    10     know it was longer than a half hour.

    11          Q    Okay.     And then is the vote immediate, or the

    12     results immediate rather?

    13          A    You have a discussion and then we voted.

    14          Q    And then the results are tallied immediately, I'm

    15     assuming?

    16          A    Yes.

    17          Q    Okay.     And who is                ?

    18          A    She was the -- I'll say it this way -- retiring.

    19     Meaning, she was leaving the chair.               She was the previous

    20     chair of the department.

    21          Q    Okay.     And do you remember anything that you had

    22     said during the discussion of the vote for Sydney's

    23     program chair?

    24
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                                                                            Page 15
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                                                                            Page 16
      1




      4         Q    All right.      And then was there an underlined tone

      5    that Sydney wasn't able to make it as the program chair?

      6         MS. WERMUTH:      Objection.      Vague.

      7    BY THE WITNESS:

      8         A    I don't think so.        I don't remember.

      9    BY MS. SCATCHELL:

    10




    17          Q    And then --

    18          A    Let me finish, please.

    19          Q    I'm sorry.

    20          A    I'm not sure what else was said.             I don't

    21     remember.

    22
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                                                                            Page 17
      1         MS. WERMUTH:      Objection.      Foundation.      Also vague.

      2    BY MS. SCATCHELL:

      3         Q    You can answer.

      4




    13          A    I'm sorry, could you repeat that.

    14          Q    Was knowing Sydney a requirement or qualification

    15




    19          MS. WERMUTH:      I'm going to object.         Hang on one

    20     second.     You're characterizing these are his words.               That

    21     mischaracterizes his testimony.            Go ahead, Dan.

    22     BY THE WITNESS:

    23
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                                                                            Page 18
      1




      7    BY MS. SCATCHELL:

      8         Q    And then did you have any conversations with Ms.

      9    Dillard after the program chair results had come out?

    10          A    I did.

    11          Q    Do you remember what she said to you and what you

    12     said to her?

    13          A    She came into my office and said thank you for

    14     voting for me, which I was surprised that she knew that,

    15     so someone had told her, not me.



                                                                   But if you

    18     want this job, knock yourself out.             And that's why I

    19     figured we'll figure it out later if you don't work out.

    20     She was the only one who got nominated or put herself in

    21     nomination for this.         However, it happened.         So she

    22     wanted the responsibility, God love her.               And that was

    23     the conversation we basically had in my office, I believe

    24     it was a little while after the vote after Lexa had a
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                                                                            Page 19
      1    conversation with her.

      2         Q    Okay.     And then                is, you said that she

      3    was the retiring program chair?

      4         A    Right.

      5         Q    All right.      And was she tenure track as well?

      6         A    She already had tenure by that point.               I don't

      7    believe you can be chair without having tenure, but I

      8    could be wrong on that.

      9         Q    And do you know if there was a vote to have

    10          stay in that position?

    11          A    No.    The decision was made probably by Lexa --

    12     again, not sure -- that                agreed to stay on for one

    13     more year, and then we'd have a redefining of the job

    14     responsibilities, if you will, the chair and have another

    15     vote in the following year.                   wanted to get back in

    16     doing more research and other things.              Again, when you're

    17     chair, you have time for nothing else.

    18          Q    Okay.     And were you part of the vote -- let me

    19     back up.

    20                         So the program chair is a three-year

    21     position?

    22          A    I believe so.

    23          Q    And do you know if there's any policy that allows

    24     a program chair to be in that position for one year
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                                                                            Page 20
      1    instead of the three years?

      2          A   I don't know.

      3          Q   And when            was originally voted for program

      4    chair, were you part of that vote?

      5          A   I probably was, I don't remember.

      6          Q   Okay.




                                                                 But again,

    15     wanted to run.       And again, okay, we're going to vote her

    16     in.

    17           Q   And do you know how the current PRAD

    18     qualifications have been revised since the vote with

    19     Sydney in 2019?

    20           A   No, I don't.

    21           Q   Okay.     Have you been part of any additional votes

    22     for program chair?

    23           A   No.

    24           Q   Then do you know who the current program chair is
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 411 of 572 PageID #:4790


                                                                            Page 21
      1    at that point in time?

      2         A    Yeah, Maria.

      3         Q    De Moya?

      4         A    Yes.

      5         Q    All right.      And do you know when she was

      6    installed into that position or voted into that position?

      7         A    Well, if the voting thing with Sydney happened in

      8    2019, it probably was 2020.           But don't quote me on that,

      9    I don't remember.

    10          Q    All right.      And do you recall there being any

    11     conversation about having any concerns that

    12     wanted to step down from the position and now she was

    13     going to be renewed for another year?

    14          A    Can you rephrase that?          I'm not sure what you're

    15     getting at.

    16          Q    Sure.     So basically the fact that you said

    17          was retiring, yet she was renewed for one year?

    18          A    Let's change the word retiring.             She was

    19     leaving -- her time was up.           She wanted to leave the

    20     position, so she served, I believe, for three years.                     A

    21     three-year term she was done.            That's typical for a lot

    22     of people.

    23          Q    Okay.     And then now she was asked to stay on one

    24     extra year, correct?
Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 412 of 572 PageID #:4791


                                                                            Page 22
      1         A    Right.

      2         Q    And then do you know who asked her to stay on for

      3    the extra year?

      4         A    I believe it would have been the dean, the

      5    interim dean.       That would have been Lexa.

      6         Q    And do you know why they wanted her to stay on an

      7    extra year rather than choosing Sydney who wanted to do

      8    the position?

      9         MS. WERMUTH:      Let me just object to this.            First of

    10     all, when you say they wanted her to stay on, it's

    11     unclear, it's vague.         I will also just point out that you

    12     actually have deposed Lexa Murphy.             You might want to ask

    13     him if he had a conversation about her decision.                 But

    14     just asking him why --

    15          MS. SCATCHELL:       Your objection is noted.          Your

    16     objection is noted.        I don't need a monologue --

    17          MS. WERMUTH:      It's inappropriate and lacks

    18     foundation --

    19          MS. SCATCHELL:       Okay.    I don't need your monologue.

    20     I just need your objection.           Speaking objections are

    21     inappropriate --

    22          MS. WERMUTH:      I will refrain from saying much, but

    23     like this entire deposition has been -- just in the 30

    24     minutes we have been going has been precisely this kind
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                                                                            Page 23
      1    of questioning, inappropriate.            Go ahead, Dan.

      2         THE WITNESS:      Can you repeat the question?

      3         MS. SCATCHELL:       Ms. Court Reporter, could you please

      4    repeat the question.

      5                                                  (Question read.)

      6    BY THE WITNESS:

      7         A     Well, the faculty voted against Sydney, and

      8    therefore, Sydney was not going to be chair.                She lost

      9    that vote.      We then had nobody else willing to step up,

    10     so Lexa came up with a suggestion -- because people were

    11     talking about two different things, not voting in Sydney,

    12     and at the same time talking about revising the duties,

    13     Lexa came up with a suggestion -- I believe it was

    14     Lexa -- came up with the suggestion of having                       stay

    15     one more year while a team, a group of people, worked

    16     on -- and I don't know who was on that group before you

    17     even ask.     A group of people come up with revising the

    18     role of the chair, the duties of the chair, and that

    19              agreed to stay on one year and then we would have

    20     other people running for that chair position.

    21          Q    Got it.     And then at the beginning of the -- or

    22     prior to taking the vote or having the discussion for the

    23     program chair position, the speech that Sydney would give

    24     or the presentation, would that be an opportunity for the
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                                                                            Page 24
      1    faculty to get to quote, unquote, know Ms. Dillard?

      2         A    It certainly would.         I mean, as someone that's

      3    giving their qualifications, yeah, then you could

      4    probably say that's an opportunity to take -- for the

      5    candidate to take.

      6         Q    Okay.     And would there be any other opportunities

      7    for somebody to quote, unquote, get to know Ms. Dillard?

      8         MS. WERMUTH:      Objection.      Lacks foundation.

      9    BY THE WITNESS:

    10          A    Yeah, I would guess.         You know, not in that

    11     particular meeting, just the day-to-day operations and

    12     day-to-day teaching.

    13     BY MS. SCATCHELL:

    14          Q    And in your opinion, do you think that the way

    15     that the vote was handled regarding Ms. Dillard's program

    16     chair vote was fair?

    17          A    Yes --

    18          MS. WERMUTH:      Objection.

    19          MS. SCATCHELL:       Now, there's an objection, okay.

    20     BY MS. SCATCHELL:

    21          Q    Why did you think it was fair?

    22          MS. WERMUTH:      I'm sorry, what?        What, Gia?

    23     BY MS. SCATCHELL:

    24          Q    Why do you think it was fair?
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                                                                              Page 25
      1         MS. WERMUTH:      Wait, I'm sorry.        I need to understand

      2    what you said, Gia, so I can respond.

      3         MS. SCATCHELL:       No, it was nothing.         It was my own

      4    speaking utterance.        Go ahead.

      5         MS. WERMUTH:      No, no, no.       No, no, no.      I'm sorry.

      6    If you made an assertion or some sort of comment that I'm

      7    only objecting because -- or that I withdraw my objection

      8    because it was answered, that's not accurate.                 He

      9    answered before I had the opportunity to object.                   I do

    10     think your question was objectionable.              He did answer it.

    11     So we don't -- if you're going to say something on the

    12     record, you have to be willing to say it --

    13          MS. SCATCHELL:       Oh, I'm willing to say anything on

    14     the record --

    15          MS. WERMUTH:      -- be prepared to allow counsel to

    16     respond --

    17          MS. SCATCHELL:       I am prepared to allow counsel to

    18     respond.     It just was not necessary.

    19     BY MS. SCATCHELL:

    20          Q    And why do you think it was fair, Mr. Azzaro?

    21          A    Sydney was given the opportunity to make her

    22     pitch.    We took a vote, and it seemed to me as a normal

    23     operating procedure in process.

    24          Q    All right.      And let's see here, I guess I'm just
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                                                                            Page 26
      1    trying to understand how you say the process was fair,

      2    but then going back to your prior testimony about you

      3




      6         MS. WERMUTH:      I'm sorry, can you read the question

      7    back.

      8                                              (Question read.)

      9         MS. WERMUTH:      Let me just object.         Argumentative.        Go

    10     ahead.

    11     BY THE WITNESS:

    12          A    The process I still believe was fair, right.

    13     People give their speech.          I can't understand -- asking

    14     me to explain what other people think is just a guess on

    15     my part.     But the process is the process.

    16     BY MS. SCATCHELL:

    17          Q    Right.     And maybe I wasn't clear and I apologize

    18     for that.     My understanding is that there is a discussion

    19     prior to the vote?

    20          A    Right.

    21          Q    And the discussion takes place amongst the whole

    22     faculty, correct?

    23          A    Right.

    24          Q    Okay.     And then during that discussion, I'm only
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                                                                            Page 27
      1    assuming that some people said this is why we want Ms.

      2    Dillard to be program chair, and then some people said

      3    this is why we do not, correct?

      4         A    Probably.      I honestly don't remember who said

      5    what at what time.

      6         Q    Except for what you previously testified that

                           had stated?

      8         A    Right.

      9         Q    Okay.     Is there anything else that you remember

    10     from the program chair vote regarding Sydney Dillard's

    11     candidacy?

    12          A    No, nothing.

    13          Q    All right.      And then is there anything else that

    14     you remember from your discussion with Ms. Dillard after

    15     the program chair voting results had come in?

    16          A    No.    That conversation was more about my comment

    17     to her about why I voted for her and just talking about

    18     that.    There were other things discussed, but I don't

    19     remember.

    20          Q    Okay.     And why did you vote for Ms. Dillard?

    21          A    As I mentioned earlier --

    22          MS. WERMUTH:      Asked and answered --

    23     BY THE WITNESS:

    24          A    Sorry.     If you want this particular job, go ahead
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                                                                            Page 28
      1    and take it.      She was the only one who applied.             I know

      2    how tough it can be.         And therefore, I figured if she

      3    wanted that responsibility, go right ahead and we'll

      4    figure it out as we go along.

      5    BY MS. SCATCHELL:

      6         Q    All right.      When you made that decision to vote

      7    for Sydney, did you look at any of her qualifications in

      8    terms of what made you decide to vote for her, or was is

      9    it just the fact that she wanted to do the position, then

    10     she should be able to do it?

    11          A    It was more if you want to take that

    12     responsibility on, go ahead.           I wasn't really even

    13     looking at her qualifications.

    14          MS. SCATCHELL:       All right.      We have no further

    15     questions.

    16          MS. WERMUTH:      Thanks, Dan.       I have just two or three

    17     quick clarifying questions.

    18          THE WITNESS:      Yes.

    19                                   EXAMINATION

    20     BY MS. WERMUTH:

    21          Q    In discussion about the vote, there's been

    22     reference to all of the faculty or the whole faculty.                    I

    23     just want to clarify we're talking faculty just in the

    24     PRAD program?
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                                                                            Page 29
      1         A    Correct.

      2         Q    Okay.     So the other programs within the college,

      3    faculty from those programs were not voting in this

      4    particular set of deliberations?

      5         A    No.    When you vote for a chair in your group,

      6    it's just your group.         So for example, if it's Media Com,

      7    it's just them for Media Com.

      8         Q    Got it.     Thank you.      And along those same lines,

      9    I just want to clarify, too.           Ms. Scatchell asked if you

    10     were tenured, you said no.           But let me ask you this

    11     question, are you on the tenure track?

    12          A    Nope.

    13          Q    Okay.     So you're a term faculty, which means you

    14     are in a position that's not eligible for tenure?

    15          A    Correct.

    16          Q    Thank you.      And I just want to make sure we're

    17     aligned on the issue of                     retiring.      She is not

    18     retired from her position as a tenured faculty member in

    19     the College of Communication; is that right?

    20          A    That's right.       She was -- it's a three-year --

    21     whatever you guys want to call it, that's what it is.

    22     But basically, she was leaving her position, but she's

    23     still obviously with us as a teacher.

    24          Q    Meaning she was leaving her position as PRAD
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                                                                            Page 30
      1    chair?

      2         A    Bingo, sorry.

      3         Q    Okay.     But she was still a tenured associate

      4    professor at the time?

      5         A    Absolutely.

      6         MS. WERMUTH:      Thank you.      I have no further

      7    questions.

      8         MS. SCATCHELL:       Okay.    We have nothing further.

      9         MS. WERMUTH:      Dan, thank you.

    10          THE COURT REPORTER:         Hold on.     Can someone let him

    11     know about signature.

    12          MS. WERMUTH:      Sure.     Gia, do you want to let him know

    13     about that -- I can tell him.

    14                         Dan, so you have the opportunity to review

    15     your transcript and make any sort of typographical edits

    16     before it becomes a final sort of transcript, you're

    17     welcome to do that.        You also have the opportunity to

    18     waive that process.        And if you don't know in this

    19     moment, we can always get back to the court reporter.

    20          THE WITNESS:      No, I'd like to review it.

    21          MS. WERMUTH:      Okay.     We reserve then.       Thank you.

    22                                * * * * * * * *

    23

    24
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                                                                            Page 31
      1                           REPORTER'S CERTIFICATE

      2                 The within and foregoing statement of the

      3    witness, DAN AZZARO, was taken before DEANNA L. TUFANO,

      4    CSR, and Notary Public, wherein all the parties attended

      5    remotely at 9:00 a.m. on the 27th of May, A.D., 2022.

      6                The said witness was first duly sworn and was

      7    then examined upon oral interrogatories; and the

      8    questions and answers were taken down in shorthand by the

      9    undersigned, acting as stenographer and Notary Public;

    10     and the within and foregoing is a true, correct, and

    11     accurate record of all of the questions asked of and

    12     answers made by the said witness, DAN AZZARO, at the time

    13     and place hereinabove referred to.

    14                 The undersigned is not interested in the within

    15     case, nor of kin or counsel to any of the parties.

    16                 Witness my official signature and seal as Notary

    17     Public in and for Cook County, Illinois on this

    18     6th Day of June, A.D., 2022.

    19                                          __________________________
                                                DEANNA L. TUFANO, CSR,
    20                                          CSR No. 084-003819
                                                MAGNA LEGAL SERVICES
    21                                          SEVEN PENN CENTER
                                                1635 MARKET STREET, 8TH FLOOR
    22                                          PHILADELPHIA, PA 19103
                                                (866) 624-6221
    23

    24
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                                                                                 Page 1

              A            anonymous            awful                 C.S.R
    A-Z-Z-A-R-O            9:15                 15:5                  1:24
    5:23                   answer               Azzaro                call
    A.D                    5:12,13 7:16 12:23   1:10 3:3 4:2,8,10,11  4:8 7:18 29:21
    31:5,18                  13:8 17:3 25:10     5:23 25:20 31:3,12   called
    a.m                    answered                                   4:3 7:17
                           12:22 25:8,9 27:22             B           candidacy
    1:16 31:5
    ability                answers              B                     12:10 27:11
    5:1 16:11              31:8,12              3:7                   candidate
    able                   anybody              back                  12:8 13:7 24:5
    5:15 16:5 28:10        11:14,23 15:12       10:16 19:15,19 26:2 case
    Absolutely             apologize              26:7 30:19          8:8 31:15
    30:5                   26:17                balance               CENTER
    abstained              applied              11:5                  31:21
    11:23                  7:21 28:1            basically             certainly
    academia               applying             4:17 7:8,9 18:23      24:2
    15:24 16:2             8:4                    21:16 29:22         CERTIFICATE
    accurate               approach             becoming              31:1
    25:8 31:11             11:4                 9:7                   Certified
    accurately             approximately        beginning             1:14
    5:2                    7:23                 10:7 23:21            cetera
    acting                 area                 behalf                18:1 20:11
    31:9                   14:8                 2:6,11 4:3            chair
    actual                 Argumentative        believe               7:5,8,13,17,21 8:6
    13:7                   11:6 26:9            6:4,23 7:18 9:8 11:13   9:7 10:16 13:7 14:7
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    advertising              27:22 29:9 31:11     23:13 26:12           18:4,9 19:3,7,14,17
    6:23,24 7:1            asking               better                  19:20,24 20:4,22,24
    affect                 5:10 22:14 26:13     10:18                   23:8,18,18,20,23
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    19:12 23:19            assertion            Bingo                 chairs
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    9:2 11:7 15:13 17:21   associate                                  change
      23:1 25:4 26:10      30:3                 12:16 27:7            21:18
      27:24 28:3,12        assume               break                 changing
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    29:17                  assuming             BS                    characterizing
    allow                  14:15 27:1           15:11                 17:20
    25:15,17               attended             business              Chicago
    allows                 1:15 31:4            16:1                  2:4,9
    19:23                  attorney                                   choosing
                                                          C
    ANNA                   5:11                                       22:7
                           awermuth@cozen....   C
    2:8                                         2:1
                           2:10                                       10:16 14:17 19:2,10
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    1:10                 31:17                   Defendant               DISTRICT
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    6:20                 6:17                    define                  DIVISION
    college              courses                 17:16,23                1:2
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    Com                  court                   29:4                    15:24 19:16
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    come                   30:19                 10:12 11:20 12:12       11:17
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    Eva                       11:20                  18:5,22                 30:10
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    exactly                   16:18                  4:11 15:18              20:13
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                 EXHIBIT G

  DR. CRISTEA DEPOSITION
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                                                                              Page 1
              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS


 SYDNEY DILLARD,                          )
                                          )
                      Plaintiff,          )
                                          ) CIVIL ACTION NO.
 vs.                                      ) 1:20-cv-7760
                                          )
 DEPAUL UNIVERSITY,                       )
                                          )
                      Defendant.          )



            THE DEPOSITION UPON ORAL EXAMINATION OF
                       RICHARD CRISTEA, M.D.,
                 a witness produced and sworn before me,
           Mary Beth Schafer, RPR, a Notary Public at
           large, in and for the State of Indiana, taken
           through Zoom videoconferencing on behalf of the
           Defendant, with the witness appearing from
           Merrillville, Indiana, on August 8, 2022,
           commencing at approximately 6:30 p.m., EST,
           pursuant to the Federal Rules of Civil
           Procedure




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   Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 433 of 572 PageID #:4812

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          APPEARANCES                                          INDEX OF EXAMINATION
ON BEHALF OF THE PLAINTIFF:
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       Gianna Scatchell, Esq.                              EXAMINATION .....................................6
       Disparti Law Group                                   Questions By: Ms. Wermuth
       121 West Wacker Drive                               EXAMINATION ...................................115
       Suite 2300                                           Questions By: Ms. Scatchell
       Chicago, IL 60601
       gia@dispartilaw.com
                                                           FURTHER EXAMINATION ...........................137
                                                            Questions By: Ms. Wermuth
ON BEHALF OF THE DEFENDANT:                                FURTHER EXAMINATION ...........................138
                                                            Questions By: Ms. Scatchell
       Anneliese Wermuth, Esq.
       Brittany Green, Esq.
       Cozen O'Connor
       123 N. Wacker Drive
       Suite 1800
       Chicago, IL 60606
       awermuth@cozen.com
       brittanygreen@cozen.com

Also Present:

       Sydney Dillard




                                             Page 4                                                             Page 5
          INDEX OF EXHIBITS                            1          (The witness is sworn by the court
                                                       2    reporter at 6:30 p.m., at which time the
                               PAGE                    3    following proceedings are had:)
Deposition Exhibits                                    4           RICHARD CRISTEA, M.D.,
Exhibit 1 - Compilation of Records         10          5        having been duly sworn to tell the
Exhibit 2 - 06/05/2018 Letter to "To Whom It  89       6        truth, the whole truth, and nothing but
       May Concern" from Richard Cristea,
                                                       7        the truth, relating to said matter, is
       M.D.
Exhibit 3 - 10/02/2018 Letter to "To Whom It  91
                                                       8        examined and testifies as follows:
       May Concern" from Richard Cristea,              9          MS. WERMUTH: Thank you, Doctor. Thank
       M.D.                                           10   you again for making time for us this evening.
                                                      11       Madam Court Reporter, do we need appearances
                                                      12   on the record?
                                                      13          THE COURT REPORTER: That is up to you
                                                      14   if you want to go ahead and do that, that's fine
                                                      15   with me.
                                                      16          MS. WERMUTH: Okay. Why don't we go
                                                      17   ahead. My name is Anna Wermuth. I represent
                                                      18   DePaul University. And I have with me today
                                                      19   Brittany Green, also represents DePaul
                                                      20   University.
                                                      21       Gia, do you want to put your appearance on
                                                      22   the record?
                                                      23          MS. SCATCHELL: Sure. My name is
                                                      24   Gianna Scatchell, and I am the attorney for
                                                      25   Plaintiff, Sydney Dillard, in the above-captioned




                                                                                        2 (Pages 2 to 5)
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                                                Page 6                                                      Page 7
 1     matter which would be Dillard vs. DePaul.            1     involving a patient who was suing his or her
 2            MS. WERMUTH: Okay. Dr. Cristea, let           2     employer?
 3     me just also state for the record, this is the       3   A. Not that I recall.
 4     fact deposition of Dr. Richard Cristea in the        4   Q. Okay. So this would be the first time that you
 5     case Dillard vs. DePaul University, No.              5     think you've been deposed in that capacity?
 6     20-cv-7760, pending in the United States District    6   A. Yes, other than a workman's compensation issue.
 7     Court for the Northern District of Illinois.         7   Q. Understood. Thank you. And just very briefly,
 8   EXAMINATION                                            8     is there anything that's preventing you from
 9     QUESTIONS BY MS. WERMUTH:                            9     testifying honestly or truthfully today?
10   Q. I saw, Dr. Cristea, that you raised your hand      10   A. No.
11     right away so I'm assuming you have had your        11   Q. And is there anything that we should know that
12     deposition taken a few times in the past?           12     may impact your memory this evening?
13   A. Yes, I have.                                       13   A. Not that I'm aware of.
14   Q. Is that right?                                     14   Q. Thank you. So did you have an opportunity -- so
15   A. Yes, correct.                                      15     let me walk back for a second. My office
16   Q. Okay. I'm not going to spend too much time going   16     subpoenaed your office for records relating to
17     over the rules. It sounds like you probably know    17     Dr. Dillard, and we have shared those records
18     the rules of engagement. I just ask that you        18     with Dr. Dillard and her lawyer. Do you have
19     allow me to finish my questions and I'll do my      19     those records with you this evening?
20     best to allow you to finish your answers so that    20   A. I do.
21     we can get a clean record with the court            21   Q. Okay. And do you have those records with that
22     reporter. Is that fair?                             22     numbering in the bottom right-hand corner that
23   A. Yes.                                               23     says Dillard_DePaul and then has a series of
24   Q. Okay. Thank you, sir.                              24     numbers?
25         Have you testified ever in another case         25   A. I do.
                                                Page 8                                                      Page 9
 1   Q. Okay. Terrific. Thank you.                          1   Q. Okay. What about Dr. Dillard's lawyer, Ms.
 2         Are there any other documents that you're        2     Scatchell, have you talked with her by telephone,
 3     looking at or that you have with you this            3     by email, by video, prior to your deposition
 4     evening?                                             4     today?
 5   A. Just that was provided by your service.             5   A. No.
 6   Q. Okay. Terrific. Thank you.                          6   Q. Okay. Did you have an opportunity to review the
 7         And then do you have -- is there anyone in       7     records before your deposition this evening?
 8     the room with you this evening?                      8   A. Not in detail. I thumbed through them about five
 9   A. No.                                                 9     minutes ago.
10   Q. Okay. And where are you this evening? Since        10             MS. WERMUTH: Okay. Fair enough. Fair
11     we're on Zoom, I have to just sort of make sure I   11     enough. Okay. Thank you.
12     know where everybody is sitting.                    12         So let me start with this. And if you don't
13   A. At my office in Merrillville, Indiana.             13     mind, I'm going to share my screen also so that
14   Q. Okay. And will you let us know if someone else     14     we can all make sure we're looking on the same
15     joins you in the room?                              15     page. If that gets confusing, we can always find
16   A. Sure.                                              16     another way too.
17   Q. Thank you. I appreciate that.                      17         So I will have marked, Madam Court Reporter,
18         Did you do anything to prepare for your         18     all of the records that have been -- from Dr.
19     deposition this evening?                            19     Cristea's office that have been produced today as
20   A. No.                                                20     Exhibit 1. I will make sure, Mary Beth, that you
21   Q. Okay. Have you talked to Dr. Dillard either by     21     get those. Okay?
22     telephone, by video chat, by email, by text         22             THE COURT REPORTER: Okay.
23     message, in any capacity about your deposition      23             (Deposition Exhibit(s) 1, having been
24     today?                                              24      marked for identification, is displayed on the
25   A. No.                                                25      videoconference screen for the witness and all




                                                                                         3 (Pages 6 to 9)
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                                                 Page 10                                                       Page 11
 1      parties to view at this time, as testimony           1   A. Sure. Neurology encompasses a broad range of
 2      continues:)                                          2     disorders, including both central and peripheral
 3   QUESTIONS BY MS. WERMUTH:                               3     nervous systems. Anything from traumatic brain
 4   Q. So, Dr. Cristea, I am looking at what is Bates       4     injury, epilepsy, movement disorders, Alzheimer's
 5     marked Dillard_DePaul9900. This is your CV that       5     disease, tumors, spine diseases, peripheral nerve
 6     was produced to us by your office. Are you            6     diseases, muscle diseases as it relates to the
 7     familiar with this document?                          7     nervous system.
 8   A. Yes.
 9   Q. Okay. And you're welcome to follow along with
10     the papers if it's easier as well. It's your
11     choice. But I just -- my questions for you, your
12     CV appears on pages 9900 through 9908. If you
13     could just confirm to me that the information        13   Q. Are there other seizure disorders other than
14     contained therein is true and accurate to the        14     epilepsy where a patient might experience some
15     best of your memory?                                 15     form of seizure that's not as you've described it
16   A. Yes, it is.                                         16     as epilepsy?
17   Q. Okay. So I'm just going to use that as a way to
18     sort of dispense with all the background
19     information so that we can move along. Okay?
20   A. Sure.
21   Q. I would like to ask you a quick question, though.
22     I see that you're board certified in neurology.
23     Can you -- do I have that correct?                   23   Q. Okay. And that typically comes with some form of
24   A. That's correct.                                     24     loss of consciousness as well?
25   Q. Okay. And can you tell us what neurology is?                                                             .
                                                 Page 12                                                       Page 13
 1   Q. I see. Okay. Thank you for that clarification.       1
 2         Okay. Have you heard the phrase grand mal
 3     seizure?
 4   A. Yes.


                      .
 8   Q. Okay. And so folks who experience syncope could                                        for a visit sometime in
 9     also experience in that episode a grand mal           9     2022?
10     seizure if it involves convulsions?                  10   A. Yes.
11   A. Well, grand mal seizure isn't used in what we       11   Q. Okay. And when is she expected to return?
12     call syncopal seizure. Usually in a syncopal         12   A. I don't have that exact information, but I would
13     seizure, patients will have a few symmetric jerks    13     assume probably soon since it's been about six
14     of the arms and/or legs or some tonic movement       14     months since I've last seen her.
15     lasting very briefly. Grand mal seizure is           15   Q. So if there's an appointment that's set up for
16     usually a term reserved for epilepsy patients        16     soon, you don't have that information in front of
17     with seizures due to electrical discharges in the    17     you?
18     brain.                                               18   A. No.
19   Q. Got it. Have you ever heard the phrase or used      19   Q. Okay. Thank you.
20     the phrase statistical seizure?                      20        And have you diagnosed Dr. Dillard?
21   A. Not used in clinical practice that I'm aware of.    21   A. Yes.
                                                            22   Q. What is her diagnosis?




                                                                                        4 (Pages 10 to 13)
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                                               Page 14                                                      Page 15
                                                           1      consistent with nocturnal seizures.
                                                           2    Q. So if you're asleep and you're jerking and
                                                           3      gasping for air, that would be an indication of a
                                                           4      seizure?
                                                           5    A. In a patient with a clinical history of a
                                                           6      diagnosis of epilepsy, yes.
 7   Q. So can we focus on the seizures for a moment?      7    Q. I see. And those seizures or episodes were
 8   A. Sure.                                              8      reported to you by her husband?
 9   Q. Is there a name to her -- well, strike that.       9    A. Yes.
10        Is she an epileptic?                            10    Q. Okay. And those episodes were not ones where you
                                                          11      like immediately clinically treated her so as to
                                                          12      be able to assess other sort of medical indicia
13   Q. Got it. And is it your understanding that since   13      of the seizure?
14     2017, from September 2017 through the present,     14    A. Could you rephrase?
15     she's had two seizures?                            15    Q. Yes. I'm sorry. I'm not being clear.
16   A. She's had more than two seizures, but, yes. So    16          You had previously said, for example, an
17     by definition, she is an epileptic.                17      episode of syncope -- and I know I keep saying it
18   Q. Okay. And as you sit here now, can you tell me    18      wrong. I'm sorry. Syncope is often associated
19     how many seizures she has had?                     19      with some sort of blood pressure change, I think?
20   A. Well, I didn't prepare beforehand counting up the 20    A. Right. To cut to the chase, in Dr. Dillard's
21     seizures, but we know she had September of 2017, 21        case, she did not have or ever been diagnosed
22     October of 2017. And then I think there were       22      with syncope. Her diagnosis was epilepsy.
23     some episodes noted by her husband throughout my 23      Q. I see, okay. And that was -- that diagnosis was
24     care and treatment where she'd be jerking and      24      based on her reports to you of her episodes?
25     gasping for air while sleeping, which are          25    A. And observed seizure.
                                               Page 16                                                      Page 17
 1   Q. You observed her with a seizure?                    1   Q. So is a normal range EEG inconsistent with a
 2   A. By history of observed seizure by her husband.      2     diagnosis of epilepsy or how does --
 3   Q. I see. Okay. Now are there other ways other
 4     than through observation to diagnose someone?
 5     Like observation and then reporting, self-           5   Q. I see.
 6     reporting? Are there other ways to diagnose          6   A. EEG is a surface recording. In patients that we
 7     epilepsy?                                            7     evaluate for epilepsy surgery, so the kids you
 8   A. Well, epilepsy is a clinical diagnosis.             8     see running around with helmets on who have
 9     Sometimes we have EEG abnormalities. In a            9     seizures and are mentally handicapped, in those
10     majority of patients we don't, especially in        10     patients what we do is we put them in epilepsy
11     generalized epilepsy. So it's usually by            11     monitoring units. Then we put what we call --
12     observation or clinical history. We teach our       12     well, there's different ways to monitor them. We
13     medical students that if you don't have a           13     will put depth electrodes in where we actually
14     diagnosis 90 percent of the time after a history,   14     put electrodes deep in the brain. There's
15     don't examine them. Go back and take another        15     procedures where we take the skull off and put
16     history. So history is critical in the              16     the electrodes on the surface of the brain. But
17     management of our patients, diagnosis and           17     those -- we don't routinely do that in patients
18     management.                                         18     who can be managed medically and who are not
19   Q. Got it. Okay. Now is EEG, is that also an          19     additionally mentally handicapped.
20     electroencephalogram report?                        20   Q. Okay. What about an MRI? Does an MRI also help
21   A. That's correct.                                    21     with a diagnosis of epilepsy?
22   Q. Okay. And she had one of those that showed that    22   A. It can in some instances. Many times an MRI is
23     her brain activity was in the normal range; is      23     normal.
24     that right?                                         24   Q. Okay. And hers was normal; right? Dr. Dillard's
25   A. Yes, that's correct.                               25     was normal?




                                                                                      5 (Pages 14 to 17)
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                                                Page 18                                                    Page 19
 1   A. My recollection is that that's correct.              1   Q. Okay. And this appears to have, as we page
 2   Q. Okay. And then what is a vestibular evoked           2     through it, like a summary of many -- or her
 3     myogenic potential? What kind of exam is that?        3     visits up until the point in time where we
 4   A. That has to do more with the disease centers of      4     subpoenaed the records. Can you tell me what a
 5     the brain and not the epileptic centers of the        5     summary report is coming out of your office, sir?
 6     brain.                                                6   A. Actually I don't know. This is not something
 7   Q. And so she had a vestibular evoked myogenic          7     used in my daily care and treatment of patients.
 8     potential exam or test that was also normal. Do       8     I suspect it's an electronic health record
 9     you recall that?                                      9     tabbing procedure. I usually refer just to my
10   A. Yes.                                                10     chart notes in chronological order.
11   Q. Can you turn to page -- so we're going to go to     11   Q. Okay. And so the chart notes were what we were
12     sort of the top of the documents now. So page --     12     looking at on page 4565 a minute ago; is that
13     I think it's 4565.                                   13     right?
14   A. Yes, that's the September 26, 2017, note.           14   A. That's correct.
15   Q. Hang on just a moment. Let me get there with        15   Q. So this did come from your office. So let me, if
16     you. 4565.                                           16     I could, direct you to page 4559 in the summary.
17         Actually, you know what, can you turn            17   A. Okay.
18     instead to page 4558, so before we get to that       18   Q. And do you see in sort of the middle of the page
19     first visit. And I can share screen unless           19     there's a reference to "Seizure," and then as you
20     everyone just wants to look at their own version.    20     kind of move across, there's a set of texts that
21     Is it easier to look at your own version, Doctor?    21     starts with 9/20/17? Do you see that?
22   A. Yeah, that's fine. I'm on that page.                22   A. Yes.
23   Q. So this page, the top of it reads Summary Report.   23   Q. So I'm going to walk through this with you. And
24     Do you see that?                                     24     then if we need to go into each chart record we
25   A. Yes.                                                25     can do that as well.
                                                Page 20                                                    Page 21
 1   A. Okay.                                                1   A. Correct.
 2   Q. Okay. So according to the summary, it looks like     2   Q. Okay. And then there's some reference to Keppra,
 3     her first seizure occurred while she was              3     which we'll come back -- oh, I'm sorry.
 4     sleeping; right?                                      4     "Ambulatory EEG with left temporal activity."
 5   A. Yes.                                                 5     What's that reference?
 6   Q. Okay. And is that what you recall about her          6   A. So that's referencing an abnormality in the left
 7     telling you when she came to see you?                 7     side of the brain in the temporal area.
 8   A. Yes.                                                 8   Q. And this was done on the first EEG. Was there a
 9   Q. Okay. And it says "witnesses tonic-clonic." Is       9     second EEG?
10     that the report from the husband about her           10   A. Ambulatory would be a prolonged EEG where we put
11     jerking movements?                                   11     electrodes on and they go home, and we monitor
12   A. I don't have a direct recollection, so it's         12     them that way. So I would suspect that's after
13     either from her husband or from a hospital note.     13     the first routine EEG, which is usually 45
14   Q. Okay. And what does "tonic-clonic" mean?            14     minutes to an hour or less.
15   A. That's a grand mal seizure.                         15   Q. So the first EEG came back normal. Then she had
16   Q. And then it goes on to say, "no tongue biting/      16     the ambulatory EEG where she went home with the
17     loss of urine, dislocated shoulders. MRI brain       17     electrodes, and you saw some activity in her left
18     SZ protocol NL." What does that mean?                18     brain?
19   A. Seizure protocol normal.                            19   A. Yes.
                                                            20   Q. Okay. And that activity was consistent with what
                                                            21     you would say is an epileptic condition?
                                                            22   A. Well, anytime you see abnormalities in the brain
            .                                               23     on an EEG, it could represent what we call an
24   Q. So she had a second seizure again also while she    24     epileptogenic focus, meaning where the seizure
25     was asleep; right?                                   25     could start.




                                                                                      6 (Pages 18 to 21)
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                                                Page 22                                                    Page 23
 1   Q. I see. Okay.                                         1            MS. WERMUTH: I'm sorry. I may have
 2         And was that -- have you taken that sort of       2     interrupted you. I apologize.
 3     exam again of her since this reported event?          3   QUESTIONS BY MS. WERMUTH:
 4   A. I don't recall, but I don't think so.                4   Q. And then near the end of this summary about four
 5   Q. Okay. Then there's a mention of Keppra. I will       5     lines up, it says, "No spells since 4/20/18." Do
 6     come back to Keppra in a moment. And then it          6     you see that?
 7     says, "Had a spell of syncope 4/12/18." Do you        7   A. Yes.
 8     see that?                                             8   Q. And then it says, "Doing well 9/2019 through
 9   A. Yes.                                                 9     5/2020." Do you see that?
10   Q. Does that mean that between October '17 and April   10   A. Yes.
11     '18 she didn't have a seizure, at least that was     11   Q. And then the last entry -- I'm sorry. It's not
12     reported to you?                                     12     the last. Oh, yeah. The last entry, "No issues
13   A. Correct.                                            13     3-8/2021." Do you see that?
14   Q. Okay. And then the syncope was -- do you recall     14   A. Yes.
15     what that was in April of 2018?                      15   Q. So would this summary tell you that between
16   A. Well, that's consistent with seizure in a patient   16     September of 2017 and March of 2021 she had two
17     with a history of epilepsy who is being              17     seizures and one episode of syncope?
18     treated --                                           18   A. Based on this note, that's correct.
19   Q. Okay.                                               19   Q. And you don't have any reason to believe that
20   A. -- (indiscernible).                                 20     this note is not correct?
21            THE COURT REPORTER: I'm sorry, Doctor.        21   A. Well, it's just a summary. We'd have to go
22     I missed the last word you said. You said,           22     through each chart note. Sometimes these get
23     "That's consistent with seizure in a patient with    23     modified. And, again, I don't use this page, so
24     a history of epilepsy who is being treated."         24     I'm not sure how it's collated. It seems
25            THE WITNESS: That was it.                     25     consistent with your questioning, but I can't
                                                Page 24                                                    Page 25
 1     guarantee that.                                       1     email to Tabitha, Gia, I sent it to you as well.
 2   Q. Okay. So why don't we do this. Let's go to your      2            MS. SCATCHELL: It's the three separate
 3     December 7, 2021, note, which is the last visit       3     documents; right?
 4     you had with her. So I'm looking at page 9916.        4            MS. WERMUTH: Yeah, yeah.
 5     Actually go to page -- let's start with the top       5            MS. SCATCHELL: Okay.
 6     of it.                                                6            THE WITNESS: Yeah. The last Bates
 7            MS. SCATCHELL: Of 9916?                        7     stamp that I have says Dillard_DePaul4848.
 8            MS. WERMUTH: No. I'm sorry. The top            8            MS. WERMUTH: Okay. Well, why don't
 9     of the note. So I'm going to go to page 9912,         9     we -- just so that we're all looking at the same
10     sir.                                                 10     thing, I'm going to share my screen, and you can
11            THE WITNESS: Hang on. All of my pages         11     tell me, Doctor, if you're looking at the same
12     are in the four thousands. And then the December     12     document that I'm looking at.
13     2021 note was just handed to me, and I assume        13            THE WITNESS: That's correct.
14     scanned and emailed to you guys. So which note       14            MS. WERMUTH: Okay. So when I go down
15     are you referencing?                                 15     to the end of the notes, assessment. So this is
16            MS. WERMUTH: So it's the December 7,          16     the last page where there's assessment.
17     2021, note.                                          17            THE WITNESS: Correct.
18            THE WITNESS: Correct. I have that in          18            MS. SCATCHELL: What page is that?
19     front of me.                                         19            MS. WERMUTH: For your reference it's
20            MS. WERMUTH: Okay. I actually did             20     9916.
21     provide your office with a Bates labeled version     21            MS. SCATCHELL: Okay.
22     of this, so I'm not sure why --                      22   QUESTIONS BY MS. WERMUTH:
23            THE WITNESS: Hang on. Let me check            23   Q. And do you see the third bullet point in
24     here.                                                24     assessment says "seizure"?
25            MS. WERMUTH: And, Gia, when I sent the        25   A. Correct.




                                                                                       7 (Pages 22 to 25)
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                                                Page 26                                                     Page 27
 1   Q. Okay. And when I look -- I mean, is there            1     husband reported the jerking and gasping for air
 2     anything in this note in December of '21 that         2     sometime after that or sometime before April
 3     suggests that she had any sort of either seizure      3     2018?
 4     or spell of syncope after April of 2018?              4   A. Hold on one second here. It looks like -- I'm
 5   A. Not according to this note, that's correct.          5     looking at Bates stamp 4778.
 6   Q. Now there is this reference, "Husband notices        6   Q. Okay. Let me get there. Okay. I'm there.
 7     jerking and gasping for air while sleeping 2          7   A. So this is April 3, 2019, office visit note. So
 8     times in the last six months." Do you see that?       8     we know she had the event April of 2018. So she
 9   A. Yes.                                                 9     had two additional spells between April of '18
10   Q. Can you tell what the date of that report to you    10     and April of '19.
11     is?                                                  11   Q. So when I --
12   A. It's going to be between -- let's see here.         12   A. Based on this.
13     Usually these are in chronological order. I add      13   Q. When I look at Dillard_DePaul4778, that appears
14     to the bottom of the note. So let's see here.        14     to be a note from January 10th of 2019.
15     It looks like it would come sometime after           15   A. Correct.
16     4/12/18.                                             16   Q. Okay. So not April 2019. I want to just be
17   Q. Okay. Except do you see in that second to last      17     clear.
18     line it says, "No spells since 4/2018"?              18   A. Let me make sure this is -- no, you are correct.
19   A. That was probably referencing two generalized       19     Someone went in and must have printed the chart.
20     tonic-clonic or grand mal events.                    20     The last person goes in the chart they redate it,
21   Q. But the event in April of 2018 was not a grand      21     so, no, you're correct. Well, actually it's
22     mal event; right?                                    22     within a more finite time window. So it would be
23   A. Correct.                                            23     April of '18 and January of '19.
24   Q. Okay. So just to be clear, when it says, "No        24   Q. Okay. So between -- and you are getting that --
25     spells since 4/2018," are you saying that the        25     show me where on 4778, please, sir, where you see
                                                Page 28                                                     Page 29
 1     that reference.                                       1     window?
 2   A. Under "Seizure."                                     2   A. Yeah, that's correct. Based on her -- you know,
 3   Q. Okay.                                                3     what we were treating her for, there would be --
 4   A. So if you look midway down it says, "Syncope         4     it's entirely consistent with her diagnosis.
 5     4/12/18. No warning other than anxious while          5   Q. Sure. And so he noted gasping for air and
 6     sitting and reading. Keppra at bedtime 2/2019.        6     jerking. Did you have any indication as to sort
 7     She is back to work as a professor. Husband           7     of the temporal -- the length of the episode?
 8     notices jerking and gasping for air two times in      8   A. I have no recollection, and I didn't document it.
 9     the last six months."                                 9   Q. And there was no like immediate effort to seek
10   Q. Okay. So those reports were made to you in          10     treatment as a result of either one of those two
11     January. So sometime between June, June of 2018      11     incidents as far as you know?
12     going forward -- through January 10th of 2019        12             MS. SCATCHELL: Objection.
13     there were the two reported nighttime jerking?       13     Argumentative. Form.
14   A. That's correct.                                     14   QUESTIONS BY MS. WERMUTH:
15   Q. Was it reported to you that she was -- well, she    15   Q. You can answer, sir.
16     was asleep, so I guess she was unconscious;          16   A. The way we treat epileptics is, you know, the
17     right?                                               17     advice is not to go to the hospital with every
18   A. Sleeping is not considered unconscious.             18     seizure, so neurologists kind of look at a
19   Q. Okay.                                               19     seizure as a bad headache. The keys are patients
20   A. The brain mechanisms of unconsciousness and sleep   20     have episodes and they wake up after those
21     are different things, but she was certainly          21     episodes. There's no reason to seek emergency
22     sleeping.                                            22     care in a known epileptic who's on known
23   Q. Okay. But you don't have any more information as    23     treatment.
24     to like exactly when these incidents occurred,       24   Q. Okay. And at this time she was on treatment;
25     other than it was just sometime in that six-month    25     correct?




                                                                                       8 (Pages 26 to 29)
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                                                Page 30                                                    Page 31
 1   A. Yes.                                                 1   A. Well, taking something -- doing something once a
 2   Q. So let's -- one more question to go back to my       2     day versus two or three times a day, it's
 3     question about unconsciousness. It was not            3     intuitive, right? It's just easier.
 4     reported to you that she appeared to be               4   Q. Okay. Fair enough. I didn't know if that meant
 5     unconscious during either of these two reported       5     if it had something to do with the effects of the
 6     episodes in the period between March of 2018 and      6     medication, so not taking it during a time when
 7     January 10th of 2019?                                 7     you were working, if that's what you were
 8   A. No. The two episodes reported initiated while        8     referring to. But you're talking about just
 9     she was asleep.                                       9     literally the convenience of taking it --
10   Q. Okay. All right. So let's talk about Keppra for     10     remembering to take it once a day versus twice a
11     a moment. Is that the treatment that -- or at        11     day?
12     least the prescription medication she was            12   A. In this instance. I don't recall, and it would
13     receiving for her epilepsy?                          13     be outlined in the notes. Some people have side
14   A. Yes.                                                14     effects to short-acting preparations. And then
15   Q. And she changed her dosage over time; is that       15     the long-acting preparations are more effective
16     right?                                               16     from a side effect profile as well.
17   A. I think there was one point in time we either       17   Q. So can you go -- and I know I'm jumping around
18     adjusted to a long-acting form or decreased the      18     here so bear with me, Doctor. I really
19     dose slightly at a time when she was trying to       19     appreciate your patience.
20     get pregnant.                                        20   A. Okay.
21   Q. What's a long-acting form versus something other?   21   Q. To 4552. This is something produced by your
22   A. Well, you just take it once a day as opposed to     22     office to us called a medication history. Are
23     twice a day. Patients with busy lifestyles and       23     you familiar with this?
24     work lifestyles, it's much more convenient.          24   A. No. I don't use this in my care and treatment of
25   Q. And why is that?                                    25     my patients. Again, I think it's just something
                                                Page 32                                                    Page 33
 1     that is tabbed in the electronic health record.       1     I'm wrong -- she was not prescribed Keppra after
 2   Q. Okay. But this would presumably have accurate        2     that visit?
 3     information about the medications that Dr.            3            MS. SCATCHELL: Objection; form.
 4     Dillard was taking at any given time; would that      4   A. You can see -- can I answer that?
 5     be accurate?                                          5   Q. Please, yes.
 6   A. Not necessarily. A lot of times medicines are        6   A. At the bottom of 4565 under "Plan," under
 7     entered that patients have been on in the past by     7     "Instructions: No driving. After workup will
 8     the medical assistant. I see that actually on a       8     determine if medications indicated. No treatment
 9     frequent basis, and I have to go in and delete        9     as of today."
10     them. Sometimes I forget to delete them. But,        10   Q. Okay.
11     you know, we hope most of the time it's              11   A. So many times after first seizure, we restrict
12     relatively accurate, but, again, I use my chart      12     them from driving or risky activities and
13     notes more than the summaries.                       13     evaluate them and decide before we treat. It's
14   Q. Okay. So looking at your chart notes then, I was    14     controversial whether to treat first seizure or
15     hoping we could stick with the summary just          15     not in the literature.
16     because it's all in one place, but let's go to       16   Q. That makes sense.
17     your notes.                                          17        And, by the way, you were aware of what Dr.
18   A. We could try it.                                    18     Dillard's profession was at this time that you
19   Q. No. I mean, if it's not accurate, I'd prefer to     19     met with her?
20     get accurate testimony, so let's go to then 4565.    20   A. I knew she was a professor at a university in
21   A. Okay.                                               21     Chicago.
22   Q. So this was September, your first visit with her;   22   Q. Okay. And did you know what her job duties
23     right?                                               23     involved as a professor?
24   A. That's correct.                                     24   A. I don't recall if we discussed it that day. We
25   Q. And as far as I can tell, sir -- you tell me if     25     may have.




                                                                                      9 (Pages 30 to 33)
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                                                Page 34                                                     Page 35
 1   Q. Okay. So there's -- as far as I can tell then,       1   A. In that section, that's correct.
 2     she was not prescribed, as you point out, any         2   Q. Okay. Is there another section where it is
 3     medication for treatment of the seizure at that       3     charted?
 4     point in time. Can you stay on page 4565 with me      4   A. Well, under the instructions we gave her
 5     for a moment?                                         5     limitations. No driving.
 6   A. Of course.                                           6   Q. No driving. Okay.
 7   Q. Under "History of Present Illness," do you see       7        And so I think we've talked about, Doctor,
 8     that?                                                 8     five episodes. So a grand mal seizure in
 9   A. Yes.                                                 9     September of 2017 while she was sleeping; right?
10   Q. Okay. It says -- there's a sentence near the        10     That's one?
11     bottom of that section two lines up from past        11   A. Yes.
12     medical history that says, "The patient is," and     12   Q. And then a grand mal seizure in October 2017 when
13     then it says, "Is patient able to perform ADLs."     13     she was sleeping; right?
14     Do you see that?                                     14   A. Yes.
15   A. Yes.                                                15   Q. And then the April 2018 syncope; right?
16   Q. What is that reference to?                          16   A. Yes.
17   A. The medical assistant didn't change the template.   17   Q. And then the two other episodes of jerking and
18     That's a question that the medical assistant         18     gasping for air while sleeping; right?
19     answers. So it's really just a template for them     19   A. Yes. However, I'm looking at an emergency room
20     to click on and type in. So it's really an           20     note dated 9-2017 where she went presenting to
21     irrelevant part of the chart.                        21     the emergency room status post seizure. So I'm
22   Q. Let me ask you this question, what is an ADL?       22     not sure if that's an additional one or if that
23   A. Activities of daily living.                         23     got charted as an October -- or charted in the
24   Q. So it was not charted in this particular visit      24     October visit.
25     whether she was capable of doing that or not?        25   Q. Well, I see. And what page are you looking at,
                                                Page 36                                                     Page 37
 1     sir?                                                  1   Q. And so four of those episodes occurred while she
 2   A. 4575.                                                2     was sleeping; right?
 3   Q. I see she was playing on a couch when she            3   A. Yes.
 4     apparently had a tonic-clonic-type seizure. Is        4   Q. One of those episodes occurred while she was
 5     that what you're referring to?                        5     playing on a couch; right?
 6   A. Yes.                                                 6   A. Yes.
 7   Q. And that was on September 20th of 2017?              7   Q. Okay. And then the last episode where the
 8   A. Correct.                                             8     syncope, she was reading; right?
 9   Q. Okay. And this is different than the issue           9   A. Yes.
10     reported to you in October?                          10   Q. Okay. So only one of these episodes followed a
11   A. One second, here. Bates stamp page 4613, which      11     period of time when she was reading?
12     is my October 11, 2017, note. Under history of       12   A. Okay.
13     present illness, the last paragraph, I have her      13   Q. Okay. And most of them -- four of them occurred
14     last seizure was on 10-7-17. So that's likely an     14     while she was asleep; right?
15     additional seizure.                                  15   A. Yes.
16   Q. I see. Okay. So she had two in September of         16   Q. Okay. So since we're on that October 2017 note,
17     2017, one in October of 2017, a syncope spell in     17     can you -- I see the ADL reference is again just
18     April of 2018, and then sometime between April of    18     the template?
19     2018 and January 10 of 2019, she had two other       19   A. Correct.
20     episodes of jerking movements in her sleep,          20   Q. Okay. Did she have any limitations on her at
21     gasping for air; right?                              21     that point in time?
22   A. Correct.                                            22   A. Well, no driving. I'm sure we had the discussion
23   Q. So that's six total between September of 2017 and   23     no swimming alone, no working in elevated spaces.
24     January 10th of 2019?                                24   Q. Like on top of a ladder?
25   A. That sounds accurate.                               25   A. Exactly.




                                                                                     10 (Pages 34 to 37)
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                                                Page 38                                                     Page 39
 1   Q. Yeah, okay. And then at the end of this note on      1   Q. And what do you recognize that as, sir?
 2     page 4616, it looks like she was on that date         2   A. It's my November 1, 2017, chart note.
 3     prescribed Keppra?                                    3   Q. And we haven't really talked about this. So is
 4   A. Yes.                                                 4     the chart note -- this is an electronic charting
 5   Q. Okay. And it says a 250-milligram oral tablet.       5     system; is that right?
 6     Do you see that?                                      6   A. Yes.
 7   A. Yes.                                                 7   Q. And so there are a variety of categories of
 8   Q. And so it says one to two tablets by oral route      8     information like chief complaint, history of
 9     two times per day. So that's -- if I understand       9     present illness. Do you see that?
10     that note correctly, that's 500 to 1,000             10   A. Yes.
11     milligrams per day?                                  11   Q. And those are pre-populated in the electronic
12   A. Correct.                                            12     system?
13   Q. Okay. What is a neuro-ophthalmology opinion?        13   A. Parts of it are.
14   A. A neuro-ophthalmologist is a neurologist who        14   Q. Parts of it are?
15     specializes in disorders of the visual system and    15   A. Yeah. For example, under "History of Present
16     optic nerves from neurological causes.               16     Illness," the last paragraph looks like something
17   Q. And so she had a neuro-ophthalmology exam as        17     I would have typed in.
18     well; right?                                         18   Q. The last paragraph being, "Patient was last seen
19   A. Yes.                                                19     10/11/2017"?
20   Q. And you recall that that exam was negative?         20   A. Correct.
21   A. Could you reference the page, please?               21   Q. What's everything that comes before that?
22   Q. I will. I will come back to that with a page        22   A. That's all templated.
23     number in a minute.                                  23   Q. So in that second paragraph under "History of
24        Okay. Can you go to page 4618?                    24     Present Illness" where it says, "The patient
25   A. Okay.                                               25     complains of seizure activity that includes the
                                                Page 40                                                     Page 41
 1     following symptoms: Extreme fatigue. She states       1     personally completing, Doctor?
 2     the onset of her seizures have been acute and         2   A. Well, all of those, the ones that are currently
 3     they are occurring for six weeks and they are         3     listed; cognitive, dislocated shoulder, seizure
 4     improving." That's template?                          4     and vestibular.
 5   A. Yes. I mean, it's a template where the MA will       5   Q. So these notes are your notes?
 6     change the date; six weeks. The fatigue, the MA       6   A. Yes.
 7     probably typed that part in.                          7   Q. Okay.
 8   Q. Okay. So the MA is the medical assistant?            8   A. Let me clarify one other thing. See where it
 9   A. Correct.                                             9     says date of onset?
10   Q. And is the MA with you during the visit or exam?    10   Q. On which page, sir?
11   A. No.                                                 11   A. Well, see past medical history?
12   Q. So how would the MA get the information to update   12   Q. Yes, yes.
13     or fill this in?                                     13   A. As you go over, it says date of onset, those are
14   A. Well, she's preparing the chart for me with the     14     not accurate. That's usually just when the
15     patient. Most of the time they just kind of          15     information is loaded.
16     carry the note over from last time. Take a           16   Q. Okay.
17     height, weight, and blood pressure and review the    17   A. Just in case you had questions about that.
18     medications and then move the patient on. It's       18   Q. I appreciate that. When you say when it's
19     not a long period of time spent from a detail        19     loaded, meaning when your office becomes aware of
20     perspective.                                         20     the information?
21   Q. But the part that you would complete is typically   21   A. Or actually when I type it in. If I don't go up
22     the last paragraph of this section?                  22     there and change the date, it will say that date
23   A. In this chart note, that's correct.                 23     forever.
24   Q. And then we go into past medical history. Which     24   Q. I see.
25     part of the past medical history are you             25   A. And I never -- my clinical practice is I don't go




                                                                                     11 (Pages 38 to 41)
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                                                Page 42                                                    Page 43
 1     back and say, oh, it started in October of '17.       1   Q. But in November of 2017, you thought she was
 2     So that's where the notes section is a little         2     sufficiently stable that you didn't need to see
 3     more accurate.                                        3     her for three months?
 4   Q. And the notes section is the history of present      4             MS. SCATCHELL: Objection;
 5     illness or what section?                              5     argumentative.
 6   A. If you look under this medical history here.         6   A. Well, I -- so what happens is she may have
 7   Q. Oh, I see. Okay.                                     7     appointments between this visit and the three
 8         So past medical has three columns; disease        8     months I'm requesting. My schedule books out
 9     name, date onset, and notes?                          9     three to four months in advance. So sometimes I
10   A. Correct.                                            10     will go out and grab an appointment even though
11   Q. Okay. And so the notes has the more accurate        11     she may have an appointment prior to that.
12     information as compared to the date of onset?        12     That's my usual practice.
13   A. Yes.                                                13         So in regards to your question, I don't know
14   Q. Thank you. I appreciate that. Okay.                 14     if that was I was waiting for three months or she
15         So go to please, sir, page 4622.                 15     had something in between which we can look at.
16   A. Okay.                                               16   Q. Her next visit was January 2018. So about two
17   Q. The very last entry says, "Return visit request     17     months later?
18     in/on 3 months plus or minus 2 days." Do you see     18   A. Correct.
19     that?                                                19   Q. Okay. Now in -- so why did you -- so let me ask
20   A. Yes.                                                20     you about the Keppra change here. So hang on one
21   Q. And is that something that you prepared or          21     second. So we were looking at page -- wait.
22     entered?                                             22     Page 4627. Do you see that page, Doctor?
23   A. Yeah. That's a rough estimate on when we'd like     23   A. Yes.
24     to see the patient back. The "plus minus 2           24   Q. Is that different than what we were just looking
25     days," I don't know why that's there.                25     at?
                                                Page 44                                                    Page 45
 1   A. This is the note by Dr. Misra, who was a provider    1     medication works, it's not -- it's not linear.
 2     here, who did see some of our seizure patients.       2   Q. Okay. Understood.
 3   Q. Oh, I see. Okay. And, Dr. Misra -- so you would      3   A. So Keppra XR has a time-release component to it.
 4     have had access to this information; right? This      4     So you get more stable levels throughout the day
 5     is something you would have reviewed as you were      5     as well.
 6     treating Dr. Dillard?                                 6   Q. Understood. So is there anything significant or
 7   A. More likely than not, yes.                           7     does this change in her medication indicate
 8   Q. Okay. And it looks like if you go to page 4632,      8     something about Dr. Dillard's condition?
 9     so it's near the end of Dr. Misra's note?             9   A. No. She was diagnosed with epilepsy, and it was
10   A. Yes.                                                10     determined she needs, you know, chronic treatment
11   Q. It says under medications, "Keppra XR 750 mg.       11     for her epilepsy to avoid recurrent seizures.
12     oral tab extended release." So is this moving        12   Q. So in this time period -- let me ask you this:
13     from two tablets a day to one?                       13     Did you understand that part of Dr. Dillard's job
14   A. It was moving from short-acting Keppra to a long-   14     duties involved research?
15     acting version. But that script was written          15   A. Yes.
16     before where it said one to two was a titrating      16   Q. Okay. And that her research involved publication
17     script. In other words, she was advised on how       17     and papers?
18     to increase her dose slowly. You don't just          18   A. I have a recollection of some of that, yes.
19     start someone on 1,000 milligrams twice a day.       19   Q. And that papers sometimes were presented at
20     So that's why that script looked like that. And      20     conferences, academic conferences?
21     then Dr. Misra made the decision apparently to       21   A. Yes, correct.
22     switch her to a once-a-day preparation.              22   Q. And did you understand that Dr. Dillard as part
23   Q. So the 750 once a day is about midway between the   23     of her job duties was attending conferences and
24     500 and 1,000 twice a day that you had --            24     presenting papers at conferences?
25   A. You can't -- the pharmacology of how the            25   A. Yes.




                                                                                     12 (Pages 42 to 45)
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                                                Page 46                                                     Page 47
 1   Q. And did you put any restrictions at this point in    1     recommendations very well. So with that being
 2     time on her -- well, you didn't put any               2     said, when you're being managed with epilepsy and
 3     restrictions on her work activities other than no     3     anti-epileptic medications, other than the
 4     driving at this point in time; is that right?         4     driving from six months primary seizure, we don't
 5            MS. SCATCHELL: Objection; form.                5     restrict completely. It depends on the patient.
 6   QUESTIONS BY MS. WERMUTH:                               6   Q. Okay. So as you sit here now and you think
 7   Q. You can answer.                                      7     about, okay, Dr. Dillard had three seizures in
 8   A. I think my recollection is that's correct.           8     short succession and is it safe for her to travel
 9   Q. Okay. And knowing that she had three seizures in     9     to China for work-related purposes, was this a
10     pretty short succession as of November 1, 2017,      10     discussion that you had with Dr. Dillard at the
11     did you have any concerns about her traveling        11     time?
12     outside of the country to attend conferences?        12            MS. SCATCHELL: Objection;
13   A. No. Many times patients with chronic diseases,      13     argumentative.
14     whether it be epilepsy, multiple sclerosis, even     14   A. I specifically don't recall -- or I don't recall
15     traumatic brain injury patients, I don't restrict    15     a trip specifically to China. I do have a vague
16     patients from life. They have to operate within      16     recollection that we discussed the medication
17     the limits of there -- (beeping sound). I'm          17     use, the consistency of medication use, things
18     sorry. I don't know how to turn that off.            18     that lower the seizure threshold, different
19   Q. That's okay.                                        19     activities or features in our lives that lower
20   A. Function within the limits of their disability      20     the seizure threshold in using good judgment. I
21     and their chronic diseases. She was well managed     21     do have a vague recollection of conversations
22     and had appropriate doses of Keppra.                 22     such as that. I don't recall a specific
23         Also to be honest, it depends on the             23     conversation about China.
24     patient. Dr. Dillard obviously is a bright woman     24   Q. Thank you. Okay. So then turning to your
25     and appeared to use good judgment and follow         25     January of 2018 note, which is -- I will get you
                                                Page 48                                                     Page 49
 1     the page.                                             1   Q. "Wants to become pregnant possibly in the future.
 2   A. 4637. That was Dr. Misra's. Is that the one?         2     Explained effect of AED on unborn fetus." What
 3   Q. Oh, yeah. So that's Dr. Misra again, not you,        3     is AED?
 4     that saw her that day; is that right?                 4   A. Anti-epileptic drug.
 5            MS. SCATCHELL: Objection; vague.               5   Q. The Keppra?
 6   Q. I'm sorry, Doctor. I didn't hear your answer.        6   A. Yes.
 7   A. January 3, 2018, is a chart entry completed by       7   Q. Okay. And is it safe to take Keppra while you're
 8     Dr. Misra.                                            8     pregnant?
 9   Q. Did you see -- did you have a visit with Dr.         9   A. Of all the anti-epileptic medications Keppra is
10     Dillard on that day as well?                         10     the safer one to be used.
11   A. No.                                                 11   Q. And at some point while you were treating her,
12   Q. Okay. And so on this page, it says, "The patient    12     Dr. Dillard did become pregnant?
13     is able to do activities of daily living with        13   A. Yes.
14     limitations and patient does not drive at this       14   Q. And during that period of time, she treated with
15     time." Do you see that?                              15     Keppra?
16   A. Yes.                                                16   A. Yes. I think there was a period of time
17   Q. Was that her limitation at the time; no driving?    17     initially, either before she became pregnant or
18   A. Well, I don't know what Dr. Misra told her, but     18     early in the pregnancy, we reduced the dose a
19     what's documented implies that the limitation was    19     bit.
20     not driving.                                         20   Q. Okay. Did it ever come to your attention that
21   Q. And then if you see on page 4638.                   21     Dr. Dillard wasn't following the recommended
22   A. Yes.                                                22     dosages that you had prescribed or that Dr. Misra
23   Q. There's a note sort of just above where it says     23     had prescribed?
24     "HX."                                                24             MS. SCATCHELL: Objection;
25   A. Yes.                                                25     argumentative.




                                                                                     13 (Pages 46 to 49)
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                                               Page 50                                                     Page 51
 1   QUESTIONS BY MS. WERMUTH:                              1     put a Q.
 2   Q. You can answer, Doctor.                             2   Q. Got it. Thank you.
 3   A. In the course of my treatment of Dr. Dillard, I     3         So does this refresh your memory as to
 4     have no recollection of her ever deviating from      4     whether Dr. Dillard wasn't following the
 5     the care and treatment that we recommended.          5     recommended dosage at some points in time?
 6   Q. Can you turn to page 4824. Is that your             6   A. Well, I don't think that's what that represents.
 7     electronic signature on that page, Doctor?           7     I think we had a previous discussion about
 8   A. Hang on one second. Still working on it.            8     reducing dosage either during pregnancy, before
 9   Q. I'm sorry. It's a big file.                         9     pregnancy, or Dr. Dillard was always very
10   A. Yes.                                               10     concerned about -- we had multiple discussions
11   Q. That's your electronic signature?                  11     about her just taking medication. Many times,
12   A. Yes.                                               12     especially very bright people tend to feel that
13   Q. And this relates to a visit on May 5th of 2020?    13     any kind of medication is going to hurt them or
14   A. Correct.                                           14     their body. So I think it's representative of
15   Q. And under "Instructions," do you see where it      15     one of those things. And, again, I'll state
16     says, "She reports taking only one Keppra XR 500    16     again. Not once during my course of treatment
17     instead of two at HS"?                              17     was I ever concerned that she was inappropriate
18   A. Correct.                                           18     in following our recommendations.
19   Q. What is "HS," first of all?                        19   Q. Okay. All right. Now I'm going to take us back
20   A. Bedtime.                                           20     in time again, sir -- I apologize -- to 4648.
21   Q. Oh. What does HS stand for?                        21     Are you there or are you still getting there?
22   A. That's Latin for -- I forgot what it was. HS       22   A. February 8, 2018.
23     something -- it means bedtime.                      23   Q. Right. Okay. And on this date in 2018, she saw
24   Q. Okay.                                              24     you, not Dr. Misra; is that right?
25   A. And the Q before it means every, if you were to    25   A. Yes.
                                               Page 52                                                     Page 53
 1   Q. Okay. And under history of present illness is       1   Q. Don't apologize. There's a lot of documents
 2     there anything that you wrote?                       2     here.
 3   A. The last paragraph, "Patient was last seen...."     3   A. Oh, yes, on two different pages. On 4655 at the
 4   Q. And it says, "She has experienced an increase in    4     top, it says, "Consider after pregnancy."
 5     anxiety." Were you -- you had mentioned earlier      5   Q. Where are you seeing that?
 6     that one of the diagnoses you made was general       6   A. Oh, oh, I see. Okay. And then also on 4657, you
 7     anxiety disorder or GAD, I think?                    7     can see I actually discontinued it.
 8   A. Yes.                                                8   Q. Okay. So you had her on that for just a month,
 9   Q. And were you treating her for anxiety as well?      9     from February to March of 2018?
10   A. Yes.                                               10   A. Correct.
11   Q. Did you give her any medication for anxiety?       11   Q. And what was the reason for discontinuing it?
12   A. On this day I started her on sertraline, generic   12   A. The risks during pregnancy.
13     Zoloft.                                             13   Q. Was she pregnant at this time?
14   Q. I see. And did she take that for any period of     14   A. I don't recall if she was pregnant at that time
15     time?                                               15     or was trying to get pregnant.
16   A. It looks like in the notes, Bates stamped page     16   Q. Okay. The two pages you just referred me to are
17     4655, the top line, "Consider after pregnancy."     17     part of your March 5, 2018, note; is that right?
18     So I don't recall on that day. We can go through    18   A. Yes, that's correct.
19     the details of the note. But if she was pregnant    19   Q. And on that date, she met with you or had a visit
20     or trying to get pregnant, many times               20     with you; correct?
21     obstetricians do not like patients on               21   A. Correct, yes.
22     serotonin-type reuptake medications.                22   Q. And then under history of present illness, is any
23   Q. I'm sorry. What page is that, Doctor? Did you      23     of that prepared by you?
24     say 4655?                                           24   A. Which page are you referencing?
25   A. I apologize.                                       25   Q. So that first page of your March 5, 2018, note.




                                                                                    14 (Pages 50 to 53)
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                                                Page 54                                                     Page 55
 1     So there's the history of present illness on page     1   Q. Okay. So a third-party carrier might see that
 2     4654.                                                 2     and not recognize that that's a template; right?
 3   A. Yes. The patient was last seen 2/12/18. She is       3   A. Correct. And that's why under the current model
 4     here for a follow-up visit.                           4     since electronic health records, we're
 5   Q. Okay. And then the rest of this was template         5     communicating frequently with outside reviewers
 6     information?                                          6     and also dictating and writing letters in support
 7   A. Under HPI.                                           7     or not in support of a certain disability.
 8   Q. Okay. And so would you agree with me that if a       8   Q. Understood. Thank you.
 9     third party is reviewing this, they might not         9         Okay. But at first read, a carrier might
10     appreciate that those prior paragraphs are           10     read that differently than how it's intended and
11     templates?                                           11     you would have to follow up then?
12   A. So that's why usually when we get to deposition     12             MS. SCATCHELL: Objection; form.
13     in my personal injury or medical malpractice or      13   A. Yeah, but so what happens now is at the advent of
14     the times I've been deposed or gone to court, I      14     electronic health records, carriers recognize
15     explain that.                                        15     this and independent reviewers and then
16   Q. But like, for example, if a short-term disability   16     communicate with the treating physician either by
17     provider was looking at notes to determine           17     letter or by phone call. I complete these calls
18     whether or not she's disabled, that provider is      18     very frequently and write many letters across my
19     potentially going to look at this entire note and    19     patient population. And that tends to be the
20     see things like her symptoms are improving. So       20     standard practice now of disability reviewers.
21     do you see in the second paragraph, "The onset of    21   Q. Okay. That's helpful. Thank you.
22     her seizures have been acute and they are            22         If you go to page 4657. This is the same
23     occurring for six weeks and they are improving"?     23     visit?
24     Do you see that?                                     24   A. Yes.
25   A. Correct.                                            25   Q. Under "Plan Instructions." Do you see that?
                                                Page 56                                                     Page 57
 1   A. Yes.                                                 1     had been seizure free for several months and
 2   Q. It says, "She wants to decrease Keppra XR to 500     2     wanted to decrease her dosage that led you to
 3     milligrams per day and see if she remains seizure     3     believe that she couldn't do the work that she
 4     free, as she wants to become pregnant." Do you        4     had been doing for the last several months?
 5     see that?                                             5   A. There's a couple of things. So in a stable
 6   A. Yes.                                                 6     patient, when you reduce the medication dose, it
 7   Q. So as of March of 2018, she had been seizure free    7     runs the risk of recurrent seizure. We had a
 8     since the prior October?                              8     discussion about that and certainly no driving
 9   A. Correct.                                             9     allowed. Also we had an abnormal ambulatory EEG
10   Q. So as of March of 2018, she had been seizure free   10     suggesting a propensity for her to have a
11     for several months and she wanted to decrease her    11     seizure. So I think at that time, and, again, I
12     Keppra dosage?                                       12     don't recall the length of that time that I
13   A. Yes.                                                13     didn't want her to work or drive, but because of
14   Q. And she was working during that period of time?     14     those risks, that was my decision.
15     Between September 2017 and March of 2018 she was     15   Q. Okay. But why in March of 2018 when she had
16     working; correct?                                    16     already been working for several months without a
17   A. Yes, I think you're correct.                        17     seizure was she unable to work?
18   Q. Okay. Now on this date, even though she had been    18   A. Because I just explained the risk of seizure in
19     seizure free since October and she wanted to         19     reducing an epileptic when you reduce a dose will
20     decrease her Keppra, you also write here, "She is    20     lower the seizure threshold, depending on her
21     unable to work as a professor currently due to       21     metabolism.
22     seizure and inability to drive." Do you see          22   Q. And when was the ambulatory EEG?
23     that?                                                23   A. October 2017.
24   A. Yes.                                                24   Q. Okay. So despite the ambulatory EEG, she worked
25   Q. So what happened in this visit even though she      25     from October 2017 to March of 2018?




                                                                                     15 (Pages 54 to 57)
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                                                Page 58                                                    Page 59
 1   A. I wasn't implying that the ambulatory EEG allows     1     of a potential that she's going to have a
 2     work. What I'm stating is that the ambulatory         2     recurring seizure in March of 2018 that you take
 3     EEG showed a structural abnormality in an             3     her out of work?
 4     epileptogenic focus, potential epileptogenic          4             MS. SCATCHELL: Objection;
 5     focus. So in a patient who is predisposed to          5     argumentative, form.
 6     seizures, anytime you lower the dose increases        6   A. I'll explain it again. I have no problem
 7     the risk of seizure.                                  7     explaining it again. In a patient with an
 8   Q. So it was the decrease in the dosage of Keppra       8     abnormal EEG with a potentially epileptogenic
 9     that caused you to conclude that she was unable       9     focus, who is stable on a medicine, when you
10     to work as a professor --                            10     reduce the medicine, there is a risk that there
11   A. Correct.                                            11     could be a recurrent seizure.
12   Q. -- based on the history?                            12   Q. Okay. And so the reduction in the medication is
13   A. That's correct. And her inability to drive.         13     the catalyst --
14   Q. Right. But she had not been able to drive and       14   A. Yes.
15     had been working since at least September of         15   Q. -- for your conclusion that she cannot work?
16     2017; right?                                         16   A. Correct.
17   A. Correct.                                            17   Q. And the reduction in the medication is at her
18   Q. So what about her not driving at this point in      18     request?
19     time made her unable to do her job?                  19             MS. SCATCHELL: Objection. Misstates
20   A. Well, that's a continuation of the restriction.     20     testimony.
21     So I don't -- so don't tie the two together. I       21             THE WITNESS: Go ahead. I'm sorry.
22     think the main issue here is the potential for       22             MS. SCATCHELL: I said objection.
23     having a seizure and the reduction of the dosage.    23     Misstates testimony.
24   Q. Okay. So even though she's seizure free for         24   QUESTIONS BY MS. WERMUTH:
25     almost six months, you think that there's enough     25   Q. You can still answer, Doctor.
                                                Page 60                                                    Page 61
 1   A. It's a discussion in which she had with me. She      1     Health Condition form. Do you see that?
 2     didn't unilaterally decide.                           2   A. Yes.
 3   Q. No, I know. I said at her request. I didn't say      3   Q. Okay. And then the bottom of the page, did you
 4     at her decision. So it was her request to             4     complete that, Doctor?
 5     decrease the Keppra?                                  5   A. That's my signature. Usually we have a medical
 6   A. Correct. Because of the potential risks in her       6     records person who would fill in the demographic
 7     mind to a fetus.                                      7     information and some of the chart information
 8   Q. Okay. Would you turn to page 4661.                   8     before we review it.
 9   A. Okay.                                                9   Q. So you signed this after reviewing this document
10   Q. Do you recognize this document, Doctor?             10     and the chart; is that right?
11   A. Well, it's a document from Liberty Mutual           11   A. It looks like it, yes.
12     Insurance.                                           12   Q. Okay. So on the next page, do you know in
13   Q. Okay. And is that your signature on the bottom      13     paragraph 1, "Medical Facts/Treatment," do you
14     of the page?                                         14     know who completed that?
15   A. Yes.                                                15   A. It would have been a staff member.
16   Q. And the top part of this page where there's         16   Q. At your office?
17     handwritten notations with a Leave ID number and     17   A. Yes.
18     employee name, that was not completed by you. Am     18   Q. And then section 2, do you see continuous leave?
19     I right?                                             19            MS. SCATCHELL: Anna, I don't mean to
20   A. Correct.                                            20     interrupt you, but are we still on 4661? I'm
21   Q. Do you know who completed the top portion of this   21     just trying to make sure that we're on the same
22     form?                                                22     page.
23   A. No.                                                 23            MS. WERMUTH: 4662, the next page.
24   Q. Okay. And this form is called a Certification of    24            MS. SCATCHELL: Okay, okay.
25     Health Care Provider For Employee's Serious          25            MS. WERMUTH: I'm sorry, Gia. I




                                                                                     16 (Pages 58 to 61)
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                                               Page 62                                                     Page 63
 1     thought I said the next page. I'm sorry if I         1     conferences and participate in continuing
 2     didn't.                                              2     education. No driving." Do you see that?
 3             MS. SCATCHELL: I think you did. I            3   A. Yes.
 4     think -- yeah. It's getting late, so I think I       4   Q. Did you write that note?
 5     just --                                              5   A. That's not my handwriting, but it would have been
 6   QUESTIONS BY MS. WERMUTH:                              6     under the direction of myself.
 7   Q. Okay. Paragraph 2, section (2A) is not completed    7   Q. So you were comfortable with her -- she needed to
 8     but (2B) is completed. Do you see that?              8     be relieved from all work duties except for
 9   A. Yes.                                                9     conferences?
10   Q. And did you complete (2B)?                         10   A. That's what we wrote there.
11   A. I don't recall.                                    11   Q. And did you talk to her about any restrictions in
12   Q. But you did sign this document. So you approved    12     or around travel or conference participation or
13     the completed -- whoever completed that, you        13     anything like that?
14     approved what was inputted in there; right?         14   A. So, we had discussions obviously about driving,
15   A. Yes.                                               15     which we document because of medical liability,
16   Q. Okay. So at this point in time you're suggesting   16     liability risk, but we've had multiple
17     she needs to be off work for six months; correct?   17     discussions through the course of treatment about
18   A. Yes. We usually pick either a three- or            18     situations that lower the seizure threshold.
19     six-month window.                                   19   Q. What does that mean; lower the seizure threshold?
20   Q. Okay. And then section 3, it says, "Absence From   20   A. So things, for example, like excessive alcohol
21     Work: Due to incapacity caused by possible          21     use increase your risk of seizure or lower the
22     episodic flare-ups." Do you see that?               22     seizure threshold.
23   A. Yes.                                               23   Q. Okay. So lowering the seizure threshold means
24   Q. And then there's this note that says -- if I'm     24     something that would increase the risk of
25     reading it correctly, "Patient can only attend      25     seizure?
                                               Page 64                                                     Page 65
 1   A. Correct.                                            1   A. No. I've never seen this form. Actually I've
 2   Q. Is travel something that would increase the risk    2     never seen it in my office. I don't know who's
 3     of seizure?                                          3     using it.
 4   A. Not in and of itself, no.                           4   Q. Okay. So you don't know who prepared this
 5   Q. Would overseas travel be something that would       5     document?
 6     increase the risk of seizure?                        6   A. No.
 7   A. Not in and of itself.                               7   Q. And do you see at the bottom where it says No.
 8   Q. Would preparing to present a paper to a group of    8     2B, and then it's scratched out and then it says,
 9     academics be something that would increase the       9     "Needs continuous leave with conference travel
10     risk of seizure?                                    10     approval. Needs notes." Do you see that?
11   A. Not in and of itself.                              11   A. Yes.
12   Q. Would actually presenting the paper to a large     12   Q. So do you recall having a conversation with Dr.
13     group of academics be something that would          13     Dillard where she told you she needed leave but
14     increase the risk of seizure?                       14     she wanted to still be able to go to conferences?
15   A. Not in and of it -- by itself.                     15   A. I think it was in a broader context. I don't
16   Q. And then the next page, which is page 4663,        16     recall a specific phone call or meeting about
17     there's an Accident/Injury Questionnaire. Do you    17     that, but I do have a vague recollection that we
18     see that?                                           18     did discuss travel and continuing to participate
19   A. Yes.                                               19     in some capacity as a professor.
20   Q. And there's some words at the top that are         20   Q. Okay. So she wasn't completely disabled from all
21     scribbled out. Do you see that?                     21     of her work duties in March through September of
22   A. Yes.                                               22     2018?
23   Q. Do you know what that notation is?                 23            MS. SCATCHELL: Objection. Calls for a
24   A. "Medical assistant."                               24     legal conclusion.
25   Q. Do you know who wrote that?                        25   A. Well, referencing the discussion we had earlier




                                                                                    17 (Pages 62 to 65)
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                                                Page 66                                                     Page 67
 1     in the deposition about an hour and a half ago,       1   A. Yes.
 2     you know, when I have patients with chronic           2   Q. So what prompted -- is that your signature on
 3     diseases, I -- based on the patient and who they      3     this note, Doctor?
 4     are, they work within the limits of their             4   A. Yes.
 5     restrictions. However, people have to live, and       5   Q. And did you prepare this note?
 6     I try to allow patients to live within their --       6   A. Yes.
 7     to participate as they're capable, especially         7   Q. And you had seen her on March 5th of 2018; right?
 8     when patients use good judgment.                      8   A. Yes.
 9         Dr. Dillard certainly -- I don't recall any       9   Q. So between March 5th of 2018 and March 15th of
10     conversation I've ever had with her where she        10     2018, what prompted this note that you prepared
11     didn't want to work at all. She always wanted to     11     for her?
12     work and teach and do her research, and she          12   A. I suspect we had the conversation about
13     seemed very diligent in her career. And, again,      13     restrictions and what she wanted -- you know, was
14     in situations like that, it's kind of a gestalt      14     capable of doing at work and staying engaged in
15     of allowing patients to live their life. We          15     some capacity at work. So what likely happened
16     don't restrict -- it's never a hundred percent or    16     is that she needed it memorialized. So there
17     zero.                                                17     must have been a phone call or -- and asked me to
18   Q. No, I understand. So my question is only this,      18     summarize the conversation that related to
19     Doctor, when you filled out these forms in March     19     travel.
20     of 2018, there were certain work activities that     20   Q. Thank you. Would you turn to page 4680. While
21     you had concluded she was disabled from, but         21     you're getting there, Doctor, do you know if she
22     there were other work activities that you had        22     was, in fact, given time off of work as a result
23     concluded she could continue to perform?             23     of your medical certification?
24   A. Yes.                                                24   A. I don't recall as I sit here at this moment.
25   Q. Okay. Thank you. Would you turn to page 4659.       25   Q. Okay. No problem.
                                                Page 68                                                     Page 69
 1        All right. Page 4680.                              1     6, 2018, I adjusted the dose to the XR 500.
 2   A. Yes.                                                 2   Q. And so here in April, you are increasing it again
 3   Q. And this is an April 17, 2018, visit with you; is    3     to XR 750. And I'm sorry. I'm looking at page
 4     that right?                                           4     4683.
 5   A. Correct.                                             5   A. No, that's correct. So we went back up.
 6   Q. And, again, under History of Present Illness can     6   Q. Okay. So as you had suggested earlier, there was
 7     you tell me which portion of that you prepared?       7     an increased risk of seizure if you adjusted her
 8   A. "Patient was last seen 3/5/18."                      8     medication down. That happened, and so you
 9   Q. Okay. And it says, "She states she fainted while     9     adjusted it back up again?
10     reading last week." Do you see that?                 10   A. That's correct.
11   A. Yes.                                                11   Q. And then on page 4683 -- hang on. Let me see if
12   Q. So this was the April 18th episode of syncope;      12     that's right.
13     right?                                               13         Oh, under "Plan" and then "Instructions" on
14   A. Yes.                                                14     that page.
15   Q. And on page 4681 in the section on seizure it is    15   A. Yes.
16     described as a spell of syncope; right?              16   Q. There's a note here that says -- do you see where
17   A. Yes.                                                17     it says, "Filled out Chicago IVF form"?
18   Q. And then it says, "Needs to take Keppra BID and     18   A. Yes.
19     will follow." What does that mean?                   19   Q. Is that note prepared by you?
20   A. Take twice a day.                                   20   A. Probably.
21   Q. So at this point in time -- well, so in March,      21   Q. And there's a sentence that reads, "She had an
22     had you decreased her Keppra as she had asked?       22     additional spell which statistically was a
23   A. Well, at this visit before we increased it up,      23     seizure." Do you see that?
24     she was on XR 750, so it looks like -- hang on.      24   A. Yes.
25     Let me take a peek here. It looks like on March      25   Q. What does that mean?




                                                                                     18 (Pages 66 to 69)
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                                                Page 70                                                     Page 71
 1   A. It was probably where -- my recollection is that     1     right, sir?
 2     it's likely that I was referencing the syncopal       2   A. Correct.
 3     spell. I mean, we talked about that earlier as        3   Q. And under "History of Present Illness," can you
 4     well, so in a patient with epilepsy, a spell like     4     tell me what you prepared there?
 5     that is by definition a seizure.                      5   A. "Patient was last seen," that paragraph.
 6   Q. And when she had this additional seizure, at that    6   Q. The very last paragraph in that section.
 7     point in time did you say to her maybe it's not a     7         On 4692, there is a note -- the very bottom
 8     good time for you to travel to Italy to present a     8     of page 4692, there's a section that reads
 9     paper?                                                9     "Plan." Do you see that, Doctor?
10             MS. SCATCHELL: Objection;                    10   A. Yes.
11     argumentative, assumes facts not in evidence.        11   Q. And then under "Plan" there is another header
12             MS. WERMUTH: I'll strike it.                 12     that says "Instructions." Do you see that?
13   QUESTIONS BY MS. WERMUTH:                              13   A. Yes.
14   Q. Doctor, let me ask you this question: After she     14   Q. So did you prepare that note?
15     had this additional seizure because of her           15   A. Yes.
16     adjustment to the medication going down, did you     16   Q. Okay. So it says, "She's unable to read without
17     talk to her about maybe now is not a good time       17     onset of dizziness followed by intermittent loss
18     for you to be traveling overseas?                    18     of consciousness." Do you see that?
19             MS. SCATCHELL: Same objection.               19   A. Yes.
20   QUESTIONS BY MS. WERMUTH:                              20   Q. Now as I understand it, I'm aware of the one
21   Q. You can answer.                                     21     reported incident, the April 2018 syncope, that
22   A. I don't recall.                                     22     was -- that followed her doing some reading, but
23   Q. Okay. If you would go to 4689.                      23     this seems to suggest there were more episodes of
24   A. Yes.                                                24     that. Am I missing something, sir?
25   Q. So you met with her on May 1st of 2018; is that     25   A. Sure. So we made another diagnosis of vestibular
                                                Page 72                                                     Page 73
 1     dysfunction, which is a secondary cause or            1     which helps people stay upright. It keeps us
 2     another cause of episodic dizziness.                  2     from getting -- walking on two legs as opposed to
 3   Q. Okay.                                                3     four limbs. It allows us to walk without moving
 4   A. This started after the onset of one of her           4     our heads like a duck or a bird, and it's this
 5     seizures. So there are something called               5     complex pathway that has developed over evolution
 6     vestibular seizures. And if you look above            6     that encompasses brain, brain stem, the
 7     "Plan" where it says "Vestibular dysfunction,"        7     vestibular part of the nerve or vestibular nerve
 8     she will get these episodic intermittent dizzy        8     or inner ear and the upper cervical spinal
 9     spells "worse in a.m. or with stress or reading,"     9     region.
10     which is an eye-movement-induced and visual-         10   Q. And in this note above plan where you pointed us
11     induced episode, which will also lower the           11     to the vestibular dysfunction, there's a note
12     seizure threshold.                                   12     that says -- that appears to read that the
13   Q. And so you as a result of that, her reports to      13     dizziness is aggravated by the Keppra; is that
14     you that she would experience dizziness, you sent    14     right? Am I reading that right?
15     her for the neuro-ophthalmology opinion; right?      15   A. Yeah. She wasn't sure if it was aggravated by,
16   A. Just to examine eye movements to see if there was   16     so I put that in there as something we want to
17     anything in the eye movement or what we call         17     consider, depending on how she responded to the
18     vestibulo-ocular reflexes that needed additional     18     vestibular rehabilitation.
19     treatment other than the vestibular                  19   Q. Okay. So that was May of 2018. If you would go
20     rehabilitation, which I had already ordered.         20     to 4703 now.
21   Q. Okay. And she was already participating in that;    21   A. Yes.
22     correct?                                             22   Q. She visited with you on June 5 of 2018. Do you
23   A. Yes.                                                23     see that?
24   Q. What does vestibular mean?                          24   A. That's correct.
25   A. Vestibular is a complex neuroanatomical system      25   Q. Is there any note in "History of Present Illness"




                                                                                     19 (Pages 70 to 73)
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                                                Page 74                                                     Page 75
 1     that was prepared by you, Doctor?                     1     at least felt like she was able to go back to
 2   A. It looks like -- I'm not sure this was me or my      2     work; is that fair?
 3     medical assistant, but "Patient last OV was on        3   A. Yeah. I found her always wanting to work or do
 4     5/1/18. Here for follow-up visit. She has             4     something to participate. She wasn't my typical
 5     continued therapy. She is still experiencing          5     patient who has chronic disease or chronic
 6     sensitivity to light."                                6     illnesses that tried to get out of work. So it
 7   Q. Okay. She was referred to Dr. Singh. Who is Dr.      7     was a constant battle back and -- not battle. I
 8     Singh?                                                8     don't want to use that word. It was a constant
 9   A. He's a Ph.D. neuropsychologist. Through the          9     discussion back and forth of using good judgment,
10     course of treatment, it's documented somewhere in    10     which she had, but also applying some caution to
11     here, she was complaining of some cognitive          11     the decisions we made, including whether it was
12     issues and some forgetfulness and memory issues.     12     medication, work, things like that.
13     So I wanted to see if we could differentiate out.    13   Q. Okay. And so you agree that she could return at
14     Many times patients with recurrent seizures and      14     that point?
15     spells can have memory issues. Many times the        15   A. Well, I gave her significant criteria in which
16     medications are confounding to the memory issues,    16     she could return to work.
17     as well as amongst other things. So I wanted to      17   Q. Okay. So let's look at that. Would you turn to
18     have him evaluate her to see if we could tease       18     page 4706.
19     out. Sometimes you can't, but to see if there        19   A. Correct.
20     was anything we could focus treatment on.            20   Q. So you said she could work with temporary
21   Q. And then the note reads, "Patient would like to     21     restrictions; right?
22     be able to go back to work." Do you see that?        22   A. Yes.
23   A. Yes.                                                23   Q. So you did not review these restrictions as being
24   Q. Okay. So within two months of that, less than       24     something that would carry her through the rest
25     two months of that episode in April of 2018, she     25     of her career; right?
                                                Page 76                                                     Page 77
 1   A. Well, as of this note, I qualified it as             1   Q. Okay. So she could read more than an hour in a
 2     temporary.                                            2     day. She just needed to break after each hour?
 3   Q. Okay.                                                3   A. Yeah. It's not clear in the note, so I don't
 4   A. I mean, as we go through the process, would it       4     have a direct recollection of how we broke that
 5     become more permanent? I didn't know at the           5     up through the day.
 6     time. So it would be poor form for a specialist       6   Q. And is this something that she suggested to you
 7     to say, "Oh, no, you can't do this ever again."       7     or you suggested to her?
 8   Q. Okay. Fair enough.                                   8   A. No. I mean, it was never she told me or I told
 9         So the first one says, "Limited focus             9     her. I mean, we have -- the way my usual
10     writing and reading greater than one hour." I        10     practice and scope of practice is I work with
11     don't really understand that phrase. Tell me         11     patients, especially when they show good
12     what you're conveying there and how you came to      12     judgment, they understand their job better than I
13     that conclusion?                                     13     do. Right? I don't -- I incorporate what the
14   A. So I'll reference back to some of the reading and   14     neurological syndromes that they have, along with
15     the cause of the dizziness while reading. So         15     assessing their judgment on what they feel they
16     what I want her to do is limit her focus and         16     can do.
17     writing. I know it's not grammatically correct.      17   Q. And looking at item 4, so you understand -- let
18     So writing and reading greater than an hour. So,     18     me ask you this first, Doctor: As a professor,
19     in other words, I wanted her to make sure that       19     you understand that one of her duties is
20     she was able to do finite periods of work. So        20     teaching; right?
21     limit it to one hour requiring focus. Reading        21   A. Yes.
22     and writing with limited focus.                      22   Q. Okay. And so in order for her to perform the
23   Q. So like no more than one hour at a time? That's     23     essential functions of her job, she has to teach;
24     what you mean by greater than one hour?              24     right?
25   A. Correct. Without a break.                           25            MS. SCATCHELL: Objection. Calls for a




                                                                                     20 (Pages 74 to 77)
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                                                Page 78                                                    Page 79
 1     legal conclusion.                                     1     that?
 2   A. Well, I don't know what the requirements of her      2   A. Yes.
 3     job are, but in a usual sense, professors teach,      3   Q. And by that do you mean an extension in her
 4     they do research, they write papers. I don't          4     tenure clock?
 5     know what ratios or expectations were required by     5   A. Well, I don't know anything about tenure and
 6     DePaul University, but I have a general sense of      6     where she was in the tenure track. However, due
 7     what a professor does. Do I have a specific           7     to her neurological condition and her clinical
 8     sense of what her requirements were? No.              8     state, it's almost like a kid who has an
 9   Q. But you did understand that she had an obligation    9     executive processing disorder, they need extended
10     to teach classes?                                    10     time, class notes, et cetera.
11   A. Well, yeah, because I have something in here she    11   Q. And do you know what time obligations or what
12     can teach online classes.                            12     time restrictions were put on Dr. Dillard
13   Q. So how is it that you reached that conclusion       13     vis-a-vis her research agenda and publications?
14     about online classes?                                14   A. No.
15   A. I think my vague recollection is that after -- we   15   Q. So you're not sure if that would -- if item 5
16     had a long discussion about this. Is that the        16     would require like an extension to the time that
17     stimuli in an environment where she's teaching an    17     she would need to go prepare her case for tenure?
18     online class versus a live class is significantly    18             MS. SCATCHELL: Objection. Asked and
19     different.                                           19     answered. Form.
20   Q. Okay. And did she tell you whether or not DePaul    20   A. Again, I don't know what this had to do with
21     had any requirements around online teaching          21     tenure other than the fact she was a professor,
22     versus in-person teaching?                           22     and we must have talked about her research and
23   A. I don't recall that that was a discussion.          23     publications, and I was of the opinion based on
24   Q. And then you say, "Additional time to develop       24     her medical condition, neurological condition,
25     research agenda and publications." Do you see        25     that she needs more time than she would have
                                                Page 80                                                    Page 81
 1     prior to her diagnosis of epilepsy.                   1     make sure, look, we're trying to relax
 2   Q. All right. Item 6: "May need help with service       2     restrictions. We have to do a trial basis and
 3     committee alternate." What do you mean by             3     let's see. If I can relax them more, great. But
 4     "service committee alternate"?                        4     if it doesn't work, then we need to restrict
 5   A. That's something she advised me on, that she         5     them.
 6     was -- apparently needed help in this committee.      6   Q. Right. So you understand that restrictions and
 7     You know, I don't recall exactly what we spoke        7     accommodations can be trial and error; right?
 8     about, but she said she may need help with that,      8     Like you have to try things out and see if they
 9     and, in fact, we put may. Not did. So I think         9     work? You would agree with that?
10     we left that up to a judgment call is my             10   A. As a general statement, yes. A lot of times it's
11     recollection.                                        11     circumstantial.
12   Q. Okay. So let me ask you that same question          12   Q. Understood. Let me ask you this question:
13     because it says, "She may be able to teach," so      13     Knowing that teaching is one of her job
14     using that same "may" construction, in item 4 it     14     responsibilities, when you say she may be able to
15     says, "She may be able to teach online classes."     15     teach online classes, does that mean she can't
16     Tell me what you mean by that.                       16     teach any other kind of classes but maybe she can
17   A. Well, someone who is able to do something and may   17     teach this but maybe she can't teach at all?
18     be able to do something before we actually know.     18     What exactly are you saying with that sentence?
19     I always like to say may be able. I always like      19   A. Well, right now it says may be able to teach
20     my patients to try if that's what's appropriate.     20     online classes.
21     I've learned over 30 years of doing this that        21   Q. So was there any restriction -- I don't see any
22     employers, et cetera, and work comp companies, if    22     reference in here to in-person classes. So are
23     you write a definitive, then my patients have        23     you saying she can't --
24     been harmed in many ways over the years both in a    24   A. Oh, oh, I see your question. Yeah. No, no. I
25     job situation and personally, so I always like to    25     wouldn't say in-person is fine but may be able to




                                                                                     21 (Pages 78 to 81)
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                                                Page 82                                                     Page 83
 1     teach online. It's the reverse. So, yeah, my          1     You come to a fork in the road and you take the
 2     implication there is I don't want her in the          2     best path.
 3     classroom at this point in time in a lecture          3   Q. Did you send these instructions to DePaul
 4     hall.                                                 4     University?
 5   Q. Okay. So what you're saying is she can't teach       5   A. If they were under -- I don't recall if there was
 6     at all but maybe she can teach online?                6     a specific note sent, but when the patient gets
 7             MS. SCATCHELL: Objection. Misstates           7     their printout when they leave, the instruction
 8     his testimony.                                        8     sections are on a document with our heading. So
 9   A. I'm releasing her to attempt to teach online         9     I don't know if she provided them or if one of my
10     classes as an initial event.                         10     staff members provided them to the university.
11   Q. Okay. But if she couldn't teach online, then        11   Q. Okay. Can you go to the next page, which is page
12     your default would be she can't teach at all?        12     4708.
13     I'm just trying to understand if she could teach     13   A. Yes.
14     at all based on this instruction?                    14   Q. All right. So this is a DePaul University form.
15             MS. SCATCHELL: Objection; asked and          15     It says "Office of Human Resources - Employee
16     answered.                                            16     Relations ADA Accommodation - Healthcare Provider
17   A. What I'm stating is will attempt to see if she      17     Certification." Do you recognize that?
18     can teach online. If she were to come back to me     18   A. Yes.
19     and say, "I can't," then we would have another       19   Q. And if you go to the last page of this record,
20     discussion about what she's able to do. I'm not      20     which is 4710, do you see that page?
21     going to say right now if she couldn't teach         21   A. Yeah.
22     online, then she could teach four minutes a day      22   Q. Okay. Is that your signature, Doctor?
23     or eighteen minutes a class. You know, I don't       23   A. Yes.
24     know. I mean, that's why we started with this.       24   Q. So did you complete this form and submit it on
25     Basically it's like a fork in the road. Right?       25     her behalf?
                                                Page 84                                                     Page 85
 1   A. Well, it's just one, two, three -- three check       1   Q. Okay. So her major life activities that you say
 2     boxes that were checked, yes.                         2     were limited were working and driving, and I
 3   Q. Right. So I see going back to page 4708, to your     3     don't really know enough about the IVF situation,
 4     point, there's a check box and you say yes; she       4     but no IVF, no driving, and limitations on your
 5     has a physical or mental impairment. And then it      5     ability to work?
 6     says, "If yes, please describe the nature and         6            MS. SCATCHELL: Objection. Misstates
 7     severity of the impairment." But I don't see any      7     his testimony. Calls for a legal conclusion.
 8     description here. Any reason why you didn't           8   QUESTIONS BY MS. WERMUTH:
 9     complete that?                                        9   Q. Did I state that correctly, Doctor?
10   A. I was just asked to do check boxes, I guess.        10   A. Well, partially in work, yes, that's correct.
11   Q. So with number 2, it says, "Does the impairment     11     For example, I have in here she needs to wear
12     substantially limit a major life activity?" And      12     sunglasses indoors. I guess that impacts her at
13     you checked the box yes. Do you see that?            13     work. But the light, sensitivity to light
14   A. Yes.                                                14     indoors from the types of lighting could be an
15   Q. And then it asks you to describe her limitations    15     issue.
16     and what major life activities were limited, but,    16        Dizzy. Remove herself from situations when
17     again, it's blank.                                   17     she becomes dizzy due to overstimulation. That's
18   A. Correct.                                            18     not necessarily isolated to a work environment.
19   Q. As you sit here today, can you tell me what major   19     That could be a movie theater. If she enjoys
20     life activities were substantially limited in the    20     watching movies, she's not going to be -- you
21     middle of 2018 for Dr. Dillard?                      21     know, I want her restricted from doing things
22   A. So one is the inability to drive. We stopped her    22     like that as well. So those are some conclusions
23     from undergoing IVF at that time. And, again, we     23     which can be drawn from the instruction section
24     just went through a list of work restrictions        24     on 4706.
25     which limits her abilities.                          25   Q. Okay. On the next page, 4709, there's item 3,




                                                                                     22 (Pages 82 to 85)
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                                               Page 86                                                     Page 87
 1     section B, the question is: "Is the employee         1     Dillard_DePaul2711.
 2     taking medications or receiving treatment for the    2             MS. SCATCHELL: Anna, really quick,
 3     impairment that limit the employee's ability to      3     could you just give me a second to pull that
 4     perform the essential functions of the job?" And     4     document up.
 5     you say no; right?                                   5             MS. WERMUTH: I can also email it to
 6   A. Correct.                                            6     you.
 7   Q. And then there's the next section, "Please          7             MS. SCATCHELL: This isn't a part of
 8     provide suggestions for workplace or job             8     the three documents you sent; right?
 9     adjustments or accommodations." Do you see that?     9             MS. WERMUTH: Correct. It was not in
10   A. Yes.                                               10     Dr. Cristea's -- I'm sorry. Is that how I
11   Q. And then that section is blank as well.            11     pronounce your name?
12   A. Correct.                                           12             THE WITNESS: Yeah, that's fine.
13            MS. WERMUTH: So I'm going to mark as         13     CHRIS-tee.
14     Exhibit 2 -- and by the way, let me just for the    14             MS. WERMUTH: I didn't see this in his
15     record get Exhibit 1, the Bates numbers into the    15     files, but I had it in DePaul's files. Do you
16     record. So hold on one second. And I'll make        16     want me to email it to you?
17     sure the court reporter has all of this             17             MS. SCATCHELL: Yeah. Would you mind
18     information. So Dillard_DePaul4659 through 4848.    18     just emailing it to me just save us some time
19     And Dillard_DePaul9897 through 9916. That is        19     looking for it.
20     Exhibit 1.                                          20             MS. WERMUTH: Yes.
21         Exhibit 2 I will pull up here in a moment.      21             MS. SCATCHELL: Thank you.
22     I didn't see this in your file, Doctor. That's      22             MS. WERMUTH: Whoops. I'm showing you
23     why I'm pulling this up, but it is on your          23     all my state secrets. Hang on one second.
24     letterhead so to let me -- so I'll mark as          24             MS. SCATCHELL: Good thing I'm on my
25     Exhibit 2 what's been Bates labeled                 25     phone so I can't even see.
                                               Page 88                                                     Page 89
 1             MS. WERMUTH: I was just like showing       1        Cristea, M.D., having been marked for
 2     you all of my emails. Okay. Hang on one second.    2        identification, is displayed on the
 3     I'm going to send -- and, Mary Beth, why don't     3        videoconference screen for the witness and all
 4     you give me your -- is your email in the chat      4        parties to view at this time, as testimony
 5     box?                                               5        continues:)
 6             THE COURT REPORTER: Let me check here. 6         QUESTIONS BY MS. WERMUTH:
 7     I think normally they ask that it goes to Magna,   7     Q. So, Doctor, this is a letter that looks like it's
 8     and then I can go ahead and get it from them, but  8       on the Neurological Institute Specialty Centers'
 9     I can give it to you at the end.                   9       letterhead. Do you see that?
10             MS. WERMUTH: It's okay. I can give it     10     A. Yes.
11     to Magna after. That's fine.                      11     Q. And it's dated 6/5/2018. Do you see that?
12         So, Gia, I'm handing you two accommodation    12     A. Yes.
13     letters that were not in the file.                13     Q. And that's your signature there?
14             MS. SCATCHELL: Okay.                      14     A. Yes.
15             MS. WERMUTH: And I will mark the          15     Q. And is this a letter that you gave to Dr. Dillard
16     first -- I will mark Dillard_DePaul2711 as        16       or you gave directly to DePaul, do you recall?
17     Exhibit 2.                                        17     A. I have no recollection who I gave it to.
18         And just given the hour, Gia, do you mind if  18     Q. Did this accompany the certification form that we
19     I -- can you look at my screen or do you want to  19       were just looking at that had all the blank spots
20     wait until you get the email?                     20       in it?
21             MS. SCATCHELL: I have not gotten it       21     A. What's the question?
22     yet, but I could -- oh, it just came through. Go  22     Q. Did this letter -- before I pulled up this
23     ahead.                                            23       letter, we were looking at that form that had the
24             (Deposition Exhibit(s) 2, 06/05/2018      24       check boxes but had a lot of sections blank. Did
25      Letter to "To Whom It May Concern" from Richard  25       this letter accompany that form when you sent it?




                                                                                    23 (Pages 86 to 89)
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                                                Page 90                                                    Page 91
 1   A. I don't know. I wouldn't have sent it myself.        1     of any conversation, as I sit here right now.
 2     It would have been sent through the medical           2   Q. Okay.
 3     records department.                                   3             MS. WERMUTH: I'm going to mark as
 4   Q. Okay.                                                4     Exhibit 3, what is Bates labeled
 5   A. I suspect this was in response to that because       5     Dillard_DePaul2683. I will share this with you,
 6     it's a more detailed dictation as opposed to          6     Doctor.
 7     writing in a box.                                     7             (Deposition Exhibit(s) 3, 10/02/2018
 8   Q. And this is basically -- with the exception of       8      Letter to "To Whom It May Concern" from Richard
 9     the first sentence where it says, "Sydney is a        9      Cristea, M.D., having been marked for
10     patient of mine and had an appointment with me       10      identification, is displayed on the
11     today," the rest of it is in that note that we       11      videoconference screen for the witness and all
12     just read?                                           12      parties to view at this time, as testimony
13   A. Yes.                                                13      continues:)
14   Q. Okay. And after you sent that letter, did you       14   QUESTIONS BY MS. WERMUTH:
15     have any conversations with anybody at DePaul        15   Q. Doctor, can you see my screen?
16     directly?                                            16   A. Yes.
17   A. I don't recall.                                     17   Q. This is another letter that's on the letterhead
18   Q. Did you have any conversations with Dr. Dillard     18     of your office; correct?
19     about whether she got all the accommodations she     19   A. Yes.
20     wanted or whether any of the accommodations in       20   Q. And it's dated October 2, 2018?
21     her mind were not working? Do you recall any         21   A. Yes.
22     conversations to that effect?                        22   Q. So it's about four months after your prior
23             MS. SCATCHELL: Objection. Calls for a        23     letter; is that right?
24     legal conclusion.                                    24   A. Yes.
25   A. I don't have a direct recollection of the details   25   Q. And is that your signature at the bottom?
                                                Page 92                                                    Page 93
 1   A. Yes.                                                 1      identification, is displayed on the
 2   Q. And did you prepare this letter?                     2      videoconference screen for the witness and all
 3   A. It looks like it's the same as previous. Right?      3      parties to view at this time, as testimony
 4     Other than that was -- the date was changed? Is       4      continues:)
 5     that accurate?                                        5   QUESTIONS BY MS. WERMUTH:
 6   Q. I don't think it's totally identical. I think        6   Q. I'm sharing Exhibit 2 again, so this is the
 7     the six accommodations are largely identical, but     7     letter dated 6-5-2018, and there is the reference
 8     there's no reference here to IVF. And then            8     to the IVF.
 9     there's reference to physical and vestibular          9   A. Okay.
10     rehab that I don't think was in there before.        10   Q. Okay. And do you recall any conversations with
11   A. I think the vestibular comment was in there. The    11     Dr. Dillard in or around October of 2018 where
12     IVF wouldn't have been something that has to do      12     she tells you that she's not -- she doesn't think
13     with a work restriction.                             13     she's getting the right kind of accommodations or
14   Q. But you did put that in your first letter?          14     that she needs more help from you in that regard?
15   A. To DePaul?                                          15   A. I have a vague recollection -- and, again, this
16   Q. Let me go back and look. Hang on. Maybe I'm         16     is four years ago, but knowing her well, I have a
17     wrong.                                               17     vague recollection that she was struggling with
18   A. It's under the instruction section, but I don't     18     accommodations at the university, that she was
19     have the letter in front of me.                      19     being able to function within those
20   Q. Yeah, it is -- here. I know you don't have it in    20     accommodations. That's all -- as I sit here
21     front of you. It wasn't in your file for             21     right now, without further discussion, that's all
22     whatever reason, so let me share this again.         22     I remember.
23            (Deposition Exhibit(s) 2, 06/05/2018          23   Q. Did you offer to intervene and talk to her
24      Letter to "To Whom It May Concern" from Richard     24     employer about her needs?
25      Cristea, M.D., having been marked for               25   A. I may have. I have done that on occasion.




                                                                                     24 (Pages 90 to 93)
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                                                Page 94                                                    Page 95
 1   Q. Okay. Now let's go back to your records, sir.        1     letter. My typical pattern is that I don't
 2     All right. So June is when you sent the first         2     document, nor do I have the time to document it.
 3     accommodation letter in; right?                       3   Q. Okay. So if somebody calls and requests a
 4   A. (No audible response.)                               4     letter, but let me ask you -- well, let's look at
 5   Q. The next time she comes to your office after that    5     your August visit then. That is --
 6     was -- hang on just a moment. July of 2018, so        6   A. 4730.
 7     if you would look at 4725.                            7   Q. Yeah, 4730. Okay. And that's you personally
 8   A. That's a note authored by my nurse practitioner.     8     visiting with her, and this is August 22nd;
 9   Q. Okay. So in July of 2018, you didn't visit with      9     right?
10     her?                                                 10   A. Correct.
11   A. No, I didn't see her until August.                  11   Q. So she's been back to work with accommodations
12   Q. Okay. So the rest of June and in July, you're       12     since early June at this point; right?
13     not communicating with her, correct, personally?     13   A. That's my understanding.
14   A. I don't recall. I mean, the chart notes are as      14   Q. Okay. And so when we look at the history of
15     documented, but I don't recall if I had a            15     present illness, that last paragraph was written
16     conversation with her otherwise.                     16     by you; is that right?
17   Q. Well, there's nothing documented between June and   17   A. That is possibly my MA. There's not a lot of
18     August of 2018 with respect to a conversation --     18     information there other than she's still
19     any conversations between you and Dr. Dillard;       19     experiencing light-headedness.
20     right?                                               20   Q. And there's nothing in these notes of a report
21   A. Well, my usual practice is seeing as I'm not an     21     from her to you that her accommodations are not
22     attorney I don't document phone calls. You know,     22     effective?
23     a lot of times I'll just have conversations, and     23   A. Correct.
24     if I need to intervene or do something, I'll do      24   Q. And then in September she doesn't see you, but
25     it. Let's say someone calls and requests a           25     she comes in for some Vitamin D; is that right?
                                                Page 96                                                    Page 97
 1     So look at page 4738.                                 1   A. No. The only thing documented is that I'm
 2   A.  Yes.                                                2     recommending continued accommodations as
 3   Q.  And I'm sorry. I should say 4737 and 38.            3     previously noted.
 4   A.  Yes.                                                4   Q. Okay.
 5   Q.  So who does she see on that day?                    5   A. Under cognitive complaints -- well, this is
 6   A.  It was probably a phone call, so they probably      6     interesting. That's a good question. Under
 7     told her her Vitamin D was low and called in a        7     cognitive complaints, the first item under the
 8     prescription.                                         8     assessment.
 9   Q. Okay. After taking some labs?                        9   Q. And this is on page -- so we're all clear --
10   A. Correct.                                            10     4745; right?
11   Q. Okay. And so then you next see her in October;      11   A. Correct. See where it says, "Needs
12     is that right?                                       12     accommodations of work"?
13   A. Yes.                                                13   Q. Yeah.
14   Q. And that's page 4742?                               14   A. See the "needs" in all capitals?
15   A. Yes.                                                15   Q. Yes, sir.
16   Q. And it says in the HPI, or history of present       16   A. That implies to me that they weren't being
17     illness -- the last paragraph, is that written by    17     followed, the fact that I highlighted it that
18     you?                                                 18     way.
19   A. Either myself or my medical assistant.              19   Q. Okay. And then you sent in the second letter in
20   Q. She's reporting a new symptom here of low back      20     October of 2018?
21     pain radiating down her leg; right?                  21   A. Yes.
22   A. Yes.                                                22   Q. But at this point in time she's not reporting to
23   Q. But she doesn't otherwise report that the           23     you any other seizures?
24     accommodations that her work has provided her are    24            MS. SCATCHELL: Objection; asked and
25     not working?                                         25     answered.




                                                                                     25 (Pages 94 to 97)
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                                                Page 98                                                     Page 99
 1   A. Correct. We outlined, like all the events that       1            MS. WERMUTH: Yeah.
 2     she had, I think, earlier on.                         2            MS. SCATCHELL: March 4th?
 3   Q. Right, right. Okay.                                  3            THE WITNESS: Yes, 4767.
 4         And at this visit when you put "needs" in         4            MS. SCATCHELL: Okay.
 5     all caps, did you tell her that you would             5            MS. WERMUTH: Are you there, Gia?
 6     intervene and talk to her employer?                   6            MS. SCATCHELL: Yes.
 7   A. I don't recall the specific conversation we had.     7            MS. WERMUTH: I may have transposed the
 8   Q. Okay. And then you don't meet with her again         8     numbers. I'm really sorry if I did.
 9     until January of 2019. Page 4777. Is that             9   QUESTIONS BY MS. WERMUTH:
10     right?                                               10   Q. So on this visit, Doctor, your note under the
11   A. One second. What was the date?                      11     history of present illness would start at the top
12   Q. January 10th of 2019.                               12     of page 4768; is that right?
13   A. Correct.                                            13   A. Yes.
14   Q. And we've already talked about that note, so I'm    14   Q. Okay. And it says "LOV" -- oh, last office
15     not going to force us to do it again.                15     visit. Is that what that stands for?
16         And then you saw her in March of 2019 and        16   A. Correct.
17     I'm looking at page 4767.                            17   Q. "01/10/2019 did not get the Vit D filled." Does
18   A. One second.                                         18     that mean she didn't fill the Vitamin D?
19   Q. Certainly.                                          19   A. Correct.
20   A. I'm looking at some other notes. July 9th?          20   Q. "And reports that she's unaware of any new
21   Q. No. January 10th of 2019. So 4767. I'm sorry.       21     seizures."
22     I said January. March 4th of 2019.                   22   A. Correct.
23   A. 4767? Hang on. Sorry.                               23   Q. Okay. "She is having more migraines when
24            MS. SCATCHELL: And that's March of            24     overstimulated or in stressful situations
25     2019?                                                25     sometimes happens before a seizure."
                                               Page 100                                                   Page 101
 1         But no new seizures that she was aware of at      1     learning, but requires an assistant as previously
 2     that point?                                           2     documented.
 3   A. Correct.                                             3   Q. Okay. So although online was preferred, at this
 4   Q. And at this point, you reduce her medication then    4     point you were comfortable with her being back in
 5     down -- back to 500, or did you do that in            5     the classroom?
 6     January?                                              6   A. As a trial, yes.
 7   A. Must have been January.                              7   Q. And do you know how many in-person classes she
 8   Q. So in January of 2019, you bumped her back down      8     taught between June of 2018 and the end of the
 9     to 500? That would be page 4778, I think.             9     academic year in 2019?
10   A. That's what was filled on that day, yes.            10   A. No.
11   Q. Okay. Do you recall why you reduced it to 500 on    11   Q. Did she report that to you?
12     that day?                                            12   A. I don't recall if she did. She may have, but
13   A. No, I don't actually.                               13     there's nothing documented, so I don't have a
14   Q. And then in that same month, you updated her        14     recollection.
15     accommodations letter at 4771. So do I have that     15   Q. And then in April, you changed her accommodations
16     right?                                               16     again, and I'm looking at page 4768.
17   A. 4727.                                               17   A. Yes.
18   Q. 4772. Thank you, sir. That's it. Okay.              18   Q. And here you say she is "currently only able to
19         In that month, you updated her accommodation     19     teach online/hybrid classes." Do you see that?
20     letter. So can you help me with this one? It         20   A. Yes.
21     says, "She may be able to teach online classes is    21   Q. What are hybrid classes?
22     the preferred modality."                             22   A. My recollection is it's a combination of online
23   A. Yeah, if my grammar was correct, I suspect that I   23     and live.
24     meant that's the preferred teaching at this time.    24   Q. So what happened in that month between these two
25     However, I said she can move to face-to-face         25     letters where you said she could teach face to




                                                                                   26 (Pages 98 to 101)
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                                              Page 102                                                   Page 103
 1     face and then you say she should teach online and    1     through them -- where in the notes it allowed her
 2     hybrid only? What happened in that month for you     2     to do more or she may have done more on her own.
 3     to change that?                                      3     I don't know.
 4   A. We must have had a conversation about some          4   Q. Well, the note we just looked at from April of
 5     struggles she was having at the university, but I    5     2019 said that they were temporary; right? So
 6     don't recall directly.                               6     let's go back to that page.
 7   Q. And there's nothing in your notes that explain      7   A. Correct. But they would have remained temporary
 8     it?                                                  8     until I would have changed it is my
 9   A. No.                                                 9     understanding. Temporary is not necessarily
10   Q. And after April of 2019, you didn't send in any    10     limited by six months or a year or two years.
11     additional accommodation notes; is that right?      11   Q. Right. But that note is two and a half years old
12   A. It appears that's correct.                         12     now, so I'm just trying to understand --
13   Q. Okay. And she didn't require any accommodations    13   A. And your point is? So, yes, correct, it is two
14     after that period of time; is that right?           14     and a half years old. I'll testify to that fact.
15   A. No. I think my last accommodations note would      15   Q. Okay. Are you aware if she has asked for any
16     have remained in force until I changed it.          16     accommodations after April of 2019?
17   Q. Well, it says temporary. Are you telling me that   17             MS. SCATCHELL: Objection; asked and
18     for the two years -- three years now since that     18     answered.
19     note was issued, that she continues to operate      19   A. I don't recall that she asked for more because
20     under those accommodations? Is that your            20     that's the last note I wrote. I apparently have
21     position, Doctor? Or should continue to operate     21     not adjusted them since that time.
22     under those accommodations?                         22   Q. No, my question is -- I'm sorry. I was very
23   A. Well, based on the chronology of the notes,        23     unclear in my question. Did she ever tell you
24     that's what my recollection is, but I don't know    24     that she asked DePaul to continue those
25     if anything changed in the notes -- we can go       25     accommodations?
                                              Page 104                                                   Page 105
 1   A. No, no. I don't know what she asked DePaul. My      1   Q. Right. We've already discussed that.
 2     understanding is I provided that note to, I'm        2         Oh, there's a November. Here we go. Page
 3     assuming, DePaul.                                    3     4809. I'm sorry.
 4   Q. Okay. Did she ever tell you that she didn't need    4   A. Okay.
 5     accommodations any longer?                           5   Q. So she saw you in November of 2019. At this
 6   A. Well, there's certainly entries in the record in    6     point she's pregnant. Is that your memory?
 7     the notes that it's gone back and forth where she    7   A. Yes. In October she reported she was six months
 8     tried in-class learning and was ready to go to       8     pregnant.
 9     in-class learning and then moved to a hybrid         9   Q. It looks like actually back in March of 2019 she
10     model.                                              10     reported she was six weeks pregnant. Do you see
11   Q. I'm sorry. Again, I was unclear. After April of    11     that on page 4810?
12     2019, did she tell you that she told DePaul she     12   A. Yes, I'm sorry. Did I misspeak? She reported in
13     no longer needed accommodations?                    13     October she was six months pregnant. Not six
14   A. No, I don't know.                                  14     weeks.
15   Q. Okay. And are you aware that she's testified       15   Q. Right, right, right. But you knew as of March
16     that she no longer needed accommodations after      16     that she was pregnant?
17     that period of time?                                17   A. Oh, yes.
18            MS. SCATCHELL: Objection. Calls for          18   Q. Okay. Fair enough.
19     speculation.                                        19         And is there any reference in this note in
20   A. I'm not aware that she testified.                  20     November of 2019 to accommodations?
21   Q. And you, according to your notes, after the        21   A. Not in this note.
22     October 2019 visit, you visited with her again in   22   Q. Then you next saw her in January of 2020, and
23     November of that year. I think it's 4808. No,       23     that's page 4823, I think. I'm trying to get
24     that's January.                                     24     there.
25   A. There is October 1st of '19 on 4803.               25   A. 4815 is the page 1 of January 21, '20.




                                                                                27 (Pages 102 to 105)
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                                               Page 106                                                   Page 107
 1   Q. Oh, 4815. You're right. Okay. And in this note       1     4815; right? So on page 4815 that is your notes
 2     on that page, you write that she's had no             2     from your January 21, 2020. Do you see that?
 3     seizures since the last office visit; right? It       3   A. Correct.
 4     says the last seizure was February of 2018. Do        4   Q. Okay. And so I was asking you about this note
 5     you see that?                                         5     here, last seizure was 2/20/18. That's not a
 6   A. Yes.                                                 6     particularly accurate note; right? Because her
 7   Q. Did you mean April 2018?                             7     last syncope was March of 2018, and then there
 8   A. There's a reference to February of 2018 and then     8     were two reported, where the husband reported two
 9     she references possibly some small seizures in        9     overnight --
10     March of '19 overnight.                              10   A. Well, remember we saw -- had that ER visit, I
11   Q. Okay. Where do you see that, sir?                   11     think, was February. So she may have had two in
12   A. Page 4810.                                          12     there. Remember that ER visit she had, where she
13   Q. Oh, from your November?                             13     went to the ER with the visit, and I saw her a
14   A. Last OV 3/4/19, so it's after the next visit        14     few weeks later?
15     after March 4th. She reported she may have had       15   Q. No, sir, I don't.
16     some small seizures overnight.                       16   A. Yeah, we discussed it earlier.
17   Q. Right, we talked about that, and you                17   Q. I remember a September 2017 ER visit.
18     determined -- the first note of that was in          18   A. Is that when it was? It was an ER visit. I'll
19     January of 2019. So somewhere, remember, between     19     have to go through the transcript. Hang on.
20     March of 2018 and January 10th of 2019 there were    20     September of 2017. You're correct.
21     these two instances.                                 21   Q. Yes, okay. All right. So let me direct your
22        But my question is, we were looking at -- I       22     attention to 4816. It looks like she's on Keppra
23     think we've already talked about that, Doctor.       23     500 milligrams again starting in November.
24     I'm now looking at January of 2020, which you        24   A. She's taking two, so it would be 1,000.
25     corrected me is page 4815. I'm sorry. Yeah,          25   Q. Oh, I see. Wait. I don't see. Oh, "2 PO QHS."
                                               Page 108                                                   Page 109
 1     Is that what that means?                              1     lower her Keppra; right?
 2   A. Yes.                                                 2   A. Correct.
 3   Q. So wait. So she's pregnant but she's up to 1,000     3   Q. And did you do that?
 4     now?                                                  4   A. Yeah, I think on the refill we went down to one,
 5   A. Yes.                                                 5     and it's something we discussed. I think she did
 6   Q. Or wait. She's not pregnant yet.                     6     it right before she saw me.
 7   A. No. She -- what's the date of this?                  7   Q. Okay. And so after she had the baby, was she not
 8   Q. In November she wasn't pregnant -- oh, no, no.       8     working?
 9     She was pregnant.                                     9            MS. SCATCHELL: Objection; form.
10   A. Yeah, this is the January note, correct.            10   QUESTIONS BY MS. WERMUTH:
11   Q. Okay. Why did you increase at that point in         11   Q. Do you know?
12     time?                                                12   A. I don't recall if she was working.
13   A. The risk -- after discussion again throughout the   13   Q. Okay.
14     course of her treatment, the risk of a seizure to    14   A. I mean, I don't know if she was on maternity
15     a fetus is much more significant than the risk of    15     leave or what the situation was.
16     Keppra to a fetus.                                   16   Q. That's what I meant. I didn't mean that she
17   Q. Oh, I see. Because she was pregnant, you upped      17     quit. I just meant that she was on some sort of
18     the dose?                                            18     leave related to the birth of her child? Do you
19   A. Yeah.                                               19     know?
20   Q. Okay. That's helpful. Thank you.                    20   A. I don't know.
21         So then you saw her in May of 2020 and that      21   Q. You don't know. And if she was on leave, then
22     is at page?                                          22     she wouldn't have needed accommodations, though?
23   A. 4820.                                               23     You would agree to that; right?
24   Q. Is it 4820? You beat me to it. And on 4821, you     24   A. Well, yeah, if she's not working, there's nothing
25     write that she just had her baby and she wants to    25     to accommodate.




                                                                                 28 (Pages 106 to 109)
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                                               Page 110                                                    Page 111
 1   Q. Right. Then you saw her in August of 2020. I         1   Q. Okay. And that's on page 4832?
 2     think that's 4827. On that day she tells us           2   A. Yes.
 3     there's no new issues or concerns. Do you see         3   Q. All right. And then you see her five months
 4     that?                                                 4     later in March of '21. So this is a full year
 5   A. Yes.                                                 5     after the birth of her child; right?
 6   Q. And did you lower her Keppra on that date?           6   A. Yes.
 7   A. It was still written in at two at bedtime. I'm       7   Q. Okay. And on page 4839 she reports she has no
 8     not sure if she was taking one or two. Sometimes      8     seizures or spells. Do you see that?
 9     we leave the script alone, so we can make an          9   A. Yes.
10     adjustment at home to avoid an unnecessary office    10   Q. And in your seizure notes on that same page, you
11     visit, but I don't know if she was taking the one    11     write, "No issues 3/20/21." Do you see that?
12     or the two.                                          12   A. Correct.
13   Q. Okay. And so now your visits with her are           13   Q. And then you see her five months later in August.
14     happening about every what? Three or four months     14   A. Okay.
15     now?                                                 15   Q. And that's page 4843?
16   A. Yes.                                                16   A. Yes.
17   Q. So you see her in October of 2020 -- I'm sorry.     17   Q. Okay. And you write, "Patient states that she
18     November of 2020? That's page 4831.                  18     has not had any seizures since her last
19   A. Yes.                                                19     appointment." Do you see that?
20   Q. And it looks like the main thing you talked about   20   A. Yes.
21     on that day was needing a refill of her Keppra?      21   Q. And then in your seizure notes, you actually
22   A. Correct.                                            22     didn't update it. You still say -- oh. No. You
23   Q. Okay. And in your seizure notes, you report that    23     say no issues March through August 2021?
24     she's doing well; right?                             24   A. Correct.
25   A. Yes.                                                25   Q. Okay. Then you see her in December, and that's
                                               Page 112                                                    Page 113
 1     your last visit with her. And we looked at this       1     go to the bathroom and grab something to drink.
 2     briefly, but for me that's page 9912. Doctor, I       2            THE WITNESS: Sure. How long do you
 3     know you don't have that Bates number, but I'm        3     think we are going to go?
 4     looking at December 7, 2021.                          4            MS. SCATCHELL: Just 10 minutes. So we
 5   A. Yes, I have it.                                      5     will come back at 8:17.
 6   Q. Okay. On this date you report no seizures on her     6            MS. WERMUTH: I think he's asking how
 7     behalf, right, at the bottom of that page?            7     much longer?
 8   A. Correct.                                             8            MS. SCATCHELL: Oh, I would say no more
 9   Q. On the next page, which for my opposing counsel,     9     than probably 45 minutes.
10     page 9913, you write, "No issues." Under the         10            THE WITNESS: So let me ask you a
11     seizure section you write, "No issues March          11     question. My understanding in Illinois under --
12     through December 2021." Do you see that?             12     at least in personal injury, there's a three-hour
13   A. Yes.                                                13     limit.
14   Q. Okay. And that was the last time you saw her?       14            MS. WERMUTH: Right. That's a state
15   A. Yes.                                                15     court rule. In federal court, I hate to tell
16   Q. And so she's been seizure free for a couple of      16     you, there's a seven-hour limit. I did my best
17     years now, you would agree with that?                17     to get you done sooner than three hours. And I
18   A. Yes.                                                18     hope that Gia Scatchell can also expedite here so
19            MS. WERMUTH: I have no further                19     hopefully we can all be out of here by nine
20     questions at this time, Doctor. Ms. Scatchell        20     o'clock.
21     may have some questions for you.                     21            THE WITNESS: Yeah, well, I have a 6:30
22            THE WITNESS: Thank you.                       22     first patient, and I have other obligations
23            MS. SCATCHELL: I do. Can we just take         23     tonight, so we may have to reconvene. If I need
24     a 10-minute break real quick? I know it's late,      24     to do anything with a lawyer to help this
25     but I just feel like I need to take 10 minutes to    25     process, let me know if I need to do that, but I




                                                                                  29 (Pages 110 to 113)
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                                              Page 114                                                   Page 115
 1     can't sit here until nine o'clock.                   1            THE WITNESS: The driving is not an
 2             MS. WERMUTH: Okay. Gia, what do you          2     issue. I'm staying in a hotel actually tonight
 3     want to do?                                          3     since this deposition and my early schedule, but,
 4             MS. SCATCHELL: I'm not opposed to just       4     I mean, we could keep going and see how we get
 5     doing this a different time for the redirect.        5     through it, but what do you want to do?
 6     What do you think?                                   6            MS. SCATCHELL: Anna, why don't I just
 7             THE WITNESS: My schedule the next time       7     give you a call right now while we take a quick
 8     that opportunity will exist will probably be         8     break and then we'll just kind of figure it out.
 9     about six weeks.                                     9            MS. WERMUTH: Certainly. Happy to. So
10             MS. WERMUTH: Gia, we have a report due      10     I guess that means, Doctor, that Gia would like
11     to the judge on Wednesday, you know. I would say    11     to take a break, so at least for five minutes.
12     this, the judge was mindful of the doctor's         12            THE WITNESS: Yeah, no worries. That's
13     schedule over the summer, and I can't promise you   13     fine.
14     he will be again, but I just put that out there.    14            MS. SCATCHELL: Thank you.
15             MS. SCATCHELL: I think what we do is I      15            THE COURT REPORTER: Okay. So we are
16     just don't want to inconvenience him. I             16     going off the record for five minutes?
17     appreciate him coming after having a full day of    17            MS. SCATCHELL: Ten, if possible.
18     patients and then sitting here for a good three     18            THE COURT REPORTER: Ten minutes.
19     hours, so I would prefer to reconvene just          19     Sounds good.
20     because I'd like for everybody to be fresh. It's    20   EXAMINATION
21     getting super late, and I feel like our             21     QUESTIONS BY MS. SCATCHELL:
22     questions, you know, have -- they're pretty         22   Q. Doctor, can you hear me okay?
23     substantive type of work. And if he has a 6:30      23   A. Yes. Perfect.
24     a.m. patient, I don't want to put him in a weird    24   Q. So I apologize. I'm Sydney Dillard's attorney,
25     spot, having to drive home and everything else.     25     so I just wanted to introduce myself.
                                              Page 116                                                   Page 117
 1        So you had previously testified that              1         She also had cognitive complaints. This was
 2     Ms. Dillard had several different other diagnoses    2     in the onset of mid 2017. She developed
 3     in addition to just having epilepsy. What were       3     forgetfulness, trouble with remembering words and
 4     the other disorders that she had?                    4     names. She would lose her keys. And focus
 5            MS. WERMUTH: Objection; asked and             5     difficulties. And this all started after the
 6     answered.                                            6     first seizure. This is not atypical in patients
 7   QUESTIONS BY MS. SCATCHELL:                            7     who have had one or more seizures and then being
 8   Q. You can answer.                                     8     placed on medication.
 9   A. Yeah. She had other diagnoses throughout the        9         So one of the concerns I had when we talked
10     course of her treatment. So we talked               10     about work as a professor and as an educator is
11     extensively and mostly just about the seizures,     11     professors who have forgetfulness and cognitive
12     the epilepsy. But she also had generalized          12     issues, that's also contributory to her overall
13     anxiety that was consistently discussed             13     diagnoses and care.
14     throughout the treatment records. We discussed      14         She developed cervicogenic headaches. In
15     the use of the sertraline, but via OB-GYN, that     15     that sense that means headaches that come from
16     that's a concern during -- planning pregnancy or    16     the genesis of the cervical spine and occipital
17     during pregnancy. That's number one.                17     nerve. You'll see in my notes referencing GON,
18        Number two, she had this -- vestibular           18     or greater occipital neuralgia. That is why I
19     dysfunction is a broad term which started after     19     referred her to physical therapy or manual
20     the seizures. This is clinically characterized      20     therapy to her neck because it helps cervicogenic
21     by intermittent dizziness. Movements, especially    21     headache. In fact, there is documentation
22     head movements, can make it worse or aggravated.    22     through the notes that it helped significantly.
23     And it's a sense of wooziness in the head all the   23     Cervicogenic headache is activated -- is
24     time. Not all the time but intermittently, which    24     aggravated by the activities. Stress will
25     was in her case.                                    25     certainly increase symptoms through a myofascial




                                                                                30 (Pages 114 to 117)
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                                              Page 118                                                   Page 119
 1     component. In other words, stress creates muscle     1     about the results, but his findings suggested --
 2     spasm, which can secondarily impact the              2     not suggested. Concluded that she had major
 3     cervicogenic headache.                               3     depressive disorder and anxiety disorder.
 4         She also had treated for dislocated              4   Q. Okay. And then in terms of having the grand mal
 5     shoulders, which was a result of the seizures,       5     seizures or any seizures, was it clear what
 6     from the violent shaking of the seizures and         6     brought on or what exacerbated these seizures in
 7     potential trauma as well that way. So there were     7     Ms. Dillard?
 8     additional diagnoses being treated throughout.       8   A. Well, the initial seizure was the first event,
 9   Q. Okay. And then is it typical to have, I guess,      9     the first seizure she had dating back to
10     would you call them co-mobidities with a seizure    10     September 20 of 2017. She obviously had a
11     disorder?                                           11     predisposition to having seizures. Right? So
12   A. That's a great term. Absolutely.                   12     based on that ambulatory EEG, she had slowing and
13   Q. And so I guess would it be fair to say that        13     changes in the left temporal region. That's
14     Sydney needed a multifaceted therapeutic approach   14     number one. So recurrent seizures occur -- once
15     to treat these various diagnoses?                   15     you've had one seizure, you have a higher risk of
16   A. Correct. You know, we had an extensive             16     having a second.
17     discussion about epilepsy medicine and some EEG     17        We talked a little bit about lowering the
18     abnormalities and things like that, but there       18     seizure threshold or what lowers the seizure
19     were other things. We did dizzy testing. We         19     threshold. I think I referenced one of the
20     arranged for the physical therapies I just          20     points. Excessive alcohol use which was not an
21     referenced, as well as the dizzy therapy or         21     issue here. Certainly sleep deprivation can
22     what's better known as vestibular rehabilitation.   22     lower the seizure threshold. Sleep deprivation
23     We even got neuro-psychometric testing by Dr.       23     can occur under multiple circumstances. Patients
24     Singh. He's a neuropsychologist. I think we         24     with anxiety, generalized anxiety disorders and
25     referenced that. We didn't really much talk         25     major depressive disorders have significant sleep
                                              Page 120                                                   Page 121
 1     disturbances, which can, as I said, lower the        1     first seizure. She developed the following
 2     seizure threshold.                                   2     seizure anxiety disorders and the depressive
 3   Q. Okay. And then you had -- I had seen in your        3     disorder. Patients who have recurrent episodes
 4     notes that it said that Ms. Dillard had no prior     4     or recurrent neurological symptoms can commonly
 5     history of having seizures in her family.            5     develop those disorders.
 6   A. Correct. There's no family history of seizures      6         Also she developed the vestibular
 7     or epilepsy.                                         7     dysfunction after the seizure, and that could be
 8   Q. And what could -- so if that's the case, what       8     due to several reasons. One is that it could be
 9     could bring about a seizure like that in a           9     due to the seizure itself. Number two is that
10     patient like Ms. Dillard with no family history?    10     that first seizure, the head movements, right, so
11            MS. WERMUTH: Objection; vague.               11     when patients have what we referred to earlier as
12   QUESTIONS BY MS. SCATCHELL:                           12     a grand mal seizure, or a convulsion, there's
13   Q. You can answer.                                    13     rhythmic jerking of the arms and legs and
14   A. So we don't always know what will start a          14     movement of the head. So when the head moves
15     seizure. Humans will experience statistically       15     like this, it creates sort of a brain trauma.
16     one seizure in their life, and, again, these        16     And under those circumstances many times
17     things that lower seizure threshold include sleep   17     following that kind of movement, you can develop
18     deprivation, excessive alcohol use, drugs, hard     18     a vestibular disorder. We see this commonly in
19     drug use, head trauma.                              19     patients who have let's say rear-end collisions,
20   Q. Okay. And then after somebody has a seizure, are   20     who have acceleration/deceleration injuries. So
21     there any residual symptoms that occur post-        21     you can have these symptoms even without hitting
22     seizure?                                            22     your head. Just the movement, the acceleration/
23   A. Well, there can be. Sometimes there's not, but     23     deceleration movements can bring on generalized
24     other times there are. We talked a little bit       24     tonic-clonic seizure.
25     about her cognitive issues started after the        25   Q. Okay. And then let's talk a little bit more




                                                                                31 (Pages 118 to 121)
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                                               Page 122                                                   Page 123
 1     about the issues that could arise with being          1     seizure was that she was, quote/unquote, playing
 2     pregnant and having a seizure disorder.               2     on the couch, and that is Dillard-DePaul4575.
 3   A. Was that a question?                                 3     Could you go there when you have a moment.
 4   Q. Yes. Sorry.                                          4   A. I'm on 4575.
 5   A. Oh, I'm sorry. I apologize. So pregnancy by          5   Q. Yes, and it says "History of Present Illness."
 6     definition is a diseased state. Women who become      6   A. Yes.
 7     pregnant are at risk of seizure. The issue is         7   Q. And then it says, "This is a 32-year-old female
 8     the fetus, right? So and we discussed this a          8     presenting to the emergency room for evaluation
 9     little bit earlier. Protecting the fetus. So we       9     status post-seizure. Patient was playing on the
10     have to be very careful about medication use.        10     couch when she apparently had a tonic-clonic type
11     And as I mentioned earlier, we talked about          11     of seizure." Were these your notes?
12     Keppra, which of the epilepsy -- anti-epileptic      12   A. No. This is an ER visit. So I want to make sure
13     medications, that's the safest. So we need to        13     I testify correctly. Playing on the couch is
14     protect her during that spell, during that time      14     really irrelevant to her having a seizure. It's
15     period. Well, actually during all time periods,      15     just what she was doing at the time that she had
16     but certainly while pregnant.                        16     a seizure. This is an ER doctor's note just
17         And, again, that's why we couldn't treat her     17     documenting the history. The husband must have
18     depression or anxiety with medication because of     18     said she was playing on the couch and then had a
19     the risks during pregnancy. In fact, my              19     seizure.
20     understanding was she was getting counseling to      20   Q. Okay. Got it. And then if you could go to 4633.
21     deal with all the stressors in her life, to          21   A. Okay.
22     treat, you know, the disruptions that were           22   Q. And then you see where it says, "Current
23     ongoing.                                             23     Complaints/Gains: Dizziness is seemingly worse,
24   Q. Okay. Let's go to -- you had previously             24     returning from a break in Texas secondary to
25     testified that one of the precursors for a           25     traveling outside the country. Still not
                                               Page 124                                                   Page 125
 1     sleeping through the night since returning.           1     earlier about DePaul University, but my
 2     Stress and anxiety is worse from work since           2     recollection is that she had -- was under a lot
 3     returning, which makes her dizziness worse."          3     of stress at work. I see in my notes I had
 4   A. Yes.                                                 4     multiple accommodation letters. Some have been
 5            MS. WERMUTH: I'm going to object on            5     revised to allow for some relaxing of the
 6     foundation.                                           6     accommodations. There's a reference in one of my
 7   QUESTIONS BY MS. SCATCHELL:                             7     chart notes with the highlighted needs which
 8   Q. Are these your notes, Dr. Cristea?                   8     clearly means that they weren't being followed at
 9   A. I referred Dr. Dillard to integrated therapy         9     the time of that visit. I don't remember the
10     practice for vestibular rehabilitation, and this     10     exact date. It's something I testified to
11     is their report back to me which is contained in     11     earlier. So I know she was struggling with
12     my chart.                                            12     issues at work and her position at the
13   Q. So you're familiar with this document?              13     university.
14   A. Yes. It's part of my medical record, and it's a     14   Q. And then when you had previously testified that
15     report to me on the care and treatment of Sydney     15     the stimuli was different in a face-to-face class
16     Dillard.                                             16     versus a remote class, could you expand on that a
17   Q. And then did Ms. Dillard talk to you about the      17     little bit more?
18     issues that she was facing at work?                  18   A. Well, if you're lecturing to a large group of
19   A. As I testified to earlier --                        19     students in a large lecture hall, it's a lot of
20            MS. WERMUTH: I'm sorry. Objection;            20     stimulus. Right? So you have multiple students
21     vague. Go ahead. You can proceed. I needed to        21     that you're lecturing to. You have a large
22     state the objection to get it into the record.       22     space. There's lighting. Remember, we talked,
23   A. She -- we had conversations over multiple visits,   23     she has documentation about how lights hurt her
24     and my recollection is, and, again, I know           24     eyes. And, in fact, one of the accommodations
25     counsel had asked me some questions specifically     25     was sunglasses to be used computer or live.




                                                                                 32 (Pages 122 to 125)
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                                               Page 126                                                   Page 127
 1         So an increased stimulus can induce               1     seizures during sleep. Okay? Her husband
 2     vestibular symptoms, as well as visual stimuli        2     clearly documented extreme detail of her spells
 3     can lower the seizure threshold. One of the           3     to me. I met with him on multiple occasions
 4     things we used to do in the old days when we          4     throughout the course of my treatment with her,
 5     would do an EEG, we would do what we call photic      5     and I know -- I mean, he's a police officer, so
 6     stimulation where we would flash lights or a          6     he also has -- not only a husband but additional
 7     strobe light which can induce seizures. So            7     training in this space. I see a lot of police
 8     there's multiple stimuli in that environment to       8     officers as patients as well, especially Chicago
 9     not only increase the risk of seizure but also to     9     police, so they are well trained and some of them
10     increase the risk of dizziness due to the            10     are even cross-trained as EMTs. So the
11     vestibular disorder that she had following her       11     description to me was very classic of a seizure.
12     first seizure.                                       12     And then when you have the nocturnal component,
13   Q. Okay. And then could you explain what exactly       13     it's not an uncommon occurrence especially in
14     the nocturnal seizures -- how those -- that's a      14     first seizure.
15     bad question. Let me rephrase it.                    15   Q. Okay. And you had previously been testifying
16         So when you typically treat a patient with a     16     about Sydney's ability to travel either overseas
17     nocturnal seizure disorder, how is it diagnosed?     17     to lecture. What were the conditions that you
18             MS. WERMUTH: Objection; vague.               18     released her to travel overseas?
19   A. Well, seizures -- let me start broadly. Seizures    19   A. Well, no driving, of course, whether here or
20     are diagnosed based on clinical history and the      20     there. And we had discussions, as I testified
21     description of the event. It's called                21     earlier, about what things lower the seizure
22     phenomenology. That's number one. So there's         22     threshold. Make sure you take your medication.
23     characteristic patterns of seizure.                  23     Try and get consolidated sleep the best you can.
24         We know, and it's well documented for the        24     Decrease stressors that will impact sleep. And
25     last 80 years, that many patients will have          25     to be reasonable. I found Dr. Dillard to be
                                               Page 128                                                   Page 129
 1     extremely reasonable in her approach to her           1     would affect her posture, balance; correct?
 2     balance between her healthcare and her teaching       2   A. Yeah. Vestibular issues when they occur, you get
 3     or her job.                                           3     woozy and dizzy. You're at risk of falling.
 4   Q. And then did you ever discuss with her the           4     Certainly in a patient with seizures, you don't
 5     possibility of recording her lectures before she      5     want a head trauma. That also increases the
 6     gave the presentation or before she lectured?         6     risk. I think we talked about that earlier
 7   A. I'm sure I have. That sounds very familiar.          7     increasing the risk of seizures.
 8   Q. We had briefly talked about the different effects    8   Q. And then you had also previously testified that
 9     that the medication Keppra or Zoloft could have       9     she had brain abnormalities that you saw on one
10     on a fetus, but are there any general side           10     of the scans; correct?
11     effects to first starting Keppra?                    11   A. On the ambulatory EEG, the brainwave test.
12   A. Well, patients can have -- they can be tired on     12   Q. Okay. And did she testify -- or did she describe
13     it. They can get -- sometimes it affects             13     to you that she had issues sleeping at night?
14     their -- it can cause agitation. And then we         14   A. Yeah. There's -- all through the medical record
15     have the metabolic effects. That's why we            15     there's documentation of difficulty sleeping and
16     monitor with labs. It can affect the liver as        16     insomnia.
17     well. We check blood counts and liver studies.       17   Q. Do you remember approximately for how long Sydney
18   Q. And then you had previously testified about         18     was in the vestibular therapy?
19     certain major life activities that Ms. Dillard       19   A. Well, I know she started in October of '17 and
20     wasn't able to do, which were inability to drive,    20     there's notes going into January of '18. So
21     stop from going or undergoing IVF and some work      21     what's that? Four months? Three or four months.
22     restrictions; correct?                               22         Well, actually then she intermittently
23   A. Yes.                                                23     treats all the way through -- well, she also had
24   Q. Okay. And then you also had described that she      24     some physical therapy to her neck too. Right?
25     had some, I guess, the vestibular issues which       25     At the same center. So there's treatment notes




                                                                                 33 (Pages 126 to 129)
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                                              Page 130                                                   Page 131
 1     in May of '18.                                       1     night, and then one and two and two and two, et
 2         I'm just thumbing quickly through these          2     cetera. So you slowly go up on the dose. And
 3     records. December of '18. So, in fact, in some       3     then we had switched over -- Dr. Misra had
 4     of my accommodation letters, I talk about the        4     switched her over to the long-acting preparation.
 5     ongoing treatment with physical and vestibular       5   Q. Okay. And is that like more of a trial and error
 6     rehab based on clinical symptoms for maintenance     6     of figuring out the patient's dosage?
 7     therapy to keep her symptoms at bay. It's akin       7   A. Yeah. So with Keppra what we do -- it's a little
 8     to taking daily blood pressure medicine as an        8     bit different than the traditional old-time
 9     example. You need the blood pressure medicine to     9     anti-epileptics that you may have heard of, like
10     keep the symptoms of blood pressure low. This is    10     Dilantin or phenobarbital where you titrate them
11     kind of the same techniques we use in patients      11     to a drug level, a blood level. With Keppra you
12     with chronic neck and vestibular issues.            12     titrate them to a clinical response. In other
13     Intermittent therapies to kind of keep their        13     words, you give them enough medicine so they
14     symptoms under control.                             14     don't have seizures. So that's why we had a
15   Q. Okay. And then you had talked about or             15     little more flexibility on the fluctuation of the
16     previously testified as to titrating her            16     Keppra. When she was concerned about potentially
17     medication?                                         17     being pregnant, well, we drop the dose and see.
18   A. Yes.                                               18     And if she were to have a seizure -- and I think
19   Q. Could you explain how that works, titrating the    19     one of the times I dropped the dose, we talked
20     medication?                                         20     about a restriction then, too, to be cautious,
21   A. Well, the original prescription was for            21     but see how she would do.
22     short-acting Keppra. And we used 500-milligram      22         And then, for example, during pregnancy, we
23     dosages. And as I spoke about earlier, it said      23     had discussion back and forth. I think there
24     one to two twice a day. So starting one at          24     were some dosage alterations to protect her, like
25     bedtime and then one in the morning and one at      25     an increase in the dose. I think that's when we
                                              Page 132                                                   Page 133
 1     referenced the 750 but was taking two of those a     1            MS. SCATCHELL: It's the third line,
 2     day.                                                 2     middle of the third line.
 3   Q. Okay. And then on page 4756, if you could please    3            MS. WERMUTH: Oh, okay. "Somatosensory
 4     go there.                                            4     cues."
 5   A. Yes.                                                5            MS. SCATCHELL: Thank you.
 6   Q. Okay. Do you recognize this document?               6   A. Yeah, so sensory stimuli. So somatosensory cues
 7   A. This is a physical therapy progress note from       7     can be things like visual input. Right? It's a
 8     Integrated Therapy Practice where I sent her.        8     sensory input. A tactile. Where your feet are
 9   Q. And this was part of your medical file; correct?    9     on the floor. Those are somatosensory cues.
10   A. Yes.                                               10   Q. Okay.
11   Q. Okay. And do you see the part where it says        11   A. Examples of them.
12     short-term goals and long-term goals?               12   Q. When it says, "Continuation is recommended to
13   A. Yes.                                               13     progress NMS functioning," do you know what the
14   Q. Is that something that you discussed with Sydney   14     NMS is?
15     as well?                                            15   A. Neuromuscular system.
16   A. It's something that the therapist discussed with   16   Q. Okay. And you had previously testified that Ms.
17     her, and then we do a cursory review if need be,    17     Dillard has generalized anxiety disorder and that
18     so at some point in time, we discuss a home         18     she didn't have a prior history of it before
19     program and things like that.                       19     2017; correct?
20   Q. Okay. And then you see where it says               20   A. Yes.
21     "Assessment/ Diagnosis" at the top?                 21   Q. Okay. In your opinion what do you think was the
22   A. Yes.                                               22     cause of her anxiety disorder?
23   Q. What are "somatosensory cues"?                     23            MS. WERMUTH: I'm going to object to
24            MS. WERMUTH: Where exactly are you,          24     the form of the question and belatedly object to
25     Gia?                                                25     the prior question because I think it is




                                                                                34 (Pages 130 to 133)
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                                              Page 134                                                  Page 135
 1     inconsistent with record testimony already in        1     inability to function as she previously did and
 2     evidence in this case. I also think your             2     have stresses that are encompassing in your life
 3     question is argumentative. Go ahead.                 3     that will perpetuate an ongoing problem.
 4            MS. SCATCHELL: You can answer.                4   Q. Okay. And you had previously stated that
 5            THE WITNESS: Could you repeat the             5     epilepsy is a chronic problem; correct?
 6     question?                                            6   A. Yeah. It's a permanent condition. It's a
 7            MS. SCATCHELL: Ms. Court Reporter,            7     lifelong disorder.
 8     could you read back the question.                    8   Q. Okay. And there's no cure for it; correct?
 9            (The requested material is read by the        9   A. In her case, no. I mean, you know there are
10      court reporter.)                                   10     patients who have brain tumors that cause
11   A. Well, I think it's multifactorial in this case.    11     seizures where we can cut them out, and their
12     I think the initial seizure and her concern of      12     seizures go away.
13     having more seizures and treatment. And then she    13            MS. SCATCHELL: Okay. Let me just
14     did report to me the issues she was having at       14     confer with my client and see if there is
15     work; stress, as she described it, at work, and     15     anything. I'll just be brief.
16     trying to balance her work life and perform like    16            THE WITNESS: Sure. No problem.
17     she was used to within the context of her           17            MS. SCATCHELL: Thank you.
18     limitations. It's not uncommon that we see          18            (A brief recess is taken, after which
19     people who are highly productive and highly --      19      the following proceedings are had.)
20     how do I say this? Very intellectual, smart         20            MS. SCATCHELL: You know what, if we
21     people who are highly productive who have a         21     actually just could stop for the evening. I'm
22     passion for their job who then, all of a sudden,    22     pretty sure that we're finished. I just know
23     have difficulties in life, work life, and just      23     that my client is kind of tapped out, and I feel
24     struggling with symptoms will develop generalized   24     like I'm getting a little bit sloppy in my
25     anxiety disorders. And then when you add on the     25     questioning too, so if we -- I think that we're
                                              Page 136                                                  Page 137
 1     just about finished, but if we could stop for the    1     examination. Now you're talking about adjourning
 2     evening, would be great.                             2     mid examination, although it is 10 minutes until
 3            THE WITNESS: That's fine with me.             3     nine. The doctor said he could go until nine. I
 4            MS. SCATCHELL: Okay. And, Anna, we            4     literally have 20 seconds worth of questions, so
 5     had previously discussed -- I just want to put it    5     I just don't --
 6     on the record that you don't have an objection if    6             MS. SCATCHELL: Do you want to just go
 7     once I'm fresh minded, I come back and discuss       7     out of order and ask your two questions and then
 8     with my client, we have a few other questions,       8     this way if I speak with my client and we feel
 9     you won't object to any motion I file with the       9     comfortable that we don't have anything to ask,
10     judge requesting that; right?                       10     so this way hopefully we don't have to -- and it
11            MS. WERMUTH: So here's my concern,           11     just kind of encompasses everybody's --
12     Gia: If you come back and say we have no more       12             MS. WERMUTH: I would appreciate that.
13     questions, it's conceivable -- I have two           13     And then based on that, then, we can decide
14     based -- like two very quick ones based on the      14     whether or not there is a need for a motion to
15     testimony today. But if you come back and say       15     bring the doctor back. And I appreciate that
16     you have no further questions, I'm not precluded    16     courtesy, Gia.
17     then from my ability to get back on the record      17         And, Doctor, if you will indulge me, I have
18     and ask those two questions, so --                  18     two very quick questions.
19            MS. SCATCHELL: Well, then do you want        19             THE WITNESS: No worries.
20     to just plan on coming back if necessary --         20             MS. WERMUTH: And thank you again, Gia.
21     well --                                             21   FURTHER EXAMINATION
22            MS. WERMUTH: Look, I don't want to           22     QUESTIONS BY MS. WERMUTH:
23     force you to come back, but this is a confusing     23   Q. So you testified about Dr. Dillard seeking out
24     situation because previously you were talking       24     therapy for her anxiety disorder; right?
25     about adjourning before you had started your        25   A. Yes, I think there's some documentation in my




                                                                                35 (Pages 134 to 137)
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                                              Page 138                                                   Page 139
 1     notes that she was attending some help.              1            MS. WERMUTH: Objection. That's
 2   Q. Right, thank you. But you did not receive           2     totally inaccurate. He has secondhand knowledge
 3     records from that therapist like you did from the    3     of what she told him.
 4     physical therapists; correct?                        4            MS. SCATCHELL: No. I said he has
 5   A. That's correct.                                     5     firsthand knowledge of her discussing with him
 6   Q. Okay. So you don't have the full history of         6     that she was experiencing workplace issues.
 7     whatever stressors and whether it was life events    7            MS. WERMUTH: Okay.
 8     or work events or family events that were causing    8   QUESTIONS BY MS. SCATCHELL:
 9     her anxiety; right? You don't have the full          9   Q. Is that accurate?
10     background?                                         10   A. Yes, that is accurate.
11   A. No. Just what I testified to.                      11   Q. And would you need the therapist's notes to make
12   Q. Okay. And are you aware that she stopped going     12     your assessment that Ms. Dillard had a
13     to therapy?                                         13     generalized anxiety disorder?
14   A. I don't know that she stopped.                     14   A. In my medical record, I have documentations from
15            MS. WERMUTH: That's all I have,              15     a board certified neuropsychologist, a Ph.D.
16     Doctor. Thank you.                                  16     neuropsychologist, documenting it.
17            MS. SCATCHELL: I'm just going to ask a       17   Q. Okay.
18     couple of quick questions.                          18   A. I mean, I could take a few minutes and peruse
19   FURTHER EXAMINATION                                   19     that note. He may have some details. I haven't
20     QUESTIONS BY MS. SCATCHELL:                         20     looked at it since probably the time it was
21   Q. Ms. Dillard specifically had mentioned to you      21     generated, but he may have some details about
22     various issues and stressors that she was           22     what her stressors are in the note. I need to
23     experiencing at work; correct?                      23     look at that or it's in my notes, which are now
24   A. Yes.                                               24     an exhibit, so...
25   Q. So you have first-hand knowledge?                  25   Q. Yeah. While we're here, if you wouldn't mind
                                              Page 140                                                   Page 141
 1     taking a couple of minutes.                          1     tenure, you have reviews. I have received
 2   A. Sure. Let me find it.                               2     reviews every year. In 2016, I had a review and
 3   Q. Thank you. If you haven't found it yet, I think     3     the faculty recommended retention. They did not
 4     it's --                                              4     think I was making progress in teaching."
 5   A. I have it.                                          5        So then on page 4750, his diagnoses were;
 6   Q. Okay. Perfect.                                      6     number one, major depressive disorder; and number
 7   A. I'm reading through it.                             7     two, generalized anxiety disorder.
 8              MS. WERMUTH: What pages are we looking      8        And then on page 4751 he just has some
 9     at? 4747?                                            9     recommendations. The usual things. Individual
10              MS. SCATCHELL: Yes. To 4754.               10     supportive therapy, et cetera.
11              THE WITNESS: Do you want me to             11        So Dr. Singh, as I said, is a board
12     highlight features of his report that I can         12     certified neuropsychologist making his two
13     discuss now that are in addition to the anxiety     13     diagnoses after an extensive battery of testing.
14     in reference to what we talked about?               14   Q. Okay. And on page 4748 where it says trauma at
15              MS. SCATCHELL: Yes.                        15     job.
16   A. So 4748 under "History of Present Problem," the    16            MS. WERMUTH: Objection. Misstates the
17     history that Dr. Singh or his associate received    17     record.
18     directly from Dr. Dillard was, "I have difficulty   18   QUESTIONS BY MS. SCATCHELL:
19     reading, memory loss and assimilation to my job.    19   Q. "Some trauma at my job." Thank you.
20     When I was lecturing I have dizziness and           20   A. Yes, that's in quotes.
21     migraines. My eyes start twitching. I skip          21   Q. Okay. And would that be considered a stressor
22     words. I have word and name-finding                 22     based on your assessment?
23     difficulties."                                      23   A. Well, if someone --
24          And then I'm continuing to read.               24            MS. WERMUTH: Objection to form. Go
25          "I started feeling anxious in 2017. Before     25     ahead.




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                                                            Page 142                                                            Page 143
                                                                            IN THE UNITED STATES DISTRICT COURT
 1    A. If someone says, "Some trauma at my job,"                          FOR THE NORTHERN DISTRICT OF ILLINOIS
 2      obviously there's some disturbance going on. I
                                                                       SYDNEY DILLARD,               )
 3      can't tell if it's someone slamming her head                                   )
 4      against the wall or if it's, on the other                            Plaintiff, )
                                                                                       ) CIVIL ACTION NO.
 5      extreme, anxiety and stress from some other                    vs.               ) 1:20-cv-7760
                                                                                       )
 6      reason.                                                        DEPAUL UNIVERSITY,              )
 7             MS. SCATCHELL: Okay. At this point I                                    )
                                                                             Defendant. )
 8      don't think we have any other questions, so I
                                                                       The deposition of RICHARD CRISTEA, M.D., taken in the
 9      think you're free to go.                                       above-captioned case, on August 8, 2022, at the time
10             MS. WERMUTH: Doctor, thank you so                       and place hereof it was requested that said deposition
                                                                       be transcribed and reduced to typewritten form.
11      much.                                                          It was agreed by the deponent, all parties, and by
                                                                       their respective counsel that the signature of the
12             MS. SCATCHELL: I really appreciate                      deponent to the deposition be waived; said deposition
13      your time.                                                     to be read with the same force and effect as if signed
                                                                       by said deponent.
14             THE WITNESS: Thank you.
15             MS. WERMUTH: We really appreciate your                   (The reading, examination and signature by the
                                                                         witness are hereby waived by the witness and by
16      time. It was helpful.                                            the parties.)
17             (Deposition proceedings conclude at                        FURTHER THE DEPONENT SAITH NOT
18       10:00 p.m.)                                                            (Signature Waived)
19                                                                           _________________________________
                                                                               RICHARD CRISTEA, M.D.
20
21                                                                              Magna Legal Services
                                                                                 (866)624-6221
22                                                                               www.magnals.com
23
24
25
                                                            Page 144
     STATE OF INDIANA )
             ) SS.
     COUNTY OF DELAWARE)

            CERTIFICATE OF COURT REPORTER

         I, Mary Beth Schafer, the undersigned Court
     Reporter and Notary Public, residing and maintaining
     offices in the City of Muncie, County of Delaware,
     State of Indiana, do hereby certify:
         That at the time and place described in this
     transcript, the deponent, RICHARD CRISTEA, M.D.,
     presented himself before me for administration
     of an oath of truthfulness, which oath I then
     administered;
         That I then reported to the best of my ability
     in machine shorthand all of the words spoken by all
     parties in attendance during the course of the
     ensuing proceedings, including objections, if any,
     made by all counsel present;
         That I later reduced my stenographic notes into
     the foregoing typewritten transcript form, which
     typewritten transcript is a true record of the
     testimony given by this witness as stated above;

        I do further certify that I am a disinterested
     person in this cause of action; that I am not a
     relative or attorney or employee of any of the
     parties, that I am not a relative or an employee of
     such attorney or counsel, and that I am not
     financially interested in this action.
        IN WITNESS HERETO, I have affixed my Notarial
     Seal and subscribed my signature below this
     25th day of August, 2022.

           ____________________________________
           Mary Beth Schafer, RPR, Notary Public
     County of Residence: Delaware
     My Commission Expires: April 11, 2023




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                 EXHIBIT H

  DR. SMITH DEPOSITION
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                                                                              Page 1
        IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION
 SYDNEY DILLARD,            )
                  Plaintiff,)
                            )
           -vs-             )             No.    1:20-cv-7760
                            )
 DEPAUL UNIVERSITY,         )
                  Defendant.)


               The deposition of STAN V. SMITH, Ph.D., called
 by the Defendant for examination, pursuant to notice and
 pursuant to the Rules of Civil Procedure for the United
 States District Courts, taken before Marcie A. Haw, CSR
 and Notary Public in and for the County of Cook and State
 of Illinois, on August 22, 2023 at 10:00 a.m, 123 North
 Wacker Drive, Suite 1800, Chicago, Illinois.
     Case: 1:20-cv-07760 Document #: 124 Filed: 12/27/23 Page 504 of 572 PageID #:4883

                                                           Page 2                                                           Page 3
 1        There were present at the taking of this                   1                INDEX
 2   deposition the following counsel:                               2   WITNESS                 PAGE
                                                                     3   Stan V. Smith, Ph.D.
 3                                                                   4   Examination by Ms. Wermuth     5
 4         DISPARTI LAW GROUP, PA, by                                5   Examination by Ms. Scatchell 144
           MS. GIANNA SCATCHELL                                      6
 5         121 West Wacker Drive, Suite 2300                                        EXHIBITS
                                                                     7
           Chicago, Illinois 60601                                                          PAGE
 6         Phone: (312) 506-5511                                     8
           E-mail: gia@dispartilaw.com                                   Deposition Exhibit No. 1    7
 7                                                                   9
               Appearing telephonically on                               Deposition Exhibit No. 2    12
                                                                    10
 8             behalf of the Plaintiff;                                  Deposition Exhibit No. 3    14
 9         COZEN O'CONNOR, by                                       11
           MS. ANNA WERMUTH                                              Deposition Exhibit No. 4    16
10         123 North Wacker Drive, Suite 1800                       12
                                                                         Deposition Exhibit No. 5    17
           Chicago, Illinois 60606                                  13
11         Phone: (312) 382-3100                                         Deposition Exhibit No. 6    24
           E-mail: awermuth@cozen.com                               14
12                                                                       Deposition Exhibit No. 7    26
                                                                    15
               on behalf of the Defendant;                               Deposition Exhibit No. 8    30
13                                                                  16
           ALSO PRESENT: Ms. Kathryn Rosenbaum                           Deposition Exhibit No. 9    32
14               In-house counsel for                               17
                 DePaul University.                                      Deposition Exhibit No. 10   35
                                                                    18
15                                                                       Deposition Exhibit No. 11   36
16                                                                  19
17                                                                       Deposition Exhibit No. 12   38
18                                                                  20
                                                                         Deposition Exhibit No. 13   48
19                                                                  21
20                                                                       Deposition Exhibit No. 14   55
21                                                                  22
22                                                                       Deposition Exhibit No. 15   55
23                                                                  23
                                                                         Deposition Exhibit No. 16   55
24                                                                  24


                                                           Page 4                                                           Page 5
 1                       EXHIBITS                                    1                    STAN V. SMITH, Ph.D.,
                         CONTINUED                                   2       called as a witness herein, having been first duly sworn,
 2                                                                   3       was examined upon oral interrogatories and testified as
 3                         PAGE                                      4       follows:
 4      Deposition Exhibit No. 17                    55              5                       EXAMINATION
 5      Deposition Exhibit No. 18                    99              6       BY MS. WERMUTH:
 6      Deposition Exhibit No. 19                    101             7           Q. Dr. Smith, thank you for coming this morning.
 7      Deposition Exhibit No. 20                    103             8       We're here on the case Dillard versus DePaul University.
 8      Deposition Exhibit No. 21                    104             9       And that case number is 20 CV 7760, pending in the U.S.
 9      Deposition Exhibit No. 22                    108            10       District Court for the Northern District of Illinois.
10      Deposition Exhibit No. 23                    115            11              Dr. Smith, I know you've had your deposition
11      Deposition Exhibit No. 24                    135            12       taken hundreds of times, maybe thousands of times, but
12      Deposition Exhibit No. 25                    137            13       let me just give a couple of short instructions here.
13                   *****                                          14              One is I'm not always super articulate, so if
14
15                                                                  15       there's a question I pose to you that you don't
16                                                                  16       understand, feel free to let me know that and I will do
17                                                                  17       my best to rephrase it, okay?
18                                                                  18           A. Perfect.
19                                                                  19           Q. Also, I sometimes take some time to get through
20                                                                  20       a question. As you know, the court reporter can only
21                                                                  21       transcribe one person speaking at a time, so do your best
22                                                                  22       to allow me to finish even though I sometimes pause in
23                                                                  23       the middle of my sentences, and I'll do my best to allow
24                                                                  24       you to finish as well.


                                                                                                            2 (Pages 2 to 5)
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                                                     Page 6                                                          Page 7
 1       A. Certainly.                                            1   We'll do our best to get you out of here, but we'll see
 2       Q. Sounds good. All right.                               2   how the day progresses, okay?
 3       MS. SCATCHELL: Anna, before we start, do you want        3       A. Thank you.
 4   to say on the record about Dr. Smith's court mandate?        4       MS. WERMUTH: Gia, anything else you want to say on
 5       MS. WERMUTH: Yeah, I was just going through some         5   that topic?
 6   preliminaries, Gia.                                          6       MS. SCATCHELL: Nope.
 7       MS. SCATCHELL: Oh, okay.                                 7       MS. WERMUTH: Okay.
 8   BY MS. WERMUTH:                                              8   BY MS. WERMUTH:
 9       Q. And if you need a break at any time, Dr. Smith,       9       Q. I will start, Dr. Smith -- I will do my best to
10   you know you can do that.                                   10   call you Dr. Smith.
11       A. Thank you.                                           11       MS. WERMUTH: Could we get this marked as Exhibit 1,
12       Q. Terrific. And before we get started today --         12   please?
13   and we'll put on the record what Gia just said in a         13                (Document marked as requested.)
14   moment -- could you just tell me if there's any             14   BY MS. WERMUTH:
15   medication that you've taken in the last 24 hours that      15       Q. Dr. Smith, do you recognize Deposition Exhibit
16   could impact your ability to testify accurately today?      16   1?
17       A. No.                                                  17       A. It's my resume.
18       Q. Okay. And any alcohol consumed in the last 24        18       Q. Got it.
19   hours?                                                      19       A. And also attached is my testimony.
20       A. No.                                                  20       Q. Okay. Got it. So Bates pages 57 through 92
21       Q. Okay. Very good.                                     21   contain your C.V. and your list of testimony over the
22          So as Gia Scatchell alluded to, we have been         22   last four years as of May 21st, 2022; is that right?
23   informed this morning that you have been called to          23       A. Yes.
24   testify at trial or court at 2:00 o'clock this afternoon.   24       Q. Okay. Now you've presented your report to us


                                                     Page 8                                                          Page 9
 1   in this case, disclosed it in September of 2022.             1    the last eight years or so you published almost
 2          Any reason why we got your list of testimony          2    exclusively in the Vegas Legal Magazine?
 3   only through May of that year?                               3        A. Yes.
 4       A. I provide the list of testimony upon request,         4        Q. Okay. And that's not a peer-reviewed
 5   and it was requested that day.                               5    publication; is that right?
 6       Q. On May 31st of 2022?                                  6        A. No.
 7       A. Right. We print it. It's current, and it was          7        Q. Okay. And then in terms of your testimony in
 8   sent. I certainly can provide an update upon request.        8    the last four years, as of May 21st, 2022, it looks like
 9       Q. Okay. Terrific. And so just to save some time         9    you've testified in over 800 matters during that time
10   today, is it your testimony that everything in your C.V.    10    period, give or take?
11   about your educational background, your professional        11        A. 800 instances -- sometimes a particular case
12   activities, your employment and your publications is true   12    may appear at a deposition once or twice and then a
13   and accurate?                                               13    trial. So it's 800 instances, a few cases have repeat
14       A. Yes.                                                 14    citations.
15       Q. Okay. And if I could just ask you to look very       15        Q. Okay. And your list, then, is every time that
16   briefly at page -- Bates page 58, which is the second       16    you've testified, right?
17   page of the exhibit.                                        17        A. Yes.
18       A. Yes.                                                 18        Q. Okay. So there are several instances,
19       Q. At the bottom of that page, you start listing        19    including like today, for example, right, where you've
20   your publications, which continue through page 62; is       20    testified multiple times in a day, correct?
21   that right?                                                 21        A. Yes.
22       A. Yes.                                                 22        Q. And some of this testimony listed on pages 69
23       Q. Okay. And am I reading this correctly -- when        23    through 92 are depositions and others are trial; is that
24   I look at your most recent publications, it looks like      24    fair?


                                                                                               3 (Pages 6 to 9)
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                                                  Page 10                                                          Page 11
 1      A. Yes.                                                   1       Q. Okay. And have you been engaged in employment
 2      Q. Okay. And on some days you testify as many as          2   cases before then?
 3   three times in a day; is that accurate?                      3       A. Often.
 4      A. That has happened.                                     4       Q. Often? Okay. And that would include cases
 5      Q. Okay.                                                  5   where there are claims being made under Title VII of the
 6      A. There are times when I take three weeks'               6   Civil Rights Act of 1964?
 7   vacation, like I just came back from.                        7       A. Yes.
 8      Q. Good for you. Good for you. Okay. And then             8       Q. That would include cases where the plaintiff is
 9   your testimony in these cases is as an economist; is that    9   alleging disability discrimination under the Americans
10   right?                                                      10   with Disabilities Act?
11      A. Yes.                                                  11       A. Yes.
12      Q. So in each one of these matters listed on pages       12       Q. That would also include claims made by a
13   69 through 92 you have been engaged as an expert to         13   plaintiff under the Equal Pay Act?
14   provide an economic analysis?                               14       A. Yes.
15      A. Yes.                                                  15       Q. Okay. And have you ever been involved or
16      Q. Can you tell me from this document the                16   engaged by a plaintiff who was a tenured faculty member,
17   percentage or just an average of how many of these          17   other than this case?
18   matters where you are testifying for the plaintiff?         18       A. I believe that's happened, yes.
19      A. In commercial cases, it's about 50/50. That's         19       Q. Do you recall how many times?
20   about half of my overall work. In personal injury or        20       A. Maybe not more than a handful who have been
21   wage claims, let's just say arising for various reasons,    21   tenured, but certainly some instances.
22   including physical injury but not exclusive, wage           22       Q. And were those local matters here in the
23   analysis is about the other half of my work, and that's     23   Chicago area?
24   about three-quarters for plaintiff.                         24       A. No, they were, I think, probably East or West


                                                  Page 12                                                          Page 13
 1   Coast.                                                       1      A. Yes. It's --
 2      Q. Okay. Have you been engaged by Disparti Law            2      Q. And what --
 3   before?                                                      3      A. -- a request for a retainer, which we usually
 4      A. I have had occasion --                                 4   send out at the start of a case.
 5      Q. Do you know how many times?                            5      Q. Okay. So were you engaged on or about
 6      A. -- and in the past --                                  6   September 14th of 2022?
 7      Q. Oh, I'm sorry.                                         7      A. Yes.
 8      A. I think I have about a handful of cases                8      Q. You billed Disparti law for a $2,500
 9   currently open with them, maybe three or four other          9   engagement; is that right?
10   matters.                                                    10      A. For a retainer, yes.
11      Q. Okay. And over the last four years, do you            11      Q. I'm sorry. For the retainer. Okay. What have
12   know how many times you have been engaged by Disparti       12   you charged them since the retainer?
13   Law?                                                        13      A. So shortly after that we completed the report,
14      A. Well, as I say, we have about three or four           14   and we billed $7,000. I have a copy of that invoice
15   other matters that are opened. I think they have all        15   here.
16   opened in the last three or four years, probably.           16      Q. Oh, terrific. We can get a copy of that, then?
17      Q. I see. Okay. Are those cases personal injury          17      A. Right.
18   cases or employment cases?                                  18      Q. Okay. So you charged a $2,500 retainer. And
19      A. I just don't recall at the present.                   19   then $7,000 for the report, was that charged against the
20      Q. Fair enough.                                          20   retainer or on top of the retainer?
21      MS. WERMUTH: Could you mark this as 2, please?           21      A. No, the retainer would be a credit to it.
22                (Document marked as requested.)                22      Q. Okay. So the total --
23   BY MS. WERMUTH:                                             23      A. The report --
24      Q. Do you recognize Exhibit 2, Dr. Smith?                24      Q. I'm sorry.


                                                                                           4 (Pages 10 to 13)
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                                                  Page 14                                                           Page 15
 1       A. -- was finished so quickly that the time we           1   that document?
 2   sent out the report invoice, the retainer had been paid.     2       A. Yes, it's my report.
 3       Q. Oh, I see. Okay.                                      3       Q. Okay. So it spans pages -- discovery -- it
 4       A. So there's still -- there's $7,000 as of that         4   says Dillard expert discovery, 1 through 42.
 5   invoice.                                                     5          Is that what you have, sir?
 6       Q. So the total to date is 7,000, not 9,500?             6       A. Yes.
 7       A. Correct.                                              7       Q. Okay. Can I draw your attention quickly to the
 8       Q. Thank you. And just as a general proposition,         8   second page of your report in the background section?
 9   do you have an understanding of Dr. Dillard's claims in      9       A. Yes.
10   this matter?                                                10       Q. You write in that first sentence that Sidney
11       A. Only what I see in the record and the                11   Dillard was injured on November 13, 2020. Do you see
12   complaint, but it's discrimination, I think -- or I'm       12   that?
13   just going to say this, loosely speaking, that she didn't   13       A. Yes. I think more artfully I could have put --
14   feel she was being paid equally nor promoted equally, but   14   I use that date as the date of discrimination.
15   I'm not going to get into the details beyond that.          15       Q. Okay. And how is it that you came to land on
16       Q. Okay. And the reason you're not going to get         16   that particular date?
17   into the details beyond that is because you're not giving   17       A. The intake form that was provided to me by
18   a liability opinion?                                        18   plaintiff's counsel filled in a few of the blanks, one of
19       A. Correct.                                             19   them, date of incident is 11-13-2020. So we use injury
20       MS. WERMUTH: Can you mark this as 3? Thank you.         20   in a very generic sense, a career injury.
21                 (Document marked as requested.)               21       Q. Okay. And you said you got that from the
22   BY MS. WERMUTH:                                             22   intake form?
23       Q. Dr. Smith, you have now been handed what's been      23       A. Yes.
24   marked as Deposition Exhibit No. 3. Do you recognize        24       Q. Okay.

                                                  Page 16                                                           Page 17
 1      A. Here's a copy.                                         1      Q. So when it says date of incident or date of
 2      Q. Yeah, I have one, too. Just give me a minute           2   death, 11-13-22, that's what you're using as the date of
 3   and I will get it marked for you.                            3   injury?
 4      A. I'm just showing you so you can recognize it.          4      A. Correct.
 5      Q. Thank you. I'm familiar with that document.            5      Q. Okay. And as you sit here right now, do you
 6      A. Okay.                                                  6   know if anything happened on November 13 of 2020?
 7      Q. I just need to find it.                                7      A. I didn't memorize the sequence of events. I
 8                 (Brief pause.)                                 8   think that's when she left DePaul.
 9      THE WITNESS: Gia, are you able to hear us when I          9      Q. Okay.
10   speak low?                                                  10      A. She --
11      MS. SCATCHELL: Yes.                                      11      Q. Are you aware Dr. Dillard is still currently
12      THE WITNESS: Okay. Great.                                12   working at DePaul?
13      MS. WERMUTH: If you could mark this.                     13      A. Yes.
14                (Document marked as requested.)                14      Q. Okay. So in this moment, you're not sure what
15   BY MS. WERMUTH:                                             15   happened on November 13th of 2020?
16      Q. Okay. Dr. Smith, is Exhibit 4 the case intake         16      A. I can look at the notes, but I know the losses
17   form that you were referring to?                            17   were claiming -- I didn't memorize the incidents --
18      A. Yes.                                                  18      Q. Okay.
19      Q. And who filled this out?                              19      MS. WERMUTH: Could you mark this as 5, please?
20      A. Plaintiff's counsel returned it to me filled          20                 (Document marked as requested.)
21   out.                                                        21   BY MS. WERMUTH:
22      Q. Okay. So this was not completed by your               22      Q. Dr. Smith, we have put Exhibit 5 in front of
23   office?                                                     23   you. Can you just tell me if that's the notes you just
24      A. Correct.                                              24   referred to?


                                                                                           5 (Pages 14 to 17)
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                                                  Page 18                                                           Page 19
 1       A. Yes.                                                  1   part of that time, so from 2017 to 2023 we show loss of
 2       Q. Okay. You see it sitting right there?                 2   retirement benefits.
 3       A. Yes.                                                  3       Q. Well, and loss of wages if you look at page 19,
 4       Q. Okay. All right. So is there anything in the          4   right?
 5   notes that refreshes your recollection as to what            5       A. Yes.
 6   happened on November 13th of 2020?                           6       Q. So Table 1 shows that damages start accruing in
 7       A. Just a lot of notes about her career here.            7   2017 on wages, benefits and reduced value of life, right?
 8   Just give me a moment.                                       8       A. Yes.
 9       Q. Certainly.                                            9       Q. Okay. So is the injury 2017 or 2020?
10                 (Long pause.)                                 10       A. Well, that's what they claim was the date of
11       A. I can't say for certain that it's a failure to       11   incident, but we show earnings history -- we show losses
12   earn what she believes she would have earned, but that's    12   beginning for wages in 2017, and for loss of enjoyment of
13   the date of which I show what she is earning, versus what   13   life. Because we take her wage base of 104,000 in 2017,
14   I projected she would have earned.                          14   and assume that that would grow, and we also reflected a
15       Q. So just so I follow that. November 13, 2020 is       15   promotion that we believe would have occurred at that
16   the date showing that she earned -- is earning what she     16   time.
17   should have been earning?                                   17       Q. Right. Which is why I'm asking about the 2020
18       A. 2021 is the first year in which we show she's        18   date, because I don't see anything in your report tied to
19   not earning what she should have been earning.              19   11-13-2020. I'm just trying to understand that.
20       Q. But if I look at the tables, Dr. Smith, in your      20       A. Correct. Well, that's -- you can ask plaintiff
21   report, which is Exhibit 3, the tables which begin on       21   counsel why they put that date in.
22   Bates page 19, all start from -- show damages starting      22       Q. Okay. Okay. So it's not a date that you
23   from 2017. Do you see that?                                 23   actually use as a marker for wage loss?
24       A. Yeah. There are some -- losses of benefits           24       A. Correct.


                                                  Page 20                                                           Page 21
 1       Q. Okay. So when I look at Exhibit 5, which are          1       A. I barely remember my middle initial.
 2   your work notes -- and by the way, who prepared those        2       Q. Okay. Fair enough. Okay. So they interviewed
 3   work notes?                                                  3   her, provided you with those interview notes, which you
 4       A. I do.                                                 4   then used to work up your analysis, which you do
 5       Q. You do?                                               5   initially in your work notes, and then you prepare the
 6       A. Yes.                                                  6   report? Do I have that succession of events right?
 7       Q. Okay. And did you interview Dr. Dillard?              7       A. Yes. Except it was Josh, not "they."
 8       A. She was interviewed by one of my trained staff,       8       Q. I'm. Sorry. Josh.
 9   economic research analyst by the name of Josh Kvachkoff,     9       A. Again, Stephanie played no role. She's there
10   K-v-a-c-h-k-o-f-f, at my direction and my request and       10   as backup.
11   under my personal supervision. I was not on the line or     11       Q. Okay. So she was present, but she did not do
12   in the room. There was no need as yet.                      12   the interviewing?
13       Q. Okay. So if I look at Exhibit 5, Bates page          13       A. She played zero role. She was nowhere. She is
14   206, are those the notes of the interview with              14   simply listed as his supervisor as a matter of protocol.
15   Dr. Dillard?                                                15   If I gave him direction and I'm not around to explain a
16       A. Yes.                                                 16   question he may have, she can back me up.
17       Q. And what is SRU/JDK? What does that refer to?        17       Q. Okay. And just so I understand, if we look at
18       A. The JDK is for Josh.                                 18   page -- the first page of Exhibit 5, I just want to
19       Q. The person you just identified?                      19   understand some acronyms here. DOI is date of injury?
20       A. Yes.                                                 20       A. Or incident.
21       Q. And what is SRU?                                     21       Q. DOL refers to date of loss?
22       A. His immediate supervisor who played no role in       22       A. Yes.
23   this case, Stephanie Uhl, U-h-l.                            23       Q. What is DOT?
24       Q. What does the R stand for, do you know?              24       A. Trial.


                                                                                           6 (Pages 18 to 21)
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                                                  Page 22                                                          Page 23
 1       Q. I see. Okay. And then we have RLE as of DOT.          1   given assignments to compute losses. I work under so
 2   What does that mean?                                         2   many different types of claims that I can't pretend to
 3       A. Remaining life expectancy.                            3   memorize them all.
 4       Q. Okay. And what is LE as of DOT?                       4       Q. Okay.
 5       A. Life expectancy.                                      5       A. All I know is I have been asked to assess the
 6       Q. What is HLE?                                          6   difference in the wages that she believes she may have
 7       A. Healthy life expectancy.                              7   earned versus what she has earned.
 8       Q. Okay. What does that mean, healthy life               8       Q. So just so I'm clear, your analysis is not tied
 9   expectancy?                                                  9   to any particular statutory cause of action?
10       A. It's a government table that shows how long          10       A. Correct.
11   people may have the intellectual -- well, let me rephrase   11       Q. Okay. So if any one of those statutory causes
12   it.                                                         12   of action goes away -- like if the Americans with
13          How long people may be free from intellectual,       13   Disabilities Act claim goes away or the Title VII Act
14   emotional or physical impairments that may preclude them    14   claim goes away -- what's your position on the utility of
15   from holding a full-time job.                               15   your analysis?
16       Q. And what is the government table called?             16       A. Well, this is what I --
17       A. Healthy life expectancy.                             17       MS. SCATCHELL: Objection; calls for a legal
18       Q. Okay. And who produces that?                         18   conclusion. You can answer.
19       A. Health and Human Services. It's part of the          19   BY THE WITNESS:
20   life expectancy series.                                     20       A. This is what I believe is her actual loss,
21       Q. Okay. Thank you. Are you familiar with the           21   irrespective of her legal ability to claim.
22   damages that are available under Title VII of the Civil     22   BY MS. WERMUTH:
23   Rights Act?                                                 23       Q. Okay. So you're not familiar with any caps on
24       A. I'm not going to claim that I am. I have been        24   damages under the ADA or Title VII?

                                                  Page 24                                                          Page 25
 1       A. I just don't recall.                                  1       A. Yes. I'm familiar with the type of document,
 2       MS. SCATCHELL: Objection; calls for a legal              2   yes.
 3   conclusion. You can answer.                                  3       Q. Have you seen this particular document before?
 4   BY THE WITNESS:                                              4       A. No.
 5       A. I don't recall.                                       5       Q. Okay.
 6   BY MS. WERMUTH:                                              6       MS. WERMUTH: And, Gia, just so you know, I realize
 7       Q. And are you familiar with whether                     7   all of a sudden you're on the phone. So just you know,
 8   compensatory-type damages are available at all under the     8   Exhibit 1 is a C.V., Exhibit 2 is the retainer request,
 9   Equal Pay Act?                                               9   Exhibit 3 is his report, Exhibit 4 is the intake form,
10       A. I'm not labeling --                                  10   Exhibit 5 are the notes, work notes. And Exhibit 6 is
11       MS. SCATCHELL: Objection; calls for a legal             11   the expert disclosure that you served on us, Gia. Okay?
12   conclusion. He can answer.                                  12       MS. SCATCHELL: Okay. I'm following along. I have
13   BY THE WITNESS:                                             13   the report in front of me, but thank you. That's
14       A. Yeah. I'm not labeling these as compensatory.        14   helpful.
15   They're simply wage losses that I've computed,              15       MS. WERMUTH: Okay. Good.
16   irrespective of how they are presented.                     16   BY MS. WERMUTH:
17   BY MS. WERMUTH:                                             17       Q. Okay. So you haven't seen this particular
18       Q. Okay.                                                18   document, but you're familiar with these types of
19       MS. WERMUTH: Can I please have this marked as 6?        19   documents?
20                (Document marked as requested.)                20       A. Yes. The Rule 26, paren "a", close paren,
21   BY MS. WERMUTH:                                             21   paren "2" open paren "b", close paren, or what I often
22       Q. Dr. Smith, I had the court reporter hand you         22   call Rule 26(a)(2)(b).
23   what's been now marked as Exhibit 6.                        23       Q. Got it. So let's do this instead. Why don't
24          Are you familiar with that document?                 24   we put that aside, and let's take a look at page 2 of


                                                                                          7 (Pages 22 to 25)
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                                                  Page 26                                                           Page 27
 1   your report, which is Exhibit 3.                             1       A. Yes.
 2          The reason I put Exhibit 6 in front of you is I       2       Q. Okay. These were the pay stubs you listed on
 3   want to talk to you about some of the documents you          3   page 2 of your report. Do I have that correct?
 4   relied upon, but you also put them in your report. So I      4       A. Yes.
 5   want to just walk through some of those --                   5       Q. Is there any reason why you looked only at a
 6       A. Yes, at the bottom.                                   6   portion of her pay in the year 2022?
 7       Q. Yeah.                                                 7       A. That's all I was provided, because imagine --
 8       A. -- of page 2 --                                       8   if my report is dated 2022, as of that time, we would not
 9       Q. Yep.                                                  9   have the complete pay scale for the year.
10       A. -- is a listing.                                     10       Q. Okay.
11       Q. Correct. Okay. So one item listed there is           11       A. And I'll just say, undoubtedly, there is more
12   Dr. Dillard -- so this is Item 2. Her pay stubs from        12   records that I haven't seen. This report is as of then.
13   July 1, '22 through September 23, '22. Do you see that?     13   I may be asked to update it. I have not been asked to
14       A. Yes.                                                 14   update it, so we can speak as of the information I had as
15       Q. Okay.                                                15   of the time I did the report.
16       MS. WERMUTH: And I'm going to mark those stubs.         16       Q. Okay. Any reason why you don't have any pay
17       MS. SCATCHELL: Can I get a Bates stamp for those?       17   stubs before July 1 of '22?
18       MS. WERMUTH: Yeah. Let's get back on the record         18       A. I just have what I've been provided.
19   and I'll do that.                                           19       Q. Okay. So let's look at page 831, that first
20                 (Document marked as requested.)               20   page of Exhibit 7.
21   BY MS. WERMUTH:                                             21       A. Yes.
22       Q. Dr. Smith, you have been handed Deposition           22       Q. So this is a pay stub for a payroll period
23   Exhibit 7, which is Bates labeled Dillard Expert            23   beginning September 5th of 2022, and ending September
24   Discovery 831 through 846. Do you see that?                 24   18th of 2022. Do you see that?

                                                  Page 28                                                           Page 29
 1       A. Yes. It's a two-week payroll period. Fairly           1      Q. Do you know what that is?
 2   typical.                                                     2      A. Same answer. It's different names for
 3       Q. Yep. And under hours and earnings, do you see         3   different things. And I'm not sure what they all are,
 4   that box?                                                    4   but what I need to know is what she earned and not the
 5       A. Yes.                                                  5   different pigeonholes in which they categorize it.
 6       Q. I see items listed here as regular salary. Do         6      Q. Okay. And then that amount year-to-date was
 7   you see that?                                                7   $105. Do you see that?
 8       A. Yes.                                                  8      A. A whopping amount, yes.
 9       Q. Okay. So that would be -- your understanding          9      Q. Okay. And then there's something called
10   is that would be her base salary rate or her base salary?   10   one-time payment. Do you see that?
11       A. Base pay, yes.                                       11      A. Yes.
12       Q. Okay. And then there's something listed as           12      Q. And year-to-date -- I'm sorry. Do you know
13   Faculty Admin Stipend. Do you see that?                     13   what one-time payment is?
14       A. Yes.                                                 14      A. No.
15       Q. Do you know what that is?                            15      Q. By its description, does that suggest to you
16       A. I can't say for certain.                             16   that that's -- was paid out on a single occasion?
17       Q. Okay. It looks like as of September 23rd, when       17      A. As of that date, yes.
18   she was paid, her earnings to date in that category were    18      Q. Okay.
19   $14,719.29. Do you see that?                                19      A. But there may be -- may have been more one-time
20       A. Yes.                                                 20   payments later in the year; can't tell.
21       Q. Okay. And then under Faculty Admin Stipend,          21      Q. Right. In part you can't tell because you
22   there is something called Faculty Admin Service. Do you     22   don't have all the pay stubs, right?
23   see that?                                                   23      A. Yes.
24       A. Yes.                                                 24      Q. Okay. And that one-time payment was $1,500.


                                                                                           8 (Pages 26 to 29)
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                                                  Page 30                                                         Page 31
 1   Do you see that?                                            1      A. I do ask for financial information. This is
 2      A. Yes.                                                  2   what I was provided.
 3      Q. Okay.                                                 3      Q. Okay. If you look at -- I'm assuming the
 4      A. But, again, there may be multiple one-time            4   relevant box is Box 3; is that right?
 5   payments. It's just a term --                               5      A. Yes, that's the total earnings.
 6      Q. Right.                                                6      Q. Okay. So on these W2 statements, you see total
 7      A. -- used.                                              7   earnings. You don't see them broken down by the
 8      Q. It's a term, but you don't know what that term        8   categories we just talked about in Exhibit 7; is that
 9   means; is that right?                                       9   right?
10      A. It wouldn't matter. That's true.                     10      A. I don't need that, and you do not see that on
11      Q. Okay. And then you looked at her -- you also         11   the W2, correct.
12   looked at her W2 forms from 2017 through 2020; is that     12      Q. Okay. So based on this information, her wages
13   right?                                                     13   increased from '17 to '18, correct?
14      A. Yes.                                                 14      A. Yes.
15      Q. Okay.                                                15      Q. And then decreased from 2018 to 2019? Do you
16      MS. WERMUTH: Can you mark this as 8, please?            16   see that?
17                (Document marked as requested.)               17      A. Yes.
18   BY MS. WERMUTH:                                            18      Q. And then increased again from 2019 to 2020. Do
19      Q. So this Exhibit 8, Dr. Smith, are Dr. Dillard's      19   you see that?
20   W2 statements from DePaul, from the years 2017 through     20      A. Yes.
21   2020; is that right?                                       21      Q. Okay. And do you have any explanation for the
22      A. Yes.                                                 22   decrease from 2018 to 2019?
23      Q. Okay. And any reason why you didn't ask also         23      A. No.
24   for the 2021 W2?                                           24      Q. Is it possible that the decrease was related

                                                  Page 32                                                         Page 33
 1   in any way to faculty administrative stipends, faculty      1       A. Yes.
 2   administrative service payments or one-time payments?       2       Q. Okay. So instead of a W2 for 2021, you
 3      A. I'm sure it was related to something with a           3   received this information about her compensation in 2021;
 4   name in front of it.                                        4   is that right?
 5      Q. But you don't know what it was related to?            5       A. Yes.
 6      A. No.                                                   6       Q. Okay. And on page 720, Bates page 720, I see a
 7      Q. Okay.                                                 7   variety of what looked like links to the left, and one of
 8      MS. WERMUTH: Could we mark this as 9, please -- oh,      8   those links says base pay.
 9   I'm sorry. I didn't get those Bates numbers to you.         9          Do you see that in the upper left?
10          Expert Dillard Discovery 188 through 191, Gia.      10       A. Do you want to show me?
11      MS. SCATCHELL: Okay. Thank you.                         11       Q. Upper left, right there (indicating) it
12      MS. WERMUTH: Exhibit 9, please.                         12   says base --
13                 (Document marked as requested.)              13       A. Oh, I see.
14   BY MS. WERMUTH:                                            14       Q. -- pay.
15      Q. Dr. Smith, I have handed you -- or the court         15       A. Yes.
16   reporter has handed you what's been marked as Deposition   16       Q. Yeah. So you didn't get copies of what all of
17   Exhibit 9, which is Bates labeled Dillard Expert           17   those links would take to you, I'm assuming?
18   Discovery 719 through 720.                                 18       A. I just got this page.
19          And this is also listed on page 3 of your           19       Q. Got it. And I see base pay is listed at the
20   report as Dillard's 2021 pay and benefit statement and     20   bottom of this document as 86,584.17. Do you see that?
21   summary. Do you see that?                                  21       A. Yes.
22      A. Very good.                                           22       Q. Okay. And then there's this category, three
23      Q. Okay. So this is another document you relied         23   lines above it, that says non-base pay. Do you see that?
24   on; is that right?                                         24       A. Yes.


                                                                                          9 (Pages 30 to 33)
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                                                   Page 34                                                          Page 35
 1       Q. And do you know what categories of pay are            1               (Document marked as requested.)
 2   included in non-base pay?                                    2      MS. WERMUTH: So, Gia, I've marked Exhibit 10 as
 3       A. No.                                                   3   Dillard Expert Discovery 717 through 718.
 4       Q. Okay. And that amount for non-base pay                4      MS. SCATCHELL: Okay. Thank you.
 5   $15,623.18. Do you see that?                                 5      MS. WERMUTH: Yep.
 6       A. Yes. I included both of those as part of her          6   BY MS. WERMUTH:
 7   actual earnings history.                                     7      Q. So it looks like Dr. Dillard received $1,500
 8       Q. Got it. Okay. But you don't know if non-base          8   from Purdue University in 2019. Do you see that on page
 9   pay, how that changes from year to year?                     9   717?
10       A. Correct.                                             10      A. Yes.
11       Q. Okay. So you don't know if --                        11      Q. And then it looks like in 2018 she received
12       A. Employers have millions of ways of categorizing      12   1,642.20 from the Cook County Clerk in Chicago. Do you
13   all the different pieces of a paycheck. Every employer      13   see that?
14   has a different term for a different pigeonhole. Names      14      A. Yes.
15   of the pigeonholes aren't as relevant to me as what is      15      Q. Okay. Did either one of these payments figure
16   the total bottom line.                                      16   into your damages calculation?
17       Q. And I know that your report was provided to us       17      A. No.
18   in 2022, but we could, at this point in time, being that    18      Q. Okay. So you don't know what those payments
19   we're well into 2023, we could update with 2022 actual      19   were for?
20   information, right?                                         20      A. Well, they were unrelated to DePaul.
21       A. Certainly.                                           21      Q. Okay.
22       Q. Okay. You also identified in your report some        22      A. But I don't know what they were related to.
23   1099 payments from other sources other than DePaul.         23      Q. Okay.
24       MS. WERMUTH: Can you please mark this as 10?            24      MS. WERMUTH: Can you mark this as 11, please?


                                                   Page 36                                                          Page 37
 1                (Document marked as requested.)                 1       A. Yes.
 2   BY MS. WERMUTH:                                              2       Q. Did you receive pages 2, 4, 5 and 6 of 6?
 3      Q. Dr. Smith, this is another --                          3       A. No.
 4      MS. WERMUTH: Gia, we marked as Exhibit 11, Dillard        4       Q. Okay. And do you know why you were provided
 5   Expert Discovery 778 through 779.                            5   with only the two pages?
 6      MS. SCATCHELL: Thank you.                                 6       A. I don't know why I was provided with either of
 7      MS. WERMUTH: You bet.                                     7   the two pages because they weren't relevant.
 8   BY MS. WERMUTH:                                              8       Q. You didn't use this exhibit at all?
 9      Q. Can you identify this document, Dr. Smith? I'm         9       A. Correct.
10   sorry. Do you recognize this document?                      10       Q. Okay. Can you turn to page 4 of your expert
11      A. Yes.                                                  11   report, which is marked as Exhibit 3?
12      Q. What do you recognize it to be?                       12       A. Yes.
13      A. Ameritrade.                                           13       Q. And this is in a section with the header, it
14      THE WITNESS: A-m-e-r-i-t-r-a-d-e.                        14   says: One, loss of wages and employee benefits, annual
15   BY MS. WERMUTH:                                             15   employment.
16      Q. Okay.                                                 16       A. Yes.
17      A. Trade form -- Ameritrade trade form with some         17       Q. So at the top of page 4, which is Bates labeled
18   information about her account.                              18   4, also, it says: Mrs. Dillard reports DePaul constantly
19      Q. Okay. Do you see in the upper -- it's a little        19   and excessively scheduled reviews that prevented her from
20   obscured by the confidential stamp, but do you see in the   20   pursuing early tenure.
21   upper right, it says page 1 of 6?                           21          Do you see that?
22      A. Yes.                                                  22       A. I wrote it.
23      Q. And then if you go to the next page, in the           23       Q. You wrote it? Okay. And then -- based on
24   upper right, it says page 3 of 6. Do you see that?          24   information she provided you?


                                                                                         10 (Pages 34 to 37)
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                                                  Page 38                                                          Page 39
 1      A. Yes, statements from the interview.                   1      Q. Do you see that, Dr. Smith?
 2      Q. Got it. Okay. And she said her colleagues             2      A. Yes.
 3   were able to obtain early tenure.                           3      Q. So you were provided with information from the
 4          Did she tell you how many colleagues obtained        4   faculty handbook about the promotion and tenure process
 5   tenure on an early schedule?                                5   at DePaul; is that right?
 6      A. She did not provide additional detail.                6      A. It's Chapter 3, yes.
 7      Q. Okay. And it says she's -- you go on to write:        7      Q. Okay. And do you know what year this handbook
 8   She states -- she planned on being tenured and promoted     8   was published?
 9   by 2017.                                                    9      A. I don't have the face sheet, so no.
10          Do you see that?                                    10      Q. Okay. And do you understand that tenure at
11      A. Yes.                                                 11   DePaul, like the application process and review process,
12      Q. Now, do you have -- well, you were provided          12   takes pretty much a year? Are you familiar with that?
13   with information about the tenure process at DePaul; is    13      A. I haven't memorized the timetable, but let's
14   that right?                                                14   say that's true.
15      A. Some, yes.                                           15      Q. Okay. Well, if you look at page -- Dillard
16      Q. Okay.                                                16   Expert 751 -- which is the second to the last page of
17      MS. WERMUTH: Would you mark this as 12, please?         17   Exhibit 12 -- you'll see there is a schedule for
18                (Document marked as requested.)               18   promotion and tenure?
19   BY MS. WERMUTH:                                            19      A. Yes.
20      Q. So you have been handed what's been marked as        20      Q. And it looks, based on that schedule, like the
21   Exhibit 12, Dr. Smith.                                     21   process starts around April 1st of each year; is that
22      MS. WERMUTH: Gia, it's Bates labeled Dillard Expert     22   right?
23   Discovery 725 through 752.                                 23      A. Yes.
24   BY MS. WERMUTH:                                            24      Q. And concludes around June 15th of each year --


                                                  Page 40                                                          Page 41
 1   of the following year?                                      1   in there that may not have been available to her under
 2       A. Yes.                                                 2   this schedule?
 3       Q. Okay. And so when you write in your report           3       A. I don't understand the question.
 4   that she planned on being tenured and promoted by 2017,     4       Q. Okay. So if she were not -- if she were
 5   does that mean applying by April or some time in 2017       5   promoted in 2017, as she contends she would have been,
 6   with the decision being made in 2018? Or do you mean        6   then that promotion would have happened in the middle of
 7   applying in 2016 with a decision being made in 2017?        7   '17, right?
 8       A. I take her to mean that if she would have            8       A. No. It's my understanding the 2017 would have
 9   achieved success, it would have been reflected in her       9   reflected her promotion, not the second half. But she
10   2017 earnings.                                             10   would have been promoted so that she would have been a
11       Q. Okay. And if you look at the very last page of      11   tenured associate professor during all of 2017. If
12   Exhibit 12, you see that the decision on tenure by the     12   that's a misunderstanding, that's a modest change in the
13   university provost is made on or about June 19 of the      13   analysis; but without quibbling as to whether my
14   year. Do you see that?                                     14   interpretation is correct or not, I assumed a promotion
15       A. Yes.                                                15   would have been reflected at the beginning of 2017 in her
16       Q. And so if someone is promoted on June 15th of       16   pay.
17   the year, then presumably, their promotional increase      17       Q. Okay.
18   would follow that date?                                    18       A. And I appreciate what you're saying that her
19       A. Yes.                                                19   statement is perhaps indeterminate. I took it to mean
20       Q. Okay. And when you were doing your                  20   fully reflected in 2017.
21   calculations, you had her damages beginning to accrue as   21       Q. Okay. So if the increase would not have gone
22   of January 1st of 2017; is that right?                     22   into effect until middle of 2017, would you agree that
23       A. Yes.                                                23   your calculation for 2017 is inflated?
24       Q. So you had six months of a promotional increase     24       A. It would have a very small -- we would just


                                                                                        11 (Pages 38 to 41)
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                                                  Page 42                                                          Page 43
 1   take half of 2017's loss.                                    1   not.
 2      Q. Okay.                                                  2      Q. So she started working in the fall of 2012 at
 3      A. Which is -- give that sense to you for one             3   DePaul University --
 4   moment. So Table 14, we show the 2017 offset is 86,000       4      A. Yes.
 5   on --                                                        5      Q. -- that's your understanding?
 6      Q. What table are you looking at, sir?                    6      A. That she was promoted from assistant to
 7      A. 14.                                                    7   associate in July of 2019.
 8      Q. Table 14.                                              8      Q. Right. Okay. But her statements to your staff
 9      A. In Table 7, we show that we believed she would         9   was that she believed she should have been promoted two
10   have earned 114,000. The difference is roughly 28,000.      10   years prior to that?
11   And if overall it should only be half of that year, not     11      A. Correct.
12   the full year, as we imagined, then the losses summarized   12      Q. Okay.
13   on page 20 of my report, amounting to approximately         13      A. So she achieved that promotion July of 2019,
14   3.2 million, would be reduced by a little less than one     14   two years longer, she said, than planned. So let's, I
15   half of one percent, about 14,000.                          15   think, both understand that the promotion she refers to
16      Q. Now -- so your calculations are potentially,          16   may have been achieved in the middle of 2017, as you
17   then, inflated by at least that number; is that right?      17   suggested, as opposed to the start of 2017, as I had
18      A. By a little less than one half of one percent,        18   imagined it. So there may be that $14,000 that we would
19   yes.                                                        19   discount.
20      Q. Okay. Now, do you know when Dr. Dillard               20      Q. Understood. Now, if she were to achieve tenure
21   started in a tenure-track role at DePaul University?        21   in 2017, according to the handbook that we looked at,
22      A. She began working as an assistant professor in        22   Exhibit 12, she would have had to apply in 2016, right?
23   the fall of 2012. I don't know if that was -- if that       23      A. Apparently.
24   qualified her to start the tenure-track at that time or     24      Q. All right. And so that is about four years

                                                  Page 44                                                          Page 45
 1   after she started, right?                                    1       Q. If it meant that --
 2       A. Yes.                                                  2       A. Is that different from the pitcher's clock at
 3       Q. Okay. And do you know the frequency with which        3   Cubs stadium?
 4   assistant professors at DePaul apply for tenure on a         4       Q. Don't ask me to opine on that, Dr. Smith.
 5   four-year schedule?                                          5               (Laughter.)
 6       A. No.                                                   6       Q. If stopping your tenure clock means that you
 7       Q. And so I assume, then, you also don't know the        7   get additional time to go up for tenure, and that she
 8   success rate of anyone applying on a four-year schedule?     8   requested that additional time, does that change your
 9       A. Correct. And as you know, I'm not here on             9   analysis in any way?
10   liability. So I'm not here to say she should have been      10       A. No. Again, I'm not here to opine on the
11   successful, would have been successful. I'm just saying,    11   timing. I'm just telling you what I assumed. If I'm
12   assuming a promotion, at least in this report, by the       12   given the assignment to assume a different timing, I can
13   start of 2017 -- understanding it may have been by the      13   certainly do it. I am not undertaking the analysis of
14   start of the second half of 2017 -- assuming that,          14   the overall tenure process and the timetable upon which
15   without regard to what happens with other professors at     15   it should have been achieved.
16   DePaul and whatever schedules they are successful.          16       Q. Okay. All right. Going back to Exhibit 3,
17       Q. Okay. Are you aware that Dr. Dillard requested       17   which is your report, page 4 -- well, strike that.
18   that her tenure clock be stopped because of some leaves     18          Let me ask this question: Are you aware of
19   of absence?                                                 19   anyone -- what the success rates for tenure are for an
20       A. That may be in the note, but I can't say for         20   assistant professor who goes up three years after being
21   certain.                                                    21   appointed as assistant?
22       Q. Do you know what that means to stop one's            22       A. No. I don't --
23   tenure clock?                                               23       MS. SCATCHELL: Objection; foundation. You can
24       A. Not beyond the obvious words, no.                    24   answer.


                                                                                        12 (Pages 42 to 45)
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                                                   Page 46                                                         Page 47
 1    BY THE WITNESS:                                             1       Q. Got it. So did you obtain from either
 2        A. No, I don't. I just know that she sought to          2   Dr. Dillard, or her counsel, any information about these
 3    pursue early tenure that others had, and that's really      3   lesser-qualified assistant professors?
 4    all I know.                                                 4       A. I didn't pursue that investigation. There was
 5    BY MS. WERMUTH:                                             5   no need. It wasn't my assignment.
 6        Q. Okay. Now, she -- in this same paragraph on          6       Q. Okay.
 7    page 4 of your report, you say: Mrs. Dillard knows that     7       A. It's the statement she made. That's all.
 8    she was also earned less than lesser-qualified assistant    8       Q. So you were not assigned to do an analysis of
 9    professors. Do you see that?                                9   her Equal Pay Act claim, then?
10           Page 4 of your report, Exhibit 3, the first         10       A. Correct.
11    full paragraph, second to the last sentence:               11       Q. Okay. Now, further down that page, the second
12    Mrs. Dillard notes she was also earned less than           12   to the last paragraph that begins with Mrs. Dillard's
13    lesser-qualified assistant professors. Do you see that?    13   2017 through 2020 DePaul W2s. Do you see that?
14        A. Page 4?                                             14       A. Yes.
15        Q. Yes, sir.                                           15       Q. Okay. You write that -- you write her earnings
16        A. I see the word.                                     16   for each year, 2017 through 2020. And then for 2018, you
17        Q. Right here. (Indicating.)                           17   note that her increase -- you write after -- I'm sorry.
18        A. Oh, the second to the last sentence.                18   Very bad question. Let me strike it and start over.
19        Q. Yeah.                                               19          For each year, you identify her income, her
20        A. Yes.                                                20   total income, for the year; is that correct, sir?
21        Q. Did you --                                          21       A. Yes.
22        A. I suppose we should take out the word "was".        22       Q. Okay. And you write $91,435 in 2018. And then
23        Q. Yeah, there's a small typo.                         23   after that, you have a parenthetical that says: After
24        A. So that my English teacher won't be upset.          24   her earnings were increased due to her complaint.


                                                   Page 48                                                         Page 49
 1          Do you see that?                                      1      MS. WERMUTH: Dillard Discovery 450.
 2       A. Yes.                                                  2   BY MS. WERMUTH:
 3       Q. Okay. So if we look at her 2017 to her 2018           3      Q. I'm assuming you haven't seen this --
 4   compensation, that's about a little over 16 percent          4      MS. SCATCHELL: It's just one page?
 5   increase; is that right?                                     5      MS. WERMUTH: Yep.
 6       A. Yes.                                                  6      MS. SCATCHELL: Okay.
 7       Q. Okay. You attribute that entire increase to           7   BY MS. WERMUTH:
 8   her quote, unquote, "complaint." Do you see that?            8      Q. I'm assuming you haven't seen this letter
 9       A. She does.                                             9   before, Dr. Smith?
10       Q. She does. And you adopt that in your report?         10      A. Correct.
11       A. I don't adopt. I simply repeat what she              11      Q. And as you can see, her -- there's a -- she's
12   stated.                                                     12   being notified of a 2.9 percent increase, effective
13       Q. Okay. Do you know what complaint she's               13   January 1st of 2019. Do you see that?
14   referring to?                                               14      A. Correct.
15       A. No.                                                  15      MS. SCATCHELL: We're going to object to this as
16       Q. No?                                                  16   lack of foundation, but you can answer.
17       MS. WERMUTH: Could you mark this as 13, please?         17   BY MS. WERMUTH:
18                 (Document marked as requested.)               18      Q. Okay.
19   BY MS. WERMUTH:                                             19      A. Correct.
20       Q. Okay. Dr. Smith, I'm showing you what's been         20      Q. There's nothing in here about a 16 percent
21   marked as Deposition Exhibit 13.                            21   increase; is that right, Dr. Smith?
22       MS. WERMUTH: Gia, this is Dillard Discovery -- so       22      MS. SCATCHELL: Same objection.
23   not expert discovery --                                     23   BY THE WITNESS:
24       MS. SCATCHELL: Okay.                                    24      A. Correct.


                                                                                         13 (Pages 46 to 49)
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                                                  Page 50                                                         Page 51
 1    BY MS. WERMUTH:                                            1       A. Those are forward slashes.
 2       Q. Okay. Now, going back to Exhibit 3, your             2       Q. Forward slashes. Thank you. I said it wrong.
 3    expert report, it looks like you relied on DePaul's        3   Thank you.
 4    Institutional Research and Market Analytics data.          4       A. Yes. Computers are fussy.
 5           Do you see that?                                    5       Q. And my brain is fussier. Okay.
 6       A. Yes.                                                 6          So how did you become aware that this data was
 7       Q. Okay. And did you actually produce the               7   available?
 8    spreadsheet that you relied on in your file?               8       A. Well, we're good at nosing around and finding
 9       A. I believe I have some of it.                         9   things, but I can't say if we weren't tipped off. I just
10       Q. Okay. Good.                                         10   don't know.
11       A. I will show you. Is this what you are               11       Q. Okay. Very good. And this data purports to
12    referring to? (Indicating.)                               12   show, by rank, average salaries for full-time faculty
13       Q. Yes, sir. And I would want a copy of this,          13   members?
14    because if you go there now, it's been updated, so 2016   14       A. Yes.
15    doesn't appear. So I can't get what you saw, so --        15       Q. With one column for doctorals and one for
16       A. Yes.                                                16   DePaul?
17       Q. Yeah, we'd like to get a copy of this.              17       A. Yes.
18       A. Certainly.                                          18       Q. Do you know what the doctorals column refers
19       Q. Okay. And just so I'm clear, you pulled this        19   to?
20    off of the web link as you have identified here, right,   20       A. No.
21    on your report?                                           21       Q. Okay. And it's your understanding that the
22       A. Yes. The IRMA DePaul website.                       22   DePaul column refers to DePaul salaries --
23       Q. So just for clarity purposes, it's                  23       A. Yes.
24    IRMA.DePaul.ED/AAUP/AAUP.ASPX.                            24       Q. -- on average?

                                                  Page 52                                                         Page 53
 1        A. Yes.                                                1   survey request.
 2        Q. By rank?                                            2       Q. Okay. And that's your best guess, based on
 3        A. Yes.                                                3   what you're looking at --
 4        Q. And so this data is not disaggregated by any        4       A. It's all it says, yes.
 5    particular academic unit at DePaul?                        5       Q. Okay. And the DePaul data, just so I'm clear,
 6        A. Correct.                                            6   it is not, like, disaggregated by college, within DePaul?
 7        Q. So it would include salaries of professors and      7       A. Correct.
 8    assistant and associate professors in the business         8       Q. And it's not disaggregated by discipline
 9    school, right?                                             9   either?
10        A. Let me take a quick look.                          10       A. Correct.
11                 (Brief pause.)                               11       Q. Okay. And there is no information about length
12        A. It's what DePaul reports for full-time faculty     12   of service?
13    members.                                                  13       A. Correct.
14        Q. Yeah. I understand that.                           14       Q. Okay. And so the assistant professor ranks --
15        A. And so you'd have to ask your client what they     15   I'm sorry.
16    included -- I am just sending this to --                  16           The associate professor ranks, which is below
17        Q. You took a picture to send it to counsel?          17   full professor, folks in that rank could be there for
18        A. Yeah. I just popped it in to send to counsel       18   their entire career and never make full professor. Is
19    so she could see it.                                      19   that your understanding?
20           This is what I might call a survey. And the        20       A. Possibly, yes.
21    source of the data is the American Association of         21       Q. So this data would include pay rates for at
22    University Professors, data reported in the fall of the   22   least some number of very senior folks who have been
23    year listed. So, presumably, this is a report by DePaul   23   around for a long time?
24    to that American Association of University Professors     24       A. Yes.


                                                                                       14 (Pages 50 to 53)
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                                                   Page 54                                                          Page 55
 1       Q. Okay. Did you ask Dr. Dillard or obtain from          1           Exhibit 14 is Bates labeled -- this is a
 2   Dr. Dillard any information about promotional increases      2   defense production, Gia. Dillard underscore DePaul 2184
 3   in the College of Communication where she's employed?        3   through 2191.
 4       A. We had asked her about her career and her             4       MS. SCATCHELL: And these are the documents that he
 5   expected earnings, and this is all we have, what are in      5   testified that he had never seen, correct?
 6   the notes. I'm perfectly happy if DePaul -- if DePaul        6       MS. WERMUTH: He hasn't testified about them at all
 7   has more refined data, if that's provided to me, I can       7   yet.
 8   certainly take that into account.                            8       MS. SCATCHELL: Oh, okay.
 9       Q. So you're not aware that the College of               9       MS. WERMUTH: And we also marked as Exhibit 15, the
10   Communications' practice is to give a $10,000 promotional   10   October 19th, 2022 invoice for $7,000 to your firm. And
11   increase to base pay, upon promotion, to associate          11   then we marked as Exhibit 16, a copy of the IRMA data
12   professor with tenure?                                      12   that Dr. Smith relied on in his report, which I think he
13       A. Correct.                                             13   took a picture of and text to you, Gia.
14       Q. Okay. And so --                                      14       MS. SCATCHELL: Yes.
15                  (Long pause.)                                15   BY MS. WERMUTH:
16                (WHEREUPON, the court reporter                 16       Q. So let's go back to Exhibit 14 first.
17                 requests a break.)                            17           So, Dr. Smith, I'm assuming you have not seen
18       MS. WERMUTH: Yeah. Yes. We can take a quick             18   these documents before?
19   break. That will give me time to find what I'm looking      19       A. Correct.
20   for.                                                        20       Q. All right. So I'll represent to you that these
21                (Short break taken.)                           21   are a series of annual contracts of employment that
22                (Documents marked as requested.)               22   DePaul sent Dr. Dillard during the course of her
23       MS. WERMUTH: We're back on the record. While off        23   employment, okay?
24   the record, we had three exhibits marked.                   24           So I want to draw your attention to page 2189,


                                                   Page 56                                                          Page 57
 1   which is the June --                                         1   lower than the loss -- or the wage estimate you put on
 2        MS. SCATCHELL: And just, Anna, before you get into      2   Table 1 of your report at page 19.
 3   it, I just want to object to lack of foundation, but you     3          So you have her wage estimate -- assuming she
 4   can answer.                                                  4   were promoted -- at $104,083. Do you see that?
 5        MS. WERMUTH: Okay.                                      5       A. Well, there's a difference between earnings and
 6   BY MS. WERMUTH:                                              6   the base pay.
 7        Q. So page 2189, which is the June 2016 letter, do      7       Q. Right.
 8   you see that, Dr. Smith?                                     8       A. She didn't earn only her base pay. We saw that
 9        A. Yes.                                                 9   in an earlier-marked document. I'm going to make
10        Q. And according to this letter, her                   10   reference to Exhibit 9 --
11   compensation -- her base salary, as of June 1, 2016,        11       Q. Okay.
12   would be $68,340. Do you see that?                          12       A. -- where we saw a base pay of 86,000, and
13        A. Yes.                                                13   non-base pay of an amount equal to 20 percent more,
14        Q. So if Dr. Dillard had gone up for tenure that       14   15,600. So I'm not seeking to argue with you here, but we
15   fall and achieved tenure the following 2017, and the        15   can't conflate what we expect she would earn in a given
16   College of Communication had a policy of granting $10,000   16   year with what DePaul calls the base pay.
17   promotional increases, her salary for 2017 would have       17       Q. Right. But your analysis includes assumptions
18   been 78,340?                                                18   for administrative supplements, right?
19        A. Her base pay.                                       19       A. It just includes what she earned -- the
20        Q. Her base pay, yeah.                                 20   analysis for the wage loss is based on her actual 2018
21        A. It says base.                                       21   earnings, assuming that should have prevailed.
22        Q. Correct.                                            22       Q. Okay. And so --
23        A. Is the key word.                                    23       A. Minus some inflation, of course.
24        Q. Yep. Okay. So that 78,340 is significantly          24       Q. Right. So your calculations assume growth in


                                                                                         15 (Pages 54 to 57)
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                                                   Page 58                                                         Page 59
 1   every single year, right?                                    1          To derive your 2017 wage loss -- or wage -- I
 2       A. Yes.                                                  2   don't know that it's a loss. The 2017 projected wages
 3       Q. Okay. And that, then, would assume growth in          3   that you contend she would have earned but for the
 4   base, in addition to growth and those other non-based        4   discrimination, you start with her actual earnings in
 5   categories we looked at?                                     5   2018?
 6       A. Growth for the total, yes.                            6      A. Yes.
 7       Q. So inclusive of both of those components?             7      Q. Okay. And then you take those 2018 dollars and
 8       A. Yes. Whatever are the components, the growth          8   you add 7.35 percent on top of that. Do you see that?
 9   is in the total.                                             9      A. It's the other way around. I take off that
10       Q. Okay. But if you look at page 4 of your              10   percentage.
11   report, you can see that her pay goes up and down over      11      Q. You take off 7.35 percent?
12   the years?                                                  12      A. Yes. If we look at the IRMA document, I
13       A. Correct. I understand she's claiming she             13   believe that the increment from '17 to '18 is 7.35
14   wasn't paid all that she should have been paid.             14   percent. So if we know what 2018 was, we assume 2017
15       Q. What's the explanation for the pay up and down?      15   would be decreased by 7.35. The slash, the forward
16   If you're assuming that there's always wage growth and      16   slash, means reduced by.
17   that the non-base always grows in addition to the base,     17      Q. And what forward slash are you pointing to?
18   how do we account for the significant increase and then     18      A. Oh, work notes.
19   the decrease and then the significant increase again in     19      Q. Work notes?
20   her total earnings?                                         20      A. But I can follow along on the report --
21       A. There was a very modest dip in 2019, and I           21      Q. Okay.
22   don't know why.                                             22      A. -- where you were reading just to get clear.
23       Q. Okay. So let's look at how you start your            23      Q. Yeah. So I'm on page 5.
24   calculations. I'm looking at page 5 of your report now.     24      A. On page 5.

                                                   Page 60                                                         Page 61
 1      Q. Yeah. So it says at the very top: Based on             1   her 2018 pay?
 2   the above figures, DePaul's average assistant professor      2      A. Yes. We back it down to 2017.
 3   salaries increased by .47 percent in 2017, and 7.35          3      Q. So what number are you starting with that
 4   percent in 2018.                                             4   you're backing 7.35 percent out, from what number?
 5      A. Yeah, so you can see that the increase of              5      A. The 2018 W2.
 6   7.35 percent from 2017 to 2018 is what we used to            6      Q. And the 2018 W2 was?
 7   decrease the 2018 figure back to 2017.                       7      A. 91,435.
 8      Q. Why don't you just use her 2017 figure? You            8      Q. Okay. So you back out the 7.35 percent?
 9   have that data.                                              9      A. Right.
10      A. Well, look, we're saying we believe 2018 was          10      Q. And what do you do next?
11   the appropriate pay rate, but for the associate professor   11      A. We then say, had she earned that, plus the
12   promotion.                                                  12   associate professor pay differential, which we see as 22
13          So if we say, well, look, if she'd been paid in      13   percent, based on the -- can we call it the IRMA data?
14   2017 at the rate at which she was paid in 2018, we take     14      Q. Yeah.
15   the 2018 pay, we back it down to 2017, and we add the       15      A. We see that that's a 22 percent differential.
16   associate professor wage factor.                            16      Q. So there's a 22 percent differential between
17      Q. Okay. So rather than inquiring about                  17   associate professors -- sorry. Between assistant
18   promotional increases in the College of Communication,      18   professors and associate professors?
19   you take the IRMA data, so you take data related to all     19      A. Yes.
20   associate professors in 2018, regardless of whether they    20      Q. In what year?
21   were just promoted or whether they'd been in that role      21      A. 2017.
22   for 30 years, right?                                        22      Q. Okay. So you start with her 2018 total
23      A. We take the growth for all of them, yes.              23   compensation. You back out 7.35 percent. And what's the
24      Q. Right. Right. And you then back that out of           24   number you get?


                                                                                        16 (Pages 58 to 61)
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                                                   Page 62                                                         Page 63
 1      A. Can I direct you to page 3 of the work notes?          1      A. Precisely 22.2 percent, exactly what's on page
 2      Q. That would be very helpful.                            2   3 of my report.
 3      A. So some of the nitty-gritty math is there.             3      Q. Okay. 1.22 --
 4      Q. Page 3 of the work notes?                              4      A. Showing that my highly-trained staff, economic
 5      A. Yes.                                                   5   research analysts can use the Steve Jobs' calculation.
 6      Q. So you take her actual earnings, and then you          6      Q. Got it. So that's how you get the 104,083 for
 7   front slash them by 7.35 percent, and you get down to        7   2017?
 8   85,175?                                                      8      A. Yes.
 9      A. Yes.                                                   9      Q. And then for every year after that, you do
10      Q. And you multiple that by 1.22 to account for          10   what?
11   what you say is a 22 percent wage growth?                   11      A. Then I increase it by the IRMA data showing the
12      A. Yes.                                                  12   DePaul average increase from 2017 to '18. The associate
13      Q. Where do you get the 22?                              13   professor pay, it's very modest. It goes from 96,000 to
14      A. The IRMA data in 2017, or the difference              14   97,000. It's a small amount. Same for 2018 to 2019.
15   between associate and assistant professor. Associate        15      Q. Okay.
16   professor, $101,296, and assistant professor is 87,000.     16      A. That's 1.8 percent. The 2019 and 2020, here's
17      Q. That's 2018, right?                                   17   where we see national inflation having a bit of an
18      A. Yes. I'm sorry. I will revise this.                   18   impact. It goes up by 6 percent, 6.02. In 2021, we do
19   Associate professor, 96,626; assistant professor is         19   not have DePaul data, so we use statistically average
20   79,071. I punched in the wrong numbers, but that should     20   national pay growth, period, of 5.79 percent. That's
21   be the 22 percent.                                          21   what I call a proxy. It's a figure we use absent having
22      Q. Are you doing the calculations now?                   22   the specific DePaul data.
23      A. Yes.                                                  23      Q. Okay.
24      Q. Did you get 22 percent again?                         24      A. Thereafter, in 2022, we go to 6 percent, which

                                                   Page 64                                                         Page 65
 1   in September of '22, was our estimate for the wage growth    1   range?
 2   that year.                                                   2       A. Year by year, yes.
 3       Q. Based on what?                                        3       Q. Okay. I see. Okay. Now, going back to
 4       A. It's my estimate --                                   4   Exhibit 14. I'm sorry -- I'm sorry. Stick with your
 5       Q. All right.                                            5   work notes.
 6       A. -- based on 40 years of background, training          6           Are you doing more calculations, sir?
 7   and experience and the actual data.                          7       A. No. I'm good. Thanks.
 8       Q. Why didn't you use the national average again         8       Q. Okay. Okay. So stick with your work notes for
 9   like you did in 2021?                                        9   a second. So it looks like for 2017 she was earning
10       A. Well, we don't have it in the middle of 2021.        10   91,435, and you say had she been promoted, she would have
11       Q. I see. Okay. Got it.                                 11   earned 104,083.
12       A. We're estimating it. Turns out it was 5.9. My        12           Do I understand that correctly?
13   estimate was off by a whopping one-tenth of one percent.    13       A. Yes.
14       Q. Okay.                                                14       Q. So that's a differential of about close to --
15       A. And then in 2023, we are, back then, estimating      15   what is that, 13 or $14,000?
16   a three percent number. It turns out it was a little        16       A. Yes. If I may give you just a quick overview.
17   higher, but actually we don't know the number. It looks     17           The past losses are really de minimis to the
18   like it might be a little higher, but those are roughly     18   future losses. So whether something should be a couple
19   correct.                                                    19   thousand dollars more, a couple thousand dollars less,
20       Q. Okay. And just so I'm clear, for '18, '19 and        20   all of that is a, candidly speaking, a hiccup. We can
21   '20, you say actual DePaul average growth. And that's       21   stay in these weeds as long as you wish. Whether it's
22   from --                                                     22   1.35 percent or 1.25 percent, the past losses on
23       A. That's --                                            23   Table 14, let's say through 2023, I show the offset
24       Q. That's associate professor growth within that        24   through 2023 of 720,000 -- the -- what she should have


                                                                                         17 (Pages 62 to 65)
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                                                   Page 66                                                          Page 67
 1   made is 881,000. We're at about a 160,000 past loss.         1       A. -- as -- as we've --
 2      Q. Yeah.                                                  2       Q. -- what -- I know what the --
 3      A. I think you can see over those five -- over            3       A. -- been focusing --
 4   those six years of 160,000, that's peanuts compared to       4       Q. -- wide screen is. I understand it. I
 5   the big picture of a $3.2 million loss in the long run.      5   understand your analysis.
 6      Q. Sir -- I will get there, sir.                          6       A. Yes.
 7      A. No, I know. I'm just trying to give you                7       Q. And I'm going to take us all the way through
 8   relative --                                                  8   it --
 9      Q. I understand.                                          9       A. Yes, but --
10      A. -- merits of whether it should be 1.35 percent        10       Q. -- but if you could --
11   or 1.25 percent, or whether there was or wasn't a $10,000   11       A. -- I also wanted it for Gia's perspective and
12   pay grant. There's a billion details, I grant you, but      12   for my own.
13   the big picture is the last six years are nothing.          13       Q. Okay. Well, there wasn't a question pending --
14      Q. Okay.                                                 14       MS. SCATCHELL: Thank you.
15      A. They're less than five percent of the big             15   BY MS. WERMUTH:
16   picture.                                                    16       Q. -- on that point. So presumably you and Gia
17      Q. I understand that, sir.                               17   have already talked about this, I can --
18      A. I'm not faulting you. I'm --                          18       A. No, we --
19      Q. Yeah, I --                                            19       Q. -- imagine.
20      A. -- trying to --                                       20       A. -- don't talk.
21      Q. -- need to conduct my examination.                    21       Q. So going back to Exhibit 14 -- are you with me,
22      A. No, I know. I'm trying to give you a -- what          22   sir?
23   do they call it on a camera? A wide screen --               23       A. Certainly.
24      Q. And I know --                                         24       Q. I don't see Exhibit 14 in front of you.

                                                   Page 68                                                          Page 69
 1      A. You may ask about it. I have a good memory.            1        A. Yes.
 2      Q. Okay. Well, this is a letter you haven't seen          2        Q. And how do you reach those assessments on Table
 3   before, but it's on page 2191 --                             3   2?
 4      A. Very good.                                             4      A. So the benefits -- she reported she had health,
 5      Q. -- and you can see this is the last page of the        5   dental, life, retirement. These are found on her Bluesky
 6   group exhibit, that her promotional increase, when she       6   account.
 7   was promoted with tenure, was $10,000. I just wanted to      7      Q. Which is where?
 8   draw your attention to that.                                 8      A. I think this is the Bluesky account.
 9          Do you see that?                                      9      Q. What number is that, 9 -- No. 9?
10      A. Yes. You had mentioned that, yes.                     10      A. Well --
11      Q. Okay.                                                 11      Q. Is that marked, that exhibit?
12      MS. SCATCHELL: And same objection as to form and         12      A. That's my copy.
13   for lack of foundation.                                     13      Q. Oh, I'm sorry.
14      THE WITNESS: Yes.                                        14      A. Yes.
15   BY MS. WERMUTH:                                             15      Q. And so does Table 2 include lost medical,
16      Q. So all of -- Table 1 has all of that wage             16   dental, vision, life, disability, all of that?
17   growth -- year-projected wage growth that we talked         17      A. Yes.
18   about; is that right?                                       18      Q. Okay. She was employed from 2017 through the
19      A. Yes.                                                  19   present time. Did you discount for --
20      Q. For a total of $743,000 and -- or $743,146,           20      A. Bear in mind, Tables 1 through 7 are what she
21   right?                                                      21   would have earned. It's not her losses. It's what she
22      A. Yes.                                                  22   would have earned.
23      Q. And then Table 2, you have a benefits estimate        23      Q. Okay.
24   associated with those wages, right?                         24      A. And then offset with what she did earn, so that


                                                                                         18 (Pages 66 to 69)
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                                                   Page 70                                                         Page 71
 1   includes benefits there. So we're not on Table 1. These      1   another dip from 2020 to 2021, yes?
 2   are not losses. This is the but-for.                         2       A. This is actual, yes.
 3      Q. But-for? Okay.                                         3       Q. Right. Okay. How do you get the figures in
 4      A. Yes.                                                   4   2022 for offset wages?
 5      Q. Okay. So to understand the loss, we have to go         5       A. It's actual 2021, plus six percent.
 6   to Table --                                                  6       Q. And that was your estimated average, right?
 7      A. 8 through 14.                                          7       A. Yes.
 8      Q. -- 8, right?                                           8       Q. Okay. And then for 2023, how do you get --
 9      A. Yes.                                                   9   that's just a half a year, I'm assuming, the 55,642?
10      Q. So starting at Table 8, let's talk about her --       10       A. Yes. Yes.
11   you offset her wages by actual earnings during '17          11       Q. And how did you get that number?
12   through '20, right, 2017 through 2020?                      12       A. Plus three percent.
13      A. Yes.                                                  13       Q. Okay. So in your Table 9, you offset benefits;
14      Q. How do you get -- oh, and then you have Exhibit       14   is that right, sir?
15   9 data for '21, correct?                                    15       A. Yes.
16      A. Yes.                                                  16       Q. And how can I see what you did to discount for
17      Q. Okay. So for that you add base pay, plus              17   her current employment? Well, strike that.
18   non-base pay to get the 102,207?                            18           Did you discount for the fact that she was
19      A. Yes.                                                  19   still obtaining those benefits in 2017 through 2023?
20      Q. And you see there is a dip there in terms of          20       A. Yes. The benefits are shown only to be loss of
21   her compensation, yes, from the year prior? Just looking    21   retirement benefits, which is typically a percentage of
22   at Table 8.                                                 22   pay.
23      A. Well, table -- between what year and what year?       23       Q. Got it.
24      Q. So there is a dip from 2018 to 2019, and              24       A. No loss of any other benefit.

                                                   Page 72                                                         Page 73
 1        Q. Okay. What percentage did you use then to            1   derive the percentage of -- what did you say, 9.8?
 2    calculate the retirement?                                   2      A. Yes.
 3        A. The retirement benefit is 9.8 percent.               3      Q. You're doing calculations, sir?
 4        Q. And where do you derive that figure?                 4      A. Yes.
 5        A. She had her retirement component.                    5      Q. Are you texting people?
 6        Q. From what year?                                      6      A. No.
 7        A. It was $4,329 in 2021.                               7      Q. I heard a text message sound.
 8        Q. Okay. You're looking at your notes?                  8      A. That's the calculation. Well, I did tell my
 9        A. Yes.                                                 9   assistant to get a prescription, but -- and I just got a
10        Q. You say in 2021 her retirement was how much?        10   text saying it was available for my son. It's a heart
11        A. 4,329 plus Social Security.                         11   transplant kit.
12        Q. Where do I see -- where can I see -- oh. I          12      Q. Oh, gosh. Sorry to hear about that.
13    see. 4,329, and then retirement is in parenthesis after.   13          Have you been texting other people, other than
14    Okay.                                                      14   Gia and your assistant?
15        A. Yes, plus Social Security, so there's two --        15      A. No.
16    there's the DePaul retirement, there's the government      16      Q. And what have you been texting with Gia?
17    retirement.                                                17      A. I sent her those three pictures, no words.
18        Q. Okay.                                               18      Q. What were the other three pictures? So I know
19        A. That together is 9.8 percent.                       19   there was the IRMA data. What were the other two?
20        Q. Okay. But DePaul doesn't pay the government         20      A. I will show you one.
21    benefit, right?                                            21                  (Indicating.)
22        A. DePaul pays Social Security, legally required,      22      Q. What is that? I can't see from here.
23    yes.                                                       23      A. That's Exhibit 13.
24        Q. Oh, I see. Okay. Yes. So that's how you             24      Q. Okay.


                                                                                        19 (Pages 70 to 73)
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                                                   Page 74                                                         Page 75
 1       A. She says thanks. Then the IRMA data, no               1       A. After 2023, I assume a one percent long-term
 2    response. And then exhibit -- the letter -- exhibit         2   average wage growth.
 3    what -- 14; no response.                                    3       Q. One percent per year?
 4       Q. Okay.                                                 4       A. Yes. Above the rate of inflation.
 5       A. That's all I -- she's not coaching me.                5       Q. Above -- okay.
 6       Q. Okay.                                                 6       A. Yes. All the figures we've been speaking of
 7       A. Just so you know.                                     7   before, those percentages are either actual or estimated
 8       Q. Yeah. I'm just hearing text message sounds so         8   to include inflation --
 9    I have to ask.                                              9       Q. Right.
10       A. No, I know. I'm just trying to get my son's          10       A. -- because they're past --
11    prescription delivery --                                   11       Q. Right.
12       Q. Okay.                                                12       A. -- actual numbers. The future we deal only in
13       A. -- because she didn't do it yesterday and I'd        13   inflation free. So if I -- so we're assuming that the
14    like to get it.                                            14   figures that I project are now just reflecting a real
15       Q. Of course, yeah. I'm sorry to hear about his         15   wage growth rate in the amount of wages that would go
16    condition.                                                 16   above inflation. We do that because we discount using a
17       A. Oh, he's in wonderful shape.                         17   real discount rate, which means excludes inflation from
18       Q. Oh, good. Okay. Okay. Then -- so going back          18   the discount rate.
19    to before we get to offset. In Tables 4 through 6, you     19       Q. I see. So no inflation is included in your
20    project out wage growth through age 83?                    20   wage growth after 2023?
21       A. Yes.                                                 21       A. Correct, or on the discount rate after -- or in
22       Q. Okay. And you've already told me what your           22   the --
23    wage growth numbers or percentages are after 2023, or      23       Q. Because it's also excluded from the discount
24    have you told me that?                                     24   rate?

                                                   Page 76                                                         Page 77
 1       A. Correct. So it's a wash.                              1           I make no -- I have no opinion on what is the
 2       Q. Okay. Understood. Thank you. Now, I see you           2   correct year to end the losses, but I do know that if
 3   project this out through age 83. Do you see that?            3   it's capacity, she may have the capacity to teach to the
 4       A. Through each and every year, through to the end       4   end of her healthy life expectancy, which would be age
 5   of her life expectancy --                                    5   73.
 6       Q. Why do you use life expec --                          6           Secondly, a plan to retire is nothing more than
 7       A. I just don't know how many professors at DePaul       7   the plan. And the Social Security Administration has two
 8   are teaching to the end of their life expectancy. Can        8   big billboards. The first billboard says people are now
 9   be. I know University of Chicago, my alma mater, there       9   working longer than ever, historically.
10   are professors in the '80s who died while teaching. I       10           And number two, the second billboard says
11   should say while tenured. I didn't kill any of them,        11   whenever we ask people about their plans and track them,
12   but... I'm joking.                                          12   they work longer on average than their plan. So I am not
13       Q. But she told you that she was planning to work       13   going to state at which year these losses should end or
14   until age 67, you or your staff, right?                     14   when she would stop working, nor to when is she entitled
15       A. Correct. Here's --                                   15   to collect. I leave all that to the trier of fact to
16       Q. So you could have just estimated this out to         16   figure out and for the Court and the parties to
17   her statement?                                              17   determine.
18       A. Well, I think there's two considerations.            18           So I give them the tools, and they take a
19   Number one, I don't know whether -- what she's entitled     19   redline pencil and draw the loss to end at any year.
20   to into her claim, whether it's the capacity to teach or    20        Q. Okay. Now, let's talk about --
21   the actual plan to teach. I leave that up to Gia to tell    21        A. And incidentally, I do show on my summary
22   what the claim is. I show the trier of fact all the         22   table, as an example, age 67. Purely as the report says,
23   years so that they may select the year that they think is   23   "as an example."
24   the correct year to end the losses.                         24        Q. Okay. So can we talk about --


                                                                                        20 (Pages 74 to 77)
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                                                  Page 78                                                          Page 79
 1        A. And she said, by the way, at least age 67.          1      Q. Now, in Table 5 you -- sorry. Tables 5 and 6,
 2        Q. So if you look at Table --                          2   that's the present value of future benefits, right?
 3        A. And -- sorry. Can I just add? She said, and         3   Table 5 is the present value of future benefits?
 4    until age 70 or older.                                     4      A. Five is benefits. Four is wages, five is
 5        Q. She doesn't say that.                               5   benefits.
 6        A. Yes, she does. She says both those tables, and      6      Q. Six is the total between the two?
 7    she says age is not an issue for professors.               7      A. Yes.
 8        Q. So she says, according to --                        8      Q. Okay. And then you start to offset in Table 8,
 9        A. Her interview notes, page 8.                        9   right?
10        Q. Her interview notes, page 8?                       10      A. Yes.
11        A. Third paragraph.                                   11      Q. Okay. So in Table --
12        MS. WERMUTH: So this is Exhibit 5, for a clean        12      MS. WERMUTH: You okay?
13    record.                                                   13      THE COURT REPORTER: Oh, yeah.
14    BY MS. WERMUTH:                                           14      MS. WERMUTH: Somebody's tooting --
15        Q. She reports that she's wanted to work until age    15      THE WITNESS: That's my prescription --
16    70 or older, but at least age 67?                         16      MS. WERMUTH: Do you need to take a quick break?
17        A. That makes it a perfect statement because age      17      THE WITNESS: No. No. She's -- she responded
18    isn't an issue.                                           18   saying yes. That's all.
19        Q. That makes the further statement that age isn't    19   BY MS. WERMUTH:
20    an issue for professors, is what she says?                20      Q. All right. So let's take a look at your offset
21        A. Correct.                                           21   tables. So we talked about Table 8, which is offset
22        Q. Because she has tenure, right, which is            22   through basically the present, with 2023 being truncated
23    lifetime employment?                                      23   because of the date of your report. Okay.
24        A. Yes.                                               24           Then Table 9 you have the offset of employment


                                                  Page 80                                                          Page 81
 1   benefits and that's just retirement, right?                 1   with an impairment that I understand will be claimed as
 2      A. Yes.                                                  2   depression and anxiety.
 3      Q. Because she remained employed. All right.             3          I'm told there are medical professionals who
 4   Then, Table 10, you total those. All right. And then in     4   have provided that diagnosis, but I'm not here to argue
 5   Table 11 we get to offset for future wages. And in 2024,    5   whether they are right or wrong or whether there has been
 6   your offset for wages is 43,448; do you see that?           6   one or not.
 7      A. Yes.                                                  7          But what I have done is assuming the trier of
 8      Q. And that's a significantly lower offset than          8   fact is asked to -- is told that her claim is that she
 9   what we see her income being in the years prior, right?     9   has an impairment characterized as trouble
10      A. What year?                                           10   concentrating -- and that's all based on her report that
11      Q. So I'm looking at Table 11, year 2024.               11   she has difficulty concentrating, memory difficulties,
12      A. Yeah. So in the future -- so for the future,         12   speaking difficulty, reading difficulty, writing
13   which starts in 20 -- mid year 2023 for the future --      13   difficulty, difficulty standing for long periods of time,
14      Q. Okay.                                                14   difficulty interacting with people, that there are
15      A. -- we then show a disability impact.                 15   triggers and stressors that can cause a seizure is what
16      Q. So you take the position that from 2023 going        16   she says. I looked at government tables showing future
17   forward, she has only a 38.55 percent chance of            17   career impact that people who have an impairment
18   continuing to work?                                        18   characterized as trouble concentrating.
19      A. Mid year 2023 --                                     19       Q. Okay.
20      Q. Uh-huh.                                              20       A. And that's based on Americans with Disabilities
21      A. -- an estimate -- the present cash value date,       21   research.
22   the assumed date of trial --                               22       Q. Okay. So that was a lot that you just said
23      Q. Uh-huh.                                              23   there, so let me try to get through some of that.
24      A. -- we assume in the long run she is working          24          So from mid 2023, going forward, you discount


                                                                                        21 (Pages 78 to 81)
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                                                  Page 82                                                          Page 83
 1   her wages based on research regarding the employability     1   average of that level of impairment. It's difficult to
 2   of someone with difficulty concentrating?                   2   tell -- and as she said, she's got seizures. She's got
 3       A. Correct.                                             3   difficulties. Some may present themselves more
 4       Q. So you go from being a hundred percent capable       4   impactfully due to some particular circumstances. So I'm
 5   of working in '22 and -- are you texting again?             5   just saying an average of that impact.
 6       A. Just telling       -- she said thanks. She           6       Q. Are you aware that she's been working full-time
 7   said okay. Yeah.                                            7   since 2017 when her seizure disorder started?
 8       Q.        is your assistant?                            8       A. Yes. By I'm -- well, I don't know about
 9       A. Kelsey. Kelsey.                                      9   full-time. She'll have to tell you what she has missed
10       Q. Do you want to take a break?                        10   due to any emotional difficulties or not. I can't say
11       A. I said get delivered, please. She said, yes,        11   she has or hasn't, but it's factually whatever is true, I
12   will do.                                                   12   don't dispute.
13       Q. Okay. Thank you. We're happy to take a break        13       Q. So you also don't dispute, then, that she
14   if you prefer?                                             14   hasn't had a seizure since 2018?
15       A. No, I'm good. It's just a half-a-second             15       A. Correct. But imagine this: Someone goes to
16   disruption.                                                16   the hospital and they go through a CT scan where the
17       Q. Okay.                                               17   machine is set for the x-rays improperly and they're
18          So she goes from being capable of working at a      18   given a very unhealthy dose of radiation. They don't
19   hundred percent in year 2022 to being only 38.55 percent   19   fall apart the next day. It has an impact over time.
20   capable of working by mid 2023?                            20           So you can't -- given that she has this
21       A. On average.                                         21   impairment that she claims, it's -- I, as a -- cannot
22       Q. Okay.                                               22   predict when it may have a particular impact or not, on
23       A. So there could be years in which she's far more     23   what particular day or month or quarter. There may be
24   capable, years in which she's less capable. It's an        24   good years or bad years. I'm just saying, on average,

                                                  Page 84                                                          Page 85
 1   the government reports that people with difficulty --       1      Q. -- from 2023 going forward?
 2   this difficulty she claims -- have a reduced overall        2      A. Well, I'm not saying it. The government says
 3   level of impairment, and it doesn't mean every moment of    3   that's the statistically average reduction in work
 4   every day.                                                  4   capacity for people who claim this level of disability.
 5           My heart rate is low at night when I sleep, and     5      Q. And if she has worked throughout 2023, so far,
 6   it's higher when I jog. I know the average heart rate.      6   and will -- has been assigned to teach full-time through
 7       Q. But you would agree with me that this is an          7   the end of this year, your prediction of a 38.55 percent
 8   individual who is in her 30s or 40s -- late 30s, early      8   chance of working through the end of 2023 would be
 9   40s -- who has been working continuously for her adult      9   incorrect, because it would be a hundred percent, right?
10   life, hasn't requested an accommodation since 2019,        10      A. It's just a prediction. It's a lifelong
11   hasn't had a seizure since 2018, and you discount her      11   prediction. She may be working a hundred percent next
12   ability to work, going forward, by close to 70 percent     12   year, and she may have to retire five years early, which
13   from one year to the next than through the rest of her     13   means a hundred percent loss in other years.
14   life?                                                      14           So a hundred percent loss in some years and a
15       A. On average. According --                            15   zero loss in some years, that average is 50 percent loss,
16       Q. You say it's on average, but it is --               16   right? So the government tables say for all the
17       A. -- to --                                            17   variability that may occur in someone's lifetime about
18       Q. -- you are discounting her wages by 60 -- what      18   their capacity to be employed, for all the ups and downs
19   is it? Almost 62 percent, right, from 2023 going           19   that there may be in her life, that it averages a 62
20   forward?                                                   20   percent reduction.
21       A. 60 -- I'm sorry.                                    21      Q. Okay.
22       Q. So you're saying she has a 38.55 percent chance     22      MS. WERMUTH: Can you mark this, please, as -- what
23   of working --                                              23   are we on now? And, Gia, this is the Taylor study that
24       A. Yes.                                                24   was cited --


                                                                                        22 (Pages 82 to 85)
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                                                   Page 86                                                        Page 87
 1      MS. SCATCHELL: Okay.                                      1       MS. WERMUTH: -- with the witness?
 2      MS. WERMUTH: -- in Dr. Smith's report. It wasn't          2       MS. SCATCHELL: -- receive them.
 3   produced to us, I don't think. I was able to get a copy      3       THE WITNESS: You don't have to assume. You can
 4   somehow. I don't think you produced it, but in any           4   look at my phone. She just said thanks once. That was
 5   event...                                                     5   it.
 6      THE WITNESS: Yeah, it's online.                           6       MS. SCATCHELL: Yeah.
 7                (Document marked as requested.)                 7       MS. WERMUTH: Okay.
 8   BY MS. WERMUTH:                                              8       THE WITNESS: I'm just trying to keep Gia aware.
 9      Q. Okay. So when you say you were relying on              9       MS. WERMUTH: Yep. Understood.
10   government data to come up with your 38.55 percent chance   10       MS. SCATCHELL: I didn't receive that, though. If
11   of working from this year through the end of her life --    11   you prefer to send it to me, I'm fine with that, too.
12      A. Yeah.                                                 12       MS. WERMUTH: Send you a copy of the report?
13      Q. -- this is the government data that you're            13       MS. SCATCHELL: No. Whatever the first page is he
14   talking about in the Taylor report?                         14   just sent.
15      A. Correct.                                              15       MS. WERMUTH: I don't have a copy of the first page.
16      Q. And this report was published in 2018 -- are          16   I have the report. It's the --
17   you on your phone, sir?                                     17       MS. SCATCHELL: Okay.
18      A. I just texted the first page to Gia.                  18       MS. WERMUTH: -- Daniel Taylor report cited in
19      Q. All right. You should let me know when you're         19   his -- Dr. Smith's report.
20   doing that. I would appreciate that.                        20       MS. SCATCHELL: Okay.
21      A. Okay.                                                 21   BY MS. WERMUTH:
22      MS. WERMUTH: And, Gia, I'm assuming you're not           22       Q. Okay. And just so I'm clear, the data dates
23   communicating --                                            23   from 2014, but her publication is from 2018; is that
24      MS. SCATCHELL: I didn't --                               24   right?


                                                   Page 88                                                        Page 89
 1       A. Yes.                                                  1       MS. SCATCHELL: Well, I mean, you could have also
 2       Q. Okay. And you are relying on Table A-2, I             2   sent your exhibits beforehand as well --
 3   believe, to come up with your calculations; is that          3       MS. WERMUTH: Gia, I would -- no.
 4   right?                                                       4       MS. SCATCHELL: -- because that's also --
 5       A. Yes.                                                  5       MS. WERMUTH: Gia, no, because this was an in-person
 6       Q. So Table A-2 is on page --                            6   deposition and it was noticed as such, so there was no
 7       MS. WERMUTH: Gia, do you have a question?                7   need for me to send these in advance.
 8       MS. SCATCHELL: Yeah. If you could just provide me        8       MS. SCATCHELL: I always send my deposition exhibits
 9   the URL that you accessed this.                              9   in advance for in-person, but it's a matter of
10       MS. WERMUTH: Well, you know, to be honest, it would     10   preference.
11   have been a good idea to actually have this produced in     11       MS. WERMUTH: Yeah, I don't think I've ever gotten
12   advance. It wasn't. That way we'd all be working off        12   exhibits in advance from you, like when you deposed
13   the same stuff. I will try to send this to you if you       13   Dr. Ghannam (phonetic). I know I didn't get exhibits in
14   give me a moment.                                           14   advance from you. But in any event --
15       THE WITNESS: Gia? Gia, if you just Google               15       MS. SCATCHELL: Well, that was a year ago.
16   Americans with Disabilities 2014 --                         16       MS. WERMUTH: You said it was your practice. It's
17       MS. SCATCHELL: Uh-huh.                                  17   only your current practice?
18       THE WITNESS: -- and then the word Taylor, the           18       MS. SCATCHELL: Yeah, it changed. It's my current
19   author's name, I'm sure it will pop up.                     19   practice.
20       MS. SCATCHELL: Okay.                                    20       MS. WERMUTH: Okay.
21                  (Long pause.)                                21   BY MS. WERMUTH:
22       THE WITNESS: It's a U.S. Census Bureau --               22       Q. Table A-2 on page 27 --
23       MS. WERMUTH: I'm sending it by e-mail, Gia. And as      23       A. Yes.
24   I said, this should have been sent to us, but --            24       Q. -- that's where you're pulling the data from?


                                                                                        23 (Pages 86 to 89)
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                                                    Page 90                                                         Page 91
 1    Is that right, Dr. Smith?                                    1   BY MS. WERMUTH:
 2        A. Yes.                                                  2      Q. So we were talking about Table A-2 in the
 3        Q. Okay. And what you say is -- and by the way,          3   Taylor study.
 4    super quick, there are -- you're looking at -- well, tell    4      A. Yes.
 5    me what lines you're looking at to get to your numbers?      5      Q. And we learned how you determined the 38.55
 6        A. Table A-2, down at the bottom, second to the          6   percent. You say it's an average, but you apply the same
 7    last line, trouble concentrating.                            7   figure every year based on the single calculation,
 8        Q. Okay. And so you take the percentage of 2.71,         8   correct?
 9    the employed percentage of individuals with trouble          9      A. Because it is an average, yes.
10    concentrating. Do you see that?                             10      Q. Well, the 38.55 percent is an average percent?
11        A. Yes.                                                 11      A. It's applied each year, which means it's an
12        Q. Okay. And then you take that against the --          12   average across all years.
13    what number to get 38.55 percent?                           13      Q. But how is -- you're applying it every single
14        A. Against the figure at the top of A-2, the very       14   year. You're saying her wages are going to decrease by
15    top, page 26, of 70.3 percent of the overall population     15   close to -- over 60 percent every single year from 2023
16    being employed.                                             16   going forward?
17        Q. Okay. So you multiply -- let me say it this          17      A. No. That's just the table showing a
18    way: 38.55 percent is 38 -- I'm sorry. 27.1 is 38.55        18   year-by-year. If you take it from now to any future
19    percent of 70.3; is that right?                             19   year, it's 38 percent across all years, on average.
20        A. Yes.                                                 20   Whether there are ups and downs is not relevant.
21        Q. Okay. And you used that figure --                    21      Q. But you're not --
22                   (Phone ringing.)                             22      A. You know, if you --
23        MS. WERMUTH: We're going to take a break.               23      Q. -- applying it across all years -- or I mean,
24                   (Short break taken.)                         24   you're not applying it on ---

                                                    Page 92                                                         Page 93
 1       A. You're arguing with me.                                1   discount every single year, from 2023 through 2067, is
 2       Q. -- an average basis --                                 2   somehow tantamount to an average?
 3       A. I'm trying to educate you and you are willfully        3       A. It is exactly the average. So imagine someone
 4   not trying to see my point. I am mathematically correct,      4   has a heart rate, as I said, that averages 72. When
 5   just assume it.                                               5   they're asleep it averages 62. When they're awake it
 6          Now, what's important is if you try and see the        6   averages 82, but the average is 72 overall.
 7   error of your ways, as opposed to trying to persuade me       7          So if you take their heart rate over 20 years,
 8   the error of my ways, because I am a professor at this,       8   and sometimes they're asleep and it's less and sometimes
 9   and I am perfect at this, and if you would at least see       9   they're jogging and it's more, but it averages 72, and if
10   that I have a correct point of view, given my Ph.D.,         10   you assume it averages 72 over 20 years, it doesn't
11   background, training and having learned econometrics at      11   matter what the ups and downs are on any given day or
12   the top university on the planet of econometrics, you may    12   hour or month or week.
13   consider that I might be right. And instead of arguing,      13          What matters is that if you take her losses to
14   attempt to see how I am right and where you are wrong,       14   age 67, precisely as the tables do, the discount of her
15   and that would produce a more efficient deposition today.    15   employability is exactly 32 percent.
16       Q. Since you are perfect, sir, and I'm clearly           16          Now, if there are variations year by year, it's
17   imperfect --                                                 17   irrelevant, as long as it averages 32 percent, which the
18       A. At this point, I am.                                  18   tables say for people like her it does.
19       Q. Could you please explain to me how applying a         19       Q. What the table says is that for those aged 18
20   discount of 61-and-a-half percent every year --              20   to 64 years old in 2014, with a mental disability of
21       A. I'll give you an example.                             21   trouble concentrating, the percent of people employed
22       Q. Hang on. Let me finish my question.                   22   that year is 27.1 percent, right? That's what the table
23          Since you are perfect and I'm imperfect, please       23   says?
24   explain to me how applying a 61-and-a-half percent           24       A. Correct.


                                                                                         24 (Pages 90 to 93)
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                                                   Page 94                                                          Page 95
 1      Q. Okay. And you're saying from to 2023 through           1   see that?
 2   2067, she's going to be disabled to that extent every        2       A. I know the table.
 3   single year?                                                 3       Q. Okay. And so if an individual has a disability
 4      A. No. On average. You keep mischaracterizing my          4   in only one domain, the percentage of folks employed with
 5   words. On average.                                           5   a mental disability in only one domain is 64.7 percent.
 6      Q. But --                                                 6           Do you see that?
 7      A. On average. So stop saying --                          7       A. Yes.
 8      Q. -- where in your report --                             8       Q. Okay. And so the only disability that you've
 9      A. -- every single year.                                  9   applied here is a mental disability of trouble
10      Q. -- does it say that?                                  10   concentrating. So why do you use the 27.1 percent
11      A. The math shows it every single year, but the          11   instead of the 67.1 percent in the same table?
12   impact is on average across all the years.                  12       A. Because the one domain means across all
13      Q. Okay. The math shows it every single year,            13   domains. We actually know her domain, so it's not a
14   correct?                                                    14   statistical unknown one domain. It's a precisely known
15      A. Yes, but --                                           15   domain. If you go even further on the table where you
16      Q. Thank you.                                            16   cannot only select trouble concentrating where you know
17      A. -- when you take it over to age 67, it is an          17   the domain, but you go to the next page of the table
18   average over 20 or 30 years, whatever it turns out.         18   under selected conditions where it says a mental or
19      Q. Now, if you look further at Table A-2 on page         19   emotional problem, it's an even higher level of
20   28.                                                         20   disability.
21      A. Yes.                                                  21       Q. Where do you see selective conditions?
22      Q. Are you there?                                        22       A. It's the second to the last line.
23      A. Yes. I know the table.                                23       Q. On what page, sir?
24      Q. Okay. There are disability domains. Do you            24       A. Page 28, the table -- the page after.


                                                   Page 96                                                          Page 97
 1       Q. I see. Okay.                                          1      A. No, I never suggested that. No. You suggested
 2       A. You see 21.7, which is a very significantly           2   that. I denied that that applies to her.
 3   higher level of disability where there is, quote, mental     3      Q. Okay. What about disability in two domains,
 4   or emotional problem, which may more accurately reflect      4   physical and mental? That's 31.5 percent.
 5   her overall condition. Because she said she had trouble      5      A. But it doesn't specify the domains. The more
 6   concentrating and enumerated multiple other difficulties     6   specific you can be, the more precise is the calculation.
 7   that she had, in contrast to your suggestion that there's    7      Q. Okay. So that's why you didn't choose mental
 8   only one condition that she is suffering from.               8   or emotional, because that isn't specific, whereas
 9       Q. But you --                                            9   trouble concentrating is more specific?
10       A. She states she's suffering from multiple             10      A. Well, mental or emotional is what she has,
11   conditions. I selected one, which is trouble                11   both. It's not just trouble concentrating, which is
12   concentrating. But if you go to the next page, and just     12   mental.
13   say she is -- she falls under the -- under the mental or    13      Q. But you selected trouble concentrating?
14   emotional problem impairment line, instead of being 27      14      A. To be conservative, yes. If I had selected
15   percent, it's 21 percent, which is one-quarter less,        15   that she has both mental and emotional, that would even
16   even.                                                       16   be higher. She does not have, as you keep suggesting, a
17       Q. So what you're pointing out here is that there       17   single condition, is my understanding.
18   are a variety of different percentages you could rely       18      Q. Well, but it's not condition. It's domain. A
19   on --                                                       19   domain is different than a condition, yes --
20       A. No.                                                  20      A. The word says -- what condition? And then it
21       Q. -- there's the -- there's the trouble                21   also uses symptoms. Where are you getting the word
22   concentrating, which is what is in your report. There's     22   domain?
23   the mental disability in a single domain, which is          23      Q. Page 28, disability domains.
24   triple --                                                   24      A. All right. I haven't used that section.


                                                                                         25 (Pages 94 to 97)
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                                                  Page 98                                                          Page 99
 1       Q. Right, but that's present here in this report,       1   concentrating.
 2   yes, sir?                                                   2      MS. WERMUTH: Move to strike. Non-responsive. No
 3       A. It's less specific, yes, than the conditions.        3   question pending.
 4       Q. But you didn't use conditions.                       4      THE WITNESS: I was intending to add a little humor
 5       A. I didn't use mental or emotional.                    5   here.
 6       Q. Right.                                               6      MS. WERMUTH: Could we have this marked, please?
 7       A. Because that would be even higher.                   7   Thank you.
 8       Q. By the way, this study doesn't distinguish           8                 (Document marked as requested.)
 9   between individuals disabled from birth or those who        9   BY MS. WERMUTH:
10   suffer disability later in life, as far as you can tell;   10      Q. Are you on your phone again, sir?
11   is that right?                                             11      A. I'm told they are sending me my deposition of
12       A. Correct.                                            12   my trial -- my deposition testimony for trial.
13       Q. Before I move to your RVL analysis, I'd like to     13      MS. WERMUTH: I'm just going to ask and put it on
14   go through a couple of other documents.                    14   the record, if you need to use your phone, you should
15       A. Certainly.                                          15   take a break and not be on your phone during the
16       Q. In your report you identify some other              16   deposition. Thank you.
17   materials that you reviewed to perform your evaluation.    17      THE WITNESS: Very good.
18   I just want to make sure I understand how you used them.   18   BY MS. WERMUTH:
19       A. Yes.                                                19      Q. Exhibit 18, sir, are you familiar with that?
20       THE WITNESS: And may I say on the record, there are    20      A. Yes.
21   many ways in which I am perfect, but I am capable of       21      Q. And how, if at all, did you rely on this string
22   dividing two numbers perfectly and knowing whether it's    22   of e-mails in performing your evaluation?
23   an average or not. That's a very limited claim. Just as    23      A. I don't see that these played any particular
24   the selected condition is very limited to her trouble      24   role.


                                                Page 100                                                         Page 101
 1      MS. SCATCHELL: Can I get the Bates number?               1          Do you see that?
 2      MS. WERMUTH: Dillard Expert Discovery 707 through        2      A. Yes.
 3   709.                                                        3      Q. In 2018, does it appear her income was impacted
 4      MS. SCATCHELL: Thanks.                                   4   by her participation on a search committee?
 5   BY MS. WERMUTH:                                             5      A. I don't know if the records show that or not.
 6      Q. Do you see the dates on these e-mails, sir?           6   All I cared about was what was her total earnings.
 7      A. Certainly.                                            7      Q. So if search committees last for a year and any
 8      Q. They're from June of 2018?                            8   additional compensation goes away when you're done, that
 9      A. I see the dates.                                      9   didn't figure into your analysis; is that right, sir?
10      Q. Okay. So June of 2018 was a period of time           10      A. I just took what she made in 2018. There is
11   after which Dr. Dillard contends she should have been      11   many ways in which you can make money at a university and
12   promoted, right?                                           12   a search committee may be one of them.
13      A. Yes.                                                 13      MS. WERMUTH: Can you mark this as 19, please?
14      Q. Okay. And it's about her role on a search            14                 (Document marked as requested.)
15   committee; is that right?                                  15   BY MS. WERMUTH:
16      A. Well, I haven't digested it fully, but I will        16      Q. Sir, you have been handed what's been marked as
17   take your word for it.                                     17   Deposition Exhibit 19.
18      Q. Okay. And according to your report, and your         18      MS. WERMUTH: Gia, this is Dillard Expert Discovery
19   staff's interview with Dr. Dillard, her inability to       19   713 through 716.
20   serve on a search committee or -- strike that.             20   BY MS. WERMUTH:
21           She says she reports that taking on additional     21      Q. Do you recognize that document, sir?
22   roles, such as chair of the search committee, increased    22      A. Yes.
23   yearly earnings through additional stipends from the       23      Q. What do you recognize it to be?
24   university.                                                24      A. It's a posting, full-time faculty for the


                                                                                      26 (Pages 98 to 101)
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                                                Page 102                                                       Page 103
 1   College of Communication.                                  1   relied upon in your evaluation?
 2       Q. Can you tell the date on that posting?              2       A. Just background. It was a document sent to me.
 3       A. Well, if you can point me to it so we don't         3       Q. So you didn't give any particular weight to it
 4   waste time.                                                4   in your analysis?
 5       Q. Looks like on page 714, the open date is            5       A. Not mathematically in any way, no.
 6   7-12-2018. Do you see that?                                6       Q. So you do see that there is a proposed salary
 7       A. Yes.                                                7   range listed in here? Do you see that?
 8       Q. Okay.                                               8       A. Yes.
 9       A. That's not necessarily the date of the posting.     9       Q. Okay. But that didn't figure into your
10   Do you see the date of the posting?                       10   analysis in any way?
11       Q. Well, the date that it was opened is 7-12-2018.    11       A. It's just based --
12   Do you see that?                                          12       Q. That's a no?
13       A. Yes.                                               13       A. Correct.
14       Q. Okay. To fill positions for the start of the       14       Q. Thank you.
15   academic year 2019. Is that your understanding?           15       MS. WERMUTH: Can you mark this as 20, please?
16       A. Well, if it says that somewhere, point me to       16                 (Document marked as requested.)
17   it. I don't have to have an understanding. The document   17   BY MS. WERMUTH:
18   will speak for itself.                                    18       Q. You have been handed Deposition Exhibit No. 20,
19       Q. Okay. The first page: College of                   19   which is Bates labeled Dillard Expert Discovery 696
20   Communications at DePaul University invites applicants    20   through 698. Do you see that, sir?
21   for two tenure line assistant professor positions and     21       A. Yes.
22   advertising to begin August 2019. Do you see that?        22       Q. Do you see it's a string of e-mails from
23       A. Very good. Yes.                                    23   February of 2019?
24       Q. So how and why was this important or used or       24       A. Yes.


                                                Page 104                                                       Page 105
 1       Q. Related to a position called prad share. Do         1       Q. Did DePaul University's motion to dismiss the
 2    you see that?                                             2   first complaint figure into your analysis in any way?
 3       A. Yes.                                                3       A. No.
 4       Q. How, if at all, did you use this particular         4       Q. Going back to Exhibit 14, if you would, for
 5    e-mail trail to provide your opinions in your report?     5   just a second. These are her salary letters, her annual
 6       A. I did not.                                          6   contracts?
 7       Q. Okay. Did you use any e-mails relating to           7       A. Yes.
 8    search committee work or prad share jobs in your          8       Q. I'm trying to find it, too, so give me a
 9    analysis?                                                 9   moment.
10       A. Not that I recall.                                 10                  (Brief pause.)
11       Q. Okay.                                              11       Q. Okay. So turning to the second page and
12       MS. WERMUTH: Can you mark this as 21?                 12   thereafter, you can see that annual increases go into
13                  (Document marked as requested.)            13   effect -- sorry.
14    BY MS. WERMUTH:                                          14       MS. WERMUTH: It's actually the third page. Dillard
15       Q. You've been handed Exhibit 21, sir.                15   underscore DePaul 2186 through the end.
16       MS. WERMUTH: Gia, it's Bates labeled Dillard          16   BY MS. WERMUTH:
17    Expert Discovery 827 through 828.                        17       Q. Her contracts with her salary are being issued
18       MS. SCATCHELL: Thanks.                                18   in June each year, right?
19    BY MS. WERMUTH:                                          19       A. Yes.
20       Q. This is an e-mail about a gift for a colleague     20       Q. Okay. So going back to your report where you
21    who achieved tenure, and it's dated June of 2020.        21   say that her income in 2018 grew as a result of her
22          Did that e-mail figure into your analysis in       22   complaint, if she complained prior to June of 2018, then
23    any way, in your opinion in any way, Dr. Smith?          23   her 2018 compensation might be impacted by that; is that
24       A. No.                                                24   right, sir?


                                                                                  27 (Pages 102 to 105)
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                                                 Page 106                                                         Page 107
 1      A. I don't know.                                          1       A. I don't.
 2      Q. Okay.                                                  2       Q. Do you know if they're available under the
 3      A. And it's not I who said it grew. It's she who          3   Americans With Disabilities Act?
 4   claimed that. I merely restated what she said.               4       A. Same answer.
 5      Q. Okay. So you don't know when in 2018 she               5       MS. SCATCHELL: Objection; calls for a legal
 6   complained?                                                  6   conclusion.
 7      A. Correct.                                               7   BY THE WITNESS:
 8      Q. And you don't know when that complaint would           8       A. Yeah, I'm not here -- even if I knew, I really
 9   have resulted in any increase, whether it was in 2018 or     9   wouldn't want to testify on the record as to legal
10   2019, other than what she reported to you?                  10   matters.
11      A. Correct.                                              11   BY MS. WERMUTH:
12      Q. Okay. Let's stick with Exhibit 3.                     12       Q. Okay. Do you know if RVL damages are available
13          And you can go until 2:30? I just want to be         13   under the Equal Pay Act?
14   clear before I start on the RVL.                            14       A. Same answer.
15      A. Yes.                                                  15       MS. SCATCHELL: Same objection.
16      Q. Okay. So on page 7 of your report, this is            16       MS. WERMUTH: Okay.
17   where you explain what you call the reduced value of life   17   BY MS. WERMUTH:
18   calculation; is that right?                                 18       Q. Now, to get to RVL, you start with the concept
19      A. Yes.                                                  19   of the value of a statistical life, right? That's your
20      Q. Okay. And do you know if -- can I refer to            20   starting point?
21   that as RVL?                                                21       A. Yes.
22      A. Sure.                                                 22       Q. And the value of a statistical life is not the
23      Q. Do you know if RVL damages are available under        23   same as -- so VSL is not the same as RVL, correct?
24   Title VII?                                                  24       A. Well, RVL is my measure of the reduction and


                                                 Page 108                                                         Page 109
 1   the value of her ability to enjoy her future, meaning        1           You're familiar with that document?
 2   life expectancy.                                             2       A. I cite it, yes.
 3       Q. Okay. So the VSL analysis begins with                 3       Q. And you would agree with me, in the
 4   studies -- well, strike that.                                4   introduction, the two authors write: Proper evaluation
 5          VSL is the value that society places on               5   requires an estimate of the value society places on a
 6   reducing the statistical probability of death; is that       6   life saved. Do you see that?
 7   right?                                                       7       A. Which paragraph are we at?
 8       A. No, it's not what society places. It's what           8       Q. First paragraph in the introduction.
 9   we, as individuals, on average place. So when you buy a      9       A. Yes, but --
10   carbon monoxide detector, it is not society saying you      10       Q. Okay. And --
11   value your life. It's you saying I value my life.           11       A. -- if I can understand -- that it is not what
12          When you look both ways when you cross the           12   they mean by that. I'd like to explain.
13   street -- and I say that as a metaphor, it's you wanting    13       Q. Well, let me just go on quickly and then I'd
14   to preserve the quality of your life, not society.          14   like to hear your explanation.
15       Q. Do you rely on an article in your analysis           15           They go on to write: The concern is not with
16   authored by Mrozek and Taylor?                              16   the value of an identified life -- right -- but the value
17       A. Among hundreds, yes.                                 17   society places on reducing the statistical probability
18       Q. Among hundreds, right? And if you look at --         18   that one among them dies, the so-called value of a
19       MS. WERMUTH: Let me get this marked as 22.              19   statistical life. Do you see that?
20                 (Document marked as requested.)               20       A. Yes.
21   BY MS. WERMUTH:                                             21       Q. So when I asked you earlier if that's what VSL
22       Q. Sir, I've marked the Mrozek and Taylor article,      22   is, the value society places on reducing the statistical
23   one of many cited in your report. This one is entitled,     23   probability that one among them dies, you said no, that's
24   What Determines the Value of Life, a Meta-Analysis.         24   not the case. So tell me how you differ from these two


                                                                                    28 (Pages 106 to 109)
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                                                 Page 110                                                        Page 111
 1   authors in understanding what VSL is?                        1       A. Yes, one by one.
 2      A. I don't differ from them. I want to explain            2       Q. Okay. You say that the studies examine
 3   what they mean. So if you say society recognizes that we     3   incremental pay for risky occupations, as well as a
 4   shouldn't -- that we should look both ways before we         4   multitude of data for life-saving by individuals,
 5   cross the street, it's not because there's been some 200     5   industry and state and federal agencies. Do you see
 6   million persons surveyed. It's because we see people, by     6   that?
 7   and large, looking. We see millions of people, one by        7       A. I wrote that.
 8   one, day by day, year by year, looking both ways before      8       Q. Okay. So these studies are based on risky
 9   we cross the street. And when we observe that millions       9   occupations, right?
10   of people are, one by one, each by themselves, looking      10       A. Of which there are many, yes.
11   both ways before we cross the street, by observing the      11       Q. Yes. Would you say being a tenured professor
12   millions of people that do that as individuals, we then     12   is a risky occupation?
13   say, in general, people in society -- or society sees       13       A. That's got nothing to do with the value of
14   that it is important to look both ways. We, in an           14   life, but no.
15   American society, see that it's important to look both      15       Q. Okay. And then in addition to risky
16   ways before we cross the street.                            16   occupations, the other studies deal with an
17           So in that way, they use society to mean            17   individual willing to pay for life-saving opportunities?
18   individually as a collection of hundreds of millions we     18       A. Yes.
19   act as a society.                                           19       Q. Okay. And these studies, although there are
20      Q. Okay. And in fact, in your report on page 7,          20   many of them and over decades, remain somewhat
21   you say: My estimate of the value of life is based on       21   controversial. Would you agree with that?
22   many economic studies on what we, as a contemporary         22       A. No.
23   society, actually pay to preserve the ability to lead a     23       Q. No? Okay.
24   normal life. Do you see that?                               24       A. This group -- this field of economics is

                                                 Page 112                                                        Page 113
 1   perhaps one of the most well-settled amongst many fields     1   at, the VSL varies substantially: Reported estimates of
 2   of economics. This is probably the least controversial,      2   the VSL varies substantially, from less than $100,000 to
 3   the most well-settled field.                                 3   more than $25 million. Do you see that in the very first
 4       Q. Well, isn't it true that these studies report         4   paragraph?
 5   wide variations in the estimate of VSL?                      5       A. They didn't use the word why. They used the
 6       A. Wide is a point of view. They behave no               6   word substantially. Yes. I agree with what they wrote.
 7   differently than other types of statistics that we           7       Q. You do agree with what they wrote? So there's
 8   measure routinely, such as the average earnings of a         8   substantial variation in the estimates of the VSL?
 9   lawyer, which can range from $10,000 a year, if you're at    9       A. As there are substantial variations in
10   a Northwestern University legal aid clinic, to              10   estimates of what a lawyer may make, yes.
11   $5 million a year if you're -- or more, if you're a         11       Q. Which we're not here to discuss today.
12   senior partner at a top Wall Street law firm.               12       A. Yes. But my point is I'm trying to teach you
13           That is what some people call a wide variation.     13   something about statistics in the world and that you
14   10,000 a year for one lawyer, five million a year, or       14   don't see this as anything unusual. If you had a Ph.D.
15   more, for another lawyer. And if you're a lawyer who is     15   in econometrics, you would see these kinds of variations
16   actually head of a Fortune 500 company, you might be        16   that are substantial are, in fact, commonly observed in
17   earning $50 million a year. Some people might consider      17   hundreds and hundreds of areas. And the point of this
18   that to be a wide variation.                                18   article is to make some sense of the different
19           But the earnings of lawyers and all their           19   variations, which they do.
20   different occupations is a fairly well-behaved set of       20       Q. Well, and this article also talks about the
21   statistics, as is the value of life studies.                21   controversy around the validity of using VSL estimates.
22       Q. So we're not here -- and you haven't opined on       22   Does it not, sir?
23   anything other than the value of a statistical life,        23       A. Can you point me to the sentence?
24   which even according to the article that we just looked     24       Q. First page, last paragraph.


                                                                                    29 (Pages 110 to 113)
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                                                 Page 114                                                         Page 115
 1       A. They're talking about using it from labor             1       Q. In 1998 dollars?
 2   market studies, not safety studies.                          2       A. Yes.
 3       Q. Okay. And so they talk about controversy              3       Q. Okay.
 4   around a variety of issues. One topic is the                 4       A. And my point is that this article -- peer
 5   statistically significant relationship between the risk      5   reviewed in the Journal of Policy Analysis and
 6   of death on the job and workers' wages, right? And on        6   Management, a very high-quality journal -- these authors
 7   the second page, a second issue is the wide variation and    7   say all of this is well-resolved, well-understood that
 8   the VSL estimates reported in this literature.               8   there is an appropriate range for the value of life.
 9           Do you see that?                                     9   It's not particularly wide, and they resolved the
10       A. Yes.                                                 10   controversy.
11       Q. Okay. And they go on to then cite a variety of       11       MS. WERMUTH: Can you mark this as 23?
12   different variations in that same paragraph, yes, sir?      12                 (Document marked as requested.)
13       A. Yes. And they conclude that you can make             13   BY MS. WERMUTH:
14   perfect sense of this in a peer-reviewed journal article    14       Q. I've now handed you what's been marked as
15   whereby they, then, after peer review, put forth what       15   Exhibit 23, which is the article.
16   they believe is the appropriate range of the correct        16       MS. WERMUTH: Gia, again, I don't think this was
17   value of life.                                              17   produced to us so I pulled it. It's Bellavance, Dionne
18       Q. This article, I can't really tell when it was        18   and Lebeau. I don't speak French so I know I butchered
19   published. It looks like 2001, perhaps? 2002?               19   all of that.
20       A. Which one, Mrozek?                                   20           This is another article you cited in your
21       Q. Yes.                                                 21   report, sir?
22       A. Yes. And you should read in their abstract           22       A. I believe so.
23   that they say the range is below previous reviews, and      23       Q. And this article was published in 2008 or --
24   they do suggest a correct range here in this article.       24   2009, I think, actually; is that correct, sir?

                                                 Page 116                                                         Page 117
 1        A. Yes.                                                 1       Q. Right. And neither one of those scenarios are
 2        Q. And this article also notes the wide variations      2   presented in this case, right?
 3    among the various studies performed; is that right, sir?    3       A. They have -- the measure of the value of life
 4        A. They talk about -- they discuss the variability      4   has nothing -- the value of statistical life has nothing
 5    and then make sense of it, yes.                             5   to do with how it's arrived at. There is different ways
 6        Q. Okay. And --                                         6   of arriving at it, and you arrive at it through either
 7        A. And you must read their conclusion.                  7   looking at safety measures, or you look at it through
 8        Q. Okay. I'd like to -- these VSL studies are           8   people taking risky jobs.
 9    related to policies or measures that can be taken to        9           But the value of a statistical life would apply
10    reduce mortality, right?                                   10   to a statistically average person, has nothing to do with
11        A. No. They say this information can be used for       11   whether that person is in a risky job or not.
12    such evaluations.                                          12       Q. But many of the studies are based on risky
13        Q. Right.                                              13   occupations, yes, sir?
14        A. The underlying studies are not based on that.       14       A. In order to value the average value of the
15        Q. Well, aren't they based on the willingness to       15   average person's life, yes.
16    pay to avoid death, right?                                 16       Q. Is gender taken into account in these studies?
17        A. Yes, that's not government policies. Those are      17       A. There is no indication that women or people of
18    individual decisions.                                      18   different -- that gender plays a role in the value of
19        Q. Okay. I said policies or measures. So folks         19   life, so no.
20    can take individual measures to reduce their own           20       Q. What about race or ethnicity?
21    mortality, right?                                          21       A. Same answer.
22        A. Well, they make individual decisions, whether       22       Q. What about wealth?
23    to look both ways to cross a street or whether to accept   23       A. There's actually almost nothing that impacts
24    a job in a risky occupation, yes.                          24   the value of a statistical life except people below the


                                                                                    30 (Pages 114 to 117)
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                                                 Page 118                                                         Page 119
 1   poverty line. Those studies show that there's a              1       A. There is no indication of anything, other than
 2   different value, but...                                      2   the future number of years and living above poverty.
 3      Q. They might be less willing to pay to avoid             3   That's it. Any other factors you care to mention, you
 4   death because they have less money? Is that the point?       4   can lump into one group. They're not important.
 5      A. They're just in dire circumstances.                    5       Q. Okay. So when I look at page -- and by the
 6      Q. Okay.                                                  6   way, on page 8 you indicate the two types -- the groups
 7      A. They're not a statistically average person.            7   that the studies fall into, being consumer behavior and
 8      Q. Is someone who is willing to pay a lot because         8   purchases of safety devices and then wage risk premiums
 9   they are wealthy, is that a factor taken into account?       9   to workers, right?
10      A. You can be Bill Gates and buy a carbon monoxide       10       A. Yes.
11   detector and pay the same price you and I would.            11       Q. So to get to your VSL analysis, you rely on Ted
12      Q. Okay. What about health? Does that impact the         12   Miller's meta-analysis; is that right?
13   value of a statistical life?                                13       A. No. He's one of five meta-analyses, but those
14      A. The statistically average person is crossing          14   five meta-analyses rely on the entire body of literature,
15   the street. We don't know how healthy they are. They're     15   which I do. I simply cite them because they're a
16   just in average health.                                     16   convenient repository of assessment of the entire body of
17      Q. What about age? Does that factor in?                  17   literature.
18      A. Yes, we factor age, as part of how many future        18       Q. If we look at page 18 of your report, you list
19   years of life you expect to take value, just as we factor   19   there the five meta-analyses that you rely on to reach
20   age into this analysis of how many future years of          20   your conclusion?
21   earnings.                                                   21       A. I don't solely rely on them. I do rely on
22      Q. What about intelligence?                              22   them, as well as the entire underlying body of
23      A. No indication.                                        23   literature, which is cited elsewhere in the report.
24      Q. What about education?                                 24       Q. I'm looking at page 18 of your report. Is that

                                                 Page 120                                                         Page 121
 1   a table that you reproduced directly from Ted Miller's       1      A. I wrote it.
 2   2008 article?                                                2      Q. You wrote it. And when you say below, you are
 3       A. Yes.                                                  3   referring to the table on page 18, correct?
 4       Q. Okay. And why did you reproduce that in your          4      A. Yes.
 5   report?                                                      5      Q. Okay. And you say: These statistically-based
 6       A. Because Miller cites those five meta-studies          6   studies place the value between 4.4 and 7.5 million. Do
 7   and including one of his own. And those five                 7   you see that?
 8   meta-studies review the vast majority of the literature.     8      A. Yes.
 9       Q. Okay. And so did you rely on this table on            9      Q. And you derive those figures from the table on
10   page 18 to come up with your own conclusion around the      10   page 18, correct?
11   value of a statistical life?                                11      A. Yes.
12       A. You just asked that, and I said yes. That            12      Q. So the best estimate, 2005 dollars column, the
13   table, as well as the entire body of literature, which is   13   lowest figure there is 4.4 million, right?
14   cited both there and elsewhere in my report. I rely on      14      A. In 2002 dollars, yes.
15   the entire body of literature of which I've accessed, I     15      Q. Well, it says 2005.
16   believe, well over 95 percent of it. And if you look at     16      A. I'm sorry. 2005, yes.
17   what I said in my report, I believe it would cover over     17      Q. And then the highest figure is 7.5. Do you see
18   95 percent of the entire body of literature.                18   that?
19       Q. So please turn to page 17 of your report.            19      A. Yes.
20       A. Yes.                                                 20      Q. Okay. So then you say with 5.9 million in the
21       Q. You say: Below I list the principle                  21   year 2005 dollars, representing a conservative, yet
22   symptomatic reviews, meta-analyses, since the year 2000,    22   credible, estimate of the average and range midpoint of
23   of the value of life literature and the values of           23   the values of a statistical life published in the studies
24   statistical life they recommend. Do you see that?           24   in year 2005 dollars. Do you see that?


                                                                                    31 (Pages 118 to 121)
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                                                Page 122                                                         Page 123
 1       A. Yes.                                                 1   our ability to work and produce, as well as the value of
 2       Q. Okay. So how do you get to 5.9 in these              2   the nonworking part of our life. So the human capital
 3   meta-analyses?                                              3   part is about 1.1 million. So if we're looking at the
 4       A. You average those figures.                           4   value of a person, the two components of the value of
 5       Q. You merely average the table figures?                5   their ability to do or produce, and their value they
 6       A. Yes.                                                 6   place on their being, if we subtract out the value of
 7       Q. Okay. And then from that you say -- and you're       7   their ability to produce, about 1.1 million, the human
 8   dealing in 2005 dollars there.                              8   capital value, we're left with just the capital of the
 9          Then you go on to write: Net of human capital,       9   being of about 4.8 million.
10   a credible net value of life based on all these            10       Q. And why do you use the 1.1? Like where does
11   literature reviews -- no. I'm sorry. Net of human          11   that 1.1 million figure -- where is that derived?
12   capital, a credible net value of life based on all these   12       A. The average earnings per capita over a
13   literature reviews to be 4.8 million in 2005 dollars. Do   13   lifetime, over 45 years.
14   you see that?                                              14       Q. Average earnings per capita over 45 years?
15       A. Yes.                                                15       A. Over a future average remaining life expectancy
16       Q. Okay. So you go from 5.9, being what you said       16   of 45 years --
17   was the mid point; is that right?                          17       Q. Oh.
18       A. The average.                                        18       A. -- the average value of life for the average
19       Q. The average? Of the studies reported on the         19   person. The average person has 45 years left to live.
20   following page.                                            20       Q. Where I do find that data?
21          So you go from 5.9 to 4.8. How do you -- why        21       A. The Bureau of the Census will tell you that the
22   do you discount for 1.1 million there?                     22   average person's got -- in their mid 30s with 45 years
23       A. Well, the value of life consists of two             23   left to live, according to the United States life tables.
24   components recognized by economists. One, the value of     24       Q. Right. But where I do find the average

                                                Page 124                                                         Page 125
 1   earnings per capita? Where would I find the                 1   part of her life that does not involve human capital.
 2   $1.1 million figure?                                        2   And you do that by first looking at average people and
 3       A. What you'll find is the average earnings             3   then subtracting out the average human capital. To do it
 4   per capita of people in the work force is about 50,000 a    4   the other way would be categorically wrong. Not a
 5   year. Then you look and see that only about 70 percent      5   forensic economist on the planet would approve of your
 6   of the population is employed. That reduces that to         6   suggestion.
 7   about 35,000 a year for the average person, and the         7      Q. But when you get to her situation, you don't
 8   average future work life for the average person is          8   remove human capital that's attributable to her? You've
 9   something on the order of 20 years or so, plus benefits.    9   already done that but you've done it on a basis that's
10   It comes out to about 1.1 million.                         10   not directly tied to her life, right?
11       Q. Why would you not, in this instance, use the        11      A. We look at the value of her statistical life
12   human capital that you've attributed to Dr. Dillard here   12   and that of human capital by using that from the average
13   instead?                                                   13   person, yes.
14       A. Because we want to know the average value of a      14      Q. Right.
15   person's being by subtracting out the average value of a   15      A. We look at the non-component. You wouldn't
16   person's doing [sic]. This is all before we get to         16   want to look at Bill Gates's earnings capacity and
17   Dr. Dillard.                                               17   subtract that from the 5.9 million.
18       Q. Well, I get that, but -- I mean, I see that         18      Q. I agree, but why would you not want to look at
19   that's what you're doing, but my question is why are you   19   Dr. Dillard's earning capacity --
20   doing that? Why are we not looking at the value of her     20      A. For the same reason, because these -- we're
21   life, as opposed to the value of a statistical life?       21   looking at an average person first, and we want to know
22       A. We do look at the value of her life. We've          22   the average value of a person's being first.
23   looked at the value of her human capital. But we also      23      Q. But isn't that value of her being,
24   want to look at the statistically average value of the     24   Dr. Dillard's being, net of her human capital?


                                                                                   32 (Pages 122 to 125)
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                                                 Page 126                                                         Page 127
 1        A. The value of her being, I assume, is the same        1      A. In the rest of that sentence.
 2    as the value of everybody's being, which is net of the      2      Q. The actual value that I use, 4.1 million in
 3    average person's human capital. It's not net of her         3   2008 dollars.
 4    human capital or net of Bill Gates's human capital. It's    4          So I just want to follow this through. You got
 5    that of the average person's human capital.                 5   5.9 in 2005 dollars. You subtract out 1.1 to get 4.8 in
 6        Q. Okay. So you take 5.9 million in 2005 dollars        6   '05 dollars. You then take that to 5.4 in '08 dollars.
 7    and you subtract 1.1 average statistical person's human     7   And then you say, but wait, the actual value I'm going to
 8    capital, and you get 4.8 million in 2005 dollars, and       8   use is 4.1 in '08 dollars. So then you subtract out
 9    then you'd take that up to 5.4 in 2008 dollars.             9   another 1.3 million from 5.4 down to 4.1, right?
10           Do you see that?                                    10      A. I don't subtract it out. I use it.
11        A. Yes. And the same approach used elsewhere in        11      Q. You say: The actual value I use, 4.1 million
12    the peer-reviewed economic literature.                     12   in 2008 dollars.
13        Q. Okay. But why are we talking about -- I get         13          Do you see that?
14    that we're talking about 2005 dollars, because that's      14      A. Yes.
15    what the table on page 18 is. But why do you take it up    15      Q. Why did you change 5.4 in 2008 dollars to
16    to 2008 dollars?                                           16   4.1 in 2008 dollars?
17        A. You could take it to any year you want.             17      A. I didn't change it. I say the actual value is
18        Q. So then why take it up at all? Or why not go        18   5.4 million and then what I use is 4.1.
19    to 2022 dollars?                                           19      Q. So now you've discounted even below the 4.8 in
20        A. I could.                                            20   '05 dollars, where you've subtracted human capital?
21        Q. Okay. So then you go on to say: The actual          21      A. I used a figure less than that, yes.
22    value I use --                                             22      Q. Okay. And why? Why do you -- what are you
23        A. I do take it to 2022 --                             23   doing here to derive the 4.1?
24        Q. Hang on. I'll get there. The actual --              24      A. I explain in the next few sentences. This is a

                                                 Page 128                                                         Page 129
 1   value I arrived at based on a review I did originally in     1       A. They're the same number adjusted for different
 2   the literature in the 1980s, averaging results published     2   calendar years. It's the same number.
 3   since that time increased by inflation. So I continue to     3       Q. Okay. So I'm on page 8 of your report. And
 4   use a conservative figure that I've been using for the       4   you say: As a methodology -- so I'm looking in the last
 5   last 30 years, which these later meta-analyses show,         5   paragraph, just above where you mentioned Table 15, okay?
 6   taking into account the later literature has shown upward    6   As a -- sorry. I'm sorry. I don't want to point to
 7   increase in the statistically average value of life over     7   that.
 8   the years. I continue to use the earlier, more               8           All right. So then you explain what you do on
 9   conservative measure.                                        9   pages 8 and 9 with respect to her -- coming up with an
10       Q. And you use that in all your reports, the same       10   opinion on how to value her reduced feelings about her
11   figure; is that right?                                      11   life, right?
12       A. Correct.                                             12       A. Reduced quality of her life based on the
13       Q. And those reports would have been reports that       13   allegations in this case, yes.
14   were issued at least as -- in cases detailed in the         14       Q. Well, it's not based on the allegation. It's
15   addenda to your C.V.?                                       15   based on her self-report of how she would characterize
16       A. Some of those cases do look at the value of          16   her impairment, correct?
17   life, yes.                                                  17       A. Isn't that all part of the allegations?
18       Q. Okay. So that's your starting point.                 18       Q. Well, so you -- in her interview, sir, she is
19   4.1 million in '08 dollars, 5.6 million in '22 dollars.     19   asked what percentage -- hang on. Let's see what the
20   That's your starting point for your analysis on the         20   question is.
21   reduction in the value of life for Dr. Dillard, right?      21                  (Brief pause.)
22       A. Yes.                                                 22       Q. The 40 to 60 percent that she places -- what's
23       Q. So what you do from there is you take that           23   the question that you ask your --
24   figure -- and are you using the 4.1 or the 5.6?             24       A. I'll have the --


                                                                                     33 (Pages 126 to 129)
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                                                 Page 130                                                        Page 131
 1       Q. -- litigants?                                         1   assist the trier of fact? Is that your testimony?
 2       A. How have the allegations and the consequences         2       A. Yes.
 3   of what's happened to you impacted you in -- and we ask      3       Q. Okay. And you don't give any 50 percent
 4   four domains; daily practical living and your social and     4   analysis at all; is that right?
 5   leisure activities as a part of -- in your occupational      5       A. Oh, absolutely. Did you read the report?
 6   endeavors, and your emotional life and overall -- given      6       Q. Where is the 50 percent?
 7   all that thoughtful review that she took my interviewer      7       A. At the tail end of that section.
 8   through with these many paragraphs about the impacts         8       Q. Tell me what page, sir?
 9   overall -- if the quality of your life -- given whatever     9       A. I'll get to it.
10   quality of life that you had before this incident began     10                  (Brief pause.)
11   to impact you, what percent do you now have compared to     11       A. On page 9, above the dotted line.
12   what you had beforehand?                                    12       Q. Yeah.
13          And she reported 50 percent. We show it at 40        13       A. Where we say the 40 percent number of 2 million
14   and 60 to help the trier of fact see the range of -- that   14   6, the 60 percent number of 3 million 9, averaging 3.3,
15   if you adopt something less or adopt something more, it,    15   257,415, which would be exactly the 50 percent.
16   of course, varies up and down, as you might expect, in      16       Q. That would be the 50 percent? Okay. But your
17   the linear fashion.                                         17   tables don't reflect that? You'd have to do the math to
18       Q. All right. So on the last page of Exhibit 5,         18   average it, right?
19   over in the section titled, Overall RVL, your               19       A. Math people learn in third grade, yes.
20   interviewer, staff member writes: She estimates her loss    20       Q. Okay. But it's not --
21   as 50 percent. Do you see that?                             21       A. No, you don't have to do the math. I did the
22       A. Yes.                                                 22   math for them. It's in my report.
23       Q. Okay. And so you take that self-reported loss        23       Q. But it's not in the tables that way, correct?
24   and you go ten percent below and ten percent above to       24   I just want to be clear.

                                                 Page 132                                                        Page 133
 1       A. How many complaints do you want to make? I            1   BY MS. WERMUTH:
 2   tell you where it is. It's not on page 1. It's not on        2        Q. Thank you, sir.
 3   page 2. It's not on any of the pages. It is in the           3        A. And just accept that it is where it is --
 4   report. If you want to complain that that number should      4        Q. Thank you, sir.
 5   be on every single page in bold-face, underlined,            5        A. -- clearly in black and white.
 6   italicized, you may issue a complaint to my staff.           6        Q. Well, it doesn't say clearly in black --
 7       MS. WERMUTH: Move to strike based on --                  7        A. It's clear --
 8   BY THE WITNESS:                                              8        Q. -- and white that it's --
 9       A. It is not --                                          9        A. You're interrupting. It's clear. If you think
10       MS. WERMUTH: -- nonresponsive, and frankly, it's        10   it's defective, complain to the jury.
11   inappropriate --                                            11        MS. WERMUTH: I'll complain in a Daubert motion
12   BY THE WITNESS:                                             12   first.
13       A. Let me finish.                                       13   BY THE WITNESS:
14       MS. WERMUTH: -- harassing -- no, I'm not going to       14        A. That I didn't put it on every single page?
15   let you finish, because --                                  15   BY MS. WERMUTH:
16   BY THE WITNESS:                                             16        Q. I didn't ever once suggest that you need to put
17       A. No, you're harassing me --                           17   it on every single page.
18       MS. WERMUTH: -- your not --                             18        A. Well, you're about to get there.
19   BY THE WITNESS:                                             19        Q. Okay. Now, let's talk about the methodology --
20       A. -- no. It's not --                                   20        THE WITNESS: Gia, can't see me smiling and
21       MS. WERMUTH: You're not --                              21   laughing, because I hope you take this in humor.
22   BY THE WITNESS:                                             22        MS. WERMUTH: It's not humorous. It's rude. And
23       A. It is where it's not, it is where it is.             23   you're laughing --
24   Period.                                                     24        THE WITNESS: Well, no. You are rude --


                                                                                    34 (Pages 130 to 133)
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                                                 Page 134                                                         Page 135
 1       MS. WERMUTH: -- in my face --                            1       A. I do cite a peer-reviewed journal article. I
 2       THE WITNESS: -- you're rude.                             2   am a co-author of it, but it's been peer reviewed and
 3       MS. WERMUTH: You're not laughing because you think       3   authored by two other authors.
 4   it's humorous. Like, you're laughing because you're          4       Q. Is that your 1990 pedantic damages and personal
 5   making fun of me.                                            5   injury of conceptual approach?
 6       THE WITNESS: No, I'm not making fun of you.              6       A. Yes.
 7       MS. WERMUTH: Yes, you are.                               7       Q. Let's take a look at that.
 8       THE WITNESS: I'm saying if you complain that it's        8       A. And I believe it's also in one of the Miller
 9   not on every single page, I would find that humorous.        9   articles, and it may be in some of the other articles I
10       MS. WERMUTH: Okay. Moving on, please.                   10   cited. I just haven't memorized...
11       THE WITNESS: Thank you.                                 11       Q. But let's be clear, the question is whether
12   BY MS. WERMUTH:                                             12   self-reporting impairment rating has been peer reviewed
13       Q. Your analysis of the reduction in the value of       13   as a method for identifying the reduction in the value of
14   life is based on two components. The statistical value      14   life? Okay.
15   of life that you've discounted, to some degree, as well     15       MS. WERMUTH: I am going to have this marked as
16   as her self-reported loss, correct?                         16   Exhibit 24, I believe?
17       A. Understanding that -- correct. Understanding         17                 (Document marked as requested.)
18   that the self-reported loss is what I understand she'll     18       MS. WERMUTH: Gia, Exhibit 24 is Dillard Discovery
19   testify to under oath at trial. So it is the claim. The     19   pages 3439 through 3442. This was produced by you all.
20   self-reported loss is part of what I understand to be the   20   Gia, for some reason it doesn't have the expert
21   claim, the allegation, yes.                                 21   denominator. I don't really know why, but just FYI.
22       Q. And none of the papers that you cite in your         22       MS. SCATCHELL: Was it produced? Okay.
23   study employ an RVL method that you just described, where   23       MS. WERMUTH: It's called Dillard Discovery pages
24   you used a self-reported figure to reduce?                  24   3439 through 3442.


                                                 Page 136                                                         Page 137
 1       MS. SCATCHELL: Okay. That's fine.                        1   think you're talking about actually suggests that
 2       MS. WERMUTH: Okay.                                       2   self-reporting is an inappropriate way of determining the
 3   BY MS. WERMUTH:                                              3   reduction and the value of a statistical life?
 4       Q. Is this the article, Dr. Smith, where you             4       A. You have to show me the Miller article. Ted
 5   indicate that your methodology has been peer reviewed?       5   Miller has testified in cases with me where we used
 6       A. This article suggests you can use a percentage.       6   self-reporting.
 7   Here it says a psychologist may develop a percentage, but    7                 (Document marked as requested.)
 8   the point is a percentage can be used. Period.               8       MS. WERMUTH: Again, Gia, this article is Exhibit
 9           This article says -- the source of that              9   25. It is referenced in Dr. Smith's report, but it is --
10   percentage can be, may be a psychological evaluation. It    10   it was not produced to us so I obtained it another way.
11   does not exclude the source of that percentage can be a     11       MS. SCATCHELL: What's the name of it?
12   hypothetical requested by plaintiffs -- to the trier of     12       MS. WERMUTH: Hedonic Damages, colon, Were the
13   fact and leave it up to them to determine a percentage.     13   Crippling Blows to the Golden Goose well-founded? March
14   It doesn't suggest that there's any best way, just that     14   29th, 2008, Ted Miller.
15   this is a way among other ways.                             15       MS. SCATCHELL: All right.
16       Q. Well, it says this is a way, but it doesn't          16   BY MS. WERMUTH:
17   discuss any other ways, correct?                            17       Q. Okay. Dr. Smith, if you look at page 5 -- so
18       A. Well, when you say it's a way, it implies it's       18   the premise of this article is that VSLs could
19   not the only way.                                           19   potentially be used in non-fatal cases, right? Where
20       Q. It certainly -- this isn't an article that was       20   mortality is not in play; is that right, sir?
21   peer reviewed where your self-reporting analysis is         21       A. As many articles, yes. This is one of them.
22   adopted, correct?                                           22       Q. Okay. And so you see on page 5 in Section 7,
23       A. This article is an alternative to that, yes.         23   there's a section entitled: How Are Non-Fatal Diagnoses
24       Q. Correct. And then the Miller article that I          24   Valued with VSL. Do you see that?


                                                                                     35 (Pages 134 to 137)
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                                                 Page 138                                                         Page 139
 1        A. Yes.                                                 1   That's precisely their role. That's why they're paid the
 2        Q. And he says: I found a practical solution.           2   big bucks, $35 a day, to make sense of subjective
 3    One uses objective measures to capture the functional       3   self-reports.
 4    losses over time, generally by diagnosis or for a           4       Q. So neither Exhibit 24, your article from 1990,
 5    plaintiff.                                                  5   nor Exhibit 25, Ted Miller's article of 2008, propose a
 6           So you see, he talks about objective measures.       6   methodology that you use in your report of relying solely
 7    Do you see that?                                            7   on a subjective self-report?
 8        A. This is a practical solution, not the only           8       A. Miller discusses that self-reports have been
 9    practical solution.                                         9   used, are used. That's the whole point is he's offering
10        Q. Okay.                                               10   an alternative to it. He doesn't say they're unuseable.
11        A. So he makes a suggestion here, yes.                 11   He doesn't say you can't do it. He's suggesting that if
12        Q. And his suggestion, if you look on page 7, is       12   you want to avoid the subjectivity, there is more
13    to avoid subjective self-reports, yes?                     13   objective ways.
14        A. Well, we have to read the sentence.                 14           I put forth in the article by Brookshire and
15                   (Brief pause.)                              15   Burleigh where we use a psychologist. Miller is talking
16        A. It said: Ideally, the measurement scale should      16   about another approach. Here we don't have either of
17    avoid subjective [sic] report. But that's ideally. That    17   those approaches, but both articles imply that the
18    doesn't mean a jury can't hear a subjective report.        18   self-report is an approach that is used. No one
19        Q. Well, it goes on to say: If a subjective            19   criticizes that it should not be used. They suggest
20    self-report is a critical determinant, moral hazard can    20   alternatives that may avoid some of the problems with it.
21    tempt a respondent to lie about the amount of quality of   21   We don't have those alternatives here. The trier of fact
22    life lost. Do you see that?                                22   is left with the fact that, yes, there may be a
23        A. Yeah. The entire fact he's hired to make            23   temptation on the part of people who self-report -- well,
24    determinations about the credibility of witnesses.         24   I've seen, actually, men suck it up and under report, in

                                                 Page 140                                                         Page 141
 1   my opinion, the severity of the impact because they don't    1      A. You have to read the sentence. Ideally the
 2   want their wife and children to see them as crybabies.       2   measurement scale should avoid.
 3   So I've seen self-reports that I believe that are            3      Q. Yes.
 4   extraordinarily conservative. You may suggest another        4      A. Ideally.
 5   plaintiff's self-report may be tempted to -- you know,       5      Q. Yep.
 6   tempted to lie could be like a man lying to his wife         6      A. He doesn't say you must. He says ideally.
 7   about how badly he hurts.                                    7      Q. Right.
 8       Q. So I just want to be clear. Your peer-reviewed        8      A. Yes.
 9   article of 1990 presents a methodology that includes a       9      Q. Thank you.
10   lost pleasure of life scale as conducted by a               10      A. But he obviously discusses --
11   professional, correct?                                      11      Q. That was my question.
12       A. As one method of providing a percentage to the       12      A. Well, that's my answer.
13   jury.                                                       13      Q. Now, did you know that Dr. Dillard had, at one
14       Q. That's the only method discussed in your             14   point in time, been treating with a psychologist?
15   article, yes, sir?                                          15      A. I understand she was treated for anxiety and
16       A. It's proposed as one method. It's the only           16   depression. She stated in her interview. I testified to
17   method discussed --                                         17   that several hours ago.
18       Q. Correct.                                             18      Q. And did you do anything to look at her medical
19       A. -- but it does not say it's the only method.         19   records to consider whether or not her self-report was
20   It assumes that there are other methods, including the      20   accurate?
21   self-report. Miller assumes the other methods include       21      A. I'm not a medical doctor, and I cannot make
22   self-report. In fact, he explicitly discusses the           22   determinations of the accuracy of medical records.
23   existence of self-reporting as a method.                    23      Q. So you did not review her medical records?
24       Q. As a method to be avoided?                           24      A. For the reason I just gave you, I would not


                                                                                    36 (Pages 138 to 141)
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                                                Page 142                                                         Page 143
 1   undertake to endeavor in another person's field of          1      Q. Or you could have used the methodology in your
 2   expertise, no.                                              2   1990 article and have her submit to a psychological LPL
 3      Q. Did you account for the fact -- in doing your         3   analysis, yes?
 4   RVL analysis -- account for the fact that she stopped       4      A. That's almost never done in the field of
 5   treating with a mental health professional several years    5   forensic economics. And I don't see that she treated
 6   ago?                                                        6   with anybody who did diagnose her on a quality of life
 7      A. It's irrelevant to what her condition is              7   scale. There are quality of life scales available to
 8   whether she treats or not.                                  8   psychologists. I didn't see any of them did.
 9      Q. And -- well, if she treats --                         9      Q. You didn't look at her medical records to know
10      MS. SCATCHELL: Objection; calls for speculation.        10   that, right?
11   You can answer.                                            11      A. I know that there was none.
12   BY MS. WERMUTH:                                            12      Q. Okay.
13      Q. Did you take into consideration that she has         13      A. And I do know there are rare instances in which
14   avoided using any medication to treat her mental health    14   a psychologist or psychiatrist would give her a rating on
15   symptoms?                                                  15   a scale of global functioning. It's very, very rare. I
16      MS. SCATCHELL: Objection; argumentative. Assumes        16   don't believe there was one in this instance.
17   facts not in evidence, foundation.                         17      Q. But that was the methodology that you proposed
18   BY THE WITNESS:                                            18   in your 1990 article?
19      A. Whatever she does medically and whatever her         19      A. I'm not the person who directs her medical
20   diagnosis is, I have no comment on.                        20   treatment, nor the person who directs what medical tests
21   BY MS. WERMUTH:                                            21   should be made of her. I do not see that such a test was
22      Q. Okay.                                                22   made, and that's it.
23      A. It's all up to the trier of fact. I'm taking         23      MS. WERMUTH: Can we take a break?
24   her as she is, irrespective of how she got there.          24                (Short break taken.)

                                                Page 144                                                         Page 145
 1       MS. WERMUTH: Back on the record. We have no             1   STATE OF ILLINOIS)
 2    further questions at this time. I don't know, Gia, if                 ) ss:
 3    you have examination for the doctor?                       2   COUNTY OF C O O K)
 4                    EXAMINATION                                3
 5    BY MS. SCATCHELL:                                          4           The within and foregoing deposition of the
 6       Q. I just wanted to clarify that you previously         5   aforementioned witness was taken before MARCIE A. HAW,
 7    testified that on the intake form, which I believe is      6   C.S.R., at the place, date and time aforementioned.
 8    Exhibit 4, that there was an injury date of November of    7           There were present during the taking of the
 9    2020, correct?                                             8   deposition the previously named counsel.
                                                                 9           The said witness was first duly sworn and
10       A. Well, some sort of -- it says date of incident,
                                                                10   was then examined upon oral interrogatories; the
11    yes. And your firm filled out that particular date,
                                                                11   questions and answers were taken down in shorthand by the
12    which didn't have any particular meaning to me.
                                                                12   undersigned, acting as stenographer; and the within and
13       Q. Okay.
                                                                13   foregoing is a true, accurate and complete record of all
14       MS. SCATCHELL: Perfect. No further questions.          14   of the questions asked of and answers made by the
15       MS. WERMUTH: We're done. Thank you.                    15   aforementioned witness, at the time and place hereinabove
16       MS. SCATCHELL: We'll take a copy.                      16   referred to.
17       THE WITNESS: I typically waive, unless you             17           The signature of the witness was waived by
18    recommend I reserve, Gia.                                 18   agreement of counsel.
19       MS. SCATCHELL: Yeah, you can waive.                    19           The undersigned is not interested in the
20       THE WITNESS: I'll waive.                               20   within case, nor of kin or counsel to any of the parties.
21       MS. WERMUTH: We'll order.                              21
22       MS. SCATCHELL: PDF copy.                               22
23                    *****                                     23
24                                                              24


                                                                                    37 (Pages 142 to 145)
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                                                Page 146
 1            Witness my official signature and seal as
 2    Notary Public in and for Cook County, Illinois on this
 3    5th day of September, A.D. 2023.
 4
 5
 6
 7
 8                 ________________________________
                   MARCIE A. HAW, C.S.R.
 9                 License No. 084-004463
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